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                   Health Care Monitor
              8th Report Lippert v. Jeffreys
                               November 8, 2024




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Executive Summary
Addresses items II.A;
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of Corrections
with serious medical or dental needs. Defendants shall ensure the availability of necessary services,
supports and other resources to meet those needs.

IDOC has made progress. Hepatitis C treatments have continued to increase. There is improving
verification of the provision of nationally recommended adult vaccinations and screenings for cancers.
IDOC has initiated a program of medication-assisted treatment (MAT) that will help addicted persons on
to recovery; this is mostly at the Logan and Decatur facilities. IDOC has promulgated a set of policies
which are not yet comprehensive and which need some revision but which are a good set of initial policies
and form a sound basis to move forward. The UIC Medical Center’s diabetes telehealth project has been
expanded to serve all IDOC facilities. IDOC has also initiated an additional collaboration for UIC
specialists to provide both in-person and telehealth consultations in Geriatrics, Cardiology,
Endocrinology, Gastroenterology, and Pulmonary for patients in the northern regions using Joliet Inpatient
Treatment Center (JITC) as a base. The Monitor strongly supports any initiative that will improve access
to specialty services. IDOC is in process of implementing an electronic record.

Despite this progress, much remains to be done.

Staffing is the key barrier to forward progress toward compliance. This report will demonstrate that on
every level from facility supervisory staff, physicians, dentists, and nursing staff, IDOC has been unable
to increase staffing and instead have less staff based on their own staffing analysis than in 2019. Physician
staffing is now at 50% vacancy and has become dangerous as is evident in mortality reviews which are an
attachment to this report. These mortality reviews demonstrate a linkage between facilities with physician
shortages and increased morbidity and decreased quality of care. Lack of supervisory staff and line staff
hampers the ability to implement the array of new policies and procedures. Lack of nursing, clerical, and
data staff impair the ability of IDOC to collect and analyze data necessary to demonstrate compliance with
the Consent Decree. Lack of quality improvement and supervisory staff result in inability of IDOC to
undertake corrective actions. Infection control, quality improvement, and chronic care programs are all
impaired due to staffing deficiencies. The Monitor cannot emphasize enough that staffing needs to
improve dramatically and as soon as possible. The increasing use of locum tenens physicians and agency
nursing staff has an associated set of problems including lack of familiarity with policy and procedure and
abbreviated tenure. Staffing must improve for IDOC to move forward.

IDOC medical facilities are a significant barrier to recruitment and adequate performance. A consultant
performed a systemwide evaluation of the IDOC’s facilities1 which identified a massive amount of
structural and space deficiencies. The consultant’s report documented that only three of 27 facilities were
“fully operational” with 21 facilities with “impaired operations” and three that were “approaching an
inoperable” state.2 One of those “inoperable” facilities, Stateville, is in the process of closure. This
consultant report noted that, generally, clinical service space was almost universally undersized but it did
not contain a detailed or thorough evaluation of medical space including medical housing for the disabled,

1
    Facility Master Plan, Illinois Department of Corrections Final Report – May 2023 by CGL.
2
    Stateville, Logan, and Pontiac



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aged, cognitively impaired, and infirm. The negative impact of poorly maintained and inadequate clinical
space on the recruitment and retention of health care staff should not be underestimated.

There has been no major improvements to medical and dental physical spaces for decades. Dental and
medical physical spaces are not conducive to adequate medical care yet the plans, provided by a second
consultant, to renovate or improve medical space in six southern region facilities were primarily based on
input from wardens and facility staff and had limited if any consultation with the clinical leadership of the
Office of Health Services (OHS). Nor were they based on a strategic statewide medical plan3 or expected
population numbers. IDOC has committed to but has not yet conducted a survey of its medical facilities
with respect to medical and dental work spaces and equipment or medical housing for disabled, infirm,
and aged and equipment needed to care for this population. A comprehensive and detailed survey of the
medical facilities and the special housing needs of high risk population must be done before IDOC starts
to construct new health care facilities as this is a once-in-a-generation opportunity to plan and construct
new health care facilities.

IDOC has yet to provide a detailed report (V. G.) of data and information necessary to evaluate their
compliance. This was to have been done every six months for two years and then annually since the
beginning of the Consent Decree but meaningful reports have yet to be produced.4

In addition, IDOC is required with assistance of the Monitor to create an audit function for the quality
assurance program which provides an independent audit of all facilities quality assurance programs. The
Monitor’s opinion of this audit is that it should be a comprehensive audit of the medical program to
evaluate Consent Decree requirements. IDOC has not initiated this audit function and has yet to develop
a methodology to perform such an audit. The opinion of the Monitor is that this audit function would
contribute data to the IDOC V.G. report and ultimately provide independent verification of compliance
with the Consent Decree.

The Consent Decree requires the Monitor to evaluate Defendant’s compliance with the Consent Decree.
For that purpose, the Monitor needs the information that is specified to be provided in the V.G. report and
results of the audit (II.B.9.) which are to be completed by IDOC. This information has not been provided
to the Monitor. Lacking IDOC’s contribution to verify its compliance, the Monitor requests data and
documents in order to fulfill the duties of the Consent Decree to provide reports of compliance every six
months. This is done without the benefit of a V.G. report or a comprehensive audit. Requested data
arrives piecemeal and unanalyzed; some documents are not provided timely. Lacking any contribution
from IDOC in the V.G. report and the comprehensive audit, the Monitor’s evaluation has become more
extensive than it might be if IDOC provided acceptable V.G. reports and comprehensive audits.

Final conclusions of compliance cannot be made unless all facilities are evaluated and when IDOC fails
to provide a V.G. report or a comprehensive audit of each facility, the Monitor will need to do this. Current

3
  This should be based on Consent Decree requirements, initiatives of OHS; space needs related to new policies; and where
IDOC intends to house patients with significant medical illness, cognitive disorders, aged, and disabilities.
4
  IDOC produced several V.G. reports in the first few years of the Consent Decree but these reports ended 6/1/22. The
reports were not detailed reports containing data and information sufficient to evaluate Defendant’s compliance with the
Consent Decree. Instead, they contained lists of provisions the IDOC believed they were compliant and partially compliant
with. They provided little to no data or information to verify that compliance. Data and information for these reports was
not agreed upon, before submission of the reports, by Plaintiffs or the Monitor which is a requirement of the Consent Decree.
Since 6/1/22 the Monitor has not received a V.G. report though two reports should have been received.



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Monitor reports only evaluate selected facilities. These currently all show problems but over time, unless
IDOC does a comprehensive audit and V.G. report, the Monitor will be required to evaluate all 30 facilities
before conclusions of compliance can be reached.

IDOC has begun preparing to implement the electronic record. It has committed to a November 2025
implementation date. This will be a challenge. The Monitor remains concerned that sufficient devices to
utilize the record will not be available and that work space for use of these devices will not be conducive
to effective work. Staffing for training, a help desk, and for data retrieval and analysis have not been hired
and no plans have been provided that these staff will be hired.

Sections of this report will demonstrate progress in many central office functions that include: designing
immunization, sick call, and colorectal cancer screening initiatives, initiating a much needed clinical
leadership infrastructure within OHS, and writing policy even though there is very little progress at the
facility level for implementing and standardizing any initiatives or policies. The chain of command is still
not aligned so that OHS is fully directing the medical program. The facility health care unit administrators
(HCUA) are still under operational supervision of the Wardens. The Monitor has repeatedly
recommended that the HCUA positions should report to OHS leadership while maintaining a working
relationship with the correctional leadership at each facility. Dedicated staff for quality improvement,
chronic care and infection control are not in place. Facility staffing is so low that staff have too many
assignments and none can be performed effectively.

The Compliance Unit is still citing facility medical programs for not adhering to administrative directives
which contradict OHS policy and their corrective actions consist of “educating” staff on the requirements
of administrative directives. Initial corrective actions are directed towards the work behavior of staff. But
IDOC misses the root cause of most of the existing deficiencies which is lack of staff, lack of equipment,
lack of sufficient medical housing and medical work space, lack of a reasonable medical record, and very
little supervisory staff. The real root cause lies in the State of Illinois’ inability to provide the health
workers the space, equipment, supplies, and staff to conduct business in an effective manner. Until the
State is able to correct these deficiencies, there is unlikely to be persistent improvement.


Statewide Issues: Leadership and Organization Leadership
Staffing
Addresses item II.B.2; II.B.3; III.A.1; III.A.8; III.A.9
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
II.B.3. IDOC must also provide enough trained clinical staff, adequate facilities, and oversight by
qualified professionals, as well as sufficient administrative staff.
III.A.1 The Chief of Health Services shall hereafter be board certified in one of the specialties described
in paragraph III.A.2, below. The Deputy Chiefs of Health Services shall either be board certified or
currently board-eligible in one of the specialties described in paragraph III.A.2, below.
III.A.8. Within eighteen (18) months of the Effective Date Defendants shall create and fill two state-




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employed Deputy Chiefs of Health Services positions reporting to the Chief of Health Services to provide
additional monitoring and clinical oversight for IDOC health care.
III.A.9. Within nine (9) months of the Effective Date every facility shall have its own Health Care Unit
Administrator ("HCUA"), who is a state employee. If a HCUA position is filled and subsequently
becomes vacant Defendants shall not be found non-compliant because of this vacancy for nine (9)
months thereafter.

OVERALL COMPLIANCE: Partial Compliance

FINDINGS:

The organizational and leadership structure of the IDOC medical program was evaluated using multiple
documents and interviews.5

Three levels of leadership staff were examined:
   1. Office of Health Services (OHS) and SIU staff;
   2. IDOC and vendor regional staff; and
   3. Leadership positions at facilities including supervisory staff (HCUAs, facility Medical Directors,
       Directors of Nursing, and Nursing Supervisors), and staff to manage major programs at the facility
       (Quality Improvement Coordinators, Infection Control Nurses, and Chronic Care Nurses).

OHS does not track its own staffing. IDOC provided a table of organization for this purpose. OHS
staffing, supplemented by SIU staffing, has expanded. IDOC added Deputy Chiefs, but vendor and State
regional leadership staffing remain essentially unchanged. Facility staffing, which is largely vendor-
supplied has deteriorated.

IDOC has increased allocation of OHS leadership staff with the exception of adding data staff. However,
nine (35%) of 26 allocated OHS positions are vacant.6 Of the OHS positions, four (67%) of six
clerical/administrative positions are vacant.7 Five (25%) of twenty non-clerical OHS positions are
vacant.8 The Electronic Health Records Project Manager is currently filled with a consultant and the Policy
Project Manager has been hired through SIU. Notably, data staff, which IDOC previously committed to,
are notably absent which will be an issue with respect to organizing and using electronic data to verify

5
   Documents included: tables of organization of OHS; tables of organization of the IDOC medical staff for northern region
facilities; SIU current staffing; list of HCUAs; 16 facility State and vendor staffing documents from IDOC; OHS position
descriptions for leadership positions (Chief, Deputy Chiefs, Medical Coordinator, Agency CQI Coordinator, Regional
Coordinator, and HCUA); and position descriptions of vendor facility Medical Director and vendor Regional Medical Director.
Interviews included ones with the SIU program director, chief OHS, a warden and assistant warden from one facility, the
agency CQI coordinator, two regional coordinators, HCUAs from two facilities, and medical directors at two facilities.
6
  IDOC has not provided allocated and filled OHS positions in a table. Instead, the Monitor was asked to use the table of
organization for the purpose of determining staffing. This table had the electronic medical record project manager and the
implementation plan project manager as vacant. The Monitor was told several months ago that the electronic record project
manager had been hired. Very recently, IDOC said the Implementation Project Manager was hired.
7
  One executive secretary, an administrative assistant, and two office staff are vacant. There are six position in this category.
8
  The filled positions include chief of health services, three deputy chiefs, the electronic records project manager, the medical
coordinator, the agency director of nursing, chief of oral health, regional coordinators, the implementation project manager,
dietician, a public health educator, and the infection control coordinator. The Implementation project manager position was
just filled. Vacant positions include the food service program manager, HIV coordinator, two public health educators, and a
risk manager.



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compliance with the Consent Decree.9 The Monitor has encouraged IDOC staff to visit Cermak Health
Services at the Cook County Jail to see how data staff can help in managing and using data to effectively
monitor and track clinical care.

Addition of SIU staff has been the largest contribution to OHS leadership staffing since the inception of
the Consent Decree. SIU has three vacancies (8%) out of 34.85 budgeted positions. Their contribution
has been a significant help in promoting progress towards compliance.10 Appendix A lists their current
staffing.

Regional staff is a mix of IDOC and vendor staff and is essentially unchanged since the last report. IDOC
has three Regional Coordinators positions, one of which is vacant. Each Regional Coordinator covers
approximately 10 facilities; one of the coordinators covers fewer facilities with less total population but
also covers mental health. The number of facilities covered by this group is too high, in the Monitor’s
opinion, and reduces the effectiveness of their performance. The Monitor recommends adding three
additional Regional Coordinator positions. The three IDOC Deputy Chief positions are all filled; their
position description describes their original responsibilities which were mainly central office
responsibilities. Additional responsibilities were added more recently but these responsibilities are not
included in their position description which should be corrected. Regional staff for IDOC is counted in
the OHS staffing numbers.

The vendor regional staffing is larger than IDOC’s; 11 vendor regional staff versus six for IDOC.11 There
are six vendor Regional Managers each covering approximately five facilities which is half the number of
facilities covered by the IDOC Regional Coordinators. There are three Regional Medical Directors; and
two Regional Directors of Nursing. Two (18%) the 11 vendor regional staff are vacant.12

Facility leadership is the weakest component of leadership staffing. It has deteriorated since the beginning
of the Consent Decree and cripples the ability of IDOC to implement its policies and the Consent Decree.

IDOC provided documentation13 that IDOC has 30 HCUA positions, 24 of which are filled (20% vacancy
rate).14 In 2019, 27 of the positions were filled.

The Medical Director position designation is currently meaningless as facility Medical Directors do not
functionally fulfill Medical Director responsibilities. Because of the scarcity of physician positions,

9
  SIU has two data positions but these positions are for managing and entering data into REDCap, the SIU database which is
used for mortality review and adverse events. While REDCap theoretically could be used to interface with the electronic
record, it would still require additional data resources and would likely not give IDOC the flexibility and robustness of
having its own staff manage the data.
10
   It appears easier for SIU to hire staff than it is for IDOC. IDOC may consider utilizing SIU to fill vacancies in the OHS
positions.
11
   The vendor was not asked to send a document of allocated and filled regional staff. These numbers were obtained from a
table of organization effective August 2023. Vacancies may be inaccurate.
12
   One Director of Nursing and one Regional Medical Director
13
   We note that a 2nd document request for document #10 (allocated and vacant staffing) documented that there were only 29
HCUA positions with 6 vacancies. The staffing document did not contain information from JITC. This reinforces the
Monitor’s recommendation that IDOC needs to maintain a single staffing document that includes all medical staff including
vendors at all facilities.
14
   This is from Master FACILITY LISTING updated 04/10/24 provided in response to document request #61 for a list of
contact information on all HCUAs and any vacancies in HCUA positions.



                                                                                                                           9
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clinical duties consume all physician time15 and at some facilities clinical duties are not all addressed.16
In 2019 there were 37.675 physician positions and 33.675 were filled.17 The most recent data shows 34.53
physician positions with 16.92 (51%) filled.18 This is a 50% reduction in physician staff since the first
Staffing Analysis document at the beginning of the Consent Decree. There is considerable turnover and
filling of Medical Director positions with locum tenens physicians. Eleven different locums or contract
physicians served as Medical Directors over a recent three month period. One locum qualified as “Medical
Director” working only 5 hours a week; another locum “Medical Director” worked only 10 hours a week;
two other locum “Medical Directors” work 30 hour weeks. The position of Medical Director is not treated
as a full time responsibility by the vendor who only considers the hours served in that position not whether
the responsibility of the position is accomplished. It is the Monitor’s position that the budgeted physician
number needs to increase and the working physicians must increase to prevent the ongoing risk to patients.

Nurse supervision has decreased by 52% since 2019 and the absolute number of supervisory nurses has
plummeted. The number of Director of Nursing positions has increased slightly since 2019 but remains
at an unacceptably high vacancy rate. Only 10 of 30 facilities have supervisory nurses aside from a
Director of Nursing. Supervisory staff is shown in the table below. At these levels of supervision, the
Monitor believes the IDOC will be unable to implement its policies or the Consent Decree.

                                          Supervisory Staff at Facilities 2019 vs 2024*
                              2019             2019          Vacancy          2024          2024 Filled        Vacancy          Change
                            Allocated          Filled         Rate          Allocated                           Rate           From 2019
 HCUA                            30              27            10%               30               24             20%              -11%
 Physicians                   37.675           33.675          11%           34.53**            16.91            51%              -50%
 Supervisory                    26               20            23%              29               9.67            67%              -52%
 Nurse
 Directors of                    28              20            29%               28             20.87            26%                4%
 Nursing
 * Data from March 2024 OHS Allocated and Filled positions provided by IDOC and Facility Reconciliation Worksheets - Q3'24- Lippert
 provided by IDOC

 **The allocated and filled physician positions includes the 1.06 gynecologist serving Logan and Decatur. Allocated primary care physicians
 totaled 33.47 with 16.49 filled and 16.98 vacant for a vacancy rate of 51%



The Monitor has recommended that in order to effectively implement the Consent Decree that each facility
have dedicated Quality Improvement Coordinators, Infection Control Nurses, and Chronic Care Nurses.
No facility has a dedicated Quality Improvement Coordinator. Seventeen Quality Improvement
Coordinators are filled by HCUAs, eight are Directors of Nursing, four are medical records staff, and one
is an Assistant Warden of Programs. HCUAs, Directors of Nursing, medical records staff, and assistant
wardens, given their responsibilities, cannot effectively accomplish quality duties, nor do they have
training for this position. Assistant Wardens should not be responsible for directly managing a patient
care activity. Information on nurses assigned as infection control or chronic care nurses was incomplete;
only data from facilities with vendor nurses was provided. Illinois River CC was the only facility with a

15
   This is based on conversations with facility physicians at the prior three facilities visited and on review of quality
improvement meeting minutes which demonstrate virtually no participation of Medical Directors in quality improvement.
16
   This is based on mortality records reviewed for this report.
17
   Staffing Analysis Illinois Department of Corrections Office of Health Services 11-23-19 provided by IDOC
18
   From Facility Reconciliation Worksheets -Q3 2024 provided by IDOC. The Gynecologist at Logan was included.



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dedicated Infection Control Coordinator and Danville was the only facility having a dedicated Chronic
Care Nurse but that nurse is an LPN. This position should be filled with a RN.19 Lack of these positions
makes implementation of quality improvement, infection control, and chronic care difficult to impossible.

The IDOC regional and facility table of organization has changed since 2019. One change is that the
Regional Director of Nursing now supervises the Regional Coordinators instead of the Medical
Coordinator as was the case in 2019 and the Regional Coordinators now “clinically” supervise the
HCUAs. Another change is that Deputy Chiefs are now assigned to cover regions that are similar to the
regions covered by Regional Coordinators. The position descriptions of the Deputy Chiefs do not include
their regional supervision responsibilities so it is unclear what the expectation is.

The three Regional Coordinators are the only link in the chain of command from OHS to the facilities.
The Regional Coordinators provide “clinical” supervision through the HCUA20 over operations and
nursing practice. Their position description, however, is mostly operational.21 Despite their position
description being mostly operational, the regional coordinators report to the Agency Director of Nursing.
The Monitor continues to recommend22 that the HCUAs report to the Medical Coordinator. Vendor
Directors of Nursing report to their Regional Directors of Nursing for whom there is no report to OHS.
These arrangements results in the following. 1) The facility IDOC Directors of Nursing being two steps
removed from the Agency Director of Nursing (Directors of Nursing to HCUA to Regional Coordinator
to Agency Director of Nursing) and the vendor facility Directors of Nursing having uncertain reporting
relationship to the Agency Director of Nursing. This reduces the effectiveness of nursing supervision. 2)
The Medical Coordinator is responsible for directing statewide policy and its implementation but has no
direct supervisory link in doing so. 3) The Agency Director of Nursing is responsible for supervision over
IDOC nurses and HCUAs and therefore is responsible for supervising State nurse employees and the
operational program of IDOC. The Monitor believes this is flawed. The span of control is too large for
the Agency Director of Nursing and is impossible to manage and likely is contributing to the inability to
implement policies, initiatives and directives. It also detracts from nursing supervision.

An additional feature of the IDOC organizational structure is that the Wardens through Assistant Wardens
of Programs supervise the HCUA. On facility tables of organization, the medical program is at a level
similar to other programs including chaplaincy, identification supervisor, education administrator, leisure
activity specialist, clinical services supervisor, and records office. In the Pontiac table of organization, the
Assistant Warden of Programs supervises the HCUA, the vendor Medical Director, and the Mental Health
Services Director who are on the same level as the Chaplain, Programs Clerk, Education Administrator,
and the Clinical Services Supervisor. In this arrangement, the vendor facility Medical Director is not only
supervised by the Warden through the Assistant Warden of Programs but the facility Medical Director
supervises the Director of Nursing, nursing supervisors and the Director of Medical Records. This means

19
   The allocated positions are not classified as dedicated positions in staffing documents. This information is based on a
document request for assignments of nursing personnel to CQI coordinator, infection control, and chronic care duties. IDOC
provided only the vendor assignments not IDOC nursing duties.
20
   When a Regional Coordinator was asked what a Regional Coordinator did on a day to day basis, she said it varies from day
to day and a list she had made was five pages long. Both Regional Coordinators who were interviewed downplayed the word
supervision to describe their relationship to the HCUA; preferring instead words like give guidance and help coordinate and
thought that the concept of supervision was semantics.
21
   Their position description describes nursing supervision as promoting safe and effective nurse practice; to develop training
and educational programs for nursing personnel; and to assist in recruitment of nursing personnel.
22
   This was initially recommended in the Monitor’s 6th Report.



                                                                                                                            11
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that the Assistant Warden of Programs is responsible for nursing care and clinical care at the facility.23
This placement of the health program in the facility hierarchy is determined by the Warden who reports
to the Chief of Operations while the Chief OHS reports to the Chief of Programs and Support Services,24
which may also result in conflicting direction. In January 2021, the position descriptions of the Regional
Coordinators and HCUAs were modified to add a clinical supervision relationship to their respective
position descriptions. The Monitor was informed that this arrangement had always existed. Yet, prior to
the Consent Decree, the Regional Coordinators had no supervisory role over the HCUAs or the facility
operations; their role was mainly to act as a resource to the facility on implementation and interpretation
of Administrative Directives and to monitor practices at the facility.25 It appears that this prior
arrangement has continued in spite of the introduction of the “clinical supervision” role.

IDOC does not agree with the Monitor’s position that custody supervision of the HCUAs impairs the
ability of the Chief OHS to direct and manage medical programs and processes.26 The Monitor continues
to find examples of inability of OHS to direct medical programs. In one mortality review27 a patient with
dementia had aggressive behavior and should have been managed medically; instead, custody declared
him on “staff assaulter status” despite having advanced dementia. His behavior, a result of his dementia,
was treated by custody with Mace and use of a tactical team for shackling in order to shower him. His
dementia should have been medically managed instead of being managed as if he were a normal person.
Another example was in NRC CQI minutes. Since the 2nd Court Expert Report28 at NRC, HIV opt-out
testing has been recommended because it is the standard of care in correctional facilities.29 Instead, nurses
at reception centers routinely consent patients for HIV testing which an opt-in not opt-out testing. The
Monitor has continued to recommend opt-out screening. At a June 2024 NRC quality improvement
meeting, the minutes document a discussion in the “Medical” Section which stated:
        “There was recent confusion with HIV testing upon intake. Lippert monitors highly suggested all
        individuals be tested for HIV as a routine test. We removed the HIV consent form (DOC 0215)
        from our intake packet for a few days. A 43430 was written by a LT31 because this is not stated in
        the AD. We have resumed using the consent form until the AD is updated.”

That the HCUA immediately complied without Regional Coordinator approval demonstrates custody is
in charge of medical reception medical screening tests. The Administrative Directive 04.03.101 Offender

23
   This is from the Pontiac facility table of organization provided by IDOC.
24
   This means that two different custody Chiefs (one operations and the other program services) supervise two different
sections of the medical program.
25
   See filed Report of Second Court Expert Case 1:10-cv-04603 Document #: 767 Filed 11/14/18 which states on page 16
paragraphs two and three: “Each HCUA reports to the assistant warden of programs of the facility. Each facility medical
program is therefore under the operational management responsibility of the Warden of the facility, not the Agency Medical
Director…………These individuals [regional coordinators] act mostly as regional resources to facility staff with respect to
interpretation and implementation of the Administrative Directives and clinical guidelines. They also provide a monitoring
function. Because they do not have authority to change operational practices, their monitoring function lacks authority to
direct operational changes, even if they disagree with how practices are being managed”.
26
   In an interview with two regional coordinators, one of the coordinators called the issue of OHS supervision of the facilities
a matter of semantics.
27
   Patient #4 Mortality Reviews attachment to this report.
28
   See Northern Reception and Classification Center 2nd Court Appointed Expert Report Lippert v Godinez February 2018.
29
   See Sexually Transmitted Infections Treatment Guidelines, 2021 Centers for Disease Control section on Persons in
Correctional Facilities as found at https://www.cdc.gov/std/treatment-guidelines/correctional.htm
30
   A 434 is an incident report.
31
   A lieutenant.



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Physical Examination indeed states that consent is to be obtained for an HIV test. Procedure II.G.2.a.(3)
(a) states:
         “HIV testing unless the offender opts to not receive the test. Consent for testing, or refusal, shall
         be documented on the Offender HIV Counseling and Education, DOC 0215, and shall be retained
         in the offender’s medical record.”32

In this case the administrative directive gives bad advice. The medical program made a change to improve
reception screening but it was countermanded by a custody supervisor. A lieutenant should not be
directing how intake laboratory screening is to occur nor should they enforce how medical care is
conducted.

Another example was in the IRCC January 202433 quality improvement minutes. In the section on
Internal-External Audit Findings, related to administrative directive 04.03.101, a custody compliance
officer found IRCC non-compliant for not performing rectal examinations which, according to the existing
administrative directive, are required (along with stool guaiac testing) for colo-rectal cancer screening.
The vendor regional Medical Director asked if there was a specific provider implying that he would
counsel the provider. The HCUA was assigned to perform a corrective action plan. For at least two years,
OHS has directed that colorectal cancer screening not include guaiac testing nor include a rectal
examination. The OHS directive has been to use FIT testing. In quarter four of 2023 and quarters 1 and
2 of 2024, IRCC scored 0% on this performance and outcome measure decreasing from a 60% score in
the 3rd quarter of 2023. Custody supervision of this process appears responsible for that decline. Custody
has no business supervising the medical program and it is still occurring. HCUAs should be supervised
and take direction from Regional Coordinators not the Warden.

In interviews, the Regional Coordinators viewed their supervisory responsibility akin to coordination,
helping, facilitating, supporting and guiding and not as traditional supervision. This is in line with the
roles that existed prior to the Consent Decree. In interviews, HCUAs confirm this type of relationship.
During the Graham visit, which was made prior to our last report, the HCUA said that she reports to the
Assistant Warden of Programs and takes “guidance” from OHS. At NRC, the HCUA said that the
Assistant Warden of Operations was her boss.34 She described no other supervisors and when asked
whether she would characterize her official relationship with OHS as supervisory, consultative or
collegial, she responded consultative. When asked if anyone from OHS was supervisory to her she didn’t
know but said that the regional coordinator helped her which is consistent with comments from the
regional coordinators.

Though Wardens are the line supervisors of the HCUAs typically through Assistant Wardens of Programs,
the position description of the HCUA contains no assignments supervised by the wardens including
implementation of policies and procedures. Nor would wardens be capable of supervising implementation
of policies or any operational aspect of health care. In interviews with a warden and assistant warden,
they described supervision as more of a collaboration than supervisory relationship.35 In the interview,

32
   Administrative Directive 04.03.101 Offender Physical Examination effective 5/1/21
33
   These minutes were the IRCC January, 2024 CQI minutes but the document sent to us was titled February 2924 CQI
IRCC. This incident was mentioned in the Internal/External audit findings.
34
   The Assistant Warden of Programs position was vacant and the Assistant Warden of Operations was acting as her boss
temporarily.
35
   Based on an interview with the warden and assistant warden at Stateville/NRC supervision consisted of coordination of
movement of inmates to clinics, ensure security staff is present for health care activities, coordinate Department of



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the warden and assistant warden made clear that they do not supervise any clinical matters even though
the position description of the HCUAs is all clinically related assignments. One area of direct involvement
with the medical program is that wardens do control posting of all medical positions for their facilities
which should be under control of the medical program.

Implementation of policy and procedure is an example of how this organizational structure works. In
order to implement policies, initiatives and directives, there needs to be someone ultimately responsible
for the implementation with a direct line of supervision from OHS to the facilities which does not now
exist. The wardens who supervise the HCUAs do not supervise clinical operations and could not and
probably would not supervise implementation of policy and procedure. When two Regional Coordinators
were asked how implementation of policies would occur, one answered that it’s a team approach and she
“facilitates” the implementation and helps with barriers. The Chief OHS agreed adding that OHS makes
the announcement of a policy change and the facilities and vendor staff “do it” with everyone having a
role. This diffuse assignment of responsibility appears to ultimately rest with the HCUA36 who is
supervised by the Warden and helped by the Regional Coordinator but without a direct line of reporting
to someone who can address barriers to implementation. This leaves the HCUA without supervision.
When asked what were the barriers to implementation of policies, both regional coordinators said staffing
is a key issue. One of the Regional Coordinators added that vendor compliance, education of physicians,
equipment, and supplies were barriers. These types of problems require higher level involvement above
the capacity of the HCUA which is not currently apparent.

Current supervisory relationships should be revised and position descriptions should be revised
accordingly. The Medical Coordinator should supervise operations of the health care program and act in
the capacity of a statewide health care administrator and continue to report to the Chief OHS. This would
be consistent with the current responsibilities of the Medical Coordinator in the position description which
are to implement policies and medical services and direct statewide programs to ensure health needs are
met. The Regional Coordinators should report to the Medical Coordinator as was the case several years
ago. The Regional Coordinators should have their position description modified to eliminate oversight
over clinical nursing services; their responsibilities should be concerned with operational and
administrative management of the medical program which includes implementation of policies and
initiatives of OHS and all operational aspects of the program. The current span of control of the Regional
Coordinators is currently too large. Three additional regional coordinator positions should be created to
ensure a more realistic span of control. The Monitor recommends that the Warden not supervise the
HCUA. The position description of the HCUAs should be revised to include supervision by Regional
Coordinators and to ensure that the HCUA adheres to all security regulations. The HCUA’s position
description should include the intended expectation of the HCUA with respect to responsibility toward
the Warden.37 The Monitor agrees with policy A.02.01, which states,


Corrections equipment for health care, assist in transfers of inmates, collaborate on health care crises, ensure clinic movement
is efficient, ensure schedule of clinics made by HCUA is carried out, makes sure inmates do not leave the intake area until all
health and dental evaluations are completed, and discuss off-site appointment movement to reduce backlogs. These are not
health care responsibilities of the HCUA and are related to coordination of medical services with custody than supervision.
36
   The position description of the HCUA states that the HCUA ensures “that patient care and services comply with medical,
professional, departmental, and facility policies and procedures”.
37
   The Chief of Programs and Support Services which is a custody position reporting to the Director supervises the Chief
OHS. Wardens are supervised by the Chief of Operations. Supervision by the Chief of Programs and Support Services can
be sufficient custody control over medical operations. If not then two different Chiefs will supervise different aspects of the



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       “The Health Care Unit Administrator (HCUA) is the responsible administrative authority for
       ensuring the coordinated delivery of health care within the facility and maintains communication
       with the Warden. HCUAs report to the Office of Health Services through their Regional
       Coordinators”.
The Agency Director of Nursing should have a dotted line of supervision over all facility Directors of
Nursing with respect to nursing practice. Facility Directors of Nursing would still report to the HCUA for
operational issues. Whether regional directors of nursing are necessary is something that should be
determined in a staffing analysis.

In the Adult Immunization section of this report, the Monitor also recommends that Infection Control
nurses at the facilities should have a dotted line of supervision to the Statewide Infection Control
Coordinator. The direct supervision is to the HCUA.

The vendor has not effectively contributed to efforts in advancing IDOC’s compliance with the Consent
Decree. The problems with vendor Regional Medical Directors was documented in the Monitor’s 7th
Report. The most significant vendor failure is in hiring staff, especially physician staffing statewide as
explained above. In addition, they provide no evident oversight over the clinical performance of the
facility physicians and mid-level providers. In interviews, facility physicians are unaware of policies,
initiatives, and directives; do not participate in quality improvement; and do not address deficiencies
identified in the Monitor’s mortality reviews or in SIU’s performance and outcome measures or mortality
reviews. Vendor Regional Managers and Directors of Nursing share responsibility for implementation of
policies, initiatives and directives which have not been effectively implemented. Current methods to hold
the vendor accountable and to monitor their performance have not been adequate or effective.

IDOC policy A.02.01 Responsible Health Authority states that the Agency Medical Director is the
ultimate responsible health authority for the IDOC health system but this position has no effective way to
enforce that authority because the vendor facility Medical Directors report to vendor Regional Medical
Directors who have no reporting relationship to the Agency Medical Director. The Agency Medical
Director depends on vendor Regional Medical Directors to implement IDOC policies and directives but
this is not currently effectively done. An example of this is that for two years the Agency Medical Director
has stated that colorectal cancer screening is to be conducted using a FIT test. This directive has not yet
been fully implemented by vendor staff.

Policy A.02.01 also assigns the facility Medical Director as the “designated responsible medical authority”
at each facility. Policy A.02.01 also states that the Agency Medical Director reviews and approves in
writing the vendor’s job description of the facility Medical Director. There is no evidence that this has
been done. The Agency Medical Director should ensure that the position descriptions of the vendor’s
facility and regional Medical Directors clearly state what IDOC’s expectations are for these positions.

The vendor currently fills Medical Director vacancies with part-time, coverage, or locum tenens
physicians who do not fulfill the duties of the Medical Director position. Lack of fulfilling Medical
Director duties is due to insufficient facility physician staffing and to ineffective supervision by the vendor
Regional Medical Directors. The facility Medical Directors should be full time and functionally fulfill


medical program. The Chief of Programs and Support Services will supervise the Chief OHS and the Chief of Operations
will ultimately supervise the HCUAs. This can create conflicts in medical operations.



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the IDOC expectations of the facility Medical Director position,38 as described in the position description.
The vendor should not be credited with Medical Director hours unless the position is functionally fulfilled.
The Monitor does not believe that there are sufficient allocated physician staffing hours to accomplish the
requirements of IDOC policy or of the Consent Decree and those few physicians who work are
unsupervised.

To increase OHS supervision over the vendor and of OHS regional leadership, the Monitor recommends
regular meetings. On a weekly basis the vendor Regional Managers should meet (in person or via
teleconference) with the Regional Coordinators and Medical Coordinator to ensure the vendor is
performing in accordance with OHS directives to include:
    • Providing supplies, pharmaceuticals, and equipment necessary to conduct care and implement
       policies;
    • Update staffing including what is being done to ensure adequate staffing is in place;
    • Updating the vendor and State contributions in policy implementation, directives, and initiatives;
       and
    • Any other items that are recent priorities of OHS.

A checklist type review can help make meetings more efficient and contribute to vendor monitoring.

The Agency Director of Nursing should conduct regular meetings with facility Directors of Nursing to
discuss nurse practice issues and policies. Regular discussions about programs such as implementation
of nurse sick call should take place with follow up guidance from the Agency Director of Nursing. Vendor
Regional Nurses should meet regularly with the Agency Director of Nursing to coordinate and ensure that
nursing practice is standardized and that all nursing staff are cooperating at all facilities. Opportunities
for improvement identified in mortality reviews should be discussed.

Deputy Chiefs should meet weekly with their respective vendor Regional Medical Director and use a
checklist to ensure that facility Medical Directors are performing in accordance with their position
description. Staffing should be discussed. Vendor Regional Medical Directors should respond to
deficiencies in their respective facilities’ performance and outcome audits that are not at goal and mortality
review opportunities for improvement for the facilities they supervise. They should be asked what they
are doing to prevent deficiencies from occurring; how they have monitored performance of their staff; and
what their physicians are contributing in the quality improvement meetings. A checklist format can be
helpful when conducting these meetings.

By having the Deputy Chiefs, Medical Coordinator, and Agency Director of Nursing meet with vendor
Regional staff, it enhances the ability to ensure operational and clinical control over administrative,
nursing and medical care and increases oversight over the vendor. To accomplish this recommendation,
several position descriptions, including the Medical Coordinator, Deputy Chief, Regional Coordinator,
Agency Director of Nursing, HUCA, and vendor facility Medical Director will need revision.


38
  This should include appropriate credentials required by the Consent Decree; clinical medical oversight of clinical care at
the facility; ensuring subordinates implement policies, initiatives, and directives of IDOC; ensuring that the specialty care
process is effective and timely; be an active participant in quality improvement including in responding to mortality reviews
and other audits by SIU for their facility; and provide leadership to ensure the clinical aspects of care are being addressed at
their facility to ensure compliance with the Consent Decree.



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Last year, GCL performed a survey of IDOC facilities. In their report, they included a strategic plan for
IDOC that did not include a medical strategic plan. The Monitor was told that OHS is working on a
medical strategic plan but it is still incomplete.

Past reports have provided details of the problems with having vendor and State staff working side by side
but lacking supervision because State staff are not allowed to supervise vendor staff and vice versa.
Examples of problems with this were present in the “Communication From” section of the February, 2024
CQI minutes from JTC, it states that the Regional Coordinator stated, “Concerned that Wexford Staff is
being told they do not take direction from the HCU”. Presumably, this means that vendor staff will not
take direction from a State supervisor. There are union rules regarding discipline, but routine day to day
practice must include supervision by a responsible authority. IDOC must correct the vendor-State
employee supervisory issue as it is not safe.

In summary, OHS has increased its allocation of leadership positions mostly through SIU though it still
needs to ensure it will have the data staff necessary to use data from the electronic record. The leadership
staff, and in particular regional staff, should be reorganized to more effectively oversee medical care in
the facilities. This supervision is necessary to gain compliance with the Consent Decree and to implement
policies. Facility leadership positions are dangerously low and impair implementation of policies and the
Consent Decree. The vendor has not effectively improved staffing or supervision of their staff to
contribute to effective implementation of policies and adequate clinical care. Recommendations to
improve oversight of the vendor are included below. This provision continues to warrant a partial
compliance rating.


RECOMMENDATIONS:
  1. Revise IDOC position descriptions of Deputy Chiefs, Medical Coordinator, Agency Director of
     Nursing, Regional Coordinators, HCUAs, and facility Directors of Nursing to clarify expectations
     and ensure appropriate lines of authority.
  2. When revising the position description of the Regional Coordinators eliminate supervision of
     nurse practice responsibilities and focus on operational administrative functions. Make the
     position of Regional Coordinators report to the Medical Coordinator.
  3. Increase the number of Regional Coordinators. The Monitor suggests six, but IDOC should
     depend on a staffing analysis to determine a more precise number.
  4. Identify a DON at each facility who is accountable to the Statewide DON in a dotted line
     relationship for clinical nursing practice and quality. Line authority would remain with the HCUA
     for daily operations
  5. In the staffing analysis, consider whether IDOC Regional Directors of Nursing are needed.
  6. The Monitor recommends that the HCUA reports to the Regional Coordinator. If this occurs the
     position description of the HCUA should be revised to include the expectations of adherence to all
     security rules and adherence to all responsibilities to the Warden and expectations of OHS. If
     IDOC continues to want to have the Warden supervise the HCUA, the position description of the
     HCUA should include specifically for what responsibilities the HCUA reports to the Warden and
     for what responsibilities the HCUA reports to the Regional Coordinators. The supervision of
     HCUAs by OHS staff must not be just guidance or consultative but actual supervisory
     responsibility.
  7. Review and revise the vendor position descriptions for Regional Manager, Regional Medical




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         Director, Regional Director of Nursing, facility Medical Director, and facility Director of Nursing
         to ensure they are consistent with expectations of IDOC.
     8. When reviewing and revising the facility Medical Director position description ensure that the
         position is filled by a qualified physician position as described in II.A.2. of the Consent Decree.
         This position should be full time, and include expectations of acting as the facility clinical
         authority, appropriately supervising and monitoring the clinical performance of subordinate
         medical personnel in accordance with the Consent Decree, providing clinical leadership in
         implementation of policies, initiatives, directives of OHS, and in participation in quality. Facility
         Medical Directors need to take responsibility for addressing results of SIU audits and mortality
         reviews for their facility. These responsibilities presume additional physician staffing is indicated.
     9. IDOC should review its policies and position descriptions to ensure that there is order in the health
         unit and that all staff obey custody rules and clinical orders and take clinical supervision from an
         appropriate supervisor regardless who the superior’s employer is. This must be worked out and
         described in policy so that all staff understand that they are on the same team39.
     10. The OHS Deputy Chiefs should each meet with the respective vendor Regional Medical Director
         weekly (in person or via video conference) to discuss 1) physician and mid-level provider staffing
         and what the vendor Regional Medical Director is doing to improve the staffing, 2) how the vendor
         Regional Medical Director is reviewing the performance of facility Medical Directors, including
         the Regional Medical Director’s evaluation of their performance, 2) response of the Regional
         Medical Directors at the facility to the most recent SIU audits and opportunities for improvement
         found on mortality reviews for the facilities they manage and what they will do to correct
         deficiencies, 3) what they are doing to ensure facility Medical Directors are contributing in the
         quality improvement meetings, and 4) what the vendor Regional Medical Directors are doing to
         ensure successful implementation of OHS policies and procedures, directives, and initiatives.
     11. On a weekly basis, the Medical Coordinator should meet with the vendor Regional Managers and
         the OHS Regional Coordinators to ensure the vendor is performing in accordance with OHS
         directives to include: 1) are they providing supplies, pharmaceuticals, and equipment necessary to
         conduct care and implement policies, 2) update staffing including what the Regional Manager is
         doing to ensure adequate staffing is in place, 3) review what the Regional Manager is doing to
         ensure IDOC policies, initiatives, and directives are implemented, and 4) any other items that are
         priorities of OHS. This can be in person or via teleconference.
     12. On a weekly basis, the Medical Coordinator should meet individually with the Regional
         Coordinators to discuss similar items as described in item 11 above and include: 1) custody issues
         at their respective facilities, 2) progress towards implementation of policies, 3) issues with the
         vendor that need to be addressed, 4) other operational problems that are barriers to advancement
         towards compliance with the Consent Decree.
     13. The Agency Director of Nursing should conduct regular meetings with all Directors of Nursing to
         discuss nurse practice issues and implementation of policies, initiatives, and directives. Regular
         feedback on progress of programs such as the implementation of nurse sick call should be obtained
         with follow up guidance from the Agency Director of Nursing.
     14. The Agency Director of Nursing should meet regularly with vendor Regional Directors of Nursing
         to discuss: 1) what they are doing to ensure that nursing practice is standardized and appropriate;
         2) to discuss vendor nurse staffing and what the Regional Nurse Directors are doing about it, 3)
         what they are doing to ensure annual performance evaluations are completed and to review copies

39
  This is meant to address the situation at Dixon where IDOC registered nurses would not supervise vendor nurse assistants
for their clinical duties.



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           of these, and 4) what they are doing to address nursing opportunities for improvement identified
           in mortality reviews or SIU audits. These meetings can be in person or via video conference.
       15. For all meetings listed above, a checklist format will help focus the meeting.
       16. For purposes of monitoring, IDOC should not count as “filled” a facility Medical Director position
           unless the position is functionally filled which should be defined as a full time position40 that
           provides the required leadership as described in recommendation 9 above.
       17. The IDOC staffing and particularly the leadership staffing (Medical Directors, DONs, HCUAs,
           Dentists, supervisory nurses) is critically low. The facility Medical Director positions are
           dangerously low. The vendor and the State must expeditiously intensify their recruiting efforts.
       18. Fulfill the IDOC stated intention of hiring data staff.
       19. IDOC is requested to provide quarterly up-to-date vacancy reports that include OHS and HCUA
           positions.


Staffing Analysis and Implementation Plan
Addresses items IV.A.1-2; IV.B;
IV.A; IV.A.1; and IV.A.2. The Defendants, with assistance of the Monitor, shall conduct a staffing
analysis and create and implement an Implementation Plan to accomplish the obligations and objectives
in this Decree. The Implementation Plan must, at a minimum: (1) Establish, with the assistance of the
Monitor, specific tasks, timetables, goals, programs, plans, projects, strategies, and protocols to ensure
that Defendants fulfill the requirements of this Decree; and (2) Describe the implementation and timing
of the hiring, training and supervision of the personnel necessary to implement the Decree.
IV.B. Within 120 days [July 1, 2019] from the date the Monitor has been selected, the Defendants shall
provide the Monitor with the results of their staffing analysis. Within sixty (60) days after submission
of the staffing analysis, Defendants shall draft an Implementation Plan. In the event the Monitor
disagrees with any provision of the Defendants’ proposed Implementation Plan, the matter shall be
submitted to the Court for prompt resolution.

OVERALL COMPLIANCE: Partial Compliance

FINDINGS:

Staffing Analysis and Workload Analysis

IDOC promulgated policy C.06.01 Staffing Levels in February of 2024. This policy has not been
implemented and the Monitor has received no plans on how the policy will be implemented.

IDOC accepted many of the Monitor’s suggestions including the following:
   • Stipulates that a written staffing plan based upon a comprehensive workload analysis will be
      established for each position type.
   • Staffing plan will be developed to provide adequate staff and will list all positions allocated with
      the number of hours to be on site.
   • The staffing plan will allocate positions to post assignments (infection control, infirmary, etc.)
      with relief hours.

40
     Exceptions can be made but should not be made if the individual cannot fulfill expectations of the position.



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     •   Each HCUA will maintain a spreadsheet documenting the incumbent for each position and the
         date any position becomes vacant. These are submitted to regional coordinators monthly

IDOC did not accept suggestions for a methodology to conduct a workload analysis stating that a
methodology should not be dictated in OHS policy. Nor did IDOC accept monitoring staffing to a
benchmark of 15% vacancy rate. They stated that a policy is not the appropriate place for these
requirements to be inserted as these are worked out with the vendor. The Monitor looks forward to the
vendor contract regarding how vacancies are addressed. IDOC did not address in its comment how IDOC
will address its own vacancy rate.

 The Monitor requested two documents for this section.

     1. Document request #10 was “A list of allocated/budgeted medical and dental positions (also noting
        FTE) vacancies for each position at each facility to include IDOC and Wexford positions. These
        should be separated by position type. Aggregate positions statewide should be included”.
     2. Document request #16 was “Progress on workload analysis including any analysis or other
        measures used to determine the number of staff positions required. Provide whatever information
        is available for this item”

With respect to the first document request, OHS does not track aggregate staffing of State and vendor
employees. The vendor and IDOC each maintain information on their own employees and IDOC does
not provide combined staffing data. IDOC provided 24 files with staffing data mostly from the vendor.
This requires the Monitor to perform numerous calculations using multiple documents to determine
staffing in IDOC facilities. Staffing documents do not always include similar staffing numbers.41

With respect to the second document request IDOC provided no report containing a workload analysis.
There is no plan to complete a workload analysis though it is now the policy of the IDOC.

In 2019 IDOC presented a staffing analysis based on surveys of its HCUAs and presented its Staffing
Analysis which recommended 373 additional positions.42 The Monitor has consistently stated that
IDOC’s analysis was not an analysis and recommended a workload analysis to more accurately describe
IDOC’s need for staffing but this has not been done. There have been minor modifications to this
recommended number over the subsequent years but IDOC has not performed any further analysis. For
over two years, IDOC did not allocate all of its recommended positions in their staffing analysis. When
IDOC finally allocated all positions in 2022, the Monitor recommended that IDOC hire all positions.43
This has not occurred. As of this report, IDOC has 60 less working staff than it did in 2019 and 679
vacancies based on their 2019 staffing analysis. There is no dispute that additional staff are needed but
the numbers of vacant position is staggering and has been present since the IDOC staffing analysis
positions were allocated. In interviews with IDOC Regional Coordinators, they mentioned staffing as a
key barrier to implementation of policies. The HCUA at NRC named lack of staffing as the key barrier
to implementation of the sick call policy. Lack of staffing is impeding movement towards compliance
with the Consent Decree. The Monitor continues to recommend hiring all staff as soon as possible.


41
   See the discussion of physician staffing in the Staffing section of this report.
42
   Staffing Analysis Illinois Department of Corrections -11-23-19
43
   Health Care Monitor 5th Report, Lippert v. Jeffreys June 22, 2022



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The Monitor has had issues with the latest Staffing Analysis in 2021. On 10/28/20, the Monitor wrote a
letter to IDOC which was sent by email (attached as Appendix B to this report) and provided comments
on the Staffing Analysis and suggested that the Staffing Analysis either did not include staffing that should
be present or suggested areas where additional staffing should be added to the Staffing Analysis proposal
of IDOC. These areas included:
     • An audit team, process improvement staff, information technology staff and data staff;
     • Dental hygienists;
     • Dentists;
     • Physicians;
     • Optometrists;
     • Physical therapists; and
     • Support staff;

By policy, IDOC will now conduct their own workload analysis on these services. Lacking any movement
on the workload analysis, the Monitor team will deliberate whether it can give workload recommendations
with the next report for these and perhaps other area of services to move this process along.

The Monitor also suggests that IDOC implement immediately, for all new hires, policy statement III in
policy C.06.01 which states:
       The staffing plan shall allocate all positions to posts (assignments such as infirmary, infection
       control, etc.) and shifts.

This is the same suggestion the Monitor made in the letter in Appendix B (item 14 on page two of the
letter) which states:
         “The facility nurse positions should be broken down by function (infirmary, administration,
         clinics, infection control, quality improvement, etc.) and by site/shift to determine adequacy of
         nurse staffing to ensure that there are sufficient nurses based on assignment.”

IDOC currently has 217 vacant RN positions. As these positions are hired, they should be hired into
functional positions. This will make the position more attractive and will increase the ability of IDOC to
make progress towards compliance. If, for example, new RNs were hired as infection control nurses,
given that there is a statewide infection control coordinator, it is more likely that IDOC will move toward
compliance with vaccination and preventive screening issues.

Pending completion of a workload analysis, IDOC should hire all of the staff it recommended in its own
staffing analysis and do so as soon as possible. IDOC should strongly consider hiring the additional staff
recommended by the Monitor as soon as possible. The Monitor has concerns whether any progress toward
compliance with the Consent Decree or implementation of IDOC policies can occur without significant
increases in staffing.

Implementation Plan

The Monitor requested one document for this section. In document request #19 the Monitor asks:

       “Provide a table with the percent completion of each task of the Implementation Plan. A separate
       document should be provided with data supporting the level/percentage of completion of a task.



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       If unavailable, any document that provides verification for progress made on all implementation
       plan items can be provided”.

The Monitor was told that no such document exists but will be developed after onboarding of the
implementation plan project manager.

In response to the Monitor’s 7th Report, IDOC said that this provision should be partially compliant
because there is a Court-Ordered Implementation Plan. While the Court has ordered an Implementation
Plan, IDOC has provided no information that any of the Implementation Plan is being implemented. IDOC
has just hired an Implementation Plan project manager who has yet to meet with the Monitor. The
Implementation Plan is connected to the Staffing Analysis because implementation requires staff to
succeed. IDOC staffing is basically unchanged to slightly worse than it was in 2019 so IDOC will be
significantly challenged to implement any changes at the facility level. The Monitor looks forward to
working with the project manager for the Implementation Plan.

In summary, IDOC has not provided a workload or other analysis of the need for positions and there is no
current plan to do so. IDOC has developed a policy on staffing that acknowledges Consent Decree
requirements. However, staffing is worse now than it was in 2019 and IDOC has 679 vacancies out of
1593 positions. IDOC is unable to implement any of its policies and aside from hiring an Implementation
Plan project manager has not shown evidence of progress with the Implementation Plan. This status
warrants a partial compliant rating on the basis of development of a policy but considerable work remains
to be done.


Staffing
Addresses items II.B.2; II.B.3; III.A.10;
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
II.B.3. IDOC must also provide enough trained clinical staff, adequate facilities, and oversight by
qualified professionals, as well as sufficient administrative staff.
III.A.10. Each IDOC facility shall have registered nurses conducting all sick calls. Until IDOC has
achieved substantial compliance with nursing provision of the staffing plan, facilities may use licensed
practical nurses in sick call, but only with appropriate supervision.

OVERALL COMPLIANCE RATING: Noncompliance

Staffing

FINDINGS:

IDOC promulgated policy A.06.01 Staffing Levels in February of 2023, but the policy has not had any
effect on how IDOC hires or tracks staffing. Its implementation is not evident in any staffing documents
provided.



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The Monitor requested two documents for this section.
   1. Document request #10: a list of allocated/budgeted medical and dental positions (also noting FTE)
       vacancies for each position at each facility to include IDOC and Wexford positions. These should
       be separated by position type. Aggregate positions statewide should be included.
   2. Document request #12: the number of hours worked by staff employed by a staffing agency or
       locum tenens at each facility by job title from March 2023 to March 2024 (to include dental
       hygienists and dentists).
The Monitor received 24 staffing documents which will be discussed below. The agency hours were for
2023 through February of 2024. The dates did not correspond to staffing data which was provided for
March 2024 and June 2024 so the two sets of data were not comparable.

Multiple requests, at considerable effort, are necessary to obtain staffing numbers. IDOC provided 24
separate documents, each presumably used for a different purpose. But none provide aggregate staffing
numbers for State and vendor employees in a single document. The Monitor spends considerable time
evaluating staffing information from various documents to determine accurate staffing of vendor and State
employees. Some staffing data44 consisted of tables of organization with questionable reliability. IDOC,
the vendor and SIU each maintains its own lists of staff including vacancies and there is no combined tally
of staffing. The Monitor believes that staffing numbers in this report are accurate enough to use but caution
that data sources provided did not always provide complete or consistent data. The Monitor strongly
recommends that IDOC develop a standardized methodology to report staffing that includes OHS, SIU,
and all State and vendor employees who work at the facilities. Staffing data was also not provided timely
which delayed the report.

Overall staffing has worsened over the five years since the inception of the Consent Decree as can be seen
in the table below. Since 2019 State employees increased by 38 positions while the vendor employees
have decreased by 97.4 for a net decrease in staffing of 60 since just after the inception of the Consent
Decree in 2019.


                                                    Staffing 2019 to 2024*
     Date of       IDOC        Allocated     Vacant      Vacancy      Working   Percent    Recommended      Total
     Staffing   population**       or       Positions      rate        Staff    Increase    Positions in   Positions
      Data                     Budgeted                                ****         of        Staffing
                               Positions*                                       Working    Analysis****
                                                                                  Staff
                                                                                  since
                                                                                  2019
      Nov-19       38139         1210         236          20%          974                    373           1583
      Jun-20       32048         1209         275          23%          934                    357           1566
     May-21        27299         1277         282          22%          995       2%           308           1584
      Mar-22       27601         1591         727          46%          864      -11%           0            1591
      Sep-22       29525         1591         727          46%          864      -11%           0            1591
      Jun-24       28956         1593         679          43%          914       -6%           0            1593


44
     For OHS staff and for vendor Regional Staff.



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 * These data come from the OHS facility staffing spreadsheet; 4CJ2930-BATES 5959-5985 Lippert Medical Staffing Report 5-7-2024; 4CJ2978-
 BATES 5986-5987 Lippert Nurse Vacancies May 2024; 4CJ3067-BATES 5988 Lippert Provider Vacancies May 2024; and Facility Reconciliation
 Worksheets - Q3'24 - LIPPERT . Most staffing is from June of 2024 but Wexford did not include Director of Nursing or dental assistants in May and
 so that data was used from the 3rd quarter 2024.

 ** These numbers are from the IDOC prison population data sets as found at https://idoc.illinois.gov/reportsandstatistics/prison-population-data-
 sets.html
 ***These are positions that are able to be hired

 ****Working staff = total staff - (vacant +recommended). This is 1 off due to rounding

 *****These are the positions recommended in the Staffing Analysis. As allocated positions increase, the number of recommended should
 correspondingly decrease unless the number of positions was changed in the Staffing Analysis.



Though overall vendor staffing has slightly deteriorated since 2019, IDOC gave notice of award of the
contract for comprehensive health care to Wexford in January of 2024 even though Wexford has been
consistently unable to provide staffing at the contracted level. Contract terms are not yet negotiated and
a signed contract is not yet in place.

After the last report, IDOC responded that comparing working staff from 2019 to 2024 is misleading
because the population of IDOC has decreased. 45 Despite the decrease in staffing, IDOC’s own staff
including HCUAs and Regional Coordinators have recently stated that a major problem with
implementation of IDOC policies is lack of staffing, apparently even given the lower population numbers.
Even given the lower population, IDOC has neither implemented the Consent Decree nor its own policies
and the Monitor’s opinion is that staffing is a key barrier in implementing requirements of the Consent
Decree.

Physician staffing is dangerously low.46 Pending a workload analysis, the Monitor advises IDOC to
increase budgeted physician staffing. Stateville is closing and has two physicians. One physician can
remain at Stateville to manage the infirmary and additionally help at NRC. One of the physicians from
Stateville should be transferred to Dixon. A second physician should additionally be added to Dixon. The
rationale is the population (1449), the extremely high offsite specialty care, and the high burden of elderly
and disabled patients. Additional physicians should be added to Menard, Pinckneyville, Western, IRCC,
Graham, Hill, and BMRCC. The rationale is high population, high death rate, and high numbers of
specialty care patients.

A workload analysis would effectively answer whether IDOC has an appropriate staffing plan but IDOC
has not performed a workload analysis. Given the Monitor’s opinion, along with IDOC’s own leadership
staff, that there are serious staffing deficiencies in multiple areas of service, the safest way forward is for
IDOC to undertake the recommendation nine below to add staff as soon as possible based on their own
recommended staffing levels until they complete a staffing analysis or reasonable analysis that shows that
a staffing reduction is needed.

As can be seen in the table below, some facilities have so few nurses that it is difficult to understand how
they can function. Illinois River, Logan and Western had no RN positions filled. Southwestern had no


45
  On 12/20/18 there were 39,805 inmates; in March of 2024 there were 28409 inmates a difference of 11,396.
46
  Multiple mortality reviews in an attachment to this report include facilities without a physician or with less than budgeted
physician staffing and show serious deficiencies as a result of lack of staffing.



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LPN positions filled. Vacancies were supplemented with agency staff but no facilities were 100% staffed
for RNs and only one facility had 100% LPN staffing.

                             June 2024 Select Facilities with Dangerous Nurse Staffing*
                 RN         RN         %        RN          LPN        LPN         %       LPN      Nurse       Nurse
              allocated    filled   vacancy     FTE       allocated    filled   vacancy    FTE     Assistant   Assistant
                                               Agency                                     Agency   Allocated    filled
 Hill             14         2       14%         5.9          15         7       47%       5.9           6        3
 IRCC             12         0        0%         6.6          12         2       17%        5            6        3
 Lawrence         13         7       54%          3           21         3       14%       2.9           6        5
 Lincoln          8          1       13%          4           10         1       10%        6            4        4
 Logan            22         0        0%         14.6         18         4       22%       10.6          6       3.5
 PNK              14         2       14%          10          17         6       35%       11.6          6        1

 Shawnee          12         2       17%          4           13         9       69%        2            6        2
 SWCC             9          2       22%          1           6          0        0%        3            0        0
 Western          11         0        0%          10          17         1        6%        11           6        0
 *Data from 4CN8559-BATES 6016 Lippert Nurse Vacancies June 2024 from IDOC




Physician staffing is a particularly disturbing problem. Staffing data for physicians is not provided timely
and is difficult to verify. The Medical Staffing Report,47 a vendor document, lists 22.388 FTE working
physicians for a budgeted staff of 33.47 physicians yielding a 33% vacancy rate. This report excludes the
budgeted 1.06 gynecologist from Decatur and Logan. IDOC sent its own Reconciliation Worksheet48
for the same time period and showed that including the gynecologist’s hours there were only 16.91
working physicians out of 34.53 budgeted physicians for a 51% vacancy rate. The Monitor used the
Reconciliation Worksheet because it was hours of the vendor verified by IDOC. This indicates that
staffing data provided to the Monitor is inconsistent and subject to error. Using the Reconciliation
Worksheet data, the vendor has almost 17 fewer physicians working today than were present in 2019 when
care was unsafe and warranted a Consent Decree.49 Many current physicians are locum tenens physicians
who will not work long-term. There is no plan for how to obtain qualified physician candidates and it is
uncertain if the current vendor can obtain qualified physicians. IDOC has increased access to UIC
endocrinology to manage diabetes patients, but IDOC needs a source of qualified primary care physicians.
Avenues to obtain qualified primary care physicians must be explored and undertaken.

Staffing through Academic Centers

IDOC continues the relationship with UIC with respect to provision of HIV and hepatitis C treatment via
telemedicine. It has also initiated a telemedicine diabetic treatment program at facilities in the northern
region. The HIV and hepatitis C programs are excellent. The Monitor has not yet been able to evaluate
the diabetes telemedicine program thoroughly but encourages IDOC to continue and expand this program.
IDOC has not pursued obtaining primary care with a university programs since its initiative with SIU
47
   4CN8510-BATES 5999-6015 Lippert Medical Staffing Report June 2024
48
   Facility Reconciliation Worksheets- Q3’24 - LIPPERT
49
   A table of physician changes over time is present in the Leadership Staffing section of the report.



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failed several years ago. There are no plans for a university-based primary care initiative.

IDOC has no plans to hire a training coordinator despite the need for one. IDOC has not informed the
Monitor of its plans for training with respect to policies, the electronic record, staff, new employee
training, training on clinical issues.

In summary, IDOC has less staff today than it had in 2019. There are no plans to develop a workload
analysis. There is no evidence that there is a plan to hire additional staff. Nursing and dentists staffing
levels are at a level that makes it impossible to provide adequate services and physician staffing is at a
dangerous level. There is no plan to improve physician staffing. There is no progress toward developing
a training program. It is not surprising that IDOC has yet to be able to implement any policies. This
makes a continued noncompliance rating warranted.

RECOMMENDATIONS:
  1. Develop a recruitment plan with the explicit mission to reduce the rate of vacancies. Responsible
     parties include OHS, Wexford, Human Resources, and the Office of Budget and Management. The
     recruitment plan needs to include clearly defined benchmarks to monitor progress toward specific
     objectives set out in the plan. In addition to vacancy, turnover and retention rates suggested metrics
     to evaluate progress include: the number and outcome of recruitment activities, time from inquiry
     to first contact, and time from job offer to start date.
  1. A recruitment priority should be to recruit and hire into vacant DON and Nurse Supervisor
     positions to increase accountability for performance improvement.
  2. Prioritize recruitment of nursing positions at the facilities with the lowest ratio of RNs and the
     lowest actual nurse staffing.
  3. The number of mandatory overtime assignments should be reported to OHS by each facility
     monthly.
  4. Monitor patient care quality and health outcomes more closely at facilities with the most turnover,
     highest vacancy rates and largest number of mandatory overtime assignments.
  5. Develop job descriptions that define the training and experience necessary for each position and
     provide them to the Monitor for input before finalization. Establish positions at each facility
     responsible for Infection Control and Quality Improvement.
  6. Establish a database that includes the number of nursing positions by type, the number vacant
     currently, the number who left employment each calendar year, the number leaving voluntarily
     each calendar year and the number of positions filled currently.
  7. Identify performance and health outcome measures to compare with staff mix and staffing levels
     to identify desirable staffing ratios and patterns. Measures to evaluate staffing adequacy include
     quality patient care parameters (numbers of emergencies, patient falls, acquired infection etc.), risk
     management information (deaths, grievances, errors etc.), time taken to fill vacant positions and
     retention in registered nurse positions as well as compliance with items III.A.10, III.I.1, III.I.2 and
     III.I.3 of the Consent Decree.
  8. Move one of the physician positions from Stateville (because it is closing) to Dixon. Add an
     additional physician to Dixon. Add additional physicians to Menard, Pinckneyville, Western,
     IRCC, Graham, Hill, and BMRCC. The basis is deaths, specialty care needs, and population. The
     workload analysis of physician needs to be accomplished.
  9. IDOC needs to hire positions in their staffing analysis as soon as possible.




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   10. Facility positions should be officially titled by responsibility (quality improvement coordinator,
       infection control nurse, etc.) and label nursing positions by assignment so that workload can be
       properly assigned.
   11. All state, vendor and contract position descriptions for OHS and facility positions need to be
       provided
   12. IDOC should respond to the Monitor’s recommendations on staffing.
   13. IDOC needs to consider all of the Monitor’s recommendations for the Implementation Plan and
       respond why they believe a recommendation is unnecessary.
   14. The IDOC audit, related to provision II.B.9., should include an evaluation of staffing.
   15. Staffing vacancies by position type should be tracked on a monthly or quarterly dashboard and
       sent to key leaders of IDOC and the State (e.g., CMS, Attorney General, the Governor’s counsel
       assigned to IDOC) until vacancy rates are 12%.
   16. Budgeted and vacant State, vendor, and OHS positions, separated by type of position, need to be
       provided quarterly and in the document request. This needs to be provided by facility and with
       cumulative regional and systemwide aggregate numbers.
   17. Implement policy A.06.01.




Oversight over Medical, Dental, and Nursing Staff

Credentialing of Physicians

Addresses items II.B.6.r; III.A.2-7
II.B.6.r. IDOC agrees to implement changes in the following areas: That Defendants and the vendor
shall timely seek to discipline and, if necessary, seek to terminate their respective health care staff that
put patients at risk;
III.A.2. All physicians providing direct care in the IDOC (whether they are facility medical directors or
staff physicians) shall possess either an MD or DO degree and be either board certified in internal
medicine, family practice, or emergency medicine, or have successfully completed a residency in internal
medicine which is approved by the American Board of Internal Medicine or the American Osteopathic
Association, or have successfully completed a residency in family medicine which is approved by the
American Board of Family Medicine or the American Osteopathic Association, or have successfully
completed a residency in emergency medicine which is approved by the American Board of Emergency
Medicine.
III.A.5. Defendants may hire new physicians who do not meet the credentialing criteria, only after
demonstrating to the Monitor that they were unable to find qualified physicians despite a professionally
reasonable recruitment effort and only after complying with the provisions of paragraph 6, below.
III.A.6-7 Physician candidates who do not meet the credentialing requirements shall be presented to
the Monitor by the Department. The Monitor will screen candidates who do not meet the credentialing
criteria after a professionally reasonable recruitment effort fails and determine whether they are
qualified. The Monitor will not unreasonably withhold approval of the candidates. The Monitor will
present qualified candidates to the IDOC for hiring approval. If the IDOC Medical Director has
concerns regarding the rejected candidates, he or she will meet and confer with the Monitor in an
attempt to reach a resolution. In instances in which the Monitor rejects all viable candidates for a



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particular vacancy, the Department will not be found noncompliant because of that vacancy at any time
during the next twelve (12) months. The credentialing requirements contained in paragraph 2 above
do not apply to physicians employed by universities

OVERALL COMPLIANCE RATING: Partial Compliance
The continued rating of partial compliance was based on IDOC’s consistent efforts to hire only physicians
who meet the credential criteria detailed in III.A.2 and communicating with the Monitor as noted in
III.A.6-7 when they are considering physician candidates who do not meet the credentialing requirements.
Since the start of the Consent Decree in 2019 only one physician who was not Board Certified or had not
completed a 3 year primary care residency in Family Medicine, Internal Medicine, or Emergency
Medicine has been hired.


FINDINGS:
IDOC has promulgated policy C.01.01 Licensure and Credential Verification. This policy was provided
to the Monitor for comments which were returned to IDOC in September 2023. IDOC accepted almost
all comments and promulgated the policy in February of 2024. There is no evidence that this policy has
been implemented.

One recommendation of the Monitor was not accepted. The Monitor recommended that the vendor
procedure for credentialing be attached as an appendix to the policy. This was not accepted and the
vendor’s credentialing procedure is still unknown to the Monitor.

The IDOC policy requires the vendor to:
   1. Have clear assignment of responsibility for review and verification of credentials;
   2. Place all credential documents in the employee’s file including date of verification and person
      verifying the credential;
   3. Review and verify:
          a. Primary source verification:
                   i. Graduation from medical school;
                  ii. Completion of residency training; and
                 iii. Board certification.50
          b. Review references;
          c. Ensure completion of educational programs relevant to position include post-graduate
              programs;
   4. Include in the credential file a National Practitioner Databank report.
   5. All credentialing information is to be kept in a file maintained securely under lock by the HCUA
   6. Requires that employees without current licensure and/or credentials are ineligible for employment
      and may not work until deficiencies are rectified. This means that physicians can’t work until their
      credentials are approved.

The Monitor agrees with IDOC’s requirements of the vendor but there is no evidence that the vendor
adheres to this policy. IDOC allows hiring of individuals without sending credentialing documents to the
Monitor. The Monitor has asked to be advised of all new hires and to be presented with their credential
information ideally before starting work or immediately upon starting work but this has not been done and

50
     An AMA profile is acceptable if it verifies residency training and board certification.



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there are typically several physicians whose credentials are unknown to the Monitor. Currently there are
six physicians who are working whose credentials have not yet been provided to the Monitor. The
vendor’s credentialing procedure is not attached to this policy. IDOC must engage the vendor to ensure
it adheres to this policy. Current credential information received by the Monitor is not consistent with
credential information required by this policy51. Furthermore, the untimely communication and
presentation of credential information to the Monitor is so late that it is difficult for the Monitor to timely
act on III.A.2. of the Consent Decree.

On further review of this policy the Monitor has three additional recommendations for IDOC to consider
in its next revision of the policy. The policy requires the HCUA to keep a credential file of physicians in
their employee file at each facility. This file can contain extremely confidential information and because
it is maintained by the facility HCUA it will be difficult to manage and very difficult to maintain in a
confidential manner. The Monitor recommends that this file be maintained centrally as is the case in
larger organizations and in hospitals. The credential files should be securely stored in the OHS office. The
HCUA should maintain a truncated version of the file to include the license and DEA registration. The
central office should maintain the complete file with National Practitioner Data Bank, certificates,
diplomas, curriculum vitae, sanctions, etc. In doing so, it will facilitate the providers changing facilities;
it make it easier for a physician to work at multiple sites, be easier for a single person to communicate
credentialing information with the vendor and credentialing information; will be easier to access for the
Chief and Deputy Chiefs who are responsible for oversight over physicians; and will be a more secure
storage of sensitive material. A second recommended addition to policy is that IDOC include a
requirement that locum tenens physicians have credentials that satisfy the requirements of the Consent
Decree. This would enforce a requirement to adhere to III.A.2. of the Consent Decree. A third
recommendation to policy is to make clearer that a physician is not to start practice until the credential file
is complete and reviewed. Many organizations have a temporary start process but doing so should be
carefully thought out. The Monitor asks that these suggestions be considered in the next revision of the
policy.

The Monitor requested and received two documents for the Credentialing of Physicians section.

The first document request was the Physician Training and Credentials spreadsheet, a document prepared
by the medical vendor listing all physicians with name, facility, highest level of post-graduate education,
residency type completed, date residency completed, internship/residency training sites, license expiration
date, DEA expiration date, board certification type, board certification date, re-certification date, and
expiration date of board certification. Of the 33 physicians on the credentials worksheet, nine have expired
DEA licenses, an additional seven physicians have an entry of “########” marked as the entry for their
DEA expiration date, and an additional physician had a blank space for expiration for their DEA license.
Therefore, 17 physicians did not have verification of an active DEA license.

The second document request was primary source verification of all facility physician credentials.
Primary source verification packets are to include:
   • Copies of official documents from the original source (medical school diploma, residency training
       program or specialty fellowship certificates, etc.) verifying completion of training or board


51
  The Monitor does not receive National Practitioner Databank reports, seldom receives primary source verification of
credentials.



                                                                                                                        29
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          certification status,52
     •    Any prior disciplinary reports, or actions including sanctions by state licensing agencies,
     •    AMA Profiles, and
     •    A recent CV.

The Monitor has recommended that the National Practitioner Data Bank (NPDB) report be included in
the packet, but this has not been done. IDOC policy requires the NPDB to be obtained and filed in the
credential file of the employee but does not release it to the Monitor. Primary source documents are
absolutely necessary to verify that IDOC and its vendor are complying with the Consent Decree III.A.2


                   Physicians with Primary Care Credentials in IDOC
 Year                                    11/24/19*           2/1/20          7/31/23          6/13/24
 Credential
 Board Certified                          13 (37%)         15 (42%)         16 (57%)         22 (67%)
 Not Board Certified;                     10 (29%)         10 (27%)          8 (29%)         7 (21%)
 Completed 3 Year Primary
 Care Residency
 Total Qualified                          23 (66%)         25 (69%)         24 (86%)         29(88%)

 Not Board Certified; Did Not             12 (34%)         11 (31%)          4 (14%)         4 (12%)
 Complete 3-Year Primary
 Care Residency
 Total physicians**                           35               36               28               33
 * From Data in 1st Court Report

 **Includes employed and contracted physicians whether fulltime or parttime but excludes the vendor's
 Regional Medical Directors who are intermittently assigned to provide coverage for vacant positions.




We do note that though 33 physicians are credentialed the Monitor has not been provided with credentials
for six additional physicians for a total of 39 physicians. These 39 physicians are currently providing
16.49 FTEs of work for the 33.47 budgeted primary care positions.53 IDOC provides hours and FTEs
worked per time period, but does not include physician names with the hours worked so it is not possible
to determine the number of hours worked, the location or the actual provider who worked. For this reason,
the actual hours worked by credential of physicians per time period cannot be determined. This is
important because of the 33 physicians on the current list, 12 are locums tenens physicians who work
short-term. We also did not include gynecology in the physician table as the gynecologist is not currently
included on the vendor Physician Training and Credential worksheet.

As noted in the table above, since the initiation of the Consent Decree in 2019 the percentage of IDOC

52
   The AMA Profile does not commonly include information on the Board Certification of physicians who are have been
certified in Osteopathic Medicine. Applicants must provide a copy of their certificate of Board Certification by the
American Board of Osteopathic Medicine
53
   Based on the Facility Reconciliation Worksheets – Q3-24 – LIPPERT as provided by IDOC.



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physicians who meet the primary care credentials criteria has increased from 66 percent to 88 percent and
the number (percentage) of physicians who do not have the qualifying credentials has decreased from
twelve (34%) to four (14%) of the total IDOC physicians. The steady increase in the percentage of
physicians who have completed primary care residency programs is directly attributed to the credentialing
requirements in Consent Decree III.A.2 and the cooperation of the IDOC clinical leadership. The increased
hiring of qualified physicians along with the enhanced monitoring of acute and chronic care and reviews
of mortality charts by the monitor team and by the review and critique of mortalities by SIU, in
collaboration with OHS, is a necessary step toward improving the quality of care provided to the IDOC
patient population (see Oversight of Care Section). It should be noted that 38%54 of credentialed
physicians are locum tenens which means that there is significant turnover in this group.

The Monitor has repeatedly asked that an updated Training and Credentials report provided to the Monitor
every quarter or sooner if new physicians are hired and when physicians leave the IDOC. Timely
notification should be automatically provided when physicians leave employment in IDOC and when new
physicians are hired. This has not been done. The most recent Training and Credentials document
provided for this report was dated 3/18/24 with additional information provided on 5/24/24 and 6/26/24
pursuant to the Monitor’s request.55 The Monitor has also repeatedly requested that individual credentials
packets be routinely provided at the time each new physician is hired. To date, these primary source
verification documents are only provided upon written request, at times only after repeated requests by
the Monitor.

An example of the difficulties the Monitor experiences when requesting information is a physician who
was already working in September of 2023 when the Monitor received a credential spreadsheet in
preparation for the Monitor’s 7th report. The credential spreadsheet of April of 2023, documented that
this physician was board certified in pathology but included a comment that she had completed a primary
care residency but no verification of this was provided. The primary source verification of her credentials
had not been received. The Monitor had not been notified of this person’s hire and began inquiries
regarding her credentials which included making a special request for an AMA profile which indeed
verified that she had a lifetime specialty board certification in pathology. The Monitor had to question
IDOC again asking for verification that she had finished a primary care residency. In January of 2024,
the Monitor requested IDOC to send copies of her certificates of transitional residency at Cook County
Hospital and her certificate of completion of a three year Family Medicine Residency at UIC. IDOC
responded instead by sending the Monitor a second AMA profile which listed that she completed a
residency in Family Practice at UIC but also that she was board certified in pathology. The Monitor was
concerned that there was an error in the AMA report and in May of 2024 again specifically requested the
vendor send a copy of her certificate from UIC verifying completion of her residency in Family Medicine
and in Pathology. This was not sent. Instead, the AMA profile listing both pathology and Family
Medicine were re-sent with a comment that “The reference to Dr. [redacted]’s residency in Pathology is
an error on the AMA report -that is how they reported it. Dr. [redacted] has never taken a residency in
Pathology”. This presumes that IDOC knows why the AMA report is in error. The Monitor has still not
received a certificate that this physician has completed residency in a primary care field and continues to
request primary source verification of completion of her primary care residency.


54
  Eleven of 29 physicians who have completed residency and/or are board certified are locums tenens physicians.
55
  Additional requests were primarily for missing credential packets or to ascertain whether a physician on the 3/18/24
Training and Credentials report but whose name did not appear on a subsequent staffing list was still employed.



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Since the 3/18/24 Training and Credentials report, the 6/13/24 vendor-generated Medical Staffing Report56
identified that eight physicians were no longer providing care in IDOC and 11 new providers had been
employed or contracted (locum tenens) by the medical vendor.57 The Monitor has not received Primary
Source verification packets on six of these 11 physicians. The need for timely notification on the entry
and exit of physicians from employment in IDOC facilities is not only essential to ensure that only
physicians meeting the qualifications in III.A.2 are hired. This information is also critical in monitoring
the adequacy of physician staffing throughout IDOC’s thirty facilities.

Another four new physicians were listed on the 6/13/24 vendor Medical Staffing Report as “Locum
Tenens, Candidate” and three physician were listed as just “Candidate”. IDOC has been asked to clarify
these two physician categories. It is not clear if any of these physicians are actually providing care in the
IDOC. It is difficult to interpret whether staff are actually working in a budgeted position based on this
report. The report is misleading if these physicians are not yet hired and not working in IDOC facilities.
If these seven physician “candidates” are not working they should not be included on a staffing report.
The Monitor has also not received primary source verification packets on these seven physicians. The
Monitor was not notified when any of these seven physicians had either left or joined the IDOC.

Since the enactment of the Consent Decree and in accord with III.A.6-7, IDOC leadership has contacted
the Monitor about three physician applicants who had not completed residency in Internal Medicine,
Family Medicine, or Emergency Medicine and did not meet the credentialing criteria in III.A.2. The
Monitor reviewed their credentials and interviewed the applicants by phone. The Monitor advised the
IDOC that two applicants did not meet the criteria of the Consent Decree and their candidacies were not
supported by the Monitor. Neither of these two providers were hired. Based on a review of training and
an in depth interview of the third candidate, the Monitor determined not to withhold approval of hiring
this physician.58 IDOC was advised that this decision was the exception and did not indicate any shift in
the Monitor’s firm support of the Consent Decree’s mandate that “all physicians providing direct care in
the IDOC” be board certified or had completed a three year residency in a primary care field. Since the
initiation of the Consent Decree in 2019, this is first and only physician hired who is not board certified
or has not completed a three year residency in family medicine, internal medicine, of emergency medicine.

Given the high turnover rate of physicians, it has not been possible to identify how many physicians are
working in IDOC based solely on review of the infrequently received Training and Credentials
spreadsheet. To verify credentials and to evaluate physician staffing and coverage of all thirty facilities,
the Monitor has asked for no less than quarterly updates of the physician list (Training and Credentials
spreadsheet) and whenever there is a change in staffing. This is not done timely and as a result both the
physician assignments and vendor’s credentials spreadsheet are frequently not in sync. This makes timely
verification of new physician credentialing impossible. Frequently, the Monitor becomes aware that a new
physician has been hired only when their name appears on the facility assignment or on the Training and
Credentials spreadsheet.


56
   4CN8510-BATES 5999-6015 Lippert Medical Staffing Report June 2024
57
   This data was determined by comparing the physician names on the 3/18/24 Training and Credentials report with a 6/13/24
facility medical staffing report.
58
   The third candidate did not complete a 3-year residency. However, this physician did complete 4 years of consecutive
training in primary care, two years in a family medicine program and two years in an internal medicine at different medical
centers. If this training had been completed at a single medical center, it is likely that it would have qualified for board
certification in a Primary Care Residency or possibly Medicine-Pediatric Residency.



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RECOMMENDATIONS:
  1. IDOC needs to provide for the initial credentials review by the Monitor the same credentials packet
     that the vendor has provided to the IDOC/OHS. This initial credentials packet must include copies
     of the physician’s medical school diploma, internship, residency and fellowship certificates, State
     license, DEA license, privilege sheet, curriculum vitae, and a current AMA profile.
         a. The medical vendor should not refer physician candidates to OHS unless a candidate’s
             complete credentials packet accompanies the referral. This needs to include diplomas,
             certificates, State license, DEA license, curriculum vitae, National Practitioner Databank
             report, and AMA profile.
  2. IDOC needs to routinely provide the following information quarterly and three months prior to the
     due date of each upcoming Monitor report.
         a. A table of current physicians in a spreadsheet format with physician name, facility
             assignment, internship and residency completed, date internship or residency completed,
             board certification, date of board certification, current status of board certification, State
             license expiration date, and DEA expiration date.
         b. All peer reviews including any disciplinary peer review or actions taken with respect to
             privileges.
         c. Annual professional performance evaluations for all physicians, nurse practitioners, and
             physician assistants
         d. Current assignment(s) list of all physicians with hours/day worked at each site of
             assignment.
         e. Timely notification when a physician is hired and when a physician leaves employment
             with the State or the contracted medical vendor.
         f. Any monitoring being provided for any physician, nurse practitioner, physician assistant.
  3. When AMA profiles are being used to verify credentials, the AMA profile should be current.
  4. Any sanctions on a license and a report detailing the plan for monitoring should be reported to
     both OHS and the Monitor
  5. IDOC’s health care vendor should continue to hire only physicians who are Board Certified and/or
     have completed a residency in a primary care field.
  6. All physicians need to be required to use a stamp that contains their name which needs to be used
     for all of their paper medical record notes and orders so that their medical record entry can be
     verified as theirs. This practice should continue until the EMR is fully installed.59
  7. IDOC should vigorously explore opportunities to expand affiliations with academic medical
     centers in Illinois to include the recruitment and hiring of physicians.

Oversight Over Medical, Dental, and Nursing Staff
Addresses II.B.6.q; II.B.6.r;
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and,
as to any vendor effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
II.B.3. IDOC must also provide enough trained clinical staff, adequate facilities, and oversight by
qualified professionals, as well as sufficient administrative staff.

59
  This is recommended due to extensive illegibility in the paper record. Neither the Monitor nor SIU, in mortality reviews,
can identify providers or nurses due to illegibility.



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II.B.6.q. IDOC agrees to implement changes in the following areas: Annual assessment of medical,
dental, and nursing staff competency and performance;
II.B.6.r. IDOC agrees to implement changes in the following areas: That Defendants and the vendor
shall timely seek to discipline and, if necessary, seek to terminate their respective health care staff that
put patients at risk;
III.A. 3. Physicians currently working in IDOC who do not meet these criteria shall be reviewed by the
Monitor and the IDOC Medical Director to determine whether the quality of care they actually provide
is consistent with a physician who has the above described credentials and who is practicing in a safe and
clinically appropriate manner. If the Monitor and the IDOC Medical Director cannot agree as to the
clinical appropriateness of a current IDOC physician, IDOC shall not be found non-compliant because
of that vacancy for nine (9) months thereafter
III.A.4. If a current physician's performance is questionable or potentially problematic, and the
Monitor and the IDOC Medical Director believe that education could cure these deficiencies, the IDOC
will notify the vendor that said physician may not return to service at any IDOC facility until the
physician has taken appropriate CME courses and has the consent of the Monitor and the IDOC
Medical Director to return.
III.K.9. Within twenty-one (21) months of the Preliminary Approval Date of this Decree [October
2020], IDOC shall establish a peer review system for all dentists and annual performance evaluations
of dental assistants.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

Oversight over Medical Staff

There was miscommunication in the document request for annual performance reviews and peer reviews.
In response to a document request60 to provide annual performance reviews, IDOC provided no
information related to physicians. In response to a document request for peer reviews for significant
adverse events61 IDOC sent 13 annual performance evaluations conducted in 2022. These annual
performance reviews were not peer reviews related to significant adverse events. In relation to a document
request62 for peer reviews related to mortality review IDOC sent 13 peer reviews triggered by potentially
egregious care. The distinction between peer review and performance evaluation needs clarification.
Performance evaluations are annual evaluations of physician performance but peer review is an official
review of a physician triggered by a specific potential egregious clinical action that reviews whether
physician privileges should be modified or corrective action taken in relation to the specific potential
egregious action. Peer reviews can be initiated as a result of mortality review or via any other method
(e.g., adverse event reporting) that identifies egregious care. Annual performance reviews should be done
routinely on all physicians.

The Consent Decree requires that IDOC perform monitoring to determine how well the system is

60
   Document request 70 was “Annual physician, nurse practitioner, physician assistant, dentist, dental hygienist, dental
assistant, and nursing clinical performance reviews over the past year”.
61
   Document request #71 was “Peer reviews for physicians to date (evaluations of privileges connected with a significant
adverse clinical practice event). This includes follow up action”.
62
   Document request #50 was “All peer reviews performed as a result of mortality review. Include the peer review”.



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providing care and that monitoring is to include meaningful performance measurement. The Consent
Decree also requires annual assessment of medical performance. There were no reviews in 2023. Older
reviews from 2022 were submitted but only for some physicians.

There is no policy on annual performance evaluation of medical, dental and nursing staff but there should
be because it is an important aspect of the Consent Decree.63 Not having guidance from IDOC, the vendor
performs its own review of its physicians and creates their own performance review methodology.

The vendor provided annual performance reviews of 13 physicians completed by a contract physician who
does not provide care in the IDOC.64 The reviews were performed on work done in July to December of
2022 about one and a half years ago which indicates that recent annual reviews were not being done. As
of June of 2024, there were 33 physicians positions credentialed to work in primary care in IDOC. This
excludes the gynecology positions at Decatur and Logan which should be included. Of these 33 physicians
who have undergone credentialing, 10 are locum tenens physicians. Of the 23 non-locum tenens
physicians, performance evaluations were only done on 13. Ten current physicians were not evaluated
and there is also no evaluation of the 10 locum physicians. So, for 20 (61%) of the 33 physicians there
was no performance evaluation. IDOC should decide and document in policy how locum tenens
physicians should be evaluated. The amount of time any of these 33 physicians worked is unclear. Many
physicians work only a few hours a week.

The methodology of the performance evaluation has not been provided including chart selection
methodology, description of what precisely is evaluated, and whether more than a single episode of care
is evaluated. A final review of these performance evaluations can’t be provided unless the methodology
and records reviewed are included in document production.

The scoring sheets show that four areas are evaluated: sick call, chronic care, infirmary care, and
laboratory/radiology utilization. Formatted questions are asked for each of these four clinical areas. Six
questions are asked for laboratory/radiologic utilization; seven for chronic care clinics; seven for infirmary
admissions; and eight for sick call. The answers are binary yes/no with a third non-applicable answer.
For 13 physicians, there was a total of 2458 questions asked, 1769 (72%) were answered yes; 575 (23%)
were answered not applicable; and 114(5%) were answered no. These results are not comparable to
physician performance in mortality reviews by either SIU or the Monitor and suggest that the performance
evaluations are not well designed to obtain a reasonable evaluation of performance.

Twelve of the 28 questions were not meaningful in evaluating a physician’s clinical performance; these
are listed below.
    1. Lab question: Was the lab test received in 24 hours and x-ray result received within 72 hours?
         This is not a question of physician performance but of management performance in ensuring
         timeliness in producing diagnostic test results.
    2. Sick Call question: Was patient seen within 72 hours. This is an appointment scheduling issue

63
   Annual performance evaluation is required by B.2 “monitoring must include meaningful performance measurement”;
II.B.6.q., “IDOC agrees to implement changes in the following areas: Annual assessment of medical, dental, and nursing staff
competency and performance”; and III.K. 9., “Within twenty-one (21) months of the Preliminary Approval Date of this
Decree, IDOC shall establish a peer review system for all dentists and annual performance evaluation of dental assistants”.
There should be a policy delineating how these Consent Decree items will be addressed.
64
   This information was provided in a personal communication by IDOC counsel. A list of contractors included Jubilee
Medical who provide peer review.



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       that is related to management of scheduling, physician staffing, and custody ability to transport
       patients to their appointments. It is not a meaningful physician performance metric.
   3. Lab question: Was the lab test/X-ray initialed and dated by a physician within 72 hours of receipt?
       This can be related to the physician not receiving a test result timely. Also, timely review of the
       diagnostic test is important but more important is to determine if the laboratory test was
       appropriately addressed with follow up diagnostic testing or other follow up when the laboratory
       test was abnormal. More than timeliness should be addressed.
   4. Sick Call question: Were laboratory and diagnostic tests documented and addressed? Typically,
       laboratory tests are not done before a sick call clinical evaluation for a problem but are ordered
       after the evaluation. Even if the appointment was scheduled to review a laboratory test,, the
       question should ask whether the laboratory and diagnostic tests were appropriately addressed not
       whether they were just addressed.
   5. Chronic Care question: Does the clinic include pertinent vital signs? The issue related to clinical
       performance is whether abnormal vital signs were appropriately addressed, which is not asked.
   6. Chronic Care question: Was the level of disease delineated? This does not answer whether the
       assessment was accurate and appropriate only whether an assessment was noted. This will not
       evaluate physician performance.
   7. Infirmary Admission question: Is MD response to significant nursing entries evident? The
       question should ask if the physician’s response to nursing entries was appropriate not just whether
       the physician documented a response.
   8. Lab question: Were clinically significant findings documented in the progress notes? This question
       is valid only if a larger section of prior medical record notes are evaluated otherwise how would
       anyone know that there were significant findings which were not documented? One could
       document significant finding but did they act on them appropriately.
   9. Lab question: Was plan as indicated carried out? This can’t be judged unless a significant time
       frame of the medical record is reviewed. The methodology is not provided but the Monitor
       presumes based on prior vendor performance evaluations that only a single episode of care was
       evaluated. Single episodes of care cannot determine whether a plan was carried out appropriately.
   10. Sick Call question: Is the recorded history comprehensive and relevant for the patient’s chief
       complaint? Based on the Monitor’s record reviews the history is seldom appropriate and merely
       restates the patient’s complaint. However, virtually all answers were “yes” giving the Monitor
       concerns about validity of these performance evaluations.
   11. Chronic Care question: Was appropriate education for this encounter documented? Though this
       had the highest deficiency rate (about 28 deficiencies out of hundreds of questions) the Monitor
       has found in evaluation of chronic care notes that very few notes contain any documentation of
       education. Typically, providers check a box titled education but this does not document what
       education was provided. The reviewer should be challenged to document what education was
       given to the patient. The methodology to answer this question is important.
   12. Infirmary Admission question: Is the plan of care appropriate for admission diagnosis? The plan
       of care should be appropriate for all of the patient’s conditions not just the admission diagnosis.
       Typically, infirmary care does not include management of the patient’s chronic conditions. All of
       the patient’s problems should be addressed appropriately.

The Monitor’s mortality and other record reviews, and SIU’s mortality reviews and performance and
outcome measure audits identify numerous serious deficiencies often reflecting on physician performance.
The difference between SIU audits, Monitor record reviews, and the vendor’s submitted performance




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reviews is significant. The multiple problems identified, for example, in this Report’s mortality reviews
does not correspond to scoring in these performance evaluations. The scoring results of the vendor’s
performance reviews, therefore, do not appear to meaningfully reflect the actual practice of the vendor
physicians. The Monitor does not believe that correction of the performance deficiencies in these
questions would appreciably move the IDOC any closer to compliance with the Consent Decree. This
speaks to the lack of meaningfulness of the questions. The Monitor suggests that IDOC attempt to use
the performance and outcome measures and mortality reviews to measure physician performance or to
have an independent reviewer hired by OHS perform these reviews65.

With respect to peer review, IDOC promulged policy A.06.03 QM: Clinical Peer Review in February
2024. The Monitor was given a draft of this policy and provided comments. But the final policy was
different from the draft and included material which the Monitor has not had an opportunity to comment
on. Several comments on this new document are given below and additional comments will be provided
to IDOC.

Policy A.06.03 should clearly state that the policy refers to “for-cause” peer review as opposed to annual
performance reviews which are sometimes be referred to as peer reviews.

In the policy, three reasons are given for initiating a peer review. These are:
    • Policy statement II states that peer reviews are to be conducted “to evaluate compliance with IDOC
        policies and procedures and the accepted standard of care”.
    • Policy statement IV states66 that the peer review process addresses performance or conduct that is
        below the “applicable legal standard”.
    • Policy statement V states, “Medical providers and clinical staff with known or suspected
        substandard clinical practices and/or clinical misconduct, including acts, demeanor, or conduct
        reasonably likely to be detrimental to patient safety or the delivery of medical care shall be referred
        for a Clinical Peer Review”.

Policy statement II is overly broad. On any given day there are likely hundreds of infractions of not
complying with policy or standards of care67. This can lead to a very high number of peer reviews.
Infractions of policy and standards of care should not all be referred for peer review. Most of these
infractions are best addressed in annual performance evaluations and corrected through the quality
improvement process and not in a peer review process. Policy statement II should be used in a policy on
annual performance evaluations instead of in the peer review policy.

Policy statement IV is unclear because “applicable legal standard” is undefined. This statement should
be removed unless applicable legal standard is defined. The policy statement leads to speculation when
it should be clear.


65
    The vendor has provided no evidence of disciplinary actions against any physician for clinical reasons and has
independently identified no problems in clinical care while the mortality review process by SIU has identified hundreds of
deficiencies.
66
   Statement IV states, “The Clinical Peer Review process immediately addresses clinical performance or conduct issues of
medical and dental providers including clinical staff who provide care below the applicable legal standard and/or may result
in imminent danger to the health and/or safety of patient(s) and/or staff”.
67
   See Monitor’s mortality reviews, SIU mortality reviews, and performance and outcome measure data collection as a basis
for this statement.



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Consent Decree provision II.B.6.r of the Consent Decree is not referenced in this policy but its intent
should be present in this policy. It states:
       II.B.6.r. IDOC agrees to implement changes in the following areas: That Defendants and the
       vendor shall timely seek to discipline and, if necessary, seek to terminate their respective health
       care staff that put patients at risk;

The original draft of the peer review policy sent to the Monitor stated in a policy statement,
       “The Peer Review Committee is managed and run by the SIU Clinical Quality Group and
       comprised of professionals not engaged in practice in IDOC who have similar training as the role
       of the employee under review”.
This policy statement was removed and a new procedure statement III states the following: “

        “The Peer Review Committee is managed by the OCM68. The Committee is comprised of
        professionals assigned by the OCM Executive Director or designee:
               A. …who has the same professional specialty of the healthcare professional role being
               reviewed.
               B. Representatives of IDOC Office of Health Services or Vendor, who are not
               associated with the peer under review; and
               C. Person(s) assigned by the Agency Medical Director or designee to participate in
               the review, when applicable.

Having the vendor participate on the peer review committee is unacceptable to the Monitor based on past
behavior of the vendor which has demonstrated failure to engage in effectively reviewing clinical care of
its employees even when clinical behavior has been egregious, substandard, dangerous and harmful to
patients and failure to take action to prevent reoccurrence of that behavior.69 There is potential for bias
in having the vendor evaluate its own staff. At the current time, peer reviews should be performed by
independent reviewers. The vendor has not shown it can be an independent reviewer.

Another comment on the policy is that the practitioner or staff member who is the subject of the peer
review is notified of being under peer review only if the peer review demonstrates that the employee acted
appropriately. However, the employee should be notified whenever a peer review has been initiated.
Because the peer review subject may be disciplined up to and including termination, the subject of the
peer review should be notified when the peer review is initiated, should be told why he or she is subject
of a peer review, and should be given the particular reasons the peer review was initiated. The subject
should also be asked to respond to the allegations in the peer review that is the subject of the peer review.
There are likely systemic reasons that account for much of the questionable care that is the subject of the
peer review and the subject of the peer review should be interviewed to learn their perspective of the care
provided.

Typically, a Peer Review Committee makes an assessment of the infraction; determines the final ruling
and recommends disciplinary action, if any, that should be taken as a result of the infraction. The IDOC
policy A.06.03 requires the Agency Medical Director to decide on a course of action. This places a

68
  OCM is the Office of Correctional Medicine, the group from SIU that provides support to IDOC.
69
  This statement is based on the Monitor’s mortality reviews and mortality reviews of the two Court Experts whose reports
anteceded the Consent Decree and the finding that the vendor initiated no actions to correct the dangerous and substandard
care.



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considerable burden on the Agency Medical Director and IDOC should reconsider whether this is an
appropriate assignment.

Another comment is procedure statement VII of the A.06.03 policy which states,
      “To satisfy legally required reporting obligations, the Agency Medical Director may report
      a licensed professional to their respective licensing board and/or the National Practitioner
      Data Bank.

The Federal and State regulations and NPDB rules guiding any requirement to report should be referenced
in the policy. Because such reporting affects future employment of the licensed professional, IDOC
should ensure legal counsel has reviewed this statement carefully to ensure reporting requirements of the
State licensing board and NPDB are accurately adhered to and are pertinent. The Monitor suggests IDOC
legal counsel review state regulation regarding reporting to the state medical board and contact NPDB for
an interpretation of their requirements regarding actions by the IDOC peer review committee or Agency
Medical Director before further implementation of this policy.

In response to the document request for peer reviews performed as a result of SIU mortality reviews,
IDOC provided the twelve peer reviews initiated for nine separate physicians; one physician was referred
twice and another physician three times for peer reviews. All nine physicians were Medical Directors.
Excluding the four Medical Directors that filled by locum tenens physicians, (which are temporary
assignments) and the seven Medical Director positions which are vacant there are 16.full time working
Medical Directors for which nine (56%) are under peer review. This means that the majority of medical
leadership (who are not locum tenens) are under peer review and were referred for practicing in an
apparent unsafe and substandard manner.

All reviews included the reason for referral by the peer review committee and a summary discussion by
each of the physician peer review committee members who participated in the peer review. In none of
the twelve cases was care deemed adequate and all have been referred to the Agency Medical Director to
make an assessment and decision on disciplinary action. The peer review case summaries are only a brief
one or two paragraphs by each physician peer reviewers. While policy A.06.03 states the purpose of peer
reviews is to ensure an objective process for evaluation of licensed medical providers and staff for
instances of suspected substandard clinical performance, all of the summaries of these 12 cases included
multiple episodes of multiple different staff participating in the poor care. Multiple systemic problems
were also identified. Typically, hospital peer reviews are focused on a single provider for acts specifically
by that provider that resulted in egregious care. Typically, peer reviews presume that the systems of care
are properly functioning. In IDOC, the systems of care are dysfunctional and do not perform adequately.70
The peer review summaries presented in these peer review summaries are not focused specifically on the
acts of a single provider but encompass and include details of surrounding systemic events that all
contribute to the death of the patient. Though the Medical Directors are specifically named as the focus
of the peer review the Monitor found only one case that warranted disciplinary action against a single
physician. The remainder may not require actions against individuals but call for systemic change71 of

70
   Some examples include: the process of specialty care scheduling, follow up, obtaining reports, and review of reports are all
dysfunctional. Patients are not timely referred for care often due to multiple systemic issues and often involve multiple
providers. There are a lack of physicians and nurses so many expectations of care delivery are not performed. There is
insufficient medical housing for certain types of patients that affects the process of care.
71
   Increasing staffing, training, improved access to offsite specialty care, improved policies, etc.



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various kinds.

The Agency Medical Director has not taken action on any of these peer reviews. Five of the 12 peer
reviews underwent peer review on 6/12/24. The other seven peer reviews had no dates of completion.
The Monitor will review action steps and discuss further in the next report.

The Monitor has several comments on this process.
   1. The peer review committee not the Agency Medical Director typically would make the
      recommendation for disciplinary action for the individual in question. If this is unacceptable to
      IDOC, then a group of the Deputy Chiefs should review the case and make a recommendation for
      discipline which would require a detailed review of the case.
   2. The individual who is the focus of the peer review should be interviewed to give their perspective
      on the case details.
   3. The mortality reviewers should be more selective in referrals to peer review. Almost all Monitor
      mortality reviews contain significant systemic problems many of which in combination are
      egregious and shock the sensibilities of readers. But it is often difficult to assign responsibility to
      one individual when most responsibility lies with systemic dysfunction of various types. Care
      should be taken to ensure that when referring a single individual to peer review, that the event is
      the responsibility solely of that individual.
   4. The mortality review process should focus more on systemic issues that adversely affect care (not
      getting reports, lack of physicians, lack of appropriate housing, pharmacy and medication
      administration irregularities, shortage of nursing, etc.). Otherwise, it will be difficult to improve.
   5. There should be a separation of annual performance evaluation and peer review. Policies should
      exist for both. The mortality reviews by SIU can result in both annual performance reviews and
      peer reviews but further refinement of the process needs to occur.
   6. The mortality reviewers and the peer reviewers appear to lack information about systemic issues
      that exist within IDOC. More information about these issues would improve identification of root
      causes that can help in their analyses.

In addressing Consent Decree III.A.3. the Monitor has previously referred three physicians to the IDOC
Medical Director who did not meet the credentialing criteria and, based on medical record review, whose
performance was questionable, potentially problematic and/or their quality of care was not consistent with
the delivery of safe and clinically appropriate health care. All three are no longer working in the IDOC.
The Monitor has verbally advised IDOC on several occasions about another physician without credentials
who is not performing in a safe or clinically appropriate manner. IDOC provided no evidence that they
independently reviewed the quality of care of this provider. IDOC reported to the Monitor that the
employment of this provider is under discussion with the vendor. However, to date, this physician
continues to work without any oversight. The Monitor will continue to communicate to OHS any data
gathered by the monitor team that indicates a physician’s quality of work may be putting patients at risk
consistent with III.A.3. and II.6.r. The Monitor is hopeful that IDOC’s development of its quality
program, an adverse event reporting process, and the mortality reviews by SIU Office of Correctional
Medicine will identify opportunities to improve the quality of clinical care provided in the IDOC and
improve monitoring physicians with respect to III.A.3. and II.6.r.

Currently, there are four physicians who are practicing who do not meet credentialing requirements of the
Consent Decree (III.A.2.). Consent Decree provisions III.A.3. and III.A.4. require focused monitoring of




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physicians who do not meet credentialing requirements. IDOC has not yet developed a methodology or
practice of doing this and has not codified this process in policy. OHS has yet to develop its own method
of reviewing these physicians. The Monitor will continue to identify properly credentialed and
noncredentialled problematic physicians to OHS.

In summary, IDOC has no policy for annual performance evaluation. IDOC has promulgated a policy on
peer review but the Monitor has some concerns which have been mentioned with the recommendation
they be considered in the next policy revision. Meaningful annual performance evaluations are not yet
being conducted. Several individuals have been referred for peer review, the peer review committee has
completed its work, but there is no evidence that decisions have been made regarding action. A partial
compliance is warranted on the basis of promulgation of the policy which is not deemed adequate yet and
the initiation of a peer review process. Much work remains on performance evaluation.

Oversight over Dental Staff

Dentists
The Monitor reviewed 24 dentist peer reviews conducted from 08/30/23 to 11/07/23. One peer review
was missing.72 Wexford dentists conducted all peer reviews on each other. One dentist who received a
“Poor” evaluation the previous year and in 2023 was selected as a peer reviewer for the dentist at Stateville
Correctional Center.

As mentioned in the previous report submitted by the Monitor, the standardization methodology regarding
peer reviews is absent. Moreover, there is no evidence that the dentists received training before performing
the peer reviews. Therefore, there are inconsistencies in how data is collected and eventually reported.

During the site visit at NCR, the Monitor discussed the peer review process and inconsistencies with the
Chief of Oral Health Programs. According to the Chief of Oral Health Services, the peer review process
will be transitioned to SIU. A third-party review by independent contractors (dentists) is encouraged and
would resolve the issues of calibration and bias.73

The Monitor noted that most reviews were performed remotely, so dentists could not entirely review the
record. This is problematic, particularly if trying to review whether appropriate X-rays were made. While
on-site, the Monitor noted that many X-rays were inadequate due to distortion, cone cuts, and totally
missing the intended tooth. The dentist conducting the review remotely cannot determine if a radiograph
is adequate unless they are looking at the physical or digital radiograph.

Many providers had repeat findings from previous reviews, including illegible clinical notes, failure to
review medical health history, and not using SOAP notes for urgent care. There is no evidence of
corrective action plans or performance improvement discussions to address these issues. It is strongly
recommended that the Chief of Oral Health Services review and initiate a performance improvement plan
for “Fair” and “Poor” reviews.

Dental Hygienists and Dental Assistants.


72
     Robinson Correctional Center
73
     Implementation Plan 78 part 2. Train independent contracted or consultant staff on provider peer review process.



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The Monitor requested annual evaluations for dental hygienists and dental assistants. Data was collated
from June 2024.74 The numbers of dental hygienists and dental assistants by employer is provided below.

                              Clinician                IDOC        Wexford
                              Dental Hygienist         2           21.75
                              Dental Assistant         8           36.9

The document request of the Monitor for performance evaluation of dental assistants and dental hygienists
included no data or information for vendor dental hygienists or assistants; the Monitor presumes that no
performance evaluations were done for these positions.

The State conducted five performance evaluations: one for a dental hygienist and four for dental assistants.
Only one of two full-time dental hygienist positions had an evaluation. For the hygienists, a Central
Management Services evaluation form (CMS201 (Ver 6/15)) was used. This form was related to
administrative directive requirements which are compliance-related without any evidence of evaluation
of the clinical performance of the hygienist.

The four dental assistants each from a different facility were each evaluated using different appraisal
objectives. Most were meaningless questions for a clinical performance evaluation of a dental assistant
(key control, signing in on timekeeping sheets, dress code, attendance, checking outlook messages each
shift, participation in staff meetings, etc.). One form75 for a dental assistant used appraisal objectives that
were for a dentist including performing admission examinations of inmates, performing restorations,
examining teeth in need of replacement, etc. This evaluation for a dental assistant using dentist evaluation
questions scored the dental assistant for all these dentist obligations as “exceeded”. The reason for using
different questions on these forms and different forms for each facility was unclear but is consistent with
each facility managing its own operation and not under control of a central clinical authority. None of the
forms addressed the clinical performance of a dental assistant employee. One of the forms contained an
evaluation question stating "Assisting Fax & Fill Pharmacy in recording and dispensing medical
prescriptions as evidenced by direct observation of a supervisor and review of records."76 Dental
assistants are not licensed to dispense medication and this question is inappropriate. If this is actually a
question for a dental assistant it reflects the dental assistant being responsible for dispensing medication
from an onsite dental medication cabinet. This is outside the scope of the dental assistant’s license and is
something the dentist needs to do when using an dental office medication cabinet. This type of assignment
should be referred to the SIU pharmacist who is conducting a process analysis of medication management.
All evaluation forms were completed by HCUAs but a HCUA is not licensed appropriately or competent
to evaluate dental staff for their clinical performance. These evaluations are meaningless clinical
performance evaluations for the employee type, and are not honest attempts to evaluate dental hygienists
or dental assistants. The Dental Chief OHS must develop an appropriate performance evaluation for
hygienists and dental assistants.

74
   We note that 4CN8510-BATES 5999-6015 Lippert Medical Staffing Report June 2024, the vendor staffing for June and
Facility Reconciliation Worksheets - Q3'24 - LIPPERT (1) the State staffing that included dental hygienists and dental
assistants for the vendor had different numbers for the number of dental hygienists. The vendor had 21.75 dental hygienists
and the State had 20.25 dental hygienists on their schedule E. The difference was that the State had 0.5 hygienist at Hill
while the vendor had 1 and the State had 0 hygienist at Western whereas the vendor had 1. This is an example of IDOC
providing multiple staffing documents that do not provide the same data. We used the vendor’s numbers for this example.
75
   This was for the Stateville dental assistant in the Stateville folder in document request #70.
76
   Dixon



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Oversight over Nursing Staff
The Monitor requested the following documents to review oversight of nursing practice:
   • Tables of organization for Northern Region facilities medical programs including HCUAs,
      Medical Director, state and vendor medical employees and site leadership.
   • A list of allocated/budgeted medical and dental positions (also noting FTE) vacancies for each
      position at each facility to include IDOC and Wexford positions. These should be separated by
      position type. Aggregate positions statewide should be included.
   • List of corrective actions or process analyses initiated due to mortality reviews, performance and
      outcome measures, adverse event reports, or any other reason.
   • Annual nursing clinical performance reviews over the past year.
   • Nursing disciplinary actions over the past year (including both vendor and state employed
      personnel).
   • List training completed in the last 12 months for any nurses employed by either the state or the
      vendor at NRC, Graham, Menard, Logan, Stateville, Illinois River, and Pontiac.

Capacity to supervise nursing practice
Compliance with the provisions of the Consent Decree requires change in the delivery of nursing care and
the customs and practices of nursing staff in the IDOC.77 These changes will not occur spontaneously.
Directors of nursing and nursing supervisors with clear lines of authority are essential if these changes are
to be achieved and patient outcomes improved.

The organizational charts of eight facilities in the Northern region were reviewed.78 At Dixon the director
of nursing reports to the HCUA. The facility has four nursing supervisor positions, and all were vacant in
the last staffing report received.79 The facility has allocations of 50 registered nurse positions. The vendor
is allocated 12 LPN and 14 nursing assistant positions. This is a total of 76 nursing positions who are
supervised by the director of nursing.

Statewide there are 29 nursing supervisor positions allocated, however only a third of these positions are
filled.80 The nursing supervisors should be doing the bulk of daily supervision of nursing staff, but IDOC
only has a third of the capacity it has determined it needs. The problem of supervision is exacerbated when
there are also high vacancy rates among nursing staff because the nurse supervisor and director of nursing
have their time diverted from supervision to scheduling, onboarding new or temporary staff, and providing
direct patient care. The HCUA certainly assists with supervision but even then, this is insufficient
oversight to implement changes that must be made in the delivery nursing care safely.

Five of the facilities organizational charts that were reviewed show an appropriate line of accountability
for leadership and supervision of all nursing positions, including those allocated to the vendor. Pontiac’s
organizational chart was problematic in that the facility director of nursing reports to the vendor’s medical
director, not the HCUA. Two of three nursing supervisor positions are vacant, so the 43 nursing positions

77
   Notably these changes affect the delivery of medication, the assessment of patients’ health conditions, the ways that care is
ordered and provided, and documentation. The term nursing staff is inclusive of registered nurses, licensed practical nurses,
and nursing assistants.
78
   East Moline was the only facility in the Northern Region that did not respond to the Monitor’s documentation request #5.
79
   Information received from IDOC in response to the Monitor’s documentation request #10 as dated 5/28/24.
80
   There are a total of 29 nursing supervisors allocated of which 9.67 FTE are filled (33%).



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employed by the state are supervised by one nurse supervisor and the director of nursing. The vendor’s
allocation of 17 LPNs and nursing assistants are not recognized as reporting through any nursing chain of
command. Accountability for nursing practice is not sufficient at Pontiac. At Sheridan state employed
nursing staff report to the director of nursing who reports to the HCUA. The Assistant Warden for
Programs supervises the vendor’s staff.81 There is no line of accountability for the supervision and practice
of the six nursing assistants to the director of nursing, which leads to discontinuity of patient care. The
absence of nursing direction and supervision of tasks delegated to nursing assistants may also violate State
regulations regarding nursing assistants. Stateville’s organization chart does not include a line of
accountability for the practice of the 51 nursing positions allocated to the vendor.

Training Provided
None of the position descriptions reviewed thus far require any sort of annual demonstration of
competency as required by II.B.6.q.82 Training documents provided by the requested facilities in response
to the Monitor’s documentation request #76 vary greatly. Pontiac, NRC, Menard, and IRCC provided
what appears to be a file that keeps track of employees completion of required training. Only CPR
certification and crisis training have any particular emphasis on health care delivery otherwise the training
is solely about factors important to institutional operations. Pontiac provided a more extensive list of
required trainings to include several topics relevant to nursing practice and could be considered the
fundamental criteria for maintaining a training record.83

Among these records were various checklists, “read and sign” memos, and in-service credits for
attendance at various meetings such as the restrictive housing committee, and health care unit staff
meetings. There were records of only two trainings that related to any change or improvement in service
delivery. One was a memo instructing nursing staff to read and sign the policy E.06.01 regarding sick call.
The memo included no instruction to implement the new policy. The second was an attestation that staff
had viewed a recorded training on medically assisted treatment, a program to treat addiction. Neither of
these required any test of knowledge or competency demonstration.

The medical vendor sent 851 pages of various training documents. These included a new employee
orientation checklist, an attestation that the clinical skills binder had been reviewed, the checklist for the
one day orientation of agency nurses, a read and sign memo concerning the eight rights of medication
administration, and documentation of completion of IDOC Cycle Training and New Employee
Orientation. Among these were a few instances of testing staff knowledge after training but no evidence
of competency demonstration. Finally, there was documentation that nursing staff request privileges
annually which are granted by a supervisor, but again, there is no test of knowledge or demonstration of
competency that are documented as part of this process.

Nurses are to receive training from the facility medical director upon hiring and annually thereafter. There
is no standardized curriculum or expectations established for this training. Several facilities were found
noncompliant with the AD for treatment protocols because this training did not take place annually.84 See
more discussion about this in the section on Sick Call.

81
   In this instance, if the organizational chart is accurate, OHS has no effective supervision of the health care vendor.
82
   Health Care Monitor 7th Report, December 27, 2023, page 66.
83
   The record sent by Pontiac tracked completion of training in HIV, life support, negative air pressure checks, OSHA and
BBP, treatment protocols, and confidentiality.
84
   These were Centralia, East Moline, and Lawrence.



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The Implementation Plan includes several items that address the training and competency of nursing
staff.85 It does not appear that any of these have been initiated. Furthermore, there is no prioritization or
a plan for the training of the nearly 1,000 nursing positions in the IDOC. IDOC should consider adding
Unit-based Nurse Educators at the large facilities. These positions add capacity because they take the
training burden off of the Director of Nursing and Nurse Supervisors. Unit-based Nurse Educators excel
at teaching and coaching acquisition of new skills and develop nurses’ critical thinking by working
alongside staff. These positions can be key to identifying process improvements that eliminate barriers to
desired practices. The Unit-based Nurse Educator would also have primary responsibility for the annual
evaluation of nursing competencies.

The Executive Director of the Office of Correctional Medicine stated that a position was recently filled
which is responsible for development and coordination of clinical training.86 She also stated that they have
initiated Grands Rounds, which is available to IDOC staff. While the Monitor supports this effort, it does
not appear to have penetrated nursing services, since no evidence of training participation or completion
was provided. A more organized and structured training program needs to be developed to achieve
compliance with II.B.6.q.

Performance evaluation
The Monitor received 177 performance evaluations of state employed RNs and LPNs from 12 facilities.87
Performance appraisals from Jacksonville, Graham, and East Moline had no employee self-evaluation
and no signatures or dates so it is not possible to know if the appraisal was reviewed with the employee.
Pontiac and Menard stood out due to the number of untimely performance appraisals.88 It is unclear why
the majority of performance appraisals were completed late. A registered nurse, either the HCUA,
Director of Nursing, or Nursing Supervisor completed the performance evaluations of nursing staff in all
the appraisals reviewed.

The appraisal consists of an evaluation whether the employee met their objectives since the last appraisal,
then a ranking of the employee’s performance against eight generic criteria, general remarks by the
supervisor, and objectives for the next reporting period. The objectives tend to be very task and rule
oriented and focus on attendance and compatibility with other employees. The content of the performance
evaluation do differ from one facility to another but all the evaluations of employees at a single facility
differ very little from one to another. There was no evidence of coaching to improve performance. There
were a few objectives for the development of individuals, such as participation in crisis training. The
performance appraisals of RNs and LPNs make no mention of supervision of nursing assistants
performing delegated tasks or RN supervision of LPNs when an independent clinical judgement is
necessary. The performance appraisals are silent with regard to any program goals, projects, or initiatives,
such as vaccination programs, colorectal cancer screening, and infection control or refer to any of the
changes called for in the Consent Decree. There is no evidence that actual proficiency in nursing practice
is evaluated.


85
   See Implementation Plan items 7 (3), 28 (4), 40 (9), 53 (6 & 8), and 94 (1 & 2).
86
   Interview of Executive Director, Office of Correctional Medicine, SIU on 6/27/2024. The title of this position is Health
Matters Program Director.
87
   Decatur and Sheridan each have state employed nurses but did not respond to the Monitor’s documentation request #70.
88
   Pontiac: five of seven performances were done late; Menard had 12/19 that were late.



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Vienna did not send performance appraisals of nursing employees. Instead, an annual request for
privileges, a skills inventory, and skills checklist for vaccine administration was sent. Of these documents,
only the checklist for vaccine administration has been instituted as a result of a program improvement
effort to increase vaccination as a preventive health measure. All of the other tasks appear unchanged to
reflect any new expectations with regard to the work done by nursing staff. There were a few tasks that
an employee indicated on self-assessment they were unprepared to do, and the supervisor reviewed it with
the employee until they were competent. No employee was denied privileges to perform nursing tasks
based upon an evaluation of their clinical performance. There are no expectations for nurses to supervise
nursing assistants to whom tasks are delegated nor RN responsibility to supervise LPNs using treatment
protocols that require a judgement based upon a patient assessment.

The vendor is also responsible for supervising the performance of nurses they employ. They provided the
instructions for evaluating their employees’ performance. The purpose of the assessment is to determine
if an employee merits an increase in pay. Performance Indicators are extremely generic and consists of
the vendor’s core values, key traits, and clinical competence. There are no instructions or criteria listed to
evaluate clinical competence. If the person responsible for completing the evaluation is not considered the
clinical resource at the site someone at the regional level is to be contacted to evaluate clinical competence.
An individual’s performance in meeting the indicators is then identified as a single x on a scale from high
to low with no description of how the employee’s performance was ranked on any of the indicators. This
is an absolutely meaningless. The list of performance reviews for RNs and LPNs is dated 2022, which is
two years ago. This was the same document that was provided to the Monitor for the 7th Report.89 This
information indicates that the vendor does not evaluate the performance of employees on a regular basis
and that the evaluation itself is meaningless as a measure of performance and clinical competency.

Discipline
The Monitor requested disciplinary actions of nursing staff over the past year (including both vendor and
state employed personnel) to evaluate compliance with II.B.6.r. that Defendants and the vendor shall
timely seek discipline and, if necessary, seek to terminate their respective health care staff that put patients
at risk. The vendor sent 26 records of discipline involving nursing staff. Of these 20 were discipline for
poor attendance, one was for leaving keys out, one for inappropriate comments about staff and patients,
one was for hostile behavior in the workplace, and one was for refusal to work a mandatory overtime
shift. Only two disciplinary actions concerned clinical practice; these both involved a single employee.
There are numerous adverse events reported, mortality review findings, pharmacy inspections, treatment
protocol review findings, and read and sign training memos that identify problems with nursing practice
and yet only twice, with one nurse was disciplinary action taken? The Monitor is not aware of any nurse
referred for peer review as a result of mortality review.90

Many times, poor performance can be attributed to system deficiencies. For example, if nurses are rushed
to complete medication administration because of unrealistic time constraints it may be that
documentation on the MAR is missed. The organization has an obligation to address workplace factors
that cause employees to take risks and make unintentional errors. However, employee discipline may be


89
   See the material provided in response to item #47 of the Monitor’s request for documentation for the 7th report. This was
disingenuous on the part of the vendor.
90
   Monitor’s documentation request dated 8/4/2023, item 32, for a list of all peer reviews performed as a result of mortality
reviews. No information was provided by IDOC.



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warranted when an employee’s actions are reckless91, there is evidence of impairment, or the action is
malicious. Sufficient evidence was not provided to the Monitor that indicates timely discipline is sought
when nursing practice is impaired, reckless, grossly negligent, malicious and puts patients at risk.

The documentation received in response to the Monitor’s request for information to evaluate the oversight
of nursing staff demonstrates no change in existing practices as described in II. B. 6.q and r. with regard
to assessment of nursing competency and performance review or timely disciplinary action and removal
of nursing personnel whose practice pattern puts patients at risk of harm.

Summary of Medical, Dental, and Nursing Oversight
This section was raised to a partial compliance by virtue of IDOC having written a policy on peer review
for physicians, having initiated peer reviews even though the peer reviews have not been completed, and
hiring a contracted outside entity to do performance evaluations on a portion of the vendor’s medical
physicians. In all other respects this section would be noncompliant. Oversight of all clinical staff at
facilities barely occurs due to the significant lack of supervisory staff. Vendor regional Medical Directors
provide virtually no oversight over physician and mid-level provider practice based on Monitor record
reviews, SIU mortality reviews, and interviews with physicians during site visits. Accountability for
nursing practice is insufficient because reporting relationships do not recognize a single nursing authority.
There is no policy on annual performance evaluation of medical, dental, or nursing staff competency and
performance. Data for performance evaluations of physicians was from 2022 which was the wrong year
for this report and only 13 physicians were evaluated using a methodology the Monitor considers
ineffective. Dentists evaluated one another using non-standardized methodology and included dentists
who previously have performed poorly to evaluate other dentists. Performance evaluations of dental
hygienists and dental assistants were completed by the HCUAs who are unqualified to perform these
dental clinical evaluations. Nursing performance evaluation data provided by the state reflected no change
in performance expectations to carry out any of IDOC initiatives (i.e., vaccination program or colorectal
cancer screening), no expectations for delegation and supervision of other nursing staff, and no
expectations regarding competency. The performance data provided by the vendor for nursing positions
was the same data presented for the last report and was for 2022 which was a meaningless submission
with respect to an annual review. For the vendor to submit annual performance data from 2022 for 2024
and to submit the same nursing performance evaluations from the prior report is deceptive or indifferent.
Competency was not evaluated for any professional group. IDOC does not monitor physicians without
credentials. A partial compliance was given only on the basis of the initial policy on peer review and
beginning work on peer reviews but other aspects of this section are noncompliant and need much work.

Recommendations for medical, dental and nursing oversight were combined below.

RECOMMENDATIONS:
     1. Standardize evaluation formats so that all clinical staff of the same type are evaluated in the
        same manner.



91
  Applicable examples are not using the MAR when administering medication or not accounting for keys or controlled
substances. For more discussion of how to determine when disciplinary action should be considered in patient safety please
see: Just Culture: A Foundation for Balanced Accountability and Patient Safety - PMC (nih.gov)




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    2. An independent professional knowledgeable of the scope of practice and capable of evaluating
        the clinical care of the professional should perform the evaluation. This requires a physician,
        dentist and nurse independent reviewer.
    3. Clinical professional performance evaluations should be shared with the employee who
        should sign the review after discussion with the reviewer.
    4. Involve the Chief of Dental Services and the SIU audit teams in the re-assessment of the
        existing dentist, dental hygienist, and dental assistant annual evaluations so as to include
        metrics that evaluate the quality of dental care and clinical skills of the dental team.
    5. The Chief of Dental Services should establish clear guidelines concerning antibiotic
        prophylaxis for dental procedures, obtaining x-rays prior to dental extractions to ensure the
        utilization of x-rays meets existing dental standards of care, and for signed consent forms
        prior to dental care. These guidelines would also allow for more objectivity in the dentists’
        peer review evaluations.
    6. Expand Peer Review Criteria: Recommend expanding the dental peer review instrument to
        include an evaluation of clinical care quality and performance. This extension will provide a
        more comprehensive assessment of staff competency, and the quality of dental care delivered.
    7. Develop and initiate professional performance evaluations that assess the clinical competency
        and clinical performance of all dental staff including dental hygienists and dental assistants.
    8. Annual peer reviews, not Salary Compensation Calibration, of the onsite Medical Director,
        staff physicians, nurse practitioners, physician assistants, Directors of Nursing, Nurse
        Supervisors, and Nurses (RN and LPN) should be provided to the Monitor.
    9. Implement policy C.02.01 Licensure and Credential Verification.
    10. The facility DON or nursing supervisor must demonstrate clinical supervision of all nursing
        personnel assigned to work at the facility (state and vendor employed staff). Clinical
        supervision is demonstrated by completion of an annual competency evaluation which is
        considered in the annual performance evaluation, written documentation of performance
        improvement expectations, and evidence of timely disciplinary action for clinical
        performance deficiencies.
    11. The position descriptions for registered nurse and licensed practical nurse should be revised
        to include the explicit expectation that competency to practice nursing is evaluated by a
        nursing supervisor annually.
    12. Address the training and competency evaluation items that are included in the Implementation
        Plan; these are items 7 (3), 28 (4), 40 (9), 53 (6 & 8), and 94 (1 & 2).
    13. Develop a policy and performance evaluations.
    14. Shift the dental peer review process to engage independent third-party contractors for reviews
        onsite. This approach will allow for a more thorough assessment of clinical records, including
        the evaluation of physical radiographs, and help mitigate the issues associated with remote
        reviews.
    15. For providers with repeat deficiencies or poor evaluations, implement corrective action plans
        and performance improvement discussions. The Chief of Oral Health Services should oversee
        these plans to ensure that issues such as illegible notes, incomplete health history reviews, and
        improper use of SOAP notes are addressed and corrected.
    16. All dental assistant evaluations (IDOC) should be specific to their scope of employment and
        include relevant dental appraisal objectives. If a dental assistant is assigned tasks outside their
        typical role, such as assisting with pharmacy duties, the evaluation should clearly document
        the rationale and ensure that the individual is qualified and licensed for these responsibilities.




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        17. To accurately assess clinical competency, evaluations for dental assistants and hygienists
            should include input from a supervising dentist. This collaboration will provide a more
            comprehensive evaluation, ensuring that clinical skills and competencies are adequately
            assessed.
        18. Ensure that the Monitor receives detailed, individual evaluations for dental hygienists and
            dental assistants from the vendor. These evaluations should include specific appraisal
            objectives related to clinical care.


Internal Monitoring and Quality Improvement
Addresses item II.B.2; II.B.6.l; II.B.6.o; III.L.1;
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
II.B.6.l. IDOC agrees to implement changes in the following areas: Effective quality assurance review;
II.B.6.o. IDOC agrees to implement changes in the following areas: Training on patient safety;
III.L.1. Pursuant to the existing contract between IDOC and the University of Illinois Chicago (UIC)
College of Nursing, within fifteen (15) months of the Preliminary Approval Date [April 2020], UIC will
advise IDOC on implementation of a comprehensive medical and dental Quality Improvement Program
for all IDOC facilities, which program shall be implemented with input from the Monitor.

OVERALL COMPLIANCE RATING: Partial Compliance

Statewide Quality
FINDINGS:

IDOC has promulgated its quality improvement policy A.06.01. The Monitor did review the draft of this
policy. Several items recommended by the Monitor were not included in the final version of the policy.
These are as follows.

   1. The policy does not address a comprehensive audit (II.B.9).
   2. IDOC does not assign a separate individual to manage the adverse event reporting system which
      the Monitor recommemnded. Instead the Agency CQI coordinator is assigned this task in addition
      to other duties. This may require additional help.
   3. The Monitor recommended more detailed analysis of grievances by type of grievance to identify
      where problems exist. IDOC will ensure grievance trends are obtained from custody but does not
      perform analysis of grievances. This is a lost opportunity to identify correctable problems.
   4. The Monitor recommended that the Chief OHS or designee approve the hiring of each quality
      improvement coordinator, but this was not done and there apparently is no change in the current
      arrangements that the CQI coordinator is an Warden-appointed function and is still not a dedicated
      position. IDOC did add that the Chief OHS approves the position description of this position but
      if the position is not a dedicated position, it is unclear what this means as a part time employee




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        would have insufficient time to develop a quality program. The Monitor continues to recommend
        dedicated facility CQI coordinators.
     5. The Monitor recommended that each facility has a CQI plan that included recommended corrective
        actions initiated from deficiencies identified through the comprehensive audit (when it is initiated),
        mortality reviews, adverse events, and performance and outcome measures. This was not included
        in the policy. Instead, each facility is to implement the statewide CQI policy. Without a facility
        specific plan, the facilities will lack direction.
     6. The Monitor recommended that the Chief OHS or designee attend an annual facility CQI meeting
        to approve their annual CQI plan, and review quality findings from audits, performance and
        outcome data, mortality reviews, and adverse events and discuss how the facility intends to address
        these in their upcoming annual CQI plan. This was eliminated in the policy. Addendance by the
        Chief or designee can be via teleconference to reduce travel. However, actually visiting the
        facilities does increase exposure to actual conditions at each facility.

The policy references that the CQI manual92 is to define the quality management system but the manual
is not completed yet. The policy also references the CQI plan which the Monitor was told is an annual
plan that gives the goals of the program and is described in the policy as the approach to conducting CQI93.
The annual plan is also not completed yet and the fiscal year is over.

The Monitor requested a document94 that describes the detailed responsibilities of SIU with respect to the
IDOC medical programs including CQI. IDOC provided no specific document that describes the
responsibilities of SIU except the original contract which does not describe what SIU currently does. The
original contract with SIU was to provide physician services at four IDOC facilities. That contract was
not implemented. Instead, IDOC changed the requirements but did not memorialize the changed
responsibilities, which should be done. The responsibilities of SIU have changed over time. IDOC states
that responsibilities of SIU are evident in medical policies and procedures and said that they don’t have
anything documented at this time but the are working on it. The Monitor believes that a document
memorializing expectations for SIU is appropriate.

The Monitor requested the system wide Annual CQI Plan and any facility level CQI annual plan that has
been developed.95 An annual CQI Plan is being drafted but the year is almost over so IDOC is drafting
next year’s plan. Facility CQI plans are not yet developed.

The Monitor requested IDOC to provide any policy, procedure, or document to define a standardized data
glossary for use in CQI at facilities (e.g., what standardized data is to be provided in CQI meetings and
how is that data defined).96 A data glossary for use by facilities to define how data is to be presented in
CQI minutes is being drafted.



92
   The policy defines the Quality Management Program Manual as: “A document that defines the quality management system
that clearly outlines and describes the structure of our organization”.
93
   The policy defines the Quality Improvement Plan as: “The plan identifies the health system’s approach to improving and
sustaining its performance through prioritization, design, implementation, monitoring, and analysis of performance
improvement initiatives”.
94
   Document request 22
95
   Document request 25
96
   Document request 27



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The Monitor requested training procedures, plans, and training accomplishments of the statewide CQI
program with respect to facility CQI programs and OHS from July 2023 through March of 2024.97
Training on quality improvement was provided to selected OHS staff and HCUAs. A WebEx presentation
on quality management occurred. A recording of the meeting was provided for use by facilities , but the
Monitor was not provided the recording. An email about the presentation describes the updating of
policies and development of a quality improvement manual. Apparently, this WebEx was intended for all
staff but it is not clear if all staff viewed the WebEx. This training is provided to facility leadership staff.

IDOC provided the Monitor a CQI quick reference guide document. It appears that it was given to
HCUAs. It desribes the following:
   • Lists various policies and ongoing existing activities related to CQI (performance and outcome
      measures and mortality reviews).
   • Describes how often performance and outcome measures are conducted and describes the
      measures.
   • Describes how SIU will collect information used in the measures.
   • Describes how to use the clinical adverse event reporting system.
   • Describes documents SIU requires in order to perform a mortality review, describes the process
      of the mortality review committee; and describes identification of opportunities for improvement.
      However, the role of facilities, with respect to how to take action of identified deficiencies was as
      unclear as the current policy. It is not surprising that there is no evidence of actions taken on
      identified deficiencies as IDOC has not yet figured out how to do this. This is an area that needs
      further attention. Better analysis of deficiencies to identify patterns of deficiencies may help.
   • The reference guide introduces infection control issues that are to be discussed at CQI meetings
      but no guidance was given on data reporting requirements or how facilities are to use infection
      control data in their CQI meetings.
   • Typical dental issues (appointment cancellations, adverse events, non-compliance with standards,
      audit findings, backlogs, sterilization issues, and policies) were listed but how facilities are
      expected to obtain this data or what they are expected to do with this data was not presented.
   • The reference document states that facilities are to create a CQI plan consistent with audits,
      mortality reviews, adverse events and other findings. Details on how this is to occur were lacking.
      The challenge for OHS is how to instruct staff on how to do this. It may be worthwhile to pick a
      site and walk them through development of a plan to gain experience in the difficulties and
      challenges is writing a facility CQI plan.
   • The reference document ended with an announcement that a structured template for CQI meeting
      will be provided and discussed proposed elements.

It is unclear to whom this reference document was disseminated or what follow up occurred. The
document is a reasonable explanation of the status of the CQI program. It demonstrates the difficulty of
OHS in developing a mechanism to understand and use identified deficiencies to help correct problems.
More work needs to be done in this area. But IDOC is providing HCUAs information on the program.

The Monitor requested any policy or procedure for process analysis including any used by SIU, Office of
Correctional Medicine.98 IDOC does not have a policy on process analysis. No one is specifically assigned

97
     Document request 28
98
     Document request 30



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to conduct process analysis. IDOC has not provided any process analyses. IDOC would benefit from
process analysis of key processes: intake, chronic care, specialty care, discharge planning, and medication
management that would inform policies and would help IDOC to standardize the process. This is useful
because each facility conducts business differently which is difficult to manage. Standardizing practice
will promote progress toward compliance with the Consent Decree.

The Monitor requested a list of process analyses initiated during mortality reviews, performance and
outcome measures, adverse event reports or for any other reason.99 No process analyses have been
initiated based on mortality reviews, performance and outcome measures or adverse event.

The Monitor requested evidence of inclusion of dental services and care in quality improvement
activity.100 IDOC submitted several documents to demonstrate quality improvement work being done for
the dental program. These documents included request #34 which was for any documentation of progress
in development of statewide performance and outcome measures and a dashboard. Two files related to
the performance and outcome data were provided. These included one measure for dental care. Another
request was document request #29 which was an Excel spreadsheet of Dental Quality Performance Data.
Both files in document request #34 and #29 were SIU data for the same dental measures for the same dates
yet the data was entirely different. The Monitor can’t accept this data until an explanation is provided to
explain why the same measure appears to report different data for the same dates.

IDOC also provided three other documents in document request #29. These include a blank REDCap
form for a Dental Performance Review. There was no explanation for what this form will be used for. The
second document is an apparent record review of dental care of infirmary patients who died. A third form
is a blank form titled Dental Unit Overview which is a one page document with a series of questions about
dental care. IDOC provided these three document without any explanation. The Monitor cannot evaluate
the forms until IDOC informs the Monitor regarding the methodology of the study, purpose of the forms,
who will complete the form, which facilities will be reviewed, how often the form will be used, and how
the information will be used.

The dental performance and outcome measure and the Dental Quality Performance Data require
explanation as they appear to capture the same data for the same dates but present different results. The
remaining forms and Excel spreadsheet on analysis of dental care on infirmaries needs explanation as
well. This data is insufficient as the basis for a dental quality improvement program. A recommendation
was added on dental quality improvement.

Status of quality programs since the last report are as follows.
• The System Leadership Council is still directing the quality program. Meeting are quarterly and
    minutes are completed.
• There has been no progress on the comprehensive audit. At the meeting with IDOC in July of 2023,
    IDOC was to schedule a follow up meeting to discuss the audit but this has yet to be accomplished.
• There has been no evident progress on a patient safety program.
• SIU has completed over 190 mortality reviews. Data is maintained in the REDCap software systems
    but the Monitor does not have access to use this data for analysis. Mortality reviews are useful
    documents. SIU has added a pharmacist to the reviewer group which the Monitor believes will be
99
     Document request 52
100
     Document request 29



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    helpful. Reviews have been done consistently but the information obtained is not yet being used
    effectively to improve care at the facility level. Data analysis has not yet been done. In interviews,
    vendor Regional Medical Directors do not closely evaluate these documents and do not use them to
    monitor care. Facility providers do not read these reviews and discussion at CQI meetings, when they
    occur, is superficial and not meaningful. No corrective actions have been initiated through the
    mortality review process.
•   IDOC has committed to process analysis but no analyses have yet been completed and no process
    analysts have been hired. Adverse event, and mortality deficiencies have not resulted in any process
    analyses. IDOC stated that a colorectal cancer process analysis was done but this was not an analysis;
    it was an initiative that did not include a process analysis. This will be discussed later in this section
    of the Report. IDOC has committed to a medication administration process analysis. The Monitor has
    supported this process analysis for several years. A proposed charter for this project was provided.
    This project was started over a year ago, paused and is now re-starting. The Monitor has received no
    progress reports on this project.
•   An adverse event reporting system was started. SIU said there were 82 adverse events reported to
    date. However, the list of adverse events provided to the Monitor contains only 52 entries. This
    program will be discussed in a following section.
•   Perfomance and Outcome Measures: One measure (COVID vaccination) was dropped and three
    measures were added: cervical cancer screening, fasting lipids, and prostate screening. Two measures
    (smoking history screening and weight measurement) are being considered as new measures. Of the
    12 prior measures colorectal cancer screening was suspended temporarily as an initiative until a project
    to improve screening is completed. This implementation is just starting. Of the remaining 11 measures
    one (breast cancer screening) is at goal; one (nephropathy screening and treatment) is near goal; none
    of the remaining nine measures are at goal with two slightly improving, four remaining about the same,
    and two deteriorating.
•   A colorectal cancer screening initiative is being initiated based on data obtained from the performance
    and outcome measure showing low rates of cancer screening. A memo to HCUAs, DONs, and
    providers was distributed 4/2/24 detailing the plan which will be discussed in the performance and
    outcome section of this report.
•    The Quality Improvement Program Manual is not completed.
•   The FY24 Quality Improvement Plan is not completed. If this document is delayed any longer, IDOC
    should focus on the FY25 Quality Improvement Plan.
•   The patient safety program has not been initiated.

Facility quality improvement programs are not well developed. No facility has a dedicated Quality
Improvement Coordinator. All facility quality improvement coordinators have other assignments. One
Quality Improvement Coordinator assignment is filled by an Assistant Warden. Wardens still appear to
be assigning quality improvement coordinators. Physicians, including Medical Directors do not play a
significant role in quality improvement. During recent tours, the Stateville Medical Director was not
involved in quality improvement activity and attended meeting if she had time. No corrective actions
have yet been undertaken at the facility level. Though policy A.06.01 requires HCUAs to receive and
initiate corrective action and to initiate plan to accomplish tasks as a result of facility audits, mortality
review, or adverse event analyses, there is still no evidence of this occurring.

Successes at the level of statewide leadership has been augmented by 33 filled SIU positions and additional
OHS positions (Agency CQI coordinator, Deputy Chief assigned to CQI, and Regional Coordinators who



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give guidance on CQI). The effect of central office quality work is not yet evident at the facility level,
which has not had the staffing support that is evident in the central office. The net staffing at the facility
level is a negative since the beginning of the Consent Decree. Because of the 50% physician staffing
vacancies, is not surprising that on tours, facility Medical Directors aren’t aware of quality projects, don’t
actively participate in quality programs, and none we have talked to have even read mortality reviews for
their facilities. Quality improvement coordinators all perform quality work as an additional assignment
to their regular assigned position. Those quality improvement coordinators we have spoken with aren’t
aware or haven’t read the CQI plan or policy and several knew little to nothing about quality improvement.
Most of the CQI coordinators are HCUAs and their positions leave little to no time for quality work.
Staffing deficiencies are a major reason for difficulty in implementation of any programs at the facility
level. It is the Monitor’s strong opinion that management has not provided facilities with sufficient
staffing, space, equipment, and supplies to succeed in implementation of the quality programs that are
being designed and this will continue until staffing is corrected.

In summary, IDOC has continued existing mortality review and performance and outcome quality
programs. They have initiated the adverse event program but the comprehensive audit and patient safety
programs have not been started. None of the programs has effectively implemented corrective actions
based on identified deficiencies. Initiatives are planned for three poorly performing performance and
outcome measures. The quality improvement policy has been promulgated but is not implemented at the
facilities. The Quality Management Program Manual and Quality Improvement Plan are not completed.
Staffing for OHS and SIU are improved and commendable but facility staffing to support quality efforts
including efforts to conduct the expected improvements is so poor that the Monitor doubts whether there
can be effective implementation. A partial compliance rating is warranted.

RECOMMENDATIONS:

    1. The quality program implementation plan needs to include assistance and input from the Monitor
       to include a current focus on:
           a. Development of an audit instrument;
           b. Implementation of the audit function;
           c. Integrating audit findings into the quality program;
           d. Discussion of standardized data and how IDOC will obtain and utilize data; and
           e. Discussion of how to use process analysis.
    2. SIU should memorialize a statement of work with IDOC and update that statement as their
       responsibilities change.
    3. The quality improvement policy should consider recommendations of the Monitor in amending
       the recently promulgated policy.
    4. The Monitor needs access to the REDCap mortality data.
    5. IDOC needs to develop a dental quality improvement program with input from the Monitor.

Audits
Addresses item II.B.9
II.B.9. The implementation of this Agreement shall also include the design, with the assistance of the
Monitor, of an audit function for IDOC’s quality assurance program which provides for independent
review of all facilities’ quality assurance programs, either by the Office of Health Services or by another
disinterested auditor.




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OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:
The Monitor requested the following two documents for this section.
   • Any reports or audits related to Consent Decree item II.B.9 (Design of Audit Function).
   • Any draft audit instrument developed by defendants to self-monitor performance with respect to
      II.B.9 (Design of Audit Function).

For both requests, IDOC stated that these are works in progress and would be provided when they are
ready for the Monitor to review.

There is no policy on an audit (II.B.9). Policy A.06.01 Quality Improvement Program does not address
the comprehensive audit (II.B.6.). The Monitor recommended adding a procedure to policy A.06.01. that
a comprehensive audit would be established and when completed would result in a report that would
incorporate findings of the comprehensive audit, mortality review, performance and outcome measures,
and adverse events. IDOC states that all comments to policies will be considered at the time of the annual
policy review and revision.

In response to the last report101, IDOC requested that the rating of noncompliance regarding provision
II.B.9. be raised to partial compliance because of strides outlined in the report. IDOC has no procedure
for a comprehensive audit. The staff intended to conduct a comprehensive audit were re-assigned to
conduct performance and outcome measures so there are no staff currently assigned to a comprehensive
audit. IDOC has not developed a comprehensive audit instrument. IDOC has not defined what a
comprehensive audit is yet nor has it determined its content. The Monitor had a meeting in July, 2023 to
discuss the comprehensive audit and IDOC was going to schedule another meeting but has not done so.
The Monitor has requested any reports, audits, and any draft audit instrument related to Consent Decree
item II.B.9 and was told that this remains a work in progress. Given that no progress has been reported
on this provision, it remains in noncompliance.

RECOMMENDATIONS:
  1. Expedite a meeting between OHS, SIU and the Monitor on the audit.
  2. Develop a comprehensive medical and dental audit.

Performance and Outcome Measure Results

Addresses items II.B.7
II.B.7. The implementation of this Decree shall include the development and full implementation of a set
of health care performance and outcome measures. Defendants and any vendor(s) employed by
Defendants shall compile data to facilitate these measurements.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
There is no policy on performance and outcome measures but there should be.


101
      Email communication to the Monitor on 1/25/24.



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The Monitor requested two documents for this provision.
   • Any documentation of progress in development of statewide performance and outcome measures
      and a dashboard.
   • Performance and outcome measure results from July 2023 to March 2024.

The IDOC dashboard is a paper document. The Monitor has suggested that this presentation be made
electronic for ease of use and so that it will be easier to add additional performance and outcome measures.
The performance measures from July, 2023 to March, 2024 were provided.

Beginning in the first quarter of 2023, OHS in conjunction with SIU, began obtaining 12 performance and
outcome measures. These were continued to be obtained every quarter. Four additional measures102 were
intended to be added in 2024 but only two were added (cervical cancer screening and lipid screening). An
additional measure (prostate cancer screening) was added in January of 2024 but the Monitor has not been
informed regarding the definition of that measure. One measure on COVID vaccination has been dropped.

A dashboard was provided listing results of the scores for these measures for six quarters which is
described below.

      1. Sick Call103: This measure has slightly improved but the overall result is poor. In January, 2023
         four facilities were at goal and two facilities were near goal. In the 2nd quarter of 2024, four
         facilities were at goal and four facilities were near goal. The average score in January, 2023 was
         38% and 43% in the 2nd quarter of 2024.

      2. Breast cancer screening: This measure has slightly improved. This only involves the three
         facilities (Decatur, Logan, and JTC) where females are housed. In January, 2023 one facility was
         at goal. In the 2nd quarter 2024 two of three facilities were at goal and the third was near goal.
         The overall average score improved from 80% in January, 2023 to 93% in the 2ndf quarter 2024.
         This measure has the best scores.

      3.    Colorectal cancer screening: Scoring of this measure was suspended in the 2nd quarter of 2024
           because IDOC has implemented an initiative to remedy poor scores. The Monitor disagrees with
           suspending the measure as the results would be useful to determine if the initiative has had an
           effect. In both January, 2023 and the 2nd quarter 2024, no facility had a score at goal. The average
           scores for five quarters is 22% with the 1st quarter of 2024 showing a 25% score. Very little
           progress has been made on this measure.


102
    These four new measures were to be: 1) assessing whether cervical cancer screening was offered and received on
persons with a cervix between 22-65 years of age at least once in the past three years; 2) that a fasting lipid panel is offered
and received within 30 days of incarceration for all individuals between ages of 35-75 years of age; 3) a smoking history
measure which has not yet been implemented and methodology yet to be determined; and 4) a weight measure that would
calculate the percentage of patients who had annual weight measurements during the past 24 months with documented
follow-up when appropriate.
103
    This measures the percent of patients who have timely nurse sick call and timely follow up. This measure does not
distinguish whether the nurse sick call or physician sick call or both are timely but mixes the two. This makes it difficult to
isolate the deficiency. Also, the benchmark for timeliness uses the IDOC AD standard and not the National Commission on
Correctional Health Care standard. This permits a greater length of time to be seen which the Monitor believes is
inappropriate.



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      4. Dental visit In response to the document request #34 for any documentation of a statewide
         performance and outcome dashboard, IDOC sent a spreadsheet titled By Quarter Dashboard that
         included a dental tab that included performance and outcome scores from 1st quarter 2023 up to
         the 2nd quarter 2024. In document request #29 the Monitor asked for evidence of inclusion of
         dental services in quality improvement activity, IDOC included a spreadsheet titled IDOC Dental
         Quality Performance Data- run date 05172024 OCM. There are three spreadsheets in this file one
         for cleanings, one for examinations, and one for combined. Cleaning and examination data for
         both document request #29 and #34 were based on the same criteria but the data for the same year
         and quarter were completely different. IDOC is asked to provide the methodology used to obtain
         dental data and to explain these four tables with different data in them for the same time period.
         The Monitor has no opinion of compliance on this because the data needs explanation as the same
         metric produced different results.

      5. Blood pressure not controlled: This measure has deteriorated over six quarters. In January of
         2023 nine facilities were at goal and four facilities were near goal but in the 2nd quarter of 2024,
         only two facilities were at goal and three facilities were near goal. In January, 2023, 72% of
         persons with hypertension tested were in control compared to only 50% of persons being in control
         in the 2nd quarter of 2024.

      6. A1C104 < 8%105: This measure improved. In January, 2023 five facilities were at goal and seven
         facilities were near goal. In the 2nd quarter 2024 six facilities were at goal and eight facilities were
         near goal. The latest quarter showed slight improvement from 68% in January, 2023 to 71% in
         the 2nd quarter of 2024.

      7. Blood pressure control in diabetes106: This measure has deteriorated over six quarters from five
         facilities at goal and 10 facilities near goal in January of 2023 to four facilities at goal and four
         facilities near goal in the 2nd quarter of 2024. The average score decreased from 73% in January
         of 2023 to 64% in the 2nd quarter of 2024.


      8. Screening and treating for diabetic nephropathy:107 This measure has deteriorated slightly

104
     A1C is a test showing the degree of blood sugar control that is used to measure control in diabetes.
105
    IDOC states that an A1C of 8 is “in control” but this is inaccurate. The American Diabetes Association and the
community standard is that an A1C of 7 is considered “in control”. For elderly and those with certain complications
subjecting them to risk from severe hypoglycemia, the goal of care is often reset to 8. The Agency for Healthcare Research
and Quality uses a metric of 8 as a desirable measure of control but it should not be confused with control. The danger here
is that clinicians will set patient goals at 8 when it is inappropriate. The results of this measure should be considered an
overestimate of the average degree of control for diabetes. The Monitor suggests that IDOC track both 7 and 8 as to give
clinicians a better view of their performance.
106
     The goal blood pressure for diabetes is not agreed upon. The American Diabetes Association and American College of
Cardiology/American Heart Association recommend a goal blood pressure of 130/80 in persons with diabetes. The Joint
National Committee (JNC) recommend a blood pressure of 140/90. All three organizations used randomized trials and meta-
analyses in making their recommendation. As a practical matter, provided a patient does not become symptomatic, the lower
blood pressure will not cause harm. Caution should be used in the elderly. Use of 140/90 may overestimate the numbers of
individuals in good control.
107
     This means testing the urine for protein with what is called a microalbumin test. When persons with diabetes have an
elevated urine microalbumin test they are to be treated with medication called an angiotensin-converting enzyme (ACE)



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         over six quarters but overall results are near goal. In January of 2023, 20 facilities were at goal
         and four facilities were near goal. In the 2nd quarter of 2024, only 17 facilities were at goal and
         four facilities were near goal. The average score in January, 2023 was 88% and 87% in the 2nd
         quarter of 2024.

    9. Diabetic retinopathy108 screening: This measure has deteriorated slightly over six quarters. In
       January, 2023, nine facilities were at goal and six facilities were near goal with an average score
       of 70%. In the 2nd quarter of 2024, seven facilities were at goal and six facilities were near goal
       with an average score of 61%.

    10. Influenza vaccination: This measure has improved. In January 2023, only two facilities were at
        goal with two facilities near goal. In the 2nd quarter of 2024, 15 facilities were at goal and no
        facilities were near goal. The average score improved from 45% in January 2023 to 71% in the
        2nd quarter of 2024.

    11. Pneumococcal vaccination: This measure improved slightly but remains very poor overall. In
        January, 2023, no facilities were at goal with only one facility near goal. In the 2nd quarter 2024,
        three facilities were at goal and two facilities were near goal but the average score improved only
        slightly from 47% in January 2023 to 48% in the 2nd quarter 2024.

Over six quarters, overall scores were poor at six facilities, mediocre at four, and good at one. Scores
improved at two facilities, slightly improved at three, deteriorated at three, slightly deteriorated at two and
were unchanged at one facility. These scores show, on average, an unchanged poor status.

SIU does not include NRC in performance measures but NRC needs to be studied. Every measure is
meaningful to study at NRC. The performance and outcome measures are incomplete without studying
this population. There were 970 individuals (approximately 4% of the IDOC population) housed at NRC
during our recent facility visit. This population cannot be ignored.

As a result of initial poor scores in the first few quarters, IDOC planned three initiatives to improve scores.
These initiatives were for sick call timeliness, pneumococcal vaccination, and colorectal cancer screening.
The Monitor does not have information on the pneumococcal initiatives.

The sick call initiative began in November, 2023 with a trial of facilities having inmates use either a sign-
up sheet or filling out a paper form to request sick call. There were problems with the sign-up sheet
process and in February of 2024 a new sick call policy was promulgated that standardized the process to
require all sites to make a sick call request form available to all inmates, to keep all health requests on file
and to place a copy in the medical record. On our visit to NRC, we were told that this was the only policy
in process of being implemented. The comments were that there were a “lot” of health requests, implying
that there was more work than anticipated. There was a shortage of officers to bring people to their


inhibitor. In practice, most persons with diabetes and hypertension are treated with this medication for their hypertension. If
the reviewers score this measure as positive whenever someone is on an ACE inhibitor, then scores for persons screened with
microalbumin will be overestimated. The Monitor says this because record reviews of persons diabetes screened with
microalbumin do not indicate the scores that are represented here. The Monitor suggests separating treatment of nephropathy
from screening for it.
108
    This is diabetic eye disease which can result in blindness if not treated.



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appointments and scheduling conflicts when nurse sick call interferes with “count”; these problems
resulted in patients not being brought for their appointments. We were also told that there were insufficient
nursing staff to conduct all sick call. The Monitor has not received further information on this initiative.

The colorectal cancer screening initiative was introduced on 4/2/24 with a memo to all HCUAs, DONs,
and providers.
   1. The memo gives directions to the facilities that a “Colorectal Cancer Awareness” month will occur
       in March of every year. It is unclear who is to conduct the awareness month and what it is to
       consist of.
   2. A new screening process is described in which nurses conduct a “pre-screening” questionnaire in
       conjunction with every patient’s annual physical examination. The memo directs that based on
       responses to the questions a provider is to consider four options: 1) no action will be required, 2)
       a fecal occult blood test (FOBT) or 3) a fecal immunochemical test (FIT) or 4) a colonoscopy is
       recommended by a provider reviewing the questionnaire.
   3. Education is to be provided to all staff on standards of care, the proposed screening and assessment
       process, and instructions on how the FIT test is to be used by the patient.
   4. Education is provided to all inmates on “colon health” and individual instructions are provided to
       all eligible inmates on the process and how to perform the FIT.
   5. All questionnaires and FIT test results are to be filed in the medical record.
   6. The preventive screening encounters “will be documented” on an excel spreadsheet which is issued
       by OHS to the facilities. Preventive screening is tracked on this spreadsheet to include any
       pathological reports, presumably if a colonoscopy is done.
   7. Each facility is to institute its own process for how these steps are to occur.

No evidence has been provided regarding how well implementation is proceeding at the facility level.
Collection of colorectal cancer screening performance and outcome data should continue to be obtained
during this initiative to judge its efficacy.

The Monitor has a few suggestions for colorectal cancer screening based on observations on tour and from
record reviews.
    1. IDOC already has three expected opportunities to offer colorectal cancer screening: the intake
        process, the annual health evaluation, and chronic care visits. IDOC might evaluate each of these
        processes to determine why so many opportunities to screen fail to occur.
    2. The current physical examination form is a problem. It contains a section on rectal examination
        that includes a prompt to perform a digital rectal examination and a guaiac test. A provider we
        have spoken with stated that these prompts led him to perform digital rectal exam with guaiac
        testing for colorectal cancer screening. These prompts should be eliminated. While it is difficult
        to make this change now when the electronic medical record is implemented within the next year,
        IDOC must eliminate this prompt.
    3. It came to the attention of the Monitor that, at one facility109, the compliance officer cited medical
        for not acting in accordance with administrative directive that required digital rectal examination
        and stool guaiac testing. The administrative directive is contrary to current OHS direction on
        colorectal cancer screening. This should not occur and the compliance officer should not be using
        compliance monitoring that is inconsistent with OHS recommendations.
    4. All cancer prevention expectations based on policy (breast, cervical, colon, and lung) should be

109
      IRCC as found in the February 2024 Quality Improvement minutes in the section on Internal/External audit findings.



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        ordered when indicated before the intake assessment is considered completed.
   5.   The vendor Regional Medical Directors must ensure that they have spoken with each provider they
        supervise to ensure that each provider understands the current process for cancer screening and
        that screening tests for each cancer are ordered, when indicated, at the end of the intake assessment
        and in conjunction with periodic physical examination and chronic care clinics. IDOC should
        consider establishing a performance and outcome measure that includes an interview by SIU of
        each provider individually to assess whether they are aware of the cancer screening expectations
        for breast, cervix, colon and lung and whether they know at what encounters they are to accomplish
        the screening. Each Regional Medical Director should be held accountable for these scores.
   6.   The patient Pre-Screening Questionnaire contains questions that may be related to colon cancer
        (rectal bleeding, black stools, unexplained weight loss). These are in a check box format. The
        provider response on the bottom of the questionnaire is to be reviewed by a provider and indicates
        whether the patient accepts or rejects colorectal screening. This may lead to a provider ordering
        FIT for a person with weight loss or blood in their stool when instead a colonoscopy and/or an
        upper endoscopy should be immediately ordered. The form should be clarified that if symptoms
        of current colorectal cancer are present the provider is to promptly refer for appropriate endoscopic
        examination.
   7.   IDOC instructs that each facility will institute their own process of implementing this initiative.
        This will encourage a proliferation of procedures that may be counterproductive and will be
        extremely difficult for OHS to control.
   8.    IDOC should consider staffing, existing forms, and procedures, or lack thereof, in this process.
        Do providers have sufficient patient-time to conduct cancer prevention evaluations? Are there
        sufficient nursing staff to assist in ensuring that patient who are due for a screening test are offered
        one? Do existing forms give correct guidance? Are supplies readily available?
   9.   IDOC should ensure that administrative directives are consistent with IDOC directives, policy and
        procedure. The example given in the Leadership section of this report describing a custody
        compliance officer citing medical staff for not performing a rectal exam and guaiac test should
        never happen.

Data for performance measures is still collected manually. This is a very cumbersome data management
process that significantly impairs IDOC’s ability to evaluate its performance and to add additional
measures based on information. The performance and outcome measures cannot yet be demonstrated on
a shared electronic service. The Monitor has recommended and continues to recommend that many more
performance and outcome measure be obtained which is unrealistic when data for these measures is
collected manually. IDOC is engaged, as part of the electronic record process, to develop a data team to
enhance its data and information collection and management ability. IDOC does plan to visit Cermak
Health Services to inspect their data system and has had discussions with the California Department of
Corrections on how they manage and use data from their electronic medical record. The Monitor is
encouraged by these OHS plans and hopefully an enhanced data program will allow IDOC to increase the
number of performance measures.

In summary, OHS has continued to obtain and has added three performance and outcome measures.
Results show generally poor performance and taking action to correct the poor performance has been
difficult and is significantly impaired by staffing deficiencies, a variety of procedural defects, and
leadership in training providers on management consistent with new IDOC policy. Initiatives to improve
scores on two measures have been started but are not fully implemented. Barriers to implementation




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include staffing, analysis of staffing needs, ensuring administrative directives are consistent with clinical
directives, supplies, equipment, and training necessary to ensure success. This provision still warrants a
partial compliance.

RECOMMENDATIONS:

       1. The performance and outcome measures should be centralized and based on obtaining data
          automatically from the electronic record, laboratory, and other sources.
       2. Develop a written plan for the dashboard to include:
              a. Who will maintain this dashboard?
              b. How will data be displayed to staff and how OHS intends staff to use the dashboard?
              c. How will data be obtained?
              d. Development of a glossary of definitions including
                       i. A narrative definition of the metric
                      ii. Numerator and denominator
                     iii. How the metric is calculated
                     iv. The data source
                      v. Reporting frequency
                     vi. A goal.
              e. How will measures be integrated into the quality program.
       3. IDOC, in preparation of implementation of an electronic medical record should anticipate how it
          will be able to capture data for its dashboard electronically from the medical record.
       4. Additional performance and outcome measures should be provided as IDOC increases capacity
          to do so. Non-clinical measures pertinent to the Consent Decree should be added such as vacancy
          rates.

Adverse Event and Incident Reporting Systems

Addresses Items II.B.6.m; II.B.6.n
II.B.6.m. IDOC agrees to implement changes in the following areas: Preventable adverse event
reporting;
II.B.6.n. IDOC agrees to implement changes in the following areas: Action taken on reported errors
(including near misses);

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
The Monitor requested four documents related to this provision.
          • The Monitor requested any procedure to collect and analyze adverse events.110 The
              Monitor was referred to policy A.06.02
          • The Monitor requested any documentation of progress toward an adverse event reporting
              system used by the facilities.111 The Monitor was referred to policy A.06.02



110
      Document request 41
111
      Document request 42



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             •    The Monitor requested a list by facility of all adverse events and incidents reported to
                  include name, # and facility and details of adverse event or incident.112 These lists were
                  provided.
             •    The Monitor requested a list of corrective actions initiated due to adverse event reports, or
                  any other reason.113 A group of corrective action plans were provided for adverse events.
                  These will be discussed below.

The policy on Mortality and Morbidity sent to and reviewed by the Monitor last year included no mention
of adverse event reporting. The Monitor sent comments on this policy. When the final policy on
Morbidity and Mortality was promulgated in February, 2024, it was changed and included a brief
procedural section on adverse event reporting that was new and had not been reviewed previously by the
Monitor. The policy title was changed from A.06.02 QI: Mortality and Morbidity to A.06.02 QM: Adverse
Clinical Event Reporting, Morbidity and Mortality Review. The document has no policy statement
addressing adverse events. There are definitions and four procedural statements that describe what an
adverse event is; who is to report adverse events; how to file a concomitant incident report; how to report
the adverse event to SIU; and finally, that the Agency Quality Improvement Coordinator reviews the
adverse event. The policy states that when SIU receives communication about an adverse event, they
complete a form.114 The form is sent to the Agency Quality Improvement Coordinator who is assigned
by the policy to conduct a review. At this step in policy A.06.02, the procedures for managing adverse
events end and the remainder of expectations are not present in the policy. This includes: how the data is
maintained; how adverse events are analyzed; who tracks adverse events and how are they tracked; and
how corrective actions are assigned and tracked to completion.115 The policy is therefore incomplete.
Moreover, adverse event reporting and management is sufficiently distinct from morbidity and mortality
review that it should be a separate policy. The Monitor has not had an opportunity to comment on this
changed policy but recommends that IDOC create a separate policy rather than modifying the mortality
review policy. Patient safety should be included in an adverse event policy.

IDOC did not provide documentation of its progress on adverse events but information was obtained from
an interview with the OHS Quality Improvement Coordinator and from the list of adverse events which
was sufficient to understand IDOC’s progress.

The promulgated policy A.06.02 defines adverse event differently in three separate areas in the document.
In the definitions section of Policy A.06.02 IDOC uses a definition of adverse event that is typical of
hospital systems. Policy A.06.02 defines an adverse event as follows:
       “An event in which care resulted in an undesirable clinical outcome-an outcome not caused by
       underlying disease that prolonged the patient stay, caused patient harm, required life-saving
       intervention or contributed to death”.

This definition is identical to the Health and Human Services (HHS) definition116 of an adverse events
which is used to characterize adverse events in hospitals. IDOC is not a hospital and the adverse event
112
    Document request 43
113
    Document request 52
114
    DOC Adverse Clinical Event/Near Miss/Sentinel Event Report template. This is documented as Attachment A to the
policy but the document was not attached to the policy and the Monitor was unable to review this document at this time.
115
    The policy was formulated before IDOC had a developed a concept of how the process would work and it appears that
development of the procedure will be iterative and will be developed as IDOC progresses.
116
    The HHS and IDOC definitions of adverse event are word for word identical.



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definition should be appropriate for outpatient medicine and consistent with requirements of the Consent
Decree (II.B.6 m. and II.B.6.n.).

A later definition, also in the definition section of the policy, defines a “patient safety event”: as follows:
        “Any type of healthcare-related error, mistake, or incident, regardless of whether it results in
        patient harm”.

This definition is in line with a Monitor suggestion to uses a systems approach to ameliorable adverse
events117 even when they did not cause harm as it would accelerate the ability of IDOC to move towards
compliance.
IDOC already does this when they report medication errors in their quality meeting minutes. Not all
medication errors result in harm to the patients but by informed analysis of these events the process of
care is improved. The Monitor still recommends this approach which is consistent with the Consent
Decree II.B.6.n. to implement change with action on reported errors including near misses which does
not require that harm occur.

A third definition of adverse events is in procedural statement A of policy A.06.02 which describes what
is to be reported in the adverse event reporting system as follows:
        “For all Adverse Clinical events that did not result in a patient death, including an incident report
        of a “near miss”, a sentinel event, or an unsafe health care practice, shall be reported through the
        Adverse Event Reporting System”.

Use of these three different definitions may cause confusion as to the purpose of adverse event reporting.
Serious events that caused death, were near misses, or that were just errors that are risks to patients should
be included in the definition of adverse event. This is consistent with the Consent Decree which
recommends (II.B.6.n.) action to be taken on reported errors. IDOC already reports medication errors that
do not cause harm and this can be used as a general guide as to what constitutes an adverse event short of
harm to the patient. This can include staffing concerns that cause errors that cause risk to patients.

Preventable adverse event reporting in an outpatient correctional medical program like IDOC must be
different from preventable adverse event reporting in a hospital because the setting is different and
therefore the types of adverse events are different.118 The Agency for Healthcare Research and Quality
(AHRQ) give guidance on outpatient safety events and gives examples including the following:119

         •   Coordination of care especially when a patient sees multiple providers and communication
             amongst these providers is suboptimal. This problem commonly occurs in IDOC.
         •   Poorly handled transitions from the hospital or when care is transferred from one physician to
             another. This problem commonly occurs in IDOC.
         •   Unavailability of a physician. This problem, especially the physician vacancy issue, is

117
    A discussion of this can be found in the Agency for Healthcare Research and Quality at
https://psnet.ahrq.gov/primer/adverse-events-near-misses-and-errors and at https://psnet.ahrq.gov/primer/systems-approach.
118
    The adverse event spreadsheet had columns with reportable adverse events types that included “wrong site surgical
procedure”, “additional procedures were performed”, problems with “blood transfusion” which are hospital based concerns
and unrelated to outpatient medicine.
119
    These are taken from Ambulatory Care Safety from the Agency for Healthcare Research and Quality (AHRQ) as found at
https://psnet.ahrq.gov/primer/ambulatory-care-safety.



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             paramount in IDOC and is a fundamental barrier to adequate care.
         •   Medication errors including prescribing errors, dosing errors, poor patient education about
             medication, polypharmacy. These are commonly found in IDOC, are currently reported in
             CQI minutes, and, in IDOC, include medication administration errors.
         •   Untimely information as a consequence of the fragmentation of care and paper records
             including following up on test results. This is a common problem in IDOC.
         •   Physician burnout. The Monitor believes both physician and nursing burnout is a significant
             problem in IDOC because staffing is so low and staff cannot manage the given workload.

      Some additional patient adverse events found in the Monitor’s record reviews and found during tours
      include the following.120

         •   Documentation errors and failures to continue care121 occurring when patient transfers between
             correctional facilities.
         •   Patients with high medical risks being broadly dispersed in general population housing leading
             to adverse events. This includes adverse health outcomes from placement of cognitively
             impaired elderly in general population.
         •   Falls and injuries of those with disabilities due to lack of preventive equipment and strategies
             for housing the elderly and disabled.
         •   Failures to appropriately monitor infirmary patients.
         •   Failure to identify or manage malnutrition.
         •   A number of security related patient safety issues including
              a. Inappropriate application of custody restraints in high risk patients. 122
              b. Lack of security making inmates available for care and inability to complete medical tasks
                  (e.g., medication administration) due to lock downs
              c. Lack of access to ADA vans that either prevent transport for appointments or place the
                  disabled person in a regular vehicle without appropriate safety equipment.
              d. Security rules that interfere with appropriate medical care.123

While there are innumerable patient safety events documented in the Monitor’s record reviews, should
IDOC desire to explore how to identify patient safety issues in their facilities, the AHRQ provides a survey
that can be used to identify potential safety risks.124

In an interview, the Agency CQI Coordinator did not list adverse event reporting as something she has
been working on, though it appears that some work has been done to create tracking spreadsheets which
were provided in response to document request #43 for all adverse events and incidents reported to include
name, # and facility and details of adverse event or incident. One Excel spreadsheet had two worksheets

120
    Numerous other adverse events can be found in reviewing past and current Monitor mortality reviews.
121
    See mortality patient #7 and several examples given in the Intrasystem Transfer section of this report.
122
    See mortality patient #4.
123
    For example, the rule that if someone in segregation collapses, the cell cannot be opened for immediate medical attention
until the shift commander arrives which may be after the patient expires, or meals that are served at times that make safe
administration of insulin difficult.
124
    The AHRQ produces a Medical Office Survey on Patient Safety Culture which is a survey that can be used on medical
staff to identify potential patient safety concerns. It can be located at https://www.ahrq.gov/sops/surveys/medical-
office/index.html



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and an additional spreadsheet was a single worksheet that used “Numbers” software.125 The Monitor had
previously recommended an option of purchasing off-the-shelf adverse event software. The alternative
chosen by IDOC is to design their own software which is entirely acceptable. However, IDOC could
improve management of adverse events by having an experienced data and software expert assist with
software design. The Monitor has recommended hiring data and software support personnel and continues
to believe these personnel are necessary in a complex and large organization such as OHS.

The two spreadsheets have different numbers of entries. The purpose of each spreadsheet is unclear and
undefined in policy. The Excel spreadsheet has two worksheets. One worksheet titled Incoming Report
Data had 39 columns with 57 rows. The rows corresponded to individual adverse events. Each adverse
event could apply to one or more persons. A second worksheet titled Type of Report Data had 52 rows
corresponding to individual adverse events and 105 columns with 89 of these describing different types
of encounters. The first worksheet had text entries describing the event. One of the columns titled
“encounter/event details” gave a detailed description of the adverse event. The second worksheet had a
top row with encounter descriptors (encounter type, encounter date, encounter category, and a long list of
variety of types of events) Data in these cells were filled with text, dates “yes” or “no”, numbers, or an
“x”. It was hard to understand how the entries on the spreadsheet could be tabulated or used. The design
of this convenience spreadsheet will result in unusable data as the spreadsheet grows.

A second Numbers table had 26 rows each corresponding to an adverse event and 51 columns with various
data including demographic data, dates, types of encounters, different outcomes, and contributing factors.
The purpose of the three worksheets was unclear. Some information was duplicative. It appeared that
these worksheets are preliminary efforts to categorize data but it is unclear how any conclusions can be
drawn from the data that is presented. An experience data expert should assist as IDOC moves forward.
These spreadsheets do not provide a way to categorize root causes of the problems or corrective actions
which should be identified with respect to gaining compliance with II.B.6.m. and II.B.6.n.

In document request 52, the Monitor asked for a list of corrective actions initiated due to adverse event
reports, or any other reason. Corrective actions were provided only for adverse events. For this document
request IDOC provided 48 adverse events126 reports and these included only five unique corrective actions.
Four of these were based on the custody Compliance Unit reports of violations of administrative directives.
The corrective actions for the Compliance Unit adverse reports were the same as described in the
Monitor’s 6th Report and have been shown to be ineffective.127 These corrective actions consisted of
education of staff on their error. No analysis was completed as to why the errors were occurring. The
corrective actions consisted of “education” when other more serious process problems are likely present
that need correction. Also, there are multiple examples of the compliance unit audits contradicting current
OHS policy and detrimental to forward progress toward compliance.128 This raises the concern as to

125
    This is an Apple product which also has a Windows version which is a spreadsheet that is less robust that Excel. The
software used in presenting this data should be standardized. This is a project for a data person.
126
    Most of these adverse events were not on the list of 52 adverse events provided to the monitor on a spreadsheet in
document request
127
    See the discussion of compliance unit audits on page 24-25 of the 6th Report. The Compliance Unit was described as
having continuously audited IDOC when IDOC entered into the Consent Decree.
128
    One adverse event report by the Compliance Unit was for 04.03.120. The standard used by the Compliance Unit stated:
“When the infirmary is used for crisis care placement, there is no need to follow the infirmary admission requirements unless
major medical issues require infirmary placement”. The Monitor disagrees with this standard. All mental health patients
should undergo a physical evaluation upon admission to the infirmary regardless of whether they are admitted for mental



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whether the Compliance Unit citations should be used in the medical CQI program.

One adverse event reported in the IDOC adverse event list is used as an example of how IDOC might
construct corrective actions.

The adverse event details for this event were different in the two spreadsheets. One spreadsheet focused
on the resuscitation response when the patient died. The second spreadsheet event focused on a sick call
event that preceded the resuscitation four days before the death. The Monitor addresses both events.

The sick call event involves a 58 year old man129 housed at the Hill facility who was evaluated by an LPN
for chest pain on 2/18/24. Preceding medical care failed to effectively manage this patient’s problems so
the LPN evaluation was conducted at a starting point of poorly delivered health care.130 The LPN
completed the chest pain nurse protocol at 3:40 pm on 2/18/24. Only the first page of the protocol was
present so vital signs were missing. Also, the LPN only documented the history questions but included
no assessment or plan. The pain was described as present for 6 hours and was constant and stabbing like
in the middle of the chest. The patient denied any associated symptoms. Pain occurred watching TV.
The nurse did not ask if movement made the pain worse. The note was incomplete. An EKG from 3:12
pm the same day had an automated reading of acute myocardial infarction. This EKG was not signed as
reviewed. The record included a flowsheet dated 2/18/24 with one entry timed at 4 pm that stated “per
[on-call doctor name] check BP x 1 on PM shift due to having increased B/P on 2/18/24”. Another entry
in the same note documented blood pressure “160/110 gave clonidine 0.2 x 1 per [on-call doctor]”. The
follow up blood pressure at 5:05 pm was documented as 150/98 and a blood pressure of 142/84 was
documented on 2/19/24 at 4:05 pm. The initials of the nurses conducting these evaluations was
documented but the signature, names, and titles were not provided. There is no information regarding
what information was communicated to the doctor nor was the doctor’s communication to the nurse
documented.

The description of this event in the adverse event spreadsheet includes information that the EKG was
placed in the record and flagged to be reviewed but apparently it was not reviewed. This information was
not documented in the record.

A code 3 occurred on 2/23/24 and the only documentation in the record of this event was a note by a nurse
practitioner dated 2/23/24 and timed at 12:41 but am or pm was not documented. This note documented
that a code 3 was called at 11:47 (apparently am but morning or afternoon time not designated). The nurse
practitioner documented being notified by the HCUA that staff were calling an ambulance. On arrival the
nurse practitioner noted that the patient was lying outside of the cell and “chest compressions were started
immediately with rescue breaths”. But a timeline was not provided. The note abruptly ends and it appears

health or medical reasons. Another example at NRC was an infraction cited by the Compliance Unit for using opt-out HIV
screening during intake phlebotomy which is the standard established by OHS. Another example was at IRCC where a
Compliance Unit officer cited a provider for not performing a digital rectal examination with guaiac testing. In all these
cases the administrative directive was contradicted recently promulgated OHS medical policy.
129
    Adverse Event patient #1
130
    Cardiac risk factors were not documented in the record, persistent elevations of blood pressure did not result in treatment
for high blood pressure, a statin was discontinued in 2023 without explanation and when restarted a couple weeks before the
patient’s death, a statin was started at a lower dose than recommended for his 10 year cardiovascular risk, and the patient was
on a nonsteroidal medication that the FDA give a black box warning for that includes thrombosis and potential for
myocardial infarction which the patient experienced.



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a second page was missing.

An autopsy of the patient documented a cause of death as cardiac tamponade131 caused by an acute
myocardial infarction with rupture due to coronary artery thrombosis.

IDOC did not complete an analysis of this case. The Monitor recommends using a six sigma technique
of asking why the error occurred and to ask the question repeatedly until a presumed root cause is
obtained.132 The root cause should be the foundation of an attempted corrective action. The Monitor
identified six errors with the sick call encounter:
    1. Documentation was deficient. The second page of the chest pain protocol was missing.
    2. The miscommunication between the LPN and the on-call physician was egregious and likely
        resulted in the patient’s death. The LPN failed to document what was communicated to the on-
        call physician. The documentation of the on-call physician was nil.
    3. An LPN used a protocol in conducting an independent evaluation which was outside scope of the
        LPN license.
    4. The EKG presumably was completed as directed by the nurse protocol, but it is unclear if the
        physician was told about the EKG and it was not documented as reviewed.
    5. The response of the physician to a patient with chest pain was clinically inappropriate but it is
        unclear what was communicated to the physician.
    6. Risk factors for cardiovascular events (including myocardial infarction) were not documented by
        the LPN and the physician was not made aware of these.

The Monitor suggests that the contributing root cause to the 1st error above is the use of the paper record
which because of poor filing results in lost paperwork. This is commonly seen by the Monitor in record
reviews and is cited by SIU in their mortality reviews. The root cause appears to be lack of medical staff
in maintaining the record. The corrective action would be to complete a workload analysis of medical
record staff. However, because an electronic record is planned, IDOC should ensure that the on-call
communication between nurse and physician is included as a module in the electronic record.

A 2nd error was the apparent miscommunication or lack of communication between the on-call physician
and nurse which resulted in documentation that failed to address key elements of the patient’s care
including an EKG that recorded myocardial infarction and that the nurse was evaluating the patient for
chest pain which was not addressed by the physician on-call. When asking why this communication
failed, a root cause is that there is no existing procedures that define what this communication is to consist
of. When a nurse is asked to communicate with a physician about a clinical matter it appears to be
determined ad hoc and without guidance. The corrective action, in the Monitor’s opinion, is to develop a
procedure for how nurses are to communicate with providers for on-call services. This should be a
separate policy that governs all nurse-to-provider phone communication. It should be a separate policy
because nurse-to-provider on-call communication occurs in a variety of settings including sick call, post
consultation visits, infirmary care, return from hospitalization, etc. The Monitor recommends that the


131
    Cardiac tamponade is fluid that accumulates in the pericardial lining that surrounds the heart and eventually accumulates
to a degree that can cause impairment of cardiac contractility via compression. In this case, the myocardial infarction
resulted in a rupture of the heart muscle and that rupture resulted in blood flow into the pericardial sac.
132
    There is a robust literature on using five whys. One example is found in the Agency for Healthcare Research and Quality
(AHRQ) at https://www.ahrq.gov/sites/default/files/wysiwyg/ncepcr/resources/job-aid-5-whys.pdf



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nurse communication to providers on-call be structured similar to the SBAR template.133 The procedure
should describe what documentation is required by the nurse including what was communicated to the
provider. If IDOC elects to use the SBAR form to document their communication to the provider, its use
should be described. If it is not used, the data necessary for the nurse to provide to the provider and the
elements the nurse needs to communicate to the provider must be addressed in the procedure. Regarding
provider documentation, there currently is none. The advent of the electronic record presents an
opportunity to develop a corrective action for this error. Because access to the electronic record can be
via remote access, all physicians on-call should document their note in the electronic record when
accepting an on-call encounter. IDOC should ensure that the electronic record is formatted to have a way
to perform this documentation and to title the note as an on-call evaluation. Until this occurs the corrective
action should be to require that providers on call document their interaction with the nurse on a progress
note and this should be filed in the medical record. This should be evident in a policy and procedure
which can be the same policy used to define nurse communication.

The 3rd error was that an LPN evaluated the patient which should have been conducted by an RN. Further
questioning should be done to determine why this occurred. Staffing or inappropriate assignment may
have been root causes, each of which would lead to a different corrective action. The Monitor’s analysis
of the sick call event did not focus on the errors made by the LPN because the LPN should not have been
evaluating the patient.

The 4th error was that the EKG showing myocardial infarction was not evaluated. Identifying a root cause
of this problem is complicated by the record not documenting who ordered the EKG, whether the doctor
evaluated the EKG and why would an EKG indicating a myocardial infarction be merely placed in the
medical record and flagged for a routine review when absent a review the patient could die (which
occurred). Asking why this occurred must associate the EKG with the reason for the sick call which was
chest pain. The SBAR template requires the nurse to present to the on-call physician results of any
pertinent testing which in this case included the EKG. Policy should state test results that should be
presented to the on-call physician. In this case the EKG was one of those tests. A further why question
is to ask why the doctor did not review the EKG and an answer is that there is no current methodology to
transmit an EKG tracing to an on-call physician. A corrective action could be to assign to the Medical
Coordinator the assignment of developing a methodology to transmit EKG tracings to on-call providers.
This may be possible if all EKG tracings are automatically uploaded to the electronic record so that on-
call physicians can see them real time.

A 5th error was the clinical mistakes made by the on-call physician. It is uncertain what information was
presented to this provider but the reason for the call was chest pain and the physician did not appear to
address chest pain instead focusing only on the elevated blood pressure. Given these caveats, the Monitor
determined that the root cause of these mistakes (unless other evidence is made available) is that the
physician was not credentialed for primary care (III.A.2) and possibly didn’t know how to evaluate the
condition. Unless other evidence is forthcoming, the corrective action is to enforce the requirement of the
Consent Decree in provision III.A.2. A second contributing root cause is that there may be insufficient

133
   SBAR stands for Situation-Background-Assessment-Recommendation which was developed in Kaiser Permanente. A
hospital version can be found in a document of the Institute for Healthcare Improvement website at
https://www.mhanet.com/mhaimages/SQI/3_IHI%20SBAR%20tool.pdf While this template is developed for hospital
practice it can be modified slightly for use in outpatient setting such as IDOC. SBAR is a structured way for nurses to
organize data in order to present it to a provider.



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physicians working which results in using unqualified physicians to work resulting in the accompanying
errors associated with using unqualified physicians. A second corrective action is to perform a workload
analysis of on-call physicians to determine if lack of physician staffing results in unacceptable on-call
physician staffing.

A 6th error of the sick call evaluation is the lack of appreciation of cardiac risk when evaluating for chest
pain in IDOC. This is a common error evident in Monitor record reviews. The chest pain protocol form
has a space to document cardiac risk factors but it was blank. It is uncertain whether the nurse knew what
a cardiovascular risk factor is. The Centers for Disease Control (CDC) identifies cardiac risk factors as
high blood pressure, high blood cholesterol, smoking, diabetes, and obesity as risk factors. Family history
of heart disease is another risk. Age is a consideration but not identified as a specific risk factor. By
asking nurses to memorize all cardiac risk factors increases the probability that one or more risk factors
will be missed. This patient had elevated cholesterol that was improperly treated, had a prior history of
smoking, and had likely hypertension (elevated blood pressure for several months) that was untreated and
was 58 years old none of which were acknowledged. One corrective action should be to modify the chest
pain protocol to list all cardiac risk factors so the nurses can see them, ask about them and check boxes if
they have them. A second corrective action is to conduct training on cardiac risk factors for all provider
and nursing staff in all facilities.

The key error in the code 3 was that there was no timeline and documentation in progress notes provided
no evidence that the code was properly conducted. IDOC policy E.09.01 Facility Emergency Response,
includes policy statement IV that provision of emergency medical care is to be documented in the medical
record. Procedure III.B. states:
       Any emergency medical response is to include real time documentation of all medical interactions.
       The timeline documents the initial arrival, scene assessment, physical assessment, and what was
       done, by whom, when, how, and the result until the patient either recovers or is taken to the
       hospital. The timeline is subsequently documented in the medical record or in the case of a staff,
       visitor, or official in the incident report.

There was no timeline of events which violates IDOC policy. The policy was promulgated sometime in
February, 2024 likely shortly before this event so implementation of the policy was not yet done. The
corrective action would be to effectively implement this policy. The HCUA at this facility should be made
aware of the error and made aware of the existing policy. The Monitor believes there are insufficient staff
to implement policies and would add an additional corrective action to notify OHS that lack of staffing to
train and properly implement policies affects care because policies cannot be implemented.

The Monitor identified six additional errors134 that could have been analyzed with corrective actions. The

134
    These included: 1) the patient was on a statin in 2023 but it was discontinued without explanation. 2) A statin was
eventually started shortly before the patient died but it was started based on phone order without an evaluation of the patient
or review of the record and it was a lower dose than should have been started based on the patient’s calculated 10 year
cardiovascular risk. 3) The patient had elevated blood pressure for months before his death including at the prior chronic care
clinic but was not started on antihypertension medication. 4) Stat clonidine was used for a blood pressure of 160/110 without
starting a routine medication dose especially given it was the first time blood pressure medication was initiated. 5) The
patient was on long-term non-steroidal medication which have black box FDA warning for risk of thrombosis including
myocardial infarction. This was unrecognized for years. 6) The patient was apparently scheduled for follow up of his chest
pain but the appointment was cancelled- apparently because custody had a lock down. This was an appointment for a serious
concern and should not have been cancelled despite the lockdown.



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IDOC CQI coordinator can contact the Monitor if further analysis of these is desired.

The Monitor has the following suggestions on how to evaluate and/or address certain types of adverse
events.
   1. IDOC has committed in the Implementation Plan to process analyses of medication administration,
        sick call, specialty care, and chronic care processes. The Monitor has recommended an analysis of
        intake. IDOC has initiated an analysis of the entire medication management process. When the
        adverse event coordinator obtains adverse events relevant to these issues they should be referred
        to the process analyst responsible for analysis of that area of concern if one has been assigned.
        SIU has hired a pharmacy group that is going to conduct an analysis of medication management.
        All adverse events regarding medication should be sent to this group to inform them of identified
        problems. If the adverse event is not referred to a process analyst, then it should be analyzed and
        managed as described above.
   2. The Agency CQI Coordinator should find out how to obtain all incident reports initiated by
        medical staff from each facility and include these in the adverse event reporting system. The
        Monitor believes that these incident reports are adverse events. Falls, as an example, are reported
        as incident reports and these should be included in adverse event reporting.
   3. Falls should be queried further regarding where the fall occurred, if the patient was appropriately
        housed, if a proper accommodation was provided, and what may have caused the fall. Aggregate
        evaluation of fall data should be undertaken to identify common causes in order to create systemic
        fall prevention measures.
   4. The Monitor suggests tracking the number of errors related to staffing vacancies at each facility.
        Staffing deficiencies should be used as a metric in vendor monitoring report as this is a result of
        failure to fill positions. These should be tracked as the number of adverse events reports due to
        staffing.
   5. The Monitor suggests that at once a year, the Agency Quality Coordinator with the assigned
        Regional Coordinator should interview the DON, Medical Director and HCUA at each site where
        adverse events have occurred to review all adverse events, assess staffing, and any processes that
        may have promoted the errors. The facility leadership group should offer explanations as to why
        the errors occurred. These should be tabulated.
   6. The tracking spreadsheet needs to be revised by a data expert who is has software and data
        management experience. Errors should be tabulated by error type. Once a year, aggregate
        statistics by error type and facility should be reviewed. Common error types suggest a process
        analysis may be helpful. Additional work needs to be done to classify error types.
   7. Because only 12 (40%) of 30 facilities reported adverse events, the Agency CQI Coordinator
        should congratulate the leadership team and staff of those facilities who report errors and reward
        them if possible. Time should be spent attempting to identify structural (staffing, equipment,
        supplies) issues that may have resulted in errors. The facility leadership’s ideas of how to correct
        the deficiency should be obtained and discussed when indicated. Facility leadership should be
        made aware of any OHS initiatives to solve the problems that caused the errors. Local corrective
        actions that they have attempted to fix the problems should be discussed. Those facilities that have
        not submitted any adverse events should be instructed how the system works.
   8. Half of the errors in the 50 reported events resulted in a chart review sufficient to gather more
        details. In many of these chart reviews a cascade or errors was identified. This demonstrates the
        benefit of record review for as many charts as possible.
   9. Reports, such as a fall due to a broken grab bar, etc., should be immediately remediated by a call




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       to the HCUA to fix the problem. This can be documented and tracked and followed up with an
       email to see whether the problem was fixed.
   10. Reports that are repetitive, such as negative air pressure not working, for more than three episodes,
       needs to be escalated up the administrative chain.
   11. Frequent adverse events should be the basis for initiating a patient safety initiative. One suggestion
       is for Regional Coordinators to meet with a group of HCUAs where frequent adverse events occur
       and to discuss how the events could be prevented. With that information, initiatives can be
       developed for trial.
   12. Data from adverse events, including numbers and types of adverse events, corrective actions
       developed by type, and the number of corrective actions successfully accomplished should be
       tabulated and used in every annual comprehensive audit as a measure of facility’s progress.
   13. The Monitor has consistently recommended, including in the Implementation Plan, that a
       dedicated person be responsible for the adverse event system. Currently, the Agency CQI
       Coordinator manages this program but has other responsibilities. As this program exists, the
       workload exceeds the capacity of the Agency CQI Coordinator. The Agency CQI Coordinator is
       currently unable to manage adverse events.
   14. Four of the five corrective actions initiated as a result of adverse events were initiated by the
       Compliance Unit. The corrective actions initiated generally conform to the Compliance Unit’s
       typical methodology which has been to “educate” the staff. The process is typically the problem
       and the focus of the Compliance Unit on staff behavior will result in inability to make forward
       progress. Also, the Monitor has concerns of the participation of the Compliance Unit in the quality
       program as their participation is not governed by policy. The data they gather can be useful, but
       it must be consistent with OHS policy and procedure. It appears that they are initiating corrective
       actions which is also not governed by policy.

In summary, the policy for adverse events is not appropriate. It should be a separate policy and should
include all expected steps in the process. Adverse events are being collected. Categorizing and analyzing
these events is in its initial phase and needs additional work. Descriptions of events, though not completed
for all events, is reasonable. Corrective actions need to focus on the root cause of the adverse event in
order to develop an appropriate corrective action. Certain repetitive adverse events, such as medication
management issues, should be forwarded to the pharmacists engaged in the process analysis of medication
management. Data support needs to be provided to make data collection and analysis more effective. A
partial compliance rating is warranted.

RECOMMENDATIONS:
  1. Adverse event reporting needs to have capacity to allow anonymous reports. Staff need to be
     encouraged to reports errors and believe that report of errors will not result in discipline.
  2. Hire data staff with expertise in software design and data management who can assist with the
     design and management of the adverse event software.
  3. Develop a policy on nurse to provider communication that includes documentation requirements
     of both the nurse and provider. All on-call provider communication should result in
     documentation of the call in the medical record.
  4. Assign a dedicated individual to manage the adverse event reporting system.
  5. Begin performing corrective actions.




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Vendor Monitoring
Addresses II.B.2.
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.

OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:

Two documents were requested to evaluate this provision. Document request #38 was to provide any
procedure (and instrument) used to monitor performance of vendor. IDOC stated that an updated audit
tool to monitor performance of the vendor is being established. Document request #39 was to provide
any statewide and facility vendor monitoring reports. These monitoring reports were provided.

IDOC provided current vendor monitoring reports for the twelve months from June of 2023 to May of
2024. Each month averaged 17 facilities being monitored and mostly the same facilities were monitored
every month. At least 13 facilities did not provide monitoring reports. The monitoring instrument
consisted of 317 questions in a “yes” “no” “N/A not applicable” format. Most questionnaires were filled
out by HCUAs but at least one was filled out by an assistant warden. No data or record review was
provided in answering any questions except for the hours worked by position category in the schedule E
staffing requirement and it isn’t clear what information the reporter used in giving answers. The number
of questions is significant and an HCUA could not reasonably perform this contract monitoring alone for
all questions. Multiple sections related to provider and dental care and the HCUA lacks training to evaluate
provider and dental care.

Questions are grouped by areas including: the contract; administrative directives sorted by topic (medical,
hunger strike, report of death, disability, etc.); and lastly staffing.

Contract issues
Questions on contract issues seldom address performance. Clinical medical care is addressed in section
2.2. Questions on chronic illness include only five questions. None of the questions addresses whether
the patient’s chronic conditions were managed appropriately and there is no question whether all of the
patient’s chronic conditions were managed consistent with standards of care.

There are no questions on specialty care referral and whether it is appropriately ordered when necessary
nor whether it is timely. The only question the Monitor could find for specialty care was related to
reporting to IDOC that someone went to see a consultant. This question (2.9.3.2.1.2) is described as
follows,

       All outpatient referrals, including i) offender name, ii) birth date, iii) Offender IDOC number, iv)
       facility name, v) Diagnosis with Primary Diagnosis Code, vi) Treatment received, vii) Referring
       physician, viii) referral physician; ix) Hospital or non-hospital based




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This question is not meaningful as it does not address whether patients with specialty care needs had
timely access.

At Dixon, where specialty care is inadequate with considerable backlogs, the score for this question was
“yes”. Dixon has considerable issues with patient not getting referred who need referral, considerable
dangerous backlogs for specialty care, and problems with communication with specialists and with follow
up of specialty consultations. None of these problems are addressed with this monitoring tool.

Most of the questions for clinical care, which are in the contract section of this instrument are meaningless
and will not portray the real conditions at facilities nor the performance of the vendor.

Administrative Directives
The six sections on administrative directive monitoring are based on Administrative Directives which are
dated and not based on current IDOC policy and monitoring would not be meaningful if done. Facilities
also do not evaluate all administrative directives. In March, 2024 Graham evaluated two items in the
“medical administrative directives and clinical performance” tab; Graham evaluated two, and Lawrence
evaluated three, and Hill evaluated 26. It appears that evaluation of adherence to administrative directives
is elective. Most questions on performance issues in this administrative section only ask whether an event
occurred not whether the performance was adequate. As examples, these questions are:

   •   Question related to AD 0403101.G.2.b (2).(c) asks “Annually, offenders who have had a positive
       test [TB skin test] shall be provided education on the signs and symptoms of active disease”. The
       question should focus on whether the patient has been treated with prophylaxis or whether the
       patient needs a chest x-ray to evaluate for active disease.
   •   Question related to AD 0403103.F.6.c asks “When an offender for non-emergency medical
       attention results in referral to a primary care physician by the screening health care staff, the
       primary care evaluation shall take place within 72 hours or upon the next scheduled visit by a
       primary care physician”. This question does not address whether the referral was timely based on
       the findings of the nurse nor whether the primary care provider evaluation was adequate.

Both the contract section and the administrative section are not meaningful measures with respect to the
Consent Decree because they do not address clinical performance nor do they meaningfully address
requirements of the Consent Decree.

Staffing
The third area of vendor monitoring is staffing. The Monitor was provided approximately only half of
facility monitoring reports and no aggregate statewide staffing data was provided. It appears that only half
of facilities track staffing vacancies.

For facilities that complete the monitoring report, vacancies and hours worked seemed accurate but some
discrepancies were noted. For example, in March of 2024, the vendor sent the Monitor information that
the Taylorville Medical Director was 0.125 filled but the IDOC monitoring report, reported a vacancy
which was accurate. Apparently, the vendor has a fill-in physician who works five hours a week and
counts that as a Medical Director, which is inaccurate and inappropriate. IDOC did not give credit on its




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monitoring report for the 0.125 physician hours worked.135 If a locum tenens physician or coverage
physician is providing service, the Medical Director position should not be credited but a physician
position should be credited unless the locum position is filled for more than six months by a single
physician and the physician fulfills expectations of a Medical Director position.

All IDOC facilities should track the vendor hours worked and vacancies and IDOC should report these
regularly to OHS. This would inform OHS management of the status of vendor and IDOC staffing136.
The Monitor was provided a Facility Reconciliation Worksheet-Q3’24-Lippert, which was one of the
better staffing documents provided to the Monitor.

For all three areas of vendor monitoring (contract monitoring, monitoring against administrative
directives, and staffing) the Monitor was not provided with any corrective actions related to specific
deficiencies. IDOC sent only nine communications to the vendor since 2021 that were related to contract
monitoring. These deficiencies are only a fraction of the deficiencies the Monitor has identified. Staffing,
in particular is widespread and dangerous, particularly with respect to physician staffing. Based on these
communications, there does not appear an effective corrective action methodology to address contract and
performance deficiencies of the vendor. A summary of the letters is given below.

      1. On 9/14/21, IDOC sent the vendor a letter, documenting staffing deficiencies at Western Illinois
         Correctional Center that were also apparent statewide. The letter stated that 23% of RN hours,
         34% of LPN hours, and 35% of Nurse Assistant hours were not filled with an overall vacancy rate
         of 39% at the facility. The letter mentioned that on one day there was no RN working on the day
         shift. Because of the low staffing level, IDOC security was asked to move infirmary patients
         elsewhere. In addition to infirmary care, medication administration was also affected adversely.
         IDOC stated that agency staffing would not be reimbursable and detailed monetary credits to
         IDOC for these vacancies. In June of 2024, information the Monitor has received about staffing
         at this facility showed 11 RN positions all of which are vacant; 17 LPNs all but one being vacant;
         the only nurse supervisor position is vacant; and six nurse assistant positions all of which are
         vacant. This is an overall staffing vacancy of 97% as compared to a 39% vacancy documented in
         2021. Aside from the monetary penalties no follow up corrective action was noted.
      2. On 1/13/23, IDOC sent the vendor a letter documenting eight infractions of administrative
         directives at Western Illinois Correctional Center that were not effectively accomplished due to
         lack of staffing. The letter documented a meeting that occurred early in 2023 about the deficiencies
         and presumably staffing and noted that follow up would occur. There was no documentation of
         the result of follow up.
      3. On 2/8/23, IDOC sent another letter to Western Illinois Correctional Center. It stated that a new
         nurse arrived for work at the facility without any advance notice but without appropriate training
         the nurse could not be assigned for work which resulted in delay in care.
      4. A complaint was sent to the vendor on 1/30/23 about a backlog of 150 individuals for orthopedic
         care at one facility. A plan to address it was requested. But that plan was not sent to the Monitor


135
    The Monitor is actually uncertain regarding the accuracy of this discrepancy. But it demonstrates the discrepancy between
vendor and IDOC reporting, lack of standardized definitions of vacancies, and potential for mis-reporting information,
including to the Monitor.
136
    On monthly calls with OHS, staffing numbers in certain areas are questioned and OHS has a difficult time responding
with any precision and cannot refer to a staffing document that can give this information.



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            but on a recent visit on 6/4/24 to the same facility, the Monitor was told that orthopedic
            appointments take a year and a half to schedule so apparently nothing has been accomplished.
     5.     On 4/21/22 a letter was sent to the vendor about a provider working at Menard who refused to
            perform intake evaluations for three individuals resulting in an administrative directive violation.
            The provider refused to evaluate the patients because he was the only provider onsite and didn’t
            have time to do the evaluations and his other work. There was no follow up to this to report. This
            facility has two physician and three mid-level provider positions. A physician position is vacant
            and another is filled with a locum physician but at the time of this letter, the may have been two
            physician vacancies.
     6.     On 6/28/22, a letter was sent to the vendor about a dentist vacancy since November of 2021at the
            Hill facility. This position had been vacant since seven months prior to the letter. The letter
            detailed the number of backlogs which were considerable. The vendor was asked to respond to
            the complaint within five days. A document sent to the Monitor to verify staffing, dated 6/30/23,
            showed that the position was still vacant. A document, sent to the Monitor to verify staffing, from
            March of 2024 showed the facility had a half time dentist.
     7.     On 7/15/22 a letter was sent to the vendor about inability to order controlled substances at Graham
            due to a Medical Director vacancy. The Regional Medical Director was contacted but, according
            to back and forth emails, the Regional Medical Director’s response was not effective in
            maintaining sufficient supply. IDOC requested a vendor response by 7/22/22. Staffing
            information as of 6/30/23 provided for the Monitor’s 7th report indicate that the Medical Director
            position at this facility was still vacant. One document provided for the Monitor’s 8th report in
            May, 2024 indicated the position was not filled but another document provided for the 8th report
            in June, 2024 documented the Medical Director at this facility was filled with a 30 hour a week
            locum tenens position.
     8.     Another letter sent on 7/29/22 regarded staffing shortages at Illinois River Correctional Center and
            mentioned that this was a statewide issue. The facility vendor staffing had a 68% staffing vacancy
            of registered nursing (RN) and licensed practical nursing (LPN). As part of the impact of the
            staffing deficiency, the letter detailed backlogs of 486 physicals, 231 chronic clinic visits, 23
            physician sick calls and about 260 medical furloughs. No follow up was suggested. Based on data
            received for the Monitor’s 8th report about two years later in June of 2024, the current registered
            nurse and licensed practical nurse staffing is dramatically worse than it was in July of 2022 (92%
            vacancy in June of 2024 versus 68% vacancy in July of 2022).
     9.     On 1/19/24, IDOC sent a Notice of Complaint to Vendor listing the HCUA from Centralia as the
            contact person stating that the vendor failed to properly provide RN training, oversight, conduct
            audits of treatment protocols, failure to conduct nurse credentials and privileges and failure to
            complete physician referral all related to administrative directive 04.03.12: treatment protocols.
            There was no follow up.

If these letters represent all communications about corrective actions, IDOC has only infrequently notified
the vendor about problems. However, they do demonstrate an inability or unwillingness of the vendor to
change.137 Given that only two companies bid on the recent contract it is unclear if a willing capable
vendor is available. Under these circumstances, IDOC must develop an alternative strategy if it wants to
make progress in compliance with the Consent Decree.



137137
         See particularly letters 1-3 which showed a deterioration in staffing rather than an improvement.



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We do note that certain aspects of a functional health program relate to leadership in quality,
implementation of policy, and in engaging in corrective actions. These areas of service are not evaluated
at all. Currently, vendor physicians, during Monitor tours, are typically unaware of OHS clinical
initiatives, do not participate in quality improvement, do not read or know what the new policies are, and
appear disengaged from initiatives OHS is attempting to do to move forward toward compliance. These
leadership areas are also not evident in the vendor’s regional leadership. This leadership issue is absent
from current IDOC vendor monitoring but is essential if IDOC is to move forward.

In summary, the current IDOC vendor monitoring methodology does not meaningfully evaluate
performance or adequacy of the vendor. Vendor staffing is effectively tracked by some facilities but the
information is not collated or used effectively to describe the performance of the vendor with respect to
staffing. The Monitor has been told by IDOC that they are developing an updated vendor monitoring
tool related to the new contract with the vendor. The Monitor was not given a draft of this instrument and
the contract is not yet completed. However, the Consent Decree requires an audit process (II.B.9) and
since the Monitor’s 2nd Report, the Monitor has recommended that vendor monitoring use a
comprehensive audit (II.B.9.) that covers all aspects of the Consent Decree to monitor the vendor’s
performance as required in II.B.2. If this is not done, IDOC would still need to develop an adequate
vendor monitoring instrument that is comprehensive and consistent with Consent Decree requirements.
Because meaningful monitoring is not performed and an instrument to do so is not completed this
provision continues to warrant noncompliance.

RECOMMENDATIONS:
     1. IDOC needs to develop a meaningful vendor monitoring system that monitors quality of care,
        physician quality, and ability to hire contracted staff against contract requirements. This can
        be joined with the comprehensive audit process that would include mortality review,
        performance and outcome measurements, adverse event reporting and staffing. Monitoring
        should be standardized across facilities so comparisons can be made. The Monitor’s
        recommendation is to provide this service through the audit team.

Mortality Review
Addresses items II.B.6.i; III.M.2;
II.B.6.i. IDOC agrees to implement changes in the following areas: Morbidity and mortality review
with action plans and follow-through;
III.M.2. Mortality reviews shall identify and refer deficiencies to appropriate IDOC staff, including
those involved in the Quality Assurance audit function. If deficiencies are identified, corrective action
will be taken. Corrective action will be subject to regular Quality Assurance review.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
Multiple documents were requested. In document request #44, the Monitor asked for a current mortality
list up to March 2024. The mortality list should include the name, IDOC #, date of death, date of birth,
age, date of incarceration, facility at time of death, category of death (natural, accidental, homicide,
suicide), cause of death (presumptive if autopsy not done), death expected or unexpected, autopsy done
Y/N, date of autopsy, mortality review completed. This list should be provided quarterly. The mortality
list was provided. It is not provided quarterly and does not include the cause of death.




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Copies of the mortality review committee meeting minutes to date and copies of death summaries
completed by the Responsible Facility Healthcare Provider as they are generated were provided.

IDOC has given access to a link to access the death charts, mortality reviews, autopsies that are done, and
SIU REDCap mortality reviews.138 This shared folder has worked well. Real time access to REDCap to
obtain data from it would be useful to the Monitor.

The Monitor requested a list of corrective actions or process analyses initiated due to mortality reviews,
performance and outcome measures, adverse event reports, or any other reason and any report that
identifies corrective action sent to facility quality improvement committees along with any follow up of
corrective actions issued by the System Leadership Council.139 However, no corrective actions have been
initiated through mortality reviews.

Before the Monitor’s 7th Report, IDOC sent the Monitor draft policy A.06.02 QI: Mortality and Morbidity.
The Monitor reviewed the policy and returned comments to IDOC. The final policy promulgated in
February, 2024 was titled A.06.02 QM: Adverse Clinical Event Reporting, Morbidity and Mortality
Review. New material was added and there were multiple changes to the document. Areas where the
Monitor has concerns on the final policy include:
   1. The policy provided to the Monitor for review was altered by including procedures for adverse
       events into the mortality policy. This is discussed above in the Adverse Event section of this
       report. These are separate areas of service that should be discussed in separate policies.
   2. The Monitor recommended in the IDOC draft policy that procedures for obtaining an autopsy be
       under medical direction. This policy does not discuss autopsy but a different policy (A.10.01)
       assigns this responsibility to the Warden. Ordering an autopsy should be under medical control.
   3. A major deficiency in the new policy is that policy and procedure statements do not give clear or
       effective instructions for how deficiencies are to be addressed, specifically how corrective actions
       are developed, assigned, and monitored. The procedure seems to state that a final mortality review
       is provided to facilities for them to figure out what corrective actions need to take place but the
       facility CQI programs and CQI staff are not equipped at this time to undertake this responsibility
       and it is likely this is why no progress has been made to date on corrective actions.
   4. There are no procedural steps that include who does what and what role is expected of each of the
       staff who participate in the mortality review.140
   5. The policy includes a definition of the Morbidity and Mortality Review Committee (M&M) as a
       “Group of academic medical providers who review all IDOC deaths” but in procedure section
       II.B., this committee is defined as including the Agency Medical Director, Agency Deputy Chiefs,
       Agency CQI Coordinator, Agency Director of Nursing, and Office of Correctional Medicine
       Physician chair, additional physicians, RN, and pharmacist as needed. The definition of the
       Morbidity and Mortality Review Committee should be internally consistent.
   6. The Agency Medical Coordinator should participate on the Morbidity and Mortality Review

138
    These are document requests 47, 48, 49, and 51.
139
    Document requests 52 and 53.
140
    The policy states that after a death the Office of Correctional Medicine will complete a mortality review. But who does
what, and what expectations are is not stated. In practice a physician, nurse practitioner and/or a nurse and a pharmacist
perform the review. The responsibility to fill out the REDCap data form and the roles and responsibilities of the RN,
advanced practice nurse, pharmacist and physician in the process are not stated.



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          Committee141.
      7. The policy does not give any details of the responsibilities of the Morbidity and Mortality Review
          Committee except that they listen to a presentation of the findings of the mortality review.142
      8. After the Morbidity and Mortality Committee meeting, the Agency Quality Improvement
          Coordinator provides findings of the committee143 to multiple individuals including the vendor
          and facility clinical leadership. No one has responsibility for assigning corrective action and
          facilities, apparently, are expected to determine what to do with the findings. This has not been
          effective as no corrective actions are evident.
      9. Procedure item II.G. defines the role of the System Leadership Quality Council.144 The System
          Leadership Quality Council’s role is defined solely as identifying root causes for deficiencies
          which may be amenable to staffing or policy changes. This is a significantly limited responsibility.
          The Monitor had recommended that the Morbidity and Mortality Review Committee recommend
          corrective actions and that the System Leadership Quality Council analyze those recommendation
          and assign facility specific corrective actions, assign further root cause systemic analyses, or
          specific systemic corrective actions. This is not what IDOC chose to do. Instead, the policy gives
          the Morbidity and Mortality Review Committee no responsibility and gives the System
          Leadership Quality Council limited responsibility to review findings and identify root causes that
          might result in policy or staffing changes. Facilities are responsible for reviewing the mortality
          review and enacting corrective actions. This practice which has been in place for some time has
          been ineffective. Facilities have taken no responsibility to act on mortality reviews and do not
          have authority to make some of the changes necessary to correct the identified problems. The
          policy should be revised to give effective direction.
      10. Procedure II.H. states that the System Leadership Quality Council’s final “determination” after
          review of the mortality review is sent to each facility’s Quality Improvement Coordinator to
          establish corrective actions. It is unclear how “determination” is defined. The statement is vague
          and needs clarification. Minutes of the System Leadership Quality Council do not document any
          determination with respect to mortality reviews. Facilities and especially facility QI coordinators
          are not currently capable of developing corrective actions.145

141
    Many deficiencies in mortality reviews are non-clinical or operational including medical record issues, supply issues,
inability to send or receive appropriate reports or communications between providers, lack of staffing, etc. These operational
issues are essential support for clinical staff and must be evaluated with respect to actionable changes. In the draft document,
the Agency Director of Nursing was, in effect, the chief operation officer and the Monitor recommended she be part of the
Morbidity and Mortality Committee. The Monitor has since recommended that the Medical Coordinator be in charge of
operations and the Director of Nurses in charge of nursing. For this reason, the Monitor recommends both the Medical
Coordinator and Agency Director of Nursing be part of the Morbidity and Mortality Review Committee.
142
    Procedure II.E. describes what the Morbidity and Mortality Committee does. “Upon completion of the mortality review,
the case is presented to the Mortality and Morbidity Committee within thirty (30) days after the completion of the mortality
review. The presentation will include the case summary, findings of each case reviewed, factors that may have prevented or
contributed to the death, and other information that will assist in improving the quality of healthcare of IDOC patients in the
future”. This does not describe any responsibility.
143
    Based on the procedure, it is not clear what the finding are. Presumably, they are the REDCap mortality review but it is
unclear.
144
    Section II.G. states, “The System Leadership Quality Council shall review all pertinent findings from the Mortality and
Morbidity Committee to identify root causes or issues that could contribute to the findings, which may be amenable to policy
or staffing changes, or may require a plan of action to mitigate the situation, including referring the case to OCM for process
evaluation and revision.”
145
    One facility has an Assistant Warden who is the CQI Coordinator. How can an Assistant Warden of Programs supervise
or construct a corrective action for a mortality review?



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In past reports, the Monitor has repeatedly stated that IDOC does not provide death charts to the Monitor.
SIU reviews all deaths and collects the death charts for those reviews. IDOC has now provided the
Monitor a link to a secure site containing the SIU death charts,146 This link has worked well with respect
to receiving records as long as IDOC understands the resultant time delay in mortality reviews.147

The tracking log of deaths provided to the Monitor does not include date of incarceration, cause of death
or whether or when a mortality review was completed. The cause of death needs to be included in tracking
deaths as it is a significant factor in mortality review. The date mortality review is completed should also
be documented on the tracking document.

The Monitor has recommended that an autopsy be done so that cause of death is more likely to be identified
which will assist in identification of deficiencies. It is important that autopsies be done for unexpected
deaths as their cause of death is more likely to be uncertain. Policy A.10.01 Procedures in the Event of
an Individual in Custody Death148 calls for the Warden to request an autopsy which is consistent with
Administrative Directive 01.12.111.149 This is unchanged from past practices. IDOC provided two
sources of autopsy data. One was provided in the REDCap data tab “Autopsy”.150 This data did not give
the date range of deaths but stated that the number of deaths was 163. The autopsy data tab documented
that of the 163 deaths, 10 had missing data. Of the remaining 153 deaths, 56 had autopsy, 54 did not have
autopsy and in the remaining 43 it was unknown if an autopsy was performed.151 The second source of
data on autopsies was a mortality list152 for deaths from 1/1/22 to 5/15/24. This mortality list had 179
deaths. It documented that 91 (50.8%) had autopsies. Thirty-seven (20.7% of all deaths) did not have
autopsies and for 51 (28.5% of all deaths) it was unknown whether the patient had an autopsy.153 Of the
88 deaths without autopsy, 44 were unexpected deaths and eight did not give information of whether the
death was expected or not. Autopsies are not being done consistently even when the patient was not

146
    For example, mortality patient #1in the Mortality Review addendum died in November of 2023. He appears in the link in
the month of April, 2024. checked in August it only provided information as of May 2024. Also, a death in Menard was
announced in the quality improvement minutes in June of 2023 but appeared on the secure site when the Morbidity and
Mortality committee reviewed the death in March of 2024, approximately nine months later. Thus the secure
147
    The deaths charts are provided in the month when the Morbidity and Mortality review occurs. This is typically many
months after the death. IDOC should be aware then that mortality reviews by the Monitor will be for events that occurred at
least a year or longer before the date of reports which is a result of the manner of providing data. The Monitor has no
objection to this method as it has been the most effective way, to date, of providing records. This will presumably not be a
problem after the electronic record is implemented. However, it does mean that mortality reviews occur for deaths about a
year to a year and a half prior to reports of the Monitor.
148
     Policy A.10.01 Procedure in the Event of an Individual in Custody Death in procedure II.B. states, “At the time of death,
the Shift Supervisor or DAO shall immediately notify the CAO or back up DAO, who shall notify the Agency Medical
Director and request
a medical autopsy”. This direct the Warden or duty administrative officer to request the autopsy
149
    Administrative Directive 01.12.111 Reporting Deaths effective 12/1/22 states that the “Chief Administrator [warden] shall
immediately notify the Agency Medical Director, who may recommend an autopsy”. This slightly different from the policy
which states, At the time of death, the Shift Supervisor or DAO shall immediately notify the CAO [warden] or back up DAO,
who shall notify the Agency Medical Director and request a medical autopsy”.
150
    This was in document request #51 and was labeled OCM-REDCap IDOC Clinical Mortality Review Data Compilation
Samples July 1-2022-March 19, 2024.
151
    It is unclear how IDOC could not know whether an autopsy was done.
152
    This was data request #44 and the document produced was labeled Mortality Data Report – January 1, 2022 to May 15,
2024.
153
    Again, it is unclear how IDOC could not know whether an autopsy was done.



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expected to die which occurs in about half the deaths. Even when autopsies are done, the results are
sometimes not included in the death record. The Monitor only receives autopsies that SIU obtains and
places in the mortality review folder.

By policy, the Warden is to order an autopsy but in practice Wardens do not appear to make this decision.
The 1st data set, that included 163 deaths, was from REDCap and listed only 12 deaths for which it was
known who disapproved the autopsy. In seven of the 12 cases, the determination was made by a local
coroner and in five determination not to perform the autopsy was made by “others”. The 2nd data set from
IDOC included 179 deaths. For these 179 deaths 37 deaths were known not to have an autopsy. For these
37, the decision to not perform the autopsy was made by local coroners in 24 (65%) of cases, or by
physicians, including a facility physician, in 12 (32%) of deaths154. IDOC does not know whether an
autopsy was performed in a significant percent of deaths (26% in one dataset and 29% in a 2nd dataset). It
also appears that the Wardens, in many of these cases, are not making the decisions about performing an
autopsy155 and autopsies are not consistently done when the cause of death is unknown or when
unexpected deaths occur. The decision to order an autopsy should be a medical one not a custody one,
with the exception of potential violations of security rules or potential custody involvement in the cause
of death (homicide, use of force, etc.). The current practice assigns the warden the responsibility to order
autopsies but the wardens do not assume that responsibility and the decision appears left mostly to persons
not associated with IDOC. That IDOC does not know whether an autopsy is done in a large percent of
deaths speaks to indifference to this issue.

The Monitor recommends that the cause of death, even if presumptive, be listed for all deaths. This helps
to track cause of death which helps IDOC determine where it needs to focus to prevent future deaths. The
SIU REDCap mortality reviews include cause of death as a data entry value. However, the mortality list
provided by IDOC does not include cause of death. This makes mortality review less effective in
identifying ways to prevent future deaths. The cause of death should be tracked for all deaths and should
be represented on the mortality list.

The Monitor has been told that all deaths are now undergoing death review. SIU told the Monitor that
approximately 190 mortality reviews have been done as of June 2024. The Consent Decree requires that
mortality reviews are meant to identify deficiencies so that corrective actions based on deficiencies can
improve care. Currently, deficiencies are identified but recommendations for corrective actions have not
yet been initiated.156 In the last report, the Monitor suggested that the categorization of deficiencies did
not promote actionable recommendations for corrective actions. No information has been provided that
any changes have been made.

Much of the mortality review is collection of data. The REDCap data form used by SIU for mortality
review has been modified since it was initially provided to the Monitor in May of 2022. Pharmacy and
vaccine data questions have been added and a few other changes made to other questions. Much of the
data is quantitative data in a yes/no format. Policy does not describe who collects the quantitative data.

154
    In one case it was not known who made the decision.
155
    The Monitor believes OHS should make this decision.
156
    The Morbidity and Mortality Committee minutes document the list of opportunities for improvement (deficiencies) but the
committee discussion section typically states that the opportunities for improvement were discussed and the committee
“agreed with the reviewer’s recommendations”. No recommendations are provided and it appears that IDOC considers the
deficiency findings as recommendations. A finding of deficiency is not a recommendation. A recommendation is a proposed
course of action related to the identified deficiency in order to correct the deficiency. There is no evidence that this occurs.



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Qualitative data, presented in a narrative format, is mostly identification of deficiencies conducted at the
end of the REDCap form in the opportunities for improvement section. Based on information in the
REDCap report, qualitative data collection is completed separately by nursing or advance practice nurses,
physicians, and a pharmacist. No evidence has been provided that the qualitative data has been analyzed
or used to inform corrective actions or follow up. The Monitor has not been given permission to access
REDCap for the purpose of analyzing data entries. IDOC should permit this access so that deficiencies
can be analyzed.

IDOC has provided157 a summary of REDCap data. This document consists of a spreadsheet with six
tabs158 Four of the tabs used data from 163 deaths. One tab used data from 154 deaths. A sixth tab used
an unknown number of deaths to generate the data. The last tab, (S8 Improvement) is the qualitative
narrative data. The data in this tab is not self-explanatory. The numbers provided for each of the
individual nine opportunities for improvement do not add up to the total count of all opportunities for
improvement and percentages of each of the nine categories added up are 324%. There is no explanation
of the meaning of the numbers in this tab. These qualitative narrative data would be the most useful in
developing corrective actions because it is the only section that exclusively identifies deficiencies and
identifies almost all of the deficiencies. More work needs to be done to subcategorize and analyze this
qualitative data in order to develop recommendations for corrective action. Some suggestions were
provided in the Monitor’s 7th Report.

The chronic illness (S4) section of SIU’s REDCap quantitative data form is based on a legacy
administrative directive.159 The IDOC has promulgated new policies in February of 2024 but the
quantitative data questions are not based on these new policies. The Monitor sees numerous opportunities
to develop additional data questions that qualitatively evaluate performance using the newly promulgated
policies as the basis of the data question. The Monitor gave suggestions in the last report on ways to
analyze the current deficiencies identified in the opportunity for improvement section of the REDCap
mortality review. But there is still no analysis of the data obtained in the mortality reviews that has resulted
in a corrective action. Data elements should be modified and categorized in a manner to ensure that they
contribute to identification of corrective action and promote forward progress towards compliance with
IDOC policy and with the Consent Decree. Much work needs to be done to create qualitative questions
in REDCap that would more accurately judge adherence to current IDOC policy and Consent Decree
requirements.

When a death occurs, SIU begins the process of obtaining the medical record and associated documents
needed for the death review. When the chart is obtained, the SIU team conducts a review. The reviews

157
    This was in response to document request #51. IDOC provided “OCM – REDCap IDOC Clinical Mortality Review Data
Compilation Samples July 1, 2022 – March 19, 2024”.
158
    These tabs include: 1) Patient information which is mostly demographic data; 2) Incident which are questions about the
incidents surrounding the death; 3)Medical history which is about the chronic illnesses of the patient with some data on how
chronic care was addressed and associated chronic conditions; 4) Mental health which has data questions on mental health; 5)
Autopsy which has questions about whether an autopsy was done and the category of death; and 6) Opportunities for
Improvement which are narrative entries identifying deficiencies by a nurse and/or advanced practice nurse, a physician and a
pharmacist.
159
    The REDCap question C1 asks whether chronic illness patients were seen at appropriate intervals. But the intervals are
ones used in the old Administrative Directive 04.03.105 Chronic Illnesses which describes seeing patients in separate clinics
for every individual disease. New OHS policy was promulgated in February of 2024 but the REDCap data questions have
not been correspondingly modified to match new OHS policy.



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consist of gathering dozens of data facts.160 Up to four individuals, a nurse and or a nurse practitioner, a
pharmacist, and a physician, conduct a qualitative review of the medical record using the REDCap data
form as described above. Each of these reviewers list deficiencies as opportunities for improvement
which are provided in narrative format in item S8 of the REDCap form. Only rarely is a recommendation
included in their narrative and, as a routine, recommendations and corrective actions are not provided.
The results of the death review are then sent to and reviewed by a Morbidity and Mortality Committee.
As described above, policy does not define what the Morbidity and Mortality Committee does and minutes
of the Committee do not describe any actions. Meeting minutes of the Morbidity and Mortality Committee
meetings provide a brief presentation of the details of the case then list the deficiency findings but do not
include recommendations on actions to be taken to correct deficiencies. No final analysis with
recommendations is documented in meeting minutes except for typically agreeing with the deficiencies
noted by the mortality reviewers. After the Morbidity and Mortality Committee meeting the final
mortality review is sent to facilities by the Agency CQI Coordinator for the facilities to determine
corrective actions. The results of the Morbidity and Mortality Committee review are also sent to the
System Leadership Quality Committee. Policy A.06.02 assigns limited responsibility to the SLQC.
Meeting minutes of the SLQC also do not include any discussion of analysis or recommendations to be
taken either by OHS or by facilities. The SLQC meeting minutes often conclude with a statement stating,
“Committee discussed proposed OFIs and agreed with reviewers’ recommendations”. This statement
references “reviewers recommendations” but there are no recommendations in the SIU mortality reviews,
Morbidity and Mortality Committee minutes, or SLQC meeting minutes. So, a key requirement of the
Consent Decree to undertake corrective action based on deficiencies is not being done in practice and a
means to undertake corrective actions based on analysis of deficiencies is not established in policy.

Both policy and existing practice mirror what IDOC has been able to accomplish to date. Both stop at the
identification of deficiencies. Policy does not describe how to analyze deficiencies, who is to analyze
deficiencies or how the analysis of deficiencies is to result in corrective action and how it is determined
whether deficiencies are systemic or facility specific. In practice, there is no evidence of analysis of
findings in the Morbidity and Mortality Review Committee, no development of corrective actions, and no
tracking of corrective actions assigned. There have been no root cause or other analyses of systemic
findings, and no facility specific corrective actions that have been assigned.

Within five days of the conclusion of the Morbidity and Mortality Committee meeting the Agency CQI
Coordinator is assigned to deliver mortality reviews to the Facility Medical Director, Facility CQI
Coordinator, and HCUA and is to present findings at the next scheduled System Leadership Quality
Council. Policy is not clear regarding what document is actually sent to the facilities.161 The Monitor was
told by the Agency Quality Improvement Coordinator that facilities are provided the mortality reviews
and that some facilities have created corrective actions based on the opportunities for improvement.
However, there is no evidence in facility quality improvement meeting minutes of facilities that have
initiated corrective actions based on mortality reviews. The only reference we could find of discussion at
CQI meeting was in the April 2024 CQI meeting minutes from Vandalia. The statement said:
           “Reviewed the death of [inmate #] on 3/22/23. Discussed the opportunities to improve. Not
           fully sure on those opportunities. Waiting to get more guidance from OHS, IDOC, & WHS.”


160
   It is unclear in policy who collects or fills out the REDCap data form.
161
   Presumably this is the REDCap mortality review that the Monitor receives, but the Monitor is unclear and the policy does
not state what document is sent to the facilities.



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This demonstrates that facilities are unprepared to address these opportunities for improvement. Because
no corrective actions have been assigned or initiated no forward progress is being made. Facilities are
expected to develop their corrective actions but apparently are unprepared to do so.

When recently at NRC and Stateville, the NRC CQI Coordinator was unaware of the mortality review
process and had not reviewed any mortality reviews. The Medical Director recalled one death since
becoming Medical Director and had no comments on the mortality review. At the Stateville facility, the
HCUA was unaware of SIU mortality reviews and didn’t know who decided to temporarily assign the
CQI Coordinator. There was no CQI Coordinator and the Medical Record Director was given this as a
temporary responsibility, apparently by the Warden. The Medical Director was unaware of any SIU audits
and wasn’t involved in the quality program but goes to meetings when she can.

In summary, it is positive that all deaths apparently are reviewed and IDOC established a link for the
Monitor to obtain mortality records. The newly promulgated policy needs revision. The Monitor will
send comments in the usual manner. While Wardens are responsible for ordering autopsy, for a significant
number of deaths it isn’t even known whether an autopsy was done. Many autopsies are not done based
on orders by non-IDOC persons (coroners, hospital physicians, and even a facility physician). Autopsies
should be under OHS control. The cause of death is not tracked on the current mortality list but this needs
to be done. The SIU REDCap database has been modified over time and will need further revisions.
IDOC should give the Monitor access to the REDCap database. The Monitor strongly recommends
development of qualitative questions based on new IDOC policies and Consent Decree requirements and
development of a methodology to analyze qualitative narrative data entry in order to develop appropriate
corrective actions. The purpose of the Morbidity and Mortality Committee and System Leadership
Quality Council need to be defined in policy with respect to identification of corrective actions, assignment
of corrective actions, monitoring of corrective actions and determining whether deficiencies are systemic
or facility specific and how these should be addressed. Facilities are not yet advanced enough nor do they
have sufficient staffing, at this time, to develop corrective actions. The vendor Regional Managers and
Regional Medical and Nursing Directors play no role in corrective actions but should be held accountable
for correcting operational issues162 and clinical ones.163 The System Leadership Quality Council should
be responsible for this assignment. This provision still warrants a partial compliance.

RECOMMENDATIONS:

      1. IDOC needs to make REDCap accessible to the Monitor and his team.
      2. The mortality review committee meetings should be open to the Monitor and his team.
      3. IDOC needs to consider comments to the policy on mortality review at their next policy revision.


Medical Records
Addresses item II.B.4; III.E.3; III.E.4; III.G.3
II.B. 4. No later than 120 days after the Effective Date of this Decree, IDOC shall have selected an EMR
vendor and executed a contract with this vendor for implementation of EMR at all IDOC facilities.
Implementation of EMR shall be completed no later than 36 months after execution of the EMR contract.
162
    Scheduling appointments, staffing, communication between consultants and IDOC providers, getting reports, etc.
163
    Provider and nursing clinical errors, not acting consistent with standard of care, not communicating with consultants, not
following up on consultant recommendations, delays in initiating offsite diagnostic testing or consultation, etc.



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III.E.3. IDOC shall abandon “drop-filing”.
III.E.4. The medical records staff shall track receipt of offsite medical providers’ reports and ensure
they are filed in the correct prisoner’s medical records.
III.G.3. IDOC shall use best efforts to obtain emergency reports from offsite services when a prisoner
returns to the parent facility or create a record as to why these reports were not obtained.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

IDOC promulgated policy H.01.01 Organization, Maintenance and Governance of Health Records in
February of 2024. The Monitor’s comments were submitted at the time IDOC promulgated the policy
and the Monitor’s comments were not addressed and IDOC has said they would address these comments
in the next annual policy revision.

This policy had several references to documentation in the electronic record (e.g., cut and paste, copy
forward, cloning, etc.) but procedures for use of the electronic record were not included in this policy and
should be established in advance of the implementation of the electronic record. Items not included were:

      •   The Monitor recommends that a health record be initiated on the day of arrival to IDOC. Currently,
          at NRC, patients have a folder in which medical record documents are maintained until before the
          patient leaves for a permanent institution. This results in lost paperwork and is a patient safety
          risk. In the past the reason for this practice was lack of staffing, lack of space, and lack of
          maintenance of a secure record.164
      •   The Monitor recommended to maintain preventive screening data but this is not in the policy.
      •   IDOC implies but does not state that progress notes must be maintained.

      •   IDOC does not include a statement to maintain advanced directives, physician orders for life
          sustaining treatment (POLST), and health care power of attorney documents in the medical record.
          This has been a significant problem identified both in SIU and the Monitor’s mortality reviews.
      •   IDOC wrote in the policy that notes are to be completed the same day that the care was provided.
          The Monitor recommends that the note be documented contemporaneously or at least by the end
          of shift when the service was provided.
      •   In the policy, IDOC does not specifically state that the DOC 0090 form is not to be used for
          transfers for specialty care or hospital care.

Five documents were requested:
   1. Policy and procedure for the electronic medical record. This has not yet been developed and will
       be developed after implementation of the EMR.

164
   See Northern Reception and Classification Center, 2nd Court Appointed Expert Report Lippert v. Godinez January 29-
February 1, 2018; pages 22-27. Paperwork was not filed in a medical jacket but loose paperwork was stapled or kept loose in
a folder. There was insufficient staff to perform the work, Any staff member could remove a single piece of paperwork at
any time by entering “medical records” and removing the document, and records did not initially combine medical, mental
health and dental. All of these problems resulted in lost paperwork and an incomplete record to review with respect to care.
While the Monitor has not specifically examined medical records again at NRC, the policy should contain language to
prevent this from occurring again.



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   2. An update on the EMR project manager. This position was hired in April of 2024 and a CV has
      been provided.
   3. A survey or report on the needed devices including point of care devices. This has not yet been
      done. IDOC stated that this was in process in conjunction with the EMR vendor but this is not
      part of the statement of work of the vendor. No information was provided that this has been
      accomplished.
   4. An implementation schedule for the electronic record. This was provided and will be discussed.
   5. A plan for training. This was not provided but is in process of being developed with the EMR
      vendor.

The IDOC has a contract with Fusion for implementation of an electronic record. This contract has not
yet been received from IDOC. A draft statement of work with Fusion was provided.

The Monitor notes several challenges in this implementation plan.

No documented plan was provided to the Monitor to migrate electronic prescription data from persons on
diabetes, HIV, or hepatitis C medications from UIC to Boswell and to the EMR so that a unified
medication profile is available in the vendor’s pharmacy or in the EMR. Also, nurses take verbal or
written orders for medication and handwrite prescriptions on medication administration records that do
not always result in a pharmacy produced MAR. This means that the medication administration records
are the most accurate medication profiles but the pharmacy medication profile should be the most accurate.
The Monitor has concerns about verbal order entry issues that can lead to unsafe medication practices.

The vendor is not responsible for acquisition of devices including point of care devices and their interfaces.
Based on prior information from IDOC, it isn’t clear if IDOC has sufficient devices and IDOC has not
provided information regarding device surveys, how devices are obtained, and how devices are
maintained. This was previously assigned to the Department of Information Technology (DoIT) but the
procedures for device acquisition and maintenance need to be provided now that the electronic record is
being implemented.

The Monitor has questions regarding whether wiring to support the record is completed. IDOC stated in
its Implementation Plan that all wiring for the EMR has been in place since 2021. IDOC meant by this
that wiring in the health care units is complete. As documented in the prior report, not all health care is
provided in health care units. Medication administration in some facilities (e.g., Logan) is completed on
living units. At Graham, intake is completed in the gymnasium. Nurse sick call occasionally occurs
outside the health care unit in satellite clinic spaces. IDOC needs to be clear that wiring needs need to
ensure that wherever the electronic record will be needed that there will be a capacity to do so. This has
not been accomplished.

Both wiring and device needs were initially determined for existing staff in existing health care units. The
Monitor has concerns that there will be insufficient devices and wiring as new staff are brought on. Also,
IDOC has provided no information with respect to plans for anticipating new device needs or interfaces
with the electronic record to blood pressure equipment, glucometers, other point of care devices,
thermometers, scales, etc.

IDOC has not provided procedures for requesting new equipment, replacing defective equipment, or




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requesting DoIT for new equipment, devices, or wiring.

The Implementation and Project Management Plan allows for three months to develop workflows165 and
software changes to accommodate workflows. This is a very aggressive timeline. Design of medical
record screens and formatting is intimately connected with workflows of the organization which is
dependent on policies and especially procedures of the organization and the way each of the 27 facilities
operates. When workflows are not properly analyzed and software not modified according to an expected
workflow, work-arounds or staff self-created solutions to a dysfunctional system occur that can lead to
unexpected and unwanted practices in use of the electronic record. IDOC is in the midst of implementing
new policies and procedures for all of the processes in their organization. Some policies are pending
comments from the Monitor. Some policies have not yet been written. For the medication management
policy, the Monitor recommended a process analysis on medication management be completed prior to
development of policy. Workflows have not been created for any of the 88 promulgated policies and none
of these policies has yet been successfully implemented. It will be extremely challenging, therefore, for
IDOC to develop workflows for the entire organization by an expected 11/8/24 timeline especially when
the expected workflows were completed in relation to the recently promulgated policies. For these
reasons, the software and workflows may need modification in the future. The Monitor repeats a
recommendation made several years ago to hire personnel who can perform process analysis and software
modification to make modifications to the electronic record at a later date when workflow expectations
are changed or finalized in policy.

The Court-filed Implementation Plan documents that the electronic record will be fully implemented by
November of 2025.166 This will be challenging and is aggressive. The Monitor’s concern is whether the
software will be able to adequately provide data needed to verify compliance status with Consent Decree
requirements.

It appears that data from the electronic medical records at Decatur and Logan (the female facilities) will
be electronically migrated based on a protocol of the vendor. Paper records apparently will be migrated
as scanned paper records. Based on review of the mortality records, it is very difficult to locate particular
documents in the medical record. When multiple volumes of records are combined very large documents
will be produced. We urge IDOC to consider ways to scan each patient’s record into categories that make
it easier to locate a particular document. If the entire record is scanned to a single document it will make
it difficult to locate a particular piece of information that a user may need making use of legacy records
difficult if not impossible to use.

IDOC did not provide a specific document related to document request #59 regarding the plan for initial
and ongoing training for use of the record. The Monitor was told that this was “in process with Fusion”.
The Fusion Statement of Work states that it will produce a training plan.

IDOC has stated that its policy on the electronic record will be developed after the electronic record is
implemented but should consider completion of this policy before implementation to avoid potential legal
and operational issues.

The vendor Statement of Work does not include development of a help desk. It does state that one of its

165
      Workflows are the manner in which a process is expected to be conducted step by step.
166
      Lipper Implementation Plan Dkt 1688



                                                                                                          86
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responsibilities is “Training Client System Administrators and Client help desk staff on support and
system administration”. The Monitor is not aware of IDOC plans for a help desk and asks that any such
plans be provided.

The Monitor has been told that a contract with Fusion has been completed; based on this a partial
compliance is warranted. Much work remains to be done.

IDOC has stated that wiring is completed; the Monitor asks that DoIT provide verification or a statement
that the wiring is completed. In the past, facilities have stated that device counts did not include new
expectations for staff nor new policies. IDOC should provide their device count for implementation of
the record. The timeline for complete implementation is aggressive (2/28/25). The Monitor continues to
recommend to hire personnel who can perform process analysis and software modification to make
modifications to the electronic record format at a later date. A help desk should be established.

RECOMMENDATIONS:
  1. Provide a copy of the Fusion contract to the Monitor.
  2. Provide the training plan to the Monitor when it is developed.
  3. Base the roll out and device needs on expected numbers of employees and expected workflows
     and not on current employee numbers or existing workflows.
  4. Modify the Staffing Analysis and Implementation Plan to include staff to manage and support the
     electronic medical records including initial and ongoing training for users and a help desk
     function.
  5. Ensure that point-of-care167 devices are integrated into the electronic medical record.
  6. Ensure that label printing of laboratory requisition and other similar devices are integrated into
     the electronic medical record as part of the implementation of the record.
  7. Ensure that the new electronic medical record has the capability to track and report clinical and
     operations data that is needed to assess IDOC’s compliance with the Consent Decree and data that
     is vital to IDOC’s ongoing efforts to track and improve the delivery of quality care.

Policies and Procedures
Medical & Dental Policy Development

Addresses item II.B.8; III.K.4; III.K.5

II.B.8. The implementation of this Decree shall also include the development and implementation, with
the assistance of the Monitor, of a comprehensive set of health care policies by July 1, 2020. These
policies shall be consistent throughout IDOC, and cover all aspects of a health care program.
III.K.4. IDOC shall implement policies that require routine disinfection of all dental examination areas.
III.K.5. IDOC shall implement policies regarding proper radiology hygiene including using a lead
apron with thyroid collar, and posting radiological hazard signs in the areas where x-rays are taken.
.

167
   Point-of-care devices are small devices that provide a diagnostic test locally and which can be used by nursing or provider
staff where care is delivered. These devices include glucometers to test blood glucose, or devices to test blood to determine
whether anticoagulation (INR) is sufficient. Electronic vital sign machines are similar to point-of-care devices in so far that
they can be connected to the electronic medical record and the testing results can be automatically directed to the appropriate
place in the electronic medical record.



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OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

The Monitor requested the following documents specifically to review for compliance with the items from
the Consent Decree listed above.168
  1. Meeting minutes of statewide Systems Leadership Council from July 2023 until March 2024.
  2. Provide the plan to provide standardized training of staff to the policies and procedures that were
     effective February 2024.
  3. Provide a report of training completed on IDOC Medical Policies and Procedures.
  4. Identify the person responsible for coordinating and managing the process of maintaining a
     comprehensive set of medical policies and procedures that were made effective in February 2024.
  5. Provide the schedule for review and revision of the IDOC Medical Policies and Procedures.

IDOC was successful in developing the 1st edition of the IDOC Medical Policies and Procedures. The
manual was distributed to the facility HCUAs in February 2024. The table of contents from the Manual is
included with this report as Appendix C. There are 88 different policies and procedures in the areas of
governance and administration of the health care program; health promotion, safety, and disease
prevention; personnel and training; health care services; patient care and treatment; special needs and
services; infection control; health record; and medicolegal issues.

IDOC was receptive to many of the Monitor’s comments during the process of developing and reviewing
drafts. IDOC informed the Monitor on 1/25/24 that they would be moving forward to distribute the policy
and procedure manual even though the Monitor had not finished reviewing the remaining drafts
received.169 At the monthly meeting with OHS on 2/29/24 the Monitor was informed that the policy and
procedure manual had been distributed to the facility HCUAs and others responsible for implementation.
The Agency Medical Director explained that it was important to get the document out because they had
been informing the field it was coming for a long time. He also indicated that the documents were viewed
as dynamic and would be continuously modified. Twenty-one of the policies and procedures in the manual
do not include consideration of the Monitor’s review and comments. This is because the comments were
received too late to be considered before publication and distribution of the 1st edition.170 IDOC indicated
that comments on policies and procedures provided by the Monitor in late January and February 2024 will
be considered when the policy and procedure is next revised.171

The Monitor considers the IDOC Medical Policy and Procedure Manual a significant first effort but not
comprehensive. IDOC committed to developing a comprehensive set of policies and procedures that
addressed all the provisions of the Consent Decree in its Implementation Plan.172 The Monitor has found
that not all the provisions in the Consent Decree are addressed by the IDOC Medical Policy and Procedure
Manual. As a way of accomplishing this the Monitor suggested in feedback to IDOC that the relevant
Consent Decree items be cited in each of the policies, but IDOC elected to not to do this. IDOC has
provided no reconciliation that all the provisions of the Consent Decree have been addressed. Feedback
168
    Monitor’s documentation request dated 2/29/24, items 24, 77-80.
169
    OHS – Monitor Monthly meeting 1/25/2024. After this discussion the Monitor had returned nine policies with comments
and suggested revisions by 2/2/2024 and the final 12 on 2/19/2024.
170
    These are D.02.01, E.04.01, E.05.01, E.06.01, G.10.01 – G.18.11, H.01.01, I.0101, and I.05.01.
171
    OHS Monitor Monthly meeting 2/29/2024.
172
    Implementation Plan narrative page 1, Item #40, step 2, Item #83.



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provided in the Monitor’s 7th report was that the list of policies to be developed did not appear to address
every provision in the Consent Decree as well as every NCCHC accreditation standard.173 There are also
a number of topics that are not adequately addressed in the 1st edition. These include radiology procedures
and laboratory procedures, cleaning and supply of linen in the infirmary, inventory and control of
pharmaceuticals, etc. While there are a number of dental procedures, all but one address infection control
in the dental area. There is, for example, no policy and procedure concerning dental extraction or
prostheses or other dental procedures.174 The Monitor’s review of specific policies and procedures in the
1st edition, including where the provisions of the Consent Decree were not addressed, is articulated
throughout the remainder of this report.

The Medical Compliance Administrator coordinated the process for policy and procedure development.
Later she transferred to OHS into the position of Medical Coordinator and has retained responsibility for
coordinating the development of the medical policies and procedures. The Monitor was informed in May
2024 that SIU had identified a person on staff to assume the role of project manager for policies and
procedures and the Medical Coordinator was transitioning this responsibility.175 The Monitor has not seen
evidence yet of any work being performed by the project manager for policies and procedures. The
Administrative Directives concerning delivery of health care remain unchanged and in many instances are
not consistent with the new policies and procedures. Facilities have been cited as noncompliant with the
Administrative Directives which thwarts implementation of change. OHS has indicated that they are
working to obtain variances to the Administrative Directives where there is conflict with the new policies
and procedures.176 Eventually the ADs will be revised to be consistent with the medical policies, but this
is a lengthy process, hence the need for variances. Other steps necessary to support implementation of the
1st edition are standardization of forms, contract negotiations with the Department’s selected medical
vendor, and informing other parts of IDOC about changes that affect them.177

IDOC policy and procedure A.05.01178 establishes a policy and procedure committee whose members are
appointed by the Agency Medical Director every two years. The committee is responsible for reviewing
the policies and procedures annually and for the development of additional policies as necessary. The
Agency Medical Director also appoints the person responsible for managing the policies and procedures.
The facility HCUA is responsible for making the health services policies accessible to staff, training and/or
coordinating training in the new policy and procedure. Proposals for new policies or revisions to existing
ones may be made by any IDOC employee or vendor. The Medical Compliance Administrator is
responsible for receiving final version of a policy and procedure from the committee, ensuring its review
by the IDOC Director and Agency Medical Director, and the notification and distribution of new or revised
policies and procedures. The Monitor had substantial input and agreed with the final draft with the
understanding that the next revision would address the subparts 8-12, in Item 40 of the Implementation




173
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, pages 50-51.
174
    Implementation Plan item # 83 explicitly states that a comprehensive set of dental policies and procedures will be
developed with input from the Monitor.
175
    OHS-Monitor Monthly Meeting May 16, 2024
176
    Changes in personnel responsible for IDOC Administrative Directives have contributed to delays in obtaining the
necessary variances. OHS-Monitor Monthly Meeting August 22, 2024 and September 19, 2024.
177
    HCUA Meeting P &P power point 2/22/2024.
178
    A.05.01 Policies and Procedures.



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Plan.179

OHS has sought assistance from experts affiliated with SIU to assist with the revision and refinement of
infection control policy and procedure.180 A similar effort is underway with a pharmacy initiative
sponsored by SIU and IDOC and is expected to result in a manual of pharmacy procedures.181 The use of
subject matter experts to refine and improve the initial set of policies and procedures is applauded.182

The Monitor requested but received no schedule for review and revision of the IDOC Medical Policies
and Procedures. Instead, we were told that the Medical Coordinator was reviewing a quarter of the policies
each quarter beginning in July 2024. Notes were being taken as staff are being trained in the policies and
procedures of areas that need clarification or revision. Ultimately the SIU policy project manager is
expected to manage the schedule and review/updates.183 A.05.01 Procedure: VI. states that the annual
review of policies and procedures takes place according to a schedule. This part of the policy and
procedure has apparently not been implemented yet. The Monitor looks forward to knowing the schedule
and contributing to the annual review.

Implementation
OHS has stated that implementation is expected to be a long process. The new policy and procedure
manual and its implementation were discussed with the HCUAs at a meeting on 2/22/2024. The direction
given to the HCUAs was that the policies and procedures were in effect, and they were expected to begin
implementing them.184 The Medical Coordinator has subsequently met with the HCUAs to review
different sections of the new policy and procedure manual. She employs subject matter experts, such as
the statewide Quality Coordinator and Infectious Disease Coordinators, to deliver the training content in
their area of expertise. 185 The Monitor was told that these meetings have continued each month. However,
no list of topics, attendance or other evidence has been provided about the training.186

Item #40 step 9 of the Implementation is to “Establish a plan to provide standardized training and
centralized reporting of training completion and subject knowledge in the set of comprehensive medical
policies and procedures. (Completion date: November 2023)”. It appears that training is taking place but
there is no record that could be provided of training completion or demonstration of subject knowledge.
This should be part of the policy project manager responsibilities.

During the Monitor’s site visit to NRC and Stateville187 the HCUAs were asked about the new manual of
policies and procedures. Both HCUAs were aware of the new policy and procedure manual. One reported
being familiar with E.06.01 because it had been implemented at the facility. This HCUA also reported

179
    Issues to be addressed in the next revision are standardized training in policies and procedures, reporting of completed training,
the method for the Agency Medical Director to consider requests for exceptions to policy and procedure, timeframes and expectations for
policy implementation by facilities. Monitor’s comments on second draft of A.05.01 dated 6/13/2023.
180
    Interview with the Agency Infectious Diseases Coordinator July 17, 2024.
181
    OCM/IDOC Initiative Charter dated 11/28/2024 provided in response to the Monitor’s documentation request # 31.
182
    Use of subject matter experts is consistent with the process called for in the Implementation Plan, Item 40, step 4.
183
    Response from IDOC Special Litigation Counsel dated 6/28/24 to the Monitor’s documentation request for the 8th report.
184
    OHS-Monitor Monthly Meeting February 29, 2024.
185
    OHS-Monitor Monthly Meeting March 21, 2024.
186
    OHS-Monitor Monthly Meeting May 16, 2024. No report was provided in response to the Monitor’s request #78. IDOC
response in the document request itself was “ Currently doing monthly policy and procedure manual training with staff.
Specifically, with HCUAs and DONs but others will be/are added when relevant to the policies being discussed.”
187
    June 3-5, 2024.



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familiarity with the procedure in the event of death.188 The other HCUA reported receiving the new
policies and procedures but had not read them thoroughly. Neither of the facility medical directors
expressed familiarity with any of the policies and procedures. One medical director commented that they
had been mentioned at a quarterly meeting and could be accessed online. It is remarkable how little
penetration there is into the leadership and operation at these two facilities regarding the implementation
of the 1st edition of the policies and procedures three months after their distribution.

The Regional Coordinators for the North and Central regions were also interviewed about the
implementation of the 1st edition Medical Policy and Procedure Manual.189 They were quite clear that they
have no direct responsibility for implementation; stating instead that it is up to the HCUA and the vendor
to make it happen. They described their role as being there to support them in implementation. The
Regional Coordinators stated that the policies and procedures were effective when distributed in February
but there was no specified timeline for implementation. Neither of the Regional Coordinators are involved
in evaluating the performance of the HCUAs. HCUAs performance is evaluated by the facility Chief
Administrative Officer who has no responsibility for implementation of the Medical Policy and Procedure
Manual. When asked what the barriers were to implementation of the policies and procedures both
Regional Coordinators stated that the primary barrier was staffing. Other barriers were getting the vendor
to perform and assistance from operations in making the necessary changes.

The Monitor has observed IDOC’s inability to achieve compliance with directives that were issued
previously. As the reader will see later in this report there is still little evidence that changes with regard
to immunization and colorectal cancer screening have been implemented. We commented in the last report
that these prior experiences should underscore the importance of planning for implementation of the
policies and procedures as described in item 40 (subparts 8 and 11) of the Implementation Plan.190

In summary, IDOC has succeeded in finalizing the 1st edition of the Medical Policy and Procedure Manual.
IDOC collaborated with the Monitor during the development of the policies and procedures. This
accomplishment includes policy, A.05.01 which establishes the structure for review of current policy and
development of new policy as well as responsibility to distribute new and revised policy and to train staff
in these. A project manager for policies has been identified. The work of managing the updating and
review of the 1st edition is transitioning to the project manager now. The Medical Coordinator has provided
monthly training for HCUAs and directors of nursing on the new policies and procedures.

No documentation was provided about training received and when. Three months after distribution of the
new policy and procedure manual, two HCUAs interviewed during this report period did not describe any
training that had been received. They were familiar with very little of the new policy and procedure
manual. With the exception of the policy on sick call, these two HCUAs had not implemented the new
policies and procedures. No expectation as to a timeframe for implementation has been set forth. The
Monitor did not find evidence of the implementation of the new policies and procedures among records
reviewed and documentation received for this report.

188
    It is unclear if this refers to A.08.01 Notification Requirements Regarding Critically Ill Patients or A.10.01 Procedure in
the Event of an Individual in Custody Death.
189
    June 27, 2024.
190
    Records reviewed for this report consistently document digital rectal exams as part of the physical exam when they are no
longer considered the standard of practice and persistent failure to offer recommended vaccination and preventive health
screening despite directives to do so issued in 2021.



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The Monitor understands that IDOC is still in the preliminary stages of implementing the new policies
and procedures. A major focus of implementation must be the identification and resolution of barriers to
implementation, such as those listed by the Regional Coordinators. The addition of the policy project
manager should increase the capacity of the IDOC to ensure that every provision of the Consent Decree
is addressed in policy, use of subject matter experts and process mapping in development and revision of
policy, development of standardized training and centralized reporting of training provided, development
of tools and methodology to measure whether actual practice is in conformance with policy.

RECOMMENDATIONS:

       1. Consider and incorporate the Monitor’s comments on policies and procedures that were returned
          to IDOC in late January and February 2024 when the policy and procedure is next revised.
       2. Ensure that policies address all of the items in the Consent Decree.
       3. Identify additional policies that need to be developed (dental, infection control, radiology,
          pharmacy etc.) and obtain subject matter experts to draft these for review by the Monitor.
       4. Ensure that the policy project manager understands the scope of work and work product expected.
       5. Follow the Implementation Plan with respect to training at the facility level for all newly developed
          policies.191 This should result in a standardized methodology for implementing policies and
          procedures that ensures all employees are properly trained for those procedures that they will need
          to fulfill their job responsibilities.
       6. Implement A.05.01 Policies and Procedures and establish the schedule for review and revision of
          the 1st edition as well as the additional policies that are being developed.
       7. Establish and distribute a schedule for review and revision of the IDOC Medical Policies and
          Procedures as per A.05.01.
       8. Establish expectations for resolution of barriers and timelines for implementation of the new
          policies and procedures.


Operations
Clinical Space

Addresses item II.B.2 in part; III.B.1; III.C.2; III.F.1;
II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
III.B.1. IDOC shall provide sufficient private and confidential sick-call areas in all of its facilities to
accommodate medical evaluations and examinations of all Class members, including during intake,
subject to extraordinary operational concerns and security needs of IDOC including, but not limited
to, a lockdown.
III.C.2. IDOC shall provide sufficient private and confidential areas in each of its intake facilities
for completion of intake medical evaluations in privacy, subject to extraordinary operational

191
      See the Implementation Plan narrative pages 1, 3-4, and items 7, 8a., 40 subpart 9.



                                                                                                            92
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concerns and security needs of IDOC including, but not limited to, a lockdown.
III.F.1. Sick call shall be conducted in only those designated clinical areas that provide for privacy
and confidentiality, consistent with the extraordinary operational concerns and security needs of
IDOC including, but not limited to a lockdown.

OVERALL COMPLIANCE RATING Partial Compliance

FINDINGS:

Documents Requested for Clinical Space
The following documents and information192 were requested and were, for the most part, received from
the IDOC to evaluate progress toward compliance with the items in the clinical space section of the
Consent Decree:
    • An inventory for each facility of the rooms used by health care personnel for patient examination.
       This information did not change from the 7th Report in which variable data for fourteen facilities
       was utilized. Only nine facilities provided adequate data to evaluate the adequacy of clinical space.
       Data for one additional site was provided for this report.
    • Any progress on a consultation to evaluate medical and dental physical plant issues statewide and
       by facility to include analysis of existing medical space. Updated draft designs for new and
       renovated health care spaces at six facilities in the Southern IDOC region were provided.
    • Report of physical space consultant’s analysis of existing space with respect to health care. No
       actual analysis by consultants of existing health care space was provided.
    • Copy of renovation plan as described in the Implementation Plan. IDOC communicated that it “has
       nothing additional to provide.”
    • List of construction, remodeling, or physical plant improvements for any of the health care units.
       The activities reported were primarily HVAC, electrical, roofing and routine maintenance repairs.
       Only one facility reported any physical plant remodeling that expanded clinical health space
       converting existing health staff offices into a triage room and a dedicated optometry exam room.193

Stateville Closure
The Monitor team was also provided with monthly updates on the closure of Stateville CC. Although the
decision to close and rebuild Stateville was primarily based on unacceptable housing conditions for the
inmate population in this aging and deteriorating facility, during previous and recent site visits,194 the
monitor team has identified notable delivery deficiencies in the health care spaces at Stateville including
inadequate exam rooms to provide primary care services, insufficient space for the medical records
department, defective negative pressure units in the medical isolation rooms, poor lines of sight from the
infirmary nursing station, repetitive infestations of bugs, insects and flies in the infirmary rooms, lack of
sinks in satellite nurse clinics in housing units, a cramped dialysis unit lacking a dedicated station for
patients infected with hepatitis B, grossly inadequate storage space in the dialysis unit, birds flying and

192
    Monitor document requests for 8th Court Report #s 81, 82, 83, and 84.
193
    Lincoln CC. The previous optometry space was cramped and shared by the parttime optometrist and by the nurse doing
intake screening histories and physicals for new admissions and transfers-in. The renovation also created separate offices for
the DON and the HCUA and a new office for the Medical Records Director. In spite of these modifications, the Monitor
stands by their previous recommendation that the Lincoln HCU is significantly undersized and needs to be replaced or fully
renovated.
194
    Most recent inspection of Stateville CC by monitor team was on 6/5/2024.



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nesting in the inmate cafeteria and food serving areas, an undersized physical therapy treatment room, and
the lack of an onsite x-ray unit. The infirmary unit at Stateville is unfit for housing medical patients and
should also be closed, but the Court’s order did not include the infirmary. Due to the verified deficiencies
in the aging physical plant and in the outdated and inadequate health care spaces, the Monitor is fully
supportive of the closure of Stateville and construction of the new facility at the site. The Monitor also
strongly recommends that other aging facilities195 in the IDOC be closed and replaced.

NRC Site Inspection
The monitor team inspected the health care areas of the Northern Reception and Classification center
(NRC) in June, 2024.196 The Intake Center is adequately sized and is currently analyzing and streamlining
the patient flow through the multiple steps of the screening process.

Since a pre-consent decree visit to NRC in 2018, the infirmary nursing station has now been appropriately
relocated from a tiny, cramped room to an amply sized, open location in the main corridor adjacent to the
isolation rooms and the entrance to the mental health crisis rooms. One two-bed infirmary room was not
operational. Unbeknownst to the infirmary staff, both negative pressure isolation rooms in the infirmary
were not operational. All of the crisis rooms had chipped and frayed paint on the walls. The one vacant
mental health crisis room had a non-functional toilet that was full of fecal material. This was unacceptable
and created an infectious disease risk. There was no open area or dayroom in the infirmary for use by
long-stay patients. There isn’t an exam room in the infirmary; this results in cumbersome and inefficient
exams being done at the bedside or the patient has to be transported to the clinic. The NRC nursing
leadership rounded with the Monitor and was directly informed of these issues. The engineering staff was
called about the defective negative pressure units.

The NRC clinic has three exam rooms across from the clinic’s nursing station. The rooms and the hallway
in the clinic has chipped and missing floor tiles that creates a safety hazard for the patients and staff. The
exam tables were non-adjustable, fixed orthopedic tables that had torn upholstery and lacked paper
barriers. There was not even a single multi-position electric table that would be needed for examination
of patients with complex medical problems. The desks, cabinets, and other surfaces had frayed edges and
chipped surfaces which cannot be adequately cleaned and sanitized. The sinks in the exam rooms were
crusted with calcium deposits. Three exam rooms were insufficient to accommodate the 1.6 FTE
physicians, 4 nurse practitioners/physician assistants, and telehealth sessions. Due to the shortage of exam
rooms, nurse sick call is provided in the evening when there isn’t an onsite physician to readily provide
consultation with the nurses. The physical therapist has a therapy room in the K wing, which is rarely
used because of a lack of correctional staff to provide coverage. The therapist is forced to do evaluations
and treatments in the clinic exam rooms between scheduled patients being seen by the other providers.
The dental clinic has only a single dental chair.197

Systemwide Inventory of Clinical Exam Rooms



195
    With the closure of Stateville, the oldest facilities in the IDOC are Dixon, Logan, Pontiac, and Menard CC’s.
196
    NRC site inspection was done on June 3-4, 2024.
197
    Data for dental staff at NRC provided by IDOC included 1.6 dentists. There is a chair in intake and another chair in the
clinic. A dentist works in the clinic. NRC does not have a hygienist but needs one as it has a population of long-term
workers. With a hygienist, NRC will have insufficient chairs. A workload analysis has not been provided for how much
dental time in the dental clinic is needed.



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The Monitor was able to evaluate data from ten facilities198 to provide an inventory of rooms used for
patient examination. The Monitor has received no information that there has been any new construction
or renovation that expanded the number of exam rooms since the 1st report in 2019. There was no
discernable change in the assessment of the room inventories compared to the data provided for the 6th
and 7th Court Reports. The data provided for the 8th Report from the one additional site199 identified that
its six exam rooms200 had to be juggled between as many as nine to ten different providers including 2
physicians, 4 nurse practitioners and physician assistants, 1 halftime obstetrician gynecologist, 2 sick call
nurses, 1 clinic nurse doing vital signs, and intermittently for unscheduled urgent care services. One other
former exam room in this facility has been permanently converted to a dental hygienist room because
there was insufficient space for this provider in the two chair dental clinic staffed by two dentists.

As noted in previous reports, there continues to be insufficient numbers of examination rooms to ensure
private and confidential examinations and evaluations and to allow adequate access to clinical care. In
almost all of the ten facilities reporting exam room inventories it is apparent that there are more budgeted
clinical staff including physicians, nurse practitioners, physician assistants, sick call nurses, and chronic
care nurses who need to use examination rooms than there are examination rooms. This results in
clinicians having to see patients in poorly equipped spaces without examination tables and lacking privacy.

The data provided noted that of the thirty-four rooms labeled as examination rooms, eighteen were shared
by other staff or used for other activities including physician office space, phlebotomy, treatments,
telehealth, storage, vital signs, physical therapy treatments, and injury assessments. In almost all facilities
urgent care rooms are also frequently used to provide routine care. This results in the cancellation or
truncation of scheduled visits when this room is needed to address urgent or emergent situations. The lack
of sufficient number of examination rooms continues to be a barrier to access to care in IDOC’s
correctional centers.

Inadequate Clinical Space
As noted in the 7th report, the Monitor team has identified existing space needs at multiple site visits that
hampered the delivery of health care services to the incarcerated population. The deficiencies observed
have included insufficient number of examination rooms to accommodate the number of clinical staff at
the facility, the lack of adequate workspace for nursing staff, the lack of sufficient dental chairs to
accommodate dentists and dental hygienists, the inadequate space to provide needed services and
programs for infirmary patients, undersized waiting rooms, inadequate space to house physical therapy
services, cramped and undersized onsite dialysis centers, inappropriately designed, located and jerry-
rigged intake screening spaces, insufficient and inadequate telemedicine space, insufficient space to store
and manage medications, and insufficient conference room space for the purpose of meetings and training.
Consideration must also be given to the increasing demand for telehealth rooms and the need for expanded
and/or additional workstations and counter space to accommodate devices for the upcoming electronic
medical record. There is limited evidence these and other future space demands have been fully assessed
and/or addressed.



198
    Data utilized included the nine sites in the 7th Report and one additional site provided for the 8th Report.
199
    Logan CC room inventory 2024 provided for the 8th Report.
200
    Logan’s space inventory list a seventh exam room labeled “electrolysis exam room”; it was not reported if this room is
shared for other clinical services.



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As detailed in the 7th Report, some clinical care is conducted in locations not designed or intended for
clinical care. At a previous site visit,201 it was noted that intake screening at Graham was being performed
in the middle of a gymnasium which has to be vacated on days that new admissions arrive. This space
lacks adequate audio and visual privacy. It also results in a disjointed and inefficient intake process. The
same gymnasium was also used by the physical therapy assistant for daily physical therapy sessions and
intermittently by the physical therapist who performs the initial assessments. This open space in the corner
of the gym also lacks audio and visual privacy. The therapy provided is very restricted due to inadequate
space to secure larger exercise apparatuses. The Introba space designs for a new/renovated Graham CC
include dedicated Physical Therapy space but doesn’t address the need for appropriate space for intake
screening at this Reception and Classification center.

CGL Facility Master Plan Report
As noted in the 7th Report, the Capital Development Board (CDB) of the State of Illinois hired CGL, a
consultant group, who was “tasked with developing a correctional system master plan that would prioritize
physical plant needs for the next five years and beyond”. CGL did a thorough evaluation of existing IDOC
facility buildings and infrastructure.202 The monitor team supported a number of the consultants’ general
and specific recommendations. However, this was not expected to be and was not a detailed survey of the
present and future space and equipment needs of the medical and dental services in all IDOC facilities
needed to provide adequate medical and dental care as required in the Consent Decree and the Court
approved Implementation Plan.

As noted in the 7th Report, CGL did not thoroughly evaluate the medical and dental spaces and equipment
as required by the Consent Decree and Implementation Plan. CGL reported that the “aging units used for
the geriatric population are not designed to support their needs and that health care units (HCU) did not
have sufficient geriatric, ADA, and infirmary beds to meet the needs of the facilities” and recommended
that IDOC consider dedicated housing and services for the elderly population. Their recommendation for
a 200 bed dedicated geriatric unit was made without first quantifying the number of elderly or to assess
the needs of this population as required in the Implementation Plan.203 IDOC has not yet hired a subject-
matter expert consultant to evaluate and determine the space, housing, health care, and programmatic
needs of the aged, infirm, demented, and disabled housed in the IDOC.

In summary, the CGL report was not intended to and did not specifically address medical and dental space
and equipment at all IDOC facilities and IDOC has not performed an analysis of the infirm, aged, and
disabled population to determine their needs.

Introba, Inc. New and Renovated Health Care Spaces in Southern Region
In April, 2023, the CDB contracted with Introba Inc., a building engineering firm, to provide input on the
space and design options to address the need for permanent medical office space at six facilities in IDOC’s



201
    Graham Correctional Center and Reception and Classification Center 7/17-19/23.
202
    CGL “IDOC Facility Master Final Report” May 2023 noted that 20% of IDOC capacity housed in facilities built prior to
1926, most facilities were built prior to the American with Disabilities Act (ADA), deferred maintenance has reached a
“critical point”, medical units at 22 of the 30 facilities were undersized or small, HCU (primarily infirmary) beds were filled
with long term inmates who need geriatric care, and Stateville, Pontiac, Dixon, and Menard have the highest deferred
maintenance costs, ADA inadequacies, and infrastructure that have “passed end of life”.
203
    See Implementation Plan narrative pages 2 and 6; items 64, 65, 66, 69 and 70.



                                                                                                                             96
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southern region including the Graham Reception and Classification Center. 204 The Introba report
developed “program health care standards”205 and algorithms based on an institution’s population to
calculate the number and square footage of various types of medical, dental, and mental health clinical
rooms and support spaces.206 Between April 4, 2023 and July 17, 2023, Introba produced initial Program
Analysis Reports for six sites.207 The Monitor voiced concerns that there appeared to be insufficient input
from clinical leadership on these initial reports. The Monitor provided preliminary feedback to these
reports that was shared with IDOC who stated that this information would be forwarded to Introba via the
Capital Development Board. For the 8th Report, more detailed and updated Program Analysis Reports
were received by the Monitor.208 A limited comparison of the recommended exam rooms, dental chairs,
infirmary beds, long-term-care beds, and medical telehealth rooms in the initial and revised versions
reports is noted in the table below. There was no rationale provided for the changes in the revised reports.




204
    The six Southern region IDOC facilities studied were BMR, Danville, Graham, Pinckneyville, Shawnee and Taylorville.
The contract was reported to have been issued in response to mental health and medical litigations.
205
    The initial program health care standards were developed by Introba in conjunction with IDOC but some are inconsistent
with realistic or comprehensive care needs of the patients. These standards are space design standards to be used in their
report. Examples included the following. 1) Chronic care and dialysis would not be provided onsite. 2) Long-term care for
the elderly would not be provided onsite (this was determined without a definition of who would qualify for long-term care or
identification of where long-term care will be provided). 3) Patient examination rooms are based on a formula of one
examination room for every 300 inmates, irrespective of the tasks necessary to accomplish at any given facility. 4) One
infirmary bed for every 100 inmates regardless of the acuity of patients at the facility.
206
    Number of rooms and spaces and square footage standards were provided for clinical examination and treatment rooms,
emergency/urgent rooms, dental suites, telehealth rooms, physical therapy areas, optometry and audiology spaces, various
types of storage rooms, patient waiting areas, infirmary patient rooms and infirmary support services, pharmacy and
medication distribution spaces, staff and administrative support areas (offices, workstations, supply rooms). There are
separate standards for the adjacent mental health unit.
207
    For additional information on the CGL and Introba reports see the 7th Court Report, Operations, Clinical Space, pages 71-
76.
208
    The updated and revised Introba reports were produced on these dates: BMR 9/8/23, Pinckneyville 11/28/23, Shawnee
12/18/23, Danville 1/19/24, Taylorville 1/26/24, and Graham 1/26/24.



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                              Conceptual Plans and Program Analysis of Introba, Inc.
                                                      1st and 2nd Versions
                                  # Exam              # Dental            # Infirmary             # Long-             Telehealth
                                  Rooms*               Chairs               Beds**               Term Care             Medical
                                                                                                  Beds***             Rooms****

                 Version        1st       2nd       1st       2nd       1st         2nd          1st      2nd       1st        2nd




         Facility
           BMR                    7        7          3         3        17          18           0         0        2           2
 population         1337
 capacity           1882
         Danville                 7        6          3         3        17          18           0         5        2           2
 population         1188
 capacity           1752
         Graham                   7        7          3         5        17          23           0         0        2           2
 population         1632
 capacity           2000
     Pinckneyville                7        7          3         3        17          23           0         0        2           2
 population         1862
 capacity           2000
         Shawnee                  7        6          3         3        17        17-18          0         0        2           2
 population         1447
 capacity           1859
       Taylorville                7        5          3         3        17        16-19          0         0        2          1-2
 population         1090
 capacity           1180
 Total                           42        38        18        20       102      111-115          0         5        12       11-12
 *Current total exam rooms in these six facilities: 17. (There were 6 satellite NSC spaces in housing units at two facilities, 4 at BMR
 and 2 at Pinckneyville. No data was provided to determine if these would qualify to be called exam rooms.)

 ** Current system infirmary beds = 92
 ***Danville conceptual plan 2nd version shows 5 long-term-care beds, Graham’s 2nd version, p.33 notes that Long -Term-Care
 beds will be included in Option 2 “Build Addition and Renovation of Existing Medical Space” but there are no long-term care beds
 in the Graham conceptual sketches.

 ****Each of the six facilities currently have one medical telehealth room but most are shared spaces.




It is unclear if the increases or decreases in allotted rooms were based on each facility’s current population
or its rated capacity or on input from IDOC clinical leadership.




                                                                                                                                          98
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As noted in the 7th Report, the Introba reports created template designs to be used in the six newly
constructed replacement medical and dental health care and mental health units. The Monitor is not
opposed to use of preliminary template designs, provided that unique needs of every facility are modified
accordingly. The Monitor team’s comments and critique on the revised reports and templates designs
include the following:
    • Introba states in the program analyses for the medical buildings:
                “The development of the IDOC Healthcare Architectural Standards, deficiencies identified
                in the Rasho and Lippert settlements… were considered to best meet the IDOC healthcare
                needs209…In determining the facility’s needs for the new building, the design team met
                with [the] warden, medical staff and leadership and examined the provided program
                document developed by the design team, outlining the previously requested needs.… the
                design team discussed with [the facility’s] health care professionals to help understand the
                facilities current medical departments and operational procedures and needs for each.”210

          The Monitor did not receive a “program document” in conjunction with the document request. No
          evidence was provided regarding deficiencies identified by the architects that were used to create
          their designs. Also, this statement is consistent with the IDOC practice of each Warden being
          responsible for health care operations in their facility and neglects the statewide responsibility of
          OHS to place each facility into a strategic design and to ensure that all policy and clinical
          responsibilities, as defined by OHS, are being covered and that the needs of the Consent Decree
          are met. These designs have multiple issues as detailed below.
      •   Introba’s Executive Summary in its first report stated that “Healthcare programs deemed most
          feasible to be provided off-site…include ….chronic care, and dialysis.”211 The Monitor strongly
          disagreed and these recommendations appear to be reversed in the revised reports with dialysis
          units now placed in the facility designs at Graham and Danville and no mention being made of
          chronic care (primary and select specialty care for chronic medical conditions) being removed
          from the facilities.
      •   Introba’s report also initially indicated that long-term-care also could be moved offsite. The
          Monitor concurs that individuals in custody who are irreversibly frail, demented, disabled, or
          having an advanced terminal illness requiring skilled nursing care or hospice care should receive
          compassionate release (Joe Coleman legislation) or be placed in nursing homes in the community.
          The current shortage of infirmary beds in the IDOC is in large part due to the use of these beds for
          patients with long-term-care and terminal care conditions. Even though compassionate release and
          other community based care is optimal, the Monitor also recognizes that IDOC will continue to be
          responsible for the care of some patients who are aged and infirm and require appropriate long
          term care.
      •   The schematic drawings for Danville CC now contain five long-term-care beds separate from the
          infirmary beds. Although the creation of long-term-care beds in facilities’ health care units, might
          very minimally address this growing health care issue in the IDOC, it is not a feasible long-term
          solution. Plans to build long-term care units should not occur until IDOC has obtained a report
          from a consultant to quantify the numbers of aged, infirm and disabled, to include their medical
          housing and medical care needs because this information is necessary to make an informed
          decision about how to care for this population. The Monitor concurs with a recent article in a

209
    This statement is in the introduction of the reports.
210
    This statement was in the New Medical Department Programming section of the reports.
211
    Introba’s Executive Summary to the Capital Development Board, 4/4/23, page 2.



                                                                                                            99
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          Chicago newspaper that stated, “But I don’t think it makes sense -financially or practically – to try
          to turn prisons into nursing homes or to try to imagine that we’re going to provide end-of-life
          palliative care for people going through very painful deaths.”212
      •   There were no criteria or design options presented for the development of a comprehensive intake
          screening center at Graham.213
      •   The six facilities evaluated by Introba currently have a total of 17 exam rooms in their HCUs; the
          revised design options would increase the number of exam rooms to 38. The Monitor agrees that
          additional exams are needed. No analysis accompanied the recommendations and there is no
          evidence that the increase in beds adjusted for a strategic medical plan for these six facilities or
          the expected medical plan for who would be housed at these facilities. Without that analysis, it is
          not possible to determine if the increased number of exam rooms is sufficient.
      •   Fixed and portable equipment needs at these facilities was not discussed.
      •   The six facilities currently have 92 infirmary beds; the revised Introba design options would
          increase the number of beds to 111-115. This would help to address the systemwide shortage of
          infirmary beds, but this recommendation is not based on any analysis or survey of the need.
      •   The revised drawings include two dedicated medical telehealth rooms in all six facilities (one
          Option for Taylorville has only one telehealth room); most of the facilities currently have only one
          shared telehealth room. Depending on the design option selected, the medical telehealth rooms at
          five sites could have square footages ranging from 44-60 SF which is insufficient space to
          accommodate both the patient and the mandated accompanying nurse.214 With the increased
          utilization of primary care and specialty telehealth services, almost all IDOC HCU’s should have
          at least two adequately sized medical telehealth rooms. IDOC is in the planning phase of increasing
          specialty care via telemedicine with UIC. Strategic planning with respect to telehealth has not
          occurred and should precede facility-specific design planning.
      •   Radiology suites were absent in the initial designs but are now in all six facilities.
      •   The infirmary designs continue to be problematic. The infirmary rooms in all of the options
          presented are single bed rooms. The location and design of the nurse stations need to be reviewed
          to ensure that the nurses have adequate work space and optimal lines of sight into the patient
          rooms. Easily accessible nurse call devices must be installed but it has been the Monitor’s
          experience that nurse call systems are commonly found to be non-functioning and require frequent
          repair and maintenance. Rooms closest to and within the sight and sound of nursing stations must
          be prioritized to house high risk patients.
      •   For the near and likely distant future, the infirmaries will continue to house aged, infirm, disabled,
          and dementia patients. None of the infirmary design options have communal activity and program
          rooms with card/reading/game tables, dining tables, TVs, or limited exercise equipment. This
          infirmary design will result in chronically ill, long term infirmary residents being housed in what
          is the equivalent of “solitary confinement”.
      •   There is one designated security observation station in each infirmary. Five of the six stations are
          situated at the entrance to the infirmary. If the officers are assigned to the “open” nurse stations,


212
    Chicago Sun Times, October 21, 2024: K. Washburn, Can Prison Cause Dementia? New Northwestern Study Explores
How Incarceration Impacts Health: Quote by Maria Burnett, Illinois Prison Project, Page 7.
213
    Graham’s Reception Center is currently performed in the center court of the gymnasium. It lacks audio and visual privacy
and does not allow the timely and efficient completion of the intake health screenings.
214
    There are three different Design Options for each facility and 5 of the 6 facilities had varying square footage for the
medical telehealth rooms for each option.



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       these stations will be dominated by correctional staff. Consideration should be given to placing
       designated security sub-posts in the center of the infirmaries.
   •   Consideration should be given to having an exam room/treatment room in the infirmary in facilities
       where the medical clinic exam rooms are not immediately proximate to the infirmary.
   •   A number of the Emergency/Urgent Care Treatment room design options have a second exit door
       that opens directly to the outside; this option is not practical, would create a temperature control
       problem, and is an obvious security risk.
   •   The lack of sub-waiting rooms for medical clinics (laboratory, radiology, physical therapy,
       optometry, nurse sick call, provider clinics) will result in waiting chairs being placed in the
       corridors.
   •   The dental clinic has an area labeled as “dental hygienist workstations”. It is not defined how this
       space would be utilized and whether the dental hygienist chair will be in this space for cleanings
       and assessments.
   •   All six facilities met the algorithmic prerequisite census to have onsite physical therapy evaluation
       and treatment spaces. Introba’s algorithm states that only correctional centers with 900 or more
       residents are eligible to have onsite PT services. This would bar the provision of onsite PT services
       to fourteen facilities housing approximately six thousand men and women. The Monitor disagrees
       with this restrictive guideline. When another tranche of new construction and renovation of
       medical care units are initiated, space should be designed to accommodate onsite PT services at
       all facilities with 300 or more residents. Transportation to offsite specialty appointments,
       treatments, and diagnostic testing is currently a logistical problem for the correctional staff and it
       will be an additional burden to move individuals to offsite PT services which could be readily
       provided onsite.
   •   The designs of the Graham and Danville hemodialysis units do not indicate the number of
       individual hemodialysis chairs/stations and some of the options do not identify a separate
       designated dialysis room for patients with Hepatitis B or other contagious conditions.
   •   Staff work flows and patient flows in the health care units and in and out of a number of clinical
       service areas are cumbersome and needs to be carefully re-analyzed by facility and system clinical
       leadership.
   •   Introba’s inmate population-based algorithms should use the rated capacity not the actual census
       data which can fluctuate and would result in some facilities being undersized. The algorithms
       should be used as a baseline estimate that should be adjusted to account for the number of staff
       who need to use the area to provide care, the complexity and ages of a facility’s population, and
       the intricacies of the facility’s physical plant.

As also noted in the 7th Report, the Introba engineering report includes adjustments for the number, type,
and size of certain rooms and spaces based on the population housed in the facility. This continues the
risk of promulgating cookie-cutter correctional facility designs in the IDOC that do not meet the needs of
varied populations served in a facility. IDOC needs to ensure that newly designed and constructed facilities
have built-in space flexibility to meet both the current and future service needs of the incarcerated patient
population.

Summary
The CGL Facility Master Plan and the revised Introba report on the replacement and/or renovation of
health care facilities in six correctional centers have started a long overdue campaign to upgrade aging
and outdated correctional facilities and health care centers in the IDOC. This is to be applauded. Before



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they finalize their recommendations and physical plant designs, CGL and Introba should coordinate their
work with the subject-matter expert hired to assess the aged, infirm, and disabled, seek more input from
the IDOC clinical and correctional leadership, and be guided by a strategic plan for medical and dental
care. Where appropriate both consulting reports should align their plans with the Consent Decree and
Implementation Plan.

However these significant physical plant activities do not address all the items in the Consent Decree and
Implementation Plan including hiring a subject-matter expert to assess the population and needs of the
aged, infirm, and disabled, evaluating the medical and dental equipment for all clinical areas, developing
a standardized list of equipment in all health care spaces, evaluating clinical and support spaces in all
facilities, and using a staffing analysis to estimate current and future space and equipment needs. 215

IDOC has a once in a generation opportunity to address the existing physical plant deficiencies in clinical
space and clinical care related housing of the aged, infirm, disabled, demented and memory deficient
patients. The two reports provided should be thoroughly vetted by health care and correctional leadership
before extensive remodeling, renovation, and construction is initiated.

The CGL report and the monitor’s site inspections concur in that the majority of IDOC health care spaces
are small and/or undersized. Many of the existing health care units are outdated and poorly designed for
changing health care standards. Infirmaries are crowded, exam rooms are insufficient, nursing stations
and workspaces are deficient, appropriate telehealth rooms are lacking, dental clinics need more space,
medical records offices are cramped, and storage rooms are inadequate in number and size throughout the
system. The monitor team has inspected twelve correctional centers and all have been readily found to
have inadequate space to provide needed services and programs. IDOC’s decision to renovate and/replace
health care centers for six facilities in the Southern Region needs to be expanded to include requirements
for each facility based on an IDOC strategic health care renovation plan. However, similar evaluations of
the remaining 23 facilities must also be done and include requirements in an IDOC strategic health plan.
The strategic plan should include the types of services anticipated at the facility, requirements as defined
by IDOC policy and the Consent Decree and expected population numbers. Some, if not all, of the aging
facilities will need to be closed.

IDOC should link the evaluations of all the health care service spaces to include engaging a subject-matter
expert to carefully the assess the specialized housing, program space, and equipment needed to care for
the growing number of aged, infirm, disabled, and demented. It would be a much regretted, missed
opportunity not to simultaneously study and plan for any physical plant modifications that are needed to
adequately and safely house and care for this population.


RECOMMENDATIONS:

        1. Develop structural space and fixed equipment requirements for all clinical activities necessary to
           provide adequate medical and dental care.
        2. Hire a qualified architectural/engineering consultant to do a comprehensive review to determine
           whether adequate physical clinical space and equipment relative to useful life determination is
           available at all facilities initially focusing on the twenty-three facilities that were not included in

215
      See 7th Report for more details on elements of the Consent Decree and Implementation Plan that need to be addressed.



                                                                                                                             102
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            the Introba, Inc, contract. The consultant will develop a plan to address existing and future
            physical plant and equipment deficiencies identified. Facility specific documents should focus on
            the types of patients expected to be housed, the requirements specified in an IDOC health care-
            specific strategic plan, requirements of IDOC policy and the Consent Decree.
       3.   Hire a subject-expert consultant or agency to evaluate the health care, special housing, and
            programmatic needs of the aged, infirm, disabled, dementia and memory deficit incarcerated
            persons, quantify the numbers of this patient population, and provide recommendations on the
            clinical care needs and related housing required for this population. This analysis should precede
            completion of the physical plant analysis.
       4.   Thoroughly review and provide additional input on the engineering and clinical report space
            design and preliminary drawings of Introba and CGL, or other consultants as chosen by the CDB.
            CDB should also provide a process for the Monitor to provide input.
       5.   Perform hemodialysis onsite in the IDOC facilities where the renal failure patients are housed.216
       6.   Perform primary and select specialty care onsite facilitated by telemedicine and e-consults.
       7.   Consider revising the contracts with CGL and Introba to ensure that the medical and dental
            physical plant analysis is consistent with Consent Decree and Implementation Plan requirements
            and occurs after completion of the analysis of the aged and development of an IDOC strategic
            medical plan that defines the purpose and requirements of each facility. If CGL can obtain a
            gerontologist to complete the analysis of the aged, it may expedite the process.
       8.   OHS needs development of a strategic plan to address classification by medical acuity including
            disabilities, consideration of classification housing locations based on hospitals and specialty care
            proximity to the housing locations, and facility medical and dental design considerations based
            on clinical needs based on medical classification acuity needs.

Equipment and Supplies
Addresses items II.B.6.p. and III.B.2.
II.B.6. p. IDOC agrees to implement changes in the following areas: Adequately equipped infirmaries;
III.B.2. These areas shall be equipped to fully address prisoner medical needs. The equipment shall
be inspected regularly and repaired and replaced as necessary. Each area shall include an
examination table, and a barrier on the examination table that can be replaced between prisoners.
The areas shall provide hand washing or hand sanitizer.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
The Monitor requested two data and informational reports from IDOC for this section of the report. IDOC
has provided documents for both requests.217 The request for lists of durable equipment was provided in
a variety of tabulations for most facilities. The second request for information on the dates of calibration
was also responded to with a mix of standardized and non-standardized lists.

Information for durable equipment was not standardized and varied in the number and type of equipment
reported. Two facilities did not provide any information. However, fifteen (54%) of the 28 responding

216
    Given the limited number of females with chronic renal failure, it would currently be reasonable for residents of female
facilities to receive hemodialysis services at an offsite dialysis center.
217
    Document requests: #85 asked for a list of equipment mostly 2024 Annual Certification of Inventory reports and #86
requested list of equipment requiring calibration and the most recent calibration reports.



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sites provided copies of the standardized, State-required DOC Annual Certification of Inventory survey;
others submitted non-standardized lists of some equipment.218 The equipment was listed in differing
orders from site to site making it difficult to compare equipment in IDOC facilities.

Information of the status of required calibration inspections was provided by fourteen (50%) of the
responding 28 facilities. Eleven (39%) provided copies of Preventive Maintenance reports on individual
equipment and three (11%) additional sites provided a letter/note confirming the date of the most recent
calibration inspections. Calibrations were performed by two biomedical service companies and corrective
actions documented.219 Most of the calibration inspections were done in 2023 and 2024. However, one
report was dated 2021 and another 2022 and a few other were undated.

The IDOC Clinical Space, Equipment and Supplies policy220 states that “Each facility shall have at least
one automated external defibrillator (AED) and a backup, for a minimum of two per facility.” Review of
the varied types of inventory lists from twenty-five facilities revealed that sixteen facilities (64%) had
two or more AEDs. One facility did not have even a single AED and eight facilities (32%)221 had only a
single defibrillator (AED) with no backup device. The Monitor has strongly recommended in previous
reports that each IDOC facility should have at least two AEDs to ensure the availability of a functional
AED for emergencies.

The Monitor again recommends that almost every infirmary should have at least one fully electric hospital-
grade bed and almost every medical clinic should have a fully electric examination table. An attempt
made to audit the presence of this type of bed was hampered by the lack of a standardized nomenclature222
for the beds utilized in the infirmaries and examination tables. IEMA donated a number of modest-grade
electric hospital beds which replaced all fixed position and aged beds in the IDOC infirmaries. Based on
the review of the equipment inventory, it appears that Stateville may have a few high grade bariatric and
electric hospital beds. Dixon, Menard, and Pinckneyville also provided data that that indicates that each
may have an electric exam table in its medical clinics. This information is welcomed but will need to be
confirmed.

The inventories for the ten facilities with sixteen or more infirmary beds and Pontiac which has twelve
beds were audited to assess the presence of electric Hoyer lifts needed to safely transfer patients to and



218
    The non-standardized lists of equipment varied from tallies of patient names using personal assistive aides (canes,
crutches, walkers, braces, etc.), two reports on the calibration of two centrifuges, short lists of a few equipment, lengthy lists
of equipment, a blank equipment survey form, a daily equipment and supplies count log from one facility, one IEMA report,
and others.
219
    Denham Biomedical Services and Clintech Corporation. (Reports by Clintech Corp. on the Electrical Safety Inspections of
equipment for five facilities were also provided to the Monitor: BMR, Lawrence, Robinson, Southwestern, and Vienna
CC’s.).
220
    IDOC Medical Policy and Procedure Manual, February 2024, D.03.01 Procedure VIII, Clinical Space, Equipment and
Supplies.
221
    Lincoln did not have any AEDs on their equipment list. The following sites noted only one AED on their standardized or
non-standardized lists : Danville, Decatur, East Moline, Hill, Kewanee, Robinson, Southwestern, and Western.
222
    The various inventory lists provided for the 8th Report described infirmary beds as hospital bed, therapeutic bed, patient
hospital bed, manual hi/low hospital bed, bed standard hi/low manual, electric pan hospital bed, bariatric bed, and bed
hospital electric with rails and clinic examination tables as exam table, table examining electric, table exam power/Ritter 75
evolution, exam table Ritter, exam table UMF, and table exam medical.



                                                                                                                             104
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from their bed to gurneys, wheelchairs, exam and x-ray tables and into/out of bathing tubs. Only five223
of eleven reported that they have Hoyer lifts. IDOC medical and nursing leadership need to investigate
the need for Hoyer lifts in all IDOC’s facilities with large infirmaries and high-risk populations.

As noted in the 6th and 7th Court Reports, the equipment lists provided have limited value without having
a systemwide standardized list of equipment that is expected to be available in each of the different clinical
rooms and areas in all IDOC facilities. The number of pieces of equipment would, of course, vary based
on the number of examination rooms, urgent care rooms, dental suites, infirmary beds, specialized
treatment services (dialysis, physical therapy), special equipment needed to support disabled and infirm
patients, and whether the facility is an intake center. IDOC has previously committed to ensuring that
there is adequate fixed, mobile, medical, and dental equipment. Developing a standardized list of expected
equipment is the first step necessary to accomplish this goal. The hiring of a qualified consultant to
evaluate equipment relative to useful life determination224 and to develop a standardized facility-specific
list of equipment and a plan to address equipment deficiencies225 would expedite the completion of these
essential tasks.

The increased provision of the equipment and calibration reports including Annual Certification of
Inventory, Electrical Safety Inspections (of clinical equipment), and the Preventive Maintenance were
useful in assessing the existing types and numbers of durable equipment and equipment that requires
annual calibration. The review and auditing of these reports was cumbersome to analyze and difficult to
tabulate but would be facilitated if there was standardized nomenclature used to describe the equipment
being audited.

There has been essentially no change in the status of this item since the Monitor’s 4th report. IDOC does
not yet have a standardized equipment list required for each facility including for the infirmary. The
Monitor has previously provided input on drafts of a list of emergency supplies, an equipment survey
checklist, and a list medical equipment by facility. No further information about these drafts or any efforts
to standardize other equipment has been provided by IDOC. The Monitor’s recommendation from
previous reports remains the same.

RECOMMENDATIONS:

      1. See recommendations that jointly refer to space and equipment in the above Clinical Space
         section.226
      2. Establish a systemwide standardized list with uniform nomenclature of equipment (including high-
         grade electric hospital beds and electric exam tables) that must be available and maintained in each
         of the different clinical service rooms (examination rooms, telemedicine rooms, urgent care,
         infirmary, dental suites, specialty rooms, etc.) at all correctional centers.
      3. Monitor systemwide annual calibration and evaluation of the clinical equipment and incorporate a
         replacement or repair plan to ensure that all sites have functional equipment at all times.
      4. Utilize the consultant who IDOC hired to survey clinical space to provide consultation on required

223
    Dixon, Logan, Pontiac, NRC and Stateville have Hoyer lifts. Menard (28 beds), Graham (21 beds), BMR (18 beds),
Centralia (18 beds), Hill (16 beds), and East Moline (16 beds) did not have Hoyer lifts on their inventory lists.
224
    Implementation Plan item 95.
225
    Implementation Plan item 98.
226
    These recommendations reflect the intent of Implementation Plan narrative p5 and items 95, 96, 97, 98, and 99.



                                                                                                                     105
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         equipment that is needed in all health care service rooms and areas in the IDOC.
      5. Ensure that all IDOC facilities have at least two functional AEDs.
      6. Investigate the need for Hoyer lifts in IDOC’s infirmaries.


Sanitation
Addresses item III.J.3
III.J.3. Facility medical staff shall conduct and document safety and sanitation inspections of the
medical areas of the facility on a monthly basis.

OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:
Two documents were requested for this report and a third document was provided by IDOC.
   • Calendar year 2024 1st and 2nd quarterly reports containing Safety and Sanitation reports were
      provided.
   • Cleaning and sanitation schedule for Decatur’s and Kewanee’s health care areas were requested
      but only Kewanee’s general cleaning process was provided.
   • The Environmental Services Program Coordinator’s inspection reports from three IDOC facilities
      in 2024 were provided although they were not formally requested. 227

Results and/or reports of monthly safety and sanitation inspection reports continue to be provided to the
Monitor on a quarterly basis for most facilities. Twenty-two safety and sanitation reports for the 2nd
quarter of calendar 2024 were reviewed.228 Eleven reported inspections of both housing units (HU) and
the Health Care Units (HCU), nine inspected just the HCU, and two reported on just the HUs. Some
inspections also included the kitchens and dietary areas.

The reports of environmental health and safety inspections done by the Environmental Services Program
Coordinator in 2024 of Centralia, Menard, and Western correctional centers were provided to the monitor
team. The reports are detailed and accompanied by photographic documentation. The findings are
supported by citations of pertinent national and local standards including OSHA and IDPH Food Service
Sanitation Rules and Regulations. The Coordinator’s findings document safety, sanitation, infectious
disease, and food safety risks. These findings align with findings of the monitor team and their efforts to
identify health and safety risks that can be prevented by timely repair and maintenance of the physical
plant and equipment and the implementation and enforcement of sanitation standards. The Coordinator
has developed a Corrective Action Tracker to monitor IDOC’s completion of work orders. The monitor
team is pleased that these inspections also include some elements of the HCU, the housing units, and the
kitchen. As in previous reports the deficiencies identified in non-medical areas included the following as
shown in the table below.




227
    These reports were provided to the Monitor at his request after a discussion about the reports produced by newly
appointed Safety and Sanitation Coordinator at the OHS-Monitor monthly meeting on 1/25/2024.
228
    Western’s Safety and Sanitation report (CQI minutes) for the 2nd quarter could not be opened.



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                                        Safety and Sanitation Findings in Non-Medical Areas
        Broken, leaking, or non-functional                  Mold in showers                        Non-functional lights
        toilets, sinks, faucets, or showers
          Missing or broken light bulbs                    Cracked windows                             Peeling paint
          Missing tiles or cracked floors                    Holes in walls                             Rusty vents
            Vents clogged with debris               Missing or damaged ceiling tiles        Lack of hot or cold water in showers
          Non-functioning HVAC units               Broken washing machines or dryers                    Roof leaks



Almost all of these deficiencies were continually reported for the three consecutive months that were
audited. Physical plant consultants229 have documented that there were a growing amount of deferred
maintenance and significant repair needs in many IDOC facilities. This is placing a burden on the
maintenance team at many facilities.230 Many of the physical plant deficiencies noted in the non-medical
areas especially the congregated housing units have the potential to put the incarcerated population at risk
for injuries and exposure to infectious material. This is especially true for individuals who have chronic
medical conditions and who are aged infirmed, frail, disabled, or with mental deficits. Two facilities
mentioned crumbling and cracked concrete steps and sidewalks231 that put both incarcerated persons and
staff at risk for injury.232 The recent CGL Facility Master Plan noted that “walk ways …are in very poor
condition creating trip hazards…” and are barriers to accessibility in a number of facilities.233 This same
report also discusses many physical plant issues which have resulted in a recommendation to replace many
buildings within the IDOC system. Deterioration of structures is magnified due to deferred maintenance.

Twenty (91%) of the twenty-two reporting sites reported in varying detail on conditions in the HCU,
infirmaries, and mental health units. Three facilities reported that were no issues in the HCU. Deficiencies
documented in the inspections of the health care areas were similar to the findings in many of the non-
medical areas and included:

                                      Safety and Sanitation Health Care Unit Findings
      Mineral crusted and/or leaking sinks     Deficient air conditioning systems      Sinks and showers with no hot water
             Rusty and dirty vents                     Broken windows                        Mold on shower walls
             Non-working showers                         Peeling paint                        Missing ceiling tiles
            Leaking/broken toilets                    Rusted metal doors                    Water leakage in ceilings
        Non-functional ceiling lights in            Broken/burned out lights             Missing and/or cracked tiles in
          hallways and bathrooms                                                           showers/rooms/hallways




229
    CGL Master Facility Plan May 2023.
230
    From April to June 2024, Menard CC reported their maintenance team completed 385 work orders, yet they still had 382
outstanding word orders at the end of June 2024.
231
    Jacksonville and Menard CCs.
232
    The monitor team has previously reported on the dangerous and hazardous conditions of sidewalks at Logan CC and
Dixon CC and deteriorated stairs and loose railings at the ramp to the HCU entrance at Pontiac CC.
233
    CGL IDOC Facility Master Plan, May 2023.



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The reports also documented a number of deficiencies that were specific to the health care units as shown
in the table below.

                                         Safety and Sanitation Findings Specific to Health Care Units
              Inoperable sinks                            Nurse call lights broken            No over-bed tables in infirmary
       Rusted out ramp to Health care                      Rusty tub in infirmary            Infirmary beds need replacement
                    unit*
      Countertops and exam room desks                   Showers not accessible for           Negative pressure units didn't pass
              and cabinets with                        wheelchairs or bariatric chairs    tissue paper test or didn't have a backup
      chipped/frayed/stripped edges and                                                                     alarm
                Formica tops

  Examination tables with torn/frayed               Absence of non-slip surfaces in the          Unsecured oxygen tanks
             upholstery                                    infirmary showers
 *This is a barrier to access to care.




 As noted in a previous paragraph on deficiencies in the non-medical areas, almost all of the deficiencies
in the health care areas also had been repeatedly reported but had not been corrected for at least the last
three months. The health care area inspections almost exclusively focused on physical plant issues. These
reports place less emphasis on clinical space, equipment function and calibration, handling of medical
waste, functioning of infirmary beds, and safety features in the patient showers and bathrooms,
functionality of negative pressure units, readiness of emergency bags, dental and radiology equipment,
functioning of negative pressure units, outcome of sterilization testing (spore test), etc.234

Work orders placed to repair deficiencies are slowly if at all addressed.235 Only a few logs from IDOC
facilities track work orders or dates of correction of deficiencies identified on the safety and sanitation
rounds.

There continues to be notable variation in what is reported. Most safety and sanitation reports do not
contain the detail necessary to adequately evaluate the space, equipment, safety, and sanitation of the
medical areas. The monitor identified eight different check lists used to do monthly Safety and Sanitation
inspections of health care units that were in use as of June 2024. Only the five of the eight sites listed any
health care area-specific inspection items to be checked during the monthly rounds. See the table below:




234
    Aside from the limited reporting of negative pressure units and spore testing of autoclaves, only two facilities reported on
clinical issues. Centralia CC noted for three months that multi-dose insulin vials were not being dated when initially opened
and the facility needed additional oxygen tanks from the vendor. Dixon CC noted that a dental ultrasound was broken and
that a dental hygiene chair needed to be purchased.
235
    This is consistent with the CGL report which gives extensive detail on the excessive deferred maintenance that exists
within IDOC. One facility with missing floor tiles, cracked glass windows, and a rusted exterior door with large holes
commented in the safety and sanitation report that “many issues cannot be repaired due to budget restraints”.



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                           Safety and Sanitation Monthly Inspections
                          Existing Health Care Area Inspection Tools
            Facility                        Total Items               Healthcare-Specific items
            Centralia                            42                               19
            Kewanee                              16                                3
          Pinckneyville                          32                               19
            Shawnee                              44                                7
            Sheridan                             32                               19



There was some limited overlap of the health care-specific items among the five sites. The check lists of
three facilities included monitoring of negative pressure units, two listed nurse call devices, two listed
non-slip surfaces and safety grab bars in showers/toilets, and one listed instrument sterilization testing
(spore test).

Negative pressure unit inspections were only reported by four (20%) of the twenty reporting facilities with
infirmaries.236 Documentation of spore testing of autoclaves was reported by only one (5.3%) of the
nineteen reporting facilities with dental suites.237 Two (10%) facilities reported their infirmary nurse call
devices were not functioning.238

The safety and sanitation presentations documented in the monthly CQI minutes are not standardized and
have significant variation regarding what is audited, documented, and reported. Based on the variation of
data reported, it is evident that IDOC has either not developed a systemwide inspection tool or has not
trained staff on the use of a systemwide inspection tool.

IDOC is committed to the development of a tool to inspect the safety of the physical plant and sanitation
of clinical spaces. The Safety and Sanitation tools used by Centralia, Pinckneyville, and Sheridan would
be a good starting point in developing a standardized inspection tool. The tool will need to be reviewed
by the Monitor and tested at multiple facilities to ensure its efficacy. The current safety and sanitation
rounds do not adequately and consistently review and document the condition or operability of clinical
equipment, AEDs, condition of furniture including upholstery of chairs and exam/treatment tables,
emergency response bags, negative pressure units, instrument sterilization, and infirmary beds in the
health care unit (HCU) and in satellite clinical spaces in the housing units.

Physical plant deficiencies in the housing units and medical service areas were identified with similar
prevalence as cited in previous Monitor reports.239 IDOC has made only limited progress on
improvements to sanitation or inspections. It is a significant concern that the majority of physical plant
deficiencies noted in the 2nd Quarter 2024 had been repeatedly reported without correction for three

236
    Centralia (no backup alarm), Jacksonville (failed tissue paper test), Pinckneyville (OK), and Sheridan (OK) reported on
the inspection of negative pressure units in the safety and sanitation reports.
237
    Only Sheridan’s safety and sanitation report noted performance on spore testing (passed) of the autoclave that sterilizes
instruments.
238
    Centralia and Sheridan CC’s documented in their safety and sanitation reports that their nurse call devices were not
operational.
239
    Health Care Monitor 2nd to 7th Reports Lippert v. Jeffreys, Lippert v Hughes.



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months and likely much longer. This is unacceptable and creates potential health and safety risks for the
incarcerated population and staff. It also creates an unprofessional work environment that hinders the
recruitment and retention of the health care and correctional staff.

RECOMMENDATIONS:
    1. Revise and expand the current health care unit safety and sanitation policy240 to include specific
       aspects of the clinical space and equipment that are to be inspected during monthly safety and
       sanitation rounds (see recommendation #2).
    2. Finalize, with input from the Environmental Services Program Coordinator and the Monitor,
       the health care area safety and sanitation inspection tool to include a more detailed evaluation
       of the HCU and all other clinical treatment areas and satellite clinics. The tool needs to address
       the functioning and calibration of medical, dental, and radiology equipment, the condition of
       gurneys, examination tables, chairs, furniture, and infirmary beds, the contents and security of
       emergency response bags, the readiness of AEDS, the logs of instrument sterilization testing
       (spore test), functionality of the negative pressure rooms, the sanitation and orderliness of all
       clinical spaces, and the health care physical plant including the lighting, infirmary showers,
       toilets floors, ventilation, etc.
    3. Collaborate with the Environmental Services Program Coordinator to develop a separate non-
       medical-area safety and sanitation inspection tool to ensure that potential health and safety
       related deficiencies are inspected during monthly safety and sanitation rounds and reported to
       the monthly facility CQI committee for review and analysis.241
    4. Track the progress of corrective actions to address deficiencies noted in safety and sanitation
       reports prioritizing those work orders that have an impact on preventing disease and injury to
       inmates and staff. Optimally the monthly facility safety and sanitation inspection rounds would
       also inspect any corrective actions generated by the Environmental Services Program
       Coordinator.
    5. Analyze results of safety and sanitation inspections done by the facility and Environmental
       Services Program Coordinator to identify systemic issues concerning patient safety or that
       impede the delivery of timely, adequate health care.
    6. Proceed with the plan to move the remaining individuals from the decrepit Stateville infirmary
       that is not sufficiently safe to house incapacitated and infirm individuals.

Onsite Laboratory and Diagnostics

Addresses item II.B.6.g;
II.B.6. g. IDOC agrees to implement changes in the following areas: Timely access to diagnostic services
and to appropriate specialty care;

OVERALL COMPLIANCE RATING: Partial compliance

FINDINGS:
The Monitor requested and received IEMA documents from most but not all facilities with onsite

240
    IDOC Policy Manual, G.22.01 Healthcare Unit Safety and Sanitation (Environmental Inspections).
241
    The Environmental Services Program Coordinator only has the capacity to do safety and environmental inspection on an
annual (at best) basis. Facility safety and sanitation inspections are performed on a monthly basis and should including
follow-up of corrective actions generated by the Coordinator inspections.



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radiology units.

IDOC currently has functioning onsite radiology units at twenty-five facilities.242 All of these units
perform plain film non-contrast x-rays. Films are transported offsite for radiologist evaluations and
readings; the only exception is at NRC where a radiologist reads films onsite. With exception of one digital
dental x-ray unit, all of the radiology units in the IDOC are non-digital devices.

Based on Illinois Emergency Management Agency (IEMA) codes the IDOC radiology units are
considered Class B Illinois radiation installations243 and should be inspected approximately every two
years. The table below reflects the documents provided to verify biannual IEMA safety inspections of the
medical x-ray units.

                                   Illinois Emergency Management Agency (IEMA)
                                               Radiation Safety Inspection
                                         Totals for 27 Facilities with X-ray Units
         Inspection Date          Compliance with           Non-Compliance with                      Reason for Non-
                                    Inspection                  Inspection                             Compliance
            2022-2024                 18 (67%)
               2021                                                 1 (4%)                          Outdated certificate
               2020                                                 1 (4%)                          Outdated certificate
               2019                                                 1 (4%)                          Outdated certificate
             Undated                                                2 (7%)                          Certificate not dated
      No Letter or Certificate                                      4 (15%)                              No letter
            Provided
              Totals                  18 (67%)                      9 (33%)               27



Of the 27 facilities244 with onsite radiology units IDOC provided IEMA radiation safety inspection data
for 23 facilities. Eighteen facilities (67%) had passed inspections within the last two years.245 Three
facilities provided data that indicated that their radiology unit had not been inspected in the last 3 ½ to 5
½ years.246 IEMA schedules these biannual inspections, so it is very unlikely that these inspections were
not performed. It has been the monitor’s experience the certificates (undated) and accompanying dated
letter from IEMA are not consistently posted in the IDOC’s radiology units. A copy of the IEMA letter


242
    Stateville closed its x-ray unit sometime in 2024; films are taken at the nearby NRC unit. Centralia’s unit has been broken
since at least late 2023 and may not be repairable; a mobile radiology company is now contracted to provide x-ray services.
Elgin/JITC, JTC, and Murphysboro have never had onsite x-ray units.
243
    IEMA, Illinois Code 320.10 subchapter b: Class B radiation installations include units that are used solely for diagnosis
should be inspected by IEMA approximately every two years.
244
    The two closed units (Stateville and Centralia) had been inspected in 2023 or 2024 before these units were shut down.
Both sites were counted in the audit of IEMA inspections.
245
    Credit was given if the IEMA dated certificate or letter documented safety inspections in 2022-2024.
246
    Menard, Jacksonville, and Lincoln CCs provided outdated documentation of inspections. Three other facilities did not
provide any documentation and one facility only submitted emergency repair invoices.




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and certificate should be posted in each of the units and copies maintained in the facilities’ administrative
offices. This is standard practice in the community.

The monitor team visited NRC on June 3-4, 2024. The NRC radiology unit covers both NRC and
Stateville and is open Monday-Friday, 7am-3pm. Approximately eight to ten patients from NRC are seen
in the morning and the same number from Stateville in the afternoon. Non-urgent requests for x-rays are
scheduled in one to three days. Scheduling logs and x-ray reports of ten patients were reviewed. Eight
patients with non-urgent conditions had x-rays taken within 2 days of the requests. All ten x-rays requests
had radiologist’s reports completed within six days, seven were read within two days. A contracted
radiologist comes to NRC every Wednesday to read and to complete a hand written report. NRC is the
only site visited by the monitor team at which a radiologist comes into the facility to read films.

IDOC’s ultimate goal should be to replace all medical and dental radiology services with digital units that
would improve access to diagnostic testing and reports, decrease the time between taking a film and having
the radiologist’s review and report, eliminate unnecessary developing work for the radiology technician,
eliminate the time and cost to transport films offsite and to other IDOC facilities, and enable all facilities
to have immediate access to radiologic studies done upon a patient’s transfer to another correctional center
or even for offsite health care centers. Replacing this equipment would also facilitate recruitment of
radiology technicians who have declined job offers because lack of familiarity with operating outdated
non-digital equipment.

The Monitor has requested all contracts but the laboratory contract with UIC has not been provided.
However, the Monitor is aware that technicians employed by UIC Medical Center provide phlebotomy
services at some facilities, lab test preparation, and transport packaging. Specimens are sent to the UIC
medical center laboratory with reports on routine testing returned to the originating facility within twenty-
four hours. The current laboratory testing and reporting processes are well established and functional.
There is no policy on laboratory testing but there should be. Laboratory policy should include critical
value monitoring and procedures for follow up of laboratory tests in general. This has been a consistent
problem including in current mortality reviews.247 There is no auditing of follow up of laboratory tests to
ensure timely evaluation.

Limited point-of-care testing including FIT testing, fingerstick capillary blood glucose, urine pregnancy
tests, rapid COVID and flu testing, and tuberculosis skin tests are performed onsite by facility staff. CLIA
certificates or certificates of waiver were not evaluated but must be present.

The UIC lab requisition form, Alphabetical Test List, states that “labs not listed on the requisition form
need pre-approval by the corporate/regional medical director. A signed non-formulary form is Mandatory.
It must include the test, date, and be attached to the requisition. If one is not attached the testing will not
be performed”. It was communicated that the most frequently ordered tests that require pre-approval are
prostate-specific antigen (PSA), vitamin D level, and hepatitis C RNA quantitative (unless requested by
the UIC telehealth hepatitis C clinic). This pre-approval is required even if the non-formulary test was
recommended after specialty consultation. This restrictive non-formulary test list creates a potential
barrier to care and seems to be a remnant of the medical vendor’s collegial review process that has been
discontinued. IDOC clinical leadership should carefully investigate this process which has the potential
to being a barrier to care.

247
      Mortality review patients # 1, 2, 3, 7, 9, 10, and 12.



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The Monitor continues to strongly recommend that tuberculosis skin testing (TST) be eliminated and
replaced by interferon gamma release assay (IGRA) testing in all IDOC facilities. IGRA is currently only
available in the four reception and classification centers. Systemwide use of IGRA to screen for
tuberculosis would minimize human error, diminish the risk of accidental finger sticks, and free up nursing
staff for other clinical responsibilities.

RECOMMENDATIONS:

   1. Begin the process to convert all of the non-digital medical and dental radiology units to digital
      equipment.
   2. Expand tuberculosis skin testing (TST) with interferon-gamma release assays (IGRA) blood
      testing to all facilities.
   3. Continue to evaluate the need for radiation exposure monitoring badges in all facilities providing
      radiology services and, in addition, investigate and implement any needed safety measures for
      the panorex units at Logan CC and Menard CC.
   4. Create a standardized paper and ultimately electronic log to track the results of point-of-care
      colorectal cancer screening and report this data on a regular basis to the facility’s CQI committee
      meeting (see section in this report on Cancer Screening).
   5. Post biannual IEMA radiation safety inspection letters (dated) and certificate (not dated) in all
      radiology suites and maintain copies in the health care unit administrator’s office.
   6. Review and investigate the tests on the existing non-formulary laboratory test list and evaluate
      the need for facility providers to obtain pre-approval from the medical vendor for non-formulary
      tests.
   7. Develop a policy on laboratory testing to include critical value follow up and follow up of
      routine laboratory tests.

Dietary

Addresses item II.B.6.j.
II.B.6.j. IDOC agrees to implement changes in the following areas: Analysis of nutrition and timing of
meals for diabetics and other Class members whose serious medical needs warrant doing so;

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
IDOC has no policy on nutrition, timing of meals and insulin administration for diabetics, or for
consultations for those whose medical conditions warrant nutrition counseling. A policy on this is needed.

IDOC has recently hired a dietician. The position description has been reviewed. Essential functions of
this position as described in the position description include development of dietary plans and specialized
diets of populations but does not include any responsibility for consultations with individual patients with
specific dietary needs based on their chronic medical conditions. Nor does it address timing of meals for
those on insulin. Currently, this individual is not performing individual consultations. This position
reports to the Chief OHS. An SIU consultant dietician has provided 120 hours of consultation to IDOC
for the 12 month period from 5/1/23 to 4/30/24 none of which were individual consultations whose serious
medical needs warrant doing so.



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The Monitor asked for dietary plans for all northern region facilities including nutritional content.
Kewanee sent meal plans used for the last year but nutritional content was not included. Another sample
five-week meal plan with a vegan option was sent; these two plans also did not include nutritional content.
A letter, apparently from the SIU dietician consultant, written in 2022 documented that the five week meal
plan meets national and industry standards. This letter stated that it excluded therapeutic diet needs. A
therapeutic diet manual was provided that was written in FY 2000, twenty four years ago. Information
provided did not include information whether the meal plan was used for all of the northern region
facilities.

The Monitor asked for the number of individual and group dietary consultations. IDOC stated that this
information is not generally tracked. Only five facilities responded to the request. Instead of sending
persons who had individual dietician consultations Danville, Shawnee, and Taylorville, sent a list of
persons on therapeutic diets and Vandalia sent a list of persons on diabetic diets. These responses were
non-responsive. Kewanee sent a paper stating that Kewanee does not have formal dietary consultations
and stated “Proper diets are discussed at each individual clinic”. There remains no evidence that any
individual consultations with a dietician occur for any IDOC patients. On mortality reviews, multiple
patients248 with significant medical issues that warranted dietician consultation which was not made
available. During the Stateville visit, a group of three individuals with diabetes were interviewed
including two on insulin. Insulin administration is at two in the morning. The inmates said that they
seldom ate in the chow hall and mostly ate commissary. For breakfast, they said they typically ate
commissary oatmeal. Neither of the two individuals on insulin experienced hypoglycemia because they
had access to their own commissary food when they needed it. None of the three persons with diabetes
had received any education on their diabetes and none were aware of availability of a dietician but all
three said they would appreciate ability to consult with a dietician. All three expressed considerable use
of commissary and complained about lack of diabetic choices. IDOC does not evaluate the commissary
nutritional content. For people with type 1 diabetes counting carbohydrates249 is recommended but the
dietary options for diabetes do not include information on carbohydrate content that can be used for this
purpose. For type 2 diabetes, weight loss, calorie intake and exercise options are important. For type 1 or
2 diabetes who use insulin therapy, timing of meals based on insulin use is important. IDOC offers no
educational information to persons with diabetes based on discussions with persons with diabetes. The
timing of meals does not promote meal participation and affects behavior of persons with medical
conditions such as diabetes.

Meal times for the northern region facilities are listed below.




248
   Mortality review patients 2, 4, 5, 7, and 8
249
   Carbohydrate counting is a practice of estimating the amount of carbohydrate one is eating which should be matched to
the insulin used and the expected physical activity over the period until the next meal.



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                                    Insulin and Meal Times at Northern Facilities

 Facility           Insulin          Breakfast             Insulin        Lunch                   Insulin         Dinner
                                                             11:00
 Dixon               4:45 AM            5:00 AM               AM              11:00 AM             4:15 PM            4:15 PM
 East
 Moline              5:00 AM            5:00 AM                               10:30 AM             4:00 PM            4:00 PM
                                                             11:00
 JITC                4:00 AM            4:00 AM               AM              11:00 AM             5:00 PM            5:00 PM
                                                             10:00
 JTC                 4:00 AM            4:00 AM               AM              10:30 AM             4:00 PM            4:30 PM
 Kewanee             4:30 AM         5:15-6:15 AM                            10:30-12:30           3:45 PM             4-6 PM
 NRC                 2:00 AM            2:30 AM            9:00 AM             9:30 AM             4:30 PM            4:30 PM
                      3:30-4                                                                        3:30-4
 Pontiac               AM               3:30-4PM                             9:30-10 AM              PM              3:30-4 PM
 Sheridan            4:15 AM         4:30-6:30 AM                          9:30-11:30 AM                               4-6 PM
                                                             10:00
 Stateville          3:00 AM         2:15-3:00 AM             AM           9:45-10:30 AM           4:00 PM         4:45-5:30 PM
 East Moline, Kewanee, Pontiac, and Sheridan did not provide times of insulin for lunch and dinner. It is unclear if patients
 needing mealtime insulin are housed there or not.




The custody purpose of 2 to 3 am mealtimes is unclear. Based on prior interviews, inmates do not
participate in many meals, preferring instead to use commissary options which may not have appropriate
nutritional content. It would be useful for IDOC to determine meal participation to assess how many
inmates actually eat the meals that are served. Based on discussions with inmates and dietary staff during
a past tour, it is very low. Because commissary options for meals may be high, the quality of food provided
in commissary should be evaluated. Insulin should be given when patients eat and the Kewanee and NRC
insulin times should be adjusted to be closer to mealtimes.

In summary, IDOC has recently hired a dietician who has just started work. There is no current evaluation
of therapeutic diets. Actual meals provided to inmates are not evaluated as to whether the actual meals
are what they are designed to be. Nutritional content of meals is not provided. This should be done for
those individuals who, for medical reasons, need to manage the content of certain nutrients (e.g.,
carbohydrates) for medical reasons. Individual dietician consultation for certain medically ill patients is
still unavailable. General dietary education is not provided for persons with diabetes including how to
manage their disease within the meal options that are served. This provision is partially compliant based
the recent hire of a dietician. Much work remains to be done.

RECOMMENDATIONS:
  1. The percentage of fat, protein, carbohydrates and sodium in diets should be calculated and
     documented for all master menus.
  2. Inmates should have access to information on food components, (e.g., carbohydrates and fats) in
     their meals so that those inmates who must choose components based on their medical conditions
     can do so. This is especially true for diabetics but is also true for those with hypertension and high
     blood lipids.
  3. Diet managers at facilities need supervision by and consultation access to a registered



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          nutritionist/dietician.
      4. Access to dietician/nutritionists can be by telemedicine or in person (individual and group) via
          hiring registered nutritionists/dieticians.
      5. The therapeutic diet manual should be rewritten to include all therapeutic diets.
      6. Mealtimes should be adjusted reasonably so as not to be a barrier to participation in meals.
      7. IDOC should track meal participation by meal.
      8. The commissary food and snack panels must be evaluated and adjusted to include healthy choices
          appropriate for all inmates including those with diabetes.
      9. The extremely low participation in eating meals and high use of commissary should be studied to
          evaluate how to improve consumption of healthy food. IDOC should analyze timing of meals,
          behavior, recipes, and preparation factors that may be resulting in the extremely low participation
          in meals.250 Reasonable adjustments should be made to encourage healthy dietary patterns. This
          must be done in a manner that permits both a secure environment and nutritious meals that are
          eaten.
      10. Policy, procedure, and practice should be established to ensure persons with diabetes have access
          to a registered nutritionist/dietician consistent with American Diabetes Association guidelines.
      11. Policy, procedure and practice for all chronic care conditions should include evaluation of diet and
          access to appropriate referral to a registered dietician/nutritionist when indicated.

Intrasystem Transfers
Addresses item III.D.1; III.D.2
III.D.1. With the exception of prisoners housed at Reception and Classification Centers, IDOC shall
place prisoners with scheduled offsite medical services on a transfer hold until the service is provided,
contingent on security concerns or emergent circumstances including, but not limited to, a lockdown.
Transfer from Reception and Classification Centers shall not interfere with offsite services previously
scheduled by IDOC.
III.D.2. When a prisoner is transferred from one facility’s infirmary to another facility, the receiving
facility shall take the prisoner to the HCU where a medical provider will facilitate continuity of care.
OVERALL COMPLIANCE: Partial Compliance
FINDINGS:

The Monitor requested the following information from IDOC to aid in evaluation of compliance with III.
D. 1 and 2 for this report:

      •   List of persons placed on transfer hold from September 2023 through February 2024 to include
          the date the medical hold was placed and the reason.251
      •   A blank copy of the revised form or documentation template for transfer screening at the sending
          and receiving facilities.



250
    An example of how this was done, albeit for schoolchildren, is the Centers for Disease Control School Health Guidelines
to Promote Healthy Eating and Physical Activity found in Morbidity and Mortality Weekly Report Sept 16, 2011 as found at
https://www.cdc.gov/healthyschools/npao/pdf/mmwr-school-health-guidelines.pdf. This document shows how behavior,
food preparation and presentation promoted healthy eating.
251
    Monitor’s document request dated 2/29/2024, item # 111.



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      •   The medical records of up to 20 incoming transfers who arrived at Menard, Logan, Stateville,
          Lawrence, Illinois River, and Pontiac during the 2nd and 3rd week of February 2024 to include the
          intrasystem transfer form, nurse reception note, documentation of what documents were received
          by the facility (medical record, problem list, MAR, health summary, active medications, and any
          referrals to chronic care clinic). If the patient was referred directly to a physician by the receiving
          nurse, the physician’s note should be provided as well.
      •   Copies of the intrasystem transfer audits completed by receiving facilities.252

Other material reviewed included adverse events, mortality reviews, and a transfer summary report
provided by SIU from the data entered into REDcap Mortality Reviews.

With regard to III.D.1, OHS has finalized a policy and procedure on medical holds253 which incorporated
many of the Monitor’s suggested revisions on the initial draft. The policy also includes a method for the
Agency Medical Director to override a medical hold when it is detrimental or impedes access to other
necessary services. The procedure provides sufficient detail about how medical holds are established and
removed, who is responsible for each task, the timeliness expected in completing each step, and that a log
of medical holds is kept at each facility that includes the date the hold was placed and when the hold will
expire.

During the site visit to Northern Reception Center (NRC)254 the Monitor had the opportunity to observe
how medical holds were entered into the electronic program called the 0360 used by facilities to manage
placement of individuals in custody. If an individual has a medical hold, their individual profile in the
system has a flag prominently indicating the hold on the screen.

Seventeen facilities provided a list of medical holds responsive to the Monitor’s request (#111).255 Eleven
of these facilities provided a report that obviously was downloaded from the 0360 system which included
the date the hold was placed, the reason for the hold, and an expiration date, if there was one. The six other
responding facilities provided a spreadsheet or a list that also included the same information. OHS should
follow up with each of the nonresponsive facilities to ascertain their ability to use the 0360 system and
that medical holds are placed as necessary.

Vandalia reported findings of a CQI study completed on medical holds. Of 159 transfer holds in place,
70 (44%) should have been removed because the offsite specialty service had been accomplished more
than 30 days earlier. There were 10 patients who had specialty appointments pending, had not been placed
on medical hold and should have been. The recommendation from the study was to develop a system to
track and monitor the placement and removal of medical holds.256 This is an excellent study which
provided information to the program rather than simply to demonstrate compliance.



252
    Monitor’s document request dated 2/29/2024, items # 98 -100.
253
    E.10.01 Medical Holds effective February 2024.
254
    June 3-4, 2024.
255
    Responding facilities included Big Muddy, Centralia, Dixon, Graham, Hill, Illinois River, Kewanee, Lawrence, Lincoln,
Menard, Pinckneyville, Pontiac, Robinson, Shawnee, Sheridan, Vandalia, Vienna, and Western. Nine facilities provided no
information (Danville, Decatur, JTC, Logan, Murphysboro, Southwestern, Stateville, and Taylorville). Three facilities sent
the off-site log but there was no information about medical holds (East Moline, Jacksonville, NRC).
256
    Vandalia Quality Improvement Meeting for February 2024.



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The Monitor noted one near miss that was reported during this report period of a patient who had
transferred inappropriately and did not have a medical hold in place. The error was identified and corrected
within a day of the incident. This incident was reviewed as part of the CQI program. The review of transfer
charts indicate that intended specialty care is missed frequently when patients are transferred from one
facility to another. The Monitor suggests that transfer errors be one of the categories trended in the review
of adverse events, near misses, and sentinel events.

Fifty-one records of transfers were reviewed for this report.257 There were 11 individuals who were under
care of a specialist or pending specialty care at the time of the transfer (22%). There were only four who
received or are scheduled to receive the specialty service at the receiving institution.258 Missed specialty
care included referrals for gastroenterology (2), hematology, orthopedic, dermatology, and audiology (2).
Also missed by the receiving facility was scheduling regular optometric follow up for one patient.259

IDOC is partially compliant with III.D.1. The policy and procedure is satisfactory but does not yet appear
to be fully implemented. It is not clear that all facility health care programs are placing medical holds
when medically necessary. OHS has yet to develop an audit or other evidence of compliance with III.D.1.

Steps to compliance with III.D.1 suggested by the Monitor are that OHS follow up to ensure that all Health
Care Units have the capacity to use the 0360 system to place medical holds and to implement E.10.1
Medical Holds. OHS should also investigate whether the medical hold report could be a standard report
used by individual sites as well as the entire system. Existing Excel or Word documents that some sites
are using could be eliminated if there were a standard report. The last suggestion is to evaluate as part of
Mortality Review whether a medical hold was or should have been in place for any patient referred for
specialty care and to place this information in REDcap.

A policy and procedure for intra-system transfers has been finalized by OHS and was made effective in
February 2024.260 Many of the Monitor’s suggestions on the draft reviewed in April of 2023 were
incorporated into the final product. The final policy and procedure satisfactorily addressed two of the
recommendations made in previous reports.261

The Monitor strongly disagrees with the policy decision to use the Health Status Transfer Summary
(HSTS) (DOC form 0900) for the purpose of screening and receipt of individuals going to the community
for off-site care and discharges from the infirmary back to general population. OHS is urged to move these
events to another policy and procedure in the next revision and to devise different forms. The purpose
and content of communication with specialists in the community is completely different and better
guidance needs to be provided to health care staff than is present in E.03.01. Findings reported in the

257
    Records reviewed were from Illinois River (N =11), Lawrence (N=12, Menard (N=19) and Pontiac (N=9). Records
received from Logan and Stateville were not responsive to the request.
258
    Transfer patients # 24, 28, 44, 47.
259
    Transfer patients # 12, 16, 31, 32, 35, 38, 45.
260
    E.03.01 Intrasystem (Transfers Within IDOC) Receiving, Transfer and Continuity of Care.
261
    Health Care Monitor 7th Report, Lippert v. Jeffry’s, December 27, 2023 page 91. Recommendation 1 was to finish the policy
and procedure and ensure the steps the sending facility is to take in documenting pending referrals, identifying tasks not yet
completed, reconciliation of medication lists, and detailing current medical and mental health problems are well defined. The
receiving facility’s obligation to verify the transfer information, examine the patient and document actions taken to continue
ongoing care and address new problems also needs to be described. Recommendation 4 about what is to take place when
someone refuses receiving screening was also addressed. These are deleted from the recommendations in this report.



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Transfer Summary Report by SIU support the Monitor’s opinion that the information provided on the
HSTS is not adequate for specialty care purposes.262 Upon closer review, E.03.01 includes absolutely no
guidance about what is to be done to ensure continuity of the plan of care when patients are discharged
from an infirmary. This subject is already addressed in F.04.01 Infirmary Level Care and can easily be
enhanced if it needs to better describe what screening and review is done after a patient has been
discharged from infirmary care. These subjects and the relevant policy are addressed further in this report
in the sections on off-site care and infirmary services. The Monitor will submit this comment and other
suggested revisions to E.03.01 and hopes these will be considered by OHS upon annual review.

The transfer audit tool discussed in previous reports has not been revised yet as has been recommended.
This tool should be expanded to evaluate continuity of care as called out in III.D.2.263 We have suggested
the tool evaluate the timeliness of sending and receiving screening, accuracy of the clinical information
(diagnoses and medications) entered on the HSTS DOC form 0090, whether the MAR was transferred
concurrently, and that care was continued without interruption (medications, pending appointments and
completion of referrals).

We were not provided with any intrasystem transfer audits completed by receiving facilities as
requested.264 OHS provided instead, a report completed by SIU.265 It lists 23 intrasystem transfers and
whether or not the HSTS included sufficient and relevant clinical information. Twelve of the transfer
summaries (52%) were considered sufficient. This information is collected during the mortality review
process. This is a fairly crude measure because it does not lead to any conclusions about possible process
improvements. Perhaps the data collected could be revised slightly to include identification of the sending
and receiving facility, some indication of what was insufficient or not relevant in the transfer summary
and finally whether there was any interruption in care. With these additions the REDcap data could be
used to report on compliance with III.D.2.

Fifty-two records documenting transfer screening and continuity of care of transfers received the 2nd and
3rd week of February 2024 were reviewed.266 Records were received from all the requested facilities but
in some cases were nonresponsive or incomplete.267 There continues to be a great deal of variation in the
documentation of transfers.

A HSTS (DOC form 0900) was completed by the sending facility in 49 of 52 records reviewed (94%).
While it is not common for the sending facility to fail to complete a HSTS, important care can be disrupted
when the person is transferred. An example of this is a patient who transferred from Menard to Pontiac on
2/16/24.268 The HSTS was not received at Pontiac until 2/26/24 or ten days later. The only chronic
262
    Transfer Summary Report - data source: Office of Correctional Medicine @ SIU REDCap Mortality Reviews - January 1,
2022 - May 1, 2024 provided in response to the Monitor’s request # 111. for audit results regarding intrasystem transfers.
263
    Health Care Monitor 2nd Report, Lippert v. Jeffreys, August 6, 2020, pages 78-79, Health Care Monitor 3rd Report, Lippert
v. Jeffreys, February 15, 2021, page 57, Health Care Monitor 4th Report, Lippert v. Jeffreys, September 16, 2021, page 92,
Health Care Monitor 5th Report, Lippert v. Jeffreys, June 22,2022, page 73, Health Care Monitor 6th Report Lippert v.
Jeffreys, March 13, 2023, page 69, Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, pages 88 & 91.
264
    Monitor’s document request dated 2/29/2024, item #100.
265
    Transfer Summary Report - data source: Office of Correctional Medicine @ SIU REDCap Mortality Reviews - January 1,
2022 - May 1, 2024
266
    Thirty records of transfers to Decatur, East Moline, Hill, Jacksonville, Murphysboro, Stateville, and Taylorville
267
    Logan and Stateville each sent only one record neither had an intrasystem transfer in February 2024. Pontiac was the only
facility which sent a copy of the February MAR from both the sending and receiving facility.
268
    Transfer patient # 46.



                                                                                                                        119
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condition noted was the need for mental health services. On the line for significant medical history the
words psych and glaucoma are listed. No other information was provided. This patient did not receive
medications for glaucoma until 2/29/24 or two weeks after transfer.

We have commented before that documentation on the receiving portion of the HSTS, form 0090, appears
to be voluntary.269 OHS policy and procedure E.03.01 states that documentation of receiving screening is
done in the progress notes.270 Only two of four receiving facilities document the receiving screening on
the bottom half of the 0900. Each of the four receiving facilities also document a progress note that has
pre-printed questions. Each of these pre-printed progress notes differ in the information to be documented.
The documentation for receiving screening needs to be standardized. The Monitor was informed that SIU
is working with OHS to revise the documentation of transfer screening.271 The revised form needs to
include the date and time the person was received at the facility as well as the date and time receiving
screening began. We recommend that the variation in current documentation be reviewed and considered
in revising the form.




269
    Health Care Monitor 5th Report, Lippert v. Jeffreys, June 22, 2022, page 73, Health Care Monitor 7th Report Lippert v.
Jeffreys, December 27, 2023, page 88.
270
    E.03.01 Intrasystem (Transfers Within IDOC) Receiving, Transfer and Continuity of Care, Procedure I. 5.
271
    IDOC response to the Monitor’s Documentation Request Item # 98, dated 6/28/24.



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HSTS forms were completed at sending facilities a day or two before the transfer.272 There were no
examples of HSTS being completed months before the date of transfer. LPNs completed receiving
screening at three of four facilities reviewed.273 Receiving screening requires independent assessment and
clinical decision and is therefore outside the scope of practice for LPNs.E.03.01 states that the Medical
Director at the sending facility is to communicate with the Medical Director at the receiving facility to
hand off care when patients transfer from an infirmary or are otherwise seriously ill. 274 One of the records
reviewed was a patient transferred directly from NRC to the Pontiac inpatient unit on crisis watch.275
There was no documentation of direct communication between sending and receiving providers. The same
was true of another patient this time transferred from Lawrence to Menard while on crisis watch.276 No
information was provided by the sending facility about this patient. Among the mortality records reviewed
was a patient transferred from JTC to the NRC infirmary.277 This was so the patient could receive
supportive end of life care. He had metastatic breast cancer and difficulty achieving adequate pain control.
He also had significant mental illness. There was no documentation of direct communication between the
sending and receiving providers to ensure his care was uninterrupted. This patient experienced
discontinuity in care as a result of this transfer. Another mortality patient reviewed had liver failure with
ascites and esophageal varices. He was transferred from Pinckneyville to the infirmary at Shawnee on
8/18/23.278 There is evidence of direct communication between HCUAs at both sending and receiving
facilities as well as the Regional Medical Coordinator. The Medical Director at the receiving facility was
eventually included in the communication but there is no evidence of provider involvement at the sending
facility. This same patient was transferred back to Pinckneyville ten days later but this time there was no
evidence of direct communication between providers to transfer responsibility for care.

During the site visit to NRC279 the Assistant Warden described a concerted effort to find appropriate
housing at other facilities for patients at NRC who have medical problems or disabilities but are otherwise
able to care for themselves. By meeting regularly with the facility Medical Director, Regional Medical
Coordinator and Transfer Coordinator a number of patients have been transferred from NRC to other
facilities with appropriate services. This has reduced backlogs at NRC and freed up critical inpatient beds
and specialty housing. The Monitor was impressed with this effort and urged formal adoption of this
process at other facilities in the system.




272
    The range was 0 to 23 days.
273
    At Illinois River LPNs completed all 11 of the records received. At Menard and Pontiac LPNs completed receiving
screening in some but not all of the records reviewed. Only RNs completed receiving screening in the records reviewed from
Lawrence.
274
    Procedure, I. C.
275
    Transfer patient # 52.
276
    Transfer patient # 26.
277
    Transfer patient # 53.
278
    Transfer patient # 54.
279
    June 3-4, 2024.



                                                                                                                      121
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Critical information was missing on the HSTS in several of the charts reviewed. An example is a 35 year
old patient who was transferred from NRC to Illinois River 2/6/24.280 The sending facility noted that he
had chronic conditions including colitis, HIV, and thrombosis. Thirteen medications were listed. The
HSTS listed no acute or current problems. The problem list included a DVT experienced by the patient in
2023. The HSTS does not include that he had bilateral lower leg edema and oral thrush, both acute
conditions relevant to his diagnoses. It also does not indicate that he had a positive RPR, a test for syphilis,
and that he should have been referred for consideration of treatment. Another patient reviewed had HIV
disease and mental health follow up (no diagnoses) on the problem list.281 The HSTS completed at NRC
indicates that he has no acute or chronic problems. The only medications listed are ibuprofen, paroxetine,
and prazosin. The HSTS does not indicate that he was seen in chronic clinic nor that he is prescribed
Biktarvy, a medication to treat HIV disease.282 The patient missed receiving doses of this medication the
day of transfer.

Only half of the records reviewed had complete information in the sending facility section of the HSTS.
Missing information included allergies283, durable medical equipment284, current treatment285,
diagnoses286, and medications287. Sometimes information is so vague that it’s not meaningful. For
example, one transfer summary notes that the patient has ankle support but there is no information about
any acute or chronic condition that explains the need for ankle support.288 The transfer summary should
have indicated that the patient had an injury to his right ankle which was swollen.

With the exception of Pontiac, it appears that individuals are seen by health care staff in the Health Care
Unit or other appropriate location within hours of arrival. This encounter involves an interview of the
person, limited observation of their condition, vital signs, and a few questions about any health complaints.
It also includes a review of the patient record and documentation of arrangements for chronic clinic and/or
referrals to mental health as necessary.




280
    Transfer patient #10.
281
    Transfer patient # 48.
282
    Doses of Biktarvy should not be missed.
283
    Transfer patient # Y20069
284
    Transfer patients # 17, 18, 37, 39.
285
    Transfer patients # 7, 10, 15, 26.
286
    Transfer patients # 2, 16, 17, 20, 22, 23, 35, 37, 38 – 40, 42, 46, 49, 50.
287
    Transfer patients # 6, 12, 14, 15, 19, 20, 26, 27, 29, 30, 33-35, 37, 39, 44, 46 – 48, 50, 51.
288
    Transfer patient # 6.



                                                                                                            122
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Three of the nine transfer records reviewed from Pontiac document that the individual was seen in the
holding tank.289 One of the transfer records reviewed from Pontiac did not have the receiving screening
portion of the HSTS completed until the day after arrival at the receiving facility.290 It is not acceptable to
complete receiving screening with the individual in the holding tank. III.B.1of the Consent Decree requires
IDOC to provide sufficient private and confidential areas for all types of medical evaluations and
examinations. This provision may be limited for extraordinary reasons.291 Three of the four transferred to
Pontiac and discussed in this paragraph were received on 2/14/24. One individual was received at Pontiac
on 2/16/24. When receiving screening was done in the holding cell or delayed by a day there is no
documentation that there was an extraordinary reason. OHS should further review this finding to ensure
that receiving screening takes place in a private and confidential setting and if not the reason for the
exception.

Another practice noted at Pontiac was that the dates of the receiving portion of the HSTS and dates of
chart review do not correlate. It appears that on some occasions the HSTS is not completed on the day of
arrival. For example, transfer patient # 48 had the chart review documented on 2/14/24 but the HSTS was
not completed until 2/16/24. This would indicate that the person was not seen for a screening evaluation
until two days after arrival. This was found in two additional records reviewed.292 In six of the records
documentation of chart review did not take place within 12 hours of arrival as required by E.03.01.293 The
delay in chart review varied from 13 hours to as much as seven days later.294 These two findings should
be reviewed to ensure that the HSTS and documentation of record review occurs within 12 hours of arrival
at the receiving facility as required by E.03.01.

Discontinuity of patient care upon transfer was evident in the records reviewed. Pontiac was the only
facility that sent MARs for the month of transfer from both the sending and receiving facility. This allowed
review of the continuity of medications upon transfer. Of eight patients on medications, only one person
had no missed doses. Another person received four medications KOP while at the sending facility295. From
review of the MAR the patient was not taking amlodipine, a medication for hypertension, correctly. This
was not recognized by the nurse completing receiving screening. E.03.01 is silent on how KOP
medications are handled when patients transfer. The remaining six individuals each experienced
interrupted dosing. These patients experienced delays of 1 to 10 days before medications at the receiving
facility were provided.296 Medication discontinuity upon transfer is surely not limited to Pontiac; it was
just that this was the only facility which provided the records requested by the Monitor to evaluate
medication continuity.




289
    Transfer patients # 46 – 48.
290
    Transfer patient # 51.
291
    The exact language is “…subject to extraordinary operational concerns and security needs of IDOC including, but not
limited to, a lockdown.”
292
    Transfer patients # 47, 51.
293
    Procedure, II. A. This is also an NCCHC requirement P-E-03 Transfer Screening, Compliance Indicator 1.
294
    Transfer patients # 46 (13 hours), 44 (1 day), 45 (7 days), 46 (next day), 50 (3 days), 52 ( 7 days).
295
    Transfer patient # 51.
296
    Transfer patients # 44,46, 48, 51, 52.



                                                                                                                          123
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There also was discontinuity in other care ordered for these patients. These disruptions include not being
assigned low bunk/low gallery297, not being provided a permit for a cane or wheelchair298, not noting the
patient had glasses299, not noting that the patient was currently under treatment300, and not enrolling in
chronic clinic301. Several patients should have been referred to mental health and there is no documentation
of having done so.302 There were five of the 52 transfer records reviewed that the receiving nurse should
have done a more complete assessment. Three patients had elevated blood pressure.303 A repeat blood
pressure should have been obtained or the patient scheduled for serial blood pressure readings. Two
patients had inhalers prescribed but were not followed in chronic clinic. The nurse should have obtained
or scheduled a peak flow with a provider visit to follow. In three additional records the patient had a
condition that the nurse should have contacted a provider about or scheduled a provider appointment.304

Every time a patient is transferred from one facility to another there is significant risk that the sequence
of care and treatment will be delayed or stalled. Two patients whose deaths were reviewed during the time
period covered by this report emphasize the importance of steps to ensure patient safety when transferring
to another facility.

The first was a 41 year old man who arrived at Menard on 1/13/23 as a parole violator.305 He gave a
history of alcohol use disorder with inpatient care, he was a 20 pack year smoker, having quit three years
earlier. A nurse practitioner completed his physical exam on 1/19/23. He had abnormal labs, in particular
the alkaline phosphate was 430, nearly four times the reference range (40-125). There is a handwritten
notation on 1/19/24 to repeat the CMP. The repeat lab sample was obtained from the patient on 1/24/23.
Three days later he was transferred to Vienna (1/27/24). The HSTS has no documentation that the patient
had an abnormal lab result and needed follow up nor did it document that repeat labs were drawn but not
yet resulted. There is a typewritten note on another copy of the initial lab report, dated 1/28/23, by the
vendor’s Regional Medical Director noting the abnormal result. He asked the site to pull the chart and
schedule the patient for a review and evaluation by the on-site provider. This must have been sent to
Menard because the word “Transferred” is handwritten on the bottom of the page. The page is also date
stamped as received 3/2/23. In the meantime, a part time coverage physician saw the patient on 1/31/23.
The note consists of the following statements “Complaint: review labs. S: Follow up abnormal labs. O:
Repeat labs not back. A: Abnormal labs. P: Awaiting repeat lab.” The physician took no history and did
not examine the patient. The repeat lab results drawn 1/24/23 were not in the patient record and there
never was an appropriate evaluation of the patient. This patient should not have been transferred until the
elevated alkaline phosphate had been evaluated with an exam, thorough history, additional labs, and other
diagnostics obtained. Seven months later colon cancer was diagnosed with liver and pulmonary
metastases. He died a month later. The need to follow up on the abnormal lab results was lost when this
patient was transferred and contributed to a delay in the diagnosis.

297
    Transfer patients # 6, 28.
298
    Transfer patients # 20, 28.
299
    Transfer patients # 15, 32, 38.
300
    Transfer patients # 10, 15.
301
    Transfer patients # 17, 19, 29, 31, 33, 37, 40.
302
    Transfer patients # 22, 23, 29, 35, 52.
303
    Transfer patients # 7, 8, 45.
304
    Transfer patients # 30 (had a positive IGRA and should have been referred for follow up and possible treatment), #32
(taking hydrochlorothiazide and should have referred for chronic clinic enrollment), and #46 (should have been referred
urgently to continue treatment for glaucoma).
305
    Transfer patient # 55.



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The second patient was a 46 year old man who was received at Graham on 10/12/23.306 He gave a history
of hypertension and alcohol and substance misuse with hospitalization for withdrawal. At the initial
physical exam 10/23/23 he complained of an issue with his left shoulder, headaches, and back pain. The
provider did not ask any further questions to elaborate on these complaints. This patient also had a pulse
of 109. From 10/31/23 through 11/15/23, or a two week period, he was seen five times for progressively
worsening complaints of shoulder pain, chest pain, and difficulty breathing. On 11/13/23 a code 3 was
called in response to the patient’s complaint of two days of right shoulder pain with shortness of breath.
An x-ray was ordered. Two days later at 5:15 am the patient was seen by a nurse for chest pain using the
chest pain protocol. He was tachycardic with a pulse of 113. An EKG done at 6:12 am showed sinus
tachycardia of 114 but was otherwise normal. No provider referral was made despite instructions to do so
in the protocol. That day the patient was transferred to Southwestern. The sending facility portion of the
HSTS has no documentation of the repeated complaints of right shoulder pain, chest pain, or difficulty
breathing the last 15 days. Nor does it document that there was a code 3 two days earlier, does not note
that an x-ray was ordered but not yet done, and does not indicate that he was evaluated that morning for
chest pain.

Southwestern completed receiving transfer screening at 8:45 pm on 11/15/23. The patient’s pulse was
128 and he was described as “Fidgety but polite”. The disposition was routine sick call. No referral was
made for a provider evaluation given the episode of chest pain that morning before he was transferred.
The next morning at 8:45 am a nurse documented responding to a code 3. The patient reported arm pain,
“his whole body hurts, even the right side of my chest a little bit”. The nurse did not use a protocol to
guide the assessment during this encounter. He was noted to have bruises and an abrasion on the right rib
cage and reported falling out of bed twice during the night. An EKG showed tachycardia but otherwise
was normal. The nurse did not note the repeated complaints made recently and did not refer the patient
for evaluation by a provider. A referral to mental health was made.

This patient should not have been transferred in the first place until his acute symptoms had been evaluated
and addressed. A medical hold should have been placed no later than 11/13/23, the x-ray obtained as
ordered, and the patient seen in follow up. The HSTS completed by Graham was unsatisfactory because
it did not convey the pending x-ray or the multiple worsening complaints of pain and shortness of breath,
or the persistent tachycardia. Five days after transfer to Southwestern, the patient was hospitalized where
he was diagnosed with widespread metastatic disease. Valuable time was lost before the receiving facility
recognized the need for higher level care and this was at least in part due to the failure by Graham to
communicate the recent change in the patient’s health status.

IDOC is partially compliant with III.D.2. The recently finalized policy and procedure has not been fully
implemented. SIU demonstrated capacity to evaluate and report on the sufficiency of communication
between sending and receiving facilities as part of the mortality review process. This report showed that
half of the time communication between facilities was insufficient. The Monitor’s review of records for
this report came to the same conclusion. Other findings from the Monitor’s record review were that
receiving screening was not completed timely and at times the encounter was not in a private setting that
provided confidentiality, and that there was discontinuity in patients care more often than not. Several
examples were given of intrasystem transfers that resulted in adverse patient outcomes. Recommendations
are made to suggest steps to bring IDOC practices into compliance with the Consent Decree.

306
      Transfer patient # 56.



                                                                                                        125
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RECOMMENDATIONS:
    1. OHS follow up to ensure that all Health Care Units have the capacity to use the 0360 system
        to place medical holds and to implement E.10.1 Medical Holds.
    2. OHS should investigate whether the medical hold report could be a standard report used by
        individual sites as well as the entire system.
    3. Evaluate as part of Mortality Review whether a medical hold was or should have been in place
        for any patient referred for specialty care and to place this information in REDcap.
    4. Revise E.03.01 and put the guidance about transfers for offsite care and discharge from the
        infirmary elsewhere. Also add guidance about how medication (both KOP and nurse
        administered) is to be managed when patients transfer with expectations for timeliness of the
        first dose at the receiving facility.
    5. Do not assign LPNs to complete the assessment or determine the disposition of receiving
        screening as this is outside scope of practice.
    6. Monitor implementation of E.03.01 to ensure completion of receiving screening timely and in
        a setting that is private.
    7. Patients should have a medical hold placed whenever there is an acute change in their condition
        (worsening of symptoms or new symptoms) or undergoing diagnostic work up (abnormal labs,
        radiography, or other testing) until the patient’s condition has been diagnosed and a plan of
        care developed.
    8. Complete revision of the receiving screening form to coincide with the revised policy and
        procedure on intrasystem transfers. We have suggested the form include the time the person
        arrived at the receiving facility in addition to the time the nurse reviewed the record.
        Standardize any other documentation of receiving screening.
    9. Revise the data collected during mortality review to include identification of the sending and
        receiving facility each time the patient transfers, an indication of what was insufficient or not
        relevant in the transfer summary and finally whether there was any interruption in care after
        arrival at the receiving facility.
    10. Inappropriate transfers and any interruption in patient care after transfer is a patient safety error
        and should be reported. Transfer errors should be one of the categories trended in the review
        of adverse events, near misses, and sentinel events.


Medical Reception
Nurse Intake Screening and Health Assessment307

Addresses Items II.A; II.B.1; II.B.6.a; III.C.1
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care

307
      Dental intake screening is addressed in the dental section of the report.



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II.B.6.a IDOC agrees to implement changes in the following areas: Initial intake screening, and initial
health care assessment
III.C.1. IDOC shall provide sufficient nursing staff and clinicians to complete medical evaluations
during the intake process within seven (7) business days after a prisoner is admitted to one of IDOC’s
Reception and Classification Centers.
III.C.3. IDOC shall ensure that a clinician or a Registered Nurse reviews all intake data and compiles
a list of medical issues for each prisoner.
III.C.4. If medically indicated, IDOC shall ensure follow up on all pertinent findings from the initial
intake screening referenced in C.3. for appropriate care and treatment.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

The Monitor requested the following information to evaluate the items in the Consent Decree related to
Medical Reception.
   1. For providers, the documentation of assignments for intake health assessments for the month of
      February 2024.
   2. Provide copies of health records for 20 new admissions to NRC and 10 new admissions for each
      of Menard, Logan, and Graham for the month of January 2024. Records to be sent include the
      problem list, data base, intake screening forms (including vaccine history and any RHM
      screenings), medical history, physical examination, dental exam and instruction on oral hygiene,
      health assessments, and corresponding progress notes, orders, results of diagnostic testing, and
      any patient refusals for the first 45 days following the reception date.
   3. Progress report on the re-design of the initial intake screening and health assessment, including a
      blank copy of any form or documentation templates. 308

The Monitor visited Northern Reception and Center June 3-4, 2024, to tour the physical facility and review
health records of persons newly admitted to the IDOC. The Monitor has previously visited Logan and
Graham Correctional Centers, both reception and classification centers.

The only performance measure IDOC monitors that concerns medical reception is that individuals aged
36 to 75 years of age would be offered and receive a screening test for hyperlipemia within 30 days of
incarceration. A threshold of 90% was set by IDOC. Actual performance for the first two quarters reported
for fiscal year 2024 was 23% and 22%.309 However no interventions or corrective action has been
implemented to improve performance on this measure.

The Monitor’s evaluation of compliance with II.B.6.a, II.C.1-4 is based upon conclusions drawn from this
material as well as review of mortality records and institution monthly reports. IDOC attained partial

308
    Monitor’s documentation request dated 2/29/2024, items #60, #101and #102. Each of the reception centers sent provider
assignments in response to item #60 and copies of health records as requested in response to item #101. IDOC provided the
Monitor with a draft of a documentation template for a comprehensive physical examination in response to item #102 and
stated that the intake screening form was being worked on. OHS informed the Monitor that no further forms development
was underway currently as they consider using forms already included in the vendor’s electronic health record. Email from
them Special Litigation Counsel dated 8/6/2024.
309
    Office of Correctional Medicine, Clinical Quality Performance Review: Summary, FY 24, provided in response to the
Monitor’s document request # 34.



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compliance with these items in the Consent Decree in 2022 because a policy and procedure for medical
reception had been drafted, increased positions were allocated to the intake centers, and IGRA testing to
screen for tuberculosis infection had been initiated.310 As of this report IDOC has made some forward
progress as described in the following paragraphs with much work yet to be done.

Policy

A policy on medical reception was finalized by OHS in February 2024. This policy improves on the
previous administrative directives by providing the rationale for receiving screening and the health
appraisal.311 The policy also lists expectations for the content of these health appraisals. These include the
identification of patients with special health care and housing needs, those who appear frail or otherwise
vulnerable, and anyone who will need orders for medical services or nursing care before the full health
evaluation is completed. Screening shall a include full set of vital signs, vision and hearing screening,
actual height and weight (rather than self-report), and additional screening or diagnostic tests based upon
the medical history. The findings from intake screening are reviewed by a provider in person or by phone
within 12 hours of the patient’s arrival and orders obtained, as necessary, for additional diagnostic studies,
medications, diet, housing restrictions, nursing and medical care.

The policy states that each patient receives a full physical assessment as early as possible but in all cases
not later than the 7th day after arrival. This assessment also includes obtaining a full set of vital signs, a
complete history of all the problems identified at intake screening, and any other conditions which have
been identified as a problem since screening. The provider is to review lab and radiology results that are
available and perform a physical examination. The extent of the physical exam is determined by the
problems identified, the patient’s functional capacity, and the protocols for preventative health care. A
subsequent plan of care is ordered to avoid lapses in continuity and anyone with a condition in which a
lapse in care may result in a negative outcome is to be enrolled in chronic clinic and seen within the next
30 days. Recommended preventive care and vaccines are to be identified and offered by the provider at
the full physical assessment and scheduled when due. The problem list is to be updated and reflect all
problems requiring follow up or with historical significance.

A draft of this policy, E.05.01 Intersystem Receiving Screening, was provided to the Monitor for review
on 8/23/23. The Monitor provided OHS with an extensive revision to the draft on 1/25/24. However, OHS
was in the process of finalizing the 8/23/23 draft so consideration of the Monitor’s comments were not
addressed in the policy that has been distributed for implementation in February 2024. We have been
assured that during OHS’s upcoming annual review of the policy that the Monitor’s comments will be
considered. Some of the modifications suggested by the Monitor include:
    • Adding procedural direction for implementation of the policy. This includes direction for
        requesting a patient’s records of health care in the community and criteria for determining the
        urgency with which the patient is seen by a medical provider. Timeframes for early preliminary
        provider evaluations for those individuals with acute, out-of-control, or complex serious
        conditions needs to be included.
    • Stipulate that intake screening, the history and physical exam take place in an area that provides
        visual and auditory privacy and provides direction as to accommodations for individuals with

310
  Health Care Monitor 5th Report, June 22, 2022, page 75.
311
  …”to ensure that patients’ needs are addressed.” E.05.01 Intersystem Receiving Screening, Medical Policy and Procedure
Manual, Issued 2/1/24, pages.108-110 .



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           disabilities (speech and hearing) as well those whose primary language is not English.
       •   The results of diagnostics (lab, x-ray, EKG, etc.) ordered at intake screening must be available
           for the provider to review at the time of the full physical assessment.
       •   Labs, vaccinations, and the A & B preventive health care screening recommended by the United
           States Preventive Health Services Task Force (USPSTF) should be accomplished by nurses via
           protocol. Current policy has these ordered individually by a provider which is cumbersome and
           likely to result in omissions. Providers will still need to be consulted so that any specific lab or
           diagnostic work not already included in the protocol is ordered when necessary.
       •   The full physical assessment needs to be completed before, rather than after, classification so that
           any ADA, durable medical equipment, or other special needs are known when facility,
           programming, and housing assignments are made.
       •   The goal of the health assessment is to evaluate all acute and chronic medical conditions (not just
           those identified in nurse screening) with a history and examination pertinent to those problems.
           This concludes in an assessment of each problem with a baseline therapeutic plan for all problems
           which includes updating immunization and preventive health measures.312
       •   IDPH should be consulted to provide recommendations for screening of communicable diseases
           based upon disease prevalence in the community and these included in the policy.
       •   Persons 50 years of age and older should be screened for cognitive impairment using a
           standardized tool, such as the Montreal Cognitive Assessment (MoCA) test.
       •   Evaluation of the need for physician orders for life-sustaining treatment (POLST) when indicated.
       •   Specifying timeframes for continuation of care after intake (i.e., time to first dose of medication
           for patient with a chronic condition, availability of keep on person rescue inhalers, canes, crutches,
           wheelchairs, oxygen therapy for those on continuous oxygen therapy, continuous positive airway
           pressure (CPAP) device, housing orders for persons with movement disabilities or for those with
           cognitive deficiencies, etc.)
       •   Guidance needs to be given regarding what is to be on the problem list and who is responsible for
           maintaining the problem list.

Record Review

The review of patient intake records does not reflect any change in performance from previous reports.313
Forty-six records were reviewed of intakes received in January 2024. There were 20 patient records from
NRC, ten each from Graham and Logan, and six from Menard.314 Five patients were 51 years of age or
older or 11% of the sample.315

 Age Distribution of Sample          NRC        Graham       Menard      Logan          Total       Percent
 ≤30 years of age                    2          6            1           2              11          24%
 31 to 50 years of age               15         3            5           7              30          65%
 51 to 70 years of age               3          1            0           1              5           11%
 Grand Total                         20         10           6           10             46          100%

312
    These are the A and B recommendations of the United States Preventive Health Services Task Force.
313
    Health Care Monitor 7th Report, December 27, 2023, pages 91 – 100, Health Care Monitor 6th Report, March 13, 2023,
pages 73-83.
314
    Menard sent 10 records but four did not have a health assessment completed and were not used.
315
    Persons 50 years of age and older represent 22% of the population incarcerated in the IDOC as of December 2023.
https://idoc.illinois.gov/content/dam/soi/en/web/idoc/reportsandstatistics/documents/factsheets/CY23-50-plus-Fact-Sheet.pdf



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An essential component of the reception process is to identify conditions that require follow up for a short
period of time (fractures, prophylactic tuberculosis treatment, syphilis, abnormal PAP smears, etc.) as well
as conditions that require long-term follow up. All of these temporary and long-term conditions should
have an order for scheduled follow up. IDOC elects to schedule all chronic care problems and temporary
problems together to reduce the number of appointments. A table of the acute or chronic care problems
identified in the 46 records reviewed is shown below. Sixteen (35%) patients did not have an acute or
chronic care problem. The remaining 30 (65%) of the 46 patients reviewed had a total of 74 acute or
chronic problems which needed scheduled follow up. Only seven316 of the 30 patients with problems were
ordered to be scheduled for chronic clinic or other appointments for follow up; some of seven were
scheduled for more than one chronic clinic appointment. We consider obesity a chronic medical condition
which is consistent with current standards of care317. IDOC does not currently treat obesity as a chronic
medical condition.




           Acute and Chronic Conditions identified in Intake
                                                        Logan        NRC            Menard     Graham      Total
           Obesity                                      5            9                         2           16
           Asthma                                       1            4                         1           6
           HTN                                          3            1                         1           5
           Hepatitis C                                  3            1              1                      5
           GERD                                         3            1                                     4
           Hyperlipidemia                               3            1                                     4
           Abnormal PAP                                 2                                                  2
           Anemia                                       2                                                  2
           Diabetes                                                  1                         1           2
           Eczema                                       1                                      1           2
           Hypothyroidism                               1            1                                     2
           Osteoarthritis                               2                                                  2
           Positive IGRA                                1                           1                      2
           Seizure disorder                             1                                      1           2
           Sickle cell anemia                           1            1                                     2
           Syphilis                                     1                           1                      2
           Active fracture                                           1                                     1



316
    Two of these were at Graham and four were at Logan and one was at NRC. The one from NRC had a chronic clinic
completed about two months after reception screening but this was not ordered at the health assessment. It is unclear when it
was ordered. Credit was given nonetheless.
317
    See link https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6179496/ and link
https://www.cdc.gov/obesity/php/about/index.html/



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              Alcohol withdrawal*                                                                  1           1
              Allergic Rhinitis                                           1                                    1
              Atrial fibrillation                                         1                                    1
              Cancer with colostomy                                       1                                    1
              Elevated liver functions no diagnosis                                      1                     1
              Heart failure                                               1                                    1
              Hypotension requiring medication to                         1                                    1
              control
              Osteogenesis Imperfecta                                                              1           1
              Ovarian Cyst                                  1                                                  1
              Pulmonary embolism on anticoagulation         1                                                  1
              Sleep apnea                                                 1                                    1
              Spinal stenosis                               1                                                  1
              Venous insufficiency                                        1                                    1
              Total                                                                                            74
              *This patient was a parole violator who was initially incarcerated at Taylorville and was transferred to
              Graham. There was no health assessment at Taylorville, but a nurse evaluated the patient at Taylorville
              and started withdrawal monitoring but did not address his other medical conditions for the week he was
              at Taylorville.

Initial Intake Screening

The following table lists the criteria and results of the review of initial intake screening records. These
results do not indicate compliance with II. B. 6.a, III. C. 1, III. C.3. Each result is discussed in more detail
in the following paragraphs.

 Initial Intake Screening                                                                                    Results
        1. A complete set of vital signs was taken at medical reception                                      43%
        2.   A complete smoking history was taken                                                            0%
        3.   A vaccine history was documented                                                                83%
        4.   The patient’s previous medical records were requested                                           54%
        5.   Additional labs were ordered                                                                    38%
        6. Urgent medications were ordered                                                                   59%
        7. Point of care testing was done                                                                    42%
        8. Urgent referrals were seen by a provider no later than the next day                               50%

There is considerable variation in performance among the reception and classification centers. Menard
was the only facility to consistently document a full set of vital signs.318 Logan did not document a full
set of vital signs in nine of ten of the records reviewed. NRC was missing temperature twice, blood
pressure twice, visual acuity six times and respiratory rate seven times. Only eight of 20 charts reviewed
at NRC had a full set of vitals (40%). Graham was missing vital signs in 5 of the 10 records provided for

318
      Temperature, heart rate, respirations, blood pressure, height, weight and visual acuity.



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review (usually visual acuity was missing). When the health assessment is not on the same day as the
nurse intake screening, the vitals need to be repeated. All of the Graham health assessments were done
on a later date than the nurse screening but none had a complete set of vital signs. Failure to consistently
obtain vital signs, a simple task, is likely the result of chaotic, disorganized work processes rather than
misconduct or lack of skill.

Inquiry about smoking is made of newly admitted patients in most cases however no attempt is made to
identify patients who have quit smoking and if so, how many years ago they stopped. The intake screening
should document the patient’s history of smoking, the number of pack-years smoked, and if the patient
has quit smoking, the year that smoking stopped. Without this information on tobacco use, it is impossible
to determine which individuals should be screened for lung cancer.

The vaccine history is documented more often than in previous reports. However rarely are the dates
vaccines received documented on the vaccine history. The only ICARE results are those included in health
records accompanying persons sent from the Cook County Jail. There is no evidence that IDOC staff
access ICARE to verify vaccine history as part of medical reception.

Thirteen patients gave a history or had a condition for which previous records of treatment should have
been requested and yet only 53% had the previous record present or evidence that it was requested. The
new policy on receiving screening leaves this decision entirely to the provider to request. The Monitor
recommends that the policy be revised so that any patient with a complicated medical history (on
chemotherapy, recent hospitalization, pregnant females, etc.) is asked by the receiving screening nurse to
consent for release of records from the patient’s civilian provider.

There were 16 patients319 who would have benefited from additional lab or diagnostic testing. However
additional diagnostic work was only ordered six times (38%). Nurses should, as a function of protocols or
a brief preliminary provider evaluation320 obtain labs and complete other diagnostic testing in advance of
the health assessment by the provider. If possible records from community providers should also be
obtained in advance of the health assessment as well.

Urgent medications should have been initiated for 17 patients in the sample. Ten of these patients received
an order for urgent medication (59%). For example, one patient321 was received on parole violation and
was in alcohol and barbiturate withdrawal. He did not receive medication to manage withdrawal symptoms
for three days. Another patient 322 reported a history of treatment for non-insulin dependent diabetes and
hypertension. He did not receive metformin for 18 days after admission to the facility. These were
disruptions in continuity of care that should not happen.

Point of care testing and symptom monitoring are also part of reception screening. When a patient reports
having been treated for diabetes, reception screening should include a capillary blood glucose test. A
report of asthma should include peak flow testing, a report of hypertension should result in repeat blood

319
    The majority of these were from Logan for sexually transmitted disease screening, for which results were not present in
the medical record.
320
    See the Monitor’s input on E.05.01 Intersystem Receiving Screening, Medical Policy and Procedure Manual provided to
OHS on 1/25/24.
321
    Intake patient # 31
322
    Intake patient #24



                                                                                                                        132
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pressure checks. Other than a urine pregnancy test for women, point of care testing and system monitoring
is not initiated consistently when it should be. There were 24 conditions identified in which additional
objective data should have been collected by the nurse during reception screening but was done only in
10 of those instances (42%).

In-depth inquiry and assessment of positive findings is often not done by nurses during receiving
screening. In two thirds of the charts reviewed nurses did not identify all of the patients’ problems. For
example, a nurse screening a patient taking coumadin failed to find out that the patient had been
hospitalized two months earlier and treated for pulmonary embolism .323 Another nurse described a patient
as having red spots on her face. There is no further description of these spots and no inquiry of the patient
about them.324 Another patient gave a history of hypertension with a myocardial infarction and a stent
placed in 2016. The patient was also taking medication for hyperlipidemia and asthma but neither of these
problems were elicited by the nurse’s screening assessment. No blood pressure was taken despite being
actively treated for hypertension.325 Another patient arrived at the reception center on crutches after
recently being treated for gunshot wounds to his left leg.326 There was no documentation of when the
patient was wounded, no description of the wounds, no description of treatment received, and no effort
taken to obtain records of his treatment in the community. There was no attempt to find out if he had
completed antibiotic treatment, what medication he was taking or if he had seen the orthopedist in follow
up before he was incarcerated. One purpose of receiving screening is to “Establish the baseline health
condition at the time of arrival.”327 Clearly, nurses have yet to understand their role in documenting the
patient’s baseline condition.

There were eight patients referred urgently to a provider by the nurse at reception screening. All of these
were at NRC. However only four of the urgent referrals were seen no later than the next day. One of those
not seen timely by a provider was 70 years old328 and gave a history of COPD, colon cancer treated
surgically, hypotension (BP 90/50), blood clots in the head and neck with fainting. He had been
hospitalized in 2023 after fainting. This man walked with a cane and wore glasses. He was not seen by a
provider for four days after receiving screening. In the meantime, no orders were obtained for colostomy
care, further diagnostic tests (EKG, labs ) or medications. A peak flow was not done and there were no
further blood pressure readings. Another person said he had last used heroin the day before arrival at NRC
and was experiencing withdrawal symptoms (abdominal cramps, nausea, body aches, and generalized
weakness).329 He also gave a history of asthma, HCV, and a fractured right foot. He also was illiterate.
Although telephone orders for withdrawal medication were obtained, the urgent referral was not seen for
3 days.

One patient should have been referred urgently but was instead a routine referral.330 This patient was at
Graham Correctional Center. He was 41 years old and had a history of diabetes and hypertension. He was
also taking medication for hyperlipidemia, and gastroesophageal reflux disease (GERD). An on call
provider gave telephone orders for glargine insulin, sliding scale regular insulin and lisinopril with an end

323
    Intake patient # 5
324
    Intake patient # 7
325
    Intake patient # 8
326
    Intake patient # 30
327
    E.05.01 Intersystem Receiving Screening, I. G., Medical Policy and Procedure Manual page 108.
328
    Intake patient # 19
329
    Intake patient # 14
330
    Intake patient # 34



                                                                                                         133
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date of 12 months. No provider saw this patient for the initial health appraisal for 41 days.

Initial Health Assessment

Of the 46 charts of new intakes provided for review only 27 had the medical evaluation completed
within seven (7) days of admission (59%).331 The range of days before this is completed was as long as
45 days at Graham. At Menard this took as long as 21 days and at Logan it took as long as 13 days. At
NRC the medical evaluation was completed within a range of 1 to 8 days. IDOC performance is not
compliant with III.C.1.

All four of the Reception and Classification Centers sent the physician assignment sheets for the month
of February 2024. At Graham and NRC, all the physician’s assistants and nurse practitioners are
responsible for intake, with no one specifically assigned. At NRC these same providers are also
responsible for urgent care. At Logan a specific nurse practitioner is assigned responsibility for intake. At
Menard a specific nurse practitioner is responsible for intake but does chronic clinic, infirmary rounds,
and urgent care as well. Of the 46 charts reviewed all but one of the health assessments were completed
by a nurse practitioner or physician’s assistant. The assignment sheets verify record review findings that
physician involvement in the initial health assessment and plan of care is minimal to non-existent. There
was no indication that the one assessment completed by the physician was because of patient acuity.

The policy F.02.01 Chronic Care specifically calls out requirements for intake health assessment332 which
requires the following.
   • Providers performing intake health assessments for chronic illnesses or other active problems
       document a history and physical examination for all diagnosed illnesses and to include a plan of
       care for each problem.
   • Providers are to enroll patients with acute or chronic illnesses into chronic care and the HCUA is
       to ensure that a process is in place to ensure these orders are carried out.
   • Providers are to amend the problem list to add patients so enrolled.
   • When temporary problems are resolved, those patients are discharged from chronic care unless
       they have other illnesses requiring chronic care management.
   • Patients with inactive chronic care (childhood epilepsy no longer requiring treatment, or childhood
       asthma no longer requiring medication) are discharged from chronic care management.

Most of the records reviewed for this report were dated from January of 2024 which is prior to the
promulgation of policy F.02.01, and therefore represent legacy practice. These intake record reviews treat
chronic disease as an episodic visit which does not address all chronic conditions comprehensively and
does not address preventive health treatment and screening. During a visit to NRC, in June 2024, the
Medical Director was asked what direction she had been given regarding what is necessary with respect
to the provider responsibility for the initial physical examination. She responded that the intake physical

331
   E.05.01 Intersystem Receiving Screening IX, Medical Policy and Procedure Manual, page 109.
332
    Procedure IV. “Providers performing intake health assessments for those with chronic illness or other active problems
will document a history and physical examinations for all diagnosed illnesses. The intake note is to include an assessment
that is comprised of all chronic, temporary, and potential illnesses needing work-up that is to include the current status of
each problem with a plan of care for each problem. The provider is to enter all chronic diseases, latent diseases, and
significant familial cancer history on the official problem list form (DOC 0088).” Procedure item IX, “Whenever a patient is
evaluated for a chronic illness, including at the intake assessment, the provider is to order a follow up appointment”.



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examination is similar to “ER triage”. This was based on her belief that there is insufficient time before
transfer to do anything more than a triage. This Medical Director had not read the recently promulgated
policies nor had an in-service on the policies. The practice of “ER triage” as the basis for intake health
assessments is clearly all that current staff can manage which speaks to the need for staffing analysis of
provider staff at intake facilities.

Based on record reviews, providers do not elaborate or follow up on problems in the physical assessment
that were identified by nurse receiving screening. None of the health assessments for persons with
chronic medical conditions or acute problems included any history of problems of the patient;
occasionally the provider would document the complaint or state the disease. This is consistent with
legacy administrative directive 04.03.101 Offender Physical Examination. This directive requires
physicians to perform only a physical examination at intake. This is also consistent with the health
assessment form DOC 0099 titled Offender Physical Examination which has a box to check whether the
history of the nurse was reviewed but no clear direction on taking a history. New policy of IDOC on
intake screening (E.05.01) and on chronic care (F.02.01) both require that providers take a history of
the patients. The charts reviewed for this report were from January and new policy was not yet
implemented. Yet, this review establishes a baseline for the practice of taking history on the intake
health assessment.

Only four facilities conduct reception screening. However, in the records sent for review, one person333
was a parole violator who was received at Taylorville, which is not a reception center. The nurse at this
facility completed receiving screening but failed to identify that the patient was on approximately his third
day of alcohol withdrawal . It was not until an hour later that another nurse who was obtaining intake lab
samples noted that the patient had tremors and obtained a history of recent treatment for alcohol
withdrawal while he was in jail before transfer to Taylorville.

At receiving screening, the patient gave a history of hyperlipidemia for which he took simvastatin and
“brittle bone syndrome”. This was later identified as osteogenesis imperfecta (a genetic condition
characterized by bones that break easily and other sequelae depending on the type of osteogenesis
imperfecta that the patient has). This patient reported having experienced numerous fractures to date. No
further assessment was completed while this patient was at Taylorville and no treatment was initiated for
his hyperlipidemia.

Five days later he was transferred to Graham. Receiving screening was repeated. Problems identified were
osteogenesis imperfecta, psoriasis, eczema, and hyperlipidemia and “breathing problems” not further
specified. The patient’s recent alcohol withdrawal was not identified. Graham repeated the intake lab
work. It is not clear if this was because the labs were not transferred, or the record was not reviewed at
Graham before labs were re-drawn.

The health assessment was not completed for more than a month after reception at Taylorville and three
weeks after transfer to Graham. The health assessment had no history documented, and did not mention
any of the patient’s problems, including the recent alcohol withdrawal. Old medical records regarding his
osteogenesis imperfecta should have been obtained and were not. The problem list was completed by a
nurse and failed to include hyperlipidemia. The patient’s hyperlipidemia appeared lost to follow up. The
provider’s health assessment contained no therapeutic plans for any of this patient’s conditions. This

333
      Intake patient #31



                                                                                                         135
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example highlights a lack of policy describing where parole violators are to have their reception screening
and how information transfer is to be managed.

Another patient had a history of headaches and was twice wounded by gunshot.334 The patient gave a
history of head trauma with hospitalization in 2015. The patient had been seen the day before at nursing
sick call for chest pain and headache using the Non Specific Discomfort Protocol and given analgesics.
When seen for the health assessment the provider did not have the patient describe the headaches, their
frequency, the impact on the patient’s abilities, and performed no neurological exam. The patient’s history
of head injury was not evaluated. On physical exam the Head, Neck, Face and Scalp are checked off as
normal and neurologic DTRs are checked as normal with no comment. He was seen by the same provider
five days later and prescribed 1 -2 tabs Tylenol 500 mg twice a day as needed (presumably for the
headache) without any further work up or examination of headache.

Another provider saw a 41 year old patient with a history of diabetes and hypertension.335 This patient
was also taking medications for gastroesophageal reflux (GERD), hyperlipidemia, and neuropathy. Except
for documenting that the patient had diabetes, there was no history. There was no diabetic foot exam or
test for neuropathy. There was no assessment for any of his chronic conditions. There was no plan other
than ordering labs (limited to a HbA1c and lipid panel; microalbumin was not included). There is no
inquiry about diabetic retinopathy or when the patient last had his eyes examined and there was no referral
to have this done. There was no evaluation of cardiac risk factors even though this patient had a BMI of
35.3.

Another patient was 39 years old, and the provider documented a history of intermittent asthma. The
patient was currently using an inhaler.336 This patient is documented to have had an exacerbation of his
asthma sufficient to be hospitalized in 2023 which is inconsistent with a diagnosis of intermittent
asthma. The provider took no history to further elucidate the status of the patient’s asthma. Medication
history including frequency of rescue inhaler use, frequency of hospitalization, associated symptoms
were unknown. No peak flow readings were taken as part of the full physical assessment. His chest and
lungs are documented as clear. The patient was ordered a short acting beta agonist inhaler and was not
put on a controller medication despite having a recent prior hospitalization.

Not all conditions are identified during the full physical assessment. One 32 year old patient complained
to the nurse during receiving screening of a cyst on his left neck.337 However the physical exam documents
that the Head, Neck, Face, & Scalp are normal, with the explanation “normocephalic, neck supple”. There
is no documentation of the complaint of a cyst on the left neck in the full physical assessment.

Plans of care are equally incomplete with no patient having a thorough plan of care that addressed all
acute and chronic problems. Only 12 (16%) of the 74 acute or chronic problems documented in the table
above were documented as scheduled for follow up. This results in the episodic care. The patient with
osteogenesis imperfecta described above was never enrolled in chronic clinic for hyperlipidemia or
osteogenesis imperfecta.338 The patient with diabetes and hypertension was enrolled in these chronic

334
    Intake patient #12
335
    Intake patient # 34
336
    Intake patient # 16
337
    Intake patient # 38
338
    Patient #31



                                                                                                       136
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clinics but was not enrolled in clinic for hyperlipidemia.339 He was not referred for an eye exam and an
EKG was not obtained. The problem list was never updated to include the diagnosis of GERD or
hyperlipidemia.

Labs were reviewed as part of the full physical assessment only one third of the time even though they
were available that day in almost half the charts reviewed. It is the standard of practice at NRC to perform
the physical assessment without review of labs (19 of 20 charts did not document review of labs before or
on the day of the physical assessment). In nine of these charts labs were available but not provided for
review at the time of the physical assessment. The problem of treating patients without reviewing labs is
illustrated by this patient who was received at NRC on 1/12/24. He was 41 years old and reported being
diabetic and having hypertension at receiving screening.340 The nurse did not obtain a capillary blood
glucose reading but referred the patient urgently. He was seen the same day by a provider who ordered a
HgbA1c. He was referred to see a provider again on 2/2/24 for abnormal labs. The HbA1c ordered 18
days earlier was 11.7 which is poor control. The patient had not been treated for his diabetes for the past
two weeks so a provider ordered diabetic medications. Another HgA1c was obtained and resulted 2/17/24.
It was now 11.9. When the patient was seen in chronic clinic on 2/21/24 the provider only looked at the
first lab result and determined the patient’s condition was fair and improving. In fact, the patient’s
condition as indicated by the results from the second HbA1c was essentially unchanged and still reflected
poor control.341 Treatment provided this patient was uninformed and careless and placed the patient at
risk.

All of the charts from Menard and all but one from Graham documented results and were reviewed prior
to or on the day of the physical assessment. It should be noted however, that neither Graham nor Menard
were timely in completing the full physical assessment. Logan did not include actual labs ordered nor
were the results in the charts provided for review.

We were told while on the site visit to NRC that the lab technicians leave at 3 pm and any labs not yet
completed are delayed until the next day. This seemed early in the day since there were many individuals
still waiting for lab work at 3 pm. We noted at Graham that in half the charts reviewed lab results were
not available for five to 13 days. This delay in obtaining specimens is a problem since the full physical
assessment is to be completed within seven (7) days as required by the Consent Decree. Completing the
full physical assessment before labs are completed or delaying the timeliness of this assessment until labs
can be obtained are most likely legacy practices that should be reconsidered in light of the expectations
contained in the OHS policy on Intersystem Receiving Screening. The problem with synchronizing
laboratory testing to the health assessment is only one of the reasons the Monitor has suggested mapping
the desired intake process to accomplish receiving screening and then making changes in existing practices
to achieve the desired outcome. This is also an example of the changes II.B.6.a. calls for in initial intake
screening, and initial health care assessment.

IDOC should reconsider what laboratory tests are necessary for routine intake laboratory screening.
Minimum labs drawn appear to include syphilis, tuberculosis, a complete metabolic panel, and HIV and
HCV unless the patient has opted out. The Monitor does not find a rationale for routinely obtaining a

339
    Intake patient # 34
340
    Intake patient # 24
341
    HgbA1c testing is generally done every 3-4 months because it takes time for a HgbA1c to improve or worsen. The test
may have been done simply to verify the initial abnormal result. HgbA1c’s of 11.7 and 11.9 are essentially the same.



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metabolic panel as listed above. Additionally, sexually transmitted disease screening should be based on
recommendations by IDPH for the incarcerated population.342

The Monitor recommends using AHRQ A and B recommendations for screening based upon age and sex
of the individual which include pre-diabetes and diabetes screening in adults 35-70 years of age who are
overweight or obese and lipid screening for adults ages 40-75. IDOC does not screen obese adults for
diabetes or prediabetes. The Administrative Directive 04.03.101 Offender Physical Exams calls for a
fasting lipid panel for patients aged 35 years and older. Four patients at Menard met the age criteria and
had a fasting lipid panel completed. However, at NRC only one of nine eligible patients had a fasting
lipid panel and none of the six eligible patients at Graham.

In the 7th report the Monitor recommended universal hepatitis B screening (HBsAg, antibody to HBsAg,
and total antibody to hepatitis B core antigen) to aid in the vaccination program.343 This is because the
Centers for Disease Control (CDC) recommends universal screening of adults ages 18 and older. The
CDC also identified incarcerated persons as at increased risk and recommended initial and periodic
screening for hepatitis B for persons with long sentences.344 Currently IDOC does not screen for hepatitis
B.

Receiving screening is to include an assessment of the patient’s needs for preventive health care and
vaccines which when identified are to be offered at the time of the provider’s evaluation or scheduled as
they become due.345 The Monitor suggested in feedback on this policy that this assessment be completed
by nursing and recommendations implemented by protocol rather than as orders by individual
providers.346

We noted before that vaccine histories are incomplete particularly that the date any vaccine was reported
as received is not documented. We also noted that there were no vaccines histories from ICARE other
than those included in patient records from Cook County Jail. Logan provides patients a list of vaccines
they recommend the patient receive and the patient can indicate whether they wish to receive the vaccine.
This is a good method to document the assessment of vaccine needs.

                                  Vaccines offered and accepted
                                  Type of Vaccine Offered               Accepted
                                  Covid              21                 0
                                  Flu                22                 2
                                  Hepatitis A        2                  0
                                  Hepatitis B        2                  0
                                  Tdap               2                  1
                                  HPV                1                  0


342
    The Monitor suggests that this be a topic addressed by the Congregate Care Settings Group established by the IDPH.
343
    Health Care Monitor 7th Report, December 27, 2023, pages 99 -100.
344
    Conners EE, Panagiotakopoulos l, Hofmeister MG, et.al., Screening and Testing for Hepatitis B Virus Infection: CDC
Recommendations – United States, 2023. MMWR Recomm Rep 2023; 72 (No.RR-1) DOI Morbidity and Mortality Weekly
Report (MMWR). DOI: http://dx.doi.org/10.15585/mmwr.rr7201a1
345
    E.05.01 Intersystem Receiving Screening, IX, Medical Policy and Procedure Manual, page 110.
346
    Email to Special Litigation Counsel dated 1/27/2024 with comments on E.05.01.



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The number of vaccines offered as a routine part of intersystem receiving screening is very low. Further
the uptake of those vaccines offered is also very low. Of this group of 46 patients who were received in
January 2024 only three vaccines were given, 2 for influenza and one Tdap. Covid vaccine was not offered
to intakes at Menard. Flu vaccine was offered some patients at each facility but not as a routine to all
patients received. No patients were offered pneumococcal, RSV, Zoster or meningococcal vaccines even
when eligible by age or condition. It appears that vaccines are emphasized by certain individuals, but that
vaccine review and recommendation is by no means a universal effort by the health care program at the
reception and classification centers.

We have already commented that smoking history is not gathered consistently and that there is no effort
to ascertain when former smokers quit so that people who should be screened for lung cancer are
identified. There were however three patients in the sample who are current smokers, are 50 years or age
or older, and have a 20 pack year smoking history. None of the three had low dose computed tomography
(CT) recommended nor was the recommendation discussed with them during receiving screening.347

Seven patients qualified based upon age alone for colon cancer screening. None of these patients were
offered this screening nor was the recommendation that they be screened for colon cancer discussed with
them during receiving screening.348

There were 16 persons in the sample who had a BMI greater than 30, which is considered obese.349 Only
one of these persons were identified as obese.350 Many of these patients had medical problems related to
obesity such as sleep apnea, hypertension, and low back pain or other musculoskeletal disorder. Only one
of these patients had an HgA1c. Obesity is classified as a chronic disease and should be addressed as part
of the patient’s plan of care. As stated earlier only about one in five eligible persons are screened for
hyperlipidemia at medical reception in fiscal year 2024.351

Each of the women in the sample were offered cervical cancer screening and screening for chlamydia and
gonorrhea, of which six accepted. Mammography was not offered as part of the full physical assessment
but is scheduled periodically at the facility independent of the intake process.

Finally, the Administrative Directive requires that persons under 40 years of age receive, a visual
examination of the anus and if 40 years of age or older, a digital rectal exam with guaiac testing. The
Monitor has been told that this is no longer a requirement, and that OHS distributed a directive to the
facilities regarding this. Records reviewed show that this practice is still prevalent in that 34 of 46 records
documented whether the exam of the rectum was normal, N/A because the patient was under 40,
visualized, or refused. OHS needs to obtain a variance from the Administrative Directive before staff are
authorized not to perform this unnecessary exam.352

347
    Intake patients # 8, 9, 27.
348
    Intake patients # 8, 9, 19, 21, 27, 31, 44.
349
    Intake patients #2, 6, 8, 9, 10, 13, 14, 15, 17, 22, 25, 27, 28, 29, 34, 39.
350
    Intake patient # 8.
351
    Office of Correctional Medicine, Clinical Quality Performance Review: Summary, FY 24, provided in response to the
Monitor’s document request # 34.
352
    This demonstrates that new OHS policies or directives sometimes contradict Administrative Directives. The
Administrative Directives appear to take priority when this occurs. Another example of this is the opt-out screening for HIV
which is discussed in the Leadership Staffing section of this report. This occurred at NRC when a lieutenant directed the
manner of HIV testing to be consistent with the Administrative Directive even when this was contrary to OHS direction.



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Compliance with III.C.4 for follow up on all pertinent findings and provision of appropriate care and
treatment has not been achieved.

Conclusion

Findings from record review indicate that practices with regard to medical reception have not changed.
The result is that:
   • Nursing histories fail to gather all necessary information about the patient;
   • Providers do not complete a history for all acute and chronic conditions in the health assessment;
   • Recommendations for immunization and preventive health screenings are seldom or inconsistently
       offered;
   • Providers do not maintain an accurate and complete problem list;
   • Providers do not consistently address the immediate medical needs of the patient within a day of
       reception; and
   • A comprehensive assessment and plan of care responsive to all acute and chronic problems and
       conditions identified is not developed.

These charts represent the receiving screening and related health care newly arrived patients were provided
in January 2024 before the Medical Policy and Procedure Manual was distributed to the facilities.
However, the site visit to NRC was completed in June 2024 after the new policy was established. It was
clear from touring the receiving screening area, interviewing staff, including the facility medical director
and HCUA, as well as charts reviewed while at the site, that the new procedure has yet to be implemented
at NRC.

The Monitor has recommended that IDOC engage each of the reception and classification centers in a
process by which the desired outcome of receiving screening is discussed and the sequence of steps
necessary to achieve that outcome are mapped out.353 The Monitor made that suggestion again during the
discussion at NRC after touring the intake area. OHS needs to be clear with reception and classification
centers what changes are necessary to ensure that patients’ needs are addressed when they arrive at IDOC
consistent with E.05.01 Intersystem Receiving Screening and F.02.01 Chronic Care.

Other than the one performance and outcome measure screening for hyperlipidemia within 30 days of
admission there is no clinical quality review of medical reception. No changes have been made to initial
intake screening or the initial health care assessment yet. Staffing of reception centers is insufficient as
measured by the lack of timeliness and inadequacy of the initial intake screening and health care
assessment and initiation of plans for subsequent health care. A policy and procedure for receiving
screening has been developed but it is clear that it has yet to be implemented by the Reception &
Classification Centers.

RECOMMENDATIONS:

       1. Redesign the medical reception process so that it ensures:
          a. All findings and treatments from nurse intake health screening are evaluated by providers.

353
      Implementation Plan Task # 88.



                                                                                                        140
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    b. Prior records are requested and available to providers as needed during the initial health care
        assessment.
    c. An immunization history is obtained as part of the information gathered by nurses. By
        protocol, immunizations are updated, and vaccines given by nursing staff based on the
        Advisory Committee on Immunization Practice (ACIP) and Center for Disease Control (CDC).
    d. Nurses, as part of their information gathering, identify what cancer screenings are necessary
        based on USPSTF A & B recommendations. This information is used by providers to order
        cancer screening as part of the comprehensive treatment plan.
    e. All patients receive recommendations for preventive measures updated based on the A & B
        recommendations of the USPSTF.
    f. All medical problems are identified and entered onto the problem list by providers.
    g. For every medical problem there is an adequate history, focused physical examination,
        assessment, and therapeutic plan. The assessment of chronic conditions includes
        documentation of complications, including hospitalizations, with chronic disease markers,
        documentation of the most recent civilian therapeutic plan, and medication history.
    h. All intake laboratory and other diagnostic tests are evaluated at the full physical assessment by
        providers as part of the intake process, and
    i. Patients are enrolled in chronic clinic for all of their active acute and chronic medical
        conditions.
2. Revise E.05.01 Intersystem Receiving Screening in accordance with the Monitor’s comments
    provided 1/25/2024 and implement it and the portions of the policy F.02.01 Chronic Care that
    pertain to intake.
3. Develop a staffing standard for receiving screening that is workload driven.
4. The Monitor acknowledges that IGRA testing is now established at all Reception Centers and
    recommends that IDOC adopts IGRA testing for tuberculosis screening of all incarcerated
    individuals.
5. Confer with IDPH about which lab tests for communicable disease screening are recommended
    for the incarcerated population. Initiate universal screening for hepatitis B and eliminate obtaining
    a routine metabolic panel.
6. The intake screening should document the patient’s history of smoking, the number of pack-years
    smoked, and if the patient has quit smoking, the year that smoking was stopped. Without this
    information on tobacco use, it will be impossible to determine which individuals require screening
    for lung cancer. This information is also useful as a cardiac risk assessment.
7. IDOC should add universal hepatitis B screening (HBsAg, antibody to HBsAg, and total antibody
    to hepatitis B core antigen) to the routine laboratory testing performed at intake screening in
    conjunction with a hepatitis B vaccination program.
8. Develop a clinical audit tool that evaluates the appropriateness, quality, and continuity of health
    care during medical reception as well as compliance with the policy and procedure. Audit medical
    reception with this tool (s) at least quarterly until performance is better than 90% on each criteria
    for three successive quarters.
9. Expand metrics on the timeliness and thoroughness of medical reception and report performance
    results to CQI on a regular basis.
10. To implement these redesigned recommendations, the Monitor recommends that IDOC map a
    process of how they expect intake to occur in IDOC facilities integrating all these
    recommendations. This mapping should consider staffing, equipment, and organizational needs
    (laboratory support, pharmacy support, custody support with respect to classification, and




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         information technology support with respect to the medical record and interfaces with IDPH
         ICARE and other Illinois jails with information systems).

Nursing Sick Call
Addresses Items II.A; II.B.1; III.A.10; III.E.2; III.F.1; III.F.2;
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
III.A.10. Each IDOC facility shall have registered nurses conducting all sick calls. Until IDOC has
achieved substantial compliance with nursing provision of the staffing plan, facilities may use licensed
practical nurses in sick call, but only with appropriate supervision.
III.E.2. Lists and treatment plans will be amended pursuant to the order of a clinician only.
III.F.1. Sick call shall be conducted in only those designated clinical areas that provide for privacy and
confidentiality, consistent with the extraordinary operational concerns and security needs of IDOC
including, but not limited to a lockdown.
III.F.2. There shall be no set restrictions on the number of complaints addressed during a specific sick
call appointment. Medical providers must use their medical judgment to triage and determine which
issues should be evaluated and treated first to maximize effective treatment and relieve pain and
suffering.

OVERALL COMPLIANCE RATING: Partial compliance

FINDINGS:
The following information354 was requested from IDOC to evaluate progress towards compliance with the
items of the Consent Decree listed immediately above:

Request 6: Northern region facilities to provide times at each facility designated for sick call. 355
Request 64: The name and credential (RN, LPN, NA) of every individual assigned to perform sick call
for any 7 day period in February 2024 at NRC, Graham, Menard, Logan, Stateville, Lawrence, Illinois
River, Pinckneyville, and Pontiac. The list must include nursing staff employed by the State and the
vendor.
Request 76: Training completed in the last 12 months for any nurses employed by either the state or the
vendor at NRC, Graham, Menard, Logan, Stateville, Illinois River, and Pontiac.356
Request 103: Any update of the Nursing Treatment Protocol Progress Notes since 9/2022. Any written
guidelines other than AD 04.03.121 on the use of nursing protocols.357


354
    This list corresponds to items 6, 64, 76, 103, and 104 in the Monitor’s document request for the 8th report, dated 2/29/24.
355
    This information was received from East Moline, Joliet Treatment Center, Kewanee Life Skills Center, Pontiac, Sheridan,
and NRC. Stateville did not respond.
356
    All except Stateville responded to this request.
357
    IDOC provided no information responsive to the specific request regarding an update of the Nursing Treatment Protocol
Notes. The IDOC Special Litigation Counsel reported in response to the request that the protocols are being updated based
on feedback. A memo from the Agency Director of Nursing about training and implementation of the policy and procedure
on nurse sick call was submitted in response to this request.



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Request 104: Identify the process analyst responsible for the process improvement project on sick call,
and provide any revised forms or templates being developed to document sick call encounters, and logs
proposed or being used to manage sick call. Logs need to include the reason for each no shows and
refusals.358

In addition to the material received from the list above, CQI minutes were reviewed as well as the
performance and outcome measures completed by SIU on responsiveness to health care requests. During
the site visit to NRC and Stateville the areas where sick call takes place were observed and staffing for
sick call reviewed. The Agency Director of Nursing was interviewed about sick call processes on 6/12/24.
Death records received during this report period were also reviewed.

Implementation Plan
The Defendants’ Implementation Plan included the use of a process analyst to complete a process
improvement project for the sick call process. The completion date for this project was March 2024 and
the expected results were listed as:
       1.      Policy and procedure for sick call,
       2.      Clear definitions of the staffing and resource requirements needed to conduct sick call,
       3.      Training and supervision of nurses to ensure appropriate clinical assessment and decision
               making using the nursing protocols,
       4.      Limits on the use of protocols in patient populations requiring monitoring by clinicians,
               and
       5.      Audit methods to monitor and account for compliance with the Consent Decree, procedures
               and protocol.

IDOC informed the Monitor that as of June 2024 they were consulting with SIU on how to accomplish
the process improvement project prior to EMR implementation.359 IDOC has adopted a policy on sick
call, in the absence of information to be gained from a process improvement project.    The        draft
policy concerning sick call was provided to the Monitor for review on 6/23/23. The Monitor returned the
draft with extensive comments on 2/2/2024. IDOC decided to distribute a final set of policies and
procedures in February 2024. Therefore E.06.01 Non-Emergency Health Care Requests and Services does
not represent the most recent input from the Monitor. OHS has indicated that the comments submitted by
the Monitor in February 2024 will be considered during the annual review and revision of this policy.

E.06.01 provides more direction for health care staff than the Administrative Directive in that the method
of receiving requests has been standardized. The policy also gives guidance as to which requests are to
receive immediate attention, establishes the documentation in the health record required for sick call visits,
establishes requirements for retention of sick call requests, and defines and limits the use of written
responses to sick call requests.

The new policy does not incorporate or otherwise establish the means or methods to comply with the
Consent Decree. This was a missed opportunity. The policy does not directly address III.A.10 that
registered nurses conduct sick call or that LPNs may do so only until the staffing plan for registered
nurses is achieved and only if supervised. It does not address III.I.F.1. that sick call is only conducted

358
    No information was provided in response to this request. However, the Special Litigation Counsel commented on the
request that IDOC was currently in consultation with SIU on how to accomplish this prior to EMR implementation.
359
    IDOC Responses to the Monitor’s document request dated 6.28.24.



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in clinical areas that provide for privacy and confidentiality. Lastly it does not address III.F.2.
prohibiting any restriction on the number of complaints addressed during a sick call appointment. The
policy also does not meet the NCCHC standards for timeliness of nursing encounters after receipt and
triage of a request. The policy also does not cite AD 04.03.121 which defines the use of nursing
protocols and limits the authority of nurses to initiate medical treatment as a reference. The Monitor
strongly suggests that these observations and the feedback provided in February 2024 be considered
and a revised policy with procedures be written and distributed.

The revised sick call policy and use of the log was first reviewed with facility leadership at the quarterly
meeting on June 13, 2024. Following this meeting the Agency Director of Nursing distributed by memo
dated May 29, 2024, to HCUAs and the vendor’s Director of Operations copies of E.06.01 Non-
Emergency Health Care Requests and Services, the Nurse Sick Call Log, and a nurse sick call training
form. The memo set forth expectations that staff that will handle sick call requests and the tracking
log360 are to be trained in the procedure and use of the log by June 30, 2024, with implementation on
July 1, 2024. During the site visit to NRC the HCUA was interviewed and reported that the only policy
and procedure implemented since distribution in February was the one on sick call. She commented that
the health care unit received “a lot” of requests; that the sick call schedule “interferes” with the count
and patients aren’t always brought over to the health care unit because they were short officers. She
also commented that the health care program did not have enough staff for the services they needed to
provide and specifically mentioned intake and sick call. Other work to be completed included getting
the necessary variances from the Administrative Directive 04.03.103 on health care services so that
facilities were not penalized for noncompliance with the AD during internal and external audits.

The results of internal/external audits, the SIU performance and outcome measures, and facility quality
improvement studies completed through June 30, 2024, use benchmarks that differ from those in the new
policy. The benchmarks used by these tools are derived from Administrative Directive 04.03.103 which
is more lenient than that of the new IDOC policy. The performance and outcome data through December
2023 provided for this report show only three facilities met the benchmark of 90% or greater on the sick
call measures; these were Big Muddy, East Moline, and JITC. This is one more facility than met the
benchmarks in the Monitor’s 7th report.

These tools all need revision to reflect the changes in sick call that were implemented July 1, 2024. The
Monitor has several suggestions for improvements to the performance and outcome measure on sick call
and looks forward to sharing these when the tool is being revised. Data collected after July 1, 2024, will
not be comparable to prior reports because the performance measures have changed. A new baseline needs
to be established for sick call performance.

Staffing Nurse Sick Call
Staffing continues to be a major barrier in access to primary care as required by II.B.1. In the last report
the Monitor correlated poor performance meeting standards for responsiveness to sick call requests with
high vacancy rates among registered nurse and provider positions.361 As of June 2024 the vendor had 67%
of its registered nurse positions vacant. The state had only 19% of its registered nurse positions vacant.
The state vacancy rate is approaching the goal of less than 15% of allocated positions set forth in the

360
    Staff was defined at a minimum to include the HCUA, facility director of nursing, nursing supervisors, registered nurses,
LPNs, and office support staff who work for either IDOC or the vendor.
361
    Ibid



                                                                                                                          144
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Implementation Plan.362 However the combined vacancy rate for registered nurse positions is 40% which
is well below target. Eight facilities scored 0% in compliance with the sick call performance and outcome
measure for Fiscal Year 2024 Quarter 2 ending December 2023. At these facilities the vacancy rate for
registered nurses is 44%; at three facilities vacancies are 50% or more of allocated positions.

The sick call performance and outcome measure also evaluates whether patients are seen timely by a
primary care provider363 when they have been referred from nurse sick call. According to the Facility
Reconciliation Worksheets for FY 2024 ending March 30, 2024, the vacancy rate for primary care
providers is 38%.364 However of the eight facilities which had 0% compliance with the sick call
performance and outcome measure for Fiscal Year 2024 Quarter 2 ending December 2023 the vacancy
rate for primary care providers is 44%; at four of the eight facilities vacancies exceed 50% of allocated
positions.




             Comparison of the Sick Call Performance Measure to Vacancy Rates
                                               %
                   Sick Call        % RN       PCP365                             Sick Call        % RN        % PCP
 Facility          Performance      Vacant     Vacant          Facility           Performance      Vacant      Vacant
 Shawnee           0%               83%        16%             Logan              40%              100%        51%
 Sheridan          0%               16%        20%             Southwestern       60%              78%         10%
 IL. River         0%               100%       27%             Vandalia           60%              11%         60%
 Dixon             0%               30%        45%             Decatur            70%              25%         6%
 Taylorville       0%               44%        55%             Vienna             70%              0%          40%
 Centralia         0%               50%        60%             Joliet             70%              45%         50%
 Lawrence          0%               46%        60%             Pinckneyville      80%              86%         7%
 Robinson          0%               39%                        Stateville         80%              45%         23%
 Danville          10%              60%        20%             Kewanee            80%              0%          59%
 Menard            10%              33%        40%             Pontiac            80%              48%         74%
 Western           10%              100%       67%             Big Muddy          100%             55%         7%
 Lincoln           20%              88%        15%             Murphysboro        100%             0%          71%
 Jacksonville      30%              0%         10%             East Moline        100%             0%          80%
 Graham            30%              20%        30%             Stateville NRC                      0%          23%
 Hill              40%              86%        23%

There is no uniform measure used by IDOC to document that only registered nurses conduct sick call per
III.A.10 and this item of the Consent Decree remains noncompliant. The National Commission on
Correctional Health Care states that better decisions about patient care result when the most experienced
staff are assigned to sick call.366 It is not possible to staff sick call with experienced nurses when vacancies

362
    Defendants’ Implementation Plan, Narrative page 7 and Task 2.d, page 9.
363
    Physician, physicians’ assistant, nurse practitioner.
364
    One of several reports provided by IDOC in response to the Monitor’s documentation request #10.
365
    This is primary care providers not physicians. Primary care providers includes physicians, nurse practitioners and
physician assistants.
366
    Standards for Health Services in Prisons (2018) page 99.



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are this great. This means that LPNs and nurses employed temporarily by staffing agencies are assigned
to conduct sick call. Patient outcomes are compromised as a result of delays in timely response to sick call
requests and use of less experienced staff.

Staffing of sick call for a one week period in February 2024 was requested and received from nine
facilities. At Menard sick call did not take place on one of the seven days because no staff were assigned.367
Graham provided documentation that only registered nurses were assigned sick call.368 At Lawrence,
LPNs were the only staff assigned on the day shift, five out of a possible seven shifts. Similarly at Logan
five, out of a possible seven day shifts had only LPNs assigned to sick call. On the 3pm to 11pm shift an
LPN was assigned alone to sick call two out of a possible seven shifts and on 11pm to 7am three of a
possible seven shifts. Similarly, Pontiac and Pinckneyville had patterns of assigning only LPNs to sick
call for a majority of the shifts.


                     Number of times during a seven day
                     period LPNs were assigned sick call
                     7 am–- 3 3 pm–- 11 11 pm–- 7
                     pm         pm           am
 Lawrence            5/7 shifts 1/7 shifts
 Graham              None
 IRCC                1/7 shifts
 Logan               5/7 shifts 2/7 shifts   3/7 shifts
 Menard              5/6 shifts
 Pontiac             5/7 shifts
 Pinckneyville       6/7 shifts 3/7 shifts

At NRC nurses are assigned to sick call on both the day and night shifts. The HCUA commented that the
shortage of correctional officers affected whether patients were escorted to the clinic for sick call.369 The
assignments for the two weeks immediately preceding the Monitor’s site visit were reviewed.370 During
this period 17 of a possible 28 shifts had two registered nurses assigned to sick call. Three shifts had only
one nurse assigned. The remaining shifts had three nurses assigned. Only three nurses worked overtime
on these assignments. The nurses are assisted by a nursing assistant on most shifts. LPNs were not assigned
to sick call during the period in May that was reviewed during the site visit. In NRC’s response to the
Monitor’s request for assignments during a one week period in February 2024 one or more LPNs were
assigned sick call on three of a possible 14 shifts. 371 The HCUA stated that nurses see patients only in the
evening because there are not enough exam rooms and providers use them during the day. Apparently
nurses assigned sick call triage and address patient requests that do not require use of the exam room when
the rooms are being used by providers.

At Stateville sick call takes place seven days a week on the 7am to 3pm shift. Nurses see patients in the
housing units. The Director of Nursing tries to assign four nurses to sick call. During the two week period
367
    2/5/24.
368
    This documentation is consistent with the observations made during the Monitor’s site visit to Graham in July 2023.
369
    Interview with NRC HCUA on June 3, 2024.
370
    May 20 – June 2, 2024.
371
    Response to documentation request # 64. LPNs were assigned sick call on the 5:45 am to 6:15 pm shift on 2/6 – 2/8/2024.



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just prior to the Monitor’s site visit four nurses were assigned to sick call only four out of 14 possible
days.372 Only registered nurses were assigned sick call duties during this time period. However, the
material provided by Stateville in response to the Monitor’s documentation request for staffing for a one
week period in February 2024 lists ten different LPNs who were assigned sick call during that time.373

While the Consent Decree allows LPNs to conduct sick call it is only until IDOC has achieved substantial
compliance with the nursing provisions of the staffing plan and only with appropriate supervision. IDOC
provides no guidance as to what appropriate supervision is in its policy on sick call and no proof that LPNs
performing this work are appropriately supervised. In the Monitor’s opinion it is outside the LPN scope
of practice to conduct sick call because it requires independent judgement, and the range of complaints
presented at sick call require more advanced knowledge and clinical assessment skill to make these
judgements.

As an example, one of the charts reviewed for this report documented an LPN treating a 66 year old man
for shortness of breath on 4/29/23.374 The documentation does not reflect that the nurse was cognizant of
the possible relationship between the patient’s presenting complaint and his chronic conditions
(dyslipidemia, hypertension, diabetes, hypothyroidism, obesity and a history of smoking). The
documentation on the protocol notes that he has chest pain and shortness of breath when moving. The
medications he took were not reviewed. Peak flow readings were low, his blood pressure was 154/94,
pulse was 125 and oxygen saturation was 96%. The protocol clearly directed the nurse to evaluate the
patient using the chest pain protocol. Instead, the nurse has marked a zero through the statement. The LPN
made an independent judgement that no further assessment or intervention was necessary, and that the
patient would be seen later in the week at a previously scheduled appointment. The LPN did not seek
guidance from any more senior clinician in making this decision. Sixteen days passed and the patient was
not seen by a provider. He was found unresponsive in his cell on 5/9/2023 and was not able to be
resuscitated.

The Monitor has suggested that a workload driven metric be developed based upon how much time on
average it takes to address a sick call request.375 This metric would then be used to determine the number
of registered nurse positions that are necessary at each facility. IDOC has not conducted a staffing analysis
that would achieve a workload driven formula to calculate the resources needed to respond in a timely and
clinically appropriate manner to requests for health care attention.

Clinical Space, Privacy and Confidentiality to Conduct Sick Call
The Monitor has raised concerns about the adequacy of space to conduct sick call in a manner that
affords the patient privacy and confidentiality in every report and at every facility that has been
visited.376 The findings from the site visit to NRC and Stateville were that there are not enough exam

372
    May 20 – June 2, 2024.
373
    Response to documentation request # 64.
374
    Mortality review patient 13.
375
    Ten experienced correctional nurses (over 300 years’ experience) were asked how many patients a proficient registered
nurse should be able to see in sick call per hour. The consensus was on average, seven patients per hour. Factors that
contribute to individual variation include patients’ gender and health status, as well as the location of the encounter.
Improving productivity of sick call. Essentials of Correctional Nursing, 12/23/14 downloaded 10/7/24 at Sick Call |
Essentials of Correctional Nursing (wordpress.com)
376
    Health Care Monitor 2nd Report Lippert v Jeffreys (August 6, 2020) pages 87-88; Health Care Monitor 6th Report Lippert
v. Jeffreys, March 13, 2023, page 87, Health Care Monitor 7th Report, December 27, 2023, page 106.



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rooms for the providers alone. This results in nurses conducting sick call in non-clinical areas such as
multi-purpose rooms that don’t have examination equipment or are not hygienic. One of the sick call
records reviewed for this report was a patient seen for a urinary tract infection.377 He was seen on the
yard, so no vital signs were taken nor was a urine sample obtained. Nothing was accomplished with this
encounter.

Those examination rooms that do exist at NRC and Stateville do not have adjustable exam tables and
the upholstery was cracked and had no paper covering for use between patients. The cabinets and other
surfaces are frayed on the edges and have chipped surfaces which cannot be adequately cleaned or
sanitized.     The Illinois Department of Corrections Facility Master Plan noted Stateville’s
medical/mental health space as needing significant renovation and that NRC had significant lack of
office space for medical and mental health staff throughout the campus.378 The existing space for sick
call at these two facilities is not compliant with III.F.1.

Nursing Treatment Protocols and Training
The authority of nurses to treat patients’ health complaints is outlined in AD 04.03.121 Treatment
Protocols. Treatment protocols used in IDOC facilities may only be issued by the Agency Medical
Director. If clinically appropriate, a nurse may treat a patient with over-the-counter medications that
are specified within the protocol itself. Nurses must be trained initially and annually thereafter in the
use of treatment protocols by the facility medical director. This training is to be verified as part of the
credentialing and privileging process at the facility. In addition to training, the facility medical director
is to audit two medical records of each staff member who have used treatment protocols each month
and report the findings of this audit to the Quality Improvement Committee.

In February 2024 the Agency Medical Director approved continued use of the Nursing Treatment
Protocols, last revised in 2019 and the protocol for COVID.379 The Monitor requested any update of the
Nursing Treatment Protocol Progress Notes but was not provided with any information in response to this
request. OHS did begin reviewing protocols for possible revision but has decided to wait to review any
templates that may already be part of the electronic health record.380 The Monitor has expressed concern
about the use of the nursing treatment protocols since 2021, specifically that some protocols are based
upon a diagnosis rather than symptom or system complaint, the inappropriate and dangerous protocol for
non-specific discomfort, use of protocols while patients are in the infirmary, and there are a number of
protocols which should be eliminated because they are seldom used or have no nursing intervention.381
These concerns have not been addressed by IDOC.

From our review of the documentation of 29 sick call encounters the protocol for nonspecific discomfort
was used seven times.382 In all cases it appeared that this protocol was used in order to access pain relief
medication and involved minimal assessment. One of these was an LPN who saw a patient for edema of

377
    Sick call patient 10.
378
    Illinois Department of Corrections Facility Master Plan – Final Report May 2023, page 92.
379
    Memo dated 2/23/2024 sent to HCUAs and DONs.
380
    Interview with the Agency Director of Nursing on June 12, 2024.
381
     See a thorough discussion in the Health Care Monitor 3rd Report Lippert v. Jeffreys, February 15, 2021, pages 10, 72-75,
77. Health Care Monitor 4th Report Lippert v. Jeffreys, September 16, 2021, pages 15, 106-109; Health Care Monitor 5th
Report Lippert v Jeffreys (July 27, 2022) pages 12, 87-89, 91; Health Care Monitor 6th Report Lippert v. Jeffreys, March 13,
2023, page 91-93, Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, pages 106-107.
382
    Sick call patients 5, 9, 12, 13, 20, 21, 29.



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the lower eyelid. No vital signs were taken which might have indicated soft tissue infection, no visual
acuity test was done, and the eye was not examined except by observation and palpation. The eye injury
or skin and soft tissue protocols would have provided more appropriate guidance. There was a more
appropriate protocol which should have been used in another five of these encounters. Only one, a
complaint of neck pain, did not have a more appropriate protocol to use. The Monitor has suggested that
a protocol for the assessment of musculoskeletal conditions would be useful since these are one of the
more common complaints made at sick call.

Among the mortality records reviewed for this report there are several patients who were treated using the
protocol for nonspecific discomfort when another protocol would have provided more clinically
appropriate guidance.383 One of these was an 83 year old patient with chronic obstructive lung disease
(COPD), hypertension, sleep apnea, osteoarthritis, heart failure, and cognitive disorder (dementia).384
This patient’s general condition was slowly deteriorating. He had difficulty with activities of daily living,
ambulation, and nutrition. This patient was seen on 9/5/23 for edema of the legs and shortness of breath
using the nonspecific discomfort protocol when another protocol would have been more appropriate.385
The patient was next seen a month later (10/2/23) by a nurse because he felt weak, his stomach was upset,
and he was having trouble eating. Once again the nurse evaluated the complaint using the protocol for
nonspecific discomfort when there were more appropriate protocols to have used.386 The patient’s blood
pressure was documented as 96/53. The nurse gave the patient Pepto-Bismol which is not on the protocol
for nonspecific discomfort. The nurse did not complete an adequate assessment of this 83 year old man in
declining health and did not confer with a provider about his deteriorating symptoms. The patient was
hospitalized later in the evening because he had not eaten or drank anything for two days, was unable to
stand, and was hypotensive. This is also a good example of the type of patient whose symptoms and
complaints should not be addressed by a nursing protocol.387

Among the review of 29 sick call patients are encounters where the assessment was incomplete.388 As
examples, one patient was seen urgently for chest pain. The nurse documented that he had cardiac risk
factors but did not list what they were. The nurse also did not document the nature or description of the
patient’s chest pain. Another patient was seen for earache. The nurse documented that the inside of the
patient’s ear was abnormal but gave no further description. These one word assessments are not
communicative to other providers who see the patient later and they are not specific enough to identify
how the nurse arrived at a conclusion about treating the patient.

One of the encounters reviewed was a patient who was seen with a sore throat. The nurse used the upper
respiratory infection protocol. He had asthma. The protocol clearly states that a provider is to be contacted
if the patient has asthma. The nurse gave him acetaminophen and ibuprofen and told him to increase his


383
    Mortality review patients 1, 2, 6, 8.
384
    Mortality review patient 1.
385
    Either or both the protocols for shortness of breath and venous insufficiency would have been more appropriate.
386
    Could have used Indigestion or Nausea/Vomiting protocols for upset stomach.
387
    Mortality patient 5 is another patient who should not have been seen with nursing protocols. He was a 51 year old man
with metastatic cancer who was undergoing chemotherapy when on 8/19/23 he was seen on sick call for dizziness using the
dizziness/vertigo protocol. This patient had a temperature of 102.8, pulse of 113, and blood pressure of 94/60. The nurse by
protocol should have conferred with a provider about his care and did not do so. According to the oncology appointment on
8/22/23 this patient was anemic and was transfused a few days later.
388
    Sick call patients 7, 8, 9, 10, 11, 14, 15, 29.



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fluid intake. The nurse did not take a peak flow or review his use of inhalers which would have been
appropriate given the asthma condition. The nurse did not contact a provider as instructed by the protocol.

Incomplete vital signs were present in six of the encounters reviewed.389 Four patients had abnormal vital
signs, none of which were commented on, no action was taken to address them, or they were not followed
up by the nurse during the encounter.390 The failure to recognize abnormalities in vital signs has been
identified frequently as an opportunity for improvement in the mortality reviews completed by SIU.

Among the mortality records reviewed for this report were several examples of nurses treating patients
inconsistent with the protocol or not using a protocol at all.391 One patient was in the infirmary and
complained of skin breakdown. The nurse documented a 1 centimeter ulcer on his foot and treated it with
triple antibiotic cream. The nurse did not use a treatment protocol to guide the assessment and did not
contact a provider to determine the follow up care that was indicated.392 When he was admitted to the
infirmary the provider ordered oxygen, but the order did not include the duration (continuous, PRN or
time specified) or the mode of delivery. Additionally, parameters for escalation to the MD or modification
of flow were not specified. Nurses adjusted the patient’s oxygen several times without provider orders.393

Poor practices with regard to sick call and use of the treatment protocols are a result of the lack of effective
nurse supervision (vacant supervisory positions), the necessity that supervisors provide direct patient care
when positions are vacant, and the lack of physician presence (vacancies) and engagement in the health
care program at facilities.

Monthly CQI minutes were received from 29 facilities. Sick call and nursing treatment protocols are
regularly discussed at 26 facilities. The results of the monthly audit by the facility medical director is
reflected in the minutes from 16 facilities. Another nine facilities do document periodic results but not
every month.394 Four facilities documented annual training was provided to the nurses by the medical
director. Four facilities document whether there are backlogs in sick call, which is useful operational
information.395 Twelve CQI studies were reported and all but one related to an aspect of the administrative
directives (i.e., Were patients referred from sick call seen by a provider timely?). One facility studied
whether there was documentation that the patient should return to sick call if the problem did not improve.

These monitoring activities have identified that the protocols are not used appropriately. However, these
tools do not identify if a protocol was not used when it should have been. These reviews could be improved
by developing the clinical knowledge and decision making skills nurses use to make their decisions. At
present corrective action focuses on documentation completeness and policy compliance rather than the
389
    Sick call patients 4, 16, 17, 22, 23, 28.
390
    Sick call patients 15, 18, 19, 30.
391
    Mortality review patients 1, 3, 8, 9, 13. These are all records that document instances of nurses practicing outside of their
scope of practice.
392
    Mortality patient 3. There also was an order written for Triamcinolone cream applied to affected areas (0.1% cream) for
one month for psoriasis. The order was never countersigned by a PCP.
393
    Nurses can initiate O2 only in an emergency and it is expected that further use of O2 is via physician order. Some health
care systems allow nurses to manage O2 after the initial order but within a set of parameters and only under a standing order.
Nursing Reference Center Plus: Administering Oxygen Therapy, May 30, 2023.
394
    Whether the audit gets done or not seems to depend upon physician availability and that the physician was provided the
records to review. The audit of nurses’ use of treatment protocols could be improved but at this point the most effort should
go into implementation of the policy and procedure.
395
    Hill, Robinson, Shawnee, and Sheridan.



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nursing assessment process. Corrective action most often is telling the nurse what was wrong as though it
is a simple task to correct. Corrective action could be improved by periodic observation396 of nurses
conducting sick call and a discussion about the relationship between the complaint, objective and
subjective data and other factors that contribute to the nurse’s clinical decisions. IDOC is partially
compliant with III.E.2. Lists and treatment plans will be amended pursuant to the order of a clinician
only.

Patients are not limited to a single complaint when seen in sick call
Among the sick call encounters reviewed for this report we found several examples of patients who had
multiple complaints addressed in a single sick call encounter.397 The new policy on sick call has no
language that prohibits limitations on the number of complaints to be addressed during a sick call
appointment.398 The Monitor suggests that such language be added during the annual review and
revision of the policy. When this change is accomplished and without other evidence to the contrary,
IDOC would be considered compliant with III. F.2. There shall be no set restrictions on the number of
complaints addressed during a specific sick call appointment.

The Monitor’s recommendations have been revised so as not to duplicate those that are now part of the
Defendants’ Implementation Plan.

RECOMMENDATIONS:
  1.  Revise E.06.01 Non-Emergency Health Requests to incorporate the requirements of the
      consent decree specifically limitations on the assignment and necessary supervision of LPNs,
      specify that sick call may only be conducted in a clinical setting, and prohibit any restriction
      on the number of complaints to be addressed in a single sick call encounter. The policy also
      needs to have the timeframe from receipt of a sick call request to the sick call encounter
      changed to be consistent with the NCCHC standard of one day. The Monitor’s comments on
      the draft policy and procedure sent to IDOC on 2/2/24 should also be considered during the
      review and revision of this policy and procedure.
  2.  Revise the performance and outcome measure for responsiveness to sick call requests to be
      consistent with E.06.01. The reporting methodology needs to separate out the different
      timeframes that are being measured and report these separately. These are the time the request
      is received until it is triaged (the same day), the time the request is triaged until seen by a nurse,
      whether seen by a registered nurse or LPN, and the time from referral to a provider from sick
      call and when the patient is seen by the provider. Finally, the 10 charts that are reviewed for
      this measure need to be selected from complaints that may indicate a serious underlying
      problem or for which multiple complaints have been received (i.e., infection, chest pain,
      abdominal pain, nausea/vomiting, back pain, indigestion, glycemic episodes, shortness of
      breath, depression).
  3.  The Internal/External audit tool also needs to be revised so that it is consistent with E.06.01.
  4.  IDOC needs to fill vacant nursing leadership positions (Director of Nursing and Nurse
      Supervisors). Further the Agency Director of Nursing should receive the resources to establish

396
    The Monitor recommends that observation of the nurse conducting sick call take place over a three day period as part of
new employee training and a briefer period of observation as part of annual credentialing and privileging. Observation should
be done by a primary care provider interested in teaching nurses these skills.
397
    Sick call patients 1-5.
398
    E.06.01.



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              the means to provide clinical direction and supervision of nursing at facilities.399
      5.      The vendor needs to functionally fill registered nurse and primary care provider positions and
              be held accountable for excessive vacancies at a facility and by type of position regionally.
              The vendor should also be accountable for delays in filling any individual position beyond 45
              days.
      6.      Complete item 53 of the Implementation Plan, the process improvement project for sick call
              which includes identification of barriers to access (or barriers to the implementation of
              E.06.01), delineating the resources needed to conduct sick call (staffing as well as the
              designation of clinical space and equipment), revision of the Nursing Treatment Protocols, and
              improving the quality and focus of the training nurses receive in the clinical assessment of sick
              call requests.
      7.      Develop more robust training and monitoring of nurses’ use of the treatment protocols. Facility
              medical directors should be canvassed to find out what they think needs to be done to improve
              in this area. Additional training that is clinically meaningful about the assessment of
              complaints and nurses’ decision making needs to be provided.

Chronic Care
Addresses Items II.A; II.B.1; II.B.6.f; III.E.1
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
II.B.6.f. IDOC agrees to implement changes in the following areas: Chronic disease care: diabetes,
Chronic Obstructive Pulmonary Disease (COPD), asthma, HCV, HIV/AIDs, hypertension, hyperlipidemia
III.E.1. IDOC shall maintain a list of prisoners’ current medical issues in their medical charts.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
In February of 2023, IDOC promulgated policy F.02.01 Chronic Care. This policy was provided to the
Monitor for comments and IDOC accepted almost all comments from the Monitor. Though this policy
was promulgated in February of 2024, it is not yet implemented. IDOC has not provided any plan for
how to implement its policy statewide. IDOC has not initiated a process analysis of this program and does
not provided evidence that it understands the staffing and other support needed to implement this program.
IDOC will be challenged in this implementation.

There was one key disagreement with IDOC’s policy. Policy F.02.01 Chronic Care included procedure
statement XVIII.
       “The rationale for deviation from established clinical practice and/or guidelines shall be
       documented in the patient’s chart”.


399
   At a minimum this would be regular meetings to monitor the implementation of policies and practices that nurses are
primarily responsible for. It should also include authority to set and monitor standards of nursing practice, establish criteria
and priorities for continuing education and competency development, and peer review.



                                                                                                                              152
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This statement was deleted by the Monitor but retained by IDOC. A requirement for providers to
document any deviation from IDOC guidelines is something that is extremely unlikely to be done because
of the complexity in doing so. Facility Medical Directors and vendor Regional Medical Directors should
ensure that standards of care are being followed. When mortality reviews, comprehensive audits, and
Monitor record reviews show that national standards are not being followed, IDOC through its Regional
Medical Directors should initiate counseling and training as needed to correct the deficiencies.

A second problem with this statement is that IDOC is writing its own guidelines.400 The Monitor strongly
recommends that IDOC utilize national standards and guidelines instead of writing their own. This can
be accomplished by including a link to UpToDate in the new electronic record that can be accessed at any
IDOC desktop or remotely using the electronic record login. IDOC does not have capacity to write
standards for disease management. Almost all of the clinical guidelines developed by IDOC are
referenced and appear borrowed from UpToDate or other sources. Whether IDOC has accurately
translated information from UpToDate into their guideline would take considerable effort to determine.
UpToDate updates each of their sections with a literature review and topic update typically within the
prior year. IDOC will not be able to perform updates and since they used UpToDate as a reference for
their guidance they should just make UpToDate available in their electronic record. There were several
guidelines that utilized clinical guidelines from the Texas Department of Corrections and the Bureau of
Prisons but it is unclear what material is used from these organizations and some of the material is dated.
For example, in the type 2 diabetes and hypertension clinical guidelines, IDOC uses material that is copied
or adapted from the Bureau of Prisons, but the last type 2 diabetes guideline from the Bureau of Prisons
is from 2017 and the most recent hypertension guideline is from 2015. Developing IDOC guidelines,
even if they are copied and adapted from other sources, will take time and risks intended or unintended
modifications of a national guideline. IDOC does not have the staff, resources or expertise to develop a
guideline and should focus on other urgent issues.401

National guidelines produced specifically for corrections (e.g., Recommendations for Management of
Tuberculosis in Correctional Facilities or sexually transmitted disease guidelines produced by the Centers
for Disease Control) are exceptions that IDOC should reference in the appropriate document (e.g., the
IDOC Infection Control Plan). There is no need to reproduce a guideline that already exists to address
the clinical need within IDOC.

With respect to judging compliance with chronic care within IDOC, the following have occurred since the
last report.

IDOC has provided no evidence that their policy for chronic care has been implemented at any of its
facilities. During recent visits to NRC and Stateville the chronic care policy was not implemented.

IDOC has not provided any information demonstrating its status with respect to compliance with chronic
care.

400
    IDOC sent the Monitor 38 IDOC clinical guidelines.
401
    The National Commission on Correctional Health Care (NCCHC) says as much. In the late 1980s the NCCHC attempted
to develop clinical guidelines and published these on their website. In 2003 and updated in 2022, NCCHC stated on their
website, “The standards are revised periodically, usually every three to five years. In contrast, clinical guidelines must be
timely, reflecting the latest developments in the field and current treatment recommendations. NCCHC no longer publishes
clinical guidelines. Please refer to nationally recognized clinical guidelines published by independent medical
organizations”. From Correct Care volume 17, issue 2 Spring 2003; updated April 4,2022”.



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The System Leadership Council January, 2024 meeting minutes document an effort to initiate a program
called “Health Matters” that will include obtaining up to 40 education videos and which will also include
access to a production studio to be use for health literacy and training and to get information to the
facilities. Evidence of implementation of this training has not been provided.

IDOC has initiated a collaboration with the UIC Department of Endocrinology to provide telemedicine
for diabetes care. This was initiated in the Northern Region but is expanding throughout IDOC. In review
of records, a few of these encounters were evaluated and they were very good quality. A PharmD402 visit
alternated with a provider (physician or mid-level provider) in providing thorough and comprehensive
diabetes care. Because it is over telemedicine, physical examinations are not performed and for this UIC
depends on IDOC. This is a problem because IDOC providers, seldom, if ever, perform adequate foot
examinations on persons with diabetes and though UIC recommends obtaining foot examinations they are
not completed. The vendor should conduct training on a proper foot examination. Videos are available
on-line and the American Diabetes Association and UpToDate have information on the diabetic foot
examination.403 The American Diabetes Association guidelines are freely available on the Internet.404 If
the facilities do not carry out the recommendations of the UIC consultants, they should document why
they do not do so. If the vendor providers do not cooperate with UIC recommendations, it will make the
project ineffective. We note that a CQI study completed at Dixon reported that 16 of 22 patients enrolled
in the UIC telemedicine diabetes clinic had a significant reduction in hemoglobin A1c after at least six
months of care.405 Fifty patients were enrolled in this clinic. The Monitor supports this effort and IDOC’s
intent to take this program statewide. IDOC must monitor the effectiveness of its providers in
implementing recommendations.

The medical reception section of this report documents that many chronic illnesses are not identified at
intake and are not enrolled in chronic care. On record reviews thirty patients had a total of 74 acute or
chronic problems that needed scheduled follow up. Only seven of the 30 patients with problems were
ordered to be scheduled for chronic clinic or other appointments for follow up; This appears to be due to
failure to include in chronic care conditions that are not one of the named eight chronic illness clinics.406
The new policy F.02.01 Chronic Care does dictate that all acute and chronic medical conditions are to be
followed in chronic care clinics, but there is no evidence of implementation of this policy.

The Monitor continues to find problems with the quality and frequency of chronic care visits on mortality
reviews. Existing physician staffing deficiencies, evident in those reviews, remains a significant problem
that does not permit patients to be timely or adequately evaluated for their chronic conditions.407

IDOC does not specifically assign nurses for chronic care support. The only information provided was
by the vendor for 10 facilities. Of those ten facilities only one nurse was dedicated to chronic care and

402
    A PharmD is a PhD pharmacist. In Illinois, PharmDs are licensed to prescribe medications on a limited basis.
403
    Evaluation of the diabetic foot in UpToDate updated January, 2024
404
    American Diabetes Association Retinopathy, Neuropathy, and Foot Care: Standards of Care in Diabetes – 2024 In
Standards of Care December 11, 2023 as found at https://diabetesjournals.org/care/article/47/Supplement_1/S231/153941/12-
Retinopathy-Neuropathy-and-Foot-Care-Standards
405
    Dixon CQI minutes May 2023.
406
    TB prophylaxis, HIV telemed, diabetes, asthma/pulmonary, hypertension/cardiovascular, seizure, general medicine, and
hepatitis c.
407
    Mortality review patients #1, #2, #3, #4, #5, #7, #9, #10, #11, and #12



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that nurse was an LPN. All the remaining nine nurses assigned to chronic care have other duties.

The Monitor reviewed records for 21 patients who had 61 chronic clinic visits. Review of these records
continue to demonstrate that chronic care is task-oriented with providers merely ensuring that the patient
is seen. Quality of these visits is not good or consistent with standard of care. Only one of the histories
was minimally adequate. Eighteen of 21 records were for diabetes. Two patients were also evaluated by
UIC clinicians. The histories present in the UIC evaluations can be compared with the histories taken by
IDOC providers for examples of deficiencies in IDOC care. For persons with diabetes, there was typically
no history regarding episodes of hypo or hyperglycemia since the last visit nor for other symptoms of
diabetes. The medication history was mostly documented with the statement “see MAR”. There was no
discussion regarding whether the patient was receiving medication; was having side effects of the
medication; or whether the medication was effective. Laboratory results were often documented but
abnormal tests were often not included in the assessment. For example, patients with hypertension and
GFR below 60 or with elevated microalbumin indicating likely chronic kidney disease did not have the
abnormality acknowledged in the IDOC assessment, nor was follow up for possible chronic kidney disease
conducted in chronic care.408 In the 18 charts reviewed for diabetes retinal examination was performed in
14 (78%) of patients. However, microalbumin was annually performed in only one patient and none of
the 18 patients had an adequate foot examination to include checking for neuropathy. Assessments and
plans did not include all diseases. The complete lack of evaluation for neuropathy and an annual diabetic
foot examination calls for training.

In summary, IDOC has promulgated but has not yet implemented a chronic care policy. It will be
challenged to do so because it has not analyzed its current program, does not understand the scope of
changes that need to be undertaken, and has not analyzed the staffing needs related to this program
including physician, mid-level provider, nursing, and support staff necessary to undertake the necessary
changes. Some improvements are notable particularly the initiative to have UIC manage diabetes care
over telemedicine. IDOC’s attempt in drafting clinical guidelines is not recommended by the Monitor
because of lack of expertise in guideline development. Because IDOC must use the guidelines of others,
the Monitor recommends creating a direct linkage to UpToDate into the electronic record. For these
reasons, a partial compliance is still warranted.

RECOMMENDATIONS:

        1. Use national standards as guidelines for care instead of writing guidelines for all common health
           conditions. The Monitor strongly recommends creating a link to UpToDate in the new electronic
           record so that this service can be accessed at any device that can access the medical record.
        2. Support for chronic disease management needs to improve as soon as possible.
        3. For physicians without appropriate credentials based on Consent Decree requirements, monitoring
           should be done to ensure that they are capable of managing patients according to contemporary
           standards.
        4. When any provider does not know specifically how to manage a patient’s condition, the provider
           should refer to a higher level provider or refer the patient to an appropriate specialist for
           management consultation, including for gerontology.



408
      Chronic care patient #1, #6, #7, #8, #12, #16, #18, #20



                                                                                                        155
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       5. Discontinue prescribing sliding scale Regular Insulin with 70/30 insulin for insulin requiring
          diabetics409.
       6. A team approach to chronic care needs to be instituted. Daily and weekly huddles need to be
          instituted to improve communication amongst staff. Huddles should include nursing, schedulers,
          and a pharmacist.
       7. The Monitor encourages the expansion of the UIC diabetes program.



Urgent and Emergent Care
Addresses Items II.A; II.B.1; II.B.6.b; III.E.4; III.G.1; III.G.2; III.G.3; III.G.4
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
II.B.6.b. IDOC agrees to implement changes in the following areas: Urgent care;
III.E.4. The medical records staff shall track receipt of offsite medical provider’' reports and
III.G.1. Each facility HCUA shall track all emergent/urgent services in a logbook, preferably
electronic.
III.G.2. Appropriate medical staff shall have the obligation to determine whether a situation is urgent
or emergent.
III.G.3. IDOC shall use best efforts to obtain emergency reports from offsite services when a prisoner
returns to the parent facility or create a record as to why these reports were not obtained.
III.G.4. Facility medical staff shall ensure that a prisoner is seen by a medical provider or clinician within
48 hours after returning from an offsite emergency service. If the medical provider is not a clinician, the
medical provider shall promptly review the offsite documentation, if obtained, with a clinician and the
clinician shall implement necessary treatment.

OVERALL COMPLIANCE RATING: Partial compliance

FINDINGS:

The following documents were requested by the Monitor for this report:
      •   List of all emergency medical response bags from Graham, Pinckneyville, Big Muddy, Lawrence, and
          Decatur. The list should identify the facility, the location of the bag, the contents of the bag including
          medication, and whether the bag is sealed and if so, how.
      •   Documentation from each facility of inspections of emergency response equipment and supplies.
          Typically, this would be a copy of the inspection logs for the emergency equipment.
      •   Log of persons seen for an emergency onsite but who were not sent to a hospital for Q4 2023 and Q1 2024.
      •   The date, time, location, and subject of any medical emergency response drills conducted at each facility
          during Q4 2023 and Q1 2024, including the debriefing and review documents.410


409
    This is not discussed in this report but has been discussed in prior reports. If IDOC has any questions about this
recommendation, they should contact the Monitor for explanation.
410
    Monitor’s documentation request dated 2/29/2024, items 76, 88, 89, 105, 106.



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The last report described updates to Administrative Directive 04.03.108 Response to Medical
Emergencies and the effort by OHS to establish policy and procedure regarding the medical response
during emergencies.411 Three policies and procedures regarding emergency services have been finalized
and were distributed for implementation at the facilities 2/1/24. These are D.01.01 Emergency Plans and
Drills, E.08.01 Emergency Services, and E.09.01 Facility Emergency Response. These policies and
procedures establish expectations for changes in emergent/urgent services that are consistent with II.B6.b,
III.E4, III.G.1-4 of the Consent Decree. The Monitor recommends that more direction be given in D.01.01
Emergency Plans and Drills on the subjects that must be addressed in the emergency response plans.412
Also in the procedure, section CC, appears to have left out the duties of the facility medical director in
managing care during a medical emergency. The Monitor’s recommended language on the draft should
be added to this section to address III.G.2 of the Consent Decree about the obligations of medical staff in
determining the urgency of medical response.413

From review of the facility Quality Improvement Minutes, it is clear that implementation of the policy
changes in emergency services has yet to be accomplished.414 None of the 30 facilities reporting provided
logs of requests for urgent or emergent health care attention with information about the response.415 During
the site visit to NRC we observed that the HCUA was piloting a log to track onsite emergency responses.
Ten facilities do not appear to keep a log of emergencies sent to the emergency room.416 Thirteen of 20
facilities which keep a log, track whether a report was received from the emergency room about the
patient’s evaluation, care and further treatment recommendations and only 11 track whether the patient
was seen by a provider upon return. There is no evidence that facility medical directors review the records
of a sample of patients receiving emergency care to identify opportunities to improve and that these are
discussed at facility quality council meetings.417

Nineteen of 30 facilities reported on emergency response at quality meetings during the period
reviewed.418 We also reviewed the report of emergency response drills and critiques of mass casualty
drills submitted by 18 of 30 IDOC facilities.419 Only seven facilities include any substantive critique or
discussion of areas to improve. Four of these sites only critique whether the response was timely, and the
proper equipment was brought to the site and do not include any demonstration of knowledge or skills

411
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27,2023 page 112.
412
    Administrative Directive 04.03.108 Response to Medical Emergencies does not require a plan for emergency medical
response. NCCHC D-07, Compliance Indicator # 3 lists the subjects to be included in the emergency response plan. This is
also consistent with OHS stated goal of standardization.
413
    The Monitor suggested the addition of these statements to this section of the procedure…” 1. Existing patients with health
conditions are safely managed and transported safely to secure locations as required. 2. Infection control measures are
enacted if the emergency includes infectious or communicable disease agents. 3. Appropriate triaging of injured occurs with
follow up staging of injured into cohorts with referrals for higher level of care needs as required. 4. Management of medical
aspects of the emergency including exposures, inhalation injuries, traumatic injuries, etc. 5.Coordination with local area
hospitals or public health partners as needed.
414
    The minutes of quality improvement meetings and logs from January 2024 through June 2024 were reviewed for this
report. This is the period before during and after the Medical Policy and Procedure Manual was finalized and distributed for
implementation.
415
    Medical Policy and Procedure Manual E.09.01 Facility Emergency Response, Procedure II. E.
416
    Big Muddy, Danville, Dixon, IRCC, JITC, Lincoln, Logan, Pinckneyville, Southwestern and Taylorville. Documents
provided by Western would not open.
417
    Medical Policy and Procedure Manual E.09.01 Facility Emergency Response, Procedure III. C.-E.
418
    January 2024 – June 2024.
419
    Monitor’s documentation request dated 2/29/2024, #106.



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competency in delivering medical care in an emergency.420 The recently distributed policy and procedure
D.01.01 Emergency Plans and Drills now stipulates that drills are to include:
    • a medical assessment of any patient identified with a medical emergency,
    • the determination of medical interventions and the sequence with which they are to take place,
    • use of equipment and supplies, and
    • practice determining the need for EMS and summoning such help as well as notification of the
       chain of command.
Full implementation of this policy will demonstrate staff proficiency in the clinical response to medical
emergencies.421 Eight facilities reported having a mass casualty drill during the time period of this report.
Five facilities reported a critique of the drill and three identified strengths and weaknesses in the
response.422 These critiques should be reviewed by OHS to determine statewide training and development
plans.

Previous reports have discussed the variation from facility to facility in emergency supplies and
equipment.423 The list of the contents of emergency bags provided for this report evidences continued
variation.424 Of four facilities which responded to the Monitor’s document request, only Decatur, used the
standardized list attached to E.09.01 that was made effective October 2023. The contents listed by Big
Muddy differ from the standardized list in that it does not include ammonia inhalant, regular and large
blood pressure cuffs, cervical collar, Coban (self-adherent bandage), eye wash solution, glucometer, strips,
lancets, instant ice pack, normal saline, oval eye pads, pulse oximeter, stethoscope or tongue depressors.
The list from Big Muddy includes several items that are not on the standardized list (splint, endotracheal
tube, etc.). The same was found with the lists provided by Graham and Pinckneyville as well. It may be
that these items are available in the health care unit but not in the emergency response bag. However, this
variation defeats the purpose of standardization which is to facilitate timely and effective clinical response
to an emergency.

The emergency bag at Northern Reception Center was observed during the site visit June 3-4, 2024, and
was not consistent with the standardized list. We were told that there have been delays in getting the bags
made by Corrections Industries and therefore standardization of the equipment and supplies has also been
delayed. During the site visit one finished bag was delivered to the facility and stocked consistent with the
standardized list attached to E.09.01. The plan is to provide each facility with one bag each. Additional
bags would be made available as they are manufactured.

420
    Critiques limited to timeliness and equipment were reported by Big Muddy, Graham, Menard, and Vandalia.
421
    Consent Decree II.B.3 trained clinical staff…and oversight by qualified professionals and II.B.6q assessment of staff
competency and performance.
422
    Mass casualty drills were reported in CQI minutes reviewed by Big Muddy, Centralia, Hill, Menard, Murphysboro, and
Vienna. Both NRC and Stateville completed mass casualty drills which were reviewed as part of the Monitor’s site visit June
3-5, 2024. The critique by NRC was written by a Major; there was no input by medical staff. The documentation of the mass
casualty drill at Stateville was well done and critiqued by the medical director. The description and critique of mass casualty
drills were also received from Lawrence, Southwestern, Dixon, Lincoln, Robinson, and Sheridan. The critique was not
discussed at the quality improvement meeting. The most common area identified for improvement was that no member of
the responding health care staff took charge to direct the response. It is important to review these critiques to identify training
and development needs.
423
    Health Care Monitor 4th Report, Lippert v Jeffreys, September 16, 2021, page 118, Health Care Monitor 6th Report
Lippert v. Jeffreys, March 13, 2023, page 93, Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page
113.
424
    A list of the contents of emergency medical response bags were received from Graham, Pinckneyville, Big Muddy, and
Decatur. Lawrence sent the list of contents in the first aid kits which was not responsive to the request.



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Most facilities provided documentation of the inspections of emergency response equipment and
supplies.425 However there is no standard or consistent pattern as to when the inspections are done, what
is included, and how the inspection is documented. Policy and procedure E.09.01 establishes expectations
for inspection of emergency equipment426 which have not been implemented by facilities. Inspections are
completed each shift only at Kewanee and Robinson. Other sites inspect daily or monthly, which is not as
frequent as required by the policy and procedure. Some sites only require the initial of the person
completing the inspection when the new procedure requires date, time, signature and credentials.

Eleven facilities track the date the patient is seen by a provider upon return to the facility after being sent
to the emergency department. The Consent Decree requires patients to be seen within 48 hours of return.
These logs were reviewed to evaluate the extent of compliance with this requirement and the findings are
in the following table. Not quite half the patients sent out for an emergency from 11 facilities which report
this information are seen within 48 hours of return to the facility.

                                             #           #    seen    by
                                             reviewed    provider within     % met 48 hour
                            Facility         on log      48 hours            expectation
                            Menard           30          29                  97%
                            East Moline      17          14                  82%
                            Vandalia         24          16                  67%
                            Kewanee          5           3                   60%
                            Murphysboro      5           2                   40%
                            Vienna           13          5                   38%
                            Decatur          9           3                   33%
                            Lawrence         36          10                  28%
                            Stateville       54          11                  20%
                            JTC              38          6                   16%
                            Sheridan         15          2                   13%
                            Total            246         101                 41%



Eight mortality records were reviewed for this section of the Monitor’s report because each included one
or more emergency response episodes. Each of these deaths preceded implementation of the new policies
and procedures. In two of the records documentation of the response included a timeline.427 Three of the
records reviewed had no documentation by the staff who responded to the emergency.428 In two of the
deaths cardiopulmonary resuscitation was not started promptly.429 Clinically inappropriate decisions were

425
    Facilities that did not respond or the information provided was not responsive to the Monitor’s documentation request # 89
were Danville, Dixon, Jacksonville, Lawrence, Murphysboro, Pontiac, and Southwestern. Actual practices at these sites
should be reviewed to ensure that at least some sort of inspection of emergency equipment is taking place.
426
    Procedure section I. D- F. Two inspections are required one that takes place at the beginning of each shift to verify that
equipment and supplies are available and in working order. The second inspection is done monthly and includes an inventory
of the first aid kits and emergency bags, exchange of expired medications and supplies as well as verification that all life
support equipment is operable.
427
    Urgent/Emergent services patients # 5 and 6.
428
    Urgent/Emergent services patients # 3, 7 and 8.
429
    Urgent/Emergent services patients # 1 and 5.



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made in the response to two of these patients. One was a patient with cancer who was refusing further
work up and treatment and had signed a do not resuscitate order six days earlier who was found in his cell
unresponsive to verbal stimuli. His blood glucose was 23, which is very low. He was treated for
hypoglycemia for four hours at the facility without improvement. He was then sent to the emergency
room. The patient’s wishes for comfort measures at end of life were not honored.430 Another patient was
only 21 years old and had been recently diagnosed with angioedema. He had been treated on numerous
occasions for allergic symptoms prior to his death, including hospitalization less than a month earlier for
swollen tonsils and difficulty swallowing. The day of his death he had been seen at 8:45 am for swollen
tonsils. The facility physician was contacted and directed the nurse to place him in the infirmary for
observation. At no time in the next few hours did the physician evaluate the patient nor were the staff
prepared to initiate airway support. He should have been sent to the emergency room when the physician
was first contacted. The physician failed to identify the urgency of the patient’s condition.431

Since the last report IDOC has established in policy and procedure the following expectations:
    • The response to medical emergencies and documentation thereof has been standardized.432
    • The emergency equipment and supplies for urgent/emergent medical response have been
        standardized.433
    • Information about delivery of urgent/emergent care will be tracked.
    • The type of documentation and reports to be requested from offsite service providers has been
        clarified.
    • Urgent/emergent responses will be reviewed to identify the follow up needed by patients, any
        problems with the response, and opportunities to improve primary care.434
There is little evidence yet that facilities have implemented the changes required by these policies. OHS
has not evaluated the need for staffing and training necessary to ensure urgent/emergent services are
delivered consistent with the policies nor how competency in clinical response to medical emergencies
will be evaluated.435

RECOMMENDATIONS:
  1. Prioritize implementation of D.01.01 Emergency Plans and Drills, E.08.01 Emergency Services
     and E.09.01 Emergency Response on the Facility.
  2. Address and implement other improvements in urgent emergent heath care that are in the
     Implementation Plan, Items 72 and 94. 436
  3. Use the opportunities identified by the Morbidity and Mortality Committee to build the staff
     training program for emergency response and competency evaluation.
  4. The accuracy of the information documented in the logs need to be verified by an audit of patient
     records on a quarterly basis with corrective action as necessary until sustained performance is
     demonstrated.
  5. Follow up appointments after patient’s return from offsite emergency services or hospitalization


430
    Urgent/Emergent services patient # 6.
431
    Urgent/Emergent services patient #2.
432
    Implementation plan task 94, item 1.
433
    Implementation plan task 72, items 1 and 2.
434
    Implementation plan task 94, items 3-5.
435
    Implementation plan task 72, items 2 and 4; task 94, items 1, 2, 6.
436
    These are training staff and validating competency in emergency response and determining the staffing necessary to
implement the requirements of the new policies and procedures.



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      should include the patient to review the findings and discuss any updates to the treatment plan.
      Consider using telehealth technology to accomplish these encounters especially on weekends and
      at smaller facilities with relatively healthy populations and less frequent onsite provider presence.
      A review of records without seeing the patient is not sufficient.

Infirmary Care
Addresses Items II.A.; II.B.1; II.B.6.k; III.I.1-5
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of Corrections
with serious medical or dental needs. Defendants shall ensure the availability of necessary services,
supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
II.B.6.k. IDOC agrees to implement changes in the following areas: Appropriate staffing, physical
conditions, and scope of services for infirmary care;
III.I.1. A registered nurse will be readily available whenever an infirmary is occupied in the IDOC system.
III.I.2. At every facility regularly housing maximum security prisoners, there shall be at least one
registered nurse assigned to the infirmary at all times, twenty-four (24) hours a day, seven (7) days a
week.
III.I.3. All facilities shall employ at least one registered nurse on each shift. If a prisoner needs health
care that exceeds the IDOC infirmary capabilities, then the prisoner shall be referred to an offsite service
provider or a hospital.
III.I.4. All infirmaries shall have necessary access to security staff at all times.
III.I.5. All infirmaries and HCUs shall have sufficient and properly sanitized bedding and linens.

OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:

The Monitor requested the following information from IDOC to review for this report:
   • List any new contracted consultants including the expert to evaluate the needs of the aged and
      infirm.
   • A list of allocated/budgeted medical positions (also noting FTE) vacancies for each position at
      each facility to include IDOC and Wexford positions.
   • For providers, the documentation of assignments for intake health assessments, infirmary rounds,
      urgent care clinic and chronic clinic for the month of February 2024.
   • List the name and credential (RN, LPN, NA) of every individual assigned to work in the infirmary
      for any 7 day period in February 2024 at NRC, Graham, Menard, Logan, Stateville, Lawrence,
      Illinois River, Pinckneyville, and Pontiac. The list must include nursing staff employed by the
      State and the vendor.
   • Provide the job description or post assignment of any correctional officer posts regularly assigned
      to cover the infirmary at NRC, Graham, Menard, Logan, Stateville, Lawrence, Illinois River,
      Pinckneyville, and Pontiac.
   • For each facility, a list of patients in the infirmary on 2/29/24, to include the name, age, DOC#,
      diagnoses, and date of admission to the infirmary.




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      •   A description of any training or consultation provided to personnel responsible for infirmary care
          concerning dementia care, dysphagia, mobility impairment, fall prevention, skin care, aging, and
          safety and sanitation on the inpatient unit.
      •   Any assessment completed on the utilization of infirmary beds or barriers to access infirmary level
          care.437

In addition to the above, the Monitor reviewed information that pertained to infirmary services with regard
to new arrangements with academic centers, adverse events and corresponding corrective action, death
records and mortality reviews, and quarterly quality improvement reports.

II.B.6.k. Infirmary Care: Appropriate Staffing, Physical Conditions, and Scope of Services

IDOC distributed a policy and procedure on Infirmary Care (F.04.01) in February 2024 which defines the
scope of services as interdisciplinary services appropriate to maximize the quality of life and functional
status of individual patients and to reduce morbidity and mortality. The infirmary may also be used to
prepare patients for diagnostic testing or follow up after hospitalization when greater access to nursing
attention is needed than can be provided in general population.

The policy and procedure defines the responsibilities of the facility medical director to monitor the quality
and continuity of care and the HCUA’s responsibilities to ensure that sufficient resources are available to
meet patient’s needs. The staffing specified is consistent with III.L.1-4 of the Consent Decree. Procedures
for the admission, continued stay, and discharge from the infirmary are established. In addition, reporting
requirements have been established that include use of infirmary beds for non-medical reasons, utilization
statistics, staffing available, adverse event reporting, backlogs, etc. There was no evidence from the site
visits to Stateville and NRC in June 2024 that the policy and procedure had been implemented. OHS
informed the Monitor that these new policies and procedures are being reviewed with site leadership and
the facilities are expected to implement them as they are able.

The completion of F.04.01 Infirmary Care accomplishes items 3, 6 and 8 included as part of part of task
#71 in the Implementation Plan. Part of item 10 is accomplished with the new reporting requirements for
infirmary services. However, performance monitoring tool(s) have yet to be developed.438 Assessment of
non-medical reasons for use of infirmary beds has not been completed.439 Nor has information on reasons
for backlogs in access to infirmary beds and the number of infirmary beds needed has not been
established.440 There has not been any evaluation of the staffing or other resources needed to deliver
infirmary care consistent with the IDOC policy and procedure. No particular education has been provided
to enhance staff performance in areas that are especially important in the care of infirmary patients, such
as fall prevention, mobility impairment, dysphagia, geriatrics or cognitive impairment, etc.441 It does not
appear that any additional resources have been allocated to improve infirmary services.

Charts reviewed in preparation of the 8th Report depict the same problems with clinical care and support
437
    Monitor’s documentation request dated 3/4/2024, items 8, 10, 60, 63, 65, 107 – 109. With the exception of 108 and 109, at
least a partial response to each request was received.
438
    IDOC does have a tool to monitor adherence to the Administrative Directive 04.03.120 on infirmary services, but nothing
has been developed to coincide with the policy and procedure F.04.01.
439
    Item 1 of Task #71.
440
    Items 2 and 4 of Task #71.
441
    Items 5 and 7 of Task #71.



                                                                                                                        162
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services for patients needing infirmary care that have been discussed in previous reports.442 These
problems include failure to provide clinical care that is appropriate and responsive to the patient’s medical
needs443 and unsafe practices that put patients at risk of adverse events.

The Monitor reviewed the information provided by facilities about patients in the infirmary on 2/29/24,
which included the name, age, DOC#, diagnoses, and date of admission to the infirmary.444 On that day
65% of the infirmary beds available statewide were filled, however eight facilities were more than 80%
filled with five having no beds available.445 Forty percent of the available infirmary beds had been
occupied by the same patient for more than 30 days. Twenty-six percent of the infirmary beds were
occupied that day by patients who had been in the infirmary more than three months and of these 40
patients had been in the infirmary for more than one year.




442
    Health Care Monitor 4th Report Lippert v Jeffreys (September 16, 2021) pages 123-130; Health Care Monitor 5th Report
Lippert v Jeffreys (July 22, 2022) pages 111-112; Health Care Monitor 6th Report Lippert v. Jeffreys, March 13, 2023, pages
104 – 108; Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, pages 120-121 .
443
    Infirmary patients # 1 – 7, 9, 12.
444
    Decatur (15 beds) and Southwestern (5 beds) did not respond. Taylorville and Western provided information but did not
include the patients date of admission. These facilities were excluded from the analysis. JITC was also excluded from the
analysis. No additional information has been provided about the scope of services and structure of the new facility planned for
Joliet, Illinois despite repeated inquiries from the Monitor. This facility was originally to have included 50-52 new medical
beds. It had only one patient in the infirmary on 2/29/2024. It does not appear to be running at full capacity yet and its mission
remains unclear.
445
    Facilities with more than 80% of the infirmary beds filled on that day were Big Muddy, Hill, Lincoln, NRC,
Pinckneyville, Robinson, Shawnee, and Vandalia.



                                                                                                                             163
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                                Infirmary Census and Patient Length of Stay on 2/29/2024
                                                       % Infirmary                   More        More        More
                                                       beds           Available      than  1     than 90     than 1
         FACILITY             Capacity Census          occupied       beds           month       days        year
         BIG MUDDY            18           15          83%            3              1           1           3
         CENTRALIA            18           11          61%            7              2           4           0
         DANVILLE             15           10          67%            5              2           5           2
         DIXON                28           17          61%            11             2           0           8
         EAST MOLINE          16           3           19%            13             0           0           2
         GRAHAM               21           6           29%            15             0           3           0
         HILL                 16           16          100%           0              0           2           2
         JACKSONVILLE         8            1           13%            7              5           0           1
         KEWANEE              4            2           50%            2              0           0           1
         LAWRENCE             14           9           64%            5              0           0           4
         LINCOLN              8            7           88%            1              2           2           0
         LOGAN                15           11          73%            4              0           0           2
         MENARD               26           12          46%            14             1           3           0
         NRC                  20           20          100%           0              14          3           2
         PINCKNEYVILLE 12                  12          100%           0              1           4           4
         PONTIAC              12           7           58%            5              2           1           1
         ROBINSON             8            7           88%            1              2           0           1
         SHAWNEE              15           15          100%           0              2           5           4
         SHERIDAN             10           5           50%            5              2           0           2
         STATEVILLE           25           13          52%            12             1           9           1
         VANDALIA             9            9           100%           0              4           2           0
         Totals               318          208         65%            110            43          44          40
         Percent of all beds                                                         14%         14%         13%
         Percent beds occupied by patient 3 months or more                                       26%

The Assistant Warden at NRC initiated a weekly meeting with the facility medical director and the
Northern Region Medical Coordinator to identify persons who were in the infirmary only because of a
disability that prohibited their assignment elsewhere. They work with the Transfer Coordinators Office to
find other facilities which have acceptable beds and coordinate the transfer. This is an excellent example
of managing infirmary bed utilization.446 Both the Regional Coordinator and Medical Director reported
that they spend considerable time each working day attempting to find facilities who will accept patients
with disabilities or who require use of medical devices (CPAP machines, oxygen, wheelchairs etc.). The
Monitor recommends that OHS examine what can be done to facilitate the identification of appropriate
housing and safe transfer of these individuals. It appears that the Regional Coordinators would benefit
from access to the offender management system, 0360, and that facilities should not have the ability to
electively refuse to take individuals identified for transfer.


446
  The new policy and procedure has several tasks and reports that should assist with monitoring of utilization by the facility
medical director, HCUA, and Regional Medical Coordinators.



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The Monitor rounded on patients in the 20 bed infirmary at NRC during the site visit in June.447 Six of
these patients were on watch and another was on a hunger strike. Three patients had long standing
conditions that required more extensive nursing care (complete nursing care, wound care, oxygen etc.).
Three patients were undergoing specialty care and required closer medical supervision. Rounds were
also completed on 18 patients in the 25 bed infirmary at Stateville. Eight of these patients had requested
early release under the Joe Coleman act.448 One patient had recently been denied his request for release.
Ten patients were receiving care from specialists in the nearby area. Seven patients needed primarily
nursing care and sheltered living. Only one patient was ready for discharge. At these two facilities 20
percent of the infirmary beds are occupied by patients with long term debilitating conditions requiring
access to nursing care, physical therapy, and sheltered living. There were no patients inappropriately
housed or in an infirmary bed for “security reasons” at Stateville or NRC.

The monthly CQI minutes from Menard, Pontiac, and Centralia document the use of infirmary beds for
what appear to be non-medical reasons. From January through May 2024 the CQI minutes from Menard
document an average of 10 persons placed in the infirmary on “Security Hold” each month. Centralia
appears to place persons in the infirmary on “Security Hold” when on hunger strike. It may be appropriate
to admit someone to the infirmary when for medical reasons that level of monitoring and care is medically
necessary but not by security as a routine practice. Pontiac provided an infirmary log that captures the date
of admission, date of discharge, type of admission and an explanation of every person in an infirmary bed
each month. This shows that the infirmary is used to house parole violators.449 F.04.01 Infirmary Level
Care Policy VII. states “The infirmary shall not be used for placement of patients who are not admitted
for medical or mental health reasons.” IDOC will need to address inappropriate use of infirmary beds for
non-medical reasons once sufficient time has been allowed for the field to implement the new policy and
procedure. The implementation of the new policy and procedure needs to be monitored by the Regional
Medical Coordinators and Deputy Chiefs so that inappropriate practices are identified and alternatives to
use of infirmary beds exercised.

We note that the QI minutes from JITC reflect discussion in April and May 2024 of plans to expand
capacity of the infirmary.450 Apparently the inability to secure nursing staff is preventing this expansion
currently. OHS has been working with interested parties at UIC to re-purpose JITC as a telehealth specialty
hub to increase access to specialty care, especially in the Northern region. It is not yet clear what role
infirmary services will have at JITC and whether there will be any increase in access to this level of care.451

Appropriate Physical Conditions for Infirmary Care

The Monitor has found the space to provide needed services and programs for infirmary patients to be
inadequate at all facilities site visited so far.452 The Facility Master Plan completed by CGL in May 2023

447
    Site visits were June 3-5, 2024.
448
    F.04.01 Infirmary Level Care instructs staff to develop and submit requests for early release for any infirmary patient who
is expected to live less than six months.
449
    For the months January through the middle of March 2024 there were 5 people admitted to the infirmary as parole
violators and 1 was a “writ guest”.
450
    Original plans for JITC included a 50-52 bed medical infirmary- Health Care Monitor 7th Report Lippert v. Jeffreys,
December 27, 2023, page 121.
451
    Notes from the monthly teleconference with OHS on April 18, May 16, and June 19, 2024.
452
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 120. These are Dixon, Lincoln, Logan,
Robinson, Shawnee, and Graham.



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documented that the health care area was undersized or poorly designed in 23 of IDOC’s 30 prisons. Even
though this was not a study of the specific needs of the incarcerated population for access to health care it
does point to the magnitude of the problem in achieving appropriate physical conditions for delivery of
care in the infirmary setting.

In the spring of 2024 Stateville was slated for closure as part of the broader initiative to address the aged
and deteriorating infrastructure of IDOC prison facilities. Since the Governor announced these plans, a
federal judge issued an order that all incarcerated persons be transferred elsewhere by 9/30/24. The only
exception are those housed in the health care unit.453

The Monitor considers the infirmary at Stateville uninhabitable due to ongoing maintenance issues that
are infection control and patient safety concerns and the lack of programming space for long-stay
patients.454 During the visit to the infirmary at Stateville we noted additionally that the negative pressure
rooms were not functional for several months this year and that the nursing station does not offer direct
line of sight into the patient rooms. One of the provider’s interviewed reported that examinations of
patients were done at the bedside because there was no exam room available and that there was no working
ophthalmoscope on the unit.

NRC’s infirmary has 20 beds. Eight of these are single rooms used for mental health or crisis watch. The
medical beds consist of six two-person rooms and no single rooms. When a patient requires a single room
the infirmary capacity is reduced by one because the other bed is not accessible. On the day the infirmary
at NRC was toured one of these rooms was not operational, two rooms each housed only one patient for
clinical reasons. Therefore, the infirmary capacity was reduced by four or 8 patients total. This infirmary
has a large open nurses station but only the mental health rooms have visual access from the nurses station.
There is no open area or dayroom for use by long-stay patients. There is no exam room in the infirmary.
If patients are examined it is at bedside or they are scheduled in the clinic.455 This is cumbersome and
inefficient and is an obvious barrier to good clinical practice based upon review of documentation that
seldom includes any examination.

Appropriate Staffing for Infirmary Care

Physician Staffing
Provider staffing practices have not changed since the prior report. There has been no workload analysis
to determine the number of physicians needed to adequately care for patients needing infirmary level
care.456 Since 2019 the total number of physician positions have been decreased by three, with no analysis
or rationale to support their elimination. Compounding the problem, a number of the positions are unfilled
or filled with temporary providers. Seven facilities with larger infirmaries have a physician position in


453
    The building housing the health care unit was deemed as habitable because it was not at risk of falling concrete during the
demolition of the general housing units on the Stateville campus. However, the CGL Facility Master Plan Report by CGL –
May 2023 found that this area would need significant renovation, and the campus had significant accessibility issues, page
92.
454
    Infestation by rodents, insects and birds, the presence of legionella in the water, unsanitary conditions for personal
hygiene, and poor ventilation.
455
    The number of exam rooms in the clinic is insufficient already so its use for examination of infirmary patients is
unrealistic.
456
    Step 5 of item 71 in the Implementation Plan with an expected end date of February 2024.



                                                                                                                           166
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addition to the medical director. None of these positions are functionally filled.457 The total number of
working physicians have decreased from 33.75 to 21.255 (a 37% decrease) since 2019.458 Three of the
four facilities which were found noncompliant with AD 04.03.120 Infirmary Services the first six months
of 2024 were without a regular on-site physician and the fourth has a physician who covers several
facilities.459 Eight facilities with infirmaries have no functionally filled medical director and four of these
have infirmaries greater than 15 beds. Over 30% of the infirmary beds available within the IDOC are
without a medical director position that is functionally filled.

              Infirmaries at Facilities without Medical Directors460
                                                       % Infirmary beds        Medical          % Nursing
              FACILITY         Capacity Census         occupied                Director         Vacancies
              CENTRALIA        18           11         61%                     Locums           46%
              EAST
              MOLINE           16           3          19%                     Vacant           28%
              GRAHAM           21           6          29%                     Locums           26%
              KEWANEE          4            2          50%                     Locums           0%
              LAWRENCE         14           9          64%                     Vacant           65%
              MENARD           26           12         46%                     Locums           42%
              ROBINSON         8            7          88%                     Vacant           45%
              VANDALIA         9            9          100%                    Locums           25%
              Total            116          59         51%

Each of the medical directors at Stateville and NRC were interviewed during the site visit in June 2024.461
One said that she did infirmary rounds when she was told; another physician, who works part time, did
infirmary rounds twice a month. The other medical director works 30 hours a week, rather than full time.
She had no knowledge of the new policies and procedures, including the one on infirmary care. She
reported spending the majority of her time attempting to find appropriate placements at other IDOC
facilities for disabled and medically needy patients. At neither Stateville or NRC is there a physician with
primary responsibility for the ongoing care of patients in the infirmary, or for the quality and continuity
of services provided by the infirmary. Instead, individual providers are assigned or appointed to make
rounds and address any immediate issues. The result is episodic care without management of underlying
chronic conditions to achieve maximum possible improvement.

As an example, one of the patient records reviewed during the site visit was a 62 year old who was a long-


457
    These facilities are Centralia, Dixon, Logan, Menard, NRC, Pontiac, and Stateville.
458
    These data come from the Staffing Analysis 11/23/19 provided by IDOC and from the vendor’s staffing data provided in
June of 2024.
459
    CQI minutes January through June 2024 were reviewed. Locums providers were not counted as functionally filling the
physician position. These facilities were Centralia, Lawrence, and Sheridan. The fourth facility was Pinckneyville which is
staffed by a physician who was covering several facilities at the same time.
460
    The infirmary census is from the information sent in response to the Monitor’s documentation request #107, the census in
each facility’s infirmary on 2/29/2024. The staffing information is from what was provided in response to the Monitor’s
documentation request #10 for a list of allocated/budgeted medical and dental positions (also noting FTE) vacancies for each
position at each facility to include IDOC and Wexford positions. Medical director vacancies was from the June 2024
Medical Staffing Report provided by the vendor.
461
    June 3-5, 2024.



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stay infirmary patient.462 His problem list noted ALS v primary lateral sclerosis. He had a history of a
cardiovascular accident with right-sided muscle weakness. He also had back surgery with nerve pain. He
had garbled speech, repeated falls and used a CPAP machine. He was prescribed simvastatin, atenolol,
Lasix, and potassium, although the reason for each of these medications in this patient’s care is not
indicated. In the six months between January and June 2024 the patient fell four times. A physician was
involved only in the most recent fall which resulted in an emergency room visit to treat a head injury.463
During this six month period he was seen multiple times by four different providers. No provider had
primary responsibility for his plan of care.

While the providers’ notes were generally legible and included some elements of a physical exam they
focused only on the most immediate troublesome symptoms (i.e., lower extremity edema) not an
evaluation of the underlying condition(s). While the patient had poor balance, clumsy movement,
weakness of legs, arms, tongue and over time had increasing difficulty chewing, swallowing, and speaking
there is no documentation of a neurology consultation to determine if the patient had ALS or the more
slowly progressing primary lateral sclerosis and no plan to manage the patient’s care consistent with a
diagnosis and its prognosis. His cardiac condition and radiculopathy complicate the picture and may
contribute to some of the patient’s symptoms, making the need for a patient specific plan of care even
more important. Instead, he was treated symptomatically (use of atenolol, Lasix and KCL). The four falls
he had were each adverse events and the first fall should have resulted in a more vigilant fall prevention
plan. This did not happen and after the fourth fall he was just treated episodically for the scalp laceration
and possible head injury.

The mortality reviews provided with this report provide other examples of episodic and uniformed
provider care of patients needing infirmary services. A good example is Mortality Review Patient #1 who
was housed at a facility without a medical director. This patient was hospitalized on 10/2/23 and diagnosed
with acute kidney injury and obstructive uropathy. He was placed in the infirmary upon his return to the
facility on 10/5/23. There was no admission evaluation by a physician and no rounds were completed.
Post hospitalization orders were obtained by phone. He was sent to the hospital on 10/8/23 and 11/22/23
and each time returned to the infirmary. He was in the infirmary for 54 days before his death on 12/5/23
and was never seen in-person by a provider. The last in-person evaluation he had by a provider was on
8/29/23.

The Monitor continues to recommend that UpToDate® be available in each of the exam rooms. Additional
decision support material should be considered in the development of the standardized list of equipment
to be available in every health care unit.464

The Monitor has found that patients in the infirmary were poorly managed by providers in every report so
far. IDOC does not have appropriate physician staffing for infirmary care. As a result, infirmary patients
are still being cared for by nurse practitioners or physician assistants, which the Monitor believes is
inappropriate.

Registered Nurse Staffing
There has been no staffing analysis to establish the number and types of nursing positions that are

462
    Infirmary services patient #1.
463
    At the ED the patient’s laceration of the scalp was sutured and head/spine CTs were negative.
464
    Implementation Plan, item #54.



                                                                                                         168
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necessary to provide nursing care for patients in the infirmaries at IDOC facilities.465 The Monitor has
information on the nursing coverage for 12 of the IDOC infirmaries.466 The size of the infirmary at these
facilities ranges from 8 to 26 beds. All but two facilities staff the infirmary with one RN each shift 7 days
a week.467 This means while the nurse is providing services to persons in another area, the infirmary is not
covered. Registered nurse staffing allocated at these facilities is not based upon any analysis of patient
acuity, nursing interventions required, physical layout, or available support services. Recent QI minutes
from Logan document concern that one nurse position for the infirmary is not sufficient to properly care
for the needs of the patients on the infirmary.468 Every facility reviewed also has nurse assistant positions
but only Stateville specifically assigns one of their positions to the infirmary. It is not clear if nurse
assistants are assigned to assist in the infirmaries at the other facilities.469

In previous reports the Monitor has commented that facilities do not have enough filled positions to cover
the infirmary without use of overtime or agency personnel.470 The State has filled more than 80% of
allocated RN positions; an improvement from previous reports.471 Over the last year the vendor has made
some progress but still reports vacancy rates of more than 65% for registered nurse and LPN positions.472




465
    Step 5 of item 71 in the Implementation Plan with an expected end date of February 2024.
466
    This information is derived from site visits to NRC, Stateville, Graham, Dixon, Shawnee, Logan, Lincoln and from the
nurse assignment sheets provided by Stateville, NRC, Lawrence, Graham, IRCC, Logan, Menard, Pinckneyville, and Pontiac
from February 2024 in response to document request #63.
467
    NRC with a 20 bed infirmary staffs the infirmary with 2 RNs. Lincoln with an eight bed infirmary does not assign a nurse
but the nurses in the clinic cover the infirmary.
468
    May and June 2024. There is no indication in the minutes of an effort to complete an analysis of what is needed; just to
request more help.
469
    The assignments sheets from Stateville are the only ones that indicate one nurse assistant is assigned to the infirmary each
shift. See the Monitor’s 6th report Dixon also assigns one nurse assistant to the infirmary each shift, page 109.
470
    Health Care Monitor 2nd Report Lippert v. Jeffreys, August 6, 2020, page 103, Health Care Monitor 3nd Report Lippert v
Jeffreys, February 15, 2021, page 96; Health Care Monitor 4th Report, Lippert v Jeffreys, September 16, 2021, page 131;
Health Care Monitor 5th Report, Lippert v Jeffreys, June 22, 2022, page 114; Health Care Monitor 6th Report Lippert v.
Jeffreys, March 13, 2023, page 109; Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 123.
471
    Staffing data provided effective June 2024 in response to the Monitor’s document request # 10.
472
    On 6/30/2023 the vendor reported of 263 LPN positions, 199 were vacant (76%). Of 221.4 registered nurse positions
161.4 were vacant (73%). The data for June 2024 has 66% of registered nurse positions vacant and 67% of LPN positions
vacant. While this is an improvement over the last 12 months; the vendor is still not incapable of providing safe levels of
nursing personnel.



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                                               Total Nursing Positions Filled
                                                Vendor               State
                                                            RN
                                                  33%                81%
                                                           LPN
                                                  34%                49%
                                                           NA
                                                  44%               No data

                                                    Total Nursing FTE
                                                  624.4               368
                                                    Total Nursing Filled
                                                   223                277
                                                          % Filled
                                                  36%                 75%

Eleven of 15 facilities where the vendor provides all of the nursing positions have nursing vacancies
exceeding 50%. All but one of these facilities have infirmaries with a total of 148 infirmary beds.473



                                  Facilities with Only Wexford Nursing Positions
                                                    Vacant          % of Total Positions   Number of
                                  Allocated FTE
                                                    Positions       Vacant                 infirmary beds
               Western            34                33.0            97%                    15
               Southwestern       15                13.0            87%                    5
               Logan              46                38.5            84%                    15
               IL. River          30                25.0            83%                    15
               Pinckneyville      37                28.0            76%                    12
               Lincoln            22                16.0            73%                    8
               Danville           29                21.0            72%                    15
               Hill               35                23.0            66%                    16
               Lawrence           40                25.0            63%                    14
               Shawnee            31                18.0            58%                    15
               Big Muddy          33                17.0            52%                    18
               Robinson           19                8.5             45%                    8
               Taylorville        20.4              7.4             36%                    7
               Kewanee            10                0.0             0%                     4
               Murphysboro        1                 0.0             0%                     NA
                                  402.4             273.4           68%                    167



473
  Four facilities in which more than 50% of the nursing positions filled are Robinson, Taylorville, Kewanee, and
Murphysboro (no infirmary) which have a total of 19 infirmary beds.



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Adequate nursing coverage in the infirmary is a function of having the right type of positions, in quantities
sufficient to meet patient needs and the ability to recruit and retain qualified personnel to fill at least 85%
of these positions. While some coverage has been obtained through the use of “as needed” and agency
contract nurses, these temporary personnel do not have the training, experience, or commitment to the
organization to ensure patient care quality and safety. IDOC does not have appropriate nurse staffing for
infirmary care.

Menard, IRCC, and Lawrence are each designated as housing maximum security prisoners and document
the nurse assigned the infirmary also is responsible for another area. At Lawrence, with 14 infirmary
beds, this additional responsibility is for restricted housing. At Menard, with the largest infirmary in the
system, the nurse assigned the infirmary is also responsible for LW474 on the 3p – 11p and 11p – 7a shifts.
At Lawrence the infirmary nurse is assigned PREA evaluations on the 7a to 3p shift and to help with sick
call on the 3p to 11p shift. This practice is not compliant with III.I.2 of the Consent Decree which requires
at least one registered nurse assigned to the infirmary at all times, twenty-four (24) hours a day, seven
(7) days a week. Further, it was noted at IRCC on 2/6/24 no RN was on duty in the infirmary on the 3p to
11p shift.475 No registered nurse on site at the facility was also reported as a problem by Lincoln in the
QI minutes reviewed for this report period.476 This is not compliant with III.I.1 and III.I.3 of the Consent
Decree.477

IDOC has yet to provide evidence of compliance with the staffing requirements of the Consent Decree for
infirmary services. The recently enacted policy and procedure for infirmary services does include
establishment of a daily log or roster of staff assigned to the infirmary which once implemented by the
facilities could be audited to establish compliance with these requirements.478

Access to Physical Therapy
Staffing information provided for this report show an allocation of 4.7 FTE Physical Therapists in June
2024 compared to 5.45 FTE included in the staffing information provided for the 7th report. The reduced
allocation appears to have taken place at Big Muddy and Hill CC. Each of these facilities was allocated
0.5 FTE physical therapists (PT) in June 2023 and a year later are allocated as 0.1 FTE. We could find
no documentation of the rationale for reducing the number of these positions. The number of physical
therapy assistant (PTA) positions allocated has remained the same at 10.7 FTE physical therapy assistants
allocated.

PT services are available at 10 of the IDOC facilities which have a total of 195 infirmary beds. Of the
allocated positions, 71% are filled. As of June 2024, Big Muddy had a vacant PT position (0.1 FTE) and
Lawrence had only filled 4 hours of a 20 hour a week PT position. There were vacant physical therapy
assistant positions at five facilities in June 2024.479

474
    We believe LW refers to a housing unit.
475
    Information provided in response to the Monitor’s document request # 63 List the name and credential (RN, LPN, NA) of
every individual assigned to work in the infirmary for any 7 day period in February 2024 at NRC, Graham, Menard, Logan,
Stateville, Lawrence, Illinois River, Pinckneyville, and Pontiac.
476
    QI minutes from January 2024.
477
    III.I.1. A registered nurse will be readily available whenever an infirmary is occupied in the IDOC system. III.I.3. All
facilities shall employ at least one registered nurse on each shift.
478
    F.04.01 Infirmary Level Care Procedure VIII. C.
479
    Graham had 1.0 FTE vacant, Lawrence had 0.5 FTE vacant, Pinckneyville had 0.5 FTE vacant, Stateville had 1.0 FTE
vacant, and NRC had 1.0 FTE vacant.



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Only four of the 10 facilities with PT services provide any report of utilization.480 Of these, only NRC
reports how many encounters were infirmary patients.481 Nearly a third of all PT encounters are with
infirmary patients at this facility. The Monitor strongly recommends that the number and type of PT
services provided be reported by facilities monthly. The NRC report should be used as the template.

The space for physical therapy was reviewed during the Monitor’s site visits to NRC and Stateville in
June 2024. Neither area was found to be of sufficient size and equipment. See comments in the section on
clinical space earlier in this report.

There are still 16 facilities with a total of 170 infirmary beds which do not have any allocated physical
therapy positions. One of these, East Moline, with a 16 bed infirmary, documents an average of 42 off-
site PT encounters a month. An ASR was submitted for on-site PT in January 2024 and six months later
had yet to receive a response. The population in the infirmary on February 29, 2024, was reviewed and
two facilities stand out as having concentrations of patients with long stays who would likely benefit from
access to PT services.482 These are Danville where half of the patients in the 15 bed infirmary had been
for more than 90 days (two more than one year) and Shawnee which had nine patients in the 15 bed
infirmary more than 90 days (four more than one year). The Monitor recommended IDOC assess the actual
need of patients for access to physical therapy, particularly at facilities with populations of 900 or more.483
Both Danville and Shawnee have populations greater than 900.484 First discussed in the 5th Report, there
are still many facilities where patients do not have access to this service.485




480
    Facilities which report PT service statistics include Dixon, Hill, NRC, and Stateville.
481
    Each month an average of 31 PT encounters are with infirmary patients
482
    Information provided in response to the Monitor’s documentation request #107.
483
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 124. The Monitor recommended that the
needs of patients at all facilities be assessed but emphasized those with populations greater than 900.
484
    Illinois River, Taylorville, and Western did not respond to the request for information or sent incomplete information.
They each have populations greater than 900 and may have concentrations of long-stay patients in the infirmary but were not
considered in this review as a result of the lack of information.
485
    Health Care Monitor 5th Report Lippert v Jeffreys (July 22, 2022) pages 114-115. As of May 31, 2024, there are more
than 10,000 individuals in IDOC facilities who do not have access to onsite physical therapy services by virtue of their
facility assignment. IDOC Quarterly Report, July 1, 2024.



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                              Facilities with Infirmaries without Physical Therapy Services
                                    Population     Infirmary       LOS more        LOS more       LOS more
                                    5/31/24        Census          than a month    than 90 days   than 1 year
                  Centralia         1160           18              2               4              0
                  Danville          1648           15              2               5              2
                  Decatur           331            5               No information provided
                  East Moline       469            16              0               0              2
                  IL River          1712           15              No dates provided
                  Jacksonville      491            8               5                0             1
                  Kewanee                          4               0                0             1
                  Lincoln           784            8               2                2             0
                  Pontiac           587            12              2                1             1
                  Robinson          1134           8               2               0              1
                  Shawnee           1423           15              2               5              4
                  Sheridan          1245           10              2               0              2
                  Southwestern      510            5               No information provided
                  Taylorville       1128           7               No dates provided
                  Vandalia          507            9               4               2              0
                  Western           1478           15              No information provided
                  Total             14607          170             23               19            14


There were two patients among those included in the Monitor’s mortality reviews for whom access to
physical therapy was problematic. Both were housed in facilities which do not have on-site PT staff.486
The Monitor recommends that a guideline be established for referrals to physical therapy. The guideline
should specify that any patient who is not receiving end of life care but is likely to be in an infirmary
longer than 30 days receive an evaluation by a physical therapist for fall risk and a plan to prevent
deconditioning and loss of function.

III.I.4 Access to Security Staff in the Infirmary
The Monitor’s suggestion that a log be used to document security staff assigned to the infirmary was
incorporated into IDOC F.04.01 Infirmary Level Care. When this documentation can be provided it will
serve as evidence of compliance with III.I.4 of the Consent Decree. Each of nine facilities provided the
requested descriptions of correctional officer posts assigned to the infirmary and HCU more generally.
Each of these facilities has at least one post dedicated to the infirmary at all times. Usually, a second post
is assigned to the clinic area as well.




486
      Mortality review patients #1 and 12. The facilities were Centralia and Pontiac.



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                  Correctional Officer Posts Assigned to the Infirmary and HCU
                  Facility           Post name                              Post #             Shift
                  Logan              Health Care Unit #1 and #2 Officer     1960               All

                  Graham               Medical Officers 1–- 4                    635           All

                  IL River             Health Care Unit Officer                  170           7a-3p
                                                                                 140           3p-11p
                                       Infirmary Officer                         335           11p-7a

                  Lawrence             Infirmary Officer                         1350          All

                  Menard               Hospital 2nd and 3rd Floor Officers       1105          All
                                                                                 1110
                                       North II Infirmary Officer                3200          7a-3p
                                                                                 3201          7a-3p

                  Pinckneyville        HCU Officer                               29            All
                                       Infirmary Officer                         30            All

                  Pontiac              HCU officer #1, 2, 3                      1604          All
                                                                                 1608          All
                                                                                 1610          All
                                       HCU Clinics Officer                       1616          All

                  Stateville           HCU Infirmary Officer                     485           All
                                       HCU Clinic Officer                        492           7 a-3p

                  Stateville NRC       NRC Infirmary C/0                         1375          All
                                                                                 1376          All
                                       NRC HCU Officer                           1370          7a–- 3p

At each of the sites visited by the Monitor so far, the infirmary has had necessary access to security staff.487
The Assistant Warden for NRC/Stateville stated that even though both facilities experience significant
vacancies among correctional officer positions that movement to the health care unit and off-site specialty
care are given priority.

Lack of appropriate health care positions has resulted in patient care situations that are left to security staff
to address. Mortality patient #4 is an apt illustration of this problem. This was a 64 year old man with
dementia who was described by a physician as having no decisional capacity. As is common with
dementia, this patient exhibited confusion, agitation, hallucinations, and disinhibition. He was verbally

487
  Limited access has been experienced elsewhere such as transport for specialty medical appointments, escort to sick call, or
medication pass.



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aggressive and occasionally physically aggressive when non-cooperative with care. The aggression was
not dealt with as a medical problem. In the absence of a medical plan for his care, he was given “staff
assaulter status” and custody restraints, mace, and the tactical team employed to control his behavior and
to perform hygiene. The patient was also shackled when transferred for emergency care for a seizure and
again when he was found unconscious and nonresponsive. Alternatives to routine use of these methods
were not sought and medically ordered restraint was not employed when it would have been clinically
more appropriate. A policy and procedure on medical restraints was issued by OHS before the Monitor’s
comments on it could be considered. The Monitor considers I.05.01 Medical Restraints unacceptable and
urges OHS to consider the comments provided on 2/6/24 in the next review and revision.488

We have commented in this, and previous reports that long-stay infirmary patients do not have sufficient
privacy or access to dayroom, recreation, and outdoor space. This limitation is primarily because of
physical plant but as more appropriate space is made available, especially for frail and elderly patients,
allocation of correctional officer posts will need to be adjusted.

III.I.5 Bedding and Linens
In the last report the Monitor recommended that OHS develop a policy and procedure on sanitizing and
handling of bedding and linens used in the infirmary.489 This feedback was also provided in the Monitor’s
comments on the daft of the infirmary policy and procedure.490 Instead, the final policy and procedure
simply states, “The inventory and handling of linens and bedding used in the infirmary shall be in
conformance with Environmental Services.”491 No further direction is given about where or in what form
this information can be obtained from Environmental Services. This is not sufficient to comply with the
Consent Decree. Sanitizing and handling of linen used in the infirmary is an infection control and
prevention measure specific to the operation of the health care program, not Environmental Services.

The IDOC health care program needs to define processes and procedures required by III.I.5 to ensure all
infirmaries and HCUs shall have sufficient and properly sanitized bedding and linens. References from the
Centers for Disease Control and Prevention for handing linens in health care settings were suggested in the
last report and are repeated here as resources to assist in development of a procedure for the inventory,
storage, handling, and laundering of all linens used in the health care setting.492

II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
The mortality reviews completed by the Monitor for this report identified four patients who should have
been but were not cared for in an infirmary setting when the need for a higher level of care was evident.493

488
    The Monitor received the draft of this policy and procedure on 8/23/2023. It was not until after the 7th report had been
completed that the Monitor was able to review the draft. In the meantime, OHS determined that it would issue the new
policies and procedures all at one time, even if not all reviewed by the Monitor and elected to do so on 2/9/2024.
489
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, pages 124-125.
490
    Monitor’s comments on F.04.01 Infirmary Level Care sent to OHS 9/12/2023.
491
    Environmental Services is not defined and no guidance could be found about sanitizing linens used in the infirmary and
health care unit distributed by Environmental Services. Facility written directives on laundry were discussed in the Health
Care Monitor 6th Report Lippert v. Jeffreys, March 13, 2023, page 111. These were deficient because the amount of clean
linen to have on hand, how it is transported and received, how it is stored, or how laundry is handled once it has been used, if
not contaminated with blood or other body fluids, how it is laundered etc. was not addressed.
492
    Laundry | Background | Environmental Guidelines | Guidelines Library | Infection Control | CDC and Appendix D: Linen
and Laundry Management | Environmental Cleaning in Resource Limited Settings (RLS) | Healthcare-Associated Infections
(HAI) | CDC. Search on the CDC website for each of these items for guidance.
493
    Mortality review patients #1, 2, 7, and 9.



                                                                                                                            175
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One of these was a patient who had been diagnosed with a cancer of the bile duct earlier in the month
and had been referred to oncology for palliative chemotherapy which had not yet begun. Security notified
a nurse that the patient was too weak to come for his morning medication because he had been vomiting.
The nurse evaluated the patient and advised him to come to the health unit as needed.494 If a patient with
cancer is too weak to come for medication he needs to be in the infirmary to ensure he receives prescribed
care. At a minimum, the nurse should have placed him on 23-hour observation and completed a more
thorough evaluation of his needs for assistance.

Another of these patients was diagnosed with metastatic colon cancer after being admitted to the hospital
for abdominal pain.495 When released he was returned to a facility without an infirmary. He had several
follow up specialty care appointments, including placement of a port and oncology which were poorly
executed resulting in delays in treatment and deterioration of his condition. After a second
hospitalization the patient returned to the facility and was placed in an observation cell. He was
tachycardic, had elevated blood pressure and was weak. He had lost 23 pounds in less than a month since
diagnosis. Nurses did not regularly monitor his condition while he was held in the observation cell. After
he complained of dizziness and shortness of breath, nurses found him with an oxygen saturation of 77-
84%, respirations 32, and a heart rate of 138 – all abnormally high. A provider ordered him sent to the
hospital where he died four days later.

These mortality reviews also identified continued confusion and lack of clarity about end of life decision
making, palliative and hospice care.496 A policy and procedure to clarify processes for medical decision
making when patients are and are not competent to do so was issued by OHS effective 2/9/24. This is
another policy that was issued without the Monitor’s review.497 As written Policy and Procedure I.01.01
Patients’ Rights to Treatment and IDOC Authority to Treat is considered unacceptable by the Monitor.
OHS is urged to consider the comments provided by the Monitor on 2/6/24 in the next review and
revision. There is considerable confusion in the plan of care ordered by providers for “comfort care” and
clinical management of the end of life. There were mortality reviews of patients on “comfort care” who
continued to receive medications for chronic conditions and specialty care appointments. There also were
patients whose treatment orders were ineffective and sometimes dangerous in managing pain and other
end of life symptoms. A policy and procedure or clinical guideline will not be sufficient to address these
clinical practice issues. Geriatric and end of life care should be considered specialties and patients
needing these services cohorted at facilities with capacity to deliver this level of service. IDOC made a
significant commitment several years ago in the first draft of the Implementation Plan to address the
needs of the aged, infirm, and disabled populations for appropriate housing, programming, and health
care. Through subsequent drafts this intention remained unchanged and became more specific in the final
Implementation Plan.

This commitment included hiring a qualified consultant to determine the size of the population and the
gradations of their needs for more appropriate housing and management.498 The plan further states that

494
    Mortality review patient #2.
495
    Mortality review patient #7.
496
    See mortality review patients #1, 2, 4, 5, 6, 7, and 9.
497
    The Monitor received the draft of this policy and procedure on 6/23/23. It was not until after the 7th report had been
completed that the Monitor was able to review the draft. Extensive revisions by the Monitor to draft were provided to OHS
on 2/6/23. In the meantime, OHS determined that it would issue the new policies and procedures all at one time, even if not
all reviewed by the Monitor and elected to do so on 2/9/24.
498
    Implementation Plan narrative page 2.



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the Department will develop options and recommendations to address the gaps in need for
clinical care and housing and then take action to correct these gaps.499 The analysis and
development of the action plan are to be performed in consultation with the Monitor.”500

This work was to have begun in December 2023 with the identification and hiring of the consultant501 and
proceed through a series of four more tasks 502 until a report was completed which described the population
of aging and infirm persons incarcerated in the IDOC, a description of subpopulations with varying needs
and the development of housing and programming options for each of these groups modeled on patterns
of civilian care by at the end of October 2024. IDOC has not initiated work on this part of the
Implementation Plan.

The Monitor was made aware that the Department has engaged in some facility planning initiated to
address the needs for space to care for the mental health needs of the population and these plans do
consider ADA provisions. However, none of this facility planning has been done specifically based upon
an analysis of the needs of frail, infirm and/or elderly persons who have been incarcerated.

The Department is to develop a comprehensive response to the consultant’s report that includes
modifications to the existing housing and the classification system, development of training, programming
and specialty consultation as well as equipment to serve the needs of the aged, infirm, and disabled people
in prison as well as provision of end-of-life services consistent with contemporary standards for this stage
of life by December 2025. Since the Department has yet to make any progress in this area, it will be years
before care of elderly, infirm and/or disabled persons in IDOC will be any appreciably different than what
brought this Consent Decree to be in the first place.

OHS has shared with the Monitor plans to make specialty consultation with medical experts from UIC in
the care of geriatric patients available via telehealth technology at JITC. This will be initiated as a pilot
program and if feasible will be expanded to other patients housed at facilities in the Northern Region. This
program is just in the beginning phases of planning and has no outcomes to show for it at this time. The
Monitor supports OHS’s efforts to improve access to specialty care generally and appreciate that OHS
sees the need specifically for access to geriatrics. OHS is also attempting to initiate a project to screen
incoming persons at NRC for dementia but this project has yet to materialize.

RECOMMENDATIONS:
  1. Initiate the project to develop recommendations for housing and programming for the elderly,
     frail and infirm populations that are the focus of tasks #64-67 and 69 in the Implementation Plan
     and the accompanying narrative.
  2. Use the experience and knowledge gained by the Northern Regional Coordinator and facilitate
     further efforts to find appropriate housing for the disabled and to manage the utilization of
     infirmary beds statewide.
  3. Establish an expectation for when implementation of F.04.01 Infirmary Care is to be
     accomplished.
  4. Complete the remainder of Task #71, items 1, 2, 4-7 and 10. This includes quantifying the number

499
    Implementation Plan narrative page 5.
500
    Implementation Plan narrative page 6.
501
    Implementation Plan Task #64.
502
    Implementation Plan Tasks 65-67, and 69.



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        and type of positions that are necessary to comply with F.04.01.
    5. Identify alternative means to obtain stable physician leadership when the vendor is unable to fill
        allocated positions.
    6. Establish the means and methods to hold the vendor accountable for filling other clinical and
        support positions.
    7. Evaluate the need for physical therapy services at each institution with an infirmary. The Monitor
        continues to recommend that physical therapy services be provided at all facilities with infirmaries
        that house over 900 incarcerated persons.
    8. Develop guidelines for referral to physical therapy including the evaluation of patients with long
        infirmary stays to prevent falls and deconditioning.
    9. Clarify the infirmary care that will be provided at the renovated Joliet Inpatient Treatment Center.
    10. Increase access to Up-To-Date®. Additional decision support material should be considered in
        the development of the standardized list of equipment to be available in every health care unit.
    11. Ensure that falls, decubiti, and accidental ingestion of non-food products are reported as adverse
        events.
    12. Develop procedures to establish inventory control of linen for the infirmary, direct the conditions
        and practices for transport and storage of clean linen, and the handling and laundering of dirty
        linen that are in accordance with contemporary standards for control of transmissible diseases.
    13. Continue to explore use of resources available at SIU and UIC to educate providers and nursing
        staff about managing the care of geriatric patients, palliative and end of life care, and preventing
        injury in the inpatient setting (fall prevention, skin care, infection associated with urinary
        catheters, PICC line care etc.).

Specialty Consultation
Addresses Items II.A; II.B.1; II.B.6.e; II.B.6.g; III.E.4; III.H.1-4
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
II.B.6.e. IDOC agrees to implement changes in the following areas: Informed care for patients who
return to IDOC facilities after being sent to an offsite service provider;
II.B.6. g. IDOC agrees to implement changes in the following areas: Timely access to diagnostic
services and to appropriate specialty care;
III.E.4. The medical records staff shall track receipt of offsite medical provider’' reports and ensure
they are filed in the correct prisoner's medical records.
III.H.1. Medical staff shall make entries in a log, preferably electronic, to track the process for a
prisoner to be scheduled to attend an offsite service, including when the appointment was made, the
date the appointment is scheduled, when the prisoner was furloughed, and when the prisoner returned
to the facility. This log shall be maintained by the HCUA.
III.H.2. Within three days of receiving the documentation from scheduled offsite services, the
documentation will be reviewed by a medical provider. Routine follow-up appointments shall be
conducted by facility medical staff no later than five (5) business days after a prisoner’s return from an
offsite service, and sooner if clinically indicated.
III.H.3. If a prisoner returns from an offsite visit without any medical documentation created by the
offsite personnel, IDOC shall use best efforts to obtain the documentation as soon as possible. If it is



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not possible to obtain such documentation, staff shall record why it could not be obtained.
III.H.4. Provided that IDOC receives documentation from offsite clinicians, all medical appointments
between a prisoner and an offsite clinician shall be documented in the prisoner’s medical record,
including any findings and proposed treatments.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
In February of 2024, IDOC promulgated policy D.04.01 Offsite Clinical Care. The Monitor has given
comments to IDOC. Most comments were accepted. There were several key comments by the Monitor
that were not accepted. They are as follows.


   1. In newly promulgated policy A.02.01 Responsible Health Authority, policy statement V. states
      that the HCUA is the administrative authority responsible for ensuring the coordinated delivery of
      healthcare. In policy D.04.01 Offsite Clinical Care, IDOC eliminated a procedure suggested by the
      Monitor for the HCUA to have sufficient staff to schedule, manage and track offsite appointments;
      personnel to ensure information to and from the consultants is coordinated and accurately
      transmitted; and nursing staff to ensure patients are properly prepared for offsite appointments. If
      the HCUA is the administrative authority, why isn’t the HCUA given responsibility to add staff to
      better coordinate offsite care? As described below and in mortality reviews, scheduling and
      tracking of offsite specialty visits is dysfunctional and additional staffing appears necessary. The
      Monitor draws this conclusion based on interviews with scheduling clerks during site visits and
      review of records. IDOC has not performed a workload analysis. The Monitor recommends that
      the HCUA be responsible to determine and to hire the number of staff necessary to perform this
      function.
   2. The Monitor recommended that requirements for log entries on the offsite specialty tracking log
      be standardized to include 10 items. IDOC did not include this change. Each item, in an accurately
      maintained log, could contribute to verify one or more Consent Decree items. These suggested
      log entries are included below along with the Consent Decree item whose compliance would be
      verified.
          a. Date of request: II.B.1.; II.B.6.g.; III.H.1
          b. Date and time that the appointment was arranged: II.B.1.; II.B.6.g.; III.H.1.;
          c. The location of the appointment: II.B.1
          d. Date and time the specialty clinic appointment occurred: II.B.1.; II.B.6.g.; III.H.1.;
          e. Reason that an appointment did not occur (e.g., offsite clinic cancellation, lack of security
              transportation, patient refusal, etc.): II.B.1.; II.B.6.g.;
          f. Date and time a missed appointment was rescheduled: II.B.1.; II.B.6.g.;
          g. Date and time provider follow up was scheduled by the receiving nurse: II.B.1.; III.H.2.;
          h. Date and time the specialty consultation report was received: II.B.1.; III.E.4.
          i. Date and time that the report was given to the facility provider for review: II.B.1.; III.E.4.;
              III.H.2.; and
          j. Date and time the post-offsite care visit with the facility provider occurred: II.B.1.;
              II.B.6.e.; III.H.2.; III.H.4.

       Every facility tracks specialty care differently and what is recorded is optional for each site. This
       lack of standardization makes these logs unusable for the purpose of establishing compliance.



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         Logs have been reported as inaccurate since the Monitor’s 2nd Report.503 and do not reflect all care
         nor all intended care. The only procedural statement on the log in policy D.04.01 Offsite Clinical
         Care is procedural statement V. which states:
                  The facility maintains a log of all ambulatory specialty care requests and diagnostic testing,
                  treatment, and procedures in an electronic format.

         This gives no further guidance on how to maintain the log, who will maintain the log, or what is
         to be in the log. As written, current practices can continue unabated and specialty care will not be
         tracked accurately. Given the introduction of the electronic record, IDOC should ensure that data
         described in the steps above be incorporated as data elements in the electronic record so that is
         information can be obtained automatically. The data elements cited above should be captured and
         how they are captured should be included in the policy and procedure.
      3. IDOC eliminated suggestions for a huddle to include the facility Medical Director, the scheduling
         clerks, nurses who work with specialty care patients, and the medical records administrator. The
         purpose of the huddle recommendation is for the facility Medical Director, providers, scheduling
         clerk, and nurses who assist with offsite care to review all new referrals, recently returned
         consultations, outstanding reports and newly arrived reports, and pending consultations with
         expected timeframes to completion.504 The purpose is to identify and resolve issues that impede
         timely patient care including ensuring timely appointments, getting reports, improving
         communication with consultants, etc. Alternate specialty care appointments are sought when
         timeframes for current appointments exceed expectations. While IDOC eliminated this
         recommended change to the policy , there is ample evidence of its need.505 If the IDOC does not
         use something like a huddle, it will have to develop an alternate standardized method to ensure
         that specialty care is organized and effective.
      4. The Monitor included a procedural step that gathers information about missed and delayed
         appointments and with compliance with the policy and presents it at the quality meeting. This
         ensures that IDOC gathers sufficient data for compliance consistent with requirements of provision
         V.G. of the Consent Decree.

The Consent Decree requires the HCUA maintains the offsite specialty tracking log but vendor staff
currently perform and supervise this function. The current policy only stipulates that the HCUA is to have
oversight over this but the Monitor has not seen evidence of this during any site visit. The current position
description of the HCUA does not address this responsibility.

Currently, IDOC produces no V.G. report; conducts no comprehensive audit (II.B.9); and provides no
verification that specialty care requirements in the Consent Decree are accomplished. IDOC has not
provided information to verify adequate access to timely secondary care (II.B.1. and IIB.6.g.); tracking
receipt of consultation reports and referrals for offsite care (III.E.4. and III.H.1.); ensuring a provider
review of the report and follow up with the patient to discuss the consultation report and provide informed
care (III.H.2. and II.B.6.e.); documentation of why consultation reports could not be obtained (III.H.3.);

503
    See Health Care Monitor’s 2nd Report, July 6, 2020 pp108-109.
504
    Huddles can be used for any purpose but this particular recommendation is for specialty care. The Agency for Healthcare
Research and Quality gives guidance on huddles at https://psnet.ahrq.gov/primer/improving-patient-safety-and-team-
communication-through-daily-huddle and literature shows that huddles reduce readmissions to hospitals as found at
https://pubmed.ncbi.nlm.nih.gov/27902576/
505
    Almost every mortality review conducted by the Monitor for this report had problems with coordinating specialty reviews.
Particular attention should be paid to mortality review patients #5, #6, and #7



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and that all appointments between a consultant and the patient are documented in the medical record
(III.H.4.).

In northern facilities, access to care and timeliness of secondary care is still affected by economic reasons
specifically the arrangement for free care at UIC. Through a prior arrangement, IDOC has access to 512
free offsite visits. The vendor is responsible for scheduling all offsite care and steers all care from northern
facilities toward UIC even when this extends beyond the assigned number of spots or when care cannot
be scheduled for months. Some specialty care at Dixon and Stateville, for example, is significantly
delayed. At Stateville, orthopedic appointments take 1.5 years to schedule. New gastroenterology
appointments take 4-5 months to schedule even for urgent matters.

In a central region facility, significant backlogs are occurring. In the “open discussion” section of the
IRCC February 2024 CQI minutes, there is a comment:
       “Discussed “urgent” backlog-down to 4 – 83 urgent in January and 32 urgent for February so far.
       Non urgent backlog over 500 – dating back to March 2023”

This is a significant backlog indicating that routine appointments are delayed for over a year.

IDOC does not track delays in specialty care and their offsite specialty tracking logs do not consistently
track the date of referral so the extent of delays and lack of access cannot be determined from information
and data provided to the Monitor because it is not accurately tracked.

Though IDOC has not provided information verifying its compliance, the Monitor has conducted 13
mortality reviews and identified multiple problems with specialty care related to the Consent Decree in
those 13 records including the following.
    1. Referral documents are not consistently present in the medical record.506
    2. Patients who should be referred for specialty consultation or diagnostic testing are not referred.507
    3. Patient who are referred for specialty care often do not go for their appointment or go on a date
       that is not the scheduled date.508
    4. Referrals are not consistently placed onto the offsite specialty tracking log or entries are
       inaccurate.509
    5. There is evidence of many provider referrals or recommendations for return follow up with a
       consultant that are not entered onto the log and/or do not occur.510 Ten of 13 records reviewed
       showed underutilization511. Additional training is necessary to ensure that patients are
       appropriately referred when necessary.
    6. Reports of specialty consultations are often not obtained and when not obtained there is no
       documented effort to obtain the report.512
    7. Providers do not consistently timely review offsite consultation reports or do not consistently
       document findings of the consultant. Providers seldom provide informed feedback to the patient

506
    Mortality patients, #1, #2. #5, #7
507
    Mortality patients #1, #2, #3, #4, #5, #6, #7, #9, #10, #13
508
    Mortality patients #2, #5, #7, #9, #11, #12, #13
509
    Mortality patients #1, #2, #5, #6, #7, #8, #9, #10, #11
510
    Mortality patient #1, #2, #6, #7
511
    By underutilization, the Monitor means that a patient should, based on community standards, be referred for specialty care
but is not.
512
    Mortality patient #1, #2, #5, #6



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          about the consultation and how the consultation will change the therapeutic plan or why certain
          recommendations of the consultant will not be undertaken.513
      8. Some patients are at some facilities not placed on the tracking log until after they complete their
          specialty care visit.514
      9. Referrals that are ordered for specialty care or diagnostic care often do not occur timely.515
      10. Communication with specialist is often problematic.516

The Monitor’s mortality reviews demonstrate that specialty care remains extremely disorganized. This
disorganization results in harm to patients. Several deaths occurred as a result of or were hastened by
failure to refer a patient for specialty care or diagnostic evaluation or failure of a referral to occur timely517.

One outstanding example of harm showing the dysfunction of the specialty care process is a patient518
who was diagnosed with lung cancer. He required radiation therapy and had multiple visits for radiation
treatment. He was seen four times by a radiation oncologist (11/30/23; 12/6/23; 12/8/23; and 12/11/23)
who recommended at three of the appointments to have ultrasound of the leg to rule out a deep vein
thrombosis. The 11/30/23 recommendation was signed as reviewed about a month after the visit; the
referral form (also with consultant comments on it) was not signed as reviewed; and there was no visit
with the patient. After the 12/6/23 consultation, a nurse practitioner saw the patient post-consultation but
failed to evaluate the leg that may have had the deep vein thrombosis. The nurse practitioner documented
in the progress note ordering an urgent ultrasound. The referral for this consultation was type written
without documentation of the urgency and was not signed or dated by a provider giving the impression
that it was written by the scheduling clerk. An order date was not present on the referral and the rationale
for the referral included a type-written comment that the ultrasound technician would be at the facility on
12/12/23519. If a deep vein thrombosis is suspected an immediate ultrasound should be done not an urgent
evaluation within two weeks. On 12/7/23, the facility Medical Director participated in what he called
“collegial review” and discussed the urgent ultrasound request and documented that the ultrasound would
be scheduled. This should have been an immediate referral to an emergency room for an ultrasound. The
12/8/23 consultation included no provider follow up. On 12/11/23, the patient again returned to radiation
oncologist who again recommended ultrasound to rule out deep vein thrombosis. This report was not
signed as reviewed. On 12/12/23, an ultrasound was finally done at the facility. Apparently, instead of
sending the patient offsite for an ultrasound immediately when the deep vein thrombosis was suspected,
the program waited until the ultrasound technician visited the facility. The patient was noted to have a
deep vein thrombosis. The facility Medical Director started the wrong dose of the anticoagulant. Later
that day, the patient vomited blood and was sent to the hospital and was diagnosed with deep vein
thrombosis and pulmonary embolism.520 The patient spent two weeks hospitalized with complications of
the pulmonary embolism. A full discharge summary from the hospital was not included in the record.
The patient subsequently died of complications of his embolism. Though the patient had lung cancer with

513
    Mortality patient #1, #2, #5, #6, #7, #10, #12
514
    Mortality patients #1, #2, #5,
515
    Mortality patients #1, #5, #7, #9, #10
516
    Mortality patients #1, #5, #7, #10
517
    Mortality patients #2, #3, #5, #6, #9, #10, #12, and #13
518
    Mortality review patient #6
519
    This referral appeared written by the scheduling clerk. Whoever wrote the consult did not appreciate the urgency of the
test. A huddle can correct this type of miscommunication.
520
    Pulmonary embolism is a complication of deep vein thrombosis. A reason for the need for immediate ultrasound to rule
out deep vein thrombosis is to prevent pulmonary embolism that this patient developed.



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very poor prognosis, the pulmonary embolism which resulted from a delayed diagnosis of the deep vein
thrombosis, hastened his death.

It is the Monitor’s belief that lack of sufficient physicians is a root cause of many of the problem with
specialty care because physicians do not appear to have sufficient patient-time to manage complex patients
and to ensure that care occurs and is coordinated with consultants. The Monitor has recommended a
workload analysis to determine staffing needs. IDOC has not yet accepted this recommendation. With
respect to physician needs for specialty care, a workload analysis would include the following. There is
a requirement (II.B.6.c. and III.H.2.) that after each offsite visit a provider is to provide informed care to
the patient that in the Monitor’s opinion requires reading the report carefully, contacting the consultant
for questions, evaluating the patient, updating the problem list and therapeutic plan, and discussing all the
diagnoses and changes to the plan with the patient. Based on prior experience in managing physician care,
the Monitor believes this will take approximately twenty minutes during a post consultation visit. If Dixon
is used as an example, the scheduling clerk estimates that 300 new referrals are generated a month. If a
physician is expected to conduct this evaluation and if 20 minutes is allotted per post-consultation visit,
then 6000 minutes per month are needed to complete this task. That is 100 hours or 0.625 FTE physician
to complete this task. One can easily understand why current offsite post visits are so poorly performed
and why many are not even completed. There are simply not enough physician hours to accomplish this
task. A similar analysis can be made for the scheduling clerks which the Monitor believes would also
show insufficient staffing.

IDOC has not undertaken the recommendations of the Monitor to analyze the process of offsite
consultation with an aim to improve the process. 521 The offsite consultation process is still dysfunctional
and still causes patient harm. In the last report,522 the Monitor described that the third highest number of
opportunities for improvement in SIU mortality reviews was the failure to communicate between
providers during points of transfer.523 One of these points of transfer is the communication to the specialist
and a second is the communication from the specialist back to the primary care physician at the facility.
These points of transfer are complicated in IDOC by the involvement of additional parties or processes:
the medical record clerk at the IDOC facility, the process necessary to obtain an authorization number to
guarantee payment for the consultation, the office staff in the specialist’s office, and multiple providers at
the prison facility who did not refer the patient for specialty care but may see the patient to provide
continuity of care after the specialty visit. None of these were considered in the IDOC policy. This process
should be mapped out with expectations and timelines for each step in order to find opportunities to
improve services. After this process analysis is completed, the policy should be revised.

The authorization process of the vendor is ignored in the current IDOC policy D.04.01. The Monitor has
concerns that some form of utilization management is still being conducted. In record reviews, a collegial
review process was mentioned multiple times.524 In one of these episodes, the physician documented that
nurses should check with the scheduling clerk to see if a collegial review was necessary.525 Of 28 facilities,

521
    See item 52 in the Implementation Plan including items 4: “Analysis of receipt and timeliness of consultant reports, and
whether facility providers take appropriate action, if necessary, on those reports.”; and item 5: “Analysis of scheduling and
tracking of specialty care to ensure whether scheduling is timely”.
522
    Health Care Monitor 7th Report Lippert v Jeffreys, December 27, 2023.
523
    See Monitor’s 7th report p 37 and p 41-42.
524
    Mortality review patients #1, #5, #6,
525
    Mortality review patient #1 on 8/29/23 when the doctor asked after hospitalization whether the patient would need
collegial review prior to a referral for cardiology.



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22 (79%) continue to track the date of collegial review on the offsite specialty tracking log. If a collegial
review process is not occurring, the vendor should explain what is being conducted when the tracking log
lists a “collegial review” date on the tracking log. Authorization and “collegial review” should be
addressed in policy. Policy D.04.01 Offsite Clinical Care, in policy statement II states that the HCUA is
to maintain a list of hospitals, medical centers and specialists who are to provide care. If the established
network of offsite providers is known, it is unclear what “authorization” is needed. This should be
described in the procedure of policy D.04.01.

Also ignored in IDOC policy D.04.01 is any reference to the scheduling clerk. In IDOC, once a provider
orders a specialty consultation, their role ceases and the scheduling clerk then assumes control and directs
the specialty care. The provider should maintain continuous participation in this process but does not.
The Monitor has previously recommended in prior reports that IDOC initiate huddles that include the
scheduling clerk and providers to ensure that all referrals are properly processed as directed by the ordering
provider, reports are obtained and reviewed, follow up consultations are addressed, and that patients are
scheduled for follow up visits. This is still an ongoing recommendation that IDOC has not undertaken.

In the IRCC February 2024 CQI minutes in the “open discussion” section, it states that the vendor
Regional Medical Director states that all NP referrals are to go to the facility Medical Director for
approval. This process is not included in the specialty care policy and if IDOC adopts this procedure then
the process should be in policy and the Medical Director’s decision and rationale should be documented
in the medical record. IDOC communicated to the Monitor that nurse practitioners and physician
assistants do not require the facility Medical Director’s review or co-signature to order offsite referrals.526


IDOC also does not include any reference in policy D.04.01 to the forms that are to be used to
communicate to the specialist. Two forms are currently used. One is the Health Status Transfer Summary
(HSTS) (DOC form 0090) and the second is the Medical Special Services Referral and Report (DOC form
0254). Though these forms continue to be used, neither is mentioned in the new policy and neither fully
satisfies the needs required.

The HSTS (DOC form 0090) is a form used for a sending facility to communicate to a receiving facility
the information needed to be transferred when an inmate is transferred between IDOC facilities (e.g., from
NRC to Sheridan). This information is different than the information needed to be provided to a consultant
conducting a specialty consultation. The Monitor strongly recommends that the HSTS form be
discontinued when sending patients to their offsite appointment.

The 0254 form should be revised. This form should be facility specific and not a generalized statewide
form. The 0254 form should communicate to the specialist what facility the patient is coming from and
include contact information to the facility for purposes of sending the report and a direct line contact
information for the provider. The terminology on the heading of the bottom half of this form should state

526
   OHS-Monitor monthly conference call, 8,22,2024. OHS stated that one of the vendor Regional Medical Directors had
been contacted and had verified that NP/PAs can refer patients for offsite specialty care and diagnostic testing without a
physician’s review and signature.




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“Short-form comments and recommendations” instead of the existing statement, “Report of referral”. This
should be done to emphasize that a full typewritten report is expected and that comments on the form
should not substitute for a full report. Somewhere on the form a statement should be included to state that
a full typewritten report is expected within three business days with contact information on where to send
the report. This cannot be done if the form is used as a statewide form. IDOC needs to consider whether
offsite referrals will be ordered in the electronic record or whether a paper process will continue to be
used. The benefit of an electronic medical record process is that facility information can be automatically
inserted, that dates of referral and expectations of dates of service can be easily tracked, and that certain
information included in the electronic record can be included (e.g., laboratory or imaging results, problem
lists, medication lists, and reports from other consultants or discharge summaries).

Whether a paper or electronic process is used, a scheduler or other assistant will need to print the referral
form and accompanying information and include it in a confidential folder which is provided to the
consultant. This information can be electronically transmitted depending on the consultant. The referral
form itself should include:
   1. The purpose of the consultation, specifically what is requested of the consultant.
   2. The urgency of the consultation.
   3. The contact information of the referring provider and facility contact information for purposes of
        sending the report.
   4. A space to write short-form comments and recommendations.
   5. A space for the facility Medical Director to sign as reviewed the short-form comments and
        recommendations.

Additional information that should accompany the referral form should include:
   1. The patient’s current medical problems.
   2. The patient’s current medications.
   3. Any recent imaging, diagnostic studies, recent laboratory tests, recent specialty consultation
       reports or hospital discharge summaries that are needed by the specialist to conduct the requested
       consultation.
   4. Any additional provider notes necessary for the consultant to evaluate the patient.
   5. IDOC provider contact information in the event the consultant wants to contact the provider.
   6. A request that a typewritten copy of the consultant’s report is requested to be sent to the facility as
       soon as possible but no later than three days. This should include email and fax contact
       information.

The current policy D.04.01 Offsite Care is silent on information transfer to the specialist but this needs to
be included in the policy.

IDOC has initiated a new plan to augment specialty care services through UIC utilizing telemedicine.
Though the Monitor is not aware of all details of this plan, it will be an initial small project with placement
of a telemedicine point of service and some face-to-face specialty consultation at the JITC facility. IDOC
proposed increased funding in this fiscal year budget in order to fund this plan. The Monitor is supportive
of this plan and is eager to learn more about it.

In summary, IDOC has promulgated but has not yet implemented a policy on offsite clinical care although
the Monitor has further comments for IDOC to consider. Additional modifications may be needed after a




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process analysis is done. Specialty care is still dysfunctional and inmates do not have adequate access to
secondary care. The degree of lack of access cannot be determine because IDOC does not track specialty
care in a standardized manner that accurately reflects steps of the process. Lack of staffing (physicians
and support staff) appears responsible for operational issues and provider follow up. Mortality reviews
show many preventable deaths as a result of problems with specialty care. A partial compliance is
warranted on the basis of promulgation of a policy but access to specialty services still has significant
problems..

RECOMMENDATIONS:

      1. Opportunities for Improvement (OFIs) related to specialty care and the Monitor’s mortality
          reviews should be used to analyze and correct deficiencies in specialty care.
      2. The workload analysis of physicians, scheduling staff, nurses, and correctional staff should include
          whether the number of budgeted physicians, schedulers, nurses, and correctional officers are
          sufficient to address clinical needs including coordinating, managing, and transporting patients
          with specialty care needs.
      3. IDOC needs to closely examine those OFIs in mortality reviews that result in failing to timely
          work up significant symptoms and signs to the extent that these failures are the result of utilization
          practices.
      4. A root cause analysis needs to be done to identify why existing practices result in communication
          errors with consultants. Corrective actions to streamline and reduce errors in communication
          between consultants and practitioners should be established in policy and procedure.
      5. Institute a required huddle between providers, the offsite scheduling clerk and the chronic disease
          nurse to discuss all new referrals with expected timelines; recently returned consultations to
          include follow up; discuss report availability and review; and update on all pending reports,
          pending consults that exceed expected timeframes, and any other specialty care question impacting
          clinical care.
      6. IDOC should evaluate adequacy of transportation vehicles and transportation officers to ensure
          that sufficient officers and vehicles are available to ensure inmates have access to timely specialty
          care appointments.
      7. When specialty care appointments to UIC or any other consultant are delayed, alternate local
          appointments must be used.
      8. Reimbursement rates for specialty care should be evaluated to determine if the rates are a barrier
          for the delays in care.
      9. IDOC should consider using a primary care medical home model of care as a methodology to
          improve coordination of care.
      10. IDOC should expand the utilization of telehealth with UIC or other academic centers to increase
          access to specialty care.527
      11. IDOC should also begin to explore initiation of specialty e-consults528 and advice without the need
          for appointments.
      12. IDOC should evaluate data on delayed specialty care to assess why delays occur. For northern
          facilities, delays related to use of UIC for free care should be particularly examined.


527
    UIC currently provides telehealth care and consultation for HIV, Hepatitis B and C, and the management of uncontrolled
and difficult to control diabetes.
528
    E-consults are emails to a specialist for advice or a brief consultation.



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   13. IDOC should configure the electronic record so that data needed to be presented on a log or on
       referral forms can be captured automatically.

Specialty Referral Oversight Review

Addresses III.H.5
III.H.5. Within six (6) months after the Preliminary Approval Date of this Decree [July 2019]or until
Defendants are able to fill both Deputy Chief of Health Services positions, they will make reasonable
efforts to contract with an outside provider to conduct oversight review in instances where the medical
vendor has denied any recommendations or taken more than five (5) business days to render a decision,
including cases in which an alternative treatment plan has been mandated in lieu of the recommendation
and cases in which the recommendation has not been accepted and more information is required. If no
contract with an outside provider is reached, then the Monitor or his or her consultants shall conduct
oversight review in instances where the medical vendor has denied any recommendation or taken more
than five (5) business days to render a decision, including cases in which an alternative treatment plan has
been mandated in lieu of the recommendation and cases in which the recommendation has not been
accepted and more information is required. Once Defendants have filled both Deputy Chief positions, the
Deputy Chiefs will replace any outside provider, the Monitor or his or her consultants to conduct oversight
review in the instances described in this paragraph. (see Specialty Care Section)

OVERALL COMPLIANCE RATING: Substantial Compliance

FINDINGS:
IDOC no longer requires a utilization review of specialty referrals. Therefore, this provision is found
compliant. However, the Monitor has significant concerns that “collegial review” still includes a form
of utilization review. This will be monitored in subsequent reports.

RECOMMENDATIONS:
  1. The termination of the collegial review must also pertain to referrals for subcontracted onsite
     ultrasonography services.
  2. IDOC must immediately develop a tracking system to ensure that the vendor’s demand for a
     summary of clinical information on the Special Services Referral and Report form does not result
     in administrative denials of providers’ referrals for specialty consultation, diagnostic testing, and
     procedures.
  3. The IDOC must conduct a review of the vendor’s policies, practices, and guidelines that affect
     patient-inmates’ access to medically necessary consultation, testing, and procedures and
     eliminate, with input from the Monitor, those guidelines that restrict access to medically
     necessary clinical services. Examples of current restrictive vendor practices have includes
     limiting cataract surgery to only one eye, categorizing ostomy reversal surgery as an elective,
     and others.


Hospital Care
Addresses Items II.A; II.B.1; III.G.4
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of




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Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care
III.G.4. Facility medical staff shall ensure that a prisoner is seen by a Medical Provider or clinician
within 48 hours after returning from an offsite emergency service. If the Medical Provider is not a
clinician, the Medical Provider shall promptly review the offsite documentation, if obtained, with a
clinician and the clinician shall implement necessary treatment.

OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:

IDOC provided no V.G. report and no information that tertiary care was acceptable. The Monitor’s
mortality reviews on only 13 records showed multiple problems with ineffective or absent post-
hospitalization evaluations;529 failure to obtain a hospital report or to obtain it timely;530 delayed care
resulting in hospitalization;531 and needed hospitalization not being timely ordered. 532 Examples of these
problems can be found in the mortality reviews. The lack of a V.G. report documenting status with tertiary
care and continued problems identified in record reviews warrants a continued noncompliance.

RECOMMENDATIONS:
   1. IDOC should analyze why providers fail to effectively perform post-hospital evaluation of the
      patient. The Monitor believes this is due to failure to have reports and failure to have sufficient
      physicians and providers on staff. Providers must continue orders promptly after hospitalization
      or document why recommendations will not be continued. Immediately upon return from
      hospitalization, nurses must consult with providers regarding recommended hospital orders.
      Within 2 days a provider must revise the therapeutic plan of the patient consistent with the hospital
      findings and recommendations. The provider must discuss the revised plan and how it will be
      implemented with the patient.
   2. As part of the audit system, IDOC needs to evaluate whether the process of chronic care
      management results in preventable hospitalization. The audit system must also evaluate all
      provisions of the Consent Decree including II.A., II.B.1., and III.G.4. If systemic problems are
      identified these should be corrected through the quality improvement programs.
   3. The statewide quality unit should perform a process analysis to determine why hospitalization is
      delayed for patients found in mortality reviews. Problems identified need to be corrected through
      the quality improvement program.


Preventive Services
Addresses items III.M.1.a-d
III.M.1.a. Defendants or their contracted vendor(s) shall ensure that all prisoners will be offered an
annual influenza vaccination.

529
    Mortality patients #1, #2, #3, #4, #5, #6, #7, #8, #9, #10
530
    Mortality patients #1, #4, #6
531
    Mortality patient #1, #2, #3, #4, #5, #6, #7, #9
532
    Mortality patients #2, #3, #8, #9



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III. M.1.b. Defendants or their contracted vendor(s) shall ensure that all prisoners with chronic
diseases will be offered the required immunizations as established by the Federal Bureau of Prisons.
III.M.1.c. All prisoners ages 50-75 will be offered annual colorectal cancer screening and PSA testing,
unless the Department and the Monitor determine that such testing is no longer recommended.
III.M.1.d. All female prisoners age 45 or older will be offered a baseline mammogram screen, then
every 24 months thereafter unless more frequent screening is clinically indicated, unless the
Department and the Monitor determine that such testing is no longer recommended.

Findings:
Since the 7th Report533, the IDOC has finalized its Prevention Services and Periodic Health and
Immunization policies534 and provided facility logs535 on the offering of colorectal cancer screening for a
number of facilities. Screening for breast and cervical cancers and HPV vaccination in the female facilities
continues to be consistently provided. Data on hepatocellular cancer screening in hepatitis C patients with
cirrhosis or advanced fibrosis was presented for the first time from multiple (six) facilities. Cervical cancer
screening and fasting lipid panel (hyperlipidemia) screening were added to the performance and clinical
outcome measures in the first quarter of fiscal year 2024 (July to September 2023). IDOC has also
communicated that it will add annual weight monitoring, smoking history screening, and prostate cancer
screening to its list of quarterly performance and outcome measures in late 2024 or 2025.536

Additional efforts are needed to ensure and report that all eligible individuals in IDOC are offered
colorectal cancer screening, prostate cancer, lung cancer, hepatocellular cancer, and abdominal aortic
aneurysm screening. Continued focus is required to track the offering and provision of all nationally
recommended immunizations to all eligible patients.

The Monitor requested thirteen documents for the 8th Report’s section on Preventive Services. Nine of
these documents were either completely or partially received. Information on two requests about the
training of staff on the new policies and procedures is not being tracked. Another two requests for,
respectively, COVID-19 vaccinations and breast cancer screening are no longer tracked.537

The Consent Decree requires that IDOC is to produce an annual report based on data and information
sufficient to verify compliance. This has not been accomplished. As previously reported there continues
to be very limited data tracking of immunizations and RHM/cancer screenings. IDOC must provide
comprehensive data to demonstrate its compliance with this and other elements of the Consent Decree.

Influenza Vaccinations

Overall Compliance: Partial Compliance



533
    7th Court Report was submitted on 12/27/2023.
534
    IDOC Medical Policy and Procedure: B.01.01 Preventive Services and Periodic Health Assessment and G.08.01
Immunization.
535
    Colorectal cancer screening logs were provided from nine facilities: BMR, Dixon, East Moline, Hill, Kewanee, Lawrence,
Shawnee, Sheridan, and Vienna.
536
    Data on these three new measures are either preliminary or not yet being audited.
537
    The Monitor was advised that III.M.1.d (mammography screening) is no longer a reportable provision of the Consent
Decree.



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Findings: IDOC clinical staff has communicated that mass influenza vaccination days are generally
scheduled annually in September and October at all IDOC facilities.538 There has been previous
documentation of the volume of influenza vaccines that were delivered by the Boswell Pharmacy to all
IDOC sites. However, for this Report, none of the thirty facilities’ monthly quality improvement
committee minutes documented the offering of influenza vaccines in September-December 2023. The
quantities of influenza vaccines sent by Boswell Pharmacy in the fall of 2023 were also not provided to
the Monitor for this report.

Southern Illinois University Office of Correctional Medicine (SIU) provided quarterly data on
performance and outcome results for influenza vaccination based on review of ten randomly selected
charts at twenty-nine correctional facilities.539 SIU expanded the criteria in the Fall of 2023 to include the
cumulative number of vaccinations administered and refused.540 Results reported by SIU541 revealed that
50% or fewer patients lacked documentation of being offered influenza vaccinations in thirteen facilities
in the 1st quarter of FY 2024 and ten facilities in the 2nd quarter.

For this report the monitor reviewed sixty medical records from ten facilities to evaluate the offering and
administration of 2023-2024 seasonal flu vaccine (see table below).

        Number and Percent of Influenza Vaccination Offered and Administered at 10
                 Facilities*                              60 Record Reviews
                                 Fall 2023 to Winter 2024
      # Eligible              # Offered                 # No Documentation of Offer or
                                                                   Refusal
         60                   31 (52%)                            29 (48%)
                    # Administered            # Refused

                        25 (42%)                6 (10%)
 *BMRCC, Decatur, East Moline, Hill, Jacksonville, Lawrence, Lincoln, Pinckneyville, Shawnee, Taylorville



Review of these sixty medical records showed that 48% of the individual patient records did not have
documentation in the database sheets, immunization histories, or chronic care progress notes (if provided)
that they had been offered influenza vaccination in the Fall of 2023.542

Both the Monitor’s chart reviews and the SIU quarterly performance and outcome review identified that
approximately 50% of the medical records lacked documentation that influenza vaccine had been offered.
In order to comply with III.M.1.a, IDOC must have documentation that they are offering annual influenza
vaccination to all individuals in the custody of IDOC. The current data indicates that IDOC is not
documenting or not offering the flu shot to half of the IDOC population. Because of the historically high


538
    Flu Vaccination days are extended into November and December as needed.
539
    SIU does not audit NRC due to the high turnover of its population.
540
    OHS-Monitor Monthly Call 10/19/23: The measuring of influenza vaccination by IDOC’s partner SIU Office of
Correctional Medicine was expanded to include both the refusal and administration. In future audits, the Monitor
recommends that SIU report separately the number offered, administered, refused, and not offered (no shows at flu vaccine
events).
541 st
    1 Quarter 2024: July to September 2023, 2nd Quarter 2024: October to December 2023.
542
    At the time of writing this Report, it was too early to have received any data from any influenza vaccine events in the Fall
of 2024.



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rate of refusal of vaccination IDOC needs to focus on educational efforts to increase the acceptance rate
of influenza vaccine.

The Monitor recommends that the SIU performance and outcome measure for influenza vaccine display
the number of vaccines offered, not offered, administered, and refused. In addition, IDOC must ensure
that this same data is reported by each facility on a regular basis (monthly during the flu season) and not
wait for implementation of the electronic record.

Recommendations:
   1. IDOC must manually or electronically track and report annual influenza vaccinations including
       the number and percentage of eligible patients who are offered, administered, refused, and not
       offered (no shows).
   2. IDOC needs address the high rate of patients who lack documentation of not being offered annual
       influenza vaccination.
       IDOC should institute an annual health information campaign to educate the incarcerated
       population about the health benefits of the annual influenza vaccine and the COVID-19 vaccine.
Adult Immunizations

Overall Compliance: Partial Compliance

Findings:
The Monitor has been informed that the immunization program is a responsibility of the Infection Control
program.543 However, neither IDOC policy G.01.01 Infection Control Program nor policy G.08.01
Immunization specifically state who is to direct the immunization program. The OHS table of organization
does not demonstrate a direct or dotted line authority between the Agency Infection Control Coordinator544
and the facility infection control nurses who report to the facility Director of Nursing and the facility
HCUA. In order to standardize the immunization program OHS needs to clearly define the authority of
the Infection Control Coordinator over the infection control nurses as it applies to infectious disease issues
and vaccinations.

The Infection Control Program policy G.01.01 notes that the Agency Infection Control Coordinator is to
develop nurse protocols for vaccination and a process to track immunizations and the facility infection
control nurses are to train and oversee the nurses who administer vaccinations. Procedures that detail
vaccine storage, vaccine administration, precautions, assessing patients’ vaccination histories, and adverse
reactions have been developed.545 Data has not been provided that facility infection control nurses have
trained and oversee the nurses who administer vaccinations. To date, few IDOC facilities have a fulltime
infection control nurse and some do not even have a dedicated parttime infection control nurse who can
oversee the management of the immunization program.

At this time, the majority of facility Infection Control nurses have other clinical and administrative duties
and are only allotted a limited amount of time to address multiple infection control responsibilities


543
    Interview with Infection Control Coordinator, 9/13/2023
544
    The OHS Table of Organization uses the title of Agency Infection Control Coordinator. This position has also been listed
as Infectious Disease Coordinator. The section will use “Agency Infection Control Coordinator”.
545
    IDOC Medical Policy and Procedure Manual, February 2024, G.08.01, Immunization



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including the adult immunization program.546 In order to fulfill their duties, facility Infection Control
nurses will need to be fully dedicated to infection control activities at almost all but the smallest IDOC
facilities.
IDOC finalized an Immunization Policy in February 2024.547 The policy states that IDOC will administer
vaccines to individuals in custody nineteen years of age and older in accord with the Center for Disease
Control and Prevention (CDC) Recommended Adult Immunization Schedule. Vaccination history is to be
assessed by nurses during intake receiving screening. Vaccine status is to be subsequently reviewed “each
clinic visit”548 and any vaccine that is due should be offered and administered at that time. However, based
on medical records provided for this Court Report, the Monitor has noted that immunizations histories are
not consistently documented and immunizations549 are inconsistently offered and ordered during annual
periodic health assessments and are rarely offered at chronic care visits. There is notable facility to facility
variation in the completion of the immunization histories at chronic care visits and during intake
screenings. IDOC was not able to provide documentation of training of the facility nursing staff
concerning either the Infection Control Program or the Immunization policies.550

The IDOC has developed an Immunization History form that is to be completed during intake screening
to identify previous vaccinations and any gaps in the receipt of recommended adult vaccinations and
updated at subsequent clinical and periodic health visits. Except for influenza and COVID-19 vaccines,
no other needed immunizations are offered or administered during the intake screening. Predictably most
patients being admitted to the IDOC do not sufficiently recall their previous immunization histories. For
this reason, IDOC’s Immunization policy states “The Illinois Comprehensive Automated Immunization
Registry Exchange (I-CARE) should be consulted as needed to identify a patient’s immunization
history”551 and “…properly documented ….previous immunizations should be transcribed to the Abstract
of Immunizations in the patient’s medical record”552. During a recent site to the NRC Reception and
Classification Center,553 ten intake histories were reviewed and the only useful information on previous
vaccinations were on the four I-CARE print-outs provided by individuals whose transfer records from
Cermak Health Services at Cook County Jail included the I-CARE print-outs. Zero previous vaccinations,
including those with I-CARE forms, were transcribed on the ten immunization histories completed as part
of the intake screening process. It is the Monitor’s recommendation that IDOC take the required steps
necessary to access and print or scan I-CARE reports for each and every new admission to IDOC and
enter the information in the medical record. This would identify needed adult vaccines and avoid costly
and time-consuming administration of duplicate vaccinations.



546
    See this Report’s section on Infection Control
547
    IDOC Medical Policy and Procedure Manual, February 2024, G.08.01 Immunization
548
    The Monitor recommends that vaccine status should be reviewed, offered, and administered at each chronic care and
annual/biannual health assessment visit. It would be a lower priority to review and offer vaccinations at nurse and physician
sick calls and at other brief clinical encounters.
549
    Recombinant Zoster Vaccine (shingles, Pneumococcal vaccine, and Diphtheria Tetanus (DT)/tetanus Diphtheria Acellular
Pertussis (Tdap) were occasionally ordered during annual health assessments. HPV is offered at the female facilities during
mass vaccine events. HPV is rarely offered at male facilities to eligible men ≤26 years of age.
550
    IDOC communicated that there have been some training concerning the new policies and procedures but the training is not
tracked.
551
    IDOC Medical Policy and Procedure February 2024, G.08.01 IV.B. Immunization.
552
    IDOC Medical Policy and Procedure February 2024, G.08.01 IV.C. Immunization, Assessing Patients’ Vaccination
Histories.
553
    Monitor team site visit to Stateville NRC, June 3-4, 2024



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IDOC has communicated that a systemwide mechanism to track immunizations is being developed. IDOC
has created a Monthly Communicable Disease, Immunization, and Screening form that is to be compiled
by the facility infection control nurse and forwarded to the Agency Infection Control Coordinator. This
monthly form is still in the process of being fully implemented. IDOC has stated that, at the current time,
it only tracks the number of individual patient and stock vaccine orders dispensed by its vendor subcontract
pharmacy (see table below).

                               Patient Specific Orders Combined with Stock Orders*
                                        Vendor Subcontract Pharmacy Report
                                                     1/1/24 to 3/31/24
        Facility            Hep A        Hep B       HPV      MMR         TD/Tdap       P-20     P-23**      RSV      RZV
 BMR                           28           27         0         0            40          14         0        10        12
 Centralia                      1            2         0         0             0          10         0         0         3
 Danville                       1            1         0         0            40           0         0         1         6
 Decatur                       31           58         2         0            10           1         0         0        20
 Dixon                          1           40         1         0            40           1         0         1         9
 East Moline                    0           90         0         6            20          11         0         0        13
 Graham                         9           40         0         0            40           1         0         0         7
 Hill                           3           45         0         0            40          27         0         4        42
 IRCC                           2            6         3         0             0          12         0         2         5
 Jacksonville                  14          106         0         0            10          19         0         0         0
 JTC                            0            1         0         0             0           0         0         0         0
 Kewanee                        0           77         0        29            10           2         0         0         7
 Lawrence                      20           20         0         0            10           0         0         1         3
 Lincoln                       17           38         0         0            20           0         1         0         6
 Logan                         26           56         3         0            10           0         0         0        21
 Menard                        48           47         0         0            40           0         0         1        27
 Murphysboro                   10           10         0         0             0           0         0         1         2
 Pinckneyville                296          365         0         0           170           2         0        34       101
 Pontiac                        0           30         0         0            10           0         0         1         6
 Robinson                       5           13         0         0            10           0         0         0        40
 Shawnee                       22           42         0         0            20           0        20         0         8
 Sheridan                       2           73         0         0             0          20         0         1         4
 Southwestern                  23           23         0         0            10           0         0         0         0
 Stateville                     0            2         0         0             0           5         2         1         3
 Stateville NRC                31           33         0         0            30           0         0         0         1
 Taylorville                    3           12         0         0             0           1         0         0         8
 Vandalia                       4           23         0         0             0           0         0         0         0
 Vienna                        42           42         0         0            10           3         0         0        10
 Western                        0           20         0         0             0          16         0         0         7
 Totals                       639         1342         9        35           590         145        23        58       321
 Vaccine Glossary: HPV = human papilloma virus; MMR= measles, mumps, rubella; TD = tetanus, diphtheria; Tdap =
 tetanus, diphtheria, pertussis; P-20 = pneumococcal-20; P-23 = pneumococcal-23; RSV = respiratory syncytial virus; RZV =
 recombinant zoster vaccine (shingles)
 *No data was provided on the ordering of meningococcal or haemophilus influenzae type B (HiB) vaccines
 ** Pneumococcal-23 vaccine is no longer recommended by the CDC




The gross volume of pharmacy vaccine orders especially stock orders does not definitively equate to the
volume of vaccines actually administered. The pharmacy data also does not provide any indication of the



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actual unmet need for adult vaccinations in the IDOC and how many vaccines are actually administered,
refused, or simply not offered. As also noted in the above Pharmacy table, there is a wide variation in the
ordering of a number of the different vaccines between the thirty IDOC facilities. IDOC needs to
investigate the reasons for this variation.

However, based on the dispensing data from the 34 month period (November 2019-August 2023) reported
in the 7th Report and from the 3 months of data (January-March 2024) provided in the Pharmacy table
(see above), there are indications that some vaccinations are becoming more accessible in the IDOC.

From November 2019 to August 2023 (34 month period), only seven IDOC correctional centers ordered
a total of 82 doses of Hepatitis A vaccine; while in the 3 month period from January to March 2024,
twenty-four facilities ordered 639 doses. IDOC has taken heed of IDPH’s website that declared
“individuals in correctional settings…are at risk for becoming sick with Hepatitis A due to the close living
quarters” and recommended that all inmates and correctional staff be vaccinated with hepatitis A vaccine.
IDPH made special mention of the need to vaccinate kitchen staff and food handlers in correctional
facilities because they can cause and further spread outbreaks of hepatitis A.554 The Monitor has
previously recommended555 that IDOC mandate Hepatitis A vaccine for porters (inmate workers) and
hospice workers who assist infirmary patients with the activities of daily living, change soiled bed linens
in the infirmary, clean infirmary beds, and sanitize and clean floors and walls of mental health crisis rooms
that have been smeared with fecal material.556 The Monitor fully supports increased vaccination of all
individuals residing in the correctional facilities but IDOC should prioritize porters to receive this vaccine.

During the aforementioned 34 months (November 2019-August 2023) only eleven facilities ordered 61
doses of Hepatitis B vaccine as compared to the 3 month period (January-March 2024) when all thirty
IDOC facilities ordered a total of 1,342 doses. IDOC had previously only offered Hepatitis B vaccination
to porters (and hospice workers)557 as directed in an established administrative directive. The Monitor
supports Hepatitis B vaccination of porters and hospice workers because the potential of accidental needle
sticks in the infirmaries and other health care areas. The CDC has also recommended onetime universal
hepatitis B screening of all adults aged 18 years and older558 and routine hepatitis B vaccination for all
individuals 19 years through 59 years and for individuals with known risk factors (which include chronic
liver disease, HIV infection, sexual exposure risk, current or recent injection drug use, and incarceration)
regardless of age.559 As shown in the Boswell pharmacy data in the table above, Hepatitis B vaccines are
now being ordered more frequently and this is “a major step toward reducing chronic hepatitis B-related
morbidity and mortality” in the IDOC and ultimately in the State of Illinois.560



554
    IDPH website: Preventing Hepatitis A Outbreaks in Jails
555
    This recommendation has been made by the Monitor in the 2nd, 3rd, 4th, 5th, 6th, and 7th Court Reports
556
    This increase in offering Hepatitis A is occurring even though IDOC deleted specific language in the penultimate draft of
the Immunization Policy which had stated: “2: Hepatitis A vaccine will be offered to all porters and hospice workers who
have risk of exposure to fecal wastes” was not included in the final version of the Immunization policy.
557
    IDOC Administrative Directive 04.03.116, Bloodborne Pathogens. (IDOC does offer Hepatitis B vaccination to
individuals with liver disease.)
558
    Conn EE, et al. Screening and testing for hepatitis B virus infection, CDC Recommendations 2023, MMWR published
online March 10, 2023
559
    CDC Recommended Adult Immunization Schedule, United States, 2024
560
    CDC Adult Immunizations 2024 Hepatitis B vaccination and So Samuel et al, Universal Adult Hepatitis B Screening and
Vaccination as the Path to Elimination. JAMA, May 16,2023 Volume 329 No.19, p 1639-40.



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Based on the vendor subcontract pharmacy data in the first quarter of calendar year 2024, it also appears
the IDOC providers have begun to order newly available and recommended Pneumococcal-20 and
Respiratory Syncytial Virus vaccines and have continued to order and offer Recombinant Zoster Vaccine
(Shingles) to at risk individuals.

However, the Pharmacy report (see table above) shows that only two of the twenty-eight male correctional
centers ordered Human Papilloma Virus (HPV) vaccines. 561 To assess the provision of HPV vaccine,
the Monitor reviewed 30 medical records from five male facilities and twenty medical records from
IDOC’s two female facilities (see HPV table below).

                                       Human Papilloma Virus Vaccination
                                     Individuals 26 Years of Age or Younger
                                                   50 Records Reviewed*
 Male                 Records          Previously           Eligible but       Eligible and        Accepted   Refused
 Facilities           Reviewed        Vaccinated**              Not              Offered
                                                            Offered**
 BMRCC                     5                   2                3***                  0              N/A       N/A
 Centralia                 10                  0                  10                  0              N/A       N/A
 Danville                  5                   0                5****                 0              N/A       N/A
 Sheridan                  5                   0                   4                  1               0         1
 Western                   5                   0                   5                  0              N/A       N/A
 Totals                    30                  2            27/28 (96%)          1/28 (4%)         0/1 (0%)     1/1
                                                                                                              (100%)

 Female               Records           Previously          Eligible but       Eligible and        Accepted   Refused
 Facilities           Reviewed          Vaccinated              Not              Offered
                                                              Offered
 Decatur                   10                  4                 0                    6               2         4
 Logan                     10                  0                   0              10*****            10         0
 Totals                    20                  4             0/16 (0%)              16/16           12/16      4/16
                                                                                   (100%)           (75%)     (25%)
 *Database, immunization history, and I-CARE records reviewed when provided

 **Previously vaccinated patient not included in denominator in 4 columns to the right.

 ***2 individuals had not completed the 3-dose regimen but were not offered the 2nd or 3rd doses

 ****1 individual had not completed the 3 dose regimen but was not offered the missing 3rd dose.

 ***** 5 completed the 3 dose regimen and 5 were due for the 3rd dose on 6/25/24




Beginning with the 2nd Court Report562, the Monitor has identified that the two female facilities had
established HPV vaccination programs. The continuation of these HPV vaccination programs are reflected

561
   Both two female facilities, Decatur and Logan, have established HPV vaccine programs that have ordered approximately
675 HPV vaccines over the last few years which is sufficient number of doses to full vaccinate 227 women against HPV.
562 nd
   2 Court Report, August 6, 2020: Preventive Services section noted that Logan CC had already received an initial 130
doses of HPV vaccine.



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in the 100% documented offering of HPV vaccines to patients at these two female sites (see HPV
Vaccination table above). The male facilities have lagged behind in offering HPV vaccines to men twenty-
six years old or younger. The HPV vaccination table (see above) detailed that HPV vaccination had not
been offered to twenty-seven (96%) of twenty-eight eligible young men. IDOC currently houses an
estimated 3,000 men 26 years of age or younger but since 11/1/2019 through 3/31/2024563 male facilities
have only received individual and stock orders totaling 32 doses of HPV vaccine. This meager quantity is
only enough doses to fully vaccinate ten individuals. This is a significant missed opportunity to prevent
future cancers in men and ultimately in their sexual partners in the prisons and ultimately in the
community. IDOC should institute immunization programs that are modeled after the functioning HPV
program at Decatur and Logan CCs.

The Monitor reviewed the databases, problem lists, immunization histories, and annual health assessments
of sixty males with chronic illnesses and/or 65 years or older to identify the documentation of the offering,
administration, and refusal of other adult immunizations. The results of this audit are shown below.

                                Selected Immunizations
                         Individuals 65 Years of Age and Older
                                 60 Records Reviewed*
 Vaccine                 # Eligible     Up to Date     Refused                      Incomplete
                                            or                                      Database or
                                       Accepted**                                   Not Offered

 Pneumococcal                 54             17 (31.5%)            0 (0%)             37 (69%)
 RSV
 (respiratory
 syncytial
 virus)                       38               2 (5%)              0 (0%)             36 (95%)
 RZV
 (recombinant
 zoster
 vaccine-
 shingles)                    53              19 (36%)             0 (0%)             34 (64%)
 Tdap/
 Tetanus                      60              26 (43%)             1 (2%)             33 (55%)
 Total                       205              64 (31%)            1 (0.5%)           140 (68%)
 * BMRCC, Decatur, East Moline, Hill, Jacksonville, Lawrence, Lincoln, Pinckneyville, Shawnee,
 and Taylorville.

 An offer of vaccination was accepted if there was any documentation in the record that the vaccine
 was offered, refused or administered.




The data in the above Immunization table verifies that a large number of male individuals in IDOC have
not been offered adult immunizations that are nationally recommended for older or at-risk individuals.
Fifty percent of the patient charts reviewed by SIU564 in the 2nd quarter of FY 2024 documented that 18
of the 29 facilities had failed to offer pneumococcal vaccination to eligible patients. The Monitor team

563
   The Boswell Pharmacy report for 9/1/23 -12/31/23 has not been received by the Monitor.
564
   SIU Office of Correctional Health nurses review ten charts at 29 IDOC facilities on a quarterly basis to assess selected
performance and outcome measures including the offering of pneumococcal vaccines to at risk patients.



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similarly identified that 68.5% of 54 individuals who were candidates for pneumococcal vaccine lacked
documentation that they had ever been offered this nationally recommended immunization (see
Immunization table above). It is a significant concern to the Monitor that large numbers of the individuals
in custody are not being offered vaccines that are now readily available in the IDOC.

The monitor team has noted that indicated vaccines are not being offered during the intake screening at
the four reception centers or during chronic care clinics in many facilities. It appears that indicated
vaccinations are not addressed until an individual is seen for annual or biannual periodic health assessment
visits and even then they are not consistently offered.

Although a few facilities have initiated logs of patients receiving or scheduled to receive specific
vaccinations, none of these logs track the number of individuals who are eligible to receive vaccines.565
SIU worked with IDOC to initiate performance and outcome measures for influenza and pneumococcal
vaccinations. Each quarter ten medical records are reviewed at each facility for each of these two
measures. SIU has only recently begun to cumulatively report both the offering and the acceptance data
for these two performance measures. The actual percentage of eligible patients at each facility who are
offered and receive these vaccines and tests is not yet being measured.

The Immunization policy (G.08.01) states that “Vaccines will only be given on the order of an appropriately
licensed health provider or under the guidelines of approved treatment protocols”. The IDOC has not
yet developed systemwide guidelines giving nurses the ability to immunize patients. IDOC has voiced
support in previous reports566 for this modification of nursing responsibilities.567 The Monitor has repeatedly
recommended to IDOC that the management of the immunization program at facilities be placed under
the control of nursing with a single nurse at each site who directs and manages the program under standing
orders approved by IDOC physician leaders and the Agency Infection Control Coordinator and overseen
by the facility infection control nurse. Placing the immunization program under the umbrella of nurse
leadership offers IDOC the best option for successfully providing recommended adult immunizations to
the IDOC population. No recent information about progress toward systemwide implementation of this
modification has been provided to the Monitor. IDOC needs to create treatment guidelines codifying that
nurses can immunize patients based on protocols that could be modeled on the current practices of nurses
vaccinating for HPV prevention at Logan and Decatur CCs, the annual influenza vaccine events, and the
ongoing provision of COVID vaccination. Recommendation number 10 in the Staffing section of this report
recommends that facility positions should be titled by responsibility and assignment so that workload can
be properly assigned. Twenty-eight568 of the 217 vacant RN positions should be re-titled Infection Control
Coordinator and posted to that title so that nurses are hired into a designated position for this purpose.

As noted in the 5th, 6th, and 7th Reports, vaccination practice in the IDOC currently varies from site to site.
There is not a standardized method to document immunizations in the paper medical record. Some
vaccinations are documented on the Database, some are documented on progress notes, and some are

565
    Logs of HPV vaccination have been presented in the past from the female facilities Decatur CC and Logan CC.
566
    6th Court Report 3/13/2023 and 7th Court Report 12/27/2023
567
    In accord with practice guidelines and protocol, outpatient nurses in public community centers commonly coordinate and
administer adult vaccinations and IDOC facility nurses currently manage annual influenza events, intake influenza and COVID
vaccinations, and, at the two female correctional centers, HPV vaccination programs. Implementation Plan #28.1.c also states
P+P will include: “Modification that allows nurses, acting under protocol, to immunize patients.”
568
    Some of the smaller facilities may not need a dedicated infection control nurse. We chose 28 but that number may be
decreased slightly depending on criteria chosen by IDOC.



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documented on orders. The Monitor has noted that the initial steps have been taken to standardize the
immunization program including revision of the Immunization policy and development of forms that track
and report the offering of vaccines in the facilities. Staff training on the revised policies and the new
immunization tracking forms are still needed. IDOC must ensure that there is adequate staffing to
implement, oversee, and administer immunizations at all facilities.569

Failure to provide nationally recommended vaccines to the incarcerated population is a missed opportunity
to prevent infection and cancers in the IDOC and ultimately in all communities in Illinois.

Recommendations: (see Infection Control recommendations which are integrated with the Immunization
Program)
1. Offer all individuals housed in the IDOC with adult vaccinations recommended by the continually
    updated Center for Disease Control and Prevention (CDC) Adult Vaccination guidelines.
2. The IDOC immunization guidelines must be reviewed and updated as needed to assure that updates
    to Center for Disease Control recommendations for adult immunizations are expeditiously
    incorporated into the IDOC guidelines.
3. Institute an Immunization Program that has standardized practices, staffing, equipment, supplies, and
    training with a standardized vaccination recording, tracking and reporting process.
4. Institute statewide training of nurses on safe immunization practices and updated immunization
    procedures.
5. Place the Immunization Program under the umbrella of nursing leadership overseen by the Agency
    Infection Control Coordinator and each facility’s infection control nurse using approved standing
    orders to administer recommended adult immunizations.
6. Ensure that the new EMR vendor incorporates data points and clinical prompts which electronically
    remind, record, track, and report the number and percentage of eligible candidates for each adult
    vaccine and all immunizations offered, not offered, administered, refused and the identified clinical
    indication (age, clinical condition, etc.).
7. Offer HPV vaccination to all incarcerated women and men 26 years of age or younger or as
    recommended by the CDC adult vaccination. Special emphasis is to be focused on increasing the
    offering of HPV vaccination of eligible males. HPV is one of the few vaccines that can prevent
    cancer in women and men.
8. Initiate a universal Hepatitis B screening and vaccination program preferably in conjunction with a
    triple panel (HBsAg, antibody to HBsAg, and total antibody to hepatitis B core antigen).570 Hepatitis
    B is also one of the few vaccines that can prevent chronic hepatitis that can progress to advanced
    fibrosis and cirrhosis, ultimately causing hepatocellular cancer.
9. Provide Hepatitis A immunization to all porters, hospice workers, and staff lacking immunity who
    are exposed by their duties to fecal-oral pathogens, and to kitchen workers who prepare and handle
    food.




569
    “Adequate” staffing includes a dedicated facility infection control nurse, sufficient facility nurses to administer
immunizations, and additional systemwide Infection Control Program support staff. There also may a role for the newly hired
Implementation Plan Coordinator to track and report on the progress of the immunization program.
570
    IDOC Medical Policy and Procedure Manual: B.01.01.VI.4 Preventive Service and Periodic Health Assessment states that
“Screening for Hepatitis B… is required. The patient should receive hepatitis B vaccination, if negative for both antigen and
antibody”.



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10. Pending the implementation of the EMR, standardize the interval tracking methodology in the paper
    medical record so that there is uniform and accurate documentation of all vaccinations that are
    offered, not offered, administered and refused.
11. Take necessary steps to access I-CARE immunization report for all new admissions to the IDOC and
    to assure that the I-CARE report is placed, transcribed or scanned into the medical record. Ultimately
    IDOC’s EMR and I-CARE should establish a bidirectional data link.

Cancer and Routine Health Maintenance Screening
OVERALL COMPLIANCE RATING: Partial Compliance

Findings:
The rating of partial compliance continues to be based on provision of logs and data noting the
measurement and offering of nationally recommended colorectal cancer screening tests and the provision
of FIT testing logs from ten IDOC facilities. Data, albeit limited, was also provided for the first time from
multiple facilities on hepatocellular cancer screening on hepatitis C patients with advanced fibrosis and
cirrhosis. It is encouraging that IDOC has indicated that four additional performance and clinical outcome
measures that have the potential of increasing the early detection of cancer have been added in FY 2024
or will be added in FY 2025.571 These additional measures are cervical cancer screening, prostate cancer
screening, annual weight monitoring, and smoking history screening. However, the persistent lack of any
data that screening for prostate cancer, lung cancer, and abdominal aortic aneurysm are being performed
continues to put IDOC in jeopardy of being non-compliant with Consent Decree III.M.1.c. IDOC has also
not provided data that education on Policy B.01.01, Preventive Service and Periodic Health Assessment,
has been given to staff.572 The lack of facility data on the percentage of individuals eligible for
immunizations and cancer and routine health maintenance screenings who have actually been offered
vaccinations and screenings is a gap that needs to be addressed.

Recommendations: See General Recommendations at the start of Preventive Services section

Colorectal Cancer Screening

Overall Compliance Rating: Partial Compliance

Findings:
As previously noted in the 7th Court Report, since the Consent Decree was signed the United States
Preventive Services Task Force (USPSTF) has lowered the age when annual colorectal screening should
begin for asymptomatic, low risk individuals from 50 years to 45 years of age. In its Preventive Service




571
    Cervical cancer screening was initiated in early FY 2024 and prostate cancer screening, annual weight monitoring, and
smoking history screen will be added in late FY 2024 or FY 2025
572
    The new IDOC Policy and Procedure Manual was finalized and began to be disseminated in February 2024. IDOC has
communicated that there have been some training sessions on the new policies but participation and attendance has not been
tracked.



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and Periodic Health Assessment Policy, IDOC has appropriately modified the age to begin colorectal
cancer screening to 45 years.573

The table below contains the data from colorectal cancer screening logs at ten IDOC facilities.

                Data from Colorectal Cancer Screening Logs
                Fecal Immunochemical Stool Testing (FIT)
 Facility          Dates of        # FIT        # Refused      # Accepted
                  Screening       Offered                         FIT
 BMRCC            9/4/23 to         265        118 (44.5%)     147 (55.5%)
                   2/4/24
 Dixon           11/13/23 to        107          40 (37%)       67 (63%)
                   2/6/24
 East Moline      5/23/23 to        102          40 (39%)       62 (61%)
                    4/8/24
 Hill             8/17/23 to        255          11 (4%)        244 (96%)
                    3/1/24
 Jacksonville      2/29/24           8           6 (75%)         2 (25%)
 Kewanee         10/31/22 to        115          57 (50%)       58 (50%)
                   3/13/24
 Lawrence         9/4/23 to          55           0 (0%)        55 (100%)
                   3/13/24
 Shawnee         11/2023 to         432        339 (78.5%)      93 (21.5%)
                   1/2024
 Sheridan        11/15/22 to        192          25 (13%)       167 (87%)
                   2/16/24
 Vienna           7/26/23 to         61          46 (75%)       15 (25%)
                   12/25/23
 Totals                            1592         682 (43%)       910 (57%)



This is first time that IDOC provided the Monitor with logs from multiple facilities documenting the colon
cancer screening activities utilizing the Fecal Immunochemical Test (FIT).574 These logs demonstrate that
the USPSTF-approved FIT screening is now being increasingly used in the IDOC to screen for colorectal
cancer.

The ten logs used different nomenclature and gathered varying types of data. This may impact on the
accuracy of the data provided. The ten facilities reported on FIT screening data for periods of time that
varied from to 3 to 17 months. Some logs did not list the age or date of birth of the patients. Some noted
the date the specimen kit was accepted and the date the specimen was returned and tested; most did not.

573
    IDOC Medical Policy and Procedure B.01.01.VI.A.1: Preventive Service and Periodic Assessment February 2024. “All
patients aged 45-75 will be screened for colon cancer using a Fecal Immunochemical Test (FIT), which is approved as a
screening method by the USPSTF.”
574
    In the past colorectal cancer screening logs had only been provided for Logan CC (Oct-Dec 2021 Facility CQI minutes),
East Moline (2022 data), and Kewanee (7th Report 12/27/23).



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Only three of the ten facilities’ logs documented the results of the screening test.575 None of these three
sites documented on the log whether individuals with abnormal tests were referred for the diagnostic
colonoscopy procedure.576 Two facilities577 appeared to have only reported tests that were completed and
not the total number offered. In preparation for the electronic medical record (EMR), IDOC needs to
implement a standardized colorectal cancer screening log or database that can readily be adapted in the
EMR.

On August 1, 2023, the Agency Medical Director distributed a letter to all health care providers and the
medical vendor formally stating that, effective immediately, digital rectal examination (DRE) for
colorectal cancer screening was no longer the standard of care. However, one facility’s578 colorectal cancer
screening testing log continued to offer both FIT screening and digital rectal exams from 8/28/23 through
12/10/23 or even longer. During these four months after the ban on DRE as a screening modality for
colorectal cancer was distributed, 54 men at this facility were offered DRE, 47 refused and 7 accepted this
outdated screening test for colorectal cancer (and prostate cancer). The IDOC needs to vigorously re-
inform providers that DRE is no longer recommended for colorectal cancer screening and it is also not a
nationally approved screening test for prostate cancer. At one facility, a compliance officer cited IRCC
for not performing a digital rectal examination in accordance with administrative directive 04.03.101.579

Sixty-four individual medical records of patients 45 to 75 years of age or older from eleven IDOC facilities
were reviewed to evaluate screening for colorectal cancer. The results of the Monitor’s audit are shown in
the table below.




575
    Hill CC: 3 positive FIT results (1.2% of 244 tests), Shawnee CC: 2 positives (5.1% of 39 tests), and Sheridan: 13 positives
(7.8% of 166 tests)
576
    The monitor was not provided with information on referrals of positive (abnormal) screening tests for further diagnostic
testing.
577
    The high percentages of FIT test acceptance rates on the logs of two facilities, Hill (96%), Lawrence (100%), suggest that
these two sites were primarily reporting on patients who had accepted testing. On the individual chart reviews, Hill (9/9,
100% acceptance) and Pinckneyville (9/9, 100% acceptance) also likely selected only charts that had been offered FIT
testing.
578
    Vienna CC: Annual Physical and Colorectal Tracking/Year 2023-2024, Digital Rectal Exam column
579
    See also the example at IRCC, as cited in their January, 2024 CQI minutes (titled February 2024 CQI IRCC in the
document sent) in which a compliance officer cited the IRCC medical program for not performing digital rectal examination
consistent with administrative directive 04.03.115. This is discussed further in the Leadership section of this report.



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                                              Colorectal Screening
                                                     FIT testing
                                               64 Record Reviews*

                                           FIT Not
                                          Offered or
                        Eligible             Not                                      FIT
 Facility               Patient          Documented           FIT Offered           Accepted           FIT Refused
 Decatur                     7                   0                   7                    6                   1
 East Moline                 1                   0                   1                    1                   0
 Hill                        9                   0                   9                    9                   0
 Lawrence                   10                   9                   1                    1                   0
 Logan                       5                 2**                   3                    2                 1***
 Lincoln                     8                   8                   0                    0                 N/A
 PNK                         9                   0                   9                    9                   0
 Shawnee                     3                   0                   3                    2                   1
 Stateville                  1                   1                   0                  N/A                 N/A
 Stateville
 NRC                         2                   2                   0                  N/A                 N/A
 Taylorville                 9                   6                   3                    3                   0
 Total                      64              28 (44%)            36 (56%)          33/36 (92%)           3/36 (8%)
 *The chart review consisted of the database, problem list, and clinic notes. Credit was given if a colonoscopy
 occurred in the last 10 years in individuals 45-75 years of age.

 ** One patient had a single negative guaiac test. This methodology is not a recommended screening test for
 colorectal cancer.

 *** This patient refused screening in 9/2022 but was not re-offered screening in 2023 or so far in 2024.




In the above table, 36 (56%) of the 64 patients eligible580 for colorectal cancer screening were offered
testing and 28 (44%) eligible patients were not offered this annual screening. Thirty-three (92%) of those

580
   USPSTF 2023 recommends screening for colorectal cancer in adults aged 45 to 49 years (Grade B) and aged 50-75 years
(Grade A recommendation)



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offered testing were screened using a nationally recommended screening test (fecal immunochemical test
(FIT) or had colonoscopy within the last ten years. Only one patient was reported as being screened by
testing a single stool hemoccult card for the presence of blood; this screening modality is no longer
recommended by the USPSTF or IDOC.

Eighteen of these sixty-four persons who were offered FIT testing were also offered to have a digital rectal
exam to gather a fecal sample for a single hemoccult test and to perform a prostate exam. As recently as
May 3, 2024, patients were identified who continue to be offered DRE as a screening for colorectal cancer
and likely prostate cancer. Some patients were offered both a DRE and a FIT test. Sixteen men refused
the rectal exam and eight accepted FIT screening. Performing a rectal exam and testing a single stool
specimen for blood has been not recommended as a screening test for colorectal cancer for the last 15-20
years. Digital rectal examination is also no longer a recommended screening test for prostate cancer (see
Prostate Cancer Screening section). There is no clinical justification for doing a digital rectal examination
as a screening test for any cancer.

On a quarterly basis since July of 2022, IDOC in collaboration with SIUOCM581 has reviewed ten medical
records from each of twenty-eight582 facilities to assess the delivery of colorectal cancer screening using
the FIT methodology. In Spring/early Summer of 2023, the audit was modified to include documentation
of both acceptance and refusal of this screening. After reviewing the data for the initial four quarters,
IDOC’s System Quality Council initiated a focused action to increase the offering of colorectal cancer
screening to the incarcerated men and women. The SIU data in the first quarter of FY 2024 (July-
September 2023) revealed that only 50% or less of the patients records reviewed at twenty of twenty-
seven facilities had evidence that these individuals had been offered colorectal cancer screening. This is
in line with the Monitor’s recent audit of 64 charts of eligible patients (see above Individual Chart Reviews
table) which indicated that 44% lacked documentation of being offered colorectal cancer screening. Data
from the 2nd Quarter FY 2024 has not yet been provided.

The IDOC has appropriately recommended and promulgated FIT testing as the screening test for colorectal
cancer in all of its facilities.583 The provision of colorectal cancer screening logs demonstrates that
colorectal cancer screening using a nationally recommended modality is increasingly being offered.
However, the above chart audits document that a significant percentage of eligible individuals are still not
being offered annual colorectal cancer screening or at longer intervals based on the results of colonoscopy
studies.584 Colorectal cancer is a potentially preventable and curable malignancy. IDOC must offer annual
screening for colorectal cancer to all eligible individuals in custody. The current data shows that a
significant percentage of eligible individuals have not been offered this important screening.

Recommendations:
   1. Monitor and report the offering, provision, and refusal of colorectal cancer screening to the facility
      Quality Improvement Committees.
   2. Track and report the number and percentage of the eligible incarcerated population offered annual
      colorectal cancer screening (and at longer intervals for individuals having received colonoscopies).

581
    Southern Illinois University Office of Correctional Medicine.
582
    Stateville NRC is an intake center with a high turnover of its population and JITC has only a handful of patients.
583
    IDOC Medical Policy and Procedure Manual, Policy B.01.01: Preventive Services and Periodic Health Assessment,
February 2024.
584
    Based the result of diagnostic colonoscopies, patients may not need to have repeat procedures or screenings for 3-10 years.



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      3. Continue to monitor whether digital rectal examination is being offered as a screening test for
         colorectal cancer until this out of date, non-recommended procedure is verifiably discontinued in the
         IDOC.
      4. Eliminate Administrative Directive 04.03.101 Physical Examination statement G.2.(f).v.585 which
         states “If 40 years of age or older, a digital rectal exam with guaiac testing” is to be done. This
         should be revised to be in accordance with current OHS directives on cancer screening.
         Compliance officers must be told not to audit against this statement as it adversely affects
         compliance with the Consent Decree and is clinically inappropriate.

Prostate Cancer Screening

Overall Compliance Rating: Non-Compliance

Findings
IDOC’s Preventive Services and Periodic Health Assessment Policy586 states that “(for) men aged 55-69
the decision to undergo periodic prostate-specific antigen (PSA) based screening for prostate cancer
screening should be an individual one, per USPSTF guidelines.” This policy is fully aligned with the
current national recommendation (C Grade)587 of the USPSTF for prostate cancer screening.588

Forty-seven medical records of men aged 55-69 years from nine IDOC facilities were reviewed to evaluate
whether there was documentation that IDOC policy and the USPSTF (C grade) recommendation
concerning prostate cancer screening were being followed. Results of this review are in the table below.




585
    This is the current administrative directive as found on the IDOC Internet site at
https://idoc.illinois.gov/content/dam/soi/en/web/idoc/aboutus/policies/policies/programs-and-services/403101-individual-in-
custody-physical-examinations.pdf.
586
    IDOC Medical Policy and Procedure Manual, Preventive Services and Periodic Health Assessment, Policy
B.01.01.VI.B.ii.
587
    USPSTF Grade C definition” “The USPSTF recommends selective offering or providing this service to individual patients
based on professional judgement and patient preferences. There is at least moderate certainty that the new benefit is small.”
588
    USPSTF Prostate Cancer Screening recommendations 2018. Reviewed 2024. This is a “C Grade” recommendation



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                                                 Prostate Cancer Screening
                                        Individual Chart Reviews (2023-2024)
                                                 Males 55-69 Years of Age
 Facility               #            Documented             PSA Done               DRE       DRE      DRE
                     Eligible        Discussion of                               Offered**   Done    Refused
                     Patients        Pros/Cons of
                                     PSA* Testing

 BMRCC                   2                   0                   N/A                2          0       2
 East Moline             1                   0                   N/A                1          0       1
 Hill                    7                   0                   N/A                6          1       5
 Jacksonville            3                   0                   N/A                3          0       3
 Lawrence                5                   0                   N/A                2          0       2
 Lincoln                 8                   0                   N/A                2          1       1
 PNK                     10                  0                   N/A                8          0       8
 Shawnee                 2                   0                   N/A                1          0       1
 Taylorville             9                   0                   N/A                7          3       4
 Totals                  47              0 (0%)                  N/A             32 (68%)     5/32    27/32
                                                                                             (15%)   (85%)
 *PSA = prostate specific antigen, a test used to evaluate for prostate cancer

 **DRE = digital rectal examination




Audits of 47 medical records revealed that none had documentation that the harms and benefits of PSA
screening had been discussed with patients by their providers. Although the performance of a digital rectal
exam (DRE) is no longer a recommended screening test for prostate cancer, 32 (68%) of the 47 men were
offered digital rectal exams; 5 received a rectal exam and 27 refused this exam. The Monitor was not
provided with laboratory data indicating if prostate-specific antigen (PSA) had or had not been offered to
any of these 47 men.

IDOC’s System Quality Council has recently determined that prostate cancer screening will be a
systemwide performance and clinical outcome measure beginning in either late 2024 or early 2025.589
IDOC has not yet developed the definition of what will be reviewed for this new measure. The Monitor
is supportive of this decision to monitor the provision of prostate cancer screening that is in accord with
Policy B.01.01 and USPSTF prostate cancer screening guidelines (Grade C).

Since 2021, IDOC has communicated that providers are to discuss the benefit and potential harms PSA
screening with men who are eligible for prostate cancer screening.590 The Monitor has found no evidence
or been provided any data that IDOC providers are adhering to the IDOC policy B.01.01 or USPSTF
guidelines (Grade C) concerning prostate cancer screening. IDOC must vigorously stop the offering of
digital rectal examination to screen for prostate cancer. A first step is to immediately change administrative
directive 04.03.101, which requires rectal examination. This ineffective screening method has not been

589
      OHS-Monitor Monthly Conference Calls: 7/18/24, 9/19/24
590
      IDOC Administrative Directive Immunization and Cancer/Preventive Screening Programs, January 2021



                                                                                                               205
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nationally recommended for many years. As was done for colorectal cancer screening,591 OHS should
issue a communication to all providers and the medical vendor in the IDOC advising them to immediately
stop offering DRE for both colorectal and prostate cancer screening.

IDOC is not compliant with the prostate cancer screening element of Consent Decree, III.M.1.c.

Recommendations:
     1 Educate providers on the 2024 USPSTF (C Grade) recommendation and IDOC policy
        B.01.01VI.Bii to discuss with eligible patients the benefits and harms of prostate specific
        antigen (PSA) testing.
     2. Continue with the plan to review Prostate Cancer Screening as a new performance and clinical
        outcome measure in 2025 and create a definition of specifically what will be measured.
     3. In collaboration with SIU Office of Correctional Medicine report and analyze the quarterly
        results of this new performance and outcome measure.
     4. Clearly communicate to providers that digital rectal exam is not a recommended screening test
        for prostate cancer.
     5. See recommendation 4 in Colorectal Cancer Screening section above.

Mammography Screening

Overall Compliance rating: Substantial compliance

Findings:
Based on the Monitor’s previous reports and findings that IDOC was in substantial compliance with
Consent Decree III.M.1.d Mammogram Screen, the Court has ruled that mammography screening for
breast cancer is no longer required to be monitored. However, IDOC provided fourteen medical records
for the 8th report with data concerning breast cancer screening in the IDOC.

                                Breast Cancer Screening
                                 Biannual Mammogram
                              Decatur CC and Logan CC
 Facility           Eligible        Mammogram            Mammogram           Mammogram
                   Patients*        Done in 2022-        Last Done in          Refused
                                         23                 2021
 Decatur                10                  9                   1                    0
 Logan                  4                   2                   2                    0
 Totals                 14             11 (73%)             3 (20%)               0 (0%)
 *All women met breast cancer screening age criteria of USPSTF (50-74 years) and/or IDOC
 standard (45-74 years).




591
   Agency Medical Director, Memorandum to the OHS, HCUAs, Wexford Health Services, all Agency Health Providers.
Memo stated that digital rectal exam with stool guaiac testing is no longer the standard of care (for colorectal cancer
screening. August 1, 2023



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Eleven (73%) of fourteen medical records had evidence that mammograms had been performed in the last
two years. However, three (20%) of this limited sample had not received mammogram screening since
2021. No information was provided for the reason that mammogram screening had not been done as per
the nationally recommended two year interval. Even though IDOC has been declared to be in substantial
compliance with the breast cancer screening item (III.M.1.d) of the Consent Decree, IDOC is encouraged
to continue to monitor, track, and report the provision of mammogram screening to eligible individuals.
Since the submission of 7th Report the USPSTF has revised its guidelines and now “recommends biennial
screening mammography for women aged 40 to 74 years.”592 The previous guidelines recommended that
mammography screening should routinely start in women at the age of 50 years. IDOC will need to revise
the age criteria in its Breast Cancer Screening section of Policy B.01.01.VI.B,2.i so as to be aligned with
this updated USPSTF recommendation.

Recommendations:
   1. Monitor and report the offering, provision, and refusal of breast cancer screening to the facility
      Quality Improvement Committees.
   2. Report data on the percentage of eligible incarcerated women who receive breast cancer screening
      screenings within the nationally established time intervals.
   3. Revise the IDOC Policy B.01.01: Preventive Services and Periodic Health Assessment, Breast
      Cancer Screening to be in align with the updated April 2024 USPSTF guideline that lowered the
      starting age to age 40 for screening mammography in normal risk individuals.

Cervical Cancer Screening

Overall Compliance Rating: Partial compliance

Findings:
Cervical cancer screening using the Papanicolaou test is recommended to be performed every 3-5 years
in females between 21 and 65 years of aged based on age and the results of HPV cultures.593 Abnormal
PAP smears require more frequent imaging and testing.

                                              Cervical Cancer Screening
                                                 ThinPrep Pap Testing
                                              Decatur CC and Logan CC
       Charts               Eligible           Pap Offered         Pap Done in          Test Refused           HPV Result
      Reviewed             Patients*                               Last 3 years              **                 Provided
         25                     16              16 (100%)            14 (88%)               2 (12%)             4/14 (29%)
 * Patients with total hysterectomies and/or 66 years of age or older are not candidates for cervical cancer screening and were
 excluded from this review.

 ** One refused the screening, another with a history of partial hysterectomy stopped the testing due to discomfort.




The Monitor requested and received three documents that were reviewed to assess the provision of cervical

592
    United States Preventive Services Task Force (USPSTF) Breast Cancer Screening was revised in April 2024 and now
recommends that biennial screening mammography begin at the age of 40 years.
593
    USPSTF 2024 and IDOC Policy, Preventive Services and Periodic Health Assessment, B.01.01, February 2024.



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cancer screening at Decatur CC and Logan CC (see above Cervical Cancer Screening table). A total of
twenty-five records were reviewed;594 20 medical records from Decatur and five records from Logan
were provided to the Monitor. Sixteen of 25 were eligible for screening. All 16 (100%) eligible females
were offered pap smear testing and 14 (88%) accepted this screening test.595 All 14 individuals who
accepted the test had been screened in the last three years; this was in accordance with the national
guidelines. Although the data provided noted that only eleven tests performed used ThinPrep PAP
methodology (which allows combined testing for cytological and HPV testing), the Monitor is aware that
this methodology is utilized for all cervical cancer screenings in the IDOC. Although it was likely done
on most of the tests,596 HPV results are returned on a separate form and were only provided for four of the
fourteen tests. HPV results were not transcribed on any of the ten periodic health assessment visits at
Decatur CC. A negative HPV test would increase the PAP testing frequency from every three years to
every five years. Extending cervical cancer screening to every five years is enthusiastically accepted by
the women in the community and would be welcomed by women in custody. Increasing the screening
interval would free up staff for other clinical duties.

In addition, SIU reviewed 46 medical records at Decatur and Logan597; which revealed that 37 (80%) of
the 46 patients had accepted PAP testing and 2 (4%) had refused the screening. Thirty-nine of 46 patients
(85%) had been offered cervical cancer screening. Seven (16%) of the charts lacked evidence that cervical
cancer screening had been offered to the patients.

As noted in previous Reports, randomly chosen chart reviews during site visits and non-randomly selected
medical records provided to the Monitor for previous Court Reports revealed that women were being
regularly screened for cervical cancers.598

IDOC needs to track cervical cancer screening based on the percentage of eligible women who are offered,
received, and refused testing within the established timeframes. This data should be reported to the CQI
committees and corrective action taken as indicated. There is evidence PAP tests are being regularly
performed at both female institutions. However, more robust data and tracking to assure that all eligible
women are being testing in accord with nationally cancer screening standards needs to be established.

Recommendations:
   1. Monitor and report the offering, provision, and refusal cervical cancer screening to the facility
      Quality Improvement Committees.
   2. Report data on the number and percentage of eligible incarcerated women who receive cervical
      cancer screenings within the nationally established time intervals.
   3. Audit the results of HPV cervical screenings to ensure that HPV results are being transcribed into
      the database and women with negative HPV tests are scheduled for “every 5 year” cervical cancer
      screening appointments.

594
    11 documents provided the results of PAP smears (6 from Decatur and 5 from Logan). Another 14 annual periodic health
assessment visits from Decatur identified whether PAP tests were offered, completed, or refused.
595
    Nine of the 11 eligible women at Decatur and all five eligible women at Logan agreed to PAP testing. Two patients at
Decatur were not tested; one refused and one asked that the speculum be removed due to pain.
596
    USPSTF recommends cytology testing alone every 3 years for women aged 21-29 year, but for women 30-65 years a
negative HPV test would allow testing every 5 years.
597
    26 charts were reviewed by SIU in the 1st quarter FY 2023 (July-September) and 20 charts in the 2nd quarter 2024
(October- December 2023) for evidence that PAP test had been offered or refused.
598 th
    4 , 5th, 6th, and 7th Court Reports



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Lung Cancer and Abdominal Aortic Aneurysm (AAA) Screening

Overall Compliance Rating: Non-compliance

Findings:
As previously reported, reviews of medical records, intake screening forms, annual medical histories,
chronic care visits from multiple medical records identified a consistent lack of adequate documentation
of a history of tobacco use, the years of smoking, the packs/day history, the pack years smoked, and
whether the patient had stopped smoking for 15 years or longer. Absence of this comprehensive data on
tobacco usage is a barrier to identifying which individuals should be screened for lung cancer599 and
abdominal aortic aneurysm (AAA).600 IDOC needs to address this gap in gathering pertinent medical
histories so that the IDOC Preventive Service and Periodic Health Assessment601 policy for identifying
eligible candidates for lung cancer and AAA screening can be implemented. To date the Monitor has not
identified any individuals in IDOC who has been screened for lung cancer and/or AAA.

Sixteen medical records from seven correctional centers of individuals with a documented history of
tobacco use who met the age criteria for eligibility for either lung cancer screening and/or AAA screening
were reviewed. The results of this review are noted in the table below.

                                    Tobacco Usage Documentation in 16 Record Reviews*
                 Lung Cancer** and Abdominal Aortic Aneurysm (AAA)*** Screening Completed
 Facilities***         # Eligible       Packs/Day/Years           Met Criteria       Screened for         Met Criteria        Screened for
                       Smokers              Smoked                 for Lung          Lung Cancer           for AAA               AAA
                                           Recorded                 Cancer                                 Screening
                                                                   Screening

        7                  16                 5 (31%)            4 (25%)****             0 (0%)             8 (50%)              0 (0%)
 * BMRCC, Hill, Jacksonville, Lawrence, Shawnee, Stateville, and Taylorville

 **The USPSTF recommends annual screening for lung cancer with low-dose computed tomography (LDCT) in adults aged 55 to 80 years
 who have a 20 pack-year smoking history and currently smoke or have quit within the past 15 years.

 ***The USPSTF recommends one-time screening for abdominal aortic aneurysm (AAA) by ultrasonography in men aged 65-75 who have
 ever smoked.

 ****Three additional charts noted either packs per day smoked or years of smoking but not both. These patients were not included in this
 table.




Of the sixteen medical charts individuals with a documented history of tobacco use, only five (31%) had
documentation of both the number of packs of cigarettes smoked per day and the number of years that the
patient had smoked which would enable pack years to be calculated. Zero (0%) clearly identified whether
the patient had stopped smoking for 15 years or longer. None of the four patients who met the criteria for

599
    USPSTF Annual Lung Cancer Screening criteria (low dose lung CT): Age 50-80, 20 pack year history, and had not
smoked for at least the last 15 years. The “15 years without smoking” exclusion criteria is currently under national
discussion and maybe be deleted in the near future.
600
    USPSTF One-time AAA Screening criteria (abdominal ultrasound): Age 65-74, positive history of smoking
601
    IDOC Policy B.01.01 Preventive Service and Periodic Health Assessment February 2024 is consistent with USPSTF
guidelines.



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lung cancer screening and the eight patients who were candidates for AAA screening had documentation
that they had been respectively referred for either or both of these two diagnostic tests.

As previously reported, the lack of comprehensive data on the use of tobacco is a significant barrier to the
identification of individuals who qualify for screening and early detection of lung cancer and AAA.
Moreover, smoking is a major cardiovascular and pulmonary health risk and is important to identify with
respect to primary and secondary cardiovascular prevention and pulmonary illness prevention and
management. The Monitor found no evidence nor was provided any data that IDOC providers are
adhering to the IDOC policy B.01.01 or USPSTF guidelines for screening at risk individuals for lung
cancer and AAA. The Monitor supports the decision of the OHS to initiate “Smoking history screening”
as a performance and outcome measure in 2025 as long as it measures whether a patient ever smoked, the
number of packs per week, the number of years smoked, the calculated pack years, and, if appropriate, the
calendar year (or the number of years) that the patient stopped smoking.602

Recommendations:
  1. Revise the medical history form to facilitate the accurate solicitation of data on the use of tobacco
     that would identify men and women (ages 50-80 years) eligible for ongoing lung cancer screening
     and/or men (ages 65-75 years) eligible for one-time abdominal aortic aneurysm (AAA) screening.
     Data should be documented in the database and would include age, smoker (Yes, No), packs per
     day, years smoked, calculated pack-years of tobacco use, and calendar year (or number of years)
     that individual stopped smoking. For the electronic record implementation, smoking history needs
     to be included using these criteria.
  2. All patients who meet the age and smoking criteria should be offered annual lung cancer screening
     and one time screening for AAA.
  3. Train nurses and providers on the comprehensive gathering and documentation of data on tobacco
     use and its importance in identifying individuals eligible for lung cancer screening and AAA
     screening.

Hepatocellular Cancer (HCC) Screening

Overall Compliance Rating: Partial compliance

Findings:
As communicated in the previous reports603, the standard of care in the United States for early detection
of hepatocellular (primary liver) cancer continues to be performing semiannual ultrasound liver screening
with or without alpha fetoprotein testing in patients with cirrhosis or at high risk for cirrhosis and HCC.604
UpToDate also suggests “surveillance screening for patients with chronic hepatitis C and advanced liver
fibrosis (F3) in the absence of cirrhosis.”605 It also appears to be the practice of the UIC Telehealth
Hepatitis Clinic to recommend semiannual ultrasound screening of hepatitis C patients in the IDOC with

602
    The current guidelines recommend that smokers who have stopped smoking for the last fifteen year or more are not
candidates for lung cancer screening. Medical experts are discussing whether the 15 year without smoking disqualification
should be eliminated.
603 th
    5 , 6th, and 7th Court Reports
604
    Singal AG et al. Diagnosis, Staging, and Management of Hepatocellular Carcinoma: 2023 Practice Guidance by the
American Association of the Study of Liver Diseases. Hepatology: 2023; 78(6): 1922-1965.
doi:10.1097/HEP.0000000000000466
605
    UpToDate, Colombo M, Sirlin B. Surveillance for hepatocellular cancer in adults, Topic updated February 2, 2024



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fibrosis scores of F2 (less liver scarring than F3).606 There are data that indicates HCC screening in
patients with any type of cirrhosis, including hepatitis C patients with sustained viral response to antiviral
treatment, leads to earlier detection, curative interventions, and improved overall survival.607

Data was received from the medical records of nineteen hepatitis C patients who were being jointly
followed in the UIC Telehealth Hepatitis Clinic and in six facility Hepatitis Clinics (see table below).

             Hepatocellular Cancer (HCC) Screening
 Facility              # Records           Eligible for         Regularly
                       Reviewed*           Semiannual           Screened
                                           Liver US or          with Liver
                                             MRI**                US or
                                                                 MRI**
 BMRCC                       4                    4                 3
 Dixon                       5                    4                    3
 IRCC                        2                    0
 Jacksonville                1                    1                    1
 Stateville                  3                    3                    2
 Vienna                      4                    2                    0
 Total                      19                   14               9 (64%)
 * Some records provided were incomplete lacking diagnostic reports
 including fibroscan and ultrasound reports making it difficult to assess the
 eligibility for screening including the frequency of screening.

 **Patients with liver fibrosis scores of F2-4, clinical documentation of
 cirrhosis, UIC specialist orders to do ongoing liver scans, and focal liver
 lesions or masses on initial studies are to have liver US screening (or MRI)
 every six months.

 *** Credit given if liver US (or MRI) were performed (or offered and
 refused) every 6-8 months or there was documentation that a repeat study
 was scheduled in 2024.




Fourteen individuals were deemed to be candidates for ongoing screening for hepatocellular cancer
(HCC). Each was to receive liver ultrasonography every six months. Nine (64%) of the 14 eligible
individuals were screened in alignment with the national standards. The documents received for the other
five (36%) eligible patients indicated that HCC screening had not been done in the last 10 to 26 months.608
One of the 14 individuals screened was found to have hepatocellular cancer that has been successfully
treated with ablation therapy.609

606
    Hepatis C (F2) patients #3 and #5 at Dixon are being screened semiannually for HCC.
607
    Park S, Davis A, Pillar A. AASLD Prevention, Diagnosis, and Treatment of Hepatocellular Cancer. JAMA (Clinical
Guidelines Synopsis). September 24, 2024; 332 (12), 1013-14
608
    Documents were provided to the Monitor in May and August 2024 and should have included reports into at least March
2024: Last Screening: BMR patient #3: 5/19/23, Dixon pt. #2: 3/14/23, S-Ville: pt. #1: 10/2021, Vienna: pt.# 3 11/2022 and
pt.#4 3/2023.
609
    Ablation of the HCC was performed in May 2022. Repeat MRI in November 2022 revealed no residual or new lesions.
However, no data or reports were provided since the November 2022 MRI, a period of 17 months.



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This is the first report that IDOC has provided HCC screening data from multiple facilities. Although this
data is still limited, it suggests that HCC screening is being offered to hepatitis C patients with cirrhosis
or advanced fibrosis. IDOC needs to establish a process that prompts, tracks and reports on the offering,
ordering, and completion of semiannual screening for HCC in at risk patients. The failure to adhere to the
current 6 months intervals for repeat HCC screening put the eligible individuals and the institution at risk.

Recommendations:
  1. Track the number of individuals eligible for semiannual HCC screening and the percentage who
     were offered, accepted, refused, or not offered. This data should be reported to the facility Quality
     Improvement committee at least every six months. This screening should be done for all those
     with cirrhosis, advanced liver fibrosis, and other high risk liver conditions.
  2. Add Hepatocellular Cancer (HCC) screening to the Preventive Service and Periodic Health
     Assessment policy B.01.01 as a recommended liver cancer screening for individuals with advanced
     liver fibrosis/cirrhosis.

Lung cancer, colorectal cancer, hepatocellular cancer, and prostate cancer are among the leading causes
of cancer mortality in the IDOC.610 These four cancers can be diagnosed and treated at an earlier stage
with effective screening programs and can even be prevented or cured if detected in an early or
precancerous stage. IDOC needs to more aggressively develop and track the effectiveness of its
cancer/preventive screening program. Effective cancer and RHM screening in the IDOC for at-risk
incarcerated persons has the potential to positively impact on avoidable morbidity and mortality in the
IDOC and ultimately in the community.

General Recommendations: (Specific recommendations are noted as needed in separate categories of
Preventive Service and Periodic Health Assessment see above)
   1. Ensure all adult immunizations and routine health maintenance (RHM)/cancer screenings, as
       respectively recommended by Center for Disease Control and Prevention (CDC) and the USPSTF
       (A and B recommendations), are being offered to all at-risk patients. (The USPSTF Prostate
       Cancer Screening (C recommendation) is also currently recommended in the IDOC Policy
       B.01.01, Preventive Services and Periodic Health Assessment.)
   2. The IDOC Cancer and Routine Health Maintenance (RHM) screening program guidelines must
       be reviewed and revised as needed to assure that updates to United States Preventive Services
       Taskforce A and B recommendations for routine health maintenance and cancer screening and
       Adult Immunization guidelines of the CDC are expeditiously incorporated into the IDOC
       guidelines.
   3. Monitor and report adult immunizations and RHM/cancer screenings by facility, tracking number
       of eligible candidates, number and percent offered, number and percent accepted, and number and
       percent refused.
   4. Ensure that the implementation of the electronic medical record (EMR) includes requirements to
       prompt, record, track and automatically report immunization and RHM/cancer screening data
       listed above in recommendation number 3.
   5. Develop and implement an interval immunization and RHM/cancer tracking solution, optimally

610
  2017-2022 IDOC mortality spread sheets: Total Cancer deaths 1)Lung cancer-25, 2)Colorectal cancer-14,           3)
Hepatocellular cancer-14, 4) Metastatic cancer unknown origin-12, 5) Pancreatic cancer-11, 6) Prostate cancer-6. The
mortality data is incomplete; the cause of death is commonly not reported and very few autopsies are performed.



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         an electronic database, until the EMR is fully developed and functional.
      6. Establish statewide training of providers and nurses on IDOC Policies and Procedures that provide
         guidance and direction on adult immunizations and RHM/cancer screenings and on the national
         standards as recommended and updated by the and by the United Preventive Services Task Force
         (USPSTF).
      7. Immediately discontinue the outdated and not recommended use of digital rectal exams screening
         tests for prostate cancer and colorectal cancer. IDOC should delete “rectal exam” from the
         physical examination form and educate providers on when a rectal examination is indicated.
      8. Proceed with auditing a)Annual weight monitoring, b)Smoking history screening, c)Cervical
         cancer screening, d)Prostate cancer screening to the performance and clinical outcome measures
         that will be audited quarterly in collaboration with SIU Office of Correctional Medicine. Each of
         these four additional measures have the potential to increase the early detection and even the
         prevention and treatability of cancers.611

Pharmacy and Medication Administration
Addresses items II.A; II.B.1; II.B.6.c; II.B.6.d;
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of Corrections
with serious medical or dental needs. Defendants shall ensure the availability of necessary services,
supports and other resources to meet those needs.
II.B.1. IDOC shall provide access to an appropriate level of primary, secondary, and tertiary care.
II.B.6.c. IDOC agrees to implement changes in the following areas: Medication administration records-
both for directly administered medications and KOP.
II.B.6.d. IDOC agrees to implement changes in the following areas: Medication refusals;

OVERALL COMPLIANCE RATING: Noncompliance

FINDINGS:
The following documents were requested by the Monitor to evaluate compliance with the Consent Decree
concerning medications.
   • For northern region facilities provide 1) times at each facility designated for medication
       administration, 2) times at each facility designated for insulin administration.
   • List training completed in the last 12 months for any nurses employed by either the state or the
       vendor at NRC, Graham, Menard, Logan, Stateville, Illinois River, and Pontiac.
   • Provide all pharmacy inspection reports and medication administration audits with documented
       corrective action for non-performance. These are completed by the consulting pharmacist for each
       facility.
   • Provide a copy of the findings and recommendations of the evaluation of medication management
       at the facilities initiated by SIU in June 2021.
   • Summarize any recommendations the SIU/OCM Director of Pharmacy Standards & Operations
       has made to the OCM/QMOE or IDOC, Office of Health Services.612

611
    Data on initial audits of cervical cancer screening and fasting lipids (also a new measure) have been reported for the 1st
Fiscal Quarter of 2024
612
    Monitor’s document request 2/29/2024, items 6, 76, 127-129. IDOC did not provide the Pharmacy inspection reports, and
MAR audits as requested (item 127). These are provided to each facility monthly by the pharmacist who conducts the



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The Monitor also reviewed the morbidity and mortality reports completed by SIU, reported adverse
events, and the monthly quality improvement minutes. The Monitor also reviewed the records of
individuals who died during this report period and examined medication orders, documentation of
medication administered, and its effect on the patient.

The Defendants Implementation Plan613 includes two process improvement projects, one on medication
management that lists eight targets and another on chronic disease management which supports providers’
evaluation of medication compliance and current medications at chronic clinic visits.614 Monitoring of
medication adherence is one of the Implementation Plan items in the implementation of the electronic
health record.615 Finally the Implementation Plan addresses medication safety as part of several additional
items (adverse event reporting, training, and process improvement projects).616

Progress toward compliance with II.B.6.c. since the last report
There has been some forward progress but by no means have the changes called for in medication
administration and refusals been realized as yet. The Department’s first policy and procedure manual
includes two policies specific to pharmacy and medication management. These are C.05.01 Medication
Administration/Delivery, Count Process, and Training and D.02.01 Pharmaceutical Operations. The
Monitor suggested on two occasions that the previous drafts of any policy on pharmaceutical operations
would benefit from the review and expert advice of an experienced pharmacist who is familiar with Illinois
state and federal law.617 Even though SIU Office of Correctional Medicine has had a pharmacist on staff
since June 2022, there is no evidence that this input was sought in the development of either of these
policies and procedures.

Development of Policy C.06.01 Medication Administration/Delivery, Count Process, and Training
In comments sent to OHS on 2/22/2024 the Monitor recommended that IDOC not move forward with the
draft of Policy C.06.01 Medication Administration/Delivery, Count Process, and Training until the
process improvement project outlined in item 55 of the Implementation Plan had been completed. OHS
elected to distribute all of the drafted policies and procedures effective 2/9/2024 without doing this work.
The Monitor’s comments on IDOC’s current policy C.06.01 include:
    1. The pharmacy subcontractor’s manual of policies and procedures should be reviewed, and a
        determination made as to whether each is sufficiently thorough for adoption by IDOC. Those that
        are not, should be addressed in an IDOC policy and procedure (see the next recommendation). For
        example, the pharmacy subcontractor’s policy on medication orders provides no guidance about



inspection. Some facilities attached these reports to the Quality Improvement Minutes and were reviewed for this report.
These documents would be relatively simple for IDOC to obtain from facilities at the same time the QI minutes are collected.
Minimal information was provided in response to the Monitor’s request for information about SIU’s efforts to assist IDOC in
pharmacy operations.
613
    Defendant’s Implementation Plan, Lippert Consent Decree, Case: 1:10 -cv-04603, Document #:1688 Filed 8/1/23.
614
    Items 54 (subpart 14) (completion date March 2024), 55 (completion date February 2024).
615
    Item 29 (completion date August 2024).
616
    Items 7 (3) (completion date September 2023), 36 (completion date November 2023), 50 (completion date December
2023), 51 (completion date January 2024).
617
    Email from Monitor to Janette Candido dated 2/25/2022. OHS-Monitor Monthly Call, 10/18/2023. The Monitor provided
feedback on two earlier policies in February 2022. See page 146 of the Health Care Monitor 6th Report Lippert v. Jeffreys,
March 13, 2023.



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         legibility of the order, where the order is filed, what the order form looks like, who is responsible
         for implementing an order and by when, etc.
      2. Consideration should be given to other policies and procedures that need to be established
         regarding pharmacy services. These should include, for example, implementing medication orders,
         verbal and telephone orders, use of PRN or “as needed” medication, formulary management,
         medication errors, medication reconciliation, use of stock medication, polypharmacy, pharmacy
         consultation, etc.
      3. The section on medication adherence should refer to F.02.01 the Chronic Care policy since it
         provides more specific guidance.

Development of Policy D.02.01 Pharmaceutical Operations
The Monitor’s feedback to IDOC on this draft was that it needed more work to address the operational
complexities in pharmacy procurement, delivery and inventory management in the IDOC currently. The
policy and procedure failed to address the following:
    1. The medical vendor has arranged for a “fax and fill” pharmacy subcontractor to send individual
        packaged medication and stock medication. IDOC also has arrangements with the pharmacy at
        UIC for HIV, hepatitis C, and diabetic medications prescribed by the endocrinology specialists at
        UIC. Which entity is responsible for the patient’s medication profile and how do these pharmacies
        share information with each other and with the prescribing provider when dispensing medications?
    2. The policy and procedure does not identify what state and federal authorities (statutes or
        regulations) govern how IDOC stores, maintains, dispenses and monitors medications, including
        control substances in its facilities? This includes after hours onsite dispensing.
    3. The pharmacy subcontractor’s policies and procedures manual appears to be an internal manual
        for how their fax and fill operations work. It does not discuss IDOC or UIC at all and is insufficient
        as a policy manual to describe how pharmaceuticals are managed within IDOC. The manual does
        describe how it dispenses medication it is responsible for supplying but does not address items A-
        K as listed in the policy.

The complexities of pharmaceutical operations are portrayed well in mortality review patient #10 who
was on kidney dialysis and was treated with intravenous antibiotics for an infected fistula. There are only
passive references to this in the progress notes; there are no orders or documentation of its administration
anywhere in the patient’s medical record.618 Without an order it is unclear what antibiotic was
administered, or when, or for how long. There was no apparent pharmacy involvement in the dispensing
of the antibiotic. Policy and procedure D.02.01 on pharmaceutical operations needs to include the
responsibilities of all the parties treating patients with medication at IDOC facilities.

Eleven facilities reported results of internal audits of AD 04.03.110 Control of Medications and Medical
Instruments between January and June 2024. Seven of these facilities were cited as compliant with the
AD and four were not.619 The AD establishes that correctional facilities are to regulate the dispensing and
handling of medications used within the facility in accordance with State and federal law. The facility
Chief Administrative Officer is responsible for developing procedures for the regulation of medications
within the facility. These include storage, inventory, supply, record keeping, prescription and dispensing
of drugs. No guidance is provided about what State and federal regulations apply and no pharmacy expert

618
   See mortality review attachment: mortality review patient 10, page 72-74.
619
   Facilities reporting compliance were Dixon, Jacksonville, Kewanee, Lincoln, Menard, Murphysboro, and Shawnee.
Facilities reporting noncompliance were Big Muddy, Centralia, JTC, and Pinckneyville.



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was involved in developing the administrative directive. Neither the Chief Administrative Officer nor
HCUA have the expertise or knowledge sufficient to develop informed procedures for the procurement,
receipt, storage, inventory, and dispersal of pharmaceuticals consistent with State and federal regulations.
The audit of compliance with the AD provides no assurance whatsoever that the control of medications
within the IDOC correctional facilities is in accordance with regulations governing pharmaceuticals.

Medication error reporting
Adverse event reporting has been initiated and does include receipt of some reports of medication errors.
Several of these have had corrective action plans developed. However, there are many more medication
errors documented as reviewed in facility quality improvement minutes. Further, many medication errors
have been identified in mortality reviews that were not identified during the process of care or in the
facility quality meetings. The processes used now in IDOC to order, fill, dispense, and administer or
deliver medications are associated with risks for errors that are well known in the patient safety literature.

Program expansion
Two years ago OHS engaged the endocrinology department at UIC in a pilot project to consult and
recommend treatment plans for diabetics in poor control.620 The project has since expanded statewide and
has resulted in the introduction of newer, more effective forms of insulin therapy, access to 340b drug
pricing, and the expertise of clinical pharmacists.621 The project has required adjustments to the IDOC
formulary as well as in the practices at facilities, such as proper storage and inventory management of
insulin pens. The successful expansion and changes brought about by this collaboration with UIC
demonstrate the Department’s ability to change long standing practices and should be considered a
bellwether for the future.

The Monitor’s 6th report noted that SIU had initiated an evaluation of medication management which
included visits to two facilities and development of a survey questionnaire.622 This project was apparently
never completed since no results or recommendations have ever been made. In November 2023 IDOC
and SIU established a project charter to recommend best pharmaceutical practices, conduct
polypharmacy reviews, develop pharmacy performance measures, provide training, and collect and
analyze medication errors and data on medication usage.623 The charter lists the Lippert Implementation
plan tasks 29, 50, and 55 so the resulting project deliverables should provide some evidence of progress
toward achievement of these tasks. The following actions and timelines are listed:

 Actions/Milestones                                                                   Target Date
 Recruit and hire five (5) PharmDs                                                    4/1/2024
 Collect and analyze medication error data                                            7/1/2024
 Create industry standard process for reporting medication errors                     9/1/2024
 Review and draft recommendations for pharmaceutical administration manual            12/1/2024
 Create a minimum of ten (10) training modules for IDOC                               12/30/2024
 Polypharmacy and medication usage review and report                                  TBD

In May 2024 facility HCUAs were informed that a team of pharmacists with the Office of Correctional

620
    Defined as diabetics whose hemoglobin A1c was 8 or above.
621
    This project is in line with item 55 of the Implementation plan task 8.
622
    Health Care Monitor 6th Report Lippert v. Jeffreys, March 13, 2023, page 146.
623
    Proposed OCM/IDOC Initiative Charter, dated 11/28/2023.



                                                                                                          216
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Medicine would be visiting facilities, requesting documentation, and conducting surveys.624 The team
is reported to have visited several facilities, but no work product had been made available to the Monitor
for review at the time this report was written.625

Since the last report the Department has entered into a contract with Fusion Health for an electronic health
record which should address many of the error prone and inefficient practices in medication management
that take place currently. Both computerized provider order entry (CPOE) and an electronic medication
administration record (eMAR) are core components of Fusion’s project.626 Workflows for pharmacy
services must achieve tasks 1-4 of Implementation Plan item #55. The Monitor has recommended the use
of a process analyst to organize this effort.627 Implementation of the electronic record is scheduled to begin
with a pilot in January 2025 with complete roll out statewide by the end of February 2025.628

Staff training regarding changes to medication administration and delivery.
The records of training received by nurses the last 12 months at seven facilities were reviewed. There was
no evidence among these records that nurses have been trained in the new procedures for medication
management or operations. Four facilities had nurses read and sign an acknowledgement of a document
entitled Illinois Department of Corrections, Eight Rights of Medication Administration.629 The material
was up to date and a good reference but there is no explanation or instructions about what nurses are
expected to do with the information. It states that nurses are to complete it upon initial hire, annual training,
and as needed. There is no test of knowledge or demonstration of competency so it’s purpose and
application is unclear. This training was not among the material provided by Graham or Menard, so it
appears that not all facilities have incorporated it into nurses’ continuing education and training.

Menard documented training on use of insulin pens, apparently in relation to the expansion of the UIC
endocrinology project. Graham provided documentation that nurses read and signed memos from the
HCUA about medication refusals, signing MARs, and accountability for insulin syringes and lancets. Staff
receive training credit for each of these “read and sign” memos. Nursing staff also receive training credit
for attendance at meetings and nearly every staff meeting at Pontiac includes some reminder about
compliance with long standing practices for medication management. Errors and omissions in medication
management continue despite this training and reminders given to nursing staff at staff meetings, which
indicates unresolved systemic issues630 that make compliance with expected practice not possible. This is
why the Monitor has recommended the process improvement project that is task #55 in the Implementation
Plan.

The SIU/OHS charter for the pharmacy project includes the development of ten training modules by the

624
    Memo dated 5/14/2024 regarding Statewide Pharmaceutical Administration Review provided in response to the Monitor’s
documentation request #127.
625
    OHS-Monitor Monthly Meeting September 19, 2024.
626
    Task 2 of item #29 in the Implementation Plan is to establish a process within the electronic health record to accomplish
notification and documentation of provider actions in response to notification of medication nonadherence. The development
of EHR process flows needs to include the steps listed for this item in the implementation plan.
627
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 171.
628
    Project: IDOC High Level Gantt, 5/10/2024. Provided in response to the Monitor’s documentation request # 56.
629
    Facilities which had nurses sign the handout on the Eight Rights of Medication Administration were IRCC, Logan,
Pontiac, and Stateville. Menard, Graham, and NRC did not provide documentation of training on this subject.
630
    These could be staffing, the amount of time available to complete tasks, the conditions in which the work is done,
antiquated or outdated equipment and so forth.



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end of December 2024. We suggested in the last report and repeat here that the findings from mortality
and morbidity reviews, adverse event reporting of medication errors, as well the pharmacy inspection
reports inform the development of the curriculum to train nurses and providers about medication
management. We suggest emphasis be placed on patient safety and advocacy, medication reconciliation,
standards of practice for “as needed” medication, communication with providers regarding orders and
order clarification, patient education about medications, factors that influence adherence, and techniques
to support patient adherence with medications.631

Findings from self-monitoring
The QI minutes of 26 facilities discuss the results of the monthly pharmacy inspection and 24 facilities
discuss the results of the pharmacists’ audit of 20 medication administration records. The findings from
the inspections and audit of the MAR are no different from prior reports. Findings from inspections include
incorrect counts of controlled substances, expired medications kept in use, vials of medication opened and
not dated or expired, improper refrigerator temperatures or the refrigerator temperature was not checked,
and licenses or permits that are not posted. Findings from the MAR audits include most often failure to
document doses or the date “keep on person” medication was delivered to the patient was not documented.
Other findings were failure to document allergies, not signing the MAR, errors in the handwritten
transcription of the order onto the MAR, medications administered to the patient don’t match the
prescription on the MAR, medications were continued after the order was discontinued or expired.

Twenty-one facilities report medication errors as part of the quality improvement meeting. A small
number of facilities actually discuss the error during the meeting. Common errors include incorrect MARs
printed by the pharmacy subcontractor, the wrong medication or dose was dispensed by the pharmacy
subcontractor or there was a delay in filling the order because the medication was “out of stock”. Other
errors include failure to reconcile prescribed medication upon return to the facility from hospitalization,
duplicate prescriptions (from UIC and IDOC), failure to act on prescriptions, giving medication to the
wrong patient, or the wrong dose, or at the wrong time. Proper implementation of the electronic record
has the potential to eliminate many of these errors.

The errors reported as taking place at the dispensing pharmacy are worth commenting on. Dispensing
practices should be near perfect and there should be redundant checks and balances to prevent errors from
leaving the dispensing facility. The most frequent error reported is that the printed MAR is incorrect. The
reason MARs print incorrectly needs to be examined more closely. The printed MAR should match exactly
what the dispensing pharmacy has on file in the patient profile as the current prescriptions. The same with
the labels printed on the card stock used to administer medication from. Other errors associated with the
subcontract pharmacy include packaging the wrong medication or wrong dose. All medications should be
reviewed by a pharmacist to ensure they are correct before leaving the packaging facility. One of the
medication errors reported during the time period of this report was irbesartan, a medication used to treat
hypertension was dispensed instead of isoniazid used to treat tuberculosis infection.632 The patient
received two doses of the wrong medication in a higher than normal dose. Another patient was prescribed
a type of medication that he had a documented allergy to. This contraindication was not caught by the
dispensing pharmacist when the prescription was reviewed against the patient profile.633 The pharmacy

631
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 172-173. Training of nurses, including
medication administration is part of item 7 in the Implementation Plan.
632
    Big Muddy quality improvement committee minutes April 2024.
633
    Centralia quality improvement committee meeting minutes May 2024. This patient experienced an adverse reaction.



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subcontractor should be expected to provide documentation of an investigation and corrective action when
errors like these reach the health care unit. OHS and it’s leadership need to be sure that the vendor
addresses these issues with the subcontracting pharmacy in a manner that will prevent future occurrences.

Since the last report a pharmacist has participated in morbidity and mortality review and contributes
substantively to the review of deaths and identifies opportunities to improve. The findings regarding
pharmaceutical therapy reported in the morbidity and mortality reviews are consistent with those
reported in the facility quality improvement meetings.634 These include confusion and duplication of
orders because both brand and generic drug names are used in orders and on the MAR, incomplete
documentation on the MAR, failure to document medications administered or delivered, incomplete or
unclear orders, duplicate types of medication, delays starting medication, the failure to document
medications dispensed as part of dental care, and use of medication without a corresponding reason. The
opportunities for improvement identified in these reviews concerning medication delivery do not provide
much guidance with regard to actionable steps that can be taken to improve. An in-depth analysis of
these findings by the SIU pharmacy team would yield more actionable recommendations for
improvement.

Findings regarding medication administration and delivery
In the 7th Report the Monitor commented that the primary objection raised by facilities about administering
medication directly from patient specific packages and contemporaneous charting was that the availability
of custody staff to provide security limited the amount of time that nurses could spend administering
medication to patients. Because of this limitation nurses have defaulted to unsafe practices that fit the
amount of time that has been made available.635 This is a prime example of a barrier in access to an
appropriate level of primary care as required by II.B.1. While custody staffing is not a part of the Consent
Decree, custody staffing can impair ability of the medical program to function appropriately.636

Currently, the Chief Administrative Officer determines the times that medication is administered. The
times medications are scheduled at each of the facilities in the Northern Region were requested and are
displayed in the table below. There is considerable variation between facilities in the scheduling of
medication administration. The first comment is that none of the facilities separate the administration of
evening medications from those to be given at the hour of sleep (HS). This means that the evening
medication time needs to be late enough so that incarcerated individuals are preparing for sleep.
Incarcerated persons are reluctant to take medications which make them feel sleepy or groggy (often these
are medications for mental health conditions) if the day room, recreation or other movement is still
permitted. The times for evening medication administration at JITC, JTC, Kewanee and Sheridan are late
enough to be acceptable for HS medications; the others are not.




634
    For the period of 7/1/22 through 3/19/24 the M&M Committee has identified over 100 opportunities for improvement in
medication delivery. These were errors that resulted in delay of patient care or potential for an adverse patient safety event.
SIU REDCap IDOC Clinical Mortality Review Data Compilation provided in response to the Monitor’s documentation
request #51.
635
    Item #55 of the Implementation Plan is to develop safer methods to administer and document medication delivered. The
reason a process improvement project format was selected was to ensure that all effected parties had input into the
development of new processes that all stakeholders agree with and support.
636
    This is the case for medication administration and for bringing patients for onsite and offsite appointments.



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                                                                                        Medication
                                                           Noon            Evening      at the Hour
     FACILITY       AM Medication                          Medication      Medication   of Sleep
                    7 am–- 8 am STC                                        5:30    pm–-
     DIXON     (ADP 8:15am–- 9:15                                          6:30 pm GP 6
     1,012)         am GP                                  12:00 PM        pm–- 7 pm
     EAST MOLINE                                           12:30   pm
     (ADP 469)      9:00 AM                                KOP only   7:00 PM
                                                8:00
     JITC (ADP 73)         4:00 AM              AM         1:00 PM         8:00 PM
     JTC (ADP 132)         8am                             1:00 PM         8:00 PM
     KEWANEE
     (ADP 191)    7:45 AM                                                  7:45 PM
     NRC (ADP 966)8 am–- 9 am                                              6 pm–- 7 pm
                  Anytime                                                  Anytime
     PONTIAC (ADP between 11 pm                                            between 3 PM
     587)         and 7 am                                                 and 11 PM
     SHERIDAN
     (ADP 945)    8:00 AM                                                  8:00 PM
     STATEVILLE
     (ADP 429 )   6:00 AM                                  1:00 PM         6:00 PM

The second comment has been made before; medication times need to be spaced to maintain consistent
therapeutic effectiveness. If medication is given twice a day; it should be taken at intervals of 12 hours
between doses. The schedules for administration at JTC, Kewanee, Sheridan, and Stateville accomplish
this. The times for administration of BID medications at Dixon, East Moline, NRC, and Pontiac need to
be adjusted to ensure the proper spacing between doses. If the 8 am medication time at JITC is used for
all twice a day medication this is also acceptable. The reason for the 4 am dosing schedule at JITC is
unknown; twice a day medications should not be given at 4 am. Pontiac’s response is unacceptable because
there is no reasonable way to ensure dosing is at the correct interval to be therapeutic. Only three facilities
schedule a midday time for medication administration, which is necessary for any medication ordered
three times a day. The other facilities have to have arrangements in place to provide medication when it is




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ordered more than twice a day.637 The Monitor had the same comment in the last report about inappropriate
times for medication administration at Graham.638

With regard to insulin, we have already commented in the section on Dietary that schedules for insulin
must coincide with the timing of meals and that the timing will vary dependent upon the type of insulin
needed to treat the patient. Both Kewanee and Stateville should adjust the timing of meals and insulin to
protect against hypoglycemia and the effects of non-compliance. Health care staff and custody operations
staff must collaborate better in devising operational schedules that are not contradictory to the purpose of
treatment orders.639

We observed preparation for medication administration at NRC and found it unchanged from that which
was reported in the 2nd Court Appointed Expert Report in 2018.640 Nurses remove medication to be
administered from the patient specific blister pack and put it into envelopes with the patient’s name,
number and the name of the medication handwritten on the envelope. This practice is unhygienic and
completely defeats the purpose of patient specific, unit dose packaging. Documentation of
administration does not take place at the time the medication is administered. Failure to document on
the MAR is discussed monthly at the quality improvement meetings at NRC. Increased audits of the
MARs were initiated to identify specific nurses who were making these errors. The same process for
medication administration is in place at many of the other IDOC facilities. Medication delivery errors
are the result of systemic deficiencies such as these and need correction before any substantive
improvement will be achieved in the safety of medication administration.641

Continuity of care findings
Medication discontinuity continues to be a problem in the care of patients in IDOC facilities.642 As an
example, one of the mortality records reviewed was a patient who returned from the hospital on 8/28/23
following treatment for worsening heart failure.643 While at the hospital he was placed on new
medications. These were metoprolol, Entresto, Jardiance, and spironolactone. At the facility these
medications were initiated but the patient only received them for 30 days. Two of these medications were
non-formulary which may have contributed to the discontinuity in this patient’s care. When the order ran
out, no one identified these medications as needing to be reordered. The hospital also recommended a
reduced dose of another drug, furosemide. After the patient’s return to the facility on 8/28/23 he received
this medication at the reduced dose the remainder of August. He went without the medication until 9/5/23


637
    Dosing schedules more frequent than twice a day are relatively infrequent but nevertheless, when medically necessary
must be provided.
638
    Health Care Monitor 7th Report Lippert v. Jeffreys, December 27, 2023, page 168. At Graham CC medication is
administered at 4 am, 1 pm, and 7 pm. Medication times should be based upon the dosing needed to maintain an appropriate
concentration of the drug in the body, not convenience. The 4 am and 7 pm times are too far apart and too close for twice a
day doses. The 1 pm and 7 pm times are too close for three times a day doses.
639
    https://www.ismp.org/resources/guidelines-timely-medication-administration-response-cms-30-minute-
rule#:~:text=Medications%20administered%20more%20frequently%20than%20every%204%20hours%20(e.g.%2C%20q1h,
for%20every%203%20hours%20dosing).
640
    NRC, 2nd Court Appointed Expert Report, Lippert v Godinez, 2018 pages 65-66.
641
    It is appropriate to take progressive discipline when nursing actions are intentional and egregious but the vast majority of
these errors are a result of a faulty process not individual misconduct.
642
    Step 6 of item 55 in the Implementation Plan is to eliminate medication discontinuity that occurs as a result of the non-
formulary request and prescription renewal processes.
643
    Mortality review patient 1.



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when it started again but at the previous higher dose. There were several other instances of medication
discontinuity among records reviewed for this report.644

Failure to address pain and care at the end of life appropriately
Another problem identified in records reviewed during this report period is failure to provide appropriate
medication for pain and end of life care. Three patients were diagnosed with cancer.645 Two of the patients
were prescribed pain medication at lower doses than had been recommended by the hospital.646 Mortality
review patients 5 and 8 had unclear orders for morphine and one of these had duplicate orders for both
morphine and fentanyl.647 In addition a nurse practitioner ordered a patient’s existing dose of MS Contin
to be crushed and placed sublingually. There is an FDA warning not to crush this drug as it could lead to
a fatal overdose. The patient received nine doses of crushed MS Contin over the next five days and during
this time fell.648 For mortality review patient 8 the hospital recommended a total of 210 mg of morphine
a day in divided doses, including both immediate release and extended release morphine. The
prescriptions written upon his return to the facility were not consistent with the hospital recommendations,
the prescriptions were inaccurately transcribed to the MAR, and the medications were not offered to the
patient as ordered.649 Mortality review patients 5 and 9 had orders for fentanyl patches but went without
because it was not received from the subcontract pharmacy vendor timely.650 The same two patients were
noted as receiving comfort care or were in hospice but had other non-hospice medications continued.651
IDOC does not have clear policy on end of life care, and this is reflected in the records of these three
patients.

Inappropriate prescriptions and lack of meaningful pharmacy consultation
Record reviews found instances of medications prescribed inappropriately and without effective
communication with a pharmacist.652 These include a starting dose of an anticoagulant that was too low
for a patient just diagnosed with deep vein thrombosis.653 Failure by the pharmacy to directly
communicate with a prescribing provider about the need to monitor the patient for dehydration when
using Jardiance.654 The quality improvement minutes from Dixon also report another instance of a
potential drug-drug interaction identified by the dispensing pharmacy but not being effectively
communicated to the provider for two weeks.655 Prescribing a corticosteroid without any corresponding
documentation of a reason.656 Among the adverse events is a report of an inappropriate referral to mental
health and delay in follow up of a patient who was prescribed the medication nortriptyline without
indicating that it was for a medical reason (nerve pain) not to treat a mental illness.657 Use of 70/30

644
    See mortality review patients 2, 12, 13.
645
    See mortality review patients 5, 8, 9.
646
    Mortality review patients 8 pages 65-66 and mortality review patient 9, page 68.
647
    Mortality review attachment pages 59-60.
648
    Mortality review attachment page 45.
649
    Mortality review attachment pages 60-61.
650
    Mortality review attachment pages 45-46, 68, 70.
651
    Mortality patient 5 continued to receive magnesium, phosphorus, and iron supplements. Mortality patient 9 continued to
receive omeprazole, amlodipine, preparation H, and Colace.
652
    The Monitor suggests consultation on psychotropic medications, geriatric patients, and other patients with complex
comorbidities.
653
    Mortality review patient 6.
654
    Mortality review patient 1.
655
    February 2024 Quality improvement Committee minutes.
656
    Mortality review patient 9.
657
    IDOC Adverse Event Report date 5/30/24. Provided in response to the Monitor’s documentation request #41.



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insulin sliding scale in addition to regular insulin when another type of insulin would be more likely
effective and safer in managing a patient’s diabetes.658

Mortality review patient 4 was a 64 year old man with cognitive impairment, and several long standing
chronic conditions including coronary artery disease, heart failure, diabetes, and erosive gastritis with
GI bleed. From 7/5/22 to 3/8/23 there were 53 prescriptions written for his care, however only five were
written by a provider as a result of an encounter. Twenty-one orders were given to nursing staff as verbal
or telephone orders. The provider could be identified for only 31 of the 53 prescriptions due to legibility
or in a few cases, absence of a signature. In February 2023 there were 14 different active medication
orders for the patient. Of these, two had no corresponding diagnosis or indication.659 Several of the
medications alone and in combination posed risk for the patient yet he was not monitored for these. 660
Elderly, frail patients like this need to have their medications carefully reviewed to achieve maximum
benefit without unnecessary risk of adverse effects.661

Other parts of this report have made the point that providers treat patients episodically rather than
completing a thorough work up of a patient’s condition to determine and treat the underlying problem.
This practice often involves prescribing medication for symptomatic relief which completely miss what
could be a treatable condition or preventable injury. Mortality review patient 11 is an example of such.
This 20 year old man had undiagnosed angioedema and was seen four times for episodes of edema over
a 30 day period. The physician who saw the patient after the fourth episode, this time for a swollen right
arm and hand, took no history. The physician prescribed a diuretic, an antibiotic, and a non-steroidal
anti-inflammatory medication. None of these were indicated based upon the patient’s presenting
condition. This was a missed opportunity to identify the possibility of angioedema and to develop a plan
to timely and appropriately respond to future episodes.

II.B.6.d. Implementation of changes in medication refusals
Policy and procedure C.05.01 Medication Administration/Delivery, Count Process, and Training provides
direction for when patients refuse medication and how it is to be documented. It also identifies which high
risk medications require prompt provider notification if one or more doses are missed in a seven day
period. If the patient’s reason for nonadherence is because of side effects or the patient disagrees with the
plan of care, a visit with a provider is necessary. F.02.01 Chronic Care directs the HCUA to ensure that
copies of the current and prior month MARs are copied and provided to the provider conducting a chronic
care appointment. It also directs the provider to adjust the plan of care to address barriers or obstacles to
adherence cited by the patient to gain their agreement with the plan.662


658
    Mortality patient 13.
659
    Albuterol and allopurinol.
660
    Lorazepam, donepezil, carvedilol, clopidogrel, and ranolazine.
661
    The IDOC/SIU Office of Correctional Medicine charter lists polypharmacy and medication usage repots as an action but
has no timeframe for initiation. A pharmacist does review the charts of patients who have died as part of mortality review and
is an opportunity to identify improvements in medication management. The Monitor has advocated proactive clinical
pharmacology collaboration in patient care since the 3rd report in 2021, pages 125-126. It has been included in
Implementation Plan Item 55, step 8, which had a completion date of February 2024.
662
    The Monitor was not in agreement that C.05.01 was ready for final distribution primarily because there had been no input
from pharmacy experts. The Monitor had no disagreement with the language regarding adherence monitoring in F.02.01. The
policy and procedures providing guidance regarding adherence monitoring are consistent with item 54 (step 14) of the
Implementation Plan: Ensure the availability of providers to review medication compliance and current medications at chronic
care visits.



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There is no evidence as of the time this report was written that either of these policies and procedures have
been implemented. No processes are yet in place to notify providers of nonadherence as defined by
C.05.01 or that providers consistently monitor nonadherence. More recently, a facility medical director
stated in a quality improvement meeting that she was unable to look at the patient’s current MAR because
it was locked in the medication room and she did not have a key to open.663 There was no solution to this
problem documented in the meeting minutes, so it is unclear if this obstacle was resolved. Another reason
the MAR may not be available for review is that it has not been filed in the patient’s record yet.

The review of records for this report show that medication adherence is not effectively addressed when
providers see patients.664 Three of the records reviewed by the Monitor during the site visit to NRC in
June 2024 found no evidence that provider’s reviewed patient adherence with medication during
scheduled encounters that took place as recently as June 2024.665 One of these was a 65 year old with a
20 year history of seizure disorder treated with Dilantin.666 At the time of admission his Dilantin level was
subtherapeutic. At the admission history and physical the provider did not review the patient’s adherence
with medication provided by the sending facility and did not adjust the dose of medication. When seen for
the baseline chronic care visit six weeks later a repeat lab value for Dilantin was subtherapeutic for a
second time. The provider did not document review of the patient’s MAR or inquire about the patient’s
adherence taking the medication.

Though taking place before the policies and procedures were distributed the following three mortality
reviews done for this report provide examples of problems with medication adherence that still need to be
addressed. Mortality review patient 6 was seen in chronic clinic for asthma. He was prescribed albuterol
and Alvesco in January 2023. He complained about chronic cough for over a year and had a weight loss
of more than 10 pounds. His peak flow readings were low. The provider ordered the addition of
montelukast. He was seen by the facility medical director in a subsequent chronic clinic visit in July 2023
and pre and post hospitalization in November 2023. At none of these encounters was the patient identified
as not having received montelukast although it was an active order (last receipt of this medication was
March 2023).

Mortality review patient 13 was 66 years old and had diabetes, hypertension, and hypothyroidism. When
seen in chronic clinic in May 2022 his blood pressure was 143/74 which is not at goal for diabetes. The
MARs were not reviewed. If they had been reviewed it would have been discovered that the patient last
received the hypertensive medications, lisinopril and hydrochlorothiazide, the end of February. He had
been without these two medications for more than a month. He was seen next by a provider in June 2022
because of elevated blood pressure. On this visit it was 160/102. In the interim he had been seen and
evaluated twice by LPNs using the nursing protocol for indigestion. The provider wrote that the patient
had run out of his medication. If the provider had reviewed the patient’s MARs it would have been evident
that he had not received amlodipine since mid-April and had not received the other two medications since
February.


663
    NRC Quality Improvement Committee Minutes April 2024.
664
    See item 54 (step 14) of the Implementation Plan: Ensure the availability of providers to review medication compliance
and current medications at chronic care visits.
665
    Pharmacy services patients 1-3. These encounters took place as much as three months after the policies and procedures
C.05.01 Medication Administration/Delivery, Count Process, and Training and F.02.01 Chronic Care were considered by
OHS as in effect.
666
    Pharmacy services patient 2.



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Mortality review patient 12 was 49 years old. He had a major mental illness, hypertension, diabetes, and
was obese. He was prescribed amlodipine, gabapentin, glipizide, hydrochlorothiazide, metformin,
methocarbamol, metoprolol, simvastatin, tamsulosin, and tramadol. In the vendor’s death summary, he
was described as very compliant with medication, particularly insulin. From a review of the MARs this
patient refused 28% of the morning doses (given at 3:30am) and 15% of the evening doses (given at
3:30pm). He was seen by a nurse practitioner in November 2022 for noncompliance with medications.
He explained to the provider that he did not take the morning insulin (given at 3:30am) because he was
asleep. The provider made no attempt to adjust the time of insulin or the type of insulin to accommodate
the patient’s difficulty taking insulin so early in the morning. This patient who also had a serious mental
health disorder and more rigorous effort to work out a plan of care that the patient agrees with is important
and might require consultation with mental health staff.667

There also was a lack of documentation that mortality patient 12 was even offered insulin 9% of the time.
As late as June 2023 the endocrinologist documented that he was only receiving five of 14 doses each
week due to a nursing shortage. Absence of documentation by nursing that patients were offered
medication is a persistent system wide problem. Another reason for conducting the process analysis in
Implementation Plan item #55 is to discover the root causes for this so that corrective action realistically
can correct the problem.

In summary, IDOC has initiated some improvements that should address changes called for by the Consent
Decree and Implementation Plan. The compliance rating has been changed to partial. However, no change
in practice or patient outcomes is evident yet. The Monitor hopes that some concrete results are produced
in time for the next report which show progress toward compliance. For now, the Monitor has the
following recommendations which have been modified from the last report to acknowledge items which
are now in the Implementation Plan or were incorporated into the new IDOC health care policies and
procedures.

RECOMMENDATIONS:

      1. Move forward with the Implementation Plan items 7 (step 3), 29, 36, 51, 54 (step 14), and 55
         pertaining to medication management that are discussed in this section.
      2. The process improvement project called out in item 55 of the Implementation Plan should include
         representatives of prison operations and map out responsibilities for custody assistance and
         maintenance of the equipment and the physical plant.
      3. The pharmacist employed by the Office of Correctional Medicine should be engaged to provide
         substantive expertise in addressing the tasks in the Implementation Plan relating to pharmaceutical
         operations and medication management.
      4. Establish expectations for the vendor’s pharmacy to identify, communicate directly and document
         this communication of drug-drug interactions, medication combinations to avoid, drug warnings
         and contraindications with prescribing providers. The pharmacy should also assist providers in
         evaluating polypharmacy.


667
   See also mortality review patient 9 who was seen by a provider 8/7/23 for medication noncompliance when he had
physical problems swallowing and was expressing paranoid and delusional thoughts. These are significant symptoms which
were not addressed by the provider at this encounter and should have been in an effort to increase his ability to take ordered
medications.



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      5. Identify additional topics related to pharmaceutical management that need to be addressed in
          policy and procedure. Most state correctional systems have more than two directives on this
          subject. Examples of topics to consider are provider orders, controlled substance accountability,
          maintenance of the formulary and nonformulary requests, inventory control etc.
      6. Develop a workload driven staffing standard to account for the nursing staff necessary to carry out
          orders for medication treatment.
      7. Analyze medication error reports and identify recurrent types of errors. Conduct root cause
          analysis to understand systemic causes and develop solutions to eliminate these.
      8. Implement computerized physician order entry (CPOE) and automate the MAR early in the
          implementation of the electronic health record. Develop automated reports of patients with
          medication orders which expire in the next seven days and provide notification to prescribing
          providers of non-adherence.
      9. Establish the expectation that each medication order include the reason the medication was
          prescribed.
      10. Provide a copy of the current and preceding month of medication records (MARs) to the provider
          to review at any chronic care or scheduled follow up appointment.
      11. Establish an observational tool to be used by nursing supervisors to monitor compliance with
          medication administration procedures and include this study on the CQI calendar.


Discharge Planning
Addresses Items II.B.5; II.B.6.s; II.B.6.t;
II.B.5. Continuity of care and medication from the community and back to the community is also
important in ensuring adequate health care.
II.B.6.s. IDOC agrees to implement changes in the following areas: Summarizing essential health
information for patient and anticipated community providers; and
II.B.6.t. IDOC agrees to implement changes in the following areas: Upon release, providing bridge
medications for two weeks along with a prescription for two more weeks and the option for one refill, if
medically appropriate.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

The Monitor requested discharge planning records for 10 individuals in chronic care clinics, released from
Illinois River, Dixon, Jacksonville, Logan, Decatur, Menard, Pinckneyville, Robinson, and Stateville in
the month of February 2024. Discharge documents requested include pre-discharge planning notes,
discharge summary, receipt for medication, prescription for refill of medication, any documents
accompanying the discharge summary, progress notes by physician or other health care staff related to the
discharge. Specific information on individuals with contagious diseases (workup in process, refusal of
treatment, active treatment, post-treatment follow-up required in the community, communication to
IDPH) should be provided.668 The Monitor reviewed six additional records of persons discharged during
a site visit to Northern Reception Center (NRC) on June 2-3, 2024.
668
   Monitor’s documentation request dated 2/29/24, item 130. Discharge planning records were provided by Illinois River
(10), Jacksonville (1), Decatur (10), Dixon (10), Logan (10), Menard (7), Robinson (1), and Stateville (10).



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Finally, the Monitor reviewed OHS Policy and Procedure E.01.01 Health Care Discharge Planning which
was issued and made effective in February 2024. Many of the Monitor’s suggested revisions to earlier
drafts of this policy were incorporated in the final version. Importantly, responsibility for medical
providers to assist with the discharge plan is now expected when the patient’s plan of care needs review,
orders need to be obtained, or coordination with providers in the community is needed.
OHS elected not to require by policy reporting of how many patients were seen for discharge planning or
how many received discharge medication.669 This capability will be needed to demonstrate compliance
with the Consent Decree. The Monitor strongly suggests that the need for this information be identified
to the vendor responsible for the electronic health record and this be one of the reports the system is
capable of generating. Lastly, the Monitor offered alternative language to acknowledge that sometimes
notice of release is insufficient to accomplish discharge planning as described in policy. These comments
will be forwarded to OHS with the request that they be considered in the annual review and revision of
E.01.01.

Over a year ago the Monitor provided IDOC with examples of what an audit of discharge planning should
include to evaluate compliance with the Consent Decree as part of the comprehensive audit described in
II.B.9 of the Consent Decree. There has been no further progress reported on the development of any tool
to monitor discharge planning.

The Monitor reviewed a total of 59 records of patients who were discharged from seven facilities.670
Virtually all patients received a discharge summary upon release with medications listed and signed a
receipt for the medications they were provided. These are the only two areas of consistent performance.
The majority of these discharges occurred at the same time that OHS distributed the final set of policies
and procedures to the facilities for implementation. Therefore, the findings represent practices that
preceded implementation of E.01.01.

Discharge planning was evident in records received from Decatur and Stateville. At Decatur all but one
of the discharge plans were completed two days to two weeks in advance of the release date. All the
discharge planning documents from Stateville were completed the day of release and as such, do not serve
the purpose of “planning”.671 Neither facility completed release planning in the time frame called for in
E.01.01 of 60 days before release. Documentation of discharge planning differed at Decatur and Stateville.
The pre-printed DOC 0084 used at Stateville provides more guidance about what is to be covered in
discharge planning than the documentation from Decatur.672 In previous reports the Monitor has suggested




669
    These metrics were identified as needed in the Implementation Plan, task 31, subtask 5.
670
    Ten records each from Illinois River, Decatur, Dixon, and Logan, 12 records from Stateville and one record from
Jacksonville. Records received from Robinson and Menard were incomplete and could not be used to evaluate discharge
planning at these two facilities. Six discharge records were reviewed while at the site visit to NRC June 2-3, 2024.
671
    D.01.01 The purpose of discharge planning is to assess the patient’s needs for continuation of care upon release and to
identify and refer patients to a provider when review of their treatment plan is necessary, orders need written, or their care
needs to be coordinated with a provider in the community.
672
    This form also closely matches the requirements of the Consent Decree.



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that the discharge planning worksheet used at Lawrence was also a good tool and should be considered
for adoption statewide.673 Five facilities provided no evidence of discharge planning.674

Only 25% of patients on medication were provided with a prescription obtained from a provider in advance
of release.675 Other than this, provider participation in discharge planning was nil. Among the charts
reviewed there were nine where a medical or mental health provider’s involvement in discharge planning
would have been appropriate.676 One of these was a 73 year old man with multiple chronic conditions,
who was taking 23 different medications, had a number of follow up appointments at UIC, and was
considered severely mentally ill. There is no documentation among the records sent of any discussion with
a medical provider about the patient’s continuation of care after release or assessment of his ability to
follow the plan of care or manage his medication.677

The information on the discharge summaries reviewed was so general that it is not helpful to the patient
in following up with a provider in the community. Only 58% of the records reviewed included all the
patient’s diagnoses. Eleven of the records reviewed were patients without a chronic medical problem.678
The remainder, or 42 patients had chronic illnesses but the information on the discharge summary was not
specific about the illness or the patient’s status. Patients were described as having asthma without any
information about severity, last exacerbation, triggers, peak flow etc. or as being a diabetic without
specifying the type, last available HbA1c, eye exam etc. There were five patients listed on the discharge
summary as having hepatitis C.679 None of the discharge summaries included information about patients’
fibrosis scores, lab tests, etc. Two patients were identified as having been treated but no details were
provided as to when treatment was completed, or any further follow up. The other four patients have no
specific recommendations for treatment, nor information about why treatment was not provided, nor
disease status.

As an example of the lack of complete and relevant information on the discharge summaries is a patient
who was 66 years old and had COPD, seizure disorder, cirrhosis, pyloric stenosis, vitamin B & D
deficiency, iron deficient anemia, and benign prostatic hypertrophy listed on his discharge summary.680
He had also been treated for hepatitis C. He was being seen by specialists in wound care, cardiology,
orthopedics, and hematology/oncology. He was discharged with 36 different medications. There is a
progress note by a nurse that the patient’s sister would be helping him make follow up appointments in
the community. The nurse informed the patient that the case manager for UIC endocrinology might contact
him to assist with diabetes management. Among the medications he was discharged with were the diabetic
medications liraglutide and Novolin 70/30. Diabetes is not mentioned in the discharge summary. No

673
    Health Care Monitor 3nd Report Lippert v Jeffreys (February 15, 2021) page 130. This worksheet has a place for physician
and psychiatry review and entry of information into the Offender Tracking System (OTS) about release needs. Use of this
worksheet could initiate a referral to the responsible medical and mental health clinician to review the patient chart and see the
person as necessary to make determinations about medical and mental health referrals to the community.
674
    Illinois River, Jacksonville, Dixon, Logan, and NRC.
675
    Discharge planning patients 11, 13, 15-20, 23, 27, 48. The discharge script written for patient #20 was for levetiracetam,
prazosin, and paroxetine none of which was she on at the time of discharge. This appears to be a prescribing error.
676
    Discharge patients # 2, 6, 11, 16, 23, 24, 32, 48, 56.
677
    Discharge patient # 23.
678
    The Monitor requested information relevant to the discharge of patients who been cared for in chronic clinics while in
prison and would therefore need ongoing care in the community. The eleven individuals who were not enrolled in chronic
clinic but whose records were received were included in this analysis.
679
    Discharge patients # 15, 17, 18, 20, 27, 49.
680
    Discharge patient # 27.



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information is provided about his diabetic condition, except the medications. Since he was not going to
be followed by UIC and would be making his own follow up appointments he needed more information
to inform the next provider.681 This was not documented as provided nor was he asked to sign a request
to release information. There is no documentation of contact with the sister to inform her about his needs
or to assess her capability to help him make arrangements to continue his care in the community. In
addition to this example, there were 13 others who were on medications for conditions which should have
been listed on the discharge summary and were not.682 Several of these were patients taking medication
for mental health conditions. Others were for either chronic conditions or conditions which would resolve
once the prescription was completed (i.e., conjunctivitis). The discharge summaries are inaccurate and
incomplete.

Correct documentation of the results of tuberculin testing (date of the test and results in millimeters) was
present in only 12 of 48 discharge summaries that included this information (25%).683 Four patients were
positive for TB screening; no further information was provided about three of them (chest x-ray, symptom
screening, last CC note, whether prophylaxis was considered).684 One of these patients was listed on the
problem list as testing positive on tuberculosis screening but the discharge summary states that the PPD
was negative.685 Another patient was released in the midst of completing prophylaxis. No referral was
made to the local health department to follow the patient until treatment was complete.686

Neither a complete vaccination history nor recommendations for future vaccines were documented on any
of the discharge summaries. Stateville provided copies of Covid vaccinations and boosters to two of the
six patients whose records were sent in response to the Monitor’s request. This is a good practice which
should be expanded. Several of the patients, based upon their age and condition should have received
preventive screening (EKG, colorectal cancer screening, eye exam). Only one patient had this documented
in the discharge summary and there were no recommendations for preventative health care in the discharge
summaries. When this information is not provided on the discharge summary it results in a poor hand off
to the next provider.

The discharge summaries of seven patients in the sample documented referrals for ongoing care in the
community or 16%. These were patients with existing specialty appointments. There were 14 additional
patients in the sample who should have had some description of arrangements for ongoing care
documented in the discharge summary.687 These include patients with HCV infection, HIV, diabetes, and
mental health conditions.

Four patients were included in the sample of records sent for review who appear to have been picked up
by law enforcement on a new charge or transferred directly to a jail or prison outside the IDOC. Two of
these patients did not have a discharge summary completed but a Health Status Transfer form was filled


681
    The discharge summary should have noted his last HbA1C and other pertinent labs, the date of the most recent eye exam,
and vaccinations received. He should have been provided with copies of the last chronic clinic notes, any recent specialty
reports, labs, and vaccine record.
682
    Discharge planning patients # 2,5, 10-12, 15, 18, 19, 36 -39, 48.
683
    Nurses at Dixon recorded TST in millimeters more consistently than other facilities whose records were reviewed.
684
    Discharge planning patients # 16, 49, 51.
685
    Discharge planning patient # 16.
686
    Discharge planning patient #19.
687
    Discharge patients # 7, 9, 10, 15, 17, 18, 20, 24, 32-34, 37, 39, 49.



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out instead and the MAR noted as sent.688 One patient had both a Health Status Transfer form and a
discharge summary completed.689 The fourth patient had a discharge summary completed which stated
that he was going to a specific county jail.690 These are mentioned because this type of discharge is not
addressed E.01.01 and it is unclear what steps are to be taken in communicating the patient’s health status
and need for ongoing care to the next provider responsible for the patient’s health care.

Patients leaving IDOC do receive a discharge summary, but it is not an accurate and complete summary
of the patient’s condition, care provided, and recommendations for ongoing care therefore II.B.6s remains
partially compliant.

There were a total of 30 records which included information about medications the patient was prescribed
and also documented the medications provided to the patient upon release.691 Half of these patients
received at least two weeks supply of all of the medications prescribed.692 Dosing information was not
always included on the medication receipt or discharge summary so in some records it was not possible
to calculate the number of days covered.693 The Monitor recommends the dose, frequency, and route of
each medication provided be documented on these forms.

Decatur also provided a prescription with refill to every patient in the sample on medication at the time of
release, in addition to at least a one month supply of medication. Illinois River, Dixon, and Stateville do
not routinely provide a prescription.694

The quantity of release medication some patients receive raises questions about the process and clinical
oversight. For example, one patient was released with a blister pack of 226 tablets of buspirone, a
medication typically prescribed for anxiety.695 The list of current medications states that two 10 mg.
tablets are to be taken twice a day or a total of four tablets a day. The number of tablets she received was
enough for 56 days of treatment. More concerning was the release of another patient who is prescribed
suboxone 8 mg-2 mg and to take two films a day.696 She received 95 films upon release or enough for 47
days.697 Releasing patients to the community with quantities of medication like this puts them at risk of
coercion by others, if not harm to themselves. Only the treating provider can decide if it is in the best
interest of a patient to release a patient with this quantity of medication. The records reviewed for this

688
    Discharge patients # 25, 57.
689
    Discharge patient # 59.
690
    Discharge patient # 50.
691
    Logan provided no information about the medications patients received at release or prescriptions that may have been
provided.
692
    The following patients did not receive one or more prescribed medications upon release # 1, 3, 5, 6, 7, 9, 11-13, 15,16,
27, 50, 56.
693
    For example, the medication receipt in five of eight discharge records provided by Dixon did not include the quantity of
medication that was given.
694
    IRCC provided no prescriptions to the 10 patients who were released, Dixon provided prescriptions for two, and Stateville
provided one. Jacksonville provided a prescription to the one patient whose record was sent but because there was only one
record it is not possible to evaluate the facility on this measure.
695
    Discharge patient # 15. This patient had no condition listed on the discharge summary which corresponded with use of this
medication for treatment.
696
    Discharge patient # 17.
697
    To reduce risk of diversion providers should inquire about safe, locked storage, limit the amount to that needed until the
next appointment, do not supply additional “just in case” doses. Buprenorphine Quick Start Guide, Substance Abuse and
Mental Health Services Administration (SAMHSA) https://www.samhsa.gov/sites/default/files/quick-start-guide.pdf



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report show that IDOC providers have minimal to no involvement in decisions about the quantity of
release medication appropriate for a patient to receive. Another patient whose record was reviewed during
the site visit to NRC in June was released on 3/29/24, without any of his medications (albuterol, buspirone,
mirtazapine, and naproxen). When brought to the nurse’s attention during the site visit she stated that she
remembered giving it to the patient but just did not document it.698

Accountability and oversight of the process to provide release medication needs improvement. Some
patients are released without any medication, others receive part but not all of the medications prescribed,
dosing information is not clear or precise on the discharge summary or receipt for medication, not all
facilities provide patients with a script, the quantity of medication patients receive varies without
explanation or rationale, documentation of medication provided upon release is at times missing.

Compliance with II.B.6t has not yet been demonstrated by IDOC. While a new policy and procedure on
discharge planning has been distributed it has not been implemented yet based upon the records reviewed
from seven facilities.

There is considerable variation among facilities in the practice and documentation of discharge planning.
There is almost no evidence of provider 699 involvement in discharge planning or clinical review of need
for medications or referral. Medical summaries are incomplete or inaccurate, information about
tuberculosis screening is incomplete, vaccination status or risk/age-based health screenings or
recommendations, and the status and control of chronic disease and other information from the most recent
chronic disease clinic is not included in the discharge summary. While medication is provided to many
persons being released, these practices lack consistency and there is no assessment of individuals’
knowledge and ability to manage the medication regime that is prescribed at discharge.

The implementation plan had two tasks to accomplish changes necessary to ensure continuity of care and
medication from the community and back to the community called out in II.B.5. The IDOC has elected to
accomplish these changes with development of policy and procedure which was part of each of the two
items.700 In addition to implementation of E.01.01, the IDOC needs to establish metrics for reporting
discharge planning and develop a tool to audit compliance with the Consent Decree.

The Monitor noted that both Jacksonville and Decatur document providing Narcan to patients when they
discharge. This is good practice. As other facilities adopt this practice it should be documented as part of
the discharge paperwork.

RECOMMENDATIONS:

      1. Provide more guidance for nursing staff on how to conduct discharge planning than is present in
         the policy and procedure. This guidance could be in the development of screen templates to address
         the subjects that should be covered with the patient and or other caregivers.
      2. Nurses also need training in discharge planning with patients and caregivers including how to
         assess their capability to provide for themselves in accordance with the recommended plan of care.
         They also need more guidance about which patient conditions or circumstances define patients

698
    Discharge patient #56.
699
    Specifically, physician, nurse practitioner, or physician’s assistant.
700
    Implementation Plan Item 31, task 4 and Item 32, task 2.



                                                                                                        231
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            who need to be seen by a provider before release.
       3.   Providers need to be informed of their role in discharge planning, have the opportunity to discuss
            their concerns and have questions answered. HCUAs and the facility Medical Director need to
            determine how this workload will be accomplished and provide direction to providers.
       4.   Standardize the documentation of discharge planning and the discharge summary. Standardize
            what material in addition to the discharge summary and medication instructions needs to be
            included (vaccine history, most recent chronic clinic notes, most recent labs etc.).
       5.   Request assistance from the Director of Pharmacy Standards and Operations to develop guidelines
            for determining which medications and amounts are appropriate to be provided at discharge and
            to recommend best practices for documentation of discharge medication.
       6.   Clarify and establish policy on transferring responsibility for patient care to a jail or another prison
            system outside the IDOC when individuals are released from IDOC custody.


Infection Control
Addresses items II.A; III.J.1; III.J.2
II.A. Defendants shall implement sufficient measures, consistent with the needs of Class Members, to
provide adequate medical and dental care to those incarcerated in the Illinois Department of
Corrections with serious medical or dental needs. Defendants shall ensure the availability of necessary
services, supports and other resources to meet those needs.
II.B.3. IDOC must also provide enough trained clinical staff, adequate facilities, and oversight by
qualified professionals, as well as sufficient administrative staff.
III.J.1. IDOC shall create and staff a statewide position of Communicable and Infectious Diseases
Coordinator. This position shall be filled within fifteen (15) months of the Preliminary Approval of this
Decree [June 2020].
III.J.2. Facility staff shall monitor the negative air pressure in occupied respiratory isolation rooms
which shall be documented each day they are occupied by prisoners needing negative pressure. If
unoccupied, they shall be monitored once each week. Facility staff shall report such data to the
Communicable and Infectious Diseases Coordinator on a monthly basis.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
The Monitor requested eleven documents concerning aspects of the Infection Control Program and IDOC
provided, in whole or part, information on nine requests and brief comments on two requests concerning
training on policies and procedures. The Monitor team also obtained updated information and filled in
data not provided in the document request about the infection control program during an informative
conference call with the OHS Infectious Disease Coordinator.701 During the June 3-5, 2024, site visits to
Stateville CC and Northern Reception Center, the monitor team interviewed the infection control nurses
at both of these facilities.

Status of the Development of the Infection Control Program
As noted in the 7th Court Report an infection control program is an essential component of any correctional
medical program and will be necessary for IDOC to establish in order to comply with II.A and II.B.3 of

701
      7/17/24 Interview with Infectious Diseases Coordinator



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the Consent Decree.702 IDOC has communicated to the Monitor their desire and willingness to establish
an Infection Control Program.703

IDOC has made progress addressing some of the infrastructure and activities of an infection control
program. The position of Infectious Diseases Coordinator has been permanently filled. IDOC has
established and maintained a consulting relationship with IDPH. IDOC has finalized Infection Control
and Immunization policies and developed forms to standardize the immunization and infectious disease
histories and the reporting of infectious diseases in the IDOC. The Infectious Diseases Coordinator has
begun development of an Infection Control Manual and gives presentations at the quarterly statewide
meetings of OHS leadership on infection control related topics.704 In conjunction with the UIC HCV
Telehealth Clinic, in the last three years IDOC has quadrupled the number individuals with active Hepatitis
C infection treated annually.

However key aspects of the infection control program have not yet been addressed or fully implemented.
As of yet there is no standardized training in infection control for the facility infection control nurses and
there are no systemwide meetings of the infection control nurses. A plan to establish an Agency Infection
Control Committee has not yet been initiated. The assigned responsibilities of infection control nurses
vary from facility to facility with few if any of these nurses performing all the duties as outlined in Medical
Policy and Procedure Manual.705 Many of the facility infection control nurses are assigned to other duties
which limits the amount of time they have available to address their infection control responsibilities. The
Infectious Diseases Coordinator lacks support staff to assist with the supervision and training of infection
control nurses and the monitoring or analysis of infection control and preventive data. IDOC has not yet
established a relationship with an infectious disease specialist or specialty group that would be able to
provide outpatient consultation for individual patients with infectious diseases.

IDOC received a significant grant from the Department of Justice/Center for Disease Control (CDC) to
enhance pandemic staffing, plan for response to future pandemics, and potentially strengthen IDOC’s
infection control efforts.706 The Monitor initially understood that might be an opportunity to use some of
these grant resources to establish a systemwide, functioning infection control program that would protect
the health of the incarcerated population and the IDOC staff. 707 However, based on subsequent
discussions with IDOC it is unlikely that this grant funding will be available to hire additional staff and
instead will be used to purchase supplies and equipment. The monitor has received no additional
information since the 7th Court Report on how this grant funding is being utilized.

702
    The National Commission on Correctional Health Care (NCCHC) standard P-B-02 Infectious Disease Prevention and
Control is an essential standard. It states, “There is a comprehensive institutional program that includes surveillance,
prevention, and control of communicable disease”.
703
    Implementation Plan Narrative pages 2 and 4, and item 30.
704
    Infectious Disease Coordinator OHS presentations: 12/22/22: HCV Treatment, COVID update and Booster Vaccination,
3/29/23: Update on COVID policy based on revised CDC Guidelines, 6/28/23: HCV medication, tracking, and pill count.
2/28/24: IGRA TB testing, Diagnosis and Treatment of TB, and IDOC Immunization Program.
705
    Medical Policy and Procedure 2/9/24, Infection Control, G0.01 Infection Control Program, G.02.01 Disease Reporting,
and G.03.01 Facility Infection Control.
706
    IDOC was awarded a $7 million grant from the Department of Justice/ Centers for Disease Control to enhance pandemic
staffing, plan for response to future pandemics, and strengthen IDOC’s infection control efforts. Monitor’s 5th Report, Lippert
v Jeffreys (June 22, 2022) page 154.
707
    At a minimum, IDOC should use funds to hire an infectious disease physician who would have dual responsibilities for
infection control in IDOC yet be on staff with IDPH. This person should guide development of an infection control manual,
assist in development of policy, develop surveillance strategies, and lead the infection control program.



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To date there has been no action to add or assign additional personnel sufficient to provide agency wide
direction on infection prevention and control and to reliably carry out these directions at the facility level.

Position of Infectious Diseases Coordinator
In May of 2020 IDOC temporarily filled the position of Infectious Diseases Coordinator with a registered
nurse (RN) who was the Health Care Unit Administrator at Stateville CC. On June 1, 2023, the acting
coordinator was chosen to permanently fill the position. In alignment with the recommendation of the
Monitor team and with the Central Management position description preference 708 that the Infectious
Diseases Coordinator be certified in Infection Prevention and Control, the coordinator has completed a 26
week online program offered by the Association for Professionals in Infection Control and Epidemiology.
As a result he is now eligible to take the examination to be Certified in Infection Control and Prevention
(CIC).709 The Infectious Disease Coordinator has advised the Monitor that he has postponed taking the
certification test until October 2024.710 With his experience in infection control to date and the future
certification in Infection Control and Epidemiology, the current Infectious Diseases Coordinator will be
prepared and trained sufficiently to develop and lead the IDOC infection control program. IDOC is
compliant with Consent Decree II.J.1.

Relationship with Illinois Department of Public Health (IDPH)
In early response to the COVID-19 pandemic, Illinois Department of Public Health (IDPH) assigned a
public health physician to serve as IDPH’s liaison with the OHS/IDOC. It has been recently communicated
to the Monitor711 that a new physician has been assigned as IDPH’s liaison with OHS/IDOC. This
physician is in charge of infection control issues in Illinois’s congregate living sites which include all
IDOC facilities. IDPH has divided Illinois into seven regions each staffed by an IDPH infection control
RN (preventionist) who will provide consultation concerning infection control issues, address gaps in
processes and preventive measures, and assist with management of infectious disease outbreaks.712 The
OHS Infectious Diseases Coordinator and other IDOC health care leaders have monthly meetings with
the IDPH physician liaison and the regional infection control preventionists.

The Monitor has been advised that IDOC has completed a written agreement with IDPH which formalizes
the public health relationship between IDPH and OHS/IDOC. However, this agreement has not yet been
shared with the Monitor.713

The IDPH relationship is a valuable prevention and public health consultative resource. However, it is the
responsibility of IDOC to build and maintain the infrastructure of its internal infection control program.

Development of a Relationship with Infectious Disease Specialty Service for Outpatient

708
    The Central Management Services, Position Description, Infectious Diseases Coordinator, No. 37015-29-02-800-41-01
listed as a “preferred” qualification that the coordinator have “certification in Infection Prevention and Control or eligibility
for certification at the time of hire.”
709
    The Certification examination is offered by the Certification Board of the Infection Control and Epidemiology.
710
    The Infectious Diseases Coordinator provided this information during the 7/17/24 interview with the monitor team.
711
    Infectious Diseases Coordinator-Monitor Interview 7/17/24
712
    IDPH recently contacted an IDOC facility about an individual-in-custody who had a fungal infection that was resistant to
most anti-fungal medication. IDPH provided valuable guidance on screening all close contacts of this infected patient. All
contacts tested negative.
713
    OHS-Monitor monthly call 9/21/23.



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Consultation on Individual Patients
As previously noted in this section, it continues to be the Monitor’s recommendation that IDOC also
establish a consultative relationship with an academic center for infectious disease specialty consultation
to advise facility physicians as needed on the treatment of individual patients with complicated infectious
diseases.

The Monitor has been advised that OHS may consider formalizing a relationship with SIU’s Division of
Infectious Diseases to provide outpatient consultations to IDOC facility physicians on the treatment of
individual patients with infections.714

Infection Control Policy and Procedure
In February 2024, IDOC finalized and disseminated the IDOC Medical Policy and Procedure Manual
which contained seventeen policies that guide the operations of the Infection Control Program and an
additional fifteen policies that address infection control and sanitation issues in the dental operatories.715
It has not been communicated to the Monitor whether training of all pertinent staff on these infection
control related policies has been completed in all IDOC facilities.

The Monitor team provided input on the vast majority of the policy drafts. IDOC communicated that any
additional input from the monitor on infection control and other policies will be reviewed and taken into
consideration during the annual review of all policies.

Infection Control Program Support Staff
The Infectious Diseases Coordinator is currently the only OHS employee in the Infection Control
Program. This individual is fully focused on addressing infection control issues and identifying the
needed infrastructure for an Infection Control Program.. However much more needs to be done to
establish a functioning and effective program that would adequately serve IDOC’s 27,000 incarcerated
individuals and staff at its thirty facilities.716. Additional personnel being considered include three
regional infection control coordinators, data analysts, infection control training expert(s), and an
infectious disease consulting physician (see above).

As noted in the 7th Court Report, IDOC should consider adding regional infection control coordinators
to provide systemwide wide direction at the facility level and interact with the IDPH’s regional infection
control nurses. IDOC Regional Infection Control Coordinators would be certified in Infection Control
and report to the OHS Infectious Diseases Coordinator. Initially one of the regional infection control
coordinators or a budgeted or contracted infection control trainer will be needed to orient and train the
existing nurses in the performance of infection control activities. Given the turnover of nursing staff, it
is likely that there will be an ongoing need for a dedicated infection control trainer.

A successful infection control program will need data analysts to collect, manage and analyze
surveillance and incidence health data for a functioning infection control program. Data analysts will be

714
    7/17/24 Interview with OHS Infectious Diseases Coordinator.
715
    Implementation Plan, item 30.2 “Develop written guidelines on all operational aspects of the infection control in
facilities….
716
    Implementation Plan item 30.1 states that IDOC will provide “sufficient personnel who are appropriately trained in
communicable diseases and infection control to provide agency wide direction and to carry out these directions at the facility
level.”



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invaluable in mining infectious disease and infection control data from the forthcoming electronic
medical record for surveillance but also for quality improvement activities.


Facility Infection Control Nurses
The bread and butter of the Infection Control Program are the infection control nurses at each of the IDOC
facilities. Currently there are no infection-control-trained nurses assigned to infection control positions in
any of the thirty correctional facilities.
Based on data provided in response to the Monitor’s request 13 (72%) of the 18 facilities 717 staffed by
vendor nurses had positions with infection control responsibilities that were either vacant (3 positions),
temporarily covered by a Director of Nursing (DON 1 position) or HCUAs (2 positions) or staffed only
“as needed” or less than 25% of their assigned time (7 positions).718 This undermines the capability of
the IDOC to implement a comprehensive systemwide Infection Control program.
Both registered nurses (RN) and licensed practical nurses (LPN) are currently assigned to infection control
duties; however, a number of the responsibilities of the infection control nurses require independent
judgement, assessment, and decision making. These positions should be filled by RNs.

IDOC has committed to having dedicated infection control nurses at each facility.719 As noted in the 7th
Report, staffing analyses and staffing documents submitted to date have not documented infection control
nursing positions at the institutions.720 This is in spite of recommendations from the Monitor to do so since
the 2nd report.721 As noted in the table below,722 only five (28%) of the 18 facilities staffed by vendor
nurses have an infection control nurse who estimates that at least estimated 80% of their workday is
dedicated to infection control activities.723



             Time Dedicated to Infection Control Nursing

                          Vendor-Only Nurses
        Facility           License/Title        Percent Time Assigned
                                                 to Infection Control
                                                        Duties
 BMRCC                          RN                        20%
 Centralia                      RN                        10%




717
    8th Report Document request #66 Wexford Nursing Assignments (see table in the Facility Infection Control Nurses section
of this report).
718
    Only two of the uncovered or less than 25% FTE infection control nurses were at small facilities, Kewanee and
Murphysboro.
719
    Implementation Plan Item 8, Proposed End Date January 2024.
720
    Staffing Analysis and staffing documents, Illinois Department of Corrections Office of Health Services, Lippert Consent
Decree 11/23/19, 6/18/20, 12/15/20, 5/3/21, 7/7/202, 8/17/21, 3/12/22, 9/22/22, 3/23/24 (date received), 5/15/24 (date
received).
721
    Health Care Monitor 2nd Report Lippert v. Jeffreys, August 6, 2020, page 131.
722 th
    8 Report Document Request #66 Nursing Assignments (only vendor nurses provided).
723
    At the time of finalizing this Report, IDOC was not able to provide information on the Infection Control nurse staffing and
FTE dedicated to infection control activities at State staffed nursing facilities.



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 Danville                   HCUA (State             When available
                             position)
 Hill                           LPN                       5%
 IRCC                            RN                      100%
 JTC                       2 RNs (shared)           When available
 Kewanee                    HCUA (State             When available
                             position)
 Lawrence                       LPN                      90%
 Lincoln                   None Assigned                  0%
 Logan                     None Assigned                  0%
 Murphysboro                     RN                      25%
 Pinckneyville                 Vacant                     0%
 Robinson                        RN                     80-90%
 Shawnee                        LPN                      10%
 Southwestern                    RN                      10%
 Stateville                      RN                      100%
 Taylorville             Director of Nursing              5%
 Western                        LPN                      100%

        Infection Control Nurses By Position: Totals 18 Facilities
                                  By Title
           RN                  8 (44%)
          LPN                  4 (22%)
          DON                  1 (6%)
         HCUA                  2 (11%)
     Vacant/                   3 (17%)
    Unassigned

        Time Allocated for Infection Control Duties at 18 Facilities
          Zero                 3 (17%)
  When available               3 (17%)
    < 25% FTE                  7 (39%)
    80-90% FTE                 3 (17%)
          100%                 2 (11%)



Data on infection control nurses at eleven facilities staffed by State nurses noted that ten of the eleven
facilities had infection control nurses, but the percentage of time dedicated to these duties was not




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provided.724 All of the infection control nurses at the ten State staffed facilities are Registered Nurses.
Almost all nurses assigned to infection control responsibilities are also assigned to other non-infection
control duties. IDOC currently assigns general duty nurses to perform infection control duties.
There are currently no specific qualifications required of RNs or LPNs assigned to infection control tasks.
These nurses receive only on-the-job training in infection control for which there is no curriculum or
clinical oversight. The Agency Infectious Diseases Coordinator reported that a power point presentation
would be used for initial and ongoing infection control training and is being prepared in conjunction with
the IDPH. The presentation, to date, has seventy slides. Once completed, this infection control training
tool will be available on the Internet but will not replace the need for ongoing in-person training by an
infection control certified trainer. Without properly trained facility infection control nurses, IDOC will
only have a piecemeal and inadequate infection control program.

The Facility Infection Control Policy725 lists twenty separate duties of the dedicated Infection Control
nurse at an IDOC facility. For example, some of these duties include:
     • Perform intake screenings for communicable diseases.
     • Complete annual TB screening.
     • Complete the required workup and submit referrals to UIC Telehealth for individuals with HIV,
          active Hepatitis B and C, and TB.
     • Liaison with UIC specialists during HCV, HBV, and HIV Telehealth sessions.
     • Monitor and track MRSA infections.
     • Participate in Safety and Sanitation rounds to monitor and address infection control matters
          including availability of personal protective equipment (PPE), appropriate handling and
          laundering of contaminated linens, monitoring negative pressure rooms and spore testing, and
          identifying unsanitary infirmary beds, exam tables, and dental chairs.
     • Train and oversee staffing the vaccine program, track data on vaccinations provided.
     • Ensure that individuals in custody workers/porters are appropriately vaccinated and trained
          concerning infectious exposures.
     • Implement the IDOC Exposure Control Plan and transmission-control precautions for persons
          requiring isolation.
     • Interact with Regional IDPH preventionist as needed.
     • Prepare the monthly facility infection control report and Illinois Reportable Diseases report.
 Even though this is not the entire list, it is clear that the duties of the facility Infection Control nurse are
 extensive and will require fulltime assignment at all IDOC facilities with the exception of the small
 facilities that do not have infirmaries.
The infection control nurses at NRC and Stateville CC were interviewed during recent site visits.726 The
infection control nurse at NRC is assigned fulltime to infection control tasks and was performing a number
of the expected duties including monitoring availability of PPE, coordinating the workup of newly
admitted men with active HCV and sitting in all HIV and HCV Telehealth visits, assisting with the
determination if a patient requires contact or respiratory isolation, ensuring that contaminated infirmary
laundry are washed at higher temperature, and preparing the monthly Illinois reportable disease report.
She is aware that there is a regional IDPH preventionist but, to date, has not had the need to contact the
724
    8/15/24 email communication from IDOC. Decatur CC did not have an assigned infection Control Nurse. (Information on
infection control staffing at JITC was not reported. JITC has a very small population and likely does not currently have an
infection control nurse.)
725
    IDOC Medical Policy and Procedure Manual 2/8/24, G.03.01 Facility Infection Control. Procedure I.A-CC, p 184-85.
726
    June 3-5, 2024



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preventionist. Her contact with the Agency Infectious Diseases Coordinator is primarily via e-mail. The
NRC nurse does not monitor the testing of the negative pressure rooms in the infirmary and is not involved
with the vaccination program. The Stateville CC acting infection control nurse has only been in this role
for the 2 ½ months and was listed as being 100% assigned to infection control.727 Her only duties are to
assist with the HIV and HCV Telehealth sessions. She was not aware of the other duties noted in the
Facility Infection Control Policy and Procedure and did not know that there was an Agency Infectious
Diseases Coordinator nor a Regional IDPH preventionist. Both of these two infection control nurses have
not received any formal training in infection control.
As of the writing of this report, there have been no regularly scheduled systemwide meetings during
which the Infectious Diseases Coordinator would update facility infection control nurses on infection
control issues or for discussion among facilities about infection control activities.728

The reporting relationship between the Infectious Diseases Coordinator and the facility infection control
nurses also needs to be clearly defined. The OHS table of organization does not but should document, at
a minimum, a dotted line reporting relationship between the Infectious Diseases Coordinator and facility
infection control nurses. A clear infection control chain of command is important to the development of
standardized Infection Control program in the IDOC.729

Safety and Sanitation Rounds
As detailed in the IDOC Medical Policy and Procedure Manual, the facility Infection Control nurse is to
participate in the monthly Safety and Sanitation rounds and monitor and track eight infectious control
related matters.730 However the monitor has previously recommended that the rounds also include
inspection of potential risks for exposure of inmates and staff to infectious diseases. These risks include
mold in showers, vermin/roaches/flea infestations, non-functioning washers and dryers in the housing
units, birds in cafeterias and housing areas, and the testing of water for legionella bacteria. The Infection
Control Program needs to work with the IDOC leadership to expand the monthly Safety and Sanitation
inspection tool/check list to include these and other preventable infectious disease risks.731 This
recommendation has not yet been acted upon.

Immunization Program (also see RHM/Adult Immunizations Section)
The immunization program is now a responsibility of the Infection Control Program.732 The Monitor has
repeatedly recommended that it be placed under the umbrella of nursing and be managed by the facility
infection control nurse. Nurses trained in immunizations and guided by treatment guidelines, standing
orders, or protocols offer IDOC the optimal opportunity to administer indicated immunizations to the
incarcerated population. Nurse led immunization programs have shown to be effective with IDOC’s
annual influenza vaccination events, with the ongoing provision of COVID-19 immunizations and pilot
programs to administer Human Papilloma Virus (HPV) vaccine to eligible females at the Decatur and
Logan Correctional Centers. The Monitor supports the OHS decision to place responsibility for the

727
    8th Report Document Request #66 Nursing Assignments (only vendor nurses provided).
728
    Implementation Plan 30.6 recommends that IDOC “establish statewide infection control meetings of the infection control
personnel.”
729 th
    8 Report Document Request No #139 OHS Infection Control Table of Organization does not indicate a direct or dotted
line reporting relationship of the “Agency Infection Control Coordinator” to the facility Infection Control nurses.
730
    IDOC Policy and Procedure, Infection Control, G.03.01 Facility Infection Control. Procedure: I.Q.A-H.
731
    The IDOC Environmental Engineer inspects facilities for a number of these infectious disease and safety risks, however
at best, the environmental engineer inspections are only performed annually or semi-annually.
732
    IDOC Policy and Procedure, Infection Control Program G.01.01 and Facility Infection Control G.03.01.



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provision of routine immunizations under the management of each facility’s infection control nurse in
collaboration with the facility’s HCUA and Director of Nursing (DON).

IDOC has reported that custody workers/porters with potential risk of exposure to fecal pathogens and
blood borne infections will now be vaccinated against both Hepatitis A and Hepatitis B or have proof of
immunity to these viruses.733 This is an appropriate decision that protects the health of the incarcerated
population and the staff.

Monthly Infection Control Report
As reported in the 7th Report, IDOC has developed a Monthly Infection Control Report734that was
implemented in March 2023 at all facilities. The form is to be completed by each facility and sent to the
Infectious Diseases Coordinator. The report contains data on new infectious cases,735 the evaluation and
treatment of select infections, and utilization data for the Hepatitis C clinic. The data gathered was
described as “raw data” that would not meet the definition of surveillance data. Initially the reports were
inconsistently completed but the Monitor has been informed that 90% of them are now being completed
and forwarded to the Agency Infectious Diseases Coordinator.736 The Monitor only received facility CQI
meetings for January-March 2024 at the time this report was written and is unable to verify the
completion and standardized reporting of infection control activities at more recent facility and Agency
CQI meetings

Agency Infection Control Committee
IDOC has plans to create an Agency Infection Control Committee to oversee the system’s Infection
Control Program but as of the writing of this report it has not been formed. 737 The policy outlines the
multi-disciplinary membership of this committee that will meet no less than quarterly to provide direction
to the Infection Control Program, establish annual goals and objectives endorsed by the System Quality
Council, review and analyze monthly facility reports on infection control data, plan for response to public
health emergencies and disasters, and other activities.

Tuberculosis Screening Program
In October 2021, IDOC appropriately replaced tuberculosis skin test (TST) with the Interferon Gamma
Release Assay (IGRA) blood test to screen for tuberculosis in the four Reception and Classification
Centers.738 The conversion to IGRA increased diagnostic accuracy, eliminated human error in the reading
the TST, minimized the risk of accidental needle sticks, and freed up valuable nursing time for other
clinical duties. Apart from the intake centers, IDOC has not instituted IGRA screening in any of its
facilities where age-based recurrent physical exams include TST screening. The monitor has been

733
    IDOC Medical Policy and Procedure 2/9/2024, G.01.01 Infection Control, Procedure IV. “Facility infection control
coordinators maintain documentation of Hepatitis B vaccination status and Hepatitis A vaccination for those at risk for
exposure to fecal pathogens and blood exposure…”
734
    Implementation Plan item 30.3 “Establish surveillance report format to be used to analyze and report on infection control
in CQI meetings at the facility and agency level” .
735
    New cases to be reported on the Monthly Infection Control Report include tuberculosis (active and latent), HIV/AIDS
disease, hepatitis A, B, and C, STDs, MRSA, hygiene related conditions (fleas, lice, fungal infections, scabies, etc.),
bloodborne exposures of staff and incarcerated persons, influenza, and COVID-19.
736
    7/17/24 Interview with Infectious Diseases Coordinator.
737
    IDOC Medical Policy and Procedure, Infection Control Committee, G.04.01 was finalized and disseminated on February
9, 2024.
738
    Graham CC, Logan CC, Menard CC and NRC.



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repeatedly advised that TST be replaced with IGRA testing for all individuals-in-custody (IIC) at all IDOC
facilities. IDOC nursing staff also use TSTs to perform annual TB screening of IDOC correctional
employees and has raised concerns about the logistics and costs of replacing TST with IGRA for
employees. IDOC also voiced concerns about union opposition to IGRA testing which requires blood
drawing phlebotomy.

If the barriers to converting TB screening for employees are insurmountable, the Monitor has
recommended that OHS/IDOC continue to use TST for employees and institute IGRA for the entire
incarcerated population. The Monitor was informed in September 2023 that IDOC has been in
communication with UIC medical center about increasing the use of IGRA TB testing at all the other
IDOC facilities.739 To date no further updates have been provided to the Monitor about expanding IGRA
TB screening to include all individuals housed in the IDOC.

Monitoring of Negative Pressure Respiratory Isolation Units
IDOC has negative pressure units in all 26 facilities with infirmaries. The Infection Control Program now
has responsibility for ensuring that the functionality of negative pressure isolation units is monitored and
tracked.740 IDOC facilities have poorly and inconsistently reported on the testing of negative pressure
rooms. During ten separate audits of CQI reports from June 2020 to March 2024, the reporting of air
pressure test results ranged from 13 (50%) to 19 (73%) of the 26 infirmaries. In the most recent review
of CQI minutes dated March 2024 only 15 (58%) of the facilities reported on the operationality of their
negative pressure units. During the eleven site visits, the monitor team’s inspection of the isolation rooms
at nine facilities identified non-functional negative pressure units at five (56%) facilities.741 The most
recent identification of non-functional negative pressure units was on June 3-4, 2024.742 The nursing staff
and facility leadership at all five facilities were not aware of this significant infection control problem.
The repeated flaw at these five sites was that the staff solely relied on the readings on air pressure gauge
and did not verify the gauge’s reading using the tissue paper methodology. IDOC Medical Policy and
Procedure 2/9/2024 now mandates that isolation rooms occupied by patients under respiratory isolation
precautions must be tested using the tissue method daily and weekly if the negative pressure is unoccupied
or houses a patient that does not require respiratory isolation. The policy also mandates the use an
infirmary log which records the results of tissue testing and is reported at the monthly CQI meeting.743

The Monitor strongly supports the involvement of the Infection Control Program and facility infection
control nurses in the monitoring and proper testing of negative pressure units to ensure that patients
requiring respiratory isolation do not expose other patients and staff.

Recommendations:
   1. Continue the development of a comprehensive, statewide Infection Control Program.

739
    Interview with Communicable and Infectious Diseases Coordinator 9/13/23.
740
    IDOC Medical Policy Procedure Manual 2/9/24, G.01.0, Policy VIII. Infection Control Committee is to establish
standardized methodology to regularly monitor negative air pressure in respiratory isolation rooms and reporting these results
monthly, Procedure I.P.5 Infection Control Coordinators (facility nurses) participate in monthly Safety and Sanitation rounds
“monitoring negative pressure rooms” and Y. “monitor negative pressure rooms” and G.03.01 Facility Infection Control:
Procedure Q.E and Q.Z, during Safety and Sanitation round facility infection control nurses are to monitor negative pressure
rooms.
741
    Dixon, Logan, Graham, Robinson and most recently at NRC during the 6/3-4/2024 site inspection.
742
    NRC site visit 6/3-4/2024.
743
    IDOC Medical Policy and Procedure 2/9/24, G.10.01 Transmission Based Precautions, Procedure V. 2-4.



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      2. Ensure that the Agency Infectious Diseases Coordinator obtains and maintains certification in the
          infection prevention and control through the Certification Board of Infection Control and
          Epidemiology.
      3. Continue to maintain the IDOC relationship with the Illinois Department of Public Health for
          consultation and advice on preventive and public health issues.
      4. Hire or contract with an infectious disease physician consultant or academic program to provide
          access to outpatient consultation on patients with complicated infections.
      5. Take steps to ensure that facility infection control nurses are allotted sufficient time to be able to
          manage the infection control duties outlined in Policy G.03.01. In all but the smallest correction
          centers the infection control nurse is a fulltime job.
      6. Develop an effective and ongoing infection control training process for all infection control nurses
          and document annual updated training sessions.
      7. Initiate quarterly statewide infection control meetings of infection control personnel.
      8. Complete the collaborative development of an Infection Control Manual (with assistance of SIU)
          and the Infection Control power point presentation (with assistance of IDPH) that will serve as a
          reference guide and training tool for infection control staff and other clinicians.
      9. Establish the Agency Infection Control Committee to provide oversight and guidance to the
          Infection Control Program.
      10. Standardize the monitoring of negative pressure units to include results of tissue test results and
          reporting of these results to the monthly facility CQI committee meetings.
      11. Replace tuberculosis skin testing (TST) with IGRA blood testing for all individuals-in-custody
          (IIC) in the IDOC.
      12. Require that all custody workers/porters at risk for fecal borne and bloodborne infections be
          vaccinated for Hepatitis A and Hepatitis B or have documented proof of immunity.
      13. Track and report on the Infection Control Program’s compliance with infection control-related
          elements of the Consent Decree and items in the Implementation Plan.

Hepatitis C Treatment Program
As noted in the 7th Court Report, since June 2021 the annual volume of IDOC patients treated for active
Hepatitis C virus (HCV) has nearly quadrupled (see the table below). The improved access to Hepatitis C
therapy in the IDOC is due to the expansion of treatment eligibility to include all levels of liver fibrosis, the
revision and streamlining of the Screening and Treatment of Hepatitis C Guidelines in March 2021, the close
collaboration with the UIC Hepatitis C Telehealth clinic, and the initiation of the Infection Control program.
This accomplishment puts IDOC in alignment with the National Hepatitis C Elimination Program.744 IDOC
continues to be on a path to nearly eliminate active hepatitis C infection for infected individuals currently
housed in the IDOC. The Office of Health Services (OHS) reported that there were only 510 men and
women pending treatment in March 2024;745 this is notable decrease from data in 2019 to 2021 that, on
any given month, estimated 1000 to 1600 individuals were awaiting HCV treatment. It is not unreasonable
that soon the system will be primarily focused on the identification and expedited treatment of active
Hepatitis C infections in men and women who are new admissions to the IDOC. The curative treatment of
active hepatitis C has a positive impact on the present and future health of the incarcerated population and


744
    Fleurence RL, Collins F, A National Hepatitis Elimination Program in the United States, A Historic Opportunity: JAMA.
April 18, 2023; 329 (15): 1251-52.
745
    IDOC Hepatitis C Clinic Report Per Facility (Q1 2024) noted that 510 individuals were “pending treatment” and 49
“refused treatment” in the IDOC.



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will decrease the risk of transmission of hepatitis C in the IDOC and ultimately in the communities of
Illinois.

      IDOC Hepatitis C Treatment
     February 2018 through 4/19/24

     Year              # Treated
     2018                 79
     2019                 82
     2020                 98
     2021                246
     2022                348
     2023                334
     2024                114
     Total               1301



With the initiation of the Monthly Infection Control Report IDOC has taken steps to develop a
systemwide, standardized internal surveillance system to track infectious diseases including HCV
infection and treatment. The utilization of this new report has now been mostly implemented in all
facilities. It is anticipated that this revised report will standardize data and make it possible to know the
true number and percentage of untreated HCV patients as well as the number of HCV patients who have
been treated at each facility and in the IDOC system.

IDOC still needs to develop and implement a protocol or guideline to direct and track ongoing liver
ultrasound screening for hepatocellular cancer of treated or untreated HCV patients with advanced liver
fibrosis and cirrhosis. This screening is currently recommended to be performed every 6 months for
patients with higher levels of liver fibrosis.

The recently implemented Monthly Infection Control Report lists six data points that facilities are to track
and report on the Hepatitis C Virus (HCV) clinic:

               1.   Total number of HCV patients in the HCV clinic,
               2.   Number currently receiving treatment,
               3.   Number completed treatment,
               4.   Number pending treatment,
               5.   Number refusing treatment, and
               6.   Number       of   patients    with     contraindication      for     treatment     (liver
                    cirrhosis/adenocarcinoma/liver transplant).

IDOC currently lists the number of patients in the “pending” category as “untreated.” The Monitor
recommends that the Infectious Disease Coordinator consider modifying the HCV section of the Monthly
Infection Control Report by replacing the “pending” category with two categories “facility workup in
progress” and “submitted to UIC”. This would differentiate backlogs at the facility level and/or delays
at UIC HCV Telehealth Clinic. IDOC also should begin to track the number of monthly admissions to




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their four intake centers with reactive hepatitis C antibodies and hepatitis C viral loads. This will better
prepare IDOC for the logistics of expeditiously initiating the required workup for newly incarcerated
individuals with active hepatitis C.

Optimally the new electronic health record will automatically report on the data needed by the Infection
Control Program to identify, monitor, track and treat HCV in the IDOC.

As also noted in the 7th Court Report, the contraindications to HCV treatment listed in sub-item f. of the
Monthly Infection Control Report are not in alignment with current standards of care which indicate that
successful treatment of HCV has improved morbidity and mortality of patients with compensated and
decompensated liver failure, liver cancer (HCC), liver cancer awaiting liver transplantation, and post-liver
transplantation.746 Besides the logistical contraindication of an out-date of less than six months required
to complete the requisite lab and diagnostic workup, referral to UIC HCV Telehealth for their evaluation
and decision to treat, and the completion of the 12 week course of treatment, there are few absolute
contraindication to HCV treatment. IDOC should rewrite item 6 in the list above in consultation with the
UIC HCV specialists.

As noted in the 7th Court Report the Monitor continues to recommend performance measures and an
outcomes dashboard to measure hepatitis C treatment. This dashboard or its equivalent should include
the number of HCV patients treated over a specified time period in the numerator and the total number of
untreated HCV patients over the same time period in the denominator. The number of untreated HCV
patients should be separately tracked on a dashboard and would permit staff to see whether the number
decreases consistently over time. IDOC has yet to develop performance measures and outcome studies
that are fully satisfactory to the Monitor.747

The IDOC Infection Control program regularly reviews the UIC telehealth HCV treatment spread sheet
which lists the date treatment started, name, IDOC number, DOB, facility, fibrosis level, and medications
for each patient approved by UIC and started on HCV treatment. The Infectious Diseases Coordinator
continues to intermittently provide the Monitor with updates on the volume of patients initiating HCV
treatment and the percentage of each level of fibrosis for these newly treated patients.

However, there are notable variations in the number of patients treated in different facilities. There are a
number of large facilities that appear to have treated a disproportionately low number of active HCV
individuals.748 This may be due to inadequate staffing, lack of staff education, or the absence of a facility
infection control program. It is again the Monitor’s firm opinion that the lack of dedicated infection control
nurses at each facility significantly contributes to the failure of many sites to refer efficiently complete the
prerequisite workup and to expeditiously submit HCV patients to the UIC Hepatitis C Telehealth Clinic
for prioritization and treatment. This concern needs to be monitored and addressed by the Infection Control
Program.


746
    Colombo M, Sirin CB, Chopra S, Robson KM. Patient Evaluation and Selection for Antiviral Therapy for Chronic
hepatitis C Infection, Special Situations. UpToDate, 10/31/22 with literature review current through October 2023.
747
    Monitor’s Letter on IDOC Quality Audit and Outcomes and Performance Measures sent by email 11/19/2022. See also the
discussion of Outcome and Performance Measurement Results in this report.
748
    IDOC Infection Control Program Quarter 1 2024 Hepatitis C report, BMR: 29 pending treatment/census 1337, Centralia:
27 pending treatment/census 1188, Taylorville: 58 pending treatment/census 1090. There is also concern that the
Pinckneyville and Graham statistics need to be reviewed.



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               Hepatitis C Treated Patients by Facility Ranked by Number Treated
                                  2021 to 2024 (through 4/19/24)
 Ranking   Facility        Tx'd in     Tx'd in      Tx'd        Tx'd      Total    Population
                            2021        2022       in2023     in2024*    Treated
       1   Shawnee              42     41         26           6          115         1447
       2   Sheridan             37     37         28           6          108         1295
       3   Logan                 7     28         30          16           81         1156
       4   Lincoln              11     28         28           2           69          778
       4   Decatur              25     22         13           9           69          349
       5   Jacksonville          7     29         24           7           67          612
       6   Menard               18     12         15           8           53         1182
       7   Danville              2     25         15           4           46         1617
       7   Graham                8      5         16          17           46         1632
       8   Dixon                28      4          7           1           40         1028
       8   Vandalia              9     15         12           4           40          528
       9   Robinson              8     18          8           2           36         1146
      10   IRCC                  1     12         22           0           35         2008
      11   Vienna                0      6         24           3           33          707
      12   Lawrence              6     11          9           4           30          871
      13   BMRCC                 0      6         14           7           27         1337
      14   East Moline          11      8          7           0           26          477
      15   Western               2      4         11           8           25         1642
      16   Centralia            12      2          1           0           15         1188
      17   Hill                  4      4          4           2           14         1177
      17   Taylorville           1      0          7           6           14         1090
      18   Stateville            1     11          1           0           13          437
      19   Southwestern          1      5          6           0           12          532
      20   Kewanee               2      7          1           0           10          153
      21   Pontiac               2      3          2           0            7          630
      22   JTC                   0      1          2           1            4          192
      23   NRC                   1      1          0           1            3          970
      24   Pinckneyville         0      2          1           0            3         1862
           JITC/Elgin            0      0          0           0            0      unavailable

           Murphysboro          0       0          0           0           0       unavailable

                                246    347        334         114        1041        28043
 *Treatment was until 4/19/24



Recommendations:
   1. Continue to track and report the number of patients in the HCV Clinic, the number who completed
      treatment, the number currently in treatment, the number refused, and the number not eligible for
      treatment (short length of stay) but refine the data that identifies the number of untreated patients




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         in the facilities’ HCV Clinics by separating the “pending treatment” into two categories: “facility
         workup in progress” and “submitted to UIC HCV Clinic”.
      2. IDOC needs to track and report liver ultrasound screening for hepatocellular cancer (HCC) in
         individuals with treated or untreated HCV advanced liver fibrosis. The current national
         recommendation is to perform liver US every six months on all patients (HCV and other liver
         conditions) with advanced liver fibrosis.
      3. IDOC should begin to track the number of new admissions to the four Reception and Classification
         Centers that are identified having active HCV infections.
      4. The data requests in these three recommendations should be gathered and reported electronically
         in the new electronic medical record (EMR).


Dental Care
Dental Staffing

Addresses II.B.3
II.B.3. IDOC must also provide enough trained clinical staff, adequate facilities, and oversight by
qualified professionals, as well as sufficient administrative staff.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
Chief of Oral Health Services

As noted in the 6th and 7th Monitor's Report, IDOC hired an administrative dentist responsible for the
statewide program. In February 2021, a Chief of Oral Health Services was appointed. This addition has
been valuable in advancing the Decree's initiatives.

Site Visit

During the site visit, the Monitor assessed the dental staffing at NRC and Stateville. NRC had 1.6 full-
time equivalent (FTE) dentists for its current mission. Stateville, with a reduced inmate population of
fewer than 500, operates with two FTE dentists.749

Dental hygiene services are available to inmates at Stateville, but none are provided at NRC. Although
most NRC inmates are expected to transfer to other facilities, some are part of the work cadre at the
neighboring Stateville Minimum Security Unit (MSU). During the visit, dental leadership from Wexford
and IDOC confirmed that the Stateville dental hygienist would visit NRC several times a month to provide
hygiene care to MSU inmates. Given the current reassignment of Stateville's population, this arrangement
is considered a reasonable solution.

Dental Staffing (Dentists and Hygienists)750
749
    One of two full time budgeted dentist at Stateville is a State employee but the Monitor was told IDOC does not intend to
fill the position. This position will be removed from our reports when it is officially removed from the Stateville budget.
750
    Dentist and dental hygienists are from the Lippert Medical Staffing Report June 2024 sent to the Monitor 6/28/24.



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As of June 2024, twenty-eight DOC correctional centers had onsite dental suites and services. There were
36.15 FTE dental positions budgeted, with 18.06 filled, resulting in a 50% vacancy rate. During the site
visit, there was a discussion with the Chief of Oral Health Services and Wexford's lead dentist about
staffing shortages. Wexford's lead dentist indicated that he and other dentists provide coverage at various
facilities. Wexford has contracted a mobile dental clinic (Jet Dental) to provide care at Danville, Menard,
Graham, and Southwestern.751 However, it remains unclear how much full-time equivalent (FTE) support
is provided to these and other facilities without a permanent dentist.

There were 23.75 full-time equivalent budgeted dental hygienist positions across 28 facilities. Most of
these positions (21.25) are filled, resulting in a vacancy rate of approximately 11%.752 Since the Monitor's
7th Report, Western Correctional Center has been allocated a dental hygienist for its program. Vienna
remains the only facility without a budgeted dental hygienist.




751
   Monthly Backlog Report provided by Jet Dental
752
   Facility Reconciliation Worksheet – Q3’24 – LIPPERT and OHS Facility.xlsx. Notably fill rates on these two documents
are different though they appear to be for the same time period. The Monitor used the one with the lesser amount of filled
staff. Also, the number of FTEs filled appears to be different between the vendor Staffing Report and the State reconciliation
worksheet which apparently used to pay the vendor.




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                                   Budgeted FTE Dentists and Hygienists with Vacancies*
       Facility       Population        Dentist         Dentist          Dentist           Hygienists      Hygienists       Hygienists
                                       Budgeted         Filled         Budgeted per        Budgeted         Filled          budgeted
                                                                          1000                                              per 1000
BMRCC                     1337              1               0                0.75               1               1              0.75
Centralia                 1188            1.05              0                0.88               1               1              0.84
Danville                  1617              1             0.76               0.62               1               1              0.62
Decatur                    349              1             0.75               2.87              0.5             0.5             1.43
Dixon                     1028             1.4             0.4               1.36               1               1              0.97
East Moline                477              1               1                2.1               0.5              0              1.05
Graham                    1632             1.6              1                0.98               1               1              0.61
Hill                      1177              1              0.5               0.85               1               1              0.85
IRCC                      2008              1              0.9               0.5                1              0.5              0.5
Jacksonville               612              1               0                1.63               1               1              1.63
JTC                        192             0.5             0.5               2.6               0.25           0.25              1.3
Kewanee                    153            0.25              0                1.63              0.5             0.5             3.27
Lawrence                   871             1.5              1                1.7                1               1              1.48
Lincoln                    778              1               0                1.29               1               1              1.29
Logan                     1156              2               0                1.73               2               2              1.73
Menard                    1182              3               0                2.54               1               1              0.85
Pinckneyville             1862            2.25              1                1.21               1               1              0.54
Pontiac                    581             1.6             1.6               2.75               1               1               1.7
Robinson                  1146              1              0.5               0.87              0.5             0.5             0.44
Shawnee                   1447             1.4             0.9               0.97               1               1              0.69
Sheridan                  1295             1.5            1.25               1.16              0.5              0              0.39
Southwestern               532              1               1                1.89               1               1              1.89
Stateville/NRC            1822             3.6             2.8               1.98               1               1              0.55

Taylorville               1090              1               1                0.92               1               1              0.92
Vandalia                   528             1.5             0.2               2.84               1               1              1.89
Vienna                     707              1               1                1.4                0               0                0
Western                   1642              1               0                0.61               1               0              0.61
Totals                   28409           36.15           18.06               1.24             23.75           21.25            0.84
* Vendor employee data from 4CN8510-BATES 5999-6015 Lippert Medical Staffing Report June 2024; IDOC employee data from OHS facility
spreadsheet




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Dental Assistants

The number of budgeted FTE positions for dental assistants has stayed the same. IDOC maintains 8 FTE
positions, while Wexford Health Sources provides 36.9 FTE positions. Out of the 44.9 combined state and
vendor dental assistants, 34.33 are filled for a 24% vacancy rate753.

According to a Wexford document, the company lists 43 dental assistants,754 but these 43 employees fill
the 36.9 FTE positions. Overall, budgeted dental assistant staffing levels are adequate for IDOC and
Wexford but the vacancy rate remains high.

Below is a table showing the allocation of FTE positions for dental assistants and their respective
employers.755,756




753
    Facility Reconciliation Worksheet – Q3’24 – LIPPERT and OHS Facility.xlsx
754
    4C42963-BATES 3739-3740 IDOC Dental Assistants and Hygienists 2-28-24.PDF
755
    Dental Assistant FTEs from Facility Reconciliation Work sheets Q3'24 LIPPERT
756
    OHS Facility.xlsx



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RECOMMENDATIONS:
  1. A statewide workload analysis needs to be accomplished to address discrepancies in dental care
     staffing across the state. A workload analysis would ensure equitable distribution of dental
     hygienists and dentists based on facility needs and population size.
  2. Staff ratios (e.g., inmate-to-dental ratio) should be established after completing a workload
     analysis. This ratio should be designed to ensure compliance with the consent decree and the
     overall needs of the population.
  3. All facilities should have a budgeted hygienist. A workload (staffing) analysis should be used to
     redistribute hygiene support based on population size and facility need.
  4. Expeditiously recruit and hire dentists to fill all current and ongoing dentist vacancies.
  5. Conduct a thorough analysis to identify the root causes of attrition and vacancies among dental
     personnel (Dentists).
  6. Continue to provide emergency dental services and those essential dental services during this
     staffing shortage.

Notes: The Monitor has consolidated recommendations from the 7th Report and made one
recommendation to include staffing (workload) analysis for all dental personnel instead of two
recommendations (one for dentists and one for hygienists).

Dental Documentation

Addresses item III.K.1; III.K.11; III.K.12
III.K.1. All dental personnel shall use the Subjective Objective Assessment Plan ("SOAP") format to
document urgent and emergency care.
III.K.11. Each prisoner shall have a documented dental health history section in their dental record.
III.K.12. Dental personnel shall document in the dental record whenever they identify a patient's dental
issue and dental personnel shall provide for proper dental care and treatment.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
The Monitor assessed this section using data collected at the NRC/Stateville site visit, dental peer reviews,
and urgent care dental records. IDOC provided no information to verify its compliance with issues in this
section.

Use of SOAP Format

During the site review from June 3-5, 2024, the Monitor reviewed 14 urgent care dental entries from NRC
and Stateville. All 14 records used the SOAP (Subjective, Objective, Assessment, Plan) format; three
providers did not use it correctly. One dentist incorrectly used the SOAP format for treatment planning,
and a hygienist at Stateville used SOAP notes for routine dental cleanings, contrary to the Consent Decree,
which states that SOAP notes are for urgent care notation only.

Nineteen dental records were reviewed to determine if the SOAP format was used for urgent care clinical
notation. Five out of 19 records did not use the SOAP format, resulting in a 74% compliance rate. This




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rate is consistent with the findings from the dentists' peer reviews, which revealed a moderate level of
compliance, with 76% (19 out of 25) of the dentists adhering to the SOAP format.

Several dentists consistently failed to comply with the SOAP format in the 2024 peer reviews compared
to the previous year's. Repeat discrepancies need to be addressed, as peer reviews are conducted to ensure
the quality and consistency of care. Counseling is necessary, as there should be no repeat findings. This
may change, given that IDOC has provided guidance about the SOAP format in the new Dental Policy
E.04.01.

Documented Health History

All records reviewed during the site visit had completed dental and medical health history sections.
However, only 2 out of the 14 records (14%) of patients receiving subsequent dental care showed that the
dentist reviewed the health history before treatment was provided.

At NRC, three patients who reported hypertension in their dental history had no blood pressure readings
recorded before their procedures. This suggests that the dentist may not have thoroughly reviewed their
health records. The standard of care in the profession requires a thorough health history review before
administering dental anesthetics or prescribing medications.

On a statewide basis, peer reviews revealed that four out of 24 providers (17%) failed to perform an
adequate health history. Dentists should review health histories to ensure comprehensive and safe patient
care. Understanding a patient's overall health is crucial because many systemic conditions can impact oral
health and vice versa. By reviewing health histories, dentists gain awareness of any medications that
patients take, some of which can affect dental treatment, such as anticoagulants that increase bleeding
risk or drugs that cause dry mouth. Additionally, health histories help identify allergies to medications,
materials, or anesthetics commonly used in dental procedures, allowing dentists to avoid potentially
dangerous allergic reactions. Chronic conditions like diabetes, cardiovascular diseases, and autoimmune
disorders also play a significant role in dental treatment planning, as they can affect healing times and
increase the risk of infections.

The current health history section on the IDOC dental form is inadequate and fails to collect sufficient
information. The Monitor recommends that the Chief of Oral Services consider utilizing a more
comprehensive health history from established sources such as the Federal Bureau of Prisons, Department
of Defense, Veterans Administration, or a standard oral surgery office. These organizations have
developed thorough and effective health history forms that could serve as a valuable template for creating
a more robust and informative questionnaire.

Document Dental Problems and Plan Care

During the site visit at NRC, the Monitor noted that four out of 14 records (28%) did not include the
inmate's original request for urgent dental care.757 The remaining ten records showed evidence of the
request, notation in the record, and timely follow-up care. All records at Stateville were 100% compliant,
showing evidence of an inmate request, documentation in the record, and subsequent follow-up care based
on acuity.

757
      The problem of documentation and filing requests appeared to be associated with one provider at NRC.



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A record review of 18 records from four institutions revealed inconsistent compliance with documenting
the patient's request and scheduling an appointment. Ten out of eighteen records (55%) demonstrated that
dental problems were documented, with the request filed into the record, a notation made in the chart,
and follow-up care scheduled.

Recommendations:

   1. All dental providers should adhere to the SOAP (Subjective, Objective, Assessment, Plan) format
      to ensure consistent and structured documentation. Conduct training sessions to ensure all dental
      staff are proficiently using the SOAP format correctly, emphasizing its exclusive use for urgent
      care notation as required by the Consent Decree. Implement regular audits to monitor compliance
      and identify areas needing improvement.
   2. The Chief of Oral Health Services and the lead dentist from Wexford should counsel providers
      who repeatedly fail to use the SOAP format correctly, providing additional training and support
      as needed.
   3. Reinforce the importance of reviewing patient health histories before treatment and documenting
      that a review was performed in the clinical note. This process should be consistent among all
      dentists. Ensure that health histories are updated, particularly when planning comprehensive care.
      Regularly audit records to ensure compliance.
   4. Ensure that all requests for urgent dental care are documented and included in the patient record.
      Establish a consistent process across all facilities for recording patient requests, making notations
      in charts, and scheduling follow-up care. Regular audits should be conducted to ensure adherence
      to these procedures.
   5. Develop a policy on requirements for dental documentation and placement of dental documents
      and X-rays in the dental record. IDOC should consider how this will occur in the electronic
      medical record.
   6. A more comprehensive health history questionnaire can be achieved by reviewing health history
      questionnaires from established sources such as the Federal Bureau of Prisons, Department of
      Defense, Veterans Administration, or a standard oral surgery office.

Notes:

The Monitor's 7th Report recommended addressing the authorship of clinical notes. This was noted at the
Logan facility. It is not clear if the practice has ceased or resolved. The dental staff wrote the clinical
notes for the dentist. However, the recommendation was removed from this report as it did not arise
during the record review. If evidence of this practice occurs, the Monitor will revisit the practice.

The recommendation for Education and Training in the Monitor's 7th Report (which focused on SOAP
documentation) was consolidated into the recommendation to Enhance and Standardize SOAP Format
Compliance.

A new recommendation was added to identify a patient's dental issue and whether dental personnel
provided proper dental care and treatment (III.K.12). There was not sufficient data for the Monitor to
evaluate this properly in the last report. However, the site visit and review of dental records provided the
Monitor with enough data to assess this aspect of the Decree.




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Dental Extractions

Addresses item III.K.10.a; III.K.10.b; III.K.10.c
III.K.10.a. Diagnostic radiographs shall be taken before every extraction
III.K.10.b. The diagnosis and reason for extraction shall be fully documented prior to the extraction
III.K.10.c. A prisoner shall consent in writing once for every extraction done at one particular time. In
instances where a prisoner lacks decision making capacity, the Department will follow the Illinois
Health Care Surrogate Act. In the event a prisoner verbally consents to an extraction but refuses to
consent in writing, dental personnel shall contemporaneously document such verbal consent in the
prisoner's dental record.

OVERALL COMPLIANCE RATING: Partial compliance

FINDINGS:
In this section, the Monitor assessed site visit findings at NRC and Stateville, dental records of patients
with dental extractions, and peer review findings.758 IDOC has not provided the monitoring team with
information relevant to the compliance status.

During this evaluation, the Monitor accepted panoramic and intraoral films taken up to three months
before the extraction, as long as the teeth had already been treatment-planned for removal. However, if
the patient had experienced trauma or a non-treatment-planned tooth required extraction, a new periapical
radiograph was required before every extraction.

Site Visits

X-rays
The Monitor's onsite evaluation of seven patient records revealed that two dental records out of seven,
28%, did not have X-rays made within three months of the extractions. The remaining records utilized
panoramic films made at NRC. These radiographs were of questionable quality for a comprehensive
treatment plan but were appropriate for the teeth removed.

The panoramic X-ray machines produce poor-quality images, limiting their effectiveness for diagnostic
purposes. The Monitor observed panoramic X-rays to be blurred or excessively dark at the inferior borders
of the mandible. In many cases, a white streak or band obscured the anterior teeth. New panoramic X-ray
machines are needed at NRC. It is strongly recommended that new X-ray equipment use digital
technology rather than film-based radiography, as the radiographs will eventually be integrated into an
Electronic Health Record.

Diagnosis and Reason for Extraction
Of the seven records reviewed, three (43%) had a documented diagnosis and reason for extraction in the
clinical notes. The Monitor also examined consent forms to determine whether the reason for extraction
was noted. While credit was given when the reason was found on the consent form, the diagnosis and
reason for extraction must be documented in the progress notes.

758
      NRC and Stateville Site Visits June 3-5, 2024



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Four out of seven records (57%) at NRC indicated that dental staff had obtained consent for extractions,
but consent forms were filed in various sections of the medical record. This raises the possibility that
some missing consent forms were obtained but needed to be correctly filed. Regardless, the dentists did
not consistently document that consent was obtained. As highlighted in the Monitor's 7th Report, it is
critical for clinicians to document informed consent, especially when dealing with paper records, which
can easily become separated from the dental record, potentially compromising the accuracy and
completeness of patient histories.

Record Review
Ten dental records, apart from the site visit, were reviewed. Four out of ten records (40%) showed
evidence that a recent X-ray was taken before extractions. Six of ten records (60%) documented a reason
or diagnosis. Nine out of ten records (90%) showed that consent was obtained before extractions.

A review of 24 dentist peer review records conducted by Wexford dentists showed that most providers
obtained consent before extracting teeth. Only two providers out of 24 did not obtain consent before
extractions. This is a relatively high level of compliance that could not be verified because medical records
were not included with the review data sent by the vendor.

Illinois Health Care Surrogate Act

The Monitor has yet to encounter instances where a prisoner lacks decision-making capacity, in which
the Department will follow the Illinois Health Care Surrogate Act. If this occurs, the Monitor will report
on it.

RECOMMENDATIONS:

   1. The analysis clearly shows a low level of compliance with conducting preoperative X-rays before
      dental extractions. Preoperative X-rays must be taken for patient safety and treatment planning.
      IDOC should monitor this practice to ensure provider compliance.
   2. The Monitor recommends better documentation practices to ensure that X-rays are taken,
      reviewed, and considered in the extraction procedure. Dentists must document in their clinical
      notes that they have made or reviewed a current X-ray. IDOC should monitor this practice to
      ensure provider compliance.
   3. It is essential to consistently document that informed consent was obtained in the patient's record.
      The lead Dentist of Wexford and the Chief of Oral Health Services can develop a standardized
      stamp that guides the provider through the extraction process.
   4. IDOC should establish guidelines concerning the timing requirements for X-rays, especially
      regarding extractions. This guidance can help ensure dental staff have clear protocols for
      determining when to take X-rays in preparation for various dental procedures. A policy addressing
      X-rays should be included in Oral Health Services (E.04.01).
   5. IDOC needs to conduct an audit that reviews whether X-rays were taken for dental procedures
      (e.g., extractions). The audit should also assess whether health histories were thoroughly obtained
      and utilized and whether consent forms and other documents were correctly placed in the patient's
      record. This should be part of the comprehensive dental audit which is given as recommendation
      2 in the Audit subsection of the Quality Improvement section of this report. This is relevant to




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       provision II.B.9 of the Consent Decree. Multiple other dental areas should be included in this
       comprehensive dental audit which has yet to be developed .

Dental Support (Equipment and Policies)

Addresses items II.B.8, III.K.4-5; III.K.13
II.B.8 The implementation of this Decree shall also include the development and implementation, with
the assistance of the Monitor, of a comprehensive set of health care policies, within eighteen (18) months
of the Preliminary Approval Date. These policies shall be consistent throughout IDOC, and cover all
aspects of a Health care program.
III.K.4. shall implement policies that require routine disinfection of all dental examination areas.
III.K.5. shall implement policies regarding proper radiology hygiene including using a lead apron
with thyroid collar, and posting radiological hazard signs in the areas where x-rays are taken.
III.K.13. shall conduct annual surveys to evaluate dental equipment and to determine whether the
equipment needs to be repaired or replaced. Any equipment identified as needing repair or replacement
will be repaired or replaced.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:
Dental Policies

IDOC has submitted 12 policies, eleven for dental infection control and one for comprehensive treatment
planning. The Monitor has submitted comments, but the policies were promulgated before IDOC
responded to the Monitor's remarks. IDOC has stated it will review the comments before next year's policy
revision. As mentioned in the section on Policies in this report, IDOC dental policies consist mostly of
dental infection control policies but are not comprehensive and do not cover all areas of dental care
including most of the dental sections in this report. The Monitor is available to the Dental Chief to discuss
areas for which policies should be developed and to provide assistance in developing these policies.

E.04.01
An early version of policy E.04.01 Comprehensive Dental Treatment Planning was submitted to the
Monitor for comments on 6/23/23 and returned to IDOC with comments on 9/5/23. IDOC then
promulgated policy E.04.01 Oral Health Services in February 2024. IDOC has indicated they will review
comments for the next policy revision.

G.18.01-11 (Submitted to Monitor as G.19.01- 11)
IDOC has made significant progress in addressing disinfection and infection control. The Monitor
reviewed all submitted documents and provided comments for each of the eleven sections submitted.

Pending consideration of those comments, IDOC should consider several of the Monitor's comments that
are important to remedy as soon as possible. These include:
     1. While IDOC encourages waterline safety, they do not monitor or test the waterlines. Waterlines
        in dental clinics should be tested to ensure that the microbial contamination levels do not exceed
        500 colony-forming units (CFU) per milliliter of water. The CDC set a limit of ≤500 CFU/mL




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              of heterotrophic water bacteria. This is particularly important in facilities that have medically
              compromised patients. This should be addressed (G.18.04).
         2.   There are no established instructions for disinfection and handling protocols when using X-ray
              daylight loaders. The Monitor has provided a protocol for minimizing contaminants during
              dental film processing (G.18.10).
         3.   IDOC has not established a protocol for processing or disinfecting Phosphor Plates (CCD and
              CMOS Receptors). An FDA-approved plastic barrier is recommended to protect the sensor
              against contamination. Using a plastic barrier reduced the likelihood of sensor contamination
              from 44 percent to 6 percent when this method was utilized (G.18.10).759
         4.   IDOC still needs to establish a protocol for disinfecting panoramic machines or handling film
              cassettes during processing. The Monitor provided IDOC with a protocol for disinfecting and
              sterilizing panoramic equipment and properly handling the cassettes (G.18.10).
         5.   The Instrument Sterilization policy (G.17.01) on the new promulgated policy (page 227) refers
              the reader to G.18.02 Maintenance of Dental Handpieces, but no such policy exists.
         6.   The references in the submitted documents (G.18.01-11) frequently lacked current sources or
              led to dead links. The Monitor reviewed each policy and updated the links and references
              accordingly. These references should be incorporated and updated.

Although IDOC's policy submission on infection control policies is a good start, further work is needed
on these policies to address existing deficits and ensure comprehensive infection control practices.

Thyroid Collars

IDOC is making significant progress in ensuring all facilities have adequate thyroid shielding. During a
recent site visit to the NRC, the dental clinic was observed to have both a leaded apron and a thyroid
collar. Both devices were intact, with no rips or tears.

At the Stateville facility, three X-ray shields with attached thyroid collars were inspected. However, the
plastic exterior of the thyroid collars on these shields was torn. The dental officer at the facility mentioned
that the aprons had been X-rayed to check for leaks, but no report was available for review.

Initially, it was unclear whether the thyroid collars were serviceable. Upon further investigation, it was
found that a torn plastic exterior could expose the lead inside the shield, posing a risk of lead
contamination. This exposure can be hazardous to patients and staff if lead particles are inhaled or come
into contact with skin. Additionally, a tear in the plastic covering compromises the shield's integrity,
potentially allowing radiation to penetrate through the exposed area, thereby reducing its effectiveness in
protecting against radiation. Finally, a damaged shield is more challenging to clean and disinfect properly,
increasing the risk of infection and contamination as it can harbor bacteria and other pathogens, making
it unsuitable for use in a clinical setting. The Stateville facility must order new X-ray shields to replace
the damaged ones.

It is recommended that the Chief of Oral Health Services implement quality assurance projects that align
with Consent Decree requirements. Although the Chief of Oral Health Services has opined that all
facilities have thyroid collars, an audit of all facilities should be conducted to verify that each one has a
serviceable collar/shield (intact integrity).

759
      Logan and Dixon both have digital radiography. Future X-ray units will most likely be digital.



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Radiological Hazard Signs
During the site visit to NRC, the Monitor inspected all areas with X-ray machines to verify the presence
of radiation hazard signage in the vicinity where X-rays are conducted. The Monitor noted the absence of
X-ray signage in the Reception processing area of NRC. Given that two panoramic X-ray units are used
in this area, it is essential to prominently display a sign with the radiation symbol and the words "Caution:
X-rays."
The dental clinic at Stateville had three X-ray units, each with small radiation hazard signs (tags) posted
on each unit. A larger sign should be placed at the clinic's entrance to alert all patients and staff entering
the area that X-rays are performed.
No other information was provided about radiological hazard signage in dental clinics to warn individuals
that they are entering an area where X-rays are being performed. The status of radiological hazard signs
statewide remains to be determined, as IDOC has not provided information regarding other facilities. To
ensure adherence to what should be a straightforward fix, it is recommended that compliance with this
requirement be incorporated into a comprehensive audit.
Dental Equipment

During the site visit to Stateville, the Monitor asked the Health Care Unit Administrator (HCUA) and the
facility dentist for an annual survey of dental equipment. The facility's dental staff indicated that service
companies only visit the clinic to address specific problems. No annual surveys by an outside vendor
have been performed. The Monitor showed the Decree requirement to the HCUA and spoke with the
HCUA to outline the necessary steps for compliance.

The Monitor made a document request for this report to "list all dental equipment with the date of most
recent calibration or inspection by an authorized dental equipment vendor. The list would identify any
defective equipment that needs repair or replacement with the date of that repair or replacement." The
institutional data provided to the Monitor was varied. Eleven facilities did not submit a survey or report
from a professional vendor.760 Some facilities submitted equipment lists without documentation of
problems or a professional evaluation. Below is the complete report (inadequate) from the Vienna facility
for the dental clinic equipment.
       1. Midmark Autoclave gets spore checks done weekly with results reports being sent to us quarterly and
          there are no defects or repairs at this time. Last report received 12/31/23.
Too many facilities, such as Vienna, conduct inspections and submit inadequate reports. All inspections
ought to be performed by qualified health technicians; otherwise, it is not clear if the equipment is safe to
operate.

The annual surveys and preventative maintenance aim to ensure patient and staff safety by verifying that
all devices are operating correctly and meeting safety standards. These routine checks maintain the
performance and accuracy of the equipment, ensuring high-quality outcomes for diagnostic and treatment
procedures. Regular maintenance is essential for compliance with regulatory requirements. By identifying
potential issues early, these checks extend the lifespan of the equipment, reduce the need for costly
emergency repairs, and support the efficient operation of the practice. Furthermore, they play a vital role
in managing costs, reducing downtime, fulfilling insurance requirements, enhancing the overall quality of
patient care, and minimizing risks associated with equipment malfunctions.


760
      Dixon, Graham, Vienna, Vandalia, Taylorville, Stateville, Robinson, Pontiac, Lincoln, Joliet, Hill and Illinois Rivers



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As noted in the Monitor's 7th Report, many facilities have contracted with external vendors for equipment
maintenance and inspection; however, the equipment surveyed varies between vendors.761 For example,
some vendors inspect compressors and vacuums, while others do not. This variability exists even when
using the same vendor. It is clear that Clintech Corporation provides the most robust, thorough inspection
statewide.

As of this report, there is no established standard for which equipment will be surveyed, nor is there a
policy to address this issue. To be compliant with the Decree, dental equipment must be inspected
annually. The response to the Monitor's document request on equipment confirms that dental equipment
lists should be standardized, and the process of surveying and maintaining equipment should also be
standardized and described in policy and procedure. The Monitor is willing to work with IDOC to develop
a standardized list of equipment and a policy.

All X-ray equipment must be inspected in accordance with the Illinois Radiation Protection Act of 1990.
State agencies like the Illinois Emergency Management Agency (IEMA), Certified Health Physicists and
Radiation Safety Officers, Private Inspection Companies, or Dental Equipment Manufacturers and
Service Providers may conduct this inspection. For the next report, the facilities will need to present
radiation reports from the state to demonstrate that all X-ray units are functioning correctly.

Dental Space
In the Monitor's 6th and 7th Reports, it was noted that there is no evidence of standardized,
comprehensive, yearly surveys being conducted to assess dental facilities and equipment across the
organization. The initiation of such a survey should not be delayed while waiting for IDOC to bring in
consultants for a broader evaluation of clinical spaces.

The Monitor requested that the Chief of Oral Health Programs provide the total number of dental chairs
available within the IDOC.762 The Chief of Oral Health Programs indicated that this information would
be forthcoming. This data, along with additional survey findings, will be valuable for the effective
operation of the dental program.

Spore Testing
Quarter 1, 2024 CQI (Continuous Quality Improvement) reports were reviewed to assess whether
facilities were spore-testing autoclaves. Twenty-seven CQI meeting minutes were reviewed; one was
omitted due to missing evidence of dental presence or corrupted files.763 Forty-seven percent of the
facilities (15 out of 28) did not document spore testing results in their CQI minutes. Spore testing, as all
items in this report, should be part of a comprehensive audit (II.B.9), but IDOC has not made progress on
this audit.

Of the facilities that recorded spore testing, two indicated that it was conducted on a weekly basis.764
According to the Centers for Disease Control, spore testing should be conducted on each sterilizer at least
weekly.


761
    Denman Biomedical Services, Henry Schein Services and Repairs, ClinTech, and IEMA
762
    September 26, 2024, meeting with the Chief of Oral Health Services
763
    Murphysboro does not have a dental clinic. Files from the Western Correctional Center were corrupt and unreadable.
764
    Graham and Taylorville



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           "A spore test should be used on each sterilizer at least weekly. Users should follow the
           manufacturer's directions for how to place the biological indicator in the sterilizer. A spore test
           should also be used for every load with an implantable device. Ideally, implantable items should
           not be used until they test negative."765

The minimum elements for reporting spore testing should include the date of the test, an indication of
whether a control was run, and the test's disposition (positive/negative). Any deviation from weekly
testing should be explained. IDOC has provided this instruction in the new policy Instrument Sterilization
G.17.01. However, running controls are not mentioned as part of the process.

When facilities neglect to report spore testing, a zero-tolerance approach to non-compliance should be
adopted. All facilities must submit statistical data on sterilization because a malfunctioning autoclave
poses a public health risk. The Monitor strongly advises the Chief of Oral Health Services to directly
contact these facilities and ensure that any outstanding questions are addressed to the satisfaction of the
SIU performance and outcome data team.

 RECOMMENDATIONS:
   1. A comprehensive assessment of radiological hazard signs should be conducted in all dental clinics
      across IDOC to ensure compliance with safety regulations. This assessment should involve
      verifying the presence, visibility, and condition of Radiological Hazard Signs in each clinic and
      implementing necessary corrective actions to ensure clear and effective signage statewide.
   2. IDOC must implement standardized protocols and reporting procedures for dental equipment
      monitoring across all facilities. This should include uniform reporting templates and guidelines
      for documenting equipment defects, repair orders, and replacements. Templates should include
      the date when broken dental equipment is identified, the work order submitted, the work order,
      the purchase order approved, and the date equipment is repaired or replaced.
   3. To ensure compliance and improve the maintenance of dental equipment, it is essential to
      standardize the list of equipment requiring annual inspections, including, but not limited to,
      vacuum machines, dental compressors, chairs, sterilizers, and X-ray processors. All facilities must
      contract with qualified vendors for comprehensive annual equipment surveys.
   4. Ensure that all dental autoclaves undergo spore testing per the recommended frequency, at least
      weekly, by the Centers for Disease Control (CDC) guidelines.
   5. Establish precise documentation requirements for spore testing reports, including the testing date,
      whether controls were run, and the test results (positive/negative). Explanations should
      accompany any deviations from weekly testing.
   6. Encourage facilities to incorporate spore testing and equipment monitoring into their CQI
      processes, ensuring that these essential aspects of infection control and equipment functionality
      are regularly reviewed and improved.
   7. Intact shields prevent lead exposure and ensure proper radiation protection and hygiene. Stateville
      will order new X-ray Shields. Establish regular inspections for the integrity of all X-ray shields
      and thyroid collars across all facilities.
   8. IDOC must seek the assistance of the Monitor’s Dental Consultant to ensure that IDOC has a
      comprehensive set of dental policies.



765
      https://www.cdc.gov/oralhealth/infectioncontrol/faqs/monitoring.html



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      Notes: A new recommendation was added after the Monitor's site visit to NRC. The X-ray apron with
      thyroid collar was compromised (torn and cracked). These are not considered serviceable protective
      devices; all devices must be intact.


Dental Access

II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring
of health care by collecting and analyzing data to determine how well the system is providing care. This
monitoring must include meaningful performance measurement, action plans, effective peer review, and,
as to any vendor, effective contractual oversight and contractual structures that incentivize providing
adequate medical and dental care.
III.K.2. Each facility's orientation manual shall include instructions regarding how prisoners can
access dental care at that facility
II.B.6.h. IDOC agrees to implement changes in the following areas: Dental care access and preventative
dental care.


OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

Access to Care

Staffing
Access to care within the IDOC is influenced by several factors, with adequate staffing being the most
critical. The current shortage of personnel has had a profound impact on the provision of dental services.
A review of Continuous Quality Improvement (CQI) minutes from reporting facilities revealed
widespread backlogs throughout the system. Given the 50% vacancy rate for dentist positions, it is not
surprising that many facilities are experiencing delays in dental services.

An analysis of backlog data was attempted to assess the effect of staffing shortages on productivity. Only
half of the facilities provided backlog data. Data that was provided was backlog data maintained by the
vendor for extractions, fillings, dentures, and cleanings. However, this data was inconsistent with the
backlog statistics noted in the CQI reports reviewed by the Monitor. IDOC should standardize backlog
data and include definitions for backlogs for each type of backlog category. The Monitor does not have
confidence in the reliability of backlog data systemwide.

Despite the inability to reconcile backlog data between Wexford and the CQI minutes, it is clear that many
facilities face significant delays in dental services. IDOC has not provided comprehensive and reliable
dental backlog data for all facilities across the system.766

Personnel per 1000 Inmates


766
  II.B.2. IDOC shall require, inter alia, adequate qualified staff, adequate facilities, and the monitoring of health care by
collecting and analyzing data to determine how well the system is providing care . . .



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An analysis of the data reveals significant variability in staffing ratios. As shown in Table 1 under the
Staffing Section, Western Correctional Center has one dentist for 1,642 inmates, resulting in a ratio of
0.61 dentists per 1,000 inmates. In contrast, Southwestern Correctional Center, with 532 inmates and one
dentist, has a much higher ratio of 1.89 dentists per 1,000 inmates. This indicates that one facility may be
understaffed while another may be overstaffed. A similar pattern was observed in the staffing of dental
hygienists. A workload analysis would help in developing appropriate staffing levels. Some facilities
(e.g., Pontiac) may have increased staffing needs based on maximum security status and increased
lockdown status.

The Monitor's 7th report highlighted discrepancies in dental hygiene staffing.767 The following was stated
in the 7th report.

         "Hygiene support is not evenly distributed throughout the entire enterprise. The existing staffing
         arrangement creates significant gaps in the program, occasionally resulting in facilities being
         overstaffed. It is recommended that IDOC conduct a statewide analysis of dental hygiene assets
         to assess staffing levels at different facility types. A staffing ratio should be established for IDOC
         dental clinics that will ensure compliance with the Decree…"

There is no evidence that a workload analysis was conducted for each facility to determine appropriate
staffing levels. A workload analysis would consider factors such as the physical plant (clinical
operatories), security levels, inmate population (size), scheduling constraints, and inmate turnover.

Productivity
While the need for adequate staffing is clear, the Monitor found that dental hygiene productivity is
unusually low in several staffed facilities.768 One possible reason is the absence of a dentist to order this
care. However, it was also noted that even when both a dentist and hygienist are present, some facilities
still report low dental hygiene productivity.769 At Big Muddy, a full-time hygienist saw only 25
preventive/hygiene services in February. This is an extremely low number and indicates a significant
process problem. In evaluating productivity, IDOC should consider the number of available chairs, the
inability of custody to present patients for their appointments, and the failure to have a dentist onsite to
supervise the hygienist as required by state regulation.

 Orientation Manual

During the review of the NRC and Stateville facilities, the Monitor requested each institution's orientation
manual. A review of the NRC orientation manual revealed no information regarding access to dental
services . While many of these patients are transient and will be referred to a parent facility, it is important
to note that the MSU has a working cadre (NRC grounds, food service, and janitorial needs).

The Stateville facility orientation manual provided clear directions to the inmate population regarding
sick call services. The Monitor showed these directions to the Chief of Oral Health Services and advised
him that this would be a great template for every facility. Each orientation manual should include

767
    Health Care Monitor 8th Report Lippert v. Jeffreys. Page 195
768
    In February 2024, the dental hygienists at Big Muddy and Jacksonville performed 25 and 20 dental hygiene procedures,
respectively.
769
    In February 2024, the dental hygienist at Danville performed 26 dental hygiene procedures for the month.



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information on the dental services provided in the IDOC, directions on how to submit requests for routine
and urgent dental care, including dental cleanings, and education on dental hygiene and dental self-care.770

This should be a very easy improvement for all the facilities. A proposed end date for compliance was
November 2023. No other orientation manuals were provided to the Monitor for review, so a statewide
assessment cannot be made. Moving forward, the Monitor will request the orientation manuals of ten
facilities to ensure compliance.

 RECOMMENDATIONS:

       1. Continue developing plans to prioritize and address the dental care backlog amid current staff
          shortages. The use of Jet Dental Mobile units is one example of effectively managing the backlog.
       2. Standardize the data on the waiting times and backlogs for dental services and report this data in
          the CQI meeting minutes at all IDOC facilities with dental suites.
       3. Implement a standardized template for orientation manuals that includes clear information on
          accessing dental services, directions on submitting requests for routine and urgent dental care,
          and education on dental hygiene and self-care.
       4. To ensure compliance with the Decree, orientation manuals at all facilities should be regularly
          audited.

Notes: Two recommendations from the Monitor's 7th Report were consolidated.771 A new
recommendation was made to audit the progress and ensure that all orientation manuals include a section
on access to dental care.

Dental Intake

Addresses items III.K.3
III.K.3. IDOC shall implement screening dental examinations at the reception centers, which shall
include and document an intra- and extra-oral soft tissue examination.

III.K.11. Each prisoner shall have a documented dental history section in their dental record.

OVERALL COMPLIANCE RATING: Partial Compliant

FINDINGS:
The Decree mandates that IDOC implement a dental screening examination that includes and documents
intraoral and extraoral soft tissue assessments. The Monitor acknowledges that IDOC has published a
policy on intake screening examinations that incorporates these required assessments.




770
     Implementation Plan item 87: Review and revise the orientation manual for individuals in custody on access to dental
care. The orientation manual should include information on the dental services provided in the IDOC, directions on how to
submit requests for routine and urgent dental care, including dental cleanings, education on dental hygiene and dental self-
care. Proposed End Date: November 2023
 771
      Orientation Manuals and Expand Current Orientation Manuals were consolidated.



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For this review, the Monitor evaluated dental intake records and observations from the NRC site visit.
However, IDOC has not provided sufficient information to verify compliance with dental intake screening
requirements.

Site Visit

During the site visit at NRC, the Monitor observed inmates being processed into the facility. The Monitor
checked for the following elements of a screening examination: intraoral and extraoral soft tissue
examination, hard tissue examination, classification assignment, panoramic X-ray, periodontal
assessment, completion of a medical/dental history form, and oral hygiene instructions.

The Monitor observed the intake screening (initial examination), where the NRC clinic team reviewed
health histories with the patients.772 Hard and soft tissue examinations (intraoral and extraoral) were
performed, and the dentist categorized the patient's treatment needs using the American Public Health
Association's (APHA) classification framework.773 No periodontal assessments were conducted.774

 Panoramic films were made for inmates; however, the films were found to be non-diagnostic. Their
 limited quality rendered them of little value and only occasionally useful for extractions (when teeth
 were not obstructed).

 The Monitor observed that hygiene instructions were not provided to inmates during intake. Upon
 inquiry, it was explained that this was typically done but had been overlooked due to a visiting dentist
 from Stateville temporarily filling in. A supply of pre-printed hygiene instructions was available for
 distribution, but they had not been provided during this period. The Monitor recommended that these
 instructions be made available in Spanish, given the number of Spanish-speaking inmates.

 Record Review at NRC

 A review of NRC's documentation revealed that intraoral soft tissue oral examinations were not recorded
 in nine (90%) out of ten dental records. There was no evidence, 0 out of 10 records, that an extraoral
 examination was conducted.

 Five out of ten records (50%) had an APHA classification. It was noted that there was a lack of
 standardization when applying the APHA Classification System. The Administrative Directive for Oral
 Health, 04.03.102, did not offer meaningful instruction on how to complete IDOC form 0422.

 Ten out of 10 records (100%) showed that panoramic films were made for patients, but these films had
 limited diagnostic quality. The distortion is excessive, with areas magnified and out of proportion and
 the inferior border of the mandible blocked out. In several films, white opaque bands obliterate the front
 teeth, obscuring any anatomy in the anterior sextant of the mouth.



772
    Health histories are not comprehensive and do not provide the dentists an adequate overview of a patient’s health.
773
    Administrative Directive 04.03.102
774
    Since the intent is for the Reception Centers to develop a preliminary treatment plan, a periodontal assessment should be
made.



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 A periodontal assessment was not part of the screening examination, but it is a critical component of an
 intake examination. As long as the reception center is expected to assess treatment needs, a periodontal
 assessment or examination must be performed.

 All medical/health histories were completed. However, as previously reported, the medical history
 utilized by the IDOC is insufficient. The questions do not provide the provider with adequate
 information, a concern raised in the Monitors 7th Report.

 Record Review of All Reception Centers

 Twelve intake records were reviewed. Two out of twelve records (16%) were not processed within ten
 days of arrival; these records were at Graham and Logan, where the inmates were processed in 11 days
 and 22 days, respectively.

 All reviewed records included a screening exam. However, the screening examinations are lacking. As
 previously mentioned, screening examinations did not include a periodontal component. Moreover,
 medical and dental histories are scant and do not provide enough information.

 A review of intake dental records from the NRC, Logan, Menard, and Graham facilities revealed that
 nine out of twelve charts (75%) documented completing an intraoral soft tissue exam. Similarly, nine
 out of twelve records (75%) indicated that an extraoral examination was performed. Of the nine records
 documenting an extraoral soft tissue exam, four only noted that an oral cancer screening had been
 conducted.775 None of the records reviewed documented a broader extraoral examination, meaning there
 was no indication that the dentist evaluated additional structures, such as the temporomandibular joint
 (TMJ), beyond the oral cancer assessment.

 Eight of 12 reviewed records (67%) contained documentation of a hard tissue examination. It remains
 unclear whether the remaining patients underwent this examination, as no corresponding entries were
 found. The absence of documented decay or hard tissue irregularities could suggest the patients were in
 good oral health. However, to ensure clarity and compliance with best practices, dentists should
 explicitly document the completion of both hard and soft tissue examinations in the patient records.

 Seven of the twelve dental intake records reviewed (58%) did not indicate that a panoramic film had
 been taken. It is unclear whether these films were performed but not documented. Without recorded
 evidence of a radiograph, the facilities cannot be credited with completing this essential component of
 the intake process.

 Nine out of twelve records (75%) had an APHA classification assigned. As previously mentioned, the
 Monitor is unclear how this classification will be recorded, given the different ways dentists record it.
 The Chief of Oral Health Services and the Lead Dentist for Wexford must clearly direct the field dentists.

 Nine out of twelve records (75%) revealed that oral hygiene instructions were provided at intake. Two
 patients were edentulous (lacking teeth), so instructions were not provided.


775
  An oral cancer screening examination evaluates both intraoral and extraoral tissues as they relate to oral cancer. However,
IDOC has expanded in their policy E.04.01 for extraoral examinations to include asymmetries and an evaluation of the TMJ.



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 Discussion

  APHA
 It is not clear if IDOC intends to continue to use APHA prioritization of treatment needs. It was not
 mentioned in the new dental policy E.04.01. The current form (DOC 0422) utilized by IDOC requires
 the dentist to place a patient into an APHA treatment category. Category I -Emergency Treatment to
 Category VI -No Dental Treatment Needed. Below is a screenshot of the APHA section of the current
 dental form (DOC 0422).




 The intent of the APHA classification is to assign a single overall classification for the patient based on
 all the data collected. There is no clear guidance on properly completing this section of the form, which
 often results in it being left blank. Some dentists use this section to list the patient's dental treatment
 needs as a preliminary treatment plan. Others have made an APHA classification for specific areas, such
 as endodontics, oral surgery, periodontics, operative, and prosthetics. Sometimes, this has resulted in
 several classifications instead of one.

 Periodontal Assessments
 The new dental policy, E.04.01, addresses the elements of a dental screening. However, it does not
 include a periodontal assessment. The Screening Examination should at least provide a periodontal
 assessment, as the expectation is to assess the treatment needs and document them on the problem list.776
 Moreover, if the intent is to continue to use the APHA classification system, an accurate assessment of
 a patient's periodontal status will assist in the determination of an APHA category.

 Dental/Medical Histories
 Although dental histories are recorded, the medical and dental history documentation on DOC 0422 is
 insufficient. It does not provide the dentist with enough information about the patient's oral and overall
 health condition. As was previously discussed in the Monitor's 7th Report, standardized templates are
 utilized within the profession, such as those in private offices, dental schools, the Department of Defense,
 the Veterans Administration, and the Federal Bureau of Prisons.


 RECOMMENDATIONS:
   1. Monitor, report, and document key elements of the dental intake screening processes in the
      facilities' monthly CQI meeting. IDOC should collect and analyze data to determine how well the
      system is providing care.


776
      The quote is taken from E.04.01 page 1.D. page 102



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   2. Ensure that panoramic X-rays are consistently taken during the initial dental examination for all
      inmates at Reception Centers and documented in the record. IDOC should establish protocols and
      processes to ensure the consistent recording and maintenance of these X-rays.
   3. During dental screenings, implement a standardized periodontal assessment protocol, such as the
      Community Periodontal Index (CPI) or Periodontal Screening and Recording (PSR), for all
      inmates. This will ensure a comprehensive evaluation of their dental treatment needs.
   4. Ensure that all dental professionals conduct a thorough intraoral soft tissue examination and an
      extraoral soft tissue examination. The extraoral examinations should include an examination of
      the TMJ and evaluate asymmetries as required by the new policy (E.04.01).
   5. Ensure that all dental professionals complete the APHA classification section on form DOC 0422
      and assign patients APHA prioritization. Every patient requires a classification, even if they are
      healthy (Category VI). IDOC should train dental staff on using the Classification System.
   6. Review and upgrade imaging equipment to ensure that panoramic films are diagnostic and meet
      the standard of care. In cases where films are substandard, corrective actions should be taken
      promptly.
   7. Ensure oral hygiene instructions are available in multiple languages, including Spanish, to
      accommodate the diverse patient population.

Notes: Two additional recommendations were made in the Monitor's 7th Report. The first (#6) was to
upgrade the panoramic X-ray equipment, as the Monitoring team found the current X-rays to be of limited
diagnostic quality. The second recommendation (#7) was to expand the written materials provided to
inmate patients to include Spanish, as the Monitor observed that many inmates were Hispanic and had
limited proficiency in English.

Dental Hygiene
Addresses III.K.7; II.B.6.h; III.K.8
III.K.7. Dental hygiene care and oral health instructions shall be provided as part of the treatment
process.
II.B.6.h. IDOC agrees to implement changes in the following areas: Dental care access and
preventative dental care
III.K.8. Routine and regular dental cleanings shall be provided to all prisoners at every IDOC facility.
Cleanings shall take place at least once every two years, or as otherwise medically indicated.

OVERALL COMPLIANCE RATING: Partial Compliance

FINDINGS:

A review of IDOC's revised dental policy, E.04.01, indicates that it lacks a dedicated section addressing
dental hygiene services. Dental hygiene is briefly referenced in Section II(E), which states that cleanings
will be provided annually, superseding the Decree's requirement of biennial cleanings. Additionally,
Section II(H) allows for more frequent cleanings based on age and dental needs, or at the discretion of
the facility dentist. The Monitor recommends that future policy revisions include a dedicated section on
hygiene services, incorporating the Decree's language to ensure "medically indicated" patient cleanings
are addressed.

Review Methodology




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This section was reviewed using performance and outcome data collected by SIU and observations from
one site visit by the Monitor team.777 Records of inmates receiving comprehensive dental care, partial
dentures, and initial examinations were also examined.

Site Visit

During the site visit to NRC and Stateville, it was observed that NRC did not have a dental hygienist on
staff. While the lack of hygiene support at a classification center like NRC is understandable, it remains
essential for the work cadre at the Stateville Minimum Security Unit (MSU) to receive appropriate
hygiene care. At the time of the visit, approximately 200 inmates were assigned to the MSU, many of
whom had not yet received hygiene services. The Wexford Lead Dentist proposed that the dental hygienist
from the Stateville High-Security Unit provide services at the NRC Clinic several days per month. The
Monitor agrees that this is a reasonable solution, considering the declining population at Stateville due to
the planned closure of the facility.

The Monitor also observed dental hygiene appointments at Stateville, where the hygienist was providing
timely care. At the time of the site visit, the hygienist-to-patient ratio was 1 to 400. Inmate patients were
seen receiving oral hygiene instructions as part of their appointments.

Record Review

Twelve patient records were reviewed for those who had received routine dental care.778 Six patients did
not receive a 2-year hygiene cleaning before restorative and prosthetic care was started. Four patients
from Western had prosthetics completed without a periodontal evaluation and hygiene appointment. One
patient at Western had dental care started in February 2014 and, to date, has never had their teeth cleaned
despite having received restorative and prosthetic care. While it is understood that a hygienist was not
present, a dentist could have performed a routine dental cleaning.

A review of three patient records from Pontiac revealed that patients were scheduled for dental cleanings
every two years, with one patient receiving appointments every six months due to Dilantin-induced
hyperplasia. Recalling medically compromised patients for regular monitoring and care is considered the
standard of care, and the Monitor would like to commend this good practice.

Eight out of twelve patient records (67%) documented that Oral Hygiene Instructions (OHI) were
provided. The Monitor has observed that OHI is typically given during hygiene appointments, biennial
exams, and intake screenings.

SIU Quality Improvement Data

SIU reviewed 29 facilities based on three dental performance and outcome measures, with data spanning
three-quarters of FY24.779 The Monitor focused on one of these measures, specifically III.K.8., which
assesses whether dental cleanings are provided every two years.

777
    IDOC Dental Quality Performance Data - run date 05172024 OCMXLSX
778
    Western (four patients), Taylorsville (four patients), Pontiac (3 patients), and Pinckneyville (one patient)
779
    IDOC Dental Quality Performance Data - run date 05172024 OCM



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Twenty-eight facilities were evaluated, as the Joliet Treatment Center does not provide hygiene care. Data
from SIU shows that the overall compliance rates for these facilities were 56% in FY24 Q1, 63% in FY24
Q2, and 54% in FY24 Q3. While IDOC is not fully compliant with the Decree, three facilities met the
program's goal of providing a hygiene appointment within two years. Decatur achieved 100% compliance
in the SIU review, while Sheridan and Stateville both reached 90% compliance.

This is discussed further above in the Performance and Outcome section of this report.

Discussion

Periodontal Evaluation
During the record review, it was noted that periodontal evaluations were not performed, which is clearly
outside community standards. Dentists are expected to adhere to the standard of care, which includes
thorough examinations and evaluations before providing treatment. Restorations and prosthetics must be
placed on a stable periodontium. A periodontal evaluation is critical to ensure that the underlying gums
and bone are healthy and capable of supporting a prosthetic.

In the Final Report of the Court Appointed Expert in Lippert v. Godinez (December 2014), the dental
expert highlighted that periodontal assessments were not being performed. A subsequent expert also
raised concerns about the lack of periodontal assessments, stating, "Examinations are inadequate, and
routine care is provided without intraoral x-rays, a documented periodontal assessment, and a treatment
plan. Periodontal disease is rarely diagnosed and treated."780

Discussions between the Monitor and the Chief of Oral Health have occurred regarding implementing
periodontal assessments at intake and during routine care. Although IDOC has proposed Policy E.04.01,
it is imperative that these periodontal examinations be conducted promptly.

SIU Evaluations

Southern Illinois University (SIU) provided two documents related to dental metrics. The first
document, IDOC Dental Quality Performance Data, reports on the percentages of dental cleanings and
examinations and a composite metric reflecting the percentage of patients receiving both services.781 The
second document, Statewide Quarterly Summary, combines dental metrics with medical data and
measures the percentage of patients who were offered and received a dental visit (including an
examination and cleaning) within the past two years.782


         IDOC Dental Quality Performance Data

         In the IDOC Dental Quality Performance Data document, a combined metric was created to track
         the percentage of patients who received both a dental cleaning and an examination. However,

780
    Statewide Summary Report Including Review of Statewide Leadership and Overview of Major Services
Report of the 2nd Court Appointed Expert Lippert v. Godinez October 2018. Page 11.
781
    IDOC Dental Quality Performance Data - run date 05172024 OCM
782
    STATEWIDE - CQPR Quarterly Summary-OCM-QI.FRM.1047C.3(2-2024) v3 2.6.24PDF



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       inconsistencies were found when the Monitor compared this combined percentage to the
       individual percentages for cleanings and exams. Specifically, for FY24 Q1, the combined
       percentage of patients receiving both services was reported as 64%. Yet, the individual
       percentages for cleanings and exams were 56% and 66%, respectively. Based on these figures, the
       combined percentage should have been 61%, not 64%, raising concerns about the accuracy of the
       reported data.

       Additionally, there is a lack of clarity about what is being measured. It is unclear whether SIU is
       tracking whether a patient has received a dental cleaning at any point during their incarceration or
       whether it is ensuring that cleanings are provided every two years, as required. Similarly, it is not
       clear if the dental examinations being reported meet all the Decree's requirements, such as the
       inclusion of a treatment plan. Clarification of the methodology used to calculate these metrics is
       needed to fully understand the data being presented.

       Statewide Quarterly Summary

       The dental metric in the Statewide Quarterly Summary tracks the percentage of patients who were
       offered and received a dental visit, which includes both an examination and a cleaning, within the
       last two years. Since this document reports a composite percentage for both examinations and
       cleanings, it is expected that these figures will align with those in the IDOC Dental Quality
       Performance Data. However, they do not.

       For instance, in the second quarter of FY24, the Dental Performance Data indicates that 66% of
       inmates received both a dental examination and a cleaning. In contrast, the Statewide Quarterly
       Summary for the same period reports that only 48% of patients had a dental visit that included
       either a cleaning or an examination. This discrepancy suggests that the data is not being
       consistently or accurately reported across documents, which raises concerns about the reliability
       of the reported metrics.

RECOMMENDATIONS:
  1. Implement a comprehensive treatment planning process that follows the phases of dental care,
     including Systemic, Acute, Disease Control, Definitive Treatment, and Maintenance. This
     approach ensures that periodontal health is assessed before initiating restorative and prosthetic
     treatments.
  2. Ensure that the periodontal condition of patients is consistently assessed through probing before
     proceeding with prosthetic or restorative care. Periodontal health is a critical factor in the success
     of these treatments.
  3. Establish a protocol where hygiene appointments must occur before any definitive dental
     treatments, including restorations and prosthetics.
  4. Increase efforts to achieve the goal of biennial dental cleanings across all facilities, with a
     particular focus on those currently below average.
  5. Ensure that Oral Hygiene Instructions (OHI) are consistently given during hygiene appointments,
     annual exams, and intake screenings to educate and maintain inmate oral health.
  6. The Chief of Oral Health Services should inquire with the State Dental Board about obtaining a
     waiver allowing dental hygienists to perform specific procedures without direct supervision or
     collaboration with a dentist. This could help enhance efficiency in dental care delivery.




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    7. The current metrics reveal inconsistencies in how data is reported. SIU needs to standardize its
        data collection process to ensure consistency and accuracy between data sets.
    8. IDOC needs to establish an audit on the metric that tracks biennial oral hygiene cleanings.
Notes:
The dental hygiene staffing recommendation in the Monitor's 7th report remains but has been moved to
the Staffing section of this document.

Comprehensive Dental Care

Addresses item III.K.6

III.K.6. Routine comprehensive dental care shall be provided through comprehensive examinations and
treatment plans and will be documented in the prisoners' dental charts.

OVERALL COMPLIANCE RATING: Non-Compliance

FINDINGS:

Policy

Policy E.04.01, titled "Comprehensive Dental Treatment Planning," was submitted to the Monitor for
review on June 23, 2023, and returned to the IDOC with recommendations on September 5, 2023.
Subsequently, IDOC published the updated policy E.04.01, "Oral Health Services," in February 2024,
which encompasses comprehensive dental treatment planning. An analysis of the treatment planning
section indicates that the Monitor's recommendations were incorporated into the new policy, notably the
inclusion of periodontal evaluations as part of the examination process for treatment planning.
Monitor Review of Dental Records

The Monitor reviewed 37 dental records to assess whether comprehensive or biennial examinations
resulted in the development of a treatment plan. Comprehensive examinations are required to include a
periodontal assessment (probing and classification), a soft tissue examination, a hard tissue examination,
bitewing X-rays, and either full-mouth or panoramic films prior to establishing a treatment plan.

Of the 37 patient records reviewed, none contained evidence of an intentional comprehensive examination.
In the 35 records of dentate patients, no formal periodontal assessment was performed, meaning there was
no documented use of a periodontal probe to assess attachment loss or assign a periodontal classification,
resulting in 0% compliance. Additionally, there was no documentation of soft tissue examinations being
conducted.

Nine of the 37 records (24%) indicated that a treatment plan had been developed but without the benefit
of a periodontal assessment or soft tissue examination. In these cases, dentists typically created
abbreviated treatment plans following the required biennial examination.

Only three of the records reviewed (8%) showed evidence of intraoral radiographs taken as part of the
treatment planning process. Seven records (19%) indicated that recent panoramic films were made, while




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29 records (81%) lacked evidence of a panoramic X-ray, and one record revealed an outdated panoramic
film.783

In most cases, dental hygiene was not included as part of the treatment plan. Of the nine patient records
with treatment plans, only three indicated that oral hygiene was part of the planned care.

Patients were generally scheduled for biennial exams, which varied in thoroughness. Some patients were
fortunate to have a dental hygiene appointment and a biennial exam performed concurrently.

Discussion

There is no continuity in which providers perform examinations or develop treatment plans. The only
comprehensive examination and thorough treatment plans the Monitor observed were for edentulous
patients because there were no periodontal considerations, and the patient's teeth had already been
extracted.

Despite introducing a new dental policy, there seems to be a lack of consistency in how examinations and
treatment plans are formulated across the system. It is unclear whether dentists have received proper
communication or guidance regarding the requirements for conducting examinations and structuring
treatment plans. The Monitor recommends developing annual and new-hire orientation training for dental
staff to standardize the process of examinations and treatment planning throughout the enterprise.784

The Monitor finds that examinations and treatment plans in this review of records were insufficient. This
will most likely improve when dentists adhere to the new policy E.04.01.


RECOMMENDATIONS:

      1   Establish a standardized format for treatment plan documentation within the dental records.
          Whether it's a new form like DOC 0422 or an enhanced comprehensive treatment plan form, ensure
          consistency across all facilities. This form should explicitly require a comprehensive dental
          examination before treatment planning.
      2   Emphasize the importance of comprehensive dental examinations before formulating treatment
          plans. Ensure that all comprehensive examinations include the required elements: periodontal
          assessment, soft tissue examination, hard tissue examination, bitewing X-rays, and full-mouth or
          panoramic films. Develop a protocol to guarantee intentional comprehensive examinations are
          performed on all patients receiving dental care.
      3   Ensure that all comprehensive dental patient examinations include a periodontal assessment.
          Periodontal probes are needed to assess attachment loss and make periodontal classifications.
      4   Ensure that intraoral radiographs are consistently made as part of the treatment planning process.
          Standardize the use of recent panoramic films in patient records and avoid reliance on outdated
          films.
      5   Incorporate oral hygiene as a regular component of treatment plans for all applicable patients.

783
  Panoramic films are outdated if they are more than 5 years old
784
  Implementation Plan task 92 Develop annual and new hire orientation training for dental staff. Training to include: 1.
Dental records with comprehensive examinations, X-Rays (sic), and treatment plans.



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6   Introduce annual and new hire orientation training for dental staff, focusing on the importance of
    comprehensive examinations, consistent documentation, and treatment planning. Provide ongoing
    education to address provider training gaps, particularly in periodontal assessments and
    radiographic procedures. Task 92 of the Implementation Plan speaks to how this can be achieved.




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                                                           Appendix A

                                         Appendix A: OCM Budgeted/Filled Staff as of 5/1/2024
                  Category                      Budgeted   Filled                                Explanation
Management and Admin
Executive Director                                  1        1
Business Admin Associate                            1        0      Part time and unfilled; funding to be used for pharmacists
Chief Medical Director.                             1        1
Administrative Support                              4        4
Medical Office Coordinator                          1         1
Fiscal Officer/Accountant                          0.6       0.6    Does financial book keeping for the project
Director of Expansion.                              1        1      Initiates new programs and modifies existing programs to fit IDOC
                                                                    needs
Support Programs for IDOC
Project Manager                                     1        1      Just hired; SIU hired the policy project manager for IDOC
Health Matters Program Director                     1        1      Just hired. This position coordinates educational, literacy, and
                                                                    clinical training to support implementation of initiatives. There will be
                                                                    a significant focus of patient health education and literacy. Different
                                                                    staff within IDOC will identify training needs and then refer to Health
                                                                    Matters who will locate a trainer. Trainers will be from IDOC or
                                                                    through OCM.
Obstetrician/Gynecologist (Medical Director         1        1      Works in Carbondale, consults with Maternal Fetal Medicine
of Women's Correctional Health)                                     department on high-risk OB patients who are seen from Logan.
Quality Improvement Programs
Director of Quality Management &                    1        1      Quality Program Director
Operational Excellence)
Board-certified Primary Care Physician              1        1      6 internist from SIU work part time which equates to 1 FTE. They
                                                                    work on mostly mortality reviews, develop opportunities for
                                                                    improvement, identify adverse events, serve on peer review
                                                                    committee, are working on a Geriatric tool, educational materials, or
                                                                    anything Dr. Bowman asks for.
Advanced Practice Nurse                             1        1      Assists in mortality reviews
Quality Specialist RN                               6        3      Gathers performance and outcome data and assists in mortality
                                                                    reviews
Quality Specialist Non-clinical                     4        4      Assists in gathering performance and outcome data.
Data Scientist                                      1        1      Money paid to a Center for Clinical Research staff member to
                                                                    manage data entered into REDCap equivalent to 1 FTE.
Senior Quality Specialist                           2        2      Coordinates data collection from performance reviews into REDCap.
                                                                    If one of these becomes vacant a person in Center for Clinical
                                                                    Research fills in.
Clinical Data Specialist Analyst                    1        1      This position is currently vacant. This position responsibility is to
                                                                    take data collected from record reviews and performance and
                                                                    outcome audits and enters it into REDCap with ability to transfer
                                                                    onto spreadsheets. When the assigned person is unavailable, as is
                                                                    the case currently, various staff from Center for Clinical Research
                                                                    take on this responsibility. Currently there are 4 individual in CCR
                                                                    who do this for the total equivalent of 1 FTE.
Director of Pharmacy Standards &                    1        1      Directs evaluation of pharmacy services and administration to
Operations - PharmD                                                 provide OHS with "best practice" recommendations.
PharmD                                              5        4      Review pharmaceutical management within IDOC. Develop and
                                                                    recommend best practices in pharmacy. Assist in mortality reviews
                                                                    on items related to pharmacy and drug use practices. Will evaluate
                                                                    pharmacy and medication administration practices system wide.
                                                                    Assigned to regions.
Deputy Director Quality Integration                 1        1      This program is just starting. Serves to integrate quality findings into
                                                                    changes at the facility level.
Quality Integrator RN (1 FTE - 4 posted)            5        1      This program is just starting. These positions are assigned to
                                                                    specific regions. Serves to integrate quality findings into changes at
                                                                    the facility level working with CQI coordinator.




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                 Consultants
Dentist (SIUE consultant)       0.25   0.25    This position just hired. Drafted a manual for Dr. Austin. Currently
                                               evaluating dental program. The ultimate intention is to have 3 FTE
                                               dentists with 1 FTE dental director to perform audits.

Dietitian (consultant)                         Worked 90 hours over the past year. Does not provide consulting
                                               with individual patients. Worked on diet menu plans for IDOC.
Totals                         41.85   32.85




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                                               Appendix B

October 28, 2020
VIA EMAIL

Kelly Pressley
Illinois Department of Correction


Based on a dispute resolution meeting, Plaintiffs informed the Monitor that IDOC was awaiting our
comments on the Staffing Plan and Implementation Plan. The Monitor believes that the Second Report
contained information regarding our thoughts on the Staffing Analysis and Implementation Plan. At our
recent call the Monitor stated that we would reiterate the opinions described in the Second Report and
confirm that these are our conclusions based on the IDOC Staffing Analysis of 6/18/20 and
Implementation Plan of 6/12/20. The following is a summary of comments on the most recent Staffing
Analysis and Implementation Plan. The Monitor retains the right to modify the comments below based on
any additional information and data.
Staffing Analysis
Areas of the staffing analysis that need to be addressed by IDOC:
    1. A standardized methodology of analyzing workload should be developed to determine position
        needs. Although there were some workload standards used to determine nursing staffing, it was
        not done for all IDOC’s varying sites and services including nursing assignments, dental, clinical
        providers, optometry, physical therapy
    2. It has been the Monitor’s position that all positions need to be allocated in the current year’s
        budget. In a recent call with OHS and IDOC, the Monitor was advised that allocated positions are
        the equivalent of budgeted positions and that all allocated positions can be immediately hired.
    3. The Monitor has been advised that State budget has sufficient funds to hire all vacant positions
        and the newly recommended positions in the 6/18/20 staffing analysis. With the exception of the
        newly created positions of Quality Improvement Director and Infection Control Coordinator,
        virtually all the newly recommended positions have not yet been allocated. The Staffing Analysis
        and the Implementation Plan needs to state which positions and when all newly recommended
        positions will be allocated.
    4. Multiple key consulting positions (audit teams, quality improvement consultants, process
        improvement staff, and information technology data teams) are not allocated. Three IT tech
        positions are listed in the Staffing Analysis but there are no quality improvement consultants,
        process improvement staff, or audit team positions listed in the Staffing Analysis. These positions
        must be incorporated into the Staffing Analysis and the Implementation Plan needs to describe
        how and when these positions will be allocated and hired.
    5. The Monist remains concerned that lack of the delay in filling positions is affecting multiple areas
        of the Consent Decree and is making it difficult to develop and implement the Implementation
        Plan. This is particularly true for OHS and consulting positions (QI consultants, audit teams,
        process improvement, and data and other IT personnel). These key positions should be filled
        immediately. All remaining vacant and unfilled allocated positions need to be filled as soon as
        possible.
    6. The Monitor has recommended that a recruitment task force be established with an explicit goal
        of reducing the vacancy rate to less than 12%. This is described in the 2nd Report.




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7. The Monitor has recommended that methodology for staffing infirmaries include perspectives
    from skilled nursing and nursing home experience as appropriate for the patient panel and acuity
    of each infirmary.
8. The Staffing Analysis contains has no positions dedicated to an audit team. In the Implementation
    Plan the IDOC notes that either OHS or another disinterested auditor will perform this function
    but IDOC stated that it plans to hire staff to manage the audit process. In the Implementation Plan,
    IDOC proposed a single team of three to four individuals to perform this function which would
    entail auditing all facilities, performing mortality reviews, perform preventable adverse event
    auditing, and identify from these opportunities for improvement. The Monitor recommended that
    the Staffing Analysis contain 5.5 members for each of two teams (11 total positions). Each team
    would consist of a team leader, a physician, a nurse practitioner or physician assistant, two nurses,
    and a half time dentist. The Monitor also has communicated that a single audit team could be hired
    in the first year and the second team in the next year.
9. As stated in the 2nd Report, the Monitor disagrees with the number of Information Technology
    members the IDOC proposes in its Staffing Analysis. IDOC, in its staffing analysis, states it will
    provide a Health Information Technology Coordinator, an Electronic Health Record
    Administrator, and a Health Information Analyst. In 2nd Report the Monitor recommended that
    IDOC hire 12 individuals. The responsibilities for these individuals are outlined in the section on
    Medical Records.
10. The OHS Director of Nursing should be on the same level as the Deputy Chiefs and Medical
    Coordinator not reporting to the Medical Coordinator.
11. The HCUAs should report through the Chief OHS and not through the Wardens. This was agreed
    to but is not evident in policy or table of organization.
12. The table of organization should reflect that Wexford staff report through OHS and audit, quality
    improvement, process improvement, and data positions should be reflected in the table of
    organization. The table of organization does not show these relationships.
13. A “relief factor” needs to be calculated into nurse staffing at facilities.
14. The facility nurse positions should be broken down by function (infirmary, administration, clinics,
    infection control, quality improvement, etc.) and by site/shift to determine adequacy of nurse
    staffing to ensure that there are sufficient nurses based on assignment.
15. Excluding 2 small sites without onsite dental services, ten facilities of 28 IDOC facilities with
    onsite dental suites currently do not have a dental hygienist position. IDOC proposed adding dental
    hygienist positions in the 6/18/20 staffing analysis at seven of the ten facilities but NRC, Vienna,
    and Western still have no hygienist positions. In the Implementation Plan IDOC commits to every
    facility having dental hygienists to meet facility needs without explanation for how facilities
    without a hygienist will obtain that service.
16. The 6/18/20 Staffing Analysis augments dentist staffing at five facilities but the methodology used
    to determine dentist staffing has not yet been provided to the Monitor. For example, Vandalia
    (1,222) population will have 1.5 FTE dentists while Dixon (2,051) population and Hill (1,698
    population) will have only 1.0 FTE dentists. The Monitor understands that the number of dental
    chairs may currently be a limiting factor at some IDOC facilities.
17. The Monitor asked for the IDOC methodology of determining an appropriate number of
    physicians, physician assistants and nurse practitioners based on acuity, population, and facility
    function. This was not yet been provided.
18. Optometry services did not appear standardized with some facilities not appearing to have
    appropriate number of optometry hours. Optometrists per 1000 patient-inmates at maximum




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           security facilities varied from 0.07 at NRC and 0.17 at Pontiac to 0.38 at Menard, at medium
           facilities from 0.07 at Centralia and Danville to 0.23 at Lawrence, and at minimum sites from
           0.075 at Lincoln to 0.21 at Robinson. The 6/18/20 Staffing Analysis increased Optometry staffing
           by 1.6 full time equivalents (FTE) but some of the facilities of concern still had no changes to the
           optometry hours and had lengthy waiting times and backlogs.
       19. Excluding four smaller sites, physical therapy services were only provided at 8 of IDOC’s 26 large
           correctional centers in 2019. The 6/18/20 Staffing Analysis proposed adding physical therapy at
           two additional sites but this will leave sixteen facilities housing nearly twenty thousand men of
           whom approximately 4,000 are 50 years of age or older without onsite access to physical therapy.
           The 6/12/20 revised Implementation Plan does commit to evaluating the need for physical therapy
           services at all twenty-six IDOC facilities with infirmary beds785, but as of yet the Monitor has not
           received any information related to this evaluation.
       20. The 6/18/20 Staffing Analysis appropriately recommends increased physician staffing at three
           facilities and additional NP/PA staffing at twenty-one facilities; however, four sites (Southwestern,
           Robinson, Decatur, and JTC) still will have an NP/PA position. The Monitor strongly advises that
           all of these sites have at least one NP/PA.
       21. Joliet Treatment Center is being renovated to accommodate a number of medical beds and services.
           The Monitor has been advised that the renovation of JTC will be completed in late 2020 or early
           2021. To date the Monitor has not been informed of the expanded scope of clinical services at
           JTC but the IDOC has agreed to arrange a call between the JTC project manager and the Monitor
           in the near future. A contracted consultant has projected that the renovated JTC will need a large
           number of additional clinical positions: however, 6/18/20 the Staffing Analysis only recommends
           eight additional positions at JTC. The Staffing Analysis needs to be modified to reflect the any
           additional positions required to support the expanded services at JTC.
       22. The Monitor has asked for the methodology of determining phlebotomy, medication room
           assistants, medical record staff, and office staff but has not yet received this information.
       23. Some facilities have a Wexford site manager and some do not. What is the role of this positions
           and does this position have any clinical or operational responsibilities? This question was not
           addressed in the Staffing Analysis. IDOC added 8 site manager positions. The Monitor views
           these positions as not contributory to clinical services at the facility and do not understand the
           responsibilities of this position.
       24. The Monitor has requested for job descriptions for all positions and has received most position
           descriptions for only the Office of Health Services.
       25. Quality improvement consultant and process improvement positions that had been discussed with
           UIC and mentioned in the 6/12/20 Implementation Plan are not included in the Staffing Analysis.
           If these positions will be contract consultant positions, the IDOC, as of yet, has not mentioned who
           will hire these individuals.

Implementation Plan

With respect to the Implementation Plan, in my report I acknowledge and agree with the seven goals that
the IDOC described in their 6/12/20 Implementation Plan. However, those goals lack any tasks, detailed
plans or timetables that inform how these goals will be accomplished or who will perform these goals. It
is difficult to comment on a plan that only consists of goals without a plan for how to enact those goals.
For that reason, it will be difficult to comment on a plan until the plan is completed.

785
      Elgin, JTC, Murphysboro, and Vienna do not have infirmaries



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The Monitor has the following comments on the IDOC 6/12/20 Implementation Plan;

      1. As discussed in 2nd report, the Implementation Plan does not include a plan for dental care
         except to increase hygienists and ensure that dental equipment is surveyed. The
         Implementation Plan needs to include its plan to implement improvements to the dental
         program.
      2. As discussed in 2nd Report, there is also no plan for addressing physician quality or how IDOC
         will obtain qualified physicians with the exception of the agreement with SIU to provide
         physicians at four facilities. The role of SIU at these four sites remains unclear as the contract
         with Wexford is still in place and at our only meeting with SIU and IDOC, it wasn’t clear
         whether the Wexford Medical Director or the SIU physician would be in charge and whether
         SIU would participate in all clinical activities.          At the remaining IDOC facilities the
         Implementation Plan does not address how qualified physicians will be provided at the
         remaining sites.
      3. Training on and implementation of policies or a timetable for completion of policies is not
         addressed in the Implementation Plan. In a letter from Nicholas Staley to Harold Hirshman on
         May 6. 2020, IDOC stated that policy development would be delayed until the World Health
         Organization no longer considers COVID-19 a pandemic. This could be a year or longer into
         the future which is an unrealistic delay to continue policy development. Since the IDOC can
         hire all the allocated staff, necessary staff should be hired to permit the development of policies
         to move forward.
      4. IDOC acknowledges in the Implementation Plan that the Chief of the Office of Health Services
         will be the Health Authority yet provides no formal acknowledgement of this and no current
         administrative directive or IDOC table of organization which establishes this. Because this is
         a change from prior practice, it is not clear how this will be implemented. This should be
         addressed in the Implementation Plan.
      5. Telemedicine services will be key to enhancing access to qualified physicians including
         specialists within IDOC but telemedicine equipment, physical locations of equipment, and
         procedures for telemedicine are not addressed.
      6. E-consultation would provide valuable and likely cost-effective clinical advice and guidance
         to the clinical providers in the IDOC. This needs to be addressed in an Implementation Plan.
      7. The 6/12/20 Implementation Plan stated that the IDOC is exploring expanding UIC’s
         involvement in “….the provision of Hepatitis C…services.” The IDOC needs to develop and
         include a comprehensive plan to increase access to Hepatitis C treatment for the IDOC
         population.
      8. IDOC Implementation Plan noted that the functions of the audit team includes assuring that all
         data elements will be in the medical record and compiling and providing data to verify
         compliance with the Consent Decree and that the IT team will have the training and equipment
         to extract data from the EMR and provide data for the QI program and to verify compliance
         with the Consent Decree. However, the EMR has been significantly delayed, the IT team will
         not be hired for 12-24 months, and the no timeline for hiring the audit team(s) has been
         presented to the Monitor. IDOC must expeditiously develop an interim plan to gather data
         needed to verify compliance with the Consent Decree until the audit and the IT team are fully
         operational.
      9. The Consent Decree required that UICCON is to advise IDOC on implementation of a




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       comprehensive quality improvement plan with input from the Monitor. IDOC accepted a final
       quality improvement plan from UIC without input from the Monitor. After the plan was
       submitted, the Monitor team met with UICCON to give input. This occurred at meetings with
       OHS and UIC. UIC was in process of revising their plan when arrangements between UIC
       and IDOC ended. The Implementation Plan stated that IDOC was developing a phase 2 quality
       program giving only a general outline that did not entirely match discussions that had occurred
       between UIC, IDOC and the Monitor. Specifically, audit team size was different, relationships
       between data teams and the quality and process teams were not described. The different quality
       and process consultants (engineering consultants and quality training consultants) were not
       described. The interactions between an OHS quality improvement team and facility quality
       improvement teams were not fully discussed. The audit team duties were quite extensive and
       would likely not be able to be performed by one or possibly two audit teams. Some of the
       team’s described duties and tasks will need to be assigned to the data team and the quality and
       process improvement consultants and staff. These issues need to be clarified and details of
       this program need to be augmented in the Implementation Plan.
   10. IDOC suggested in the Implementation Plan that SIU may assume the role that UIC was
       discussing taking responsibility for, with respect to quality improvement. For these reasons,
       the Monitor is requesting more information with respect to the IDOC relationship with SIU
       and look forward to meeting with the SIU representatives responsible for the quality
       improvement project as soon as possible and before an agreement is expanded and a proposal
       finalized.
   11. The IDOC does not address statewide quality improvement efforts to coordinate facility quality
       improvement efforts. While there is a statewide quality improvement coordinator, the
       responsibilities and role of this person and the responsibility of statewide quality efforts is not
       evident in the implementation plan. These issues were discussed OHS at prior meetings (with
       UICCON)
       but agreements at those meeting were not present in the Implementation Plan.
   12. In the Implementation Plan, IDOC stated a goal of performing an equipment and physical space
       survey but IDOC has not provided details of how this will be done. IDOC indicated that they
       would survey all physical spaces and equipment statewide. The Monitor would like to discuss
       with IDOC how this will be done prior to performance of this survey so that they can provide
       input on what should be evaluated and who should perform this audit. The Implementation
       Plan also needs to include a timeline for the survey and how and when it will implement
       recommendations of this survey in order to improve deficient clinical spaces and equipment
       needs.
   13. The Implementation Plan states IDOC is working with the Illinois Department of Aging to
       perform a survey of the elderly in order to develop a basis for obtaining appropriate resources,
       programming, and housing for the aged who may be disabled or need assistance with activities
       of daily living. The Monitor asks that prior to initiation of any survey that the Monitor has an
       opportunity to weigh in and evaluate the proposed survey and any plans based on information
       gained in that survey. The Implementation Plan also needs to include how it will implement
       recommendations of this survey.
   14. In the Implementation Plan, IDOC stated that it would collaborate with the Illinois Department
       of Public Health (IDPH) to provide guidance to IDOC on infection control matters. Specific
       details of this arrangement were not stated. The Monitor asks to be provided with any specific
       details of these arrangements. These details need to be included in the Implementation Plan.




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           The Monitor will also ask to meet with the representative of IDPH who is planning future
           coordination on guidance to IDOC.
       15. The Implementation Plan needs to describe how quickly vacant and newly created positions
           will be hired. As stated in the 2nd comment in the Staffing Analysis section, key positions need
           to be hired immediately.
       16. The Implementation Plan states a desire to improve academic relationships. The Monitor
           agrees with this goal. If SIU is to replace UIC with respect to the quality improvement
           program, audit teams and data teams, these plans should be included in the IDOC
           Implementation Plan. As noted above the Monitor is looking forward to the proposed meeting
           with the SIU representative who is responsible for negotiating and developing this service.
       17. IDOC has stated that the COVID-19 pandemic will delay implementation of seven Consent
           Decree items. It is opinion of the Monitor that prompt hiring of staff, especially of OHS and
           key positions, will allow implementation of the Consent Decree to proceed. For that reason,
           staff should be promptly hired in order that implementation of the Consent Decree can proceed.


We look forward to further discussions on the Staffing Analysis and Implementation Plan.

Sincerely,


Jack Raba, MD
Medical Monitor
Lippert v Jeffreys Consent Decree




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I.05.01     Medical Restraints

Attachments
None were provided




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Patient #1

Problem List and Advanced Directives
This was a 83 year-old man. His problem list was inaccurate. The problem list documented
chronic obstructive lung disease (COPD) and hypertension, but the patient additionally had sleep
apnea and osteoarthritis. The problem list documented he was “do not resuscitate” status though
the patient signed a power of attorney in 2018 as a civilian and the document was in the medical
record. There was no evidence that the power of attorney had been contacted about the patient by
prison personnel even when, later in his life, he had cognitive decline. There was also no effort by
IDOC to determine if the patient had capacity to make an informed medical decision. On 8/29/23
the patient signed a physician order for life sustaining treatment (POLST) that was discussed with
the patient by a prison physician that documented the patient wanted full treatment. The power of
attorney signed prior to incarceration did not participate in this decision making. During a final
hospitalization, the hospital contacted the power of attorney who asked that the patient be placed
in hospice. For years, IDOC failed to contact the power of attorney even when it may have been
indicated to do so.

Chronic Care
While the record that was provided to us contained progress notes from February, 2023 until the
patient’s death on 12/5/23, it did contain the chronic clinic notes from prior years. The patient was
evaluated in chronic disease clinic only once in each year of 2020, 2021, and 2022. The chronic
care encounters from 2020, 2021, and 2022 demonstrated substandard chronic care. His sleep
apnea and osteoarthritis were not addressed at any clinic visit. The patient had osteoarthritis yet,
despite the patient stating he was told he needed knee replacement, there was no evaluation of the
status of the osteoarthritis or consideration of knee replacement. At all visits, the patient was
documented as having chronic obstructive pulmonary disease (COPD) but was assessed as if he
had asthma.

In 2023, the patient had no chronic clinic visits and none of his chronic illnesses were addressed.
The patient had multiple hospitalizations and when new diagnoses were made (atrial fibrillation,
heart failure, obstructive uropathy with acute kidney injury, adrenal adenomas, anemia, aortic
aneurysm, and NSTEMI-21) none of the newly diagnosed conditions were monitored, evaluated
or even acknowledged.

Dental and Diet
The patient was incarcerated on 8/4/20 and was noted on intake as having only three teeth left. No
plan of care was initiated. There was no assessment of the condition of the teeth. The patient
wasn’t seen again by dental until 7/24/21 almost a year after intake. The dentist again documented
that the patient had only three teeth and wanted them pulled. The dentist noted poor periodontal
condition. The patient was scheduled for extractions which didn’t take place until 12/3/21 about

1
    This is a type of heart attack.


                                                                                                   1
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16 months after intake and over four months since the patient was initially seen at the “home”
facility. After 2021, the patient had no teeth. This delay was likely related to the COVID
pandemic. An impression for the prosthetic was not made until 4/8/22 and the patient did not
receive a dental prosthetic until 7/6/22. Almost a year and a half later, on 11/13/23, the dentist saw
the patient for “ill-fitting” dentures. Because the dentures were loose, the patient wasn’t able to
use them. The dentist scheduled the patient for an appointment to fix the dentures but the patient
expired in December of 2023 before a follow up visit was completed.

Because the patient had difficulty eating due to no teeth or ill-fitting dentures, the patient had been
on a dental soft diet since 7/24/21. Yet, there was no dietary consultation to determine if he was
getting sufficient nutrition nor was it ever determined what the patient was eating at any chronic
clinic visit. Weights were infrequently taken. The medical record cover lists his intake at NRC on
8/4/20. He was transferred to Centralia on 9/8/2020 and weighed 220 pounds at a chronic clinic
on 9/30/20. He gained 28 pounds to 248 pounds when seen in a chronic clinic encounter on 4/20/22
but then began losing weight. The last weight we could find in the record was on 11/29/23 when
he was in the hospital and weighed 200 pounds which is a 48 pound weight loss over a year and a
half earlier. There was no effort to address the cause or remedy for this weight loss. Because the
patient gained weight at a time when he had no teeth, the weight loss was likely attributable to
other causes including possible cognitive or mobility issues. In any case, the weight loss and diet
weren’t being monitored.

Physician Coverage

Documents from July 2023 show that the Medical Director position was vacant. In the Monitor’s
opinion, the root cause of the problem of vacant physician positions is the inability of the vendor
to attract, recruit and retain qualified physicians. For this patient, there were only five in-person
physician encounters by two physicians in 2023; none of them was thorough or consistent with
standards of care. Both of the physicians lack credentials required by the Consent Decree
(III.A.2). One was a physician whose care the Monitor has thoroughly reviewed and advised
IDOC that he should not be practicing as he practices in an unsafe and clinically appropriate
manner. The 2nd physician has not been monitored by either IDOC or the Monitor. This physician
is moved around to fill in and finding representative records of care he has provided is difficult.
This record demonstrates that he should also not be practicing because of unsafe and clinically
inappropriate practice. Physicians without appropriate credentials required by the Consent Decree
should not continue to practice.

There was very little physician or mid-level provider contact with this patient. The patient
complained about this to a psychiatrist on 2/16/23. The psychiatrist documented that the patient
was frustrated about lack of medical care. Though, no details were provided, the patient’s concern
was valid.

On 2/25/23, a nurse responded to an emergency noting that the patient had difficulty speaking and
left sided weakness and thought the patient was having a stroke. There was no evidence that a
physician was available for consultation and the nurse did not document speaking with a physician.




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The patient was admitted to a local hospital and was promptly treated with de-clotting2 medication
(TPA) on suspicion of a stroke and referred to a tertiary care hospital. At that hospital the patient
had no evidence of a stroke, central nervous system mass, or bleeding. He was oriented and aware,
but a physical therapist noted that he had decreased awareness of the need for assistance and
difficulty with activities of daily living. He needed assistance with transfers and needed verbal
cues for safety and transferring from sitting to standing. He had limitations with movement and
decreased functional balance and endurance. He was short of breath with activity and developed
low oxygen while sitting which improved with activity.3 He described one fall in the past 6
months. This picture describes a frail elderly man with functional movement disability who might
have early dementia though he did not have a cognitive study in the hospital. He did not have a
stroke but was diagnosed with a transient ischemic attack (TIA) 4. The hospital documented his
sleep apnea and hypertension as problems but did no investigations of these conditions except for
routine blood pressure checks. He had mild anemia on blood tests in the hospital but this was
unrecognized at the prison.

On 2/27/23, the patient returned from the hospital and a nurse placed the patient on the infirmary
and gave him a walker. Coverage-physician-1 saw the patient two days later. This was the first of
two in-person physician visits during 2023 by coverage-physician-1. This first physician note was
written on an infirmary discharge summary form. The patient had been admitted to the infirmary
by nurses but when the physician saw the patient he immediately discharged him without any
examination. The patient had a recent TIA and had no prior physician monitoring of his COPD,
osteoarthritis, sleep apnea, abdominal hernia, and hypertension for a year. The note was 32 words
long as shown below.

         Admitting Diagnosis: “Post [cerebrovascular accident]5 [with] TPA6”
         Discharge Diagnosis: “Stable post-CVA
         Infirmary Course: [illegible word] stable, ambulating [with] a cane.
         Infirmary Discharge Orders: [continue] current meds; encourage to wear his abdominal
         binder; issue walker
         Follow Up Plan: will [follow up] [after] [appointment] [with] neurology.7

Problems with this note were as follows.
   • There was no history of any of the patient’s problems.
   • There was no physical examination concerning problems related to the hospitalization or
       to the patient’s chronic illnesses.

2
  The standard of care for a stroke is for a hospital on suspicion of a stroke to give a medication to dissolve the clot
causing a stroke and to refer to a stroke center or regional hospital better equipped to manage strokes.
3
  His oxygen saturation was 83-86% when sitting and rose to 91% when walking and 92% post-exercise. All of these
numbers demonstrate low oxygen in his system.
4
  A transient ischemic attack (TIA) is a presentation with symptoms consistent with a stroke but which resolve. A
TIA is so classified when the symptoms are related to brief blockages of blood flow to the brain. These episodes
don’t cause long-term damage and resolve but portend a future stroke which occurs in about one in three people who
have a TIA. This patient left the hospital with a diagnosis of TIA.
5
  Cerebrovascular (CVA) refers to a stroke.
6
  TPA is the de-clotting medication
7
  The words in brackets were all abbreviation but written out for clarity.



                                                                                                                      3
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    •   The physician’s understanding of the hospital diagnosis was inaccurate; the patient did not
        have a CVA he had a TIA,
    •   The hospital record was not documented as reviewed.
    •   There was no follow up post-hospitalization and review of hospital findings to provide
        informed care to the patient.
    •   Anemia identified in the hospital was not recognized. A blood count from 2/25/23 showing
        mild anemia was in the record but not acknowledged.
    •   The problem list was not documented as updated.
    •   None of the patient’s current chronic diseases (sleep apnea, hypertension, hyperlipidemia,
        osteoarthritis of the knee, abdominal hernia, and COPD), which had not been evaluated for
        a year, were evaluated nor were the patient’s current medications reviewed after the
        hospitalization.
    •   Use of an abdominal binder was referenced but the abdominal hernia management was not
        updated.8
    •   The MRI and CT scan from the hospital were not reviewed. The brain atrophy and small
        vessel disease suggested possible early senility or dementia which should have been noted
        in the event there were further episodes of altered mental status. The patient should have
        had his cognitive status determined.
    •   Without history, examination, or review of the hospital record, this physician made a
        housing decision to discharge the patient to general population without consideration of
        whether this was safe.
    •   The plan to only provide a walker and cane failed to consider the patient’s functional ability.
        No review of the hospital physical therapy note occurred which gave details on his need
        for assistance with transfers, prompting for transfers, etc., and implied future need to
        monitor and manage these disabilities.
    •   There was no plan to send the MRI and CT scan and hospital discharge summary to the
        neurologist so that effective communication about the patient’s condition could be
        accomplished.
    •   Though a referral to neurology was documented in the note, a referral was not on the offsite
        specialty care log. The physician had written a referral form but the information was
        inaccurate. The request stated that the patient had recent cerebrovascular accident but the
        patient actually had a transient ischemic attack. This referral was not timely and occurred
        over two months later.

This evaluation continued the practice of episodic care, only responding superficially to the most
immediate need. Almost none of the patient needs were addressed which is particularly important
when coverage doctors are seeing patients.

Within a week of discharge from the infirmary, on 3/8/23, a nurse scheduled the patient to see
coverage-physician-1 for his 2nd encounter with this patient. The nurse documented an
introduction to the visit stating that the patient needed to be seen as to whether he needed a
wheelchair due to his legs being weak from his TIA and said “do not cancel per HCUA”.

8
 A May, 2022 ultrasound showed loops of bowel in the hernia. This should have been confirmed with CT and if
accurate the patient should have been referred to a surgeon for repair



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Apparently, the HCUA became aware of some type of functional difficulty and wanted the patient
examined. Coverage-physician-1 saw the patient and his note was very brief as shown below.
      S: Have a walker [and] a cane. Used the [wheelchair] [after] discharge from the
      [infirmary]. Is OK [without] a [wheelchair].
      O: ambulating well [with] the walker.
      A: Discussed that if a time arrives when he can’t go to the pill line / chow then we can
      address leg weakness then.
      P: No current need for a [wheelchair].

This note was episodic and the many of the same criticisms given above are present in this note.
However, key problems are:
   • There was no history or examination that may have elucidated the activity of daily living
       and functional problems that the patient was clearly having in general population for which
       infirmary housing or additional disability aids were indicated.
   • This patient had a prior recommendation for a knee replacement but his significant
       degenerative arthritis was not addressed nor was an appropriate accommodation made for
       his disability. Orthopedic referral was indicated but not done.
   • The patient had a fall history but this was not inquired about or evaluated.
   • Again, the patient’s chronic illnesses had not been evaluated in a year and any opportunity
       to do so should have been taken.
   • The denial of a reasonable accommodation for his disability was unsafe, clinically
       inadequate, and bordered on cruelty.

About two weeks after coverage-physician-1 discharged the patient from the infirmary, on 3/10/23,
a nurse evaluated the patient for knee pain documented as constant. The patient asked for a
different walker. The nurse did not refer the patient. On 3/16/23, coverage-physician-2 was asked
to see a patient to review ultrasound results that occurred on 5/31/22 to evaluate an abdominal
hernia. The test documented that the hernia may contain loops of bowel which could place the
patient at risk of incarceration of the hernia. CT scan was recommended for further evaluation.
When coverage-physician-2 saw the patient, the ultrasound result was not addressed. The entire
note consisted of 18 words as shown below.
        S: Patient is [with] [chief complaint] right knee pain
        O: states walking with walker
        A: Arthritis
        P: X-ray [right] knee; referral orthopedic9

Problems with this encounter were as follows.
   • The purpose of the visit (to evaluate an ultrasound result) was not accomplished.
   • Coverage-physician-2 took no history of the pain nor did he complete an examination or
       functional assessment related to the knee pain. On 3/14/23, a psychiatrist documented that
       the patient continued to “slur his words” so a better examination was called for, particularly
       in light of the recent hospitalization.


9
 This patient was not found on the Centralia 1st and 2nd quarter offsite tracking log so the referral was not
documented as in process of being completed.


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     •   This person had been inappropriately discharged from the infirmary to general population
         a couple weeks previous and whether the knee pain affected his ability to function was not
         addressed. Coverage-physician-2 failed to evaluate the patient sufficiently to determine
         whether an appropriate accommodation for his disability was accomplished.
     •   The patient described, in prior a chronic disease clinic, a recommendation for knee
         replacement which was not investigated.
     •   Coverage-physician-2 did order an x-ray but no one followed up on the results. The x-ray
         result was available the following day and showed moderate to severe joint space
         narrowing and degenerative changes. There was near obliteration of the medial
         compartment with osteophytes. MRI follow up should have been done but was not.
         Orthopedic follow up was indicated but not apparently ordered.
     •   Coverage-physician-2 also documented he would refer the patient to orthopedic surgery
         but no referral was found.
     •   Similar to the practice of coverage-physician-1, the patient’s chronic illnesses had not been
         monitored in almost a year yet no action was taken to do this.
     •   The recent hospitalization was not acknowledged nor did coverage-physician-2 inquire
         whether the patient was doing OK since discharge.

This was an unsafe and clinically inappropriate visit because the abnormal test result for which the
patient was scheduled was not addressed. The patient’s stated complaint was not adequately
addressed. Moreover, the patient’s chronic illnesses were not attended to.

The inmate was in general population and assigned an ADA10 helper. It wasn’t clear who initially
ordered the inmate helper.11 This verified that the inmate could not function safely on his own.
On 3/21/23 the inmate ADA helper brought the patient to the clinic and told the nurse that the
patient was falling frequently. The nurse documented the patient’s walker was only helpful
indoors. So, the nurse , with the ADA inmate, called coverage-physician-1 who gave a telephone
order for a wheelchair any time he is going long distances or leaves his housing to go between
buildings. This after-the-fact management still did not address the patient’s needs because the
physician still did not take any history or conduct any examination to determine why the patient
was falling. Other factors that may have affected his falls (e.g., current acute illness, cognitive
decline or additional functional disabilities) were not addressed. Coverage-physician-1 did not
schedule an appointment to follow up on the patient falls and took no other diagnostic measures
or change of housing (e.g., infirmary placement) to protect the patient. This was an episodic
manner of addressing the patient’s disability that was unsafe and clinically inappropriate practice
because without determining why the patient was falling potentially placed the patient at risk of
future harm.




10
   ADA refers to inmates who are assigned to assist elderly or severely disabled inmates. This is not intended to
supplant medical care but the Monitor believes the ADA attendant does, at times, substitute for medical supervision.
In this case, the inmate likely had severe degenerative arthritis necessitating knee replacement which was not done.
He also likely had early dementia and should have been housed with some medical supervision but was placed in
general population with an inmate ADA.
11
   There are no formal rules statewide on who is to order ADA helpers nor is there policy or procedure governing use
of these services.


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Later that same evening on 3/21/23 a nurse evaluated the patient again for a “possible TIA” and
severe headache. The nurse wrote that the patient was confused when trying to make a phone call
and was unable to remember the phone number he was trying to call. Though oriented to person,
place, and time he appeared otherwise confused to the nurse. This may have been early cognitive
decline attributable to the brain atrophy and small vessel disease in his brain seen on CT scan or
something else. The nurse called on-call coverage-doctor-3 who ordered that the patient be sent
to a hospital.

The patient was sent to a local hospital on 3/21/23 and a CT scan showed no mass or acute bleeding
in his brain but did show mild brain atrophy and small vessel disease consistent with aging and
early cognitive changes and dementia in the elderly. The failure to conduct standard cognitive
evaluation at the prison ultimately resulted in this hospitalization that was likely preventable. After
a CT scan was done, the local hospital immediately sent the patient to a tertiary care reference
hospital in Evansville, Indiana for neurological evaluation. The patient returned from the hospital
on 3/23/23. The record from the hospital in Evansville was not obtained and was not in the record.
The only information about this hospitalization is what the nurse at Centralia wrote when the
patient arrived back to the prison on 3/23/23 which was that the patient didn’t have a stroke or
TIA; instead had a migraine for which Depakote was prescribed. The nurse did not mention
whether neurology follow up was recommended. On arrival at the facility, the nurse called
coverage-doctor-3 again who ordered the medication and also ordered an inmate ADA attendant
and use of a wheelchair when leaving the housing unit. This plan was developed without
evaluation of the patient or review of the hospital records and there was no post-hospital evaluation
of the patient. This patient’s cognitive difficulties and functional disabilities appeared to be more
likely a result of early dementia or cognitive decline and the housing assignment did not appear
appropriate. In this instance, the assignment of the inmate ADA helper appeared to be a substitute
for medical care which is an inappropriate use of inmate workers.

In the meantime, the neurology referral ordered by coverage-physician-1 on 3/1/23 took place on
4/3/23. The neurology report was incomplete and only the first page was available in the medical
record. On page one, the neurologist wrote that the patient had functional impairments but no
cognitive impairment. The remainder of the note was missing. The referral form that went with
the patient for the visit had comments by the neurologist that said,
        83 year old [with] history of headache. He is doing better [with] Depakote. He has a
        shuffling gait. [one sentence illegible]. Alert. Oriented. Plan: continue with current dose
        of Depakote.

Someone wrote on this form “Dr. office will fax order for Sinemet when they fax paperwork back”.
Sinemet is a drug used for Parkinson’s disease and shuffling gait is a manifestation of Parkinson’s
disease. Someone also wrote that a 3 month follow up was requested to be scheduled sometime
around 5/10/23. Coverage-physician-1 signed this referral form as reviewed but another referral
back to the neurologist was not written until 5/10/23 about five weeks after return from the
hospital. This referral from 5/10/23 was not found on the 2nd quarter offsite specialty log. Because
the neurologist’s note was not present, it was unclear whether the neurologist diagnosed
Parkinson’s disease. The problem list was not updated to include migraine or Parkinson’s disease
and the medical record is uninformed as to what the neurological status of the patient was. When
the referral to this neurologist was made by coverage-physician-1, the hospital record including



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MRI and CT scan results were not sent with the patient so it was likely difficult for the neurologist
to make an accurate diagnosis.

Three days after the neurology consultation, the HCUA confirmed on-call-coverage-physician-3’s
phone order that the patient was permitted to have a walker, a low bunk, and ADA inmate attendant,
and a wheelchair. The HCUA also arranged for the patient to be housed in a unit closer to the
health unit. A provider should have completed an in person evaluation to determine the patient’s
functional capacity and determine whether he was appropriately housed. Instead, this evaluation
occurred by phone.

Coverage-physician-2 saw the patient in follow up of the neurology visit on 4/11/23. The patient
had not been evaluated by a provider after the 3/21/23 hospitalization, so coverage-physician-2
should have done that evaluation as well. Though the purpose of the 4/11/23 visit was to evaluate
the patient post-neurology referral, the only history was that the patient lost his hearing aids and
had no further headache. The visit note as written is given below.

       S: Patient states that his hearing aids were lost in transfer from Indiana
       O:[illegible word] states has no headaches since Depakote 500 BID
       A: Parkinson [disease]
       P: Continue Depakote as prescribed. Hearing testing for hearing aids

There was no other history and no examination. The assessment was Parkinson’s disease. Because
the neurologist’s report was incomplete, it wasn’t clear that this was a diagnosis of the consultant.
The only plan was to send the patient for hearing aids and to continue Depakote. Problems with
this encounter were the following.
    • If the assessment was Parkinson’s disease, the doctor should have confirmed findings of
        the neurologist, ordered the medication for the patient and ensured that the functional
        disabilities related to the Parkinson’s were addressed with appropriate housing and support.
        No evaluation took place and the patient’s needs were not met.
    • This evaluation also did not review the past hospitalization which was only 19 days earlier.
        The patient had not been evaluated post-hospitalization. The hospital record was not
        reviewed and the problem list and therapeutic plan of the patient was not updated.
    • None of the patient’s chronic diseases which had not been evaluated for about a year were
        evaluated including the newly identified problems from the 2/25/23 hospital admission.
    • The neurology full report was not documented as reviewed.
    • A follow up neurology referral form was not made. It was written on 5/10/23 about five
        weeks later but it wasn’t found on the 2nd quarter offsite tracking log.
    • The physician did not discuss the consultant’s findings and recommendations with the
        patient and did not update the therapeutic plan based on the consultation. The patient was
        therefore uninformed about his care plan.

This was another episodic encounter that did not address the needs of the patient.

The patient had no further in-person physician evaluations until 8/2/23, about four months later.
In the meantime, the following clinical events took place.



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     •   On 4/18/23, a laboratory test confirmed mild anemia (hemoglobin 13) which was not
         acknowledged.
     •   On 5/3/23, the family called about the patient having “increased confusion”. This resulted
         in a nurse evaluation who noted that the patient did get confused about who he was
         approved to call and on what day he was approved to call. A nurse found the patient
         oriented to person, place, and time, but no further clinical evaluation or history occurred
         and the patient was not referred to a provider. A mini-cognitive test should have been done
         but was not.
     •   On 5/6/23 a psychiatrist documented that the patient was more confused but the patient
         was not referred to a provider for evaluation.
     •   On 5/10/23, a nurse emergently saw the patient who had fast heart rate (120), fast
         respiratory rate (26), and low oxygen saturation (89%) and was shaking and coughing. An
         unnamed physician was called who recommended sending the patient to the hospital.
         When the patient arrived at the hospital, he was short of breath and weak and was only able
         to respond to yes or no questions. The patient spent four days In the hospital and was
         diagnosed with acute respiratory failure, pneumonia, cellulitis, acute on chronic heart
         failure, a type 2 non-ST-segment elevation myocardial infarction (NSTEMI-2), 12 and atrial
         fibrillation. He was started on a blood thinner, an antibiotic for the pneumonia, a
         medication to control his heart rhythm and a diuretic and discharged with a
         recommendation to follow up with a cardiologist.
     •   Upon return to the prison on 5/19/23, a provider didn’t see the patient and the recommended
         antibiotic wasn’t stocked so it was ordered. The following day, the three days of antibiotic
         were given to the patient as ordered but these were given for the patient to administer to
         himself. Given the recent confusion of the patient, he should have been kept on the
         infirmary to monitor. Instead, he was sent back to general population and given his
         medications to handle on his own. The blood thinner was unavailable for eight days and
         the patient received no medication during this time. These developments were all unsafe
         and placed the patient at risk of harm.
     •   On 5/21/23 a nurse documented that the patient said he wasn’t wearing his CPAP mask and
         that he was “slightly confused”. A better evaluation of his mental status wasn’t performed
         and the patient was left in general population. He should have been referred to be evaluated
         by a provider but this did not occur. This patient was housed inappropriately. He should
         have been housed on the infirmary.
     •   On 5/26/23 at 11:30 am, a nurse using a non-specific discomfort protocol evaluated the
         patient for right leg pain. The patient needed assistance to stand. He had 4+ (very large)
         pitting edema of the right leg extending from above the knee to the toes. The nurse did not
         document evaluation of the left leg. The nurse called on-call-coverage-physician-4 who
         ordered a stat D-dimer test. This is a test to evaluate whether a clot was present in the leg.
         If the doctor thought a deep vein thrombosis was present, the patient should have been sent
         to a hospital urgently for evaluation. The test result returned at 5 pm and was normal. On-
         call-coverage-physician-4 ordered the patient back to general population housing despite
         prior confusion. An in-person provider evaluation was called for. The left leg should have


12
 This is a heart attack not caused by blockage of a coronary artery but by lack of oxygen to the heart muscle which
was likely caused by his heart failure and pneumonia.


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       been evaluated for edema. If both legs were swollen, the edema was likely due to his recent
       diagnosis of heart failure and his medication likely needed readjustment.
   •   Eight days after the 5/19/23 discharge from the hospital, on 5/27/23, coverage-physician-1
       wrote a referral to cardiology as recommended on the 5/19/23 hospital discharge summary.
       Coverage-physician-1 did not examine the patient or document review of the record. It
       wasn’t clear if he was onsite. The patient’s status since hospitalization for heart attack,
       heart failure, atrial fibrillation, pneumonia and cellulitis was not being monitored. There
       was no examination post-hospitalization, no update of the therapeutic plan, and the patient
       remained uninformed about the facility’s plan of care. This placed the patient at serious
       risk of harm.
   •   On 5/29/23, a psychiatrist documented that the patient was recently hospitalized secondary
       to confusion. The patient expressed frustration about his case and had problems with his
       CPAP machine and had fluid retention. The psychiatrist wrote, "He worries about getting
       out before he passes away".

Finally, on 8/2/23 coverage-physician-1 saw the patient for the first provider visit since the 5/15/23
hospitalization, 79 days after the hospitalization. He ostensibly saw the patient based on nursing
referrals for a debilitating right knee pain, review of laboratory results and a toenail evaluation.
The following was the doctor’s entire note.

       S: Has had knee pain for year, ∅ lab work. Has long toenails.
       O: ∅ labs. Long toenails
       A: Will order toenails cut
       P: To the treatment line- soak toenails + clip same

The problems with this encounter is the following.
   • This note is episodic. In this case, the patient hadn’t been seen in months and the status of
       his medical conditions should have been updated but there was no update of any of the
       patient’s conditions.
   • This patient had a significant recent hospitalization for myocardial infarction, atrial
       fibrillation, pneumonia, cellulitis, acute on chronic heart failure which were new diagnoses
       but which had not been monitored for three months. These conditions should have been
       monitored to protect the patient from risk of harm.
   • The new diagnoses were not entered into the problem list, nor was the therapeutic plan of
       the patient updated with his new conditions.
   • None of the patient’s new medications were monitored. Though the patient had recent leg
       edema, the physician did not address whether the heart failure was appropriately controlled
       with diuretic medication. The physician did not evaluate whether the patient was receiving
       his medications. He was receiving furosemide, potassium, diltiazem, and Tylenol as keep-
       on-person medication but given this patient’s intermittent confusion and large medication
       panel (he was on 14 different medications) he should have been on directly administered
       medication. The MAR did not provide evidence that the patient had received atorvastatin
       in July.
   • This patient also had multiple chronic conditions (sleep apnea, COPD, hypertension,
       osteoarthritis, hyperlipidemia, and abdominal hernia) which had not been monitored in a
       year and a half and should have been monitored.


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   •   The patient had known osteoarthritis of the knee for which knee replacement had
       previously been recommended. His current knee pain wasn’t evaluated with history or
       physical examination. Further work up was not accomplished. Coverage-physician-2
       documented he would refer this patient to an orthopedic surgeon which never occurred.
       This patient’s complaint and need was not addressed appropriately.
   •   Though one of the documented purposes of the physician visit was to review laboratory
       results, the physician did not even discuss what laboratory result was to have been
       reviewed.

On 8/10/23 a test result showing low potassium level was present and initialed as reviewed by
coverage-physician-1. The patient was on a diuretic that can cause low potassium but there was
no evidence of follow up monitoring. The MAR shows that the patient did not receive keep-on-
person potassium in April, May, or June and received a 30 day supply on 7/2/23. Also, he may not
have been taking his medication as instructed because of his age and intermittent confusion. He
should not have been responsible for taking his own medication and should have received his
medication but did not.

On 8/15/23, the patient returned to the neurologist who previously evaluated the patient on 4/3/23.
This appointment was not listed on the 3rd quarter Centralia offsite specialty log. Though Centralia
staff had documented on the 4/3/23 referral that the patient was to be started on Sinemet, a drug
for Parkinson’s disease, at this visit the neurologist made no mention of Parkinson’s disease. Based
on the referral information provided to the neurologist that the patient had a prior stroke, the
patient’s leg weakness was attributed to the stroke. The neurologist recommended continuing the
Depakote for migraine. Prior hospital records including brain MRI and CT scans should have been
sent to the neurologist but were not and the patient appeared to not have been appropriately
evaluated. This type of miscommunication with specialists is a frequent occurrence and can cause
misdirected medical care. There was no documented review of this consultation and a provider
did not meet with the patient to discuss findings.

On 8/21/23, a nurse called on-call-coverage-physician-3 for bilateral leg edema and he
recommended sending the patient to a hospital. Since the last hospitalization for myocardial
infarction, heart failure, pneumonia and leg cellulitis, a physician had not seen the patient for the
purposes of monitoring these conditions. There was only one provider evaluation over the three
month period and the heart failure was not being monitored. For this hospitalization, the patient
had acute on chronic heart failure; the atrial fibrillation had reverted to normal rhythm. The
cardiology appointment recommended on 5/19/23 had not been completed before this
hospitalization. An echocardiogram at the hospital showed worsening heart failure. The patient
was treated for exacerbation of heart failure. An enlarged aortic aneurysm was also found on
echocardiogram. The cardiologist ordered a follow up CT scan which showed a 3.9 cm thoracic
aortic aneurysm that the radiologist recommended should be followed up in a year. Cardiology
notes in the hospital recommended follow up with cardiology upon discharge but specific
cardiology follow up was not in the discharge summary. There was no evidence of a referral to
cardiology on the 3rd quarter offsite specialty log. The aortic aneurysm should have been noted
especially the need for a follow up CT scan. Diltiazem was discontinued and new medications




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were started: metoprolol, Entresto, Jardiance, and spironolactone. He was treated with Keflex to
complete treatment of urinary tract infection.13

The patient returned to the prison at 5 pm on 8/26/23. The nurse noted new medications and wrote
that the hospital nurse had endorsed that the oxygen saturation was low and he was on 3 liters of
oxygen until 3 pm of the day of discharge and that the saturation was at least 94%. At the prison
at 7 pm, the oxygen saturation decreased to 88%, the blood pressure was 88/42 (which is very low)
and the heart rate was documented as 29 (which is extremely low). The patient was described as
“in and out of alertness”. The nurse called on-call-coverage -physician-4 who ordered that the
patient return to the hospital.

At the hospital the vital signs were normal and oxygen saturation was normal. The patient was
sent back to the prison by 10:30 pm the same day and was returned to the infirmary by a nurse.

The nurse in the infirmary called on-call-coverage-physician-4. The nurse identified that the pulse
was now irregular, indicating possible atrial fibrillation but an EKG several hours earlier in the
emergency room showed atrial bigeminy, typically a non-serious arrythmia. The on-call physician
ordered “fall precautions”, fluid restriction to 1.5 liters daily with daily weights and to call the
provider for a weight gain of more than 2-3 pounds daily or 4-5 pounds over a week. The patient
was to wear his CPAP mask.

Two days later on 8/29/23, coverage-physician-1 saw the patient because the patient was
requesting a podiatry referral and because the patient had a recent hospitalization and ER visit.
The entirety of the note was as follows.

         S: [illegible word] post ER
         O: Stable post ER
         A: Stable post ER. Discussed DNR [do not resuscitate] + He wants to be revived.
         P: 1) Pt. to sign sheet-DNR 2) Will need [follow up] [with] cardiology check[name of a
         clerk] to see if he needs collegial. Discharge from infirmary.14

Problems with this visit are the following.
   • The doctor specifically documented that the patient might need “collegial” review. This
       implies that the collegial review process is still active. IDOC should explain this
       documentation.15
   • This patient had recent hospitalization for worsening heart failure, and was re-hospitalized
       for unstable vital signs. He was recently started on multiple new medications for his heart
       failure. A better history should have been obtained and a physical examination performed.


13
   The pharmacy wrote on the non-formulary approval for Jardiance to monitor the patient and labs for adverse
effects. Dehydration is a side effect of this medication especially in the elderly. This patient was also taking a
diuretic. A significant adverse reaction is also acute kidney injury which this patient subsequently developed
without any monitoring.
14
   This is our emphasis. To discharge the patient from the infirmary without any history or examination is not
standard of care.
15
   Patients #1, #5, and #6 in these mortality reviews had references to collegial review. It appears that some form of
collegial review still exists which should be explained.


                                                                                                                   12
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     •   An updated therapeutic plan should have been documented noting the changes in his heart
         failure medication.
     •   The new identification of aortic aneurysm should have been noted and a referral for a repeat
         CT scan in a year should have been made.
     •   The problem list should have been updated.
     •   Because of the patient’s age, intermittent confusion, and serious medical conditions
         infirmary care should have been provided.
     •   The patient had not had chronic care monitoring of his original medical conditions (COPD,
         sleep apnea, osteoarthritis, hypertension, and abdominal hernia) for a year and a half and
         these should have been evaluated. He also did not have his newly diagnosed conditions of
         myocardial infarction, atrial fibrillation, and heart failure monitored since the prior
         hospitalization and the therapeutic plan for these should have been updated.
     •   The patient’s intermittent confusion and CT scan evidence of brain atrophy and small
         vessel disease should have resulted in a mini-cognitive test to assess for the potential for
         dementia.
     •   Though the doctor discussed end-of-life issues, this patient had a person named as power-
         of-attorney that was filed in the medical record and was dated 6/12/18. The person so
         named should have been contacted in the discussion of the physician orders for life
         sustaining treatment (POLST).
     •   To discharge this patient from the infirmary, given his age, history of intermittent
         confusion, movement disability due to severe osteoarthritis, fall history, and multiple
         serious cardio-pulmonary conditions was cruel. He needed some type of medically
         monitored housing. This placed the patient at risk of harm.
     •   The nurse, but not the doctor, wrote a formal infirmary discharge summary which is not
         consistent with current administrative directives.16 The nursing discharge summary
         continued on-call-coverage-physician-4’s orders for fall precautions, fluid restrictions with
         daily weights without indicating how this was to occur in general population. Coverage-
         physician-1 did not clarify those orders.

This 8/29/23 physician encounter was the last in-person encounter with a provider for this patient
until he died on 12/5/23. Significant subsequent medical issues occurred that warranted in-person
provider intervention.

On 9/5/23, a nurse saw the patient, who was now living in general population using a non-specific
discomfort protocol because the patient had edema of the legs with shortness of breath which
indicated a worsening of his heart failure. This may have been due to not receiving ordered
medication. Furosemide was recommended changed to 20 mg twice a day and was given at this
dose from 8/27/23 until 8/30/23. Then in September the furosemide wasn’t given for 4 days and
on September 5th it started again at its previous dosage of 40 mg daily instead of 20 mg twice a
day. There was no order found for this change. On 9/5/23, coverage-physician-4 ordered the
nurse, by phone, to instruct the ADA inmate helper to educate the patient related to appropriate


16
  Administrative Directive 04.03.120 G.5., requires that physicians, psychiatrists, or dentists can discharge a patient
from the infirmary and that a discharge note by the physician, psychiatrist or dentist is to be in the medical record.
The discharge note shall include a summary of the reasons for admission, the course in the infirmary, and the
discharge diagnosis and plans. This physician note did not accomplish these directions.


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sodium and water intake. The inmate was not trained and should not have been instructed to
provide patient care. This patient should have been placed on the infirmary but was not.

When the patient returned from the hospital 8/27/23 there were provider orders to start six new
medications recommended by the hospital but on 9/27/23 three medication orders for Entresto,
Jardiance, and Toprol expired without anyone noticing. New orders were not obtained. Orders
for Eliquis also expired in September and new orders were not obtained.

Laboratory tests returned on 9/21/23 showing a BUN of 40 which is very high and may indicate
significant dehydration and a creatinine of 2.13 which indicated acute kidney injury. Though
someone initialed these results no action was taken. The pharmacy had previously advised
monitoring for side-effects of Jardiance. Both acute kidney injury and dehydration are known
adverse effects of Jardiance but these were not acknowledged. The possibility of significant
adverse reaction to a medication was unacknowledged.

On 9/26/23 a nurse was checking the patient and noted a bruise on his shoulder which appeared to
be a few days old. No referral was made. There was no provider available. The nurse did not
question whether the patient fell.

On 10/2/23 at noon a nurse saw the patient because he felt weak, his stomach was upset, and he
had not been eating. The nurse used the non-specific discomfort protocol when a more appropriate
protocol should have been used.17 The patient’s blood pressure was 96/53. The nurse gave the
patient Pepto Bismol, which is not listed as a possible intervention on the non-specific discomfort
protocol. The nurse was practicing outside of scope and should have completed a more thorough
assessment and contacted a provider for direction. That same evening, at 8 pm, another nurse saw
the patient who complained of vomiting. He was unable to stand and was hypotensive with blood
pressure 89/55. On-call-coverage-physician-4 was called who ordered the patient to the ER. A
subsequent note by a nurse noted that the patient hadn’t eaten or drank for two days. A repeat
blood pressure was 80/58. The nurse documented a report was given to the emergency medical
responders.

The patient was hospitalized for three days. He had urinary retention relieved by catheterization.
He had anemia, severe dehydration, and renal failure (BUN 72 and creatinine 3.79). An indwelling
catheter was placed with a recommendation to see a urologist which did not occur at the prison.18
At the hospital the Apixaban, the blood thinner, was stopped for unclear reasons19. The patient
returned to the prison on 10/5/23. On the day he returned, a psychiatrist saw the patient and noted
he had significant decline since the last visit. He was disoriented to time and place. The patient
was admitted to the infirmary but was not examined by a provider.

The following day, 10/6/23 the patient was able to follow commands but was unable to support his
own weight and move himself in the bed or chair.

17
   Indigestion or Nausea/Vomiting protocols would have been more appropriate.
18
   We note that the Centralia 4th quarter offsite tracking log did not include this referral and a provider did not
evaluate the hospital record in follow up.
19
   It may have been stopped due to falls and cognitive disorder which are a risk for significant bleeding if the patient
experienced a fall.


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Two days later, on 10/8/23, at 5:30 the patient became incontinent when transferring and became
unresponsive with low blood pressure. The nurse called on-call-coverage-physician-4 who
ordered the patient transferred to the hospital. At the hospital, the patient received IV fluid and
was returned to the prison the same day without any new orders. On return to the prison, a
decubitus ulcer was noted. He was placed on the infirmary.

On 10/11/23, on-call-coverage-physician-3 gave an order for the dressing change. On-call-
coverage-physician-3 told the nurse that coverage-physician-1 would see the patient that evening
but this did not occur.

On 10/14/23 on-call-coverage-physician-4 was called about the patient’s decubitus wounds.

On 10/15/23, on-call-coverage-physician-4 conducted a telemedicine visit which was typed by a
nurse and signed by the physician. The nurse was unable to bring the patient to the telemedicine
room and the examination was conducted in a separate room by a nurse not visualized by the
physician. On-call-coverage-physician-4 said that coverage-physician-1 would evaluate the
patient and ordered a special cushion and to turn the patient every two hours. This visit was no
better than a phone call. Coverage-physician-1 did not see the patient as recommended by on-call-
coverage-physician-4.

On 10/15/23 a nurse attempted to call on-call-coverage-physician-4 but there was no answer.
About two hours later the nurse was able to reach the physician and medications for the decubitus
wound were clarified. The physician was making wound care decisions without having seen the
wounds.

The patient was still not evaluated by a provider when on 10/27/23 on-call-coverage-physician-4
apparently did a telemedicine evaluation but the note was written by a nurse. The evaluation was
extremely limited; the entire note stated,
       LCTA [lungs clear to auscultation], HR [heart rate] regular + rhythm seen by [Dr. X] via
       telemed. Orders to follow.

This was an inadequate note given the condition of the patient.

On 11/22/23 without any intervening provider visits, a nurse called on-call-coverage-physician-4
for hypoxia (oxygen saturation of 87%) who ordered the patient sent to the hospital.

In the hospital the patient appeared to have an infection, the CT scan showed profound brain
atrophy with senescent changes with an old infarct. The patient was lethargic but opened his eyes
to painful stimuli. He had spontaneous movements of his left upper extremity. He had acute
respiratory failure with sepsis and acute metabolic encephalopathy. The patient’s power of
attorney was finally reached by the hospital and the agreed patient goal was to keep the patient
comfortable and transition to hospice. The patient was sent back to the prison on 11/29/23.

A nurse admitted the patient to the infirmary on 11/29/23. Nurses called coverage-physician-1 for
orders for medications recommended by the hospital. The patient died on 12/5/23. The patient



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had not been seen in person by a provider since 8/27/23. None of the in-person physician visits
during 2023 were adequate or served the needs of the patient. This patient was basically without
physician care for the entire year during which time he had two specialty consultations and six
hospitalizations. He was not being monitored during this time for any of his medical conditions.
The two coverage physicians who provided the five in-person evaluations are not credentialed
based on Consent Decree requirements (II.A.2) and should not be providing primary care in IDOC
facilities.

This patient did not receive adequate physician care for the entire year of this record review. His
problems were not monitored or evaluated and sometimes not even acknowledged. There was no
autopsy. The death certificate lists the cause of death as hypoxic respiratory failure. Though the
patient had COPD, he had not been monitored for this disease and the death might have been
preventable if the heart failure and COPD had been managed appropriately. Importantly, the
patient’s cognitive status declined over time but was never diagnosed. If the patient had dementia,
palliative care might have been indicated earlier than when determined by a hospitalist about two
weeks before he died.


Patient #2

The patient was transferred to Centralia on 5/4/22 with a history of hepatitis C, hypertension,
hyperlipidemia and gastroesophageal reflux disease (GERD). The patient was transferred to
Centralia on Protonix, a medicine for GERD, Norvasc, Lipitor, and Colace. There was no
physician at Centralia. When he arrived at Centralia, the Protonix was not provided as a non-
formulary form needed to be filled out. Protonix or its equivalent is extremely common and there
was no reasonable excuse for not providing this medication or an equivalent. About three weeks
after arrival at Centralia, the patient complained about his “heartburn” and asked for the Protonix
that had been ordered. The nurse documented that a new order had been written. The patient had
not been informed about how to pick up medication ordered as keep on person until seeing the
nurse for this request and received the Protonix that had been ordered.

On 7/5/22, a nurse saw the patient for indigestion. The order for Protonix ran out on 6/11/2024.
There was an order for Pepcid 20 mg daily that was to start when the order for Protonix ran out
but no documentation was in the record that he received this medication. The nurse circled the line
on the form that said, “call MD or refer urgently”. This did not occur About three weeks later on
7/25/22 a nurse was to see the patient for a complaint of heartburn but the nurse wrote that the
patient was already on the wait list. The absence of a physician at this facility was resulting in not
addressing this patient’s medical needs.

Finally, on 8/5/22, three months after arrival, at Centralia, the patient saw a provider who
prescribed Prilosec. The patient was 55 years old and had not yet had colorectal cancer screening.
Because of his abdominal complaint, a blood count and colonoscopy and/or FIT testing should
have been done. For the complaint of repeated heartburn, an upper endoscopy and/or imaging
study (e.g., CT scan) would have been indicated depending on the symptoms which were not
obtained. These symptoms appeared to be present for some time as the patient had already been
prescribed medication.


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On 8/31/22 a nurse wrote on a progress note that the patient complained that the medication was
ineffective but added that the patient was already seen for this problem and the patient was not
seen. The nurse did not evaluate the patient. Because of the patient’s repeated complaints, upper
endoscopy should have been done but there was no physician at this site and he was not evaluated.

On 11/24/22 the patient complained of back pain and was referred to a physician but was not seen.
On 12/4/22 the patient complained of back pain. A nurse saw the patient and gave acetaminophen
by protocol without referral. On 12/29/22 a nurse saw the patient again for back pain and made a
check on a box stating to refer to a physician if no improvement after 48 hours of trial of the
treatment protocol. This referral did not occur until 4/12/23, four months later. On 2/8/23 the
patient again complained of back pain. The patient’s blood pressure was 160/91. The nurse did
not retake the blood pressure or look to see if there were other elevated readings and despite the
protocol’s direction again did not refer the patient. The lack of a physician at this facility was
significantly affecting care for this patient. Repeated back with abdominal pain should have
resulted in a CT scan and possibly an upper endoscopy. These tests would have depended on
specific symptoms but the patient did not see a provider.

A coverage physician, who does not meet Consent Decree credentialing requirements, saw the
patient for back pain on 4/12/23, apparently based on the nurse referral from 12/29/23. The only
history was that the patient had back pain for two weeks which is inaccurate. The patient had back
pain for at least five months. The only examination was to document “weight stable”. In fact, the
patient had lost ten pounds the last two months. The assessment only repeated the patient’s
complaint of back and abdominal pain and the plan was an abdominal x-ray which is not an
effective test to evaluate the patient’s problems. A CT scan or MRI should have been done if an
imaging study was deemed necessary; an endoscopy may also have been indicated depending on
the history. But the history only repeated a chief complaint. This evaluation was not competently
performed. The entire note is shown below.
        S: Patient is [with] c/o [chief complaint of] back pain. States [something illegible] past
        two weeks
        O: weight stable
        A: Back and abdominal pain
        P: KUB/lumbar


Two weeks later, on 4/20/23, a nurse again saw the patient for back pain which started when the
patient had “stomach issues”. The nurse wrote that the patient had recently seen a physician who
had addressed the problem. The nurse used the non-specific discomfort protocol to give the patient
acetaminophen when another protocol would have provided more appropriate guidance. The
patient had complained of difficulty digesting food and the nurse noted a six pound weight loss
since the physician visit. Despite documenting the loss of weight, the nurse’s assessment was no
weight loss. There was no referral to a provider. The lack of a physician at this facility was a
barrier to appropriate care.

On 5/4/23 a nurse saw the patient for complaints of black/green soft stool which had been present
for about a month. The patient also complained of loss of appetite. The patient weighed 189



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pounds and had weighed 209 pounds on 2/8/23. The nurse noted the weight loss and also
documented that the patient was unable to eat but wanted to. The patient was referred to a provider
but had not been seen when three days later, on 5/7/23, the patient complained of abdominal pain
in all quadrants with green loose stools. The patient also had nausea. The weight was 182 pounds
which was a 27 pound weight loss. The nurse who saw the patient took no history of the patient’s
abdominal complaints and did not review the record. The nurse noted abdominal distention which
by protocol requires contacting a provider but no referral was made. This patient should have been
sent to a hospital.

On 5/10/23, a doctor saw the patient for inability to eat and weight loss. The patient had fever
(100.5) and was tachycardic (104). The patient said he had diarrhea of light green stool if he ate.
He had jaundice. There was no further examination. There was no assessment. An urgent consult
for colonoscopy was made and multiple labs were ordered. The patient had weight loss, almost a
year of abdominal pain, jaundice and fever. He should have been admitted to a hospital. Two days
later, a nurse saw the patient for flank pain for a month. The patient had weight loss and fever. An
on-call doctor ordered the patient sent to a hospital.

After arrival at the local hospital the patient was found to have significant CT scan findings as well
as significantly abnormal laboratory tests and was transferred to a reference hospital where he was
diagnosed with cholangiocarcinoma, a cancer of the bile duct. A stent was placed in the bile duct
and the patient was discharged with a recommendation to see a cancer specialist within 1-2 weeks
and for colonoscopy. It was unclear when this patient was referred to the specialist.20

When the patient returned to the prison, on 5/19/23, the nurse did not document receipt of a hospital
report. A hospital report was present. An on-call doctor ordered Prilosec and the patient was sent
to general population. The patient now weighed 177 pounds over a 30 pound weight loss. There
was no evidence of a physician review of the hospital report within two days. Four days after
return from the hospital a coverage doctor ordered a routine referral for colonoscopy but there was
no authorization document for this referral although an authorization number was documented on
the referral. This referral never occurred and was not present on the 1st and 2nd quarter offsite
specialty care tracking log.21 There was no provider referral to oncology but there was an
authorization document that documented a referral to oncology was made 5/22/23 and was
authorized on 5/23/23. Since there was no referral and no progress note documenting review of
the hospital record by a provider, it appeared that this referral was made by the scheduling clerk.
This referral was the only referral that was on the 2nd quarter specialty tracking log because it
occurred. At Centralia only completed referrals are tracked. On 5/23/23 a coverage physician
wrote a referral for colonoscopy but there was no associated progress note. There was an
authorization number on the referral form but no authorization document from the vendor. This
referral was not present on the 2nd quarter offsite specialty referral log likely because it was never
completed.


20
   Even though this patient went to the oncologist on 5/24/23, the tracking log did not include a referral date so the
tracking log is incomplete. The tracking log at Centralia changed over time. In the past it included when a patient
was referred but the current log only tracks completed consultations and not referrals that never are completed. This
is not a tracking log.
21
   Centralia, apparently, only tracks completed appointments which is inappropriate.


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On 5/25/23 a nurse saw the patient and documented on a “return from furlough” form. This was
apparently a consultation with the oncologist. In effect, a nurse was now providing post
consultation review with assistance from phone calls with a coverage provider. There was no
report but an after-visit summary documented “port placement needed please”. The consultant’s
report was not present and the recommendations of the consultant were not documented in progress
notes. The nurse did document receiving orders from the consultant for Zofran (an antiemetic),
Ultram and Naprosyn (pain medication) stopping oxycodone, avoiding Tylenol, and a referral for
a port for chemotherapy. There must have been some communication from the specialist but it
could not be found in the medical record. The nurse documented going over the orders with the
facility physician who was a coverage doctor. This apparently occurred over the phone. On the
same day a coverage doctor wrote a referral to oncology for palliative chemotherapy and to
surgical oncology for a port. Both documents had authorization numbers written on the referrals
but neither had an authorization document. Neither the referral to surgical oncology for the port
nor the referral back to oncology for palliative chemotherapy were on the 2nd quarter specialty
tracking log22 but the oncology appointment was on the 5/21/23 tracking log because it was the
only one that occurred. This verifies that only completed consultations are placed on this log. A
provider did not see the patient post consultation to review recommendations of the consultant
with the patient or to update a plan of care. Nor was there a provider progress note to document
review of the consultant’s report.

The patient had yet to see a provider after hospitalization when on 5/27/23 security told a nurse
that the patient was too weak to come for his medication due to vomiting. A nurse evaluated the
patient who had “generalized weakness”. There was no provider at this facility and the nurse’s
plan was to have the patient come to the health unit as needed. If the patient was too weak to come
for medications how would he come to the health unit “as needed”. This did not consider that a
patient who had terminal cancer and was housed in general population was too weak to come to
the health unit for his medication. This patient did not appear appropriately housed. The MAR
had no documentation that the patient was offered Zofran, the antiemetic or Naprosyn, the pain
medication. The Ultram was provided twice on 5/27 but there was no documentation of offering
the medication on the 25th, 26th, or 28th. The following day, 5/28/23, a nurse evaluated the patient
for jaundice. The nurse called an on-call physician who ordered the patient to a local hospital.
The patient returned from the hospital on 5/31/23 on palliative care. The patient was confused.
There was one brief nursing note on 6/1/23 stating that the mother was called to approve a
procedure to withdraw fluid from the abdomen. There were no notes documenting care of the
patient. On 6/5/23 the patient died, apparently in the hospital, although there were no facility
progress note documenting where he died.

An autopsy was not performed. Symptoms of the patient’s cholangiocarcinoma were present about
a year before it was ultimately diagnosed. Despite long-standing complaint of both abdominal
pain and back pain, there was no provider review of systems or history to attempt to identify the
source of the complaint. Earlier intervention should have been done. While earlier intervention
may not have resulted in a cure, five-year survival would have been improved. This patient likely
died earlier than he otherwise would have, had timely intervention occurred. The lack of care
provided to this patient appeared directly related to the lack of physician coverage at this facility.

22
  This was a combined log but had no information for specialty care for this time period. It does not appear that an
accurate log was sent.


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Patient #3

This was another patient from Centralia who was a 69 year-old man who was incarcerated in April
2022. At NRC the patient was identified with COPD and hepatitis C infection. Laboratory tests
were abnormal including low albumin (3.2), an elevated liver enzyme (AST 58), a large
quantitative hepatitis C virus, and elevated bilirubin (1.8). A fibroscan showed F4 fibrosis which
is equivalent to cirrhosis. The laboratory tests added confirmation to a diagnosis of cirrhosis. On
5/3/22, a physician at NRC documented in a progress note that the patient was to be transferred to
an emergency room for a work up for his hepatitis C; this didn’t occur. The patient had criteria for
cirrhosis and needed referrals for ultrasound to evaluate for hepatocellular carcinoma, and
endoscopy to evaluate for varices and further treatment for hepatitis C and cirrhosis but urgent
hospitalization did not appear necessary.

Nevertheless, the patient was transferred to Centralia where there was no full time physician. The
only problem on the problem list was chronic obstructive pulmonary disease (COPD); hepatitis C
and cirrhosis were not added. The hepatitis C and cirrhosis were unnoticed on the transfer likely
to not being on the problem list. The patient with likely decompensated cirrhosis was not
scheduled to be seen by a provider.

On 5/22/22, a nurse evaluated the patient using a venous insufficiency protocol likely because the
patient had 3+ edema of the legs. This was likely a result of the patient’s cirrhosis although heart
failure would have to be ruled out. There was no evidence of kidney disease. The nurse referred
to a provider and a physician assistant saw the patient on 5/25/22. The history was extremely brief
and repeated the complaint of swollen feet with an added comment that the patient had not had
swollen feet before. Except for documenting no cardiac history there was no review of systems
relevant to swollen feet and the physician assistant did not review laboratory results which clearly
indicated cirrhosis. The examination only included looking at the patient’s ears which was related
to another complaint of hearing difficulty. Ear wax was noted. The only assessment, based on
listening to the complaint was COPD and foot swelling. Medication for his ear wax was given but
the only plan for the swollen feet was to elevate the feet. This patient with cirrhosis had swelling
likely due to his cirrhosis. The patient’s abdomen should have been examined to assess for
enlarged liver, enlarged spleen, and for ascites. A diuretic and beta blocker should have been
prescribed. Referrals should have been made for hepatitis C treatment, ultrasound of the abdomen
to assess for ascites and to evaluate the liver and spleen and to evaluate for hepatocellular
carcinoma, and referral for upper endoscopy to assess for varices. None of these were done and
the patient remained lost to follow up.

On 6/15/22 a non-credentialed coverage physician saw the patient in follow up of a hearing test
but the physician documented that the patient was in clinic for follow up of treatment for his ear
wax. This physician did not address any of the patient’s other problems despite the lack of a
physician at this facility. He noted persistent ear wax and ordered follow up in five days again
after continued use of medication to dissolve the ear wax.




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On 6/16/22 an optometrist referred the patient for cataract removal; this referral was authorized on
6/24/22. Another coverage physician saw the patient on 7/8/22 for the follow for his ear wax
made on 6/15/22. Only the ear wax was addressed.

On 8/1/22 a nurse admitted the patient to the infirmary for 23 hours observation due to 3+ leg
edema. An on-call physician ordered multiple labs, an EKG, and a chest x-ray. The EKG showed
first degree heart block and was signed as reviewed by an on-call physician but was not dated
when reviewed. By 8/2/22 the x-ray had not been completed and a physician had not seen the
patient. The vendor Regional Medical Director was called who directed that the x-ray be read stat
and if this couldn’t be done that the patient be sent to an emergency room. The x-ray wasn’t done.
The patient was sent to an ER early in the day on 8/2/22. It didn’t appear that the patient was
evaluated at the hospital because an after-care summary documented that labs, an x-ray and EKG
were done with a recommendation to follow up with a hospital physician in a day which did not
occur. A nurse called the on-call doctor later on 8/2/22 who gave a telephone order for oxygen and
a diuretic for seven days and the patient was admitted to the infirmary. The order for oxygen was
incomplete and should have included the duration, mode of delivery and parameters for escalation.

At this point the patient was short of breath; the oxygen saturation was 88%23 which warranted
transfer to a hospital. There was no examination of the patient. The patient was not sent to the
hospital-based primary care physician as recommended by the hospital despite there being no
physician at this facility. The on-call physician made no diagnosis. A physician did not evaluate
the patient; nor did nursing staff document daily evaluations while the patient was on the infirmary.
Nursing notes were completed weekly or longer with the next documented evaluation on 8/7/22
when the oxygen saturation was 87%. The nurse did not call a physician. The next nursing
evaluation was on 8/14/22 with an oxygen saturation of 86%. The next nurse visit was on 8/28/22
and the oxygen saturation had risen to 93%. This patient was not appropriately housed because
the patient was on an infirmary without a physician present at the facility. During much of the
month the patient needed hospitalization or transfer to another infirmary for physician care.

The stat chest x-ray ordered 8/1/22 was signed as reviewed by a coverage physician on 8/22/22
and showed chronic interstitial edema, COPD with volume loss in the right upper lung. The non-
credentialed coverage doctor did not document seeing the patient. It was still unclear if the
patient’s edema was due to heart failure or cirrhosis and there was no evaluation of the patient.
Laboratory tests ordered on 8/1/22 showed hypothyroidism (TSH 6.98), very low albumin (2.9),
an elevated liver test (AST 49) and elevated bilirubin (2.2); the latter three tests indicating
cirrhosis. A d-dimer test was high at 1.2 (normal 0..1-0.5); this test is used to exclude pulmonary
embolism and when positive pulmonary embolism should be ruled out. These tests indicate that
the patient needed higher level diagnostic intervention, but the patient was not referred to a hospital
or for immediate diagnostic testing.

The patient continued to remain on the infirmary and was seen only by nurses intermittently and
infrequently. This was contrary to IDOC administrative directive 04.03.120 that requires a
physician to write an admission note to the infirmary and write weekly notes at a minimum. On

23
  The oxygen saturation value is dependent on the cause and personal history of the patient. This patient only had a
diagnosis of COPD without history of prior exacerbations. With this history, hospitalization would be indicated
particularly because there was no physician at this facility to evaluate or manage the patient.


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9/4/22 a nurse documented that the patient’s oxygen saturation decreased to 91% when walking.
There was still no physician examination. The patient still had edema and was without a diagnosis
for it. On 10/16/22 a nurse wrote in the plan to increase oxygen flow as needed with activity to
keep oxygen saturation above 95%. The following week another nurse wrote in the plan to
maintain oxygen saturation between 93-95%. Nurses are not legally authorized to adjust oxygen
unless it is in the order. There was no such order.

On 10/5/22 the patient had a cataract removed. On 11/6/22 at one of the weekly nursing visits, the
nurse documented that the patient had a blood pressure of 86/48 with an oxygen saturation of 93%.
The nurse’s plan was to increase water and salt intake to increase the blood pressure. If this
patient’s edema was due to his cirrhosis, this would likely make the edema worse. There was still
no physician evaluation. Nurses were managing the patient’s problems; these plans were beyond
their scope of practice. The patient’s blood pressure was at shock value and should have been
evaluated by a provider promptly.

On 11/13/22 the oxygen saturation was 89% on three liters of oxygen. The nurse made no referral
stating that his blood pressure had improved. The patient had been in the infirmary now for three
months and had yet to see a provider. Patient outcomes are compromised when nurses are expected
to manage patient care by telephone order only.

A coverage physician who is non-credentialed24 finally saw the patient on 11/16/22 for follow up
of COPD. The note was brief and did not include review of the record to identify abnormal
laboratory tests including the prior chest x-ray and EKG. The entire note stated:
       “S: COPD
       O: no change in breathing status. Patient poor vision; bilateral cataracts
       A: COPD, cataracts
       P: Patient has scheduled treatments for eyes . No change in meds.

At this visit, the physician should have initiated a prompt diagnostic evaluation of the patient to
include: 1) early referral for hepatitis C treatment, 2) a CT scan of chest (for COPD) and
ultrasound of the abdomen to screen for cirrhosis and ascites; 3) spirometry and staging of his
COPD; 4) testing for need for continuous oxygen therapy, 5) echocardiogram to eliminate heart
failure as the cause of his edema, 6) monitoring of electrolytes since he was on Lasix without
potassium, 7) upper endoscopy to evaluate for varices, 8) vaccinations for hepatitis B; 9) monitor
the CBC, platelets, sodium, creatinine, regularly; and 10) monitor regularly for signs of
encephalopathy and treat with lactulose as indicated. This physician failed to do any of these. He
should not be practicing in IDOC as he doesn't have required credentials and practices in an unsafe
and clinically inappropriate manner.

Another examination, this time an annual health assessment was by a non-credentialed physician
on 12/7/22. The provider documented that the patient had no teeth but did not refer the patient to
a dentist. The patient was not questioned about his ability to eat. The COPD was not evaluated,
prior abnormal laboratory and diagnostic tests were not reviewed. There was no history and the
only examination was that the patient had no teeth, had wax in his ears, and one illegible word

24
  The Consent Decree requires physicians to have completed training in a primary care residency which this
physician did not have.


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regarding his pupils. The COPD, cirrhosis, and hepatitis C which were paramount were not
included in this pro-forma evaluation.

On 1/5/23 the patient had his second cataract surgery. The patient was admitted after the surgery
to the infirmary. The admission note was completed by a non-credentialed coverage physician
who took no history and conducted no physical examination. The only assessment was COPD and
recent eye surgery. The plan was to continue oxygen intermittently at 2 liters but no directions
were given for when to give the oxygen. The plan of care includes no post-surgical eye care
directions, including medication. This again was unsafe and clinically inappropriate physician
practice as none of the patients serious medical conditions were appropriately evaluated or
managed.

On 1/27/23, a nurse called a physician at another facility about the patient’s leg edema. The
physician said he was “really behind” and to educate the patient to cut back on salt, and to elevate
his legs. He also asked to have one of the non-credentialed physicians who were covering the
facility see the patient in a few days. The patient wasn’t evaluated for two weeks.

When the non-credentialed coverage physician saw the patient on 2/15/23 the history was swelling
of his feet. There was no review of systems to identify why the patient may have had leg edema.
The entire note was as follows:
        “S: has feet swelling for [about] 3-4 weeks. Had swelling in the past and given diuretics.
        O: 2+ edema bilateral legs
        A: Discussed diuresis and stockings
        P: Weekly weights, compression stockings, Lasix 40 mg po for five days; Labs: UA [culture
        and sensitivity], CMP [complete metabolic panel, a blood test]

It wasn’t clear if the patient’s edema was caused by COPD or cirrhosis and further diagnostic
efforts were needed. Also, the patient should have been referred for treatment of his hepatitis C.
This was an unsafe and clinically inappropriate evaluation.

Laboratory test results were abnormal and on 2/23/23, a nurse called an on-all physician who gave
orders for potassium, a repeat urine culture and Tylenol. Three days later, the patient complained
that he had skin broken down. The nurse noted a one centimeter ulcer on the bottom of the patient’s
foot. The patient’s blood pressure was 87/49. His low blood pressure had not been evaluated by
a provider. The nurse treated the wound with triple antibiotic ointment without an order or
directions from a protocol. This is another example of a nurse acting outside their scope of practice
in the absence of physician direction.

On 3/2/23 a nurse saw the patient for shortness of breath. The oxygen saturation was low (92%)
and the nurse identified abnormal lung sounds. An on-call physician ordered the patient sent to an
ER. At a local hospital the patient had pancytopenia with an extremely low white count (2.2),
anemia (Hgb 13.3), low platelets (47,000), low albumin, and elevated liver function tests including
bilirubin. A COVID test was positive. A CT scan of the abdomen showed ascites, splenomegaly,
a lung nodule and possible cirrhosis. The patient was treated with prednisone and released two
days later with recommendations to see an oncologist due to the pancytopenia and to see a




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gastroenterologist (likely for his hepatitis C and cirrhosis) and for a follow up CT scan in six
months. These referrals were not present on the 1st quarter offsite specialty log.

The patient returned to Centralia on 3/4/23 and the nurse accepting the patient did not document
the hospital diagnoses did note the referral to oncology but not the referral to gastroenterology, or
the follow up CT scan. There was no physician or provider admission evaluation. On 3/5/23 a
nurse documented an oxygen saturation of 80% even after increasing the supplemental oxygen
rate to three liters. The patient also had a fever of 102. An on-call doctor was contacted and advised
sending the patient back to the hospital.

At the hospital, the bilirubin rose to 4.2 indicating worsening liver failure; heart failure was newly
diagnosed. The patient became disoriented. A discharge summary written on 3/17/23 documented
that both the patient and security staff told the hospitalist that the oxygen concentrator that the
patient used needed maintenance for quite some time, implying that it was not working. The
patient’s diagnoses were COPD, decompensated hepatitis C cirrhosis, abdominal ascites,
encephalopathy due to cirrhosis, chronic low white count and platelets, and COVID. The patient
had completed a course of antibiotics and prednisone. The hospital identified a power of attorney
(apparently a family member) who elected to transition the patient to palliative care due to his end-
stage disease. The patient died prior to discharge from the hospital.

This patient was never seen in chronic clinic. He was cared for by nurses in the infirmary and was
only seen by a provider four times in the eight months before his death. The four times he was
seen, the encounter was inconsequential and did not address the patient's underlying clinical
disease.

This patient did not have an autopsy. However, he appeared to have decompensated cirrhosis for
almost a year without having been referred for treatment of his hepatitis C and without a
therapeutic plan for his cirrhosis despite deterioration of his condition. The patient might have
survived longer and would have suffered less if appropriate treatment had been provided.

Patient #4

Failure to manage the patient’s dementia including appropriate housing .

This patient was housed on the infirmary at NRC. This patient appeared to be incarcerated at NRC
on 2/25/22. Intake records and medical records from February of 2022 until June of 2022 are
absent. The patient was 64 years old. It was unclear, due to lack of records, when the patient
initially began experiencing dementia. But the patient had dementia and was incontinent of urine
and stool, combative at times, and was described on 7/1/22 by a physician as having, “no capacity
to make decisions to protect his interests”. Because the patient was under custody of IDOC, they
were responsible for this patient. According to Illinois regulation25 such a person requires
assignment of a surrogate, consistent with the Surrogate Act, or for the Court to name a guardian.
This did not occur. As a result, the patient was treated as if he were capable of decisional capacity



25
     (755 ILCS 40/) Health Care Surrogate Act


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when he did not have that capacity. This was a significant failure to adhere to state regulation and
to recognize the need of the patient to have someone make medical decisions for him.

IDOC consistently documented that the patient “refused” care including: eating, taking showers,
cleaning feces off his body, and cooperating with evaluations. Though the patient at times didn’t
know where he was, thought it was 192326, hallucinated27, talked to himself or people who were
not present, he was treated as someone who had capacity to give a refusal. Examples include the
following.
    • A physical therapist did not perform an evaluation or give therapy because the patient
       “refused” service.
    • Meals, medications, and hygiene services were often documented as “refused” and refusal
       forms were completed as if the person had capacity to make a decision to refuse.
       Sometimes, the refusal was documented as the patient “refused to sign”28
    • In some cases, staff completing the refusal form knew that the patient was cognitively
       impaired and unable to make a decision yet would complete the refusal form as if the
       patient had capacity to do so. For example:
           o The patient was said to have refused evaluation of a pressure wound on 12/22/22
               and a nurse documented that the “individual in custody unable to write or sign name
               or make an X due to cognitive decline”.
           o On 8/22/22 a nurse documented the patient saying, “Get out of here. No get out of
               here… alligators” when attempting to clean the patient. He was described as having
               formed stool on the floor next to his bed and “smashed stool” on the mattress and
               ledge of the metal bed frame. The nurse documented that the patient, “will not sit
               up or consent to cuffing up to administer medications prescribed or to get into the
               room clean up feces”. The nurse notified the medical provider of the patient’s
               worsening “noncompliance with care”. The “noncompliance” did not appear
               intentional and misrepresented the status of the patient.
           o On 12/21/22, the patient was described as having feces all over him. A nurse
               assistant cleaned the right hand and arm and the left foot but the patient refused
               further cleaning. Later, the patient refused a bath to clean the feces off and the
               nurse assistant documented on the refusal form that the “ind. In cust (individual in
               custody) unable to follow simple directions at this time” and “unable to sign
               [refusal] due to ↓ cognitive ability”29

This patient may have not cooperated with care or indeed said he didn’t want care, but he had
dementia and should have been treated in a manner to protect him, ensure his dignity, ensure he
was safe, and provided assistance in a manner to accommodate his disability. IDOC needed to
identify a surrogate so that safe and appropriate care could be provided. This was not done.




26
   The histories in the prison were not thorough, this history was obtained by a hospitalist during an 8/23/22
admission.
27
   The patient was described as having auditory and visual hallucinations and pressing a door bell that was not there
on 9/21/22 by a nurse.
28
   As on 9/30/22 when staff offered medications and meals.
29
   12/22/22 refusal for medical intervention and bathing in medical record.


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IDOC does not have a medical classification30 system that guides appropriate assignment of
housing based on the patient’s disability. This patient with dementia was housed in the NRC
infirmary in isolation in a single cell with apparently a single window on the door. Based on the
2nd Court Expert’s report in 2017, NRC had a 20 bed infirmary with 12 beds assigned to medical
and eight beds assigned to mental health. At that time, the infirmary beds were nonadjustable and
fixed to the floor. For most of the time during this record review, this patient’s mattress was on the
floor next to the bedframe and he slept on the floor. Nurses do not have direct visualization of
patients on this infirmary. Although there is a call button next to the bed to alert the nurse of a
problem, this patient may have been incapable of using this device due to his dementia. The result
was that this patient was unobserved and kept in an isolated room, the equivalent of unobserved
solitary confinement. Typically, isolation is known to promote advancement of dementia31 and
there is no literature supporting isolation as treatment for dementia. Yet, this patient was held in
isolation for the entire nine months of record review without consideration that it may have
affected his status adversely. Contact with other humans, as documented in the medical record
was a few times a day when nurses provided medications or attempted to bathe or carry out ordered
care. Food was provided several times a day but those encounters are not documented. The
medical record documents two to three encounters a day. It is our opinion, supported by medical
literature32, that this type of structural isolation adversely affected this individual. IDOC has not
developed safe housing for patients with dementia and the results are evident in the care of this
patient. The Monitor has recommended, including in the Implementation Plan (items 64-70 of
Implementation Plan) that a consultant evaluate and make recommendations to determine the
needs of those with dementia, memory impairment, the aged, and other disabilities to determine
their needs and provide recommendation for how their housing and programming can be improved.
This has not been done.

Patients with dementia can have neuropsychiatric symptoms related to their disease including
agitation, aggression, delusions, hallucinations, paranoia, wandering, disinhibition, and sleep
disturbances which are observed in 60-90 percent of patients with dementia.33 This patient
appeared to have all of these symptoms. The reaction to these symptoms did not result in a medical
intervention and in the absence of a medical plan of care was responded to with custody practices
which was misplaced and unnecessarily cruel.

On 8/31/22, a nurse documented the patient saying “I’m going to break both your legs N…..! O:
[objective section of note] patient standing at door threatening officer for no apparent reason. Cell
door + chuck hole remain closed @ present. Unable to admin prescribed meds due to ↑ed agitation
w/ aggression”. This patient’s aggression, which was likely due to his dementia and beyond his
control, was addressed by isolation and solitary confinement.



30
   IDOC has no medical classification system. Medical classification is used in some corrections systems to identify
classes of individuals to ensure housing and assignments are commensurate with their medical condition.
31
   Centers for Disease Control webpage “Loneliness and Social Isolation Linked to Serious Health Conditions”.
This page states that social isolation was associated with about a 50% increased risk for dementia and social
isolation significantly increased a person’s risk of premature death from all causes.
32
   The UpToDate section on Risk Factors for Cognitive Decline and Dementia, states that “social isolation may be a
prodromal symptom of dementia, but growing evidence suggests that it may also be a risk factor for dementia”.
33
   See UpToDate section on Management of neuropsychiatric symptoms of dementia.


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On 1/19/23, a nurse documented that the patient, “occasionally come[s] to the window, yell and
bang the window, urinate in the toilet, then go back to sleep”.

The patient exhibited aggression which was overwhelmingly verbal and less frequently physically
threatening. There were a few documented reports in the record of attempted and actual hitting of
staff34. This is consistent with reports of aggression by elderly patients towards nursing home
staff which are mostly verbal but can be physical35. This aggression is real and needs to be
addressed for the safety of the staff. This patient’s aggression was a result of his dementia which
is a medical condition, and any restraint should have been addressed through medical
authorization. Instead, restraints used for this patient were applied by custody and monitored by
custody in response to a perceived security issue for which the patient was held personally
responsible. The basis for the custody restraints was what a nurse described as “staff assaulter
status”. The management of this patient’s aggression resulted in excessive use of custody
restraints. Custody use of restraints for medical reasons violates National Commission in
Correctional Health Care (NCCHC) standards and medical standards of care. When medical
restraints are used, they must be authorized by medical providers, renewed daily, monitored
frequently, used in the least restrictive manner, documented in the medical record each time they
are used, and have clinical indications. With respect to medical restraints in dementia,
UpToDate36 states,
        “physical restraints are rarely indicated in the care of patients with dementia and should be
        used only for patients who pose an imminent risk of physical harm to themselves or others,
        with frequent evaluation of continued need. Reasons for the use of physical restraints must
        be documented adequately. …….. Before resorting to restraints, we refer patients to in-
        patient geriatric psychiatry programs.”

IDOC completed a policy on medical restraints (I.05.01 Medical Restraints). The Monitor
received the draft of this policy and procedure 8/23/23 and returned extensive comments and
revisions to IDOC on 2/6/2024. IDOC elected to send out a manual of final policies and
procedures, which included I.05.01 Medical Restraints on 2/9/2024. Therefore, the IDOC policy
and procedure on medical restraints did not have any input from the Monitor. IDOC needs to
consider the extensive comments that were provided on the draft during the annual review of this
policy and procedure. Problems with use of custody restraint for medical purposes will continue.
Examples of relying on custody restraint for medical purposes in the care of this patient include
the following.

On 8/3/22 an emergency room doctor documented in his note that:


34
   The patient did apparently take a swing at a physician on 9/27/22. On 9/20/22, a nurse documented that the
patient attempted to attack staff who were monitoring him. On 10/14/22, a nurse did document that the patient hit a
nurse who was performing an evaluation. On 11/21/22, a physician wrote that he saw the patient in the presence of
a custody staff and that he slapped the doctor’s hand instead of shaking it. There is no question the patient’s verbal
aggression and actions (throwing food and trays as example) frightened staff and that there was verbal aggression
and a couple of physical assaults.
35
   Lachs MS, Rosen T, Teresi JA, Eimicke JP, Ramirez M, Silver S, Pillemer K; Verbal and Physical Aggression
Directed at Nursing Home Staff by Residents. J Gen Intern Med 2013 May: 28(5): 660-667
36
   UpToDate is a web based software that is a point of care evidence-based clinical resource used in many hospitals,
HMOs and physician practices in the United States.


                                                                                                                   27
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        “per guards at bedside, patient seems to be at his baseline status. They do note that he has
        episodes of intermittent agitation and today required physical restraint as well as Mace
        spray several hours ago” (our emphasis).

On 8/17/22, a nurse documented that the patient asked to have handcuffs taken off. Apparently,
the patient was shackled with cuffs behind his back for purposes of showering. The patient agreed
to being cuffed with hands in front. The nursing plan on this date documented to continue under
“staff assaulter status”. The patient was treated as a cognitively intact prisoner who assaults staff
(custody procedures) instead of as a patient with dementia who is aggressive (requiring medical
management). There are no acceptable medical procedures for addressing aggression in demented
patients, so custody practices prevailed. Medical providers conducted no evaluation to determine
the appropriateness of this form of restraint. This was inappropriate, unethical, contrary to
correctional and medical standards, and abusive.

On 8/31/22, the patient fell and the nurse went to the cell window to look at the patient. The nurse
asked a lieutenant and the infirmary officer to open the door. This was done and the lieutenant
directed the patient to sit down several times. The patient approached with clenched fists and the
officers closed the door and no evaluation of his status after the fall occurred. The patient was left
in his locked cell alone, after a fall with no clinical evaluation of injury.

On 12/22/22, a nurse documented that a tactical team came to the cell and shackled the inmate’s
hands and legs and placed the patient on a shower chair so the patient could be washed.

On 1/14/23, a porter witnessed the patient falling backward in his cell. The patient had an arm
wound but when medical staff sat the patient up, he began having a seizure and he was laid back
down. When assessed later, the patient began seizing again. A nurse called a provider who ordered
the patient to the hospital. The patient was transferred to the hospital with leg irons and waist
chains. This was present as a verbal order in the medical record. It is dangerous to shackle a
patient who is at high risk for seizure as serious harm can occur.37

On 3/16/23, the patient was found unconscious with fixed pinpoint pupils. He was not responsive.
He was transferred to the hospital in waist chains and leg irons. He was found to have massive
brain bleeds and subsequently died. This use of restraints was also approved by a verbal order of
a physician. The patient was unconscious after a head injury and to shackle him was clinically
inappropriate.

Though the patient’s dementia was considered a problem, the plan of action regarding dementia
was not clearly documented and was ineffective. The patient should have had a neurocognitive
evaluation by a neurologist who is trained to evaluate neurocognitive disorders. This was not done.
One physician’s notes typically included, as a plan, “if not better or any problem to notify nursing
staff”. This doctor had already identified that the patient was incapable of making medical

37
   In this case and the one that follows, medical staff agreed to shackling a person who may have been harmed by the
shackling. IDOC must develop procedures for appropriate restraint of medical patients. Patients who have gran mal
seizures have uncontrolled movements that are sudden and forceful. Shackling can result in harm- see Shackling in
Hospitals from the Journal of General Internal Medicine at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8971251/


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decisions due to severe dementia yet, the doctor’s typical plan was for the patient to notify nursing
staff of his problems. The patient was incapable of doing this.

Providers attempted to consult with psychiatry to develop a management strategy for this patient’s
dementia, aggressive behavior and agitation but there was no evidence in the record of this
occurring for nine months until shortly before the inmate’s death. Current policy and procedure
provides no guidance on how to care for a person with dementia. Providers did not know how to
manage this patient and attempted on two occasions to get help from psychiatry who did not
provide consultation as requested. This facility did not have the capacity to manage this patient.

In one note on 8/9/22, a physician described consulting senior psychiatry staff regarding
management of the patient. He stated,
      “I need direction from MH [mental health] Department how to manage this pt [patient]
      when he lost mental capacity to make decision to protect his own health and safety and
      safety of others because of uncontrollable violent aggressive behavior”.

The doctor documented that mental health could not evaluate the patient because the patient could
not give consent but noted that the mental health advice was not to use benzodiazepines because
of “reciprocal agitation” and not to use haloperidol as well. The doctor explained to the mental
health team that the patient was on clopidogrel and aspirin and the possibility of severe injury to
his head existed and that he needed to either chemically or physically restrain the patient because
of the risk of injury. The doctor did not have a plan for management of this demented patient’s
aggression, confusion, and agitation and saw the only solution as asking mental health for advice
on chemical restraint.

There was no note by mental health based on the physician’s request. But a day later, on 8/10/22,
the same physician documented that care of the patient was discussed with mental health. A plan
of care was not documented.

On 8/11/22 the same physician documented that a conference call with “regional” [presumably the
regional Medical Director and administrator] and the Director of Nursing [unclear if this was the
regional director of nursing or the facility director of nursing]. The doctor wrote the discussion
was about, “IDOC [with] regard to proper safe placement. This placement [illegible word] will be
addressed by IDOC”. This appears to indicate that the plan was to place the patient in another
facility or in a nursing home but the plan was not specifically documented and no such placement
ever occurred. It is not even clear if IDOC was notified of this patient.

Seven months later, a psychiatrist eventually evaluated the patient on 3/14/23, at the request of a
nurse after a fall to evaluate for the need of medication and programming. This was three days
before the patient sustained an intracranial bleed after a fall that caused his death. The psychiatrist
wrote,
        “It is appreciated that he is on a variety of medications including, but not limited to,
        Trazadone, PRN Ativan, and Donepezil. It appears that 12 of 56 available doses (last 14
        days) were provided thus far of the PRN Ativan. Nursing notes are unclear for the
        circumstances that arose to result in the use of PRN treatment. However, nursing notes are
        clear in their indication of him having numerous falls including injuries to his head,



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        repeated bouts of incontinence and persisting cognitive impairment. Per my review of
        documentation, I saw an event on 2/11/23 where he kicked out at a nurse after becoming
        verbally aggressive and attempted to hit an officer as related to being put on a medical writ.
        He was subsequently taken by ambulance after a fall. On 2/4/23 he threw his empty tray
        to the ground after refusing to provide it to security. Though there was no report of further
        incident as he later complied to allow his room to be cleaned (to prevent falling). He is
        also noted to be experiencing poor oral intake and exhibiting poor hygiene despite attempts
        to help him. Primary care documentation suggests that reversible causes of neurocognitive
        impairment were ruled out to indicate this is likely an irreversible chronic disease process.”

The psychiatrist noted no psychiatric problems and that psychiatry had no further
recommendations except to state,

        "infrequency of aggressive events as documented suggest that additional use of
        medications [the patient was on a benzodiazepine] to manage agitation are more likely to
        contribute to the worsening of his condition (cardiac risks, falls, etc.) and less likely to
        completely resolve all agitation.        Ultimately, Mr. [deleted]appears to suffer from a
        chronic, irreversible condition that is likely to only worsen with time. He would most
        benefit from a higher level of care such as a nursing home placement with especially trained
        staff to manage his condition. The limits of a correctional setting and potentially worsening
        for cognitively impaired patients suggests ongoing residence here will likely only lead to
        worsening. At this point, psychiatry will move to PRN status and allow the primary care
        team to manage [patient’s name] medical conditions and sequelae"

This was the same conclusion drawn previously in August 2022 but not acted on. Two days later,
on 3/17/23, the patient fell again and sustained an intraparenchymal brain bleed and an acute on a
chronic subdural hematoma. The dating of the initial subdural was uncertain. The patient was
discharged back to the facility on 3/28/23 on comfort care only and died two days later.

Hygiene and Toileting

This patient, as early as 7/5/22, was documented as having disinhibition and problems with
toileting. On that day a nurse documented that the patient had an accident going to the toilet with
feces on the floor next to the toilet. There were numerous examples how this typical problem with
hygiene in persons with dementia was handled in IDOC. The patient was frequently found with
feces on his person and needed bathing. A scientific paper on bathing the aggressive nursing home
patient states, “20-40% of residents [of nursing homes] with dementia exhibit aggressive or
agitated behavior such as hitting, kicking, and screaming while bathing. Moreover, many residents
remain upset for hours after the bath”38. While there are strategies for addressing this in nursing
homes (as evidenced in the above cited article), in IDOC this behavior was viewed as a refusal to
comply with a custody rule by a responsible and rational inmate. The response was to cuff, shackle,
and force the patient to bathe by use of the tactical team or the patient was left soiled because he


38
   Gonzalo P, Prakash S, Qato DM, Sloane PD, Mor V; Effect of the Bathing Without a Battle Training Intervention
on Bathing-Associated Physical and Verbal Outcomes in Nursing Home Residents with Dementia: A Randomized
Crossover Diffusion Study, J Am Geriatr Soc 2014 May; 62(5): 797-804


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refused to comply. This misapplied use of force redirects medical care to custody staff and is
inappropriate.

On 8/22/22, a nurse noted that “cell covered [with] feces. Will attempt + encourage shower [with]
security staff”. A later note documented that the patient was confused and there was feces “all over
the cell, toilet clogged with food and paper objects”.

On 10/17/22, a nurse documented, “had a large BM on the floor. Feces seen on legs. Attempt
made to clean him get a shower. He refused. Was combative with security. Refused to cooperate”.
The patient was left with feces in his room and on his person.

On 12/20/22, a nurse assistant documented, “remained in soiled pants from yesterday. Did not
respond much to verbal req[uest]” and “cell still 2 mess c/o swept and removed trash. Will attempt
H2O later & cleaning, total hygiene deferred, refused”.

Later, on 12/20/22, a nurse documented the patient saying, “leave me alone, I’m showering on
Christmas”. Then the nurse added, “ Tried multiple time with tact[ical]39 team to encourage patient
to get in shower to remove stool that has been on him and he refuses to clean himself”.

On 12/21/22 a nurse wrote that with unsteady gait the patient walked to the toilet and “dropped
extra-large packed firm hard round ball of feces + additional soft stool + diarrhea runny type stool
around top of toilet”. On 12/22/22, a nurse documented that a tactical team came to the cell and
shackled the inmate’s hands and placed leg restraints and moved the inmate to a shower chair and
the patient was washed.

On 12/29/22, a nurse documented that the patient refused a shower and the tactical team was called
four times but they were busy. The nurse said the patient would be showered when the tactical
team came.

On 12/30/22, a nurse documented that the patient had a shower with the emergency response and
tactical team assistance through the commander in chief.

On 1/3/23, a nurse documented that the inmate was brought to the shower by an officer. The
inmate had feces all over his back and hair.

On 2/1/23 at 2 am, a nurse assistant documented that the patient was “covered in his own bowel
movement at arrival on shift. No vitals taken per H.C.U. [health care unit] Sgt [sergeant] due
to security risk. No shower given per Major”.40 This patient remained covered in feces until
twelve hours later when at 2:15 pm a nurse documented that the patient “was covered in feces with
foul-odor”. The nurse documented notifying the Major to activate the tactical team for the patient
to be showered. The patient was removed and showered.

39
   Tactical teams are specialized units of custody staff used to typically resolve situations with high risk offenders
related to searches or dangerous interactions with a violent inmate. In this case the tactical team was involved in
getting the inmate to bathe which appeared to involve cuffing and shackling to enforce bathing.
40
   For a medical patient, custody must not be in control of hygiene issues, nor must custody be responsible for
directing when vitals or hygiene are to be done.


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This patient’s care for hygiene and toileting qualifies as abuse and neglect based upon criteria in
state regulation for the elderly.41

Nutrition, and Feeding

This patient had no upper teeth. On 10/14/22, a nurse documented that his teeth were in the toilet.
The nurse did not describe retrieving the dentures. On 12/26/22 at 3 pm, a nurse documented that
the patient refused his lunch tray as it was too difficult to chew with his upper false teeth. The
nurse added in the plan section of the note, “have not seen dentures + pt does not take teeth out
nor ever witnessed by this reporting nurse”. It appeared that the patient no longer had his dentures.
The patient attempted to chew a sausage link and threw it back on the Styrofoam tray. The nurse
believed this was due to having a casing that was difficult to chew. The patient took his liquid
boost supplement and the nurse documented that he had no food intake recorded except for the
boost for five days. It would not have been difficult to have the patient open his mouth to assess
whether he indeed had his dentures. Dental status is an important risk factor in community
dwelling older adults for weight loss42. A referral to the dentist was not made.

The Consent Decree requires, “analysis of nutrition and timing of meals for diabetics and other
Class members whose serious medical needs warrant doing so”43 but there was no effort to
determine the nutritional status of the patient. Though OHS has told the Monitor that consultation
by a dietician is available, no such consultation took place for this individual for the entire year of
his incarceration. This patient should have seen a dietician to evaluate his eating pattern and
nutritional status. Neither did providers order laboratory tests to evaluate the patient’s nutritional
status.

The patient’s weight was not well tracked on the infirmary flow sheets. There were only three
documented weights during this time period. The first weight was on 7/5/22 when the infirmary
flowsheet documented a weight of 171 pounds. On that same day a nurse documented that since
admission to NRC five months ago the patient lost 67 pounds. The nurse initiated an order for
boost, a liquid nutritional supplement. The order was one can with each breakfast, lunch and
dinner for 3 months.

The next weight was on 8/25/22 when the patient gained weight to 187 pounds. But mostly, the
patient “refused” weights and no further weights were documented until 2/24/23 when a weight of
155 was recorded. The refusals of weights were sometimes accompanied by statements that the
patient was unable or refuses to sign the refusal. An admission history and physical examination
during the patient’s final hospitalization on 3/17/23 documented a weight of 72.23 kilograms or
approximately 159 pounds. If the patient had lost 67 pounds at a weight of 171 pounds, then from
admission to NRC on 2/25/22 until 3/17/23, about 13 months, the patient lost 79 pounds.

 41
    720 ILCS 5/12-4.4a. This regulation addresses criminal abuse or neglect of an elderly person or persons with a
disability and includes actions that cause a resident’s life to be endangered, health to be injured, or pre-existing
physical or mental condition to deteriorate or fails to perform acts that he or she knows or reasonably should know
are necessary to maintain or preserve the life or health of a resident.
42
   Ritchie CS, Joshipura K, Siliman RA, Miller B, Douglas CW, Oral health problems and significant weight loss
among community-dwelling older adults. J Gerontol A Biol Sci Med Sci 2000 Jul; 55)7): M366-71
43
   II.6.j of the Consent Decree.


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Despite this degree of weight loss, there was no evaluation of his nutritional status. There were
orders for liquid nutritional supplement beginning in July of 2022 and on 2/27/23 there was an
order for a high protein, high calorie diet for weight loss with boost nutritional supplement - a can
with each meal. And on 3/15/23, several days before the patient died, a physician ordered high
protein diet to be pureed with shakes for each meal. Yet during the time period from July of 2022
until the patient’s death in March of 2023 the patient appeared to have been fed like any other
rational adult inmate with breakfast at 3:30 am, lunch at 9 am and dinner at 3 pm with an
expectation that the patient could feed himself. Trays were apparently placed on the floor of the
patient’s room. These trays were frequently scattered about on the floor with food strewn about.
Because this patient had significant dementia with confusion, hallucinations, delusions and
aggressive behavior, feeding by placing food tray on the floor was likely to result in what actually
happened which is the patient did not eat well.

On 12/19/22 a doctor documented that the patient had fallen while bending over presumably to
pick up his food tray. On that day a nurse placed a table inside the patient’s cell so that food trays
could be placed on the table instead of the floor to prevent the patient from reaching to the floor to
pick up his tray. The patient eventually threw the bedside table upside down. Yet the manner of
serving meals as if the patient was rational continued and food continued to be found all over the
patient’s room. Nurses continued to document that the patient ate very little of the food served.
No one considered, given the patient’s dementia, whether a different pattern of feeding, including
different timing of meals, was needed.

This patient lost approximately 67 pounds over 13 months of incarceration. Health care staff were
unable to develop an effective plan to provide nutrition to the patient especially in light of the
patient’s dementia and concomitant disabilities. No nutritional consultation was obtained. Not
providing appropriate nutrition also qualifies as neglect and abuse.

The patient was not evaluated or monitored by providers for his medical conditions.

The available record provided for this patient began in late June of 2022 about four months after
incarceration. During the nine month period of provided record, the patient had no chronic clinic
appointments. Though current policy requires chronic infirmary patients to be seen weekly, this
did not consistently occur. Physician notes were documented weekly from 6/21/22 to 8/11/22.
Then not for two weeks. Physicians saw the patient three times in September. The patient wasn’t
seen in October. The patient was seen three times in November and four times in December. From
12/28/22, when a nurse practitioner saw the patient, until 2/14/23 the patient was not seen despite
two hospitalizations and three falls. The 2/14/23 provider note was related to seeing the patient
post-hospitalization after a fall. After the 2/14/23 provider note, a provider didn’t see the patient
again until the patient fell on 2/24/23. The last time a provider saw the patient was 2/27/23. A
provider did not see the patient again despite a fall on 3/1/23 and an unwitnessed fall on 3/6/23
during which the patient sustained a black eye. The patient had another fall on 3/17/23 after which
the patient was found prone on the floor and was hospitalized with diagnosis of multiple brain
hemorrhage likely from a fall. The patient died three days after return from the hospital. In total,
the patient had twelve falls that were documented for the six months from 6/29/22 until 3/6/23.




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For four of these falls, the patient was sent to a hospital. For only three of the remaining eight falls
did a provider evaluate the patient. There was no specific documented fall prevention plan.

None of the provider notes included evaluations that monitored all of the patient’s medical
conditions. A doctor’s note from 6/29/22 documented that the patient had coronary artery disease
with prior stents, heart failure, cardiomyopathy and dementia. There was no problem list. On
11/15/22, a physician documented that the patient had coronary artery disease with multiple stents,
heart failure, atrial fibrillation not on anticoagulation, hypertension, diabetes, gout and recent
development of dementia. There was no objective evidence of gout. Another doctor evaluated the
patient on 11/21/22 and documented coronary artery disease with stents, cardiomyopathy, atrial
fibrillation, type 2 diabetes, hypertension, COPD and recent GI bleed and UTI. Despite
acknowledging these conditions, there was no meaningful monitoring with an updated assessment
of each of these medical conditions by these providers. Only episodic concerns were noted and
evaluated.

Much of the information related to the patient’s medical conditions came from hospital notes. On
1/3/23 the patient was hospitalized and diagnoses listed at the hospital included:
    1. Erosive gastritis with GI bleed
    2. Dementia
    3. Prior stroke
    4. Coronary artery disease with stents
    5. Hypertension
    6. Atrial fibrillation
    7. Anemia
    8. Hyperlipidemia
    9. GERD
    10. Diabetes
    11. Ischemic cardiomyopathy with heart failure.

Through the entire nine months of record available, there was minimal monitoring of these
conditions except when the patient went to a hospital. The dementia was noted regularly by nurses
and even providers, but there was no effective plan of care for the patient’s daily needs. The
patient’s diabetes was not monitored at any clinic visit. A hemoglobin A1c was 5.9 on 7/6/22 and
the patient was on 1000 mg of metformin twice a day, an antidiabetic agent. Providers should have
considered decreasing the dose because the A1c was low but this was not done until more than
five months later on 12/19/22 when the dose was decreased to 500 mg twice a day. There was no
repeat A1c or evaluation of status of his diabetes.

From June, 2022 to 3/16/23, the patient was sent to the hospital eight times. Of these eight
hospitalizations, there were only three full reports. An additional hospitalization had an emergency
room note. For five hospitalizations there was no provider review after return from the hospital.
For one hospitalization a provider saw the patient on return but the hospital report was not in the
record and there was no documentation of review. In a final hospitalization, there was no
documentation of the review of the hospital report.

Failure to manage medications



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This patient’s medications were typically managed without evaluation of the patient. From 7/5/22
until 3/8/23, 53 prescriptions were written. Forty-four were for medications and nine for other
orders. Some of these were for the same medication at different doses. For only seven of the 53
prescriptions was a progress note present when the provider ordered the medication with only five
of these seven being conducted when the patient was evaluated. It appeared based on the writing
on the prescription that 21 of the 53 prescriptions were written by nurses. In only 31 of 53
prescriptions could the provider be identified due to illegibility or, in a few cases, absence of a
signature. In summary, this demonstrates that providers take no responsibility for ensuring
prescriptions are appropriate.44

In February of 2023, the patient was on 14 medications. Avoiding adverse drug effects is important
in caring for the elderly and particularly in persons with dementia. A key aspect of dementia
management is to acknowledge the adverse effects that medications can contribute to cognitive
impairment. It is recommended to periodically review the patient’s drug regimen, use the minimal
dose required to obtain the necessary clinical benefit, discontinue unnecessary therapies, and
consider adverse effects as a cause of symptoms before prescribing another drug45. This did not
occur. The patient was on multiple medications which in combination can cause adverse effects
which mirrored some of the patient’s symptoms. For this reason, all of the patient’s medications
should have been reviewed (with adverse drug reaction software or ideally with a clinical
pharmacist) following which the primary care provider should have discussed medication benefits
and risks with the surrogate and discontinued unnecessary medications.

Paramount in this discussion is that a goal of care was not defined for this patient. This patient
had advanced dementia and was confused, sometimes knew who he was but was otherwise not
oriented to time or place. He could not communicate rationally any longer. It was unsafe for the
patient to be alone or to walk alone. The patient was totally dependent on others for eating dressing
and grooming. And, the patient had severe anxiety, aggression, confusion, and agitation. Perhaps
he should have been considered for hospice? If so this should have been discussed with his
surrogate. However, IDOC never identified a surrogate and failed to have any discussion about
what plan of care would offer the most benefit and least harm in his remaining life.

For two medications, there was no clear indication. From June of 2022 through March of 2023
providers prescribed albuterol but there was no evidence on the medication administration record
(MAR) that the patient ever received albuterol. The reason for a prescription for the albuterol was
unclear as the patient had no medical conditions that warranted this medication. Though this
medication was continuously prescribed and was on the medication administration record, no one
recognized for nine months that the patient hadn’t used the medication nor had it been offered to
him.




44
   IDOC has multiple providers including coverage doctors who are not typically assigned to a facility. Some of the
providers giving phone orders are unfamiliar with the patient and this can result in errors. In this patient, he was on
medications without indication, was on several medications that were potentially harmful, and on combinations of
medications that resulted in potential for adverse reactions.
45
   This is taken from UpToDate Management of the patient with dementia.


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The patient was on allopurinol, presumably for gout, but there was no clinical evidence for gout
and the patient was not being monitored for gout. Allopurinol has an FDA indication for gout but
not for asymptomatic hyperuricemia46 which this patient had. The patient had a uric acid of 9.2
on 7/6/22. This qualified as asymptomatic hyperuricemia. The patient did not have evidence of
gout, had no monitoring of the serum uric acid, and no evaluations of joints to assess whether he
had gout. It was unclear why this patient was receiving allopurinol.

The patient was on an anticoagulant drug, clopidogrel. However, given the patient’s dementia and
fall risks, use of this drug was risky as it can cause serious intracranial bleeding if the patient falls
and the patient had fallen 12 times. The risk of bleeding from falls should have been weighed
against the risk of thrombosis and myocardial infarction and the use of this medication should have
been discussed with a cardiologist and with the surrogate. The patient ultimately died of multiple
(subarachnoid and intracerebral) bleeds after falls.

Lorazepam has many adverse reactions, including amnesia, drowsiness, and sedation. It has a
potential to cause disinhibitory reactions that include sleep disturbance, hostility, rage, agitation or
aggressive behavior. It is advised to use with caution in debilitated patients. Older patients have
increased risk of death with the risk highest within the first four months of use in older adult
dementia patients. It also carries a fall risk. Extreme caution is urged when used in patient
who are at risk of falls. Benzodiazepines have been associated with falls and traumatic injury.47
This patient appeared to be on lorazepam for agitation and aggressive behavior. The risks to the
patient were exacerbation of agitation and aggressive behavior,48 and falls. This patient had 12
falls from 6/29/22 to 3/16/23 with the last fall causing his death. Use of this medication was not
carefully monitored. Lorazepam should not have been prescribed.

This patient was in a facility that did not have appropriate space, staffing, equipment, or expertise
to house this patient. There are currently no policies, procedures or programs to manage persons
who need total care and/or have dementia. The facility failed to identify a surrogate to ensure
someone could make a medical decision regarding his care. Nurses did not have medical direction
with respect to how to bathe and feed the patient and defaulted by seeking custody’s help that
resulted in use of tactical teams who used cuffing and shackling to wash the patient. Custody
probably did the best they could, but the patient should not have been managed by these practices.
The patient should have been managed medically, but there are no procedures for the care of this
type of patient. The intent to move this patient to another facility was never acted on but would
have been appropriate. Placement in a nursing home would be an acceptable option for this patient.
If IDOC intends to care for these types of patient in the prisons, appropriate space, procedures,
programming and staffing must be available to provide medically acceptable care. The Monitor
has previously recommended and continues to recommend that in order to identify the appropriate
space, procedures, programming and staffing necessary to care for this population, that IDOC
consult with a gerontologist and retain a consultant to evaluate the needs of the aged, infirm and
disabled and develop a report to include findings and recommendations. Based on those

46
   Typically, gout is diagnosed when a patient has an elevated serum uric acid level and symptoms of gout (painful
swollen joints typically the joints in the feet). This patient had apparently asymptomatic elevated uric acid which
did not warrant treatment. Notably, the condition wasn’t even monitored.
47
   These warnings are taken from UpToDate medication profile for lorazepam.
48
   Notably, this was the reasons that psychiatrists at NRC recommended not using the drug.


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consultation recommendations, IDOC must develop a plan to address those needs. The Monitor
is willing to provide recommendations for a gerontologist and consultant if the IDOC desires.


Patient #5

This 51 year-old man with history of diabetes, hypertension, and high blood lipids was housed at
the Hill facility. When he was incarcerated in 2004, he was five foot seven inches tall and weighed
267 pounds. On 6/14/22 a nurse practitioner saw the patient for a syncopal episode that occurred
5/30/22. An EKG was not obtained. At this time, the patient had 37 pound weight loss which was
unrecognized. A CBC was ordered and was 10.4 which is significant anemia. Because the patient
was 51 years old, endoscopies should have been ordered urgently but were not. Instead, when
seen in follow up on 6/28/22, the nurse practitioner assessed anemia and ordered omeprazole and
three stool guaiac tests. This was substandard care because regardless of the three stool guaiac
tests, endoscopies should have been ordered. The patient had history of fatigue and dizziness for
five months with heartburn and weight loss. While guaiac testing was indicated, upper and lower
endoscopy should have been ordered as urgent tests.

On 8/12/22 a nurse practitioner saw the patient and noted that he had negative hemoccult tests.
The nurse practitioner still did not refer for endoscopy but ordered iron studies and a metabolic
panel. Iron studies confirmed iron deficiency which indicates blood loss and a kidney function
test suggested chronic kidney disease (GFR 58 and creatinine 1.48). No further action was taken.

The patient wasn’t evaluated again until a chronic clinic on 9/19/22. The provider documented
weight loss ( 33 pound loss since the last chronic clinic visit). Though the patient had a GFR test
that indicated chronic kidney disease, this was unrecognized. There was no assessment or plan for
the weight loss or possible chronic kidney disease. The iron deficiency anemia was not addressed.
Endoscopies and a CT abdomen should have been ordered.

On 9/23/22 a nurse practitioner saw the patient in follow up of the iron studies which were not
evaluated at the recent chronic care visit. The nurse practitioner remarkably assessed iron
deficiency anemia but only reordered iron therapy with a recheck of the CBC and iron panel in
three months. This is substandard care. There was no ongoing physician oversight at this facility
for the entirety of this patient’s care.

At a subsequent chronic clinic visit on 12/7/22, a 48 pound weight loss was unrecognized. Though
the patient’s incarceration weight was 267, his weight of 219 was likely not perceived as abnormal.
The anemia was not addressed and the abnormal renal function was still unrecognized. A follow
up blood count on 12/28/22 still showed iron deficiency anemia and was signed as reviewed by a
nurse practitioner but no action was taken. This is below standard of care.

On 2/19/23 a nurse saw the patient for abdominal pain. The patient complained of abdominal pain
for a year and hadn’t had a bowel movement in two days. The weight was now 202 or a 65 pound
weight loss. The nurse noted a palpable lump in the patient’s abdomen. The nurse referred to a
provider but the patient was not seen for unstated reasons and was rescheduled on a second
occasion. This rescheduled visit never occurred.


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On 3/20/23, a code 3 emergency was called because the patient felt like he was going to pass out.
A nurse called a nurse practitioner who ordered blood tests. The following day a nurse practitioner
saw the patient and, finally, nine months after the patient developed anemia, after a year of
abdominal pain, development of an abdominal mass, and considerable weight loss, ordered an
urgent endoscopy and colonoscopy.

This review tracked referrals from 3/21/23 to 8/25/23 during the time period from when his
diagnosis was made until he received the 1st cycle of chemotherapy. There were 22 completed
offsite visits over this period of time. These 22 visits were completed in the first three quarters of
2023. The 1st, 2nd, and 3rd quarter offsite specialty care tracking logs were examined and only four
(18%) of the 22 appointments were on the logs. Referrals are not entered into the log when the
referral is requested but only when they are completed. Appointments that are never completed or
referred but not scheduled do not show up on the log. This section of log shows how disorganized
the log is at this facility.

Of these 22 referrals, there was a referral form found in the medical record for 16 of the 22 referrals.
Referrals for a total of six visits had no name for the referring provider; this gave the appearance
of the medical record scheduler scheduling patients without a referral from a provider. This
suggests that medical records is managing referrals. There were full consultant reports for only
six (27%) of 22 referrals; five (23%) referrals had no report except for a patient instruction after-
visit summary; three (14%) referrals had no report except for comments by the consultant on the
referral form; and eight (36%) referrals had no report. There was no documentation of any efforts
made to obtain the reports. Of the six reports received, none was initialed or signed as reviewed.
The tracking log does not track whether the provider evaluated the patient post visit and had an
informed discussion about the consultation with an update of the therapeutic plan. Of the 22
completed referrals, seven (22%) had no provider visit with the provider mentioning the offsite
visit. Post-visit provider encounters did not consistently provide informed care. The results of the
consultation were inconsistently discussed and providers inconsistently documented an assessment
of the patient’s ongoing problems at that visit with respect to his overall care and therapeutic plan.
At none of the visits were all of the patient’s problems documented and addressed.

This patient had multiple referrals documented as being approved in collegial review which the
Monitor has been told no longer exists. For a referral on 7/19/23, a physician documented that
collegial review approved multiple oncology appointments. For another referral, on 8/3/23, a
physician wrote that the iron infusion treatments were approved in collegial review. On 10/12/23,
the same physician documented that a CT scan was approved in collegial review. On 11/2/23, the
same physician documented that a follow up oncology appointment was approved in collegial
review. On 11/9/23, the same physician documented that an MRI of the shoulder was approved in
collegial review. On 11/30/23, the same physician documented multiple appointments were
approved in collegial review. IDOC needs to clarify why physicians still refer to collegial review
if it is not supposed to exist.

Reports were often not reviewed and essential information not obtained. After the patient had
initial colonoscopy, the report and biopsy results were not obtained. The colonoscopy showed
colon cancer and the biopsy suggested mucinous colon cancer. In the absence of a report one nurse



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practitioner documented the patient had gastric cancer for three consecutive months when the
patient actually had colon cancer. Almost two months after the diagnostic colonoscopy, the
Medical Director also documented gastric cancer.

Documentation of post-specialty visits often merely noted that the patient went for a scheduled
appointment but not important issues related to the patient’s care. On 8/10/23, two days after the
1st chemotherapy session on 8/8/23, a nurse practitioner saw the patient . Two day before, nursing
notes describe the patient complaining of dark brown vomit and blood in his stool. An earlier note
on 8/7/23 documented that the patient had decreased appetite and hadn’t eaten in four days except
for his boost supplement. Yet the nurse practitioner did not address the patient’s recent vomiting
and the decreased food intake with respect to the possible additional effects of chemotherapy.
Prognosis and “do not resuscitate” status were discussed but there was no discussion about the
effect of the chemotherapy on his well-being and the add on effect of chemotherapy to his recent
vomiting.

This patient’s specialty care was notable for failure to refer the patient when he had anemia for
about a year. The specialty referral process was disorganized and chaotic. Referrals were not
found. Referrals are not tracked. Key consultations (e.g., for initial colonoscopy) were not
reviewed and resulted in providers not knowing the actual diagnosis of the patient for months.
Chemotherapy did not begin for four months after diagnosis in part due to necessity to obtain
higher level consultation but there were some delays in scheduling. It appeared that the medical
records scheduling clerk was actually managing the patient’s care. Providers did not appear to be
directing the scheduling of appointments.

The provider notes, which were almost exclusively by nurse practitioners, did not include a
thorough assessment with a plan of care for each of the patient’s problems. The diagnosis of the
patient wasn’t known by facility staff for a couple months because no one obtained the pathology
reports. Updates from the oncologist were not documented in the progress notes of providers.

On 8/19/23, during the time when the patient was receiving chemotherapy, a nurse saw the patient
using a dizziness/vertigo protocol. The patient had fever (102.8), tachycardia (113) and low blood
pressure (94/60) and the nurse described him as “unsteady” when walking. This was at 6:55 pm.
Given that the patient was on chemotherapy, a provider should have evaluated the patient and a
white count should have been obtained and the patient examined for signs of infection. The blood
pressure was very low, given his history of hypertension, and combined with fever, he should have
gone to an emergency room for evaluation. Instead, the nurse didn’t contact a provider, and the
patient was instructed to limit activity if dizzy, avoid standing quickly, and to eat properly with
adequate fluid intake.

On 10/13/23 a nurse practitioner documented that DNR was discussed with the patient but that the
patient was apprehensive about signing because his sister was health care power of attorney and
was telling him not to sign. The patient’s pain was not controlled and the nurse practitioner
documented willingness to increase morphine but that the patient must be DNR first due to risk of
respiratory depression. The nurse practitioner should have consulted a pharmacist and the Medical
Director as the patient had been on this dose for approximately six weeks without problem and
incremental increases in dose would typically be safe. It gave the appearance that the nurse



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practitioner was steering the patient to sign a “do not resuscitate” order using additional pain
medication as a benefit. Because the patient said his sister was a health care power of attorney
there should have been some attempt to contact her as this patient had a poor prognosis. This was
not done. Health care power of attorney issues are recurrent.

On 10/17/23 the oncologist saw the patient and the plan was to continue with chemotherapy. The
oncologist documented that the patient had pain intensity of 10 and ordered multiple x-rays to
assess the cervical spine and left shoulder to assess for metastatic disease and to evaluate the pain.
The same day but after the oncologist visit, a facility nurse practitioner witnessed a physician order
for life sustaining treatment (POLST) in which the patient elected only comfort care This is the
equivalent of hospice and means that further care except to give comfort is not provided. Despite
signing a comfort-only POLST, full care continued to be provided as the patient was rescheduled
for oncology and chemotherapy. The oncologist was not made aware of this decision of the
POLST. Pain medication was increased for the patient by doubling the dose. The medication
should have been gradually increased and titrated to the pain. Doubling the dose suddenly placed
the patient at risk for overdose.

On 10/31/23, the oncologist saw the patient as verified by a report in the record. This visit was
not recorded on the 4th quarter tracking log. The oncologist documented that chemotherapy was
held due to low blood counts. The oncologist documented the disorganized facility scheduling
saying, “incidentally, CT that was ordered to have been done before cycle 9 (11/14/23) was
scheduled by the facility and done on 10/18/23. We will give them a call, request they pay closer
attention to dates and times”. At this visit and at subsequent visits until 12/19/23, the oncologist
was unaware that the patient had signed a POLST as the facility did not communicate the POLST
to the oncologist. The POLST was signed without contacting the power of attorney. End of life
care remains problematic.

On 12/5/23, the patient vomited waiting for transfer for his oncology appointment and, after
consulting with the oncologist, the patient was admitted to a local hospital but then transferred to
a regional hospital. The weight at the facility while waiting to transfer was documented as 163
pounds or almost 100 pound weight loss. At the hospital, the patient had bowel obstruction that
was not deemed to be not surgically correctible. The patient was started on hospice. The patient
had already signed a POLST for comfort-care-only which is equivalent to hospice with respect to
not desiring further care not related to pain and comfort management. The facility agreed to accept
the patient back to the prison. This was the second time that the patient was made comfort-care
only. The patient was sent back to the prison on 12/12/23.

On 12/11/23, the facility Medical Director gave a verbal order fora 50 microgram fentanyl patch
every 72 hours and “morphine injectable I.V. 1 mg [every] 4 [hours] [as needed]”.

On the following day, 12/12/23, the facility Medical Director wrote another prescription for
“morphine concentrated SL 473 ml (four hundred seventy three ml) 4 mg/ml, 4 ml [every ] 4
[hours] as needed breakthrough pain x 30 [days]”. This prescription was confusing as the precise
dose desired was unclear. Because it was morphine, it should have been questioned. . The Medical
Director wrote no accompanying progress note. The pharmacy did not document a problem with
this prescription which is shown below.



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Also, on 12/12/23, the facility Medical Director signed a verbal order documented by a nurse for
a 50 mcg fentanyl patch to be changed every 72 hours and for morphine sulphate 4 mg/ml inject 1
mg every 4 hours. This was the 2nd prescription for a fentanyl patch. The medical record should
clearly document when a medication is ordered, discontinued, or when a duplicate prescription is
to be ignored. This did not occur. There were two active prescriptions for fentanyl patch.

On 12/12/23 a nurse practitioner also wrote a prescription for morphine 100 mg/5ml: 1 ml every
four hours prn until morphine comes in. The order was unclear because the patient already had
multiple active morphine prescriptions and it was not clear which morphine prescription was being
waited for.

On 12/13/23 the facility Medical Director wrote a prescription to discontinue the injectable
morphine, (there were two active injectable morphine orders) and to start morphine 100 mg/5 ml:
1 ml orally as needed. This was the second prescription for the morphine 100mg /5ml. The
Medical Director left out the frequency of the medication and a nurse later added every 4 hours to
make the order sensible. The was no documentation in progress notes or in prescriptions as to how
these duplicate prescriptions orders were corrected.
On 12/15/23 the facility Medical Director wrote a prescription for MS Contin 60 mg extended
release twice a day.

There were no orders to discontinue these medications except the injectable morphine. The
pharmacy should have asked for clarification on all of what appear to be duplicate orders. The
narcotic orders on the MAR were handwritten. There were no pharmacy labels for the morphine
prescriptions so the handwritten MAR was the only verification of active prescriptions for this
patient. There was no documentation in the provider progress notes that described the plan with
respect to how much morphine was expected to be given. Provider notes did not include all of


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patient’s medication. The duplicate prescription orders without stop orders and absence of
clarification documented in subsequent orders or in progress notes speaks to a significant
communication problem between providers, nurses, and pharmacy. This is a patient safety risk. In
the electronic record, the pharmacy profile should be the document that is the active list of
medications. The MAR should accurately reflect the pharmacy record. No medication should be
on the MAR that has not been approved by a pharmacist. The pharmacy must be able to promptly
review prescriptions and indicate whether the medication can be administered. Nurses initiation of
medications on the MAR must be eliminated. Errors in the current medication process need to be
corrected before the electronic record goes live. The consulting pharmacists at SIU should be
involved in making these corrections. .

On 12/13/23 the patient was described as having 10/10 pain and was upset at having his oral pain
medications discontinued after he returned to the infirmary post hospitalization. On 12/15/23 the
patient described 8/10 pain; the nurse told the doctor and nurse practitioner about his uncontrolled
pain. After this point the patient was less communicative but there were no references to pain. The
patient fell on 12/17/23. The facility Medical Director was notified but there was no provider
follow up.

Although this patient was in hospice he was sent back to the oncologist on 12/19/23. If the patient
was in hospice why was an oncology visit necessary? The oncologist documented that the patient
wanted a compassionate release from prison to be with his family. He was very anemic and the
oncologist recommended a transfusion to make the patient strong enough so as to see his family.
The transfusion was ordered and completed. The oncologist documented the patient’s pain was
reasonably well controlled but said that the medication list sent with the patient did not appear up
to date.

On 1/5/24 a nurse practitioner discussed medications with the patient due to “some confusion”.
The nurse practitioner did not list the medications nor was the “confusion” explained . On this
date the medication administration record documents that the patient was on magnesium,
phosphorus, iron supplements, a variety of anti-nausea and antacid or gastric reflux medications,
fentanyl patch, lorazepam, morphine sulfate 20 mg every four hours and MS Contin. The total
dose of morphine was approximately 360 mg a day which is a high dose. It was not clear from
documentation whether this dosage was intended. Provider notes do not include a list of
medications with doses, so the multiple providers caring for the patient would not know the total
panel of pain medications.

On 1/10/24 the patient fell in the bathroom but was not examined by a provider. On 1/15/24, the
patient asked why he couldn’t call his family. There was no effort to accommodate his request to
communicate with family.

On 1/15/24, the patient fell again. The facility Medical Director didn’t respond to a call so the
nurse called the Regional Medical Director who recommended “fall prevention” and to monitor
the patient. It was unclear what fall prevention meant. Later that day, the patient told a nurse how
hard it was for his family and that he didn’t understand why he couldn’t call his family. There was
no effort to enable the patient to have a telephone call with his family. This seems unnecessarily
cruel.



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The Medical Director wrote a renewal for the fentanyl patch on 1/16/24. However, the MAR
documents that the patch was not changed as scheduled on the 16th because the backup pharmacy
was out of stock.

The facility Medical Director saw the patient that day and documents that the patient’s abdomen
was firm and tender but that the patient’s pain was controlled. It does not appear that the Medical
Director was informed that a new patch could not be obtained and the problem with pain
medication was not addressed.

On 1/19/24, a nurse practitioner wrote that the patient was struggling to swallow pills even with
water. Instead of giving IV medication, the nurse practitioner wrote in the progress note to change
MS Contin order to crush and place sublingually and to give the morphine sulphate liquid every
two hours. This should have been reviewed with a pharmacist but was administered for five days
without any pharmacy oversight and the order was handwritten on the MAR. A Food and Drug
Administration (FDA) alert warns in bold capital letters

           MS CONTIN TABLETS ARE TO BE SWALLOWED WHOLE AND ARE NOT TO BE
           BROKEN, CHEWED, DISSOLVED, OR CRUSHED. TAKING BROKEN, CHEWED,
           DISSOLVED, OR CRUSHED MS CONTIN TABLETS LEADS TO RAPID RELEASE
           AND ABSORPTION OF A POTENTITIALLY FATAL DOSE OF MORPINE.49

The patient was given nine doses of crushed MS Contin between 1/19/24 and 1/24/24. At 4:20 pm
on 1/19/24, the patient fell and was found sitting on the floor after attempting to go to the bathroom.

On 1/23/24, at 8 am, a nurse documented still giving the crushed medication and described the
patient as lethargic. On 1/22/24, the patient was described as incontinent of urine and nonverbal.
The HCUA documented that the patient was declining and notified the family and a family visit
was approved by the Warden but at this point the patient was not able to effectively communicate.
A fentanyl patch was received 1/24/24. The patient died on 1/26/24.

This patient was 45 years old on 9/17/17. The IDOC had promulgated cancer screening
recommendations in January of 2021. The Monitor’s 4th report, issued 9/16/21, documented that
the USPSTF recommended that patients should start colorectal cancer screening at age 45. Despite
the USPSTF recommendations and promulgation of a IDOC policy on colon cancer screening in
2021, the patient was not screened for colon cancer. He was identified on 6/28/22 with anemia
(Hgb 10.4) and had an unrecognized 37 pound weight loss. Yet, he didn’t have a definitive biopsy
identifying colon cancer until 3/28/23. The delay in work up of this patient makes this a
preventable death.


Patient #6



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     FDA Alert as found at https://www.accessdata.fda.gov/drugsatfda_docs/label/2010/019516s034lbl.pdf


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This patient was 52 years old when he received an annual periodic history and examination on
11/8/22 at Hill Correctional Center. He smoked two packs per day for forty years; thus, he had an
80 pack year of smoking. Lung cancer screening, based on USPSTF guidelines and IDOC
guidelines50, was indicated but not performed. At the annual periodic history, he complained of a
chronic cough which was not followed up by any history. The patient had underlying asthma. His
weight was 209 pounds and had been 221 pounds at a chronic clinic 5/26/22 only six months
earlier. There was no assessment or plan for the cough.

On 12/23/22 an LPN saw the patient using a cough protocol. The patient’s weight was 195 pounds
or a 26 pound weight loss since 5/26/22. The blood pressure was 149/88 but the LPN did not
retake it or put the patient on blood pressure checks. The weight loss was not identified. The
elevated blood pressure was ignored. LPNs should not be performing sick call evaluations.

On 1/5/23, the patient was evaluated in chronic care clinic for asthma. He complained of a chronic
dry hacking cough and using his albuterol inhaler more frequently because he didn’t have his
Alvesco inhaler. The patient also weighed 209 which was a 12 pound weight loss since his chronic
clinic in May of 2022. No further history of taken of this complaint even though cough is a
symptom of asthma. No history was taken regarding frequency of inhaler use either. PEFRs were
270 and 260 and the assessment was intermittent asthma which is inconsistent with the PEFR
values or with being on two inhalers. A history was not taken sufficient to make an assessment of
intermittent asthma. The nurse practitioner seeing the patient started Singulair, a third asthma drug
but this third drug did not appear indicated if his Alvesco was renewed. The weight loss and
chronic cough were not addressed.

On 4/13/2023 the patient was seen by a nurse using the protocol for upper respiratory infection.
The 22 pound weight loss the last 12 months was not identified as a problem by the nurse at this
encounter. On 4/17/23 a nurse evaluated the patient using a cough protocol. The patient had cough
for at least six months. The blood pressure was 155/92. For both of these nursing protocol visits,
the second page was missing. However, there did not appear to be a referral to a provider as there
was no subsequent provider note.

On 7/10/23, the Medical Director saw the patient in chronic care clinic. The history was that the
patient denied shortness of breath or dyspnea on exertion but complained of chronic cough for a
year that was non-productive. No further history was taken. The PEFRs were 250/300/350. Blood
pressure was 133/90 with pulse of 107. The patient was documented as mild persistent asthma in
fair control though the patient was on two inhalers and montelukast (Singulair). Being on three
asthma drugs is consistent with moderate asthma not mild persistent asthma. The MAR for July
shows that the patient hadn't been provided montelukast since March 16th which meant that the
patient was not using montelukast for the past three months. This was unnoticed. Notably, the
patient didn't receive montelukast again until January of 2024 even though it remained an active
prescription. This drug may have been unnecessary but was not being monitored. The PEFR tests
were inconsistent with the diagnosis. Spirometry should probably have been done given the
persistently low PEFR tests. The weight was 174.8, a 37 pound weight loss over approximately
14 months. Neither the persistent cough nor the weight loss were investigated; the weight loss

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  The Monitor’s 4th Report, on 9/16/21, noted that OHS developed a draft guidance on preventive screening that
included lung cancer screening in line with the USPSTF.


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wasn't even acknowledged. Though the patient was 53 years old he was not screened for lung
cancer. A 6-month follow up was ordered. A chest x-ray was ordered, but there was no evidence
that the chest x-ray was done. There was no follow up to check on the failed x-ray.

On 10/12/23, a nurse evaluated the patient using a cough protocol. The nurse documented that the
patient had the cough for over a year. The weight was documented as 194 which still indicated
weight loss of 36 pounds since incarceration. The patient told the nurse that he wanted cancer
testing regularly and hadn't had labs or a checkup in 10 years. He stated his memory is bad and
he forgets his glasses . He asked to be checked for forgetting things but the nurse did not evaluate
this concern. Instead, the nurse "educated" the patient on "getting older / △ in memory". No
referral was made for a year-long complaint of a cough with weight loss which would have been
evident if the nurse had reviewed the patient’s record. The nurse did not respond appropriately to
the patient’s request to be screened for cancer, or his memory loss and refer for evaluation.

On 10/16/23, the patient fell and hit his head and a nurse evaluated the patient using a non-specific
discomfort protocol. The nurse documented that the patient fell on the steps and the nurse
presumed it was due to not having his glasses. A provider did not evaluate the patient after the
fall. Falls are not normal and a better history and assessment should have been done. This was
especially true since only four days previously, the patient had complained of memory issues. The
non-specific discomfort protocol should be discontinued; its continued use is dangerous.

On 10/19/23, a nurse evaluated the patient using a cough protocol. The nurse noted that the patient
complained of 2-3 years of cough since the COVID epidemic. The blood pressure was 143/93
and the weight was 192 which was a 32 pound weight loss since incarcerated and 29 pound weight
loss since May of 2022. Though this patient had multiple episodes of complaints of cough, the
nurse did not refer to a provider and gave cough syrup based on protocol. A week later on
10/26/23, the patient requested a “full physical”. A nurse told him that this would be done around
his birthday without asking why he wanted a physical examination.

On 11/1/23 a nurse evaluated the patient using a non-specific discomfort protocol for right leg and
shoulder pain. The patient had the pain described as 6-7/10 for several weeks. The blood pressure
was 147/55, which is elevated, and the weight was recorded as 187. The nurse documented the
patient as limping, stuttering and slow to answer. He had to be asked 4 times to obtain his weight
and had a blank look on his face and described significant memory issues lately. The patient
thought he was in Chicago. Though the patient had new onset of altered mental status and
symptoms of stroke the nurse scheduled the patient for a physician follow up the following day.
But after the examination the nurse brought the patient into the nurse practitioner's clinic room
because of stuttering and dragging his leg. The nurse practitioner documented that the patient was
speaking normally, had facial symmetry, no drift and normal straight leg raising. Based on this
brief and incomplete neurologic examination the NP concluded that the examination was "normal"
and wrote to follow up PRN. The NP took no additional history.

The next day, on 11/2/23, at 12:53 pm the facility Medical Director evaluated the patient for
"stroke like symptoms". The patient was confused and had symptoms of decreased sensation in
his right leg for 2-3 weeks. The doctor noted confusion and difficulty speaking. The patient had
difficulty ambulating. The doctor sent the patient to the ER in an ambulance. Higher level



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attention was provided a year after the patient complained of chronic cough. This cough may have
been present for a longer period of time because only a year of medical record was provided. The
weight was 192 pounds so the patient had lost 29 pounds since May of 2022.

The hospital diagnosed lung cancer metastatic to his brain and locally to lymph nodes, to the
adrenal gland, and to areas around the lung. A large brain metastatic tumor was resected. The
patient was confused and had expressive aphasia before leaving the hospital. Before the patient
left the hospital, he had a signed a power of attorney.

Hospital instructions documented medications as Tylenol, dexamethasone, Voltaren, docusate,
Norco 1 every 6 hours, loratadine, montelukast, pantoprazole, and senna. A follow up with
neurosurgery was scheduled for 11/27/23 for suture removal and a post-op follow up on 12/8/23.
Dexamethasone was a new order to reduce brain swelling after the surgery.

On 11/14/23, the patient returned from the hospital. The Medical Director at the facility wrote the
infirmary admission note. The only history was post craniotomy for a tumor. This was an
inadequate history. There was no explanation of what kind of tumor the patient had, how it affected
the patient, the hospital course, the current status of the patient, or the follow up plan for the patient
except for a follow up with the surgeon and to take sutures out. The only neurologic examination
was that the patient was alert and oriented and had normal eye movements. The confusion noted
the day before at the hospital wasn't confirmed or mentioned. The current condition was
documented as "stable". The admitting diagnosis was "S/'P craniotomy", and the only plan was
regular diet, to ambulate as tolerated, and refer for suture removal and surgical FU. There was no
review of the hospital record; no indication whether the patient needed radiation therapy or
oncology follow up; no mention of prognosis and advanced directives nor of the power of attorney
signed at the hospital; and no history related to current pain status or mention of a plan for pain.
This was not an informed note.

The referral system was dysfunctional. There were eight completed offsite specialty visits after
hospitalization and one duplicate referral. The duplicate referral was documented on the referral
log as completed twice to the same consultant. Of the nine visits documented on the log the date
of referral was accurate only for one referral. For seven of the referrals, the dates of referral were
when the patient was in the hospital. Three of the referral forms used to request the referral were
sent to the wrong consultant. One referral form meant for a radiation oncologist was sent to the
medical oncologist. Another referral for the medical oncologist was sent to the radiation
oncologist. Another referral for a PET CT scan was sent to the radiation oncologist. The log was
disorganized and inaccurate and handling of referral forms was disorganized.

Only four of the eight unique appointments included a full report. Two appointments had no report
but did have brief comments on the referral form. One appointment had no report but had an after-
visit summary. One appointment had no report and no information.

Post visit evaluations by a provider with the patient were not thorough and demonstrate the
episodic nature of IDOC follow up and its dangers. The first appointment was on 11/27/23 with
the surgeon. This was reviewed by a nurse practitioner at Hill with the patient on 11/29/23 and the
biopsy report was discussed. This was an informed follow up. However, the therapeutic plan with



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future appointments were not documented or discussed with the patient. All of the patient’s
problems were not listed in the follow up encounter note.

The second visit was on 11/30/23 with the radiation oncologist. There was no report but there
were comments on the referral form which was not signed as reviewed. The radiation oncologist
recommended an ultrasound to rule out a deep vein thrombosis and a staging PET CT scan. There
was no post-visit evaluation and the recommendations for a PET CT scan and ultrasound were
unnoticed.

The third visit on 11/30/23 was with a medical oncologist. There was a report which also included
recommendations for a PET CT scan. This report was signed by the Medical Director as reviewed
on 12/27/23, about a month after the consultation. There was no post-visit evaluation by a
provider. The recommendation for a PET CT scan went unnoticed. On 12/1/23, a medical records
clerk documented that the PET CT scan was cancelled because a CT scan had already been done
on 11/31/23. This was inaccurate.

The fourth visit was on 12/4/23 with radiation oncology. This consultation included a report.
Notably, the referral form for this visit was for a combined 11/30/23 oncology visit and for a PET
CT scan which was requested to be scheduled for 12/4/23. The referral form had comments from
the radiation oncologist that were not signed as reviewed. The radiation oncologist again asked for
a PET CT scan and an ultrasound to rule out a deep vein thrombosis. There was a full report that
was not signed as reviewed but it recommended an ultrasound to rule out deep vein thrombosis
and a PET CT scan. A nurse practitioner saw the patient 12/6/23 in the morning on infirmary
rounds and documented making a referral for an urgent ultrasound to rule out DVT but a referral
form was not found in the record. At this appointment the nurse practitioner did not examine the
patient’s leg to assess whether it was swollen. This should have been done and if there was
evidence of a deep vein thrombosis the patient should have been sent to an emergency room
immediately. The nurse practitioner also documented a referral for a PET CT scan but this referral
was not found. The nurse practitioner did not list all problems in the assessment nor was there a
plan for all problems. This was an ineffective post-consultation visit that placed the patient at
significant risk because the nurse practitioner did not examine the patient’s leg or refer the patient
immediately to an emergency room.

The fifth visit was to radiation therapy on 12/6/23 but there was no report. There were comments
on the referral form again asking for an ultrasound and PET CT scan. There was no in-person
provider follow up to this visit. But on 12/7/23, the urgent ultrasound referral was discussed in
collegial review. The Monitor has been assured that collegial review has ended but this episode
makes it appear as if it is still continuing in some fashion.51

The Medical Director documented that a PET CT and ultrasound would be scheduled but details
weren’t given regarding when they would be scheduled. The recommendation for DVT was
initially made on 11/30/23. A 7-day delay in evaluating for a deep vein thrombosis in a patient
with cancer is dangerous. The Medical Director did not see the patient and no one from the facility

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   Also, on 11/16/23, a physician documented that an oncology appointment was approved in collegial review. If
collegial review has ended, the vendor should explain these repeated documented references to collegial review.



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evaluated the leg for deep vein thrombosis since the recommendation was made. This was a major
error in follow up. If the patient needed an ultrasound to rule out deep vein thrombosis, it should
have been done immediately and to go through collegial review and schedule this electively was
incompetent care.

The sixth and seventh visits were on 12/8/23. The patient had two appointments; one with the
radiation oncologist and one with the neurosurgeon. There were no reports for either appointment,
but there was an after-visit summary for the neurosurgeon and there were comments on the referral
form to the radiation oncologist. The neurosurgeon recommended an MRI in follow up. The after-
visit summary also included appointments apparently scheduled at the hospital for a PET CT scan
on 12/21/23 and an ultrasound scheduled for 1/16/23. Someone unknown scheduled urgent
appointments for two weeks later for the PET CT scan and a month and a half later for the
ultrasound. The PET CT scan should been done a week ago and the ultrasound should have been
done on 11/30/23 so a 1/16/23 appointment was dangerous. These scheduled appointments were
not on the offsite tracking log. There was no provider follow up of this visit. The level of
disorganization with tracking, scheduling and following up of offsite appointments is chaotic and
dangerous.

The second appointment on 12/8/23 (seventh visit) was with the radiation oncologist. There was
no report for this visit but there were comments on the referral form. Those comments stated that
the patient had his 3rd radiation session. There was no provider follow up of this visit.

The eighth visit was on 12/11/23 to the radiation oncologist. There was a report but there was no
referral form. The report recommended again the PET CT scan and the ultrasound. There were
three copies of this report in the record but only one was signed as reviewed on 12/12/23.

On 12/12/23, a technician performed an onsite ultrasound; this was about two weeks after it was
recommended by radiation oncology. This was an urgent test that should have been done on
11/30/23 the day of the consultation. At 2:09 pm a nurse practitioner documented that the
technician said there was a deep vein thrombosis. The nurse practitioner called the Medical
Director who gave a phone order for Eliquis 5 mg BID. This is not a standard starting dose and
was an error. The patient began vomiting at 4 pm and by 8 pm vomited bright red blood. The
nurse tried to call the facility Medical Director who did not respond and voicemails were left.
After several more attempts the nurse called the vendor Regional Medical Director who ordered
the patient sent to an ER.

At the hospital, the patient was diagnosed with deep vein thrombosis and pulmonary embolism.
The patient was sent to a higher level hospital and remained hospitalized for two weeks developing
atrial fibrillation and sepsis. When the patient was discharged the hospital recommended a
palliative care consultation for hospice. IDOC does not have a consultant who provides palliative
care consultation. A formal discharge summary was not in the medical record.

When the patient arrived back at Hill on 12/26/23, there was no summary of the hospital course or
expected plan of care. A nurse documented that the Medical Director would see the patient the
following day, which did not happen. Instead, a nurse practitioner saw the patient on infirmary
rounds on 12/27/23. The nurse practitioner did not document that the patient had just spent two



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weeks in the hospital. The hospital record was not reviewed and problems were not identified
which included: opacification of the left lung with deviation of the trachea, anemia, deep vein
thrombosis and pulmonary emboli, non-small cell lung cancer with brain metastases, hypokalemia,
atrial fibrillation, and difficulty swallowing. There was no assessment of pain. There was no
acknowledgement that the hospital recommended a palliative care consult for hospice. The nurse
practitioner documented a plan that reflected the plan before the hospitalization which was to
schedule a follow up with oncology and to await the completion of the PET scan. A palliative care
consultation should have been ordered. There was one further nurse practitioner evaluation while
he was incarcerated which similarly failed to appreciate the futility of further treatment and failed
to initiate palliative care.

The patient had a power of attorney in the record, but provider never contacted the person to
establish a plan for the patient.

On 1/4/23 the patient had seizures and was unresponsive and was sent to a hospital. The hospital
called a nurse practitioner at the facility to ask about a power of attorney. The HCUA told the
nurse practitioner to call the Warden but the Warden didn’t answer. The HCUA told the nurse
practitioner to fax the power of attorney that had been previously filled out during an earlier
hospitalization. The patient apparently died in the hospital.

This patient was over 50 with significant smoking history that warranted lung cancer screening.
He did not receive this even though he had an annual checkup on 11/8/22. He had multiple
episodes over the next year complaining of cough; only once was a chest x-ray ordered but it was
not completed. He also was gradually losing weight so that over the course of a year he lost 36
pounds. He was not sent for a diagnostic evaluation until he couldn’t walk, had central nervous
system symptoms of inability to articulate speech correctly and was confused. Widely metastatic
lung cancer was identified. This death was potentially preventable with early screening. The
failure to act on the radiation oncologist’s recommendation for ultrasound demonstrated a broken
specialty care program and resulted in harm to the patient that hastened death.

Patient #7

This patient was a parole violator initially incarcerated at Menard on 1/13/23. He had initial blood
tests done four days after intake that included an alkaline phosphatase that was very high (430 with
normal 40-125). This test is significant and requires follow up with diagnostic testing that if done
likely would have resulted in earlier diagnosis. A provider documented review of the test with a
note to repeat it. On 1/27/23 the patient was transferred to Vienna.

The vendor Regional Medical Director reviewed the laboratory test and documented on the
laboratory result that the patient should be scheduled to see an on-site provider. But there was no
regularly assigned provider at Vienna since the Medical Director position was vacant.

On 1/31/23, a coverage physician, who is not credentialed, saw the patient and documented that
the patient was to be seen for an abnormal lab result. He took no history and performed no
examination. He noted that the laboratory test had not returned. The plan was “awaiting repeat
lab”. The laboratory results should have been obtained from UIC. A history should have been


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taken related to possible reasons for an elevated alkaline phosphatase. A follow up clinic visit to
evaluate the laboratory test at a later date was not done. This was unsafe and clinically
unacceptable care and resulted in a significant delay in diagnostic follow up of this abnormal
laboratory test.

On 4/21/23 the patient was diagnosed with COVID and had consistent tachycardia for six days
when monitoring stopped. A coverage doctor was called and discharged the patient from
quarantine. The six days of tachycardia were unrecognized and not followed up.

Six months after transfer to Vienna, on 7/15/23, security sent the patient to the medical unit for
evaluation for leg swelling. A nurse evaluated the patient using an abdominal pain protocol. The
pulse was high at 115, the blood pressure was high at 159/97 and the patient had bilateral leg edema
with a distended abdomen with emaciated face and arms. The nurse called a provider who sent
the patient to an emergency room.

The local emergency room sent the patient to a higher level hospital. The reference hospital
diagnosed adenocarcinoma in the colon with metastases to the lung and liver. Ascites was present.
The cancer was far advanced and only palliative chemotherapy was planned. The patient had very
low serum sodium. The hospital recommended oncology follow up in a week. The discharge
summary noted, “Patient is currently incarcerated in Illinois which will make some of his follow
up difficult and will need to be done prior to getting out. Needs follow up with local oncologist at
discharge”.

On the last day of hospitalization on 7/20/23, the Director of Nursing became involved in
coordinating and apparently referring the patient for specialty care. At 2:30 pm on the day of
discharge from the hospital, the DON from Vienna talked to a nurse at Deaconess oncology. The
original plan for the patient was for interventional radiology follow-up on 7/24/23 to insert a
chemotherapy port and with an oncology appointment on 7/26/23. The DON added that she
"followed case closely and established pt outpatient visit to F/U and initiate treatment plan on July
26th at 11:30 am at Deaconess Oncology Center Will advise of this furlough appt." This
involvement of the Director of Nursing in directing referral for specialty care was likely due to an
absence of a physician at this facility.

On the same day, a nurse practitioner from Vienna CC talked to a nurse practitioner from the
hospital oncology service. The hospital nurse practitioner said that the patient couldn’t get a port
because the pathology report wasn’t completed. The nurse practitioner from Vienna said she would
arrange cancer follow up at SIH Cancer Center, which is in Illinois and close to Vienna CC. The
nurse practitioner made a referral to SIH on this date. There appeared to be two different oncology
plans for the patient.

Neither the Director of Nursing referral nor the nurse practitioner referral was in the July offsite
specialty tracking log. On 7/20/23 the patient returned to Vienna where there is no infirmary and
no physician. This was an unsafe placement for this patient. This patient needed a higher level of
care than could be provided at Vienna CC.




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The first provider visit after return from the hospital was on 7/21/23. The nurse practitioner took
little history; only that the patient had abdominal pain. The hospital discharge diagnoses were
metastatic colon cancer, liver metastases, lung nodules, ascites, anasarca, tachycardia, and non-
sustained ventricular tachycardia. The patient was discharged on Vantin, an antibiotic for
presumptive subacute bacterial peritonitis and furosemide 40 mg daily for ascites and anasarca.
But the provider at Vienna did not acknowledge any of the problems identified at the hospital and
the only assessment was “hospital follow up” which is a task, not an assessment. The provider did
not document what medications the patient was on and did not have a plan for any of the hospital
diagnoses except the cancer for which the nurse practitioner documented a referral to SIH cancer
center. Baseline laboratory tests should have been ordered.

A coverage physician, without credentials, evaluated the patient on 7/24/23. The note was
extremely brief. The pulse was 140 which was not acknowledged as abnormal. The only history
was "Had liver bx + colonoscopy". The objective examination portion of the note documented.
"was to get a port but it has been rescheduled". This is not an examination. There was no review
of the hospital note. The physician’s assessment was post-hospitalization with a diagnosis of
cancer with metastases. None of the other diagnoses were documented or reviewed. None of the
patient’s medications were noted. The plan was to continue observation care. There was no
documentation of a specific therapeutic plan for this patient. Follow up labs were not ordered.
The physician also should have investigated when the port would be placed and should have
ensured the patient was referred for oncology consultation. The port should have been placed
urgently. This note was devoid of any assessment or plan for any of the patient’s problems.

The Director of Nursing arranged with the furlough officers to take the patient to Deaconess
Hospital on 7/24/23 for the port placement. When the furlough officers arrived, they were told that
no appointment was scheduled. The hospital then offered to reschedule the patient but the Director
of Nursing after discussion with the nurse practitioner at Vienna wrote, “decision was made to
continue with local care at SIH Cancer Center”. The Director of Nursing contacted Deaconess and
cancelled the existing appointment with the oncologist at Deaconess. It appeared that the Director
of Nursing was directing specialty care. The coverage physician who was present at the facility
that day was not involved. Clearly, the role of coverage physicians is not to act as a Medical
Director.

There is documentation in progress notes on 7/26/23 that the patient had another appointment at
Deaconess on 8/1/23 at 8:45 am with oncology and a second appointment at 9:30 am with
interventional radiology. The documentation is not signed.

On 7/26/23, a nurse described the patient as emaciated which term was used in several other notes.
There was no indication what diet the patient was on and a dietician consultation was not obtained.

A non-credentialed coverage doctor saw the patient again on 7/31/23. The note was extremely
brief, did not address all of the patient’s problems and focused on the patient signing a do not
resuscitate form. The note read:
        “S: "OK considering the circumstances. Eating. + emesis, + nausea.
        O: has extensive metastatic cancer,
        A: Will need to sign a DNR.



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       P: DNR has been signed"

Given all that had occurred with this patient and the flurry of failed offsite appointments, this
physician should have written a more comprehensive note. The patient had requested a Joe
Coleman release earlier that day with the HCUA but the doctor did not discuss this with the patient.
The POLST form, signed by the patient and physician, documented that the patient requested to
be resuscitated and asked for full treatment. The physician’s labeling this POLST as a “DNR” is
misleading. None of the patient’s problems were addressed. Nor was any attention given to offsite
scheduling and the physician did not document an oncology plan of care.

The patient went to Deaconess on 8/1/23 and saw an oncologist. There was no documentation of
a referral from Vienna providers to oncology, only to interventional radiology for a port placement.
The oncology visit was not on the offsite specialty tracking log. At this visit, the patient was
tachycardic and had elevated white count so the oncologist sent the patient to the ER and from
there he was admitted to the hospital. He spent a week in the hospital and received the first cycle
of chemotherapy. The after-visit summary documented that a follow up appointment for
chemotherapy was scheduled for 8/23/23. The patient was discharged from the hospital on 8/8/23.

Remarkably, on 8/2/23, when the patient was still in the hospital, a nurse practitioner from Vienna
wrote a referral to the oncologist at Deaconess for chemotherapy. This was the same nurse
practitioner who referred the patient to SIH oncology. The scheduled appointments for this patient
were not clearly documented in either the offsite specialty tracking log or in progress notes of
providers. Care was episodic and specialty care scheduling was chaotic and dysfunctional.

When the patient returned to Vienna from the hospital on 8/8/23, he was placed in an observation
cell. Vienna had no physician and no infirmary and should not have been used to house this patient
as he was bedridden and dying of cancer. . It appeared that an error occurred with respect to
discharge medications from the hospital. The discharge medications included levothyroxine but
there was no evidence that could be found in the hospital record that the patient had
hypothyroidism. In fact, the patient had nearly continuous tachycardia which is an adverse effect
of levothyroxine. When the patient returned to the prison, he started to receive levothyroxine
despite no clear diagnosis of hypothyroidism. The order for the levothyroxine was made by phone
without the physician seeing the patient and without acknowledgement of tachycardia (118) which
levothyroxine can exacerbate. This order did not apparently go through the pharmacy as the MAR
was hand written and without pharmacy labels. This event should be brought to the attention of
the SIU medication process group to evaluate how the patient could be on a medication without a
diagnosis. This patient had multiple episodes of subsequent tachycardia but the association with
the levothyroxine was not examined.

The first provider note after return to Vienna from the hospital was on 8/9/23. The nurse
practitioner did not review the hospital notes nor was a plan of care initiated based upon what had
occurred at the hospital. The nurse practitioner documented that the pain was “the same” but didn’t
document an assessment of pain control. No additional pain medication was ordered. No labs
were ordered. The nurse practitioner did not question why the patient was on levothyroxine which
was a newly recommended medication by the hospital nor was the patient’s rapid pulse (108)
noted. The nurse practitioner did not even mention that the patient had been hospitalized for a



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week. The hospital discharge paperwork, including the discharge summary was initialed as
reviewed by the same nurse practitioner but the findings or recommendations from the hospital
were not documented in a progress note. There was no assessment of the patient and the only plan
was to elevate his legs for his edema. There was no documented plan for the patient’s oncology
care.

On 8/11/23, the patient went to the SIH Cancer Center. This was the only referral listed on the
Vienna offsite specialty tracking log. The oncologist noted what had occurred at Deaconess
Hospital and discussed options for the patient. The patient elected to receive further palliative
chemotherapy and this was planned. A specific appointment day was not given. The patient’s
blood pressure was 146/102 and the oncologist recommended lisinopril.

On 8/11/23 the patient was allowed to call his father in the HCUA’s office and was tearful. This
appears to have been the only contact the patient had with his family in the time between his
diagnosis and death.

By 8/16/23 the patient’s weight had decreased to 162 pounds a 23 pound weight loss. A nurse
called an on-call physician and got an order for boost, a nutritional supplement. A nutritional
consultation would have been appropriate.

On 8/20/23 the patient complained of dizziness and being short of breath. His pulse was 138,
respirations 32 and the oxygen saturation 77-84%. An on-call physician was called and ordered
the patient sent to the emergency room.

At the hospital, the patient’s status was changed to palliative care and the patient died in the
hospital on 8/24/23.

This patient had an abnormal laboratory result that was unrecognized for seven months. The
laboratory result implied that the patient likely had metastatic liver disease. It is uncertain what
effect earlier diagnosis would have had on survival. However, the patient was only 40 years old
and wanted aggressive care. This was not provided to him because of the delay in diagnosing his
cancer. The referral process at Vienna is dysfunctional and chaotic. The documentation of referral
and specialty care is extremely difficult to follow in the record and contributes to the fragmentation
of patient care. The tracking log is completely unreliable and does not track referrals or
appointments. Physicians play no part in managing patient referrals. The nurse practitioner and
Director of Nursing appeared to be managing referrals but were not coordinating their efforts. The
absence of an engaged, responsible physician was evident.

Patient #8

This 46 year old man was incarcerated at Graham on 10/12/23 and gave the screening nurse a
history of right shoulder issues, headaches, and back pain. The provider performing the health
assessment took no history. The second page of the health assessment was missing. The problem
list includes hypertension not on medication, a right shoulder “issue” which was not further
clarified, headache and neck pain.



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On 10/31/23 a nurse saw the patient for shoulder pain and used the non-specific discomfort
protocol. The patient weighed 148 pounds and was 5 foot 10 inches tall. The nursing note was
not understandable; it stated that the patient had a facial grimace and “S/R dislocated shoulder MC
[with] 1/2 ago". Other than noting there was no edema or discoloration the nurse did not check
the patient’s range of motion, strength, or alignment. The nurse did not inquire about any impact
on activities of daily living or elaborate on the relationship between the reported dislocated
shoulder and the discomfort he presented to sick call with. The nurse gave ibuprofen by protocol.

On 11/1/23 a physician assistant wrote an illegible note.

On 11/9/23 a registered nurse issued the patient 10 tablets of 400 mg ibuprofen without
documenting an examination or use of a protocol. This nurse was practicing outside of scope.

On 11/12/23 a registered nurse responded to a code 3 at 4:30 in the afternoon and evaluated the
patient using a non-specific discomfort protocol. The patient had intermittent right shoulder and
chest pain (8 out 10) the entire day. The patient said it was hard to breathe. There was no swelling,
bruising, or redness. Once again the evaluation of the patient was incomplete and more appropriate
guidance would have been provided if the nurse used the chest pain or short of breath protocols.
The nurse gave the patient a three day supply of ibuprofen and acetaminophen by protocol.

The next day a second code 3 was called and a nurse practitioner saw the patient for shortness of
breath and shoulder pain. Limited history was taken. The range of motion was normal and the
nurse practitioner documented “normal exam of the right upper extremity”. The nurse practitioner
ordered an x-ray of the shoulder. Though the patient had pain the nurse practitioner documented,
“no Tylenol or ibuprofen given because of abuse of previous blister pack”. Apparently all the pain
medication that he received the day before had been taken. This indicates that the patient is
experiencing more pain than can be relieved by over the counter pain medication. The practitioner
was cynical to attribute this to abuse. The patient’s pain needed more thorough evaluation and
higher level treatment.

On 11/15/23, the patient complained of pain that awoke him during sleep. The nurse used the chest
pain protocol and the pulse was documented as 113. The nurse did not note that this was the fourth
complaint for the same symptom in the last two weeks and that two of these were code 3s and did
not refer the patient. Later that day the patient was transferred to SWCC. He told the nurse
completing transfer screening that he had hurt his ribs but the nurse did not evaluate the complaint.

On 11/16/23, a nurse documented a code 3 for arm pain including right chest pain. The pulse was
110 and 124. An EKG was documented as sinus rhythm. There was bruising on the right chest
with an abrasion. The patient said he fell out of bed twice during the night. Despite the recent
fall, tachycardia and the repetitiveness of the complaint the patient was not referred for a medical
evaluation. The patient was referred to mental health.

The psychiatrist who saw the patient on 11/17/2023 elicited a history of the patient being in a fight
a couple weeks ago and dislocating his shoulder. Since then, he had worsening pain down his entire
right arm, and stated “On my God, my arm is on fire.” He was unable to sleep without taking
ibuprofen every four hours. He couldn’t do anything because of the injury and hadn’t been eating



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because of the pain. During the interview he was grimacing, breathing heavily and had a pulse rate
of 123. The psychiatrist documented referring the patient for a medical evaluation.

On 11/20/23 security staff brought the patient to the HCU from chow hall because he couldn't
breathe. A registered nurse evaluated the patent and documented a pulse rate of 102-127 with the
respiratory rate 22-30. The nurse failed to recognize the severity and cascading nature of this
complaint and only recommended breathing through pursed lips. No protocol was used to guide
this evaluation. At a minimum the patient should have been referred promptly to a provider due
to the abnormal vitals but this was not done. The nurse returned the patient to his housing. The
nurse’s actions were negligent and put the patient at risk.

The next day, on 11/21/23, custody staff again brought the patient to the health unit. The patient
said he couldn't breathe and his shoulder, back and arm hurt. The nurse evaluation was extremely
brief documenting, "Patient seen, assessed, noted wheezing and hyperventilating.” The nurse had
the doctor who was onsite see the patient. He advised sending the patient to an emergency room.

The patient was sent to a reference hospital in Missouri and diagnosed with widely metastatic
non-small lung cancer. The cancer was extensive with an upper lobe lung mass that extended
beyond the lung to encase two major arteries and was so large it forced the center part of the chest
to one side. The patient had brain metastases, abdominal , liver, lymph node, and bone metastases.
Radiation therapy was initiated as was chemotherapy which was recommended to be continued as
an outpatient. While hospitalized, the patient filed a medical release request form.

After nearly a month of hospitalization, the patient returned to SWCC on 12/12/23. He weighed
113 pounds, a loss of 35 pounds. His widely metastatic cancer encased several major arteries,
locally extended to the abdomen and chest, caused a pathologic fracture of a rib. The laryngeal
nerve was encased causing difficulty speaking. The hospital recommended oncology follow up,
multiple medications, including acetaminophen for fever, albuterol inhaler, alprazolam (a
benzodiazepam),      dexamethasone,      guaifenesin-dextromethorphan,    ipratropium-albuterol
nebulization, morphine extended release 75 mg twice a day, morphine immediate release 15 mg
every four hours as needed for pain, naloxogel 12.5 mg once, naloxone spray as needed for opiate
reversal, ondansetron 4 mg every 4 hours, pantoprazole daily, nicotine patch daily and nicotine
gum.

On 12/12/23, the physician infirmary admission note documented adenocarcinoma of the lung
which was inaccurate. The physician didn’t document a therapeutic plan for the patient other than
ordering morphine and even though the patient had difficulty swallowing the diet order was “as
tolerated”. The admitting physician made no referral to oncology.

It didn’t appear that the physician reviewed the hospital report because besides using the wrong
diagnosis, the order for morphine differed from that recommended by the hospital. The hospital
recommended 75 mg extended release every 12 hours and 15 mg immediate release every four
hours as needed for pain. The doctor’s infirmary admission note documented “morphine 60 ER
[extended release] BID [twice a day]” and “morphine 15 mg [every] 6 prn”. This order wasn’t
precise and translated onto a MAR handwritten by the nurse as morphine sulphate ER 60 mg every
12 hours and morphine sulphate immediate release 15 mg every 4 hours as needed for pain. This



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was a reduction in pain medication without assessment of pain or explanation of why the hospital
order wasn’t honored.

The patient’s pain medication prescription was reduced by 30 mg of morphine a day from what
was recommended by the hospital. Further there was no evidence that the 15 mg immediate release
morphine was offered every four hours. There was documentation on one MAR of offering
immediate release morphine only three times from 12/12/23 to 12/15/23 when it should have been
offered 18 times over that time period. The patient remained in pain as documented 12/13/23;
12/14/23; and 12/15/23. On 12/15/23 the patient said he hurt all over. Despite the patient saying
he “hurt all over” the nurse documented, “Pt [patient] voiced no concerns today”. The nurse took
no action regarding the patient’s pain.

On 12/14/23, the facility Medical Director saw the patient and documented he had intermittent
pain in his lower abdomen but did not pursue the status of pain control and no additional pain
medication was prescribed. The patient continued to complain of pain in nursing notes. On
12/15/23, the vendor Regional Medical Director wrote another morphine order for 60 mg morphine
extended release every 12 hours and 15 mg morphine immediate release every 12 hours but to
space the morphine doses so that the extended release alternated with the immediate release. Both
of these prescriptions were less than recommended at the hospital. There was no explanation for
either prescription and the patient remained in pain.

There were four prescriptions in the medical record dated 12/15/23, written by the Regional
Medical Director. These included 1) 60 mg extended release morphine every 12 hours for seven
days; 2) 60 mg extended release morphine every 12 hours for 30 days; 3) 15 mg immediate release
morphine every 12 hours for seven days; and 4) 15 mg immediate release morphine every 12 hour
for 30 days. Each of the two immediate release prescriptions were to stagger with the extended
release morphine. This appeared to imply that the patient was to receive seven days of 120 mg
extended release morphine every 12 hours with 30 mg of immediate release every 12 hours 6 hours
after the extended release morphine. This was to be followed by 23 days of 60 mg extended release
morphine twice a day with 15 mg of immediate release morphine every twelve hours with the
immediate release morphine doses six hours after the extended release morphine. There was no
progress note explaining this prescription so it appeared to be an order conducted by phone. This
effectively would double the dosage prescribed by the hospital for seven days and reduce the
dosage prescribed by the hospital for the next 23 days. There was no explanation in progress notes.

The medication administration records do not reflect these prescriptions. There was one entry on
the MAR for 60 mg extended release morphine twice a day and 15 mg immediate release morphine
every four hours. This prescription was dated 12/12/23 until 12/26/23. The patient was
documented as receiving the extended release morphine from 12/12/23 to the morning of 12/17/23.
The immediate release morphine was documented as offered only three times. A second entry on
the MAR dated for 12/12/23 to 12/26/23 documented 60 mg extended release morphine twice a
day and 15 mg immediate release morphine every six hours as needed. This MAR documented
receipt of the extended release on the evening of 12/17/23 to 12/19/23 after the morning dose. The
immediate release morphine was documented as offered and given twice on 12/16/23, three times
on 12/17/23; and twice on 12/18/23.




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The hospital recommended a total of 210 mg of morphine a day in divided doses including both
immediate release and extended release morphine. The MARs, prescriptions and other
documentation in the record were disorganized. The prescriptions were not consistent with the
hospital recommendations, were inaccurately represented on the MAR, and were not given to the
patient as ordered.

While the hospital recommended 210 mg of morphine a day, the patient received
12/13/23 =135 mg. documented as complaining of pain
12/14/23 = 135 mg. documented as complaining of pain on five occasions
12/15/23 = 135 mg. documented as complaining of pain twice
12/16/23 = 150 mg. documented as complaining of pain once
12/17/23 = 225 mg. documented as complaining of pain twice
12/18/23 = 120 mg documented as complaining of pain once
12/19/23 = 90 mg with one refusal. Expired.

The pain medication management for this patient had numerous errors with respect to the MARs,
prescriptions, and monitoring that need to be corrected as they were dangerous especially since
dealing with narcotic medication. This information and record should be given to the SIU
pharmacist performing a process analysis of medication management.

The hospital recommended referral to an oncologist but it wasn’t identified until 12/19/23 when
there was a referral form written to the oncologist. This referral was not found on the offsite
schedule log. The patient died on the same day.

The evaluation of the patient’s shoulder pain was not timely. Nurses’ evaluations of the patient’s
complaints were not driven by use of appropriate protocols and some nurses made clinical
decisions that were outside their scope of practice. Though he was not referred to oncology, it did
not appear to alter his prognosis.

Patient #9

This 56 year-old man was incarcerated in 2007 and was at Joliet Treatment Center. His problem
list documented hypertension, high blood lipids, anti-social personality disorder, depression with
psychotic features and schizoaffective disorder.

He also was followed in chronic care clinic for hypertension and seen on 8/11/22, 9/2/22, and
7/11/23. Notable deficiencies in these encounters were as follows.
    • In the 8/11/22 visit the patient had a 24 pound weight loss since 1/27/22 which was
       unrecognized. Neither was colorectal cancer screening offered.
    • At the 9/2/22 chronic clinic, no history was taken. The weight loss since 1/27/22 was now
       35 pounds which was also unrecognized. Preventive measures including colorectal cancer
       screening were not offered.
    • The 7/11/23 chronic clinic is discussed in detail later in this chronology.

On 5/16/23, a nurse saw the patient for chest pain and referred him to a provider. A physician saw
the patient on 5/17/23. The patient was noted to have right breast swelling and pain with deformity


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of the breast. The patient was not checked for discharge, dimpling or firmness of the swelling. An
EKG and an ultrasound of both breasts was ordered. This referral was not found in the 2nd quarter
specialty tracking log and the test was never done. The provider did not order a subsequent
appointment to review the test results and the patient was lost to follow up.

On 5/22/23 a nurse saw the patient for constant right breast pain. The nurse documented swelling.
No referral was made but the nurse gave ibuprofen to the patient by protocol.

On 5/23/23, a nurse again saw the patient for constant chest pain. The nurse contacted a physician
by phone who ordered an EKG in the morning. On 5/24/23, a physician saw the patient for the
chest pain. The patient was concerned about right nipple enlargement. The doctor assured the
patient that an ultrasound and work up were in progress. However, the scheduling clerk had not
apparently received the referral and it wasn’t scheduled. The provider did not order a follow up
appointment. It would have been reasonable to refer the patient to a surgeon because unilateral
breast swelling in a male is suspicious for cancer. The physician did order a CRP, CBC, thyroid
study and a prolactin level.

On 5/30/23 the prolactin level returned as normal but the patient had anemia (Hgb 12.3). Anemia
in a 56 year old warrants a colonoscopy. A normal prolactin level eliminates gynecomastia and
breast cancer should be ruled out. Though someone initialed the labs as reviewed, no action was
taken and there was no progress note about the laboratory results. The patient should have been
referred for colonoscopy and to a surgeon to biopsy the breast.

On 6/10/23 a nurse saw the patient for chest pain. The pain felt like “it’s closing in on my heart”.
Pain medicine had not helped. The nurse documented tenderness over a right chest mass and
“tremors” in the right arm and hand and left leg. Despite significant findings the nurse did not
refer the patient to a provider.

On 6/14/23, a nurse noted that the patient was reported to have a shuffling gait in the dorm and
had to stop on his way to chow. The nurse documented that she would follow up with a physician
for a slow walk pass.

On 6/19/23, someone wrote a health request for the patient stating that his toenails were extremely
long and it took him 10 minutes to walk to chow and it appeared that his feet were in pain. A nurse
documented on the request that a slow walk pass was given and a nurse assistant trimmed his
toenails. There was no thought as to why the patient was walking slow.

On 6/21/23, a nurse practitioner saw the patient. Vital signs were not done. The nurse practitioner
took a history of low back pain that was constant, buttock pain, bilateral leg pain, foot pain, anal
pain all for several weeks. The patient was documented as having a shuffling gait. The plan was
to order a urinalysis, stool for occult blood, a low back x-ray, Naprosyn 500 mg BID and Colace
BID. No follow up was ordered. The weight loss and breast mass were not considered as problems
and tragically ignored.

On 6/27/23, laboratory results showed anemia again. The laboratory results were signed as
reviewed but again no action was taken.



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On 7/5/23, a nurse was called to the dorm because the patient had chest pain. The patient was
having trouble moving. The patient said he had the chest pain for four months. The nurse
documented that the patient had a mass on the R nipple area and said he couldn't move due to left
leg numbness. The nurse called the Medical Director of the facility who apparently was aware of
the patient and said that the patient was currently being worked up for a right nipple mass. The
nurse wrote that there would be follow up during afternoon medication pass. It wasn't clear what
the follow up was going to be. The breast ultrasound was ordered 5/17/23, 49 days ago and there
was not yet any evidence of the ultrasound being scheduled; it wasn’t on the offsite scheduling
log. A nurse documented during medication pass that the pain had resolved.

On 7/11/23, a periodic annual history and chronic clinic evaluation were conducted. The periodic
history documented use of use of a wheelchair for long distances and for fall prevention. He was
described as having delusional behavior. A brief physical examination was documented of left leg
weakness with a limp and unsteady gait. The weight was documented as 145.8 pound and the
assessment was "noted weight loss [with] malnutrition. LLE weakness [with] shuffling gait, +
delusional ideas. Otherwise, normal adult exam". This is not a normal examination and further
diagnostic evaluation was indicated but not initiated.

On the same day, the same provider conducting the periodic history documented a chronic clinic
visit for hypertension. The patient complained of rectal pain and left anterior thigh pain and
weakness. The labs from 7/7/23 were noted. The patient had poor hygiene and appeared
"malnourished. The nurse practitioner wrote that the patient had delusional behavior speaking of
"unrealistic things”- that he is part of a secret testing group at JTC. Though the patient complained
of leg weakness, the examination did not include a neurologic examination of the lower
extremities. The only assessment was that the hypertension was in good control. The delusional
behavior was not addressed. The leg weakness was not addressed. The nurse practitioner wrote a
therapeutic diet order for a high protein, high calorie diet documenting that the patient was
underweight (145 pounds) and had malnutrition. The patient was 198 pounds in January of 2023
so he had a 54 pound weight loss over less than seven months; this is not just malnutrition. An
evaluation for the severe weight loss, anemia, and breast mass was indicated. The breast mass not
discussed at this visit and was likely associated with the weight loss. The nurse practitioner also
ordered boost for a 42 pound weight loss over two years without ordering a diagnostic work up for
the weight loss or anemia. This encounter was unsafe and clinically inappropriate.

On 7/17/23, a physician ordered a CT scan for guaiac + stool, rectal discomfort and a 42 pound
weight loss. This was apparently ordered as a routine test but should have been urgent or the
patient should have been sent to a hospital for a work up. Someone wrote on the top of the referral
form that the appointment was cancelled without explanation. This appointment was logged into
the offsite tracking log as referred on 7/17/23 but was documented as cancelled by a physician
who documented that the appointment was not needed. It was not clear when the appointment was
cancelled. It was scheduled for 9/15/23. Given guaiac + stool and a 42 pound weight loss, urgent
colonoscopy was indicated which was not done.

On 8/6/23, the patient placed a health request stating, "I am very sick and in great pain. I need a
doctor and to go to the hospital. I have not been able to get the doctor to see me since I was last



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treated. I have lost a lot of weight". The patient was right. He needed hospitalization. The nurse
wrote on the referral form, "This individual in custody needs pain management and to go to doctor
immediately". This was signed by the nurse on 8/5/23 which was a day before the health request
was dated.

On 8/7/23, a nurse practitioner saw the patient for weight loss and "medication non-compliance".
Less than a month ago, the patient was described as having delusional behavior; how could this
patient’s behavior be framed as non-compliance when he was delusional? The patient’s weight
was 132 pounds but the weight loss was not quantified. Since January 2023 the patient had lost
66 pounds. The patient was having difficulty swallowing food. The patient was talking
nonsensically saying, “the marina rina kidneys hurt” and “the corporation is changing my
medication and that’s why I don’t take them”. The nurse practitioner documented that the patient
had stopped taking the medication since July; yet this was not perceived as related to his current
mental status. The patient apparently told a nurse that he had chronic pain in the abdomen. The
patient had poor hygiene. The examination was brief and documented as normal. The breast mass
was not acknowledged or evaluated. This patient needed urgent admission to a hospital for altered
mental status, severe weight loss, a breast mass and abdominal pain. Instead, the plan was to
order boost three times a day and a high calorie diet. The nurse practitioner documented that the
patient was "awaiting appointments for WRITS". These would be the breast ultrasound ordered
83 days ago and a CT scan of the abdomen for guaiac + stool and weight loss ordered about three
weeks ago. The tests or reasons for the test were not acknowledged. This was not timely access
to secondary or tertiary care and was unsafe and inappropriate care.

On 8/13/23, a custody officer reported to a nurse that the patient was incontinent and was too weak
to stand and clean himself. The nurse went to the housing unit. The patient was sitting on a
stationary stool with his pants pulled down which were soiled with stool to his feet. The patient
said he couldn't make it to the toilet because his legs didn't work. The nurse described the patient
as cachectic with temporal wasting and visible bony prominences. The patient had a raspy
whisper-like voice. He said he had no strength to walk and complained of pain all over. He had
a "strong body odor". The officer said that he was too weak to shower and the officer knew that
he hadn't showered in "30+ days". The nurse documented that a NP had been made aware prior to
the current episode that the patient had weakness and weight loss and saw the patient on 8/7/23.
The officers assisted the nurse who gave the patient a chair bath except for his hair. The nurse
documented that because of his weight loss would advocate for a double mattress. The patient was
assisted into clean clothes and a porter assisted the patient into bed. The nurse documented a
weight loss of 55 pounds over two years, when in fact the patient had had lost 66 pounds in the
last eight months. The nurse tried to call the facility Medical Director three times but could not
reach her and then called the vendor Regional Medical Director. The vendor Regional Medical
Director ordered that the patient be placed on medical watch and the facility Medical Director
to follow up with the patient in the morning. This patient was incontinent with severe weight loss
and possible altered mental status, an undiagnosed breast mass and recent onset anemia. He should
have been immediately hospitalized. Also, this patient should, at a minimum been sent to an
infirmary. Instead, further “monitoring” was ordered.

On 8/14/23, the facility Medical Director evaluated the patient at the bedside and sent the patient
to a hospital by 911. She wrote that the patient was sent to the hospital for "failure to thrive"



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documenting a 17 pound weight loss (which was grossly inaccurate). The facility Medical Director
documented a firm irregular right breast mass which had enlarged since the last evaluation and she
documented "awaiting mammo and US at UIC". She documented that the patient had difficulty
swallowing both solids and liquids. She documented occult blood positive stools in June with a
Hgb of 10. She wrote that the patient needed a work up and was unable to do this at the DOC
facility.

The patient was confused upon admission to the hospital. Initial tests showed significant
hypercalcemia52 (14.4 on admission) which explained the patient’s confusion (which was likely
present at least as of 8/7/23). The CT of the chest showed multiple lytic bony metastases,
pulmonary metastatic disease, suggestion of thyroid and renal metastatic disease, and a right chest
wall lesion suggestive of breast neoplasm. The patient had multiple bone metastases to the cranium
and face. The patient refused a breast biopsy and wanted a second opinion. The prognosis was
poor. The patient was discharged on tramadol 50 mg Q 6 hours for pain and had received Zometa,
a monthly injection for hypercalcemia before he left the hospital. Because the patient refused
treatment he was sent back to JTC.

On 8/17/23, the patient returned to the prison at 5:20 pm. The physician was not available and the
call went to voicemail. Later that day, (time not documented) a nurse called a nurse practitioner
who ordered the tramadol. This patient had end-stage cancer with hypercalcemia, needed close
monitoring and hospice but was sent back to JTC which does not even have an infirmary. He was
placed in dorm 1 apparently in a cell. This facility was incapable of monitoring the patient.

At 1:04 pm the day after return to the facility a nurse practitioner saw the patient "cell side". The
patient said he was waiting to go to another hospital and the nurse practitioner thought he was
confused. A stat calcium should have been obtained since the patient had recent hypercalcemia.
The nurse practitioner did not acknowledge the hypercalcemia or that the patient was given Zometa
at the hospital. Given the patient’s confusion the calcium should have been obtained stat to obtain
a baseline and to ensure the patient was not hypercalcemic. The nurse practitioner noted that the
patient had metastatic disease (primary unknown) but hospitalists documented this was likely
breast cancer. The nurse practitioner documented that the patient refused further workup and told
the patient to "notify medical" if pain became an issue. The nurse practitioner documented that he
would discuss the case with the medical director and that "Pt stable at this time". The plan of care
for this patient did not include all diagnoses. Pain medication was reduced from what had been
recommended by the hospital (50 mg tramadol every 6 hours at the hospital versus 50 mg three
times a day for pain). Furthermore, this patient had serious mental illness and the medical
providers should have conferenced with the mental health team to determine how to care for him.
This was especially true because the patient had hypercalcemia which can cause confusion and
would make it difficult to differentiate his mental health condition from his medical condition.

On 8/21/23, a physician reviewed the chart and saw the patient in his cell while he was in bed. He
wrote "By history pt's mental status has been waxing and waning". The patient remembered the
doctor and said he had cancer all over. The patient wanted to be a full code until he knew more
about the disease. The doctor told the patient he would need to go to UIC to see an oncologist for

52
 Hypercalcemia is often a result of cancer. In this case it was. A calcium above 14 calls for immediate treatment.
Hypercalcemia can cause confusion and altered mental status.


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a work up. Patient agreed to this. The patient said he did not need additional pain medication. No
examination was done. There was no assessment. The doctor documented she would write a
referral to UIC for a breast biopsy and for an oncology consultation. These two referrals forms
were in the medical record but there was no evidence that they had been added to the specialty
tracking log so they were not scheduled. Clearly, the specialty tracking log is being managed
ineffectively. CMP was ordered in 2 weeks. A same day calcium would have been appropriate
given the recent confusion and history of hypercalcemia. The physician did not mention that the
patient was treated with Zometa. This patient should have been transferred to a facility with an
infirmary and an urgent mental health consultation ordered to assess the mental status of the
patient.

On 8/23/23, the physician ordered mammography, but this referral was also not found in the 3rd
quarter specialty tracking log for JTC. This was the fourth referral made that was not entered onto
the log. On 8/24/23, a nurse practitioner referred the patient for bilateral breast ultrasounds. This
became the 5th referral that was not entered onto the specialty tracking log. There was no progress
note associated with this referral.

On 8/28/24 the patient was still bed-ridden in his cell with an end-stage malignancy and
intermittent confusion. Blood tests for calcium had not been done since hospitalization and pain
was difficult to monitor because of his mental status. Mental health had not yet documented seeing
the patient. On this date, a nurse saw him cell front and observed him having a hard time sitting
up. This patient should clearly have been transferred to a higher level of care ( i.e., to a facility
with an infirmary or to a higher level skilled unit). The nurse noted facial grimacing and the patient
received tramadol. This should have prompted a better plan for managing pain.

On 9/4/23 when a nurse was passing medications, she noticed that the patient was grimacing when
trying to sit up. The nurse did not make the patient come to the door for meds but said she would
come to him. The nurse noted a [something illegible] on the ischial tuberosity and recommended
that the patient lie on his side to relieve pressure. This patient should have been transferred to a
facility with an infirmary and a proper pressure-relieving bed or sent to a skilled nursing unit.
Medical watch housing should be restricted to patients who are independent with regard to feeding,
hygiene, and transfers. This patient was not.

On 9/6/23, the patient refused a writ to UIC; he said that he only wanted treatment offered at the
prison. Whatever this appointment was, it was not being tracked on the specialty tracking log, as
there was no appointment listed for this patient on this day. Also, the note on 9/6/23 at 11:30 am
demonstrated that he was confused about his care, thinking he was going back to the hospital. His
decision to refuse a specialty care appointment did not appear rational. The patient needed to be
evaluated for capacity to make a medical decision. That this patient was housed in a mental health
facility and did not have a mental health professional consulting on his mental status and refusals
is a significant problem.

On 9/12/23 a nurse documented that the patient was observed getting off the toilet and was very
weak and having a hard time getting from sitting to standing position. The patient also had facial
grimacing. At 13:45 a nurse obtained a verbal order to increase tramadol to 100 mg every 6 hours.
A palliative care evaluation had not yet been done. The nurse offered to wash the patient up as he



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had "strong body odor" but the patient refused. It did not appear that the patient was capable of
caring for his needs yet he was not transferred to a higher level of care. This patient was improperly
housed and not provided higher level care.

On 9/13/23, a doctor noted that "he is comfortable, content, peaceful at this time". This was
inconsistent with prior nursing notes. The patient re-affirmed that he did not want to go to UIC.
The doctor said she would review the POLST form with the patient the following week. The
patient was accepting of additional pain medication. The patient did not want to talk to his family
but said he was thinking of someone who could be a surrogate decision maker. The doctor did not
assess the patient's pain symptoms, nor were laboratory tests reviewed. No new labs were ordered.
Though no pain assessment was done, the physician ordered dexamethasone 4 mg daily for 20
days for his bone pain. None of the patient’s other problems were assessed in this note.

On 9/20/23, a nurse documented that she obtained "reports" of patient trying to flush his toilet and
hearing a pop in his left shoulder. The left scapula was sticking out and the patient had pain. A
physician was called and the physician ordered transfer to a hospital. The patient refused to go to
the hospital. An x-ray was not ordered. Mental health was not consulted.

On 9/27/23, a physician saw the patient and noted "he had pain all over". The POLST form was
discussed. The patient expressed concern about signing it. The patient was described as frail and
cachectic. The doctor then said,
       "We talked about POLST form & what it is for. He seems concerned [about] signing this
       form. I advised him we will talk about it again later today. Denies SOB, N, V, F, C. Pt is
       frail & cachectic. We talked about better pain management [with] a pain patch. We also
       talked [about] the pain meds should not be too sedating for him & he agreed he did not
       want to be groggy with meds. See orders. Addendum. See POLST form- Pt is DNR".

The patient did sign a POLST form requesting no excessive measures and comfort care only.
In addition, over the six weeks since diagnosis, nurses documented poorly controlled pain. There
was inadequate provider pain assessment. At this visit, the doctor started a fentanyl patch (25
mcg) and 20 mg morphine sulphate immediate-release every four hours for pain. This was an
appropriate change but the fentanyl patch never arrived from the pharmacy and was discontinued.

On 9/29/23, the physician transferred the patient to the NRC infirmary for "supportive end of life
care". The plan of care focused around providing pain medication. . Though the patient had
signed a POLST for comfort care only, the patient continued to receive medication for his high
blood pressure. It isn’t clear how IDOC defines comfort care.

With respect to pain, the hospital recommended tramadol 50 mg four times a day but this was
reduced on 8/18/24, the day after return to the prison, to 50 mg three times a day (30 mg morphine
equivalent) without an adequate pain assessment or rationale. The patient continued to have pain
but was not adequately assessed periodically for pain. The tramadol was increased on 9/12/23 to
100 mg four times a day or a morphine equivalent of 80 mg a day. On 9/29/23 when transferring
the patient to the infirmary and noting pain all over, the doctor changed medications to fentanyl
25 mcg patch to change every 72 hours and morphine sulphate 20 mg/ml. to give 0.2 ml (4 mg)
every 4 hours as needed for pain. This was a morphine equivalent of 84 mg which is essentially



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the same morphine equivalent of the tramadol (80 mg morphine equivalent). This patient was not
receiving sufficient pain medication. The provider should have sought assistance from a
pharmacist.

On 9/29/23, on the infirmary unit at NRC, the doctor documented that the patient asked for a liquid
diet and the doctor ordered it. On 9/30/23, the patient said he had no pain but then told the nurse
that he had pain when he moved. Later, on 9/30/23, the patient asked for a regular diet. The patient
started refusing tramadol for unclear reasons. The patient did not appear to be acting rationally.
Still a mental health consultation was not sought.

On 10/2/23, a nurse practitioner attempted to see the patient who was agitated and yelling that he
didn’t want enforced meds. The patient was resistant to any evaluation and appeared delusional.
The nurse practitioner requested mental health nursing to tell the patient he was not on enforced
medication. This patient may have been having a psychotic episode or may have had altered
mental status due to his condition (metastases or hypercalcemia). Neither was evaluated. A
psychiatrist should have seen the patient. It was not clear that the patient was competent to make
informed decisions. This should have been investigated because the patient was likely in pain but
was refusing medications believing they were enforced psychotropic medication. This was not
acceptable comfort care as the patient was not made comfortable.

Later the same day, on 10/2/23, the patient asked for his pain pill and when asked what hurts, he
responded "everything". The patient had refused the 3 prior doses of pain medication that day. He
did not appear to be acting rationally. The nurse documented "brown substance noticed on socks
and shoes" and the patient said it was chocolate. The patient refused help to clean himself and was
not cleaned. This patient was clearly unable to act rationally. A psychiatrist should have evaluated
the patient for competency to make a medical decision. The Medical Director should have
considered identifying a surrogate for the patient. It was clear that NRC could not manage this
patient either and he should have been transferred to a facility capable of caring humanely for him.

Over the next month there is documentation of multiple encounters with the patient who
demonstrated irrational behavior, poor hygiene, incontinence, and persistent pain. The patient also
refused care intermittently. The patient was referred to mental health but this referral was not
accomplished. This patient did not appear to have adequate access to mental health care.

On 11/8/23, a nurse documented the patient was repositioned and had facial grimacing and
moaning when turned. He was given morphine. His pain was clearly not controlled. Later, on
11/8/23, a nurse documented the patient needed assistance with meals and hydration and was
unable to use the straw. There was no documented plan of care for managing the patient inability
to eat or drink. The patient continued to remove his clothes and diapers, bed linens and pillow.

The patient's pain was not adequately addressed. A fentanyl patch ordered over a month ago was
never supplied by the pharmacy. A physician who saw the patient on 11/8/23, noted he was in pain.
The physician noted that the patient didn’t want to take his tramadol and that after discussion he
would take his morphine. The patient was on both morphine sulphate and tramadol. The patient
was only receiving about 25% of the doses ordered or about 29 mg of morphine equivalent a day.
All of the medication was “as needed” and about 75% of the expected doses were not documented



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as offered. The physician did not document review of the MAR that would have shown that the
patient wasn’t receiving the medication as ordered. The physician increased the morphine
sulphate dose to every two hours instead of every four hours and this resulted in a small increase
in the ordered dose. Between 11/8/23 to 11/11/23 the patient received 38 mg morphine equivalents
a day. This is a small dose of morphine given his condition and it is not surprising that the patient
was documented to be in pain most days. Also, because of the patient’s mental status, it would
have been better to have ordered a fentanyl patch which would have administered a consistent dose
of morphine without intervention. However, the prior fentanyl order was not delivered by the
pharmacy. The inability to obtain the fentanyl patch contributed to poor pain control for this
patient. Because nurses don’t document that they offer medication as ordered, it is unclear if the
patient doesn’t want doses, refuses doses, or isn’t offered doses.

On both 11/9/23 and 11/10/23 the nurse documented that the patient was in pain. The patient died
on 11/11/23.

This patient had a weight loss for at least a year without evaluation. When a breast mass was
identified, it wasn’t evaluated until the patient became so ill he was hospitalized three months after
identification of the breast mass. The specialty tracking log is not maintained accurately, and
specialty care appointments did not occur. The patient was housed in a facility that couldn’t care
for him and he needed higher level care. Pain medication was not managed well and the patient
remained in pain throughout his last months. Mental health should have been involved in the
management of this individual and even when he was at JTC, a mental health facility, he was not
documented as evaluated. If the patient’s weight loss was due to cancer this death was likely
preventable but there was insufficient medical record provided to make that determination.

Patient #10

This patient was 52 years old with hypertension and end-stage kidney disease on dialysis listed on
the problem list. On 7/23/21, the patient was admitted to the hospital for a hemoglobin of 5.4. The
patient had a CT scan showing polycystic kidney disease, a pleural plaque from asbestos, and renal
osteodystrophy. None of these diagnoses were in the problem list. Though the patient was
undergoing dialysis and had very low anemia he was not on erythropoietin53. The hospital
recommended erythropoietin on discharge but when the patient returned to Stateville there was no
evidence that the hospital recommendation to start erythropoietin was acted on. A frequent
problem in IDOC is that physicians do not carefully review hospital records to understand what
occurred at the hospital. The vendor’s Regional Medical Directors should correct this practice.

This patient had repeated elevated blood pressure over two years. MARs from October of 2021 to
October of 2023 show that there was no change in his blood pressure medications which were
minoxidil 10 mg daily and 50 mg of metoprolol four times a week. There were no chronic clinic
visits for the entire two years of available medical record. The blood pressure did not appear to
be monitored despite the patient having end-stage renal disease.



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  Patients on renal dialysis typically have anemia. The treatment for anemia in patients on dialysis is a drug called
erythropoietin.


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There were multiple COVID tests in the medical record but only one non-COVID laboratory test
completed on 6/16/21 showing a hemoglobin of 5.4. The only other laboratory tests were those
included in consultant and hospital reports. The patient had anemia as low as 5.4 and mostly below
10. There was no evidence that the patient was treated with iron replacement or with
erythropoietin. This is not standard of care. Dialysis notes need to be evident in the medical record,
especially since it is conducted onsite. At a minimum, laboratory tests, medications provided and
nephrology notes must be present.

On 8/23/22 a revision of the patient’s dialysis fistula was done at UIC. The surgeon recommended
follow up with vascular surgery on 9/7/22. IDOC did not provide a specialty log for the 3rd quarter,
2022 but the 1st quarter of 2023 had prior referrals on it. The specialty log did document follow
up on 9/7/22 and a UIC surgeon documented that the fistula had healed and that it could be used
in a month. The patient returned to the facility with a dressing. The nurse documented that the
dressing was to be removed the following day.

The in-person review by a provider with the patient didn’t occur for three weeks after the
consultation. On 9/8/22, a nurse evaluated the wound and noted no swelling, redness or drainage.
A dressing was placed on the wound. On 9/10/22, a nurse documented the incision site was red,
warm with copious green drainage on the dressing. The patient had fever (100.5), elevated blood
pressure (161/96) and fast pulse (110). The nurse applied a new dressing but large amounts of
pus extruded from the wound and saturated the new dressing material. A physician was notified
and ordered Bactrim for 14 days. A provider did not see the patient and the surgeons at UIC were
not notified. The pus was not cultured. A white count was not done. The MAR showed that the
patient received KOP medication on 9/10/22. There was a daily dressing change order written on
8/31/22. The order was discontinued on 10/5/22.

On 9/11/22, the wound was still draining copious amounts of pus and sutures were still visible.
The nurse did not notify a provider. The surgeon at UIC should have been contacted for further
instructions. Though a daily dressing was ordered; it was not done. The next progress note was
9/15/22, four days later. Pus was still draining from the wound. The next progress note was
9/17/22 and the wound was still draining purulent material. A provider was not notified. On
9/18/22, a nurse documented that the fistula was hard. The fistula is filled with flowing blood and
is not supposed to be hard. If it was hard it was possibly clotted and needed prompt evaluation.

The patient wasn’t seen by a provider until 9/27/22, a month after the fistula revision. The
physician documented that the patient was getting intravenous antibiotics during dialysis but
because dialysis notes were not present in the record, it wasn’t clear when intravenous antibiotics
were started. The dialysis records need to be in the IDOC medical record. The physician noted
that the wound had opened and blood and pus came out when the dressing was removed. The
physician also noted that the wound was open but healing and that sutures were still in place. The
doctor documented that antibiotics should be continued but there was no evidence on the MAR of
ordered antibiotics. If the nephrologist in the dialysis unit had ordered antibiotics, the order and
subsequent administration should be documented in the IDOC medical record and was not. No
follow up was ordered including with the vascular surgeon despite the patient having an infected
surgical wound; the physician should have promptly called the vascular surgeon. The
documentation of communication between facility providers, the nephrologist in the dialysis unit



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at Stateville, and the vascular surgeon was nonexistent and placed the patient at significant risk.
Did the sutures need removal? There was no scheduled follow up of the wound to ensure it healed.

A nurse practitioner saw the patient for a writ return visit on 9/30/22, five weeks after the procedure
that occurred on 8/25/22. The nurse practitioner didn’t document the subsequent abscess, the need
for antibiotics, but did mention a pencil eraser sized wound without signs of infection. It was
unclear if there was any plan to let the vascular surgeon know about the infection. The nurse
practitioner did not schedule follow up to ensure the wound healed. Treatment was episodic.

An urgent CT ordered on 7/20/22 for abdominal and back pain was not done until 10/5/22. The
specialty tracking log did not note that the request was urgent and to be done within 14 days.
Instead, it was done 77 days later. The CT scan showed pleural calcifications likely due to asbestos
exposure, enlarged heart, extensive calcification of abdominal aorta, innumerable bilateral renal
cysts (MRI recommended to assess a complex cyst in one kidney), a focal dilation of the pancreatic
duct (MRI recommended in follow up), The CT scan wasn’t documented as reviewed in progress
notes. Someone reviewed the CT report but did not date the review. On 11/12/22, over a month
after the CT scan, a physician ordered an MRI. The MRI was listed on the offsite tracking log but
had no referral date and no schedule date. On 1/30/22 someone wrote on the referral form that the
patient refused the test. This is not timely scheduling and inadequate tracking; the urgency of the
referral needs to be included on the log..

Finally, on 10/24/22 the nephrologist referred the patient to the vascular surgeon due to the
regrowth of the pseudoaneurysm. This was requested as an urgent consult but did not take place
for over two months. This consult was requested urgently ( less than two weeks) but occurred 65
five days later. There does not appear to be any monitoring of referrals which is why the Monitor
continues to recommend a weekly specialty care huddle that includes the facility Medical Director
and scheduling clerk.

Meanwhile on 11/5/22, a nurse documented the patient saying that the wound on his arm never
healed and it formed into a boil and then popped while getting dialyzed. He was coming to the
health unit for a dressing change. There were no dialysis notes and this history was hearsay. The
nurse noted a dressing in place that was purulent with greenish drainage. The left arm had an open
wound that was draining pus. The nurse dressed the wound and the plan was to follow up as
needed. There apparently was no order for dressing changes. Notably, this care was occurring
without intervention of a provider. It did not appear that there was a provider at this facility. A
provider should have promptly contacted the vascular surgeon.

On 12/17/22, the patient complained to a nurse that his arm wound wouldn’t heal. The urgent
referral to vascular surgery had not occurred. The nurse noted purulent drainage and referred the
patient to a provider.

A nurse practitioner saw the patient on 12/19/22 apparently as a referral from the nurse for the arm
wound. The patient didn’t know why he was being seen. The provider documented that the patient
was being seen for follow up of CT scan results and low back pain with sciatica. The CT scan was
done on 10/5/22 or 76 days ago. The nurse practitioner “educated pt on writ return process”. The
nurse practitioner didn’t apparently know that the patient was referred by a nurse because of the



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wound on his arm. The nurse practitioner didn’t evaluate the infected fistula, listened to the
patient’s lungs and documented that he was ambulating without assistance before assessing chronic
low back pain with sciatica. There was no plan. This was a failed referral. It is unclear why the
reason for the referral is not known to the person seeing the patient.

On 12/28/22, 65 days after an “urgent” referral the patient went to vascular surgery. The surgeon
said that the patient had an ulcer over the fistula graft from which pus could be expressed. The
surgeon noted that the patient “requires excision and exclusion of this portion of the graft to prevent
blowout and possible death”.54 The blood pressure at this visit was 171/89 which is poor control.
The patient was admitted from the clinic and had the surgical procedure to excise the infected graft
on 12/30/22. The after-visit summary documented a recommendation to be on Augmentin (an
antibiotic) and tramadol (pain medication). Wound care instructions were to pack the upper
extremity wound with wet gauze and place an overlying dry bandage on top twice daily. A new
catheter was inserted at this visit for purposes of dialysis. Apparently the patient had been dialyzed
using the fistula with the draining wound which could cause blood stream infection.

The patient was discharged on 12/31/21. The prison nurse called a physician for verbal orders for
medication. Follow up with the surgeon was not noted and a complete discharge summary was
not present. Though dressing changes were recommended twice a day, they were ordered only
once a day. Progress notes document the first dressing change on 1/2/23, the third day after the
patient was received back at the facility. The nurse did not document how the dressing was applied.
The patient was seen daily from 1/2 to 1/5 for dressing changes but then not again until 1/7/23.
1/6/23 was a Friday. After seeing the patient on 1/7/23 the patient wasn't seen again until 1/9/23.

On 1/9/23, an LPN saw the patient using an abdominal pain protocol. The temperature was 100.4,
with pulse 111 and BP 113/69 which was very low for his usual blood pressures which were
elevated. The patient had sharp lower abdominal pain that was constant. The patient had loss of
appetite. The nurse noted the fever and called a physician who ordered the patient sent out to a
hospital

The patient was evaluated in the emergency room for abdominal and pubic pain with diarrhea over
the last 24 hours. He was still on antibiotics from his recent surgery. The white count was only
4.6 with Hgb 8.8 and platelets of 213. A CT scan was done that showed no acute obstruction with
similar findings to his prior CT scan. He was discharged back to the prison.

The patient wasn’t seen again until 1/11/23 when he presented for a dressing change. There was
serosanguinous drainage. A new dressing was applied.

Another dressing change wasn't done until 1/15/23. This nurse was cleaning the wound with
normal saline and placing an iodoform strip which was not recommended. It is not clear if the
nurse made up this change; no order for iodoform dressing was found. The next time the patient’s
dressing was changed was not until 1/24/23 using the same iodoform dressing. The wound care
instructions from the vascular surgeon were to pack the wound with wet gauze and cover it with a

54
  The graft is an artificial connection between an artery and vein in the arm for the purposes of access for the
purpose of dialysis. Were this connection to be severed or opened, the blood from the artery would flow freely from
the connection and the patient could bleed to death.


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dry dressing. The facility physician’s order did not specify the type of dressing only that it be done
daily until healed. Nurses were outside their scope of practice when using the iodoform dressing
and should have had the facility physician clarify the wound care order.

On 1/20/23, a physician saw the patient and documented that he had been to UIC. A provider had
not evaluated the patient since 12/31/22, three weeks ago. The physician apparently did not review
the surgeon report or notice that the patient was not receiving recommended dressing changes.
She noted that there was no evidence of infection. The physician referred the patient to UIC
vascular surgery for follow up from the 12/28/22 surgery. This referral was made on 1/20/23
which was three weeks after the surgery. This referral was not on the 1st quarter 2023 specialty
tracking log and the patient wasn't seen for three more months (3/1/23) when the AVG was noted
as open and useable for dialysis. The specialty care tracking log is inadequately tracking as
required by the Consent Decree and seems to be filled out after the appointment occurs.

The patient presented for dressing change on 1/26/23 and the nurse noted an open ulcer with light
bleeding that the patient said began two days ago. The nurse referred the patient to a provider. A
nurse practitioner saw the patient and noted a small purulent discharge at the AV fistula site in the
upper forearm. The nurse practitioner discussed the case with the facility Medical Director who
advised a nurse to notify the nephrologist of the situation and for further instructions. After
discussion with the nephrologist, the patient was referred back to UIC emergency room.

The patient was evaluated on 1/26/23 in the emergency room for wound dehiscence. A 5/6 systolic
murmur was present radiating to carotids. The patient had been recommended during a 6/16/21
hospitalization to FU with cardiology for a murmur but this was never done. This was particularly
pertinent because this patient had a long-standing pustular wound that could have resulted in
systemic contamination and endocarditis. An ultrasound demonstrated that the fluid collection was
proximal to the recent surgery (the previous surgical incision with stitches were present without
erythema, edema or drainage suggesting an overlying abscess). The patient was diagnosed with a
non-healing wound. The white count was 5.4 and Hgb 9.5. A vascular surgeon saw the patient.
There was low suspicion of an infected graft, local wound care was recommended, and follow up
in vascular surgery clinic were recommended. The emergency room report wasn’t documented
as reviewed and there was no progress note documenting review. The offsite tracking log for the
1st quarter 2023 had no referral to vascular surgery.

The patient had progress note documentation of a dressing change on 1/27/23 and 1/28/23 but then
there were no progress notes documenting dressing change until 2/6/23, eight days later. There
was a small amount of purulent drainage. There was one further dressing change documented in
progress notes on 2/11/23.

 The patient returned to the vascular surgery clinic on 3/1/23. This visit was not present on the 1st
quarter 2023 offsite specialty tracking log. At this visit the sutures from the surgery were removed
and the shunt was open with a strong and continuous flow. The open wound had healed and there
was no evidence of infection. When the access was reliably used the dialysis catheter could be
removed.




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A nurse practitioner did a follow up of this vascular surgery appointment on 4/4/23 about five
weeks after the appointment. The blood pressure at this visit was 166/79 which is elevated but
was not addressed. The plan was to see the patient “as needed”. Care was episodic. This patient
had not had a chronic clinic visit in over two years. Nephrology notes were not in the record. No
one appeared to address consistently elevated blood pressure. The heart was not auscultated and
the murmur which had been present since 2021 had not yet been acknowledged or evaluated.

On 5/1/23, the nephrologist referred the patient for removal of the dialysis catheter used to
temporarily dialyze the patient while the new graft healed. This referral was on the 2nd quarter
May specialty referral tracking log as completed on 5/25/23.

On 5/19/23 the nephrologist again referred the patient for an MRI of the abdomen to evaluate the
complex mass on one of the patient’s kidneys. The patient had apparently refused the test on
1/30/23. This 5/19/23 referral was not on the 2nd quarter May 2023 offsite specialty tracking log.

On 6/25/23, a nurse noted the patient was seen inquiring about the CT scan results which were
back from 10/5/22, eight months ago. No one had ever reviewed the results with the patient. This
is not informed care. The nurse looked up the results but was unable to explain the meaning of the
test results to the patient and scheduled the patient to see a provider.

On 7/11/23, a provider saw the patient but only discussed the removal on 5/25/23 of the temporary
dialysis catheter. The provider did not discuss the CT scan result that the patient was interested in
learning about. The blood pressure was 185/96. The patient said he didn't receive minoxidil and
was concerned about his blood pressure. The provider did not review the MAR or determine
whether the patient was receiving medication as the blood pressure had been consistently elevated
since 2021. The patient was given his dose of minoxidil but his blood pressure therapy wasn't
adjusted. The patient had received a KOP packet of metoprolol on 6/27/23 so he had this
medication. The MAR documents that minoxidil was provided all days in June. This patient had
received medication but had not had it adjusted for two years despite ongoing intermittent
elevations of blood pressure. This was serious given his renal disease.

On 7/28/23 the facility Medical Director referred the patient for the MRI that was recommended
on 10/5/22. There was a referral for an MRI on the 3rd quarter offsite specialty care tracking log,
but there was no referral date and the referral was not completed. There was a comment on the
tracking log that the patient was claustrophobic and the test was rescheduled but there was no
rescheduled date.

On 8/11/23 a nurse saw the patient using a cough protocol. The patient just developed the cough
and said he had lost 5-6 pounds though the nurse did not obtain a weight. The blood pressure was
elevated at 156/70 but not acknowledged as abnormal. The patient was afebrile. The nurse gave
the patient cough medication and acetaminophen but no referral. The stated complaint of weight
loss wasn’t addressed.

On 8/16/23, a nurse saw the patient using a cough protocol. The blood pressure was 158/60 which
is elevated. The weight was 146 pounds and the patient was afebrile. This was the 2nd complaint




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of cough in a week. The nurse appeared to refer the patient to provider sick call but the patient
wasn’t seen in follow up. Neither the blood pressure nor the cough were addressed.

On 9/6/23, a nurse saw the patient using a laceration protocol. The patient did not have a laceration
but had a chronic non-healing ulcer. The BP was elevated at 140/99. The nurse did not document
referral to a provider but the patient was seen that day by a provider for his non-healing arm wound.
Vital signs were not done. The nurse practitioner noted a 1.5 open lesion with some bleeding but
no discharge. There was a dried scab on part of the wound. The assessment was an old non-
healing ulcer and the wound was cleaned and dressed with orders to continue dressings until
healed. The frequency of dressing changes was not mentioned. The nurse practitioner documented
that the patient had a pending vascular appointment. A follow up on Friday was scheduled. The
cough and elevated blood pressure were not addressed.

A nurse practitioner saw the patient in follow up on 9/8/23. The blood pressure was 178/87. There
was an ulcer on the arm with some serous drainage. A wound culture was done. The nurse
practitioner noted a vascular appointment was pending. Some of the note was illegible.

One dressing change was documented on 9/9/23 in progress notes but no further dressing changes
were documented.

On 9/13/23 the patient was documented as refusing a UIC vascular surgery appointment. The 3rd
quarter offsite specialty tracking log had a vascular appointment but there was no referral date and
no appointment date. Apparently these are filled in after the appointment occurs, which is not
appropriate. The tracking log documented that the patient refusal was because he had dialysis.
This was a scheduling error not a refusal. Scheduling needs to accommodate dialysis sessions
which should not be missed.

On 9/13/23 the patient was admitted to the infirmary as an administrative hold and remained there
for over a month without indication. There were no clinical notes regarding monitoring of the
patient.

On 10/23/23 an Emergency Reporting Form documented that the patient had a fever of 103.9 with
a blood pressure of 80/54, pulse of 123 and respiratory rate of 24. These vitals are consistent with
shock. Yet, the patient had been on the infirmary for over a month without anyone noticing. The
patient was sent to a hospital where he died.

On autopsy, the cause of death was bronchopneumonia with a right lung abscess.

There were so many operational problems at this facility (lack of physician staffing, dysfunctional
specialty care process, nursing gaps likely due to staffing, lack of appropriate wound care, etc.)
that care at this facility is unsafe. There was no chronic care provided for this patient. He had
consistently elevated blood pressure for two year without any modification of his blood pressure
medication. He was on dialysis and had significant anemia yet was not on erythropoietin which is
standard of care. He had a cardiac murmur that was never evaluated or even acknowledged as a
problem.




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The patient died of a lung abscess which is typically caused by aspiration but can be caused by
hematogenous seeding via catheter which for this patient was the most likely source. The patient
had a long-standing abscess near a dialysis fistula. That fistula infection was the likely source of
hematogenous spread but was not timely addressed and because of this his death may have been
preventable. Of note, there was no evidence of dialysis notes in the medical record.

Patient #11

This patient was 20 years old with a history of asthma and allergy to penicillin. He was
incarcerated on 2/16/23 and transferred to Lincoln on 3/13/23.

On 3/27/23, a provider referred the patient to a urologist for scrotal swelling but only part of this
note was present in the medical record. The referral was present in the offsite specialty tracking
log. The following day on 3/28/23 he developed swelling of the right hand and left foot. An LPN
contacted a physician who ordered an injection of Benadryl and observation for 45 minutes. The
patient was then allowed to return to his housing unit and directed to return if the swelling
reoccurred.

On 3/31/23, a nurse practitioner documented that the patient had episodes of swelling over the past
3-4 years and that it typically resolved over two days. The provider documented no swelling on
either the hand or foot and documented “spontaneous swelling” likely due to salt. This was not a
reasonable clinical conclusion as too much salt is not a reason for contralateral hand and feet
swelling. Decreased salt intake was recommended. A better history was indicated but not done.
The nurse practitioner did not take further history of allergies, the frequency of these episodes,
when they tended to occur, if he had ever seen a physician for these episodes, or whether he took
any medication for the problem. Consultation with a physician may have identified an allergic
basis for this swelling.

On 4/10/23, an LPN evaluated the patient for hand swelling using a fracture, dislocation, and sprain
protocol. The left hand was grossly edematous from the hand to wrist and the palm of the hand
was red. The patient said he didn't know how the swelling occurred. The nurse gave ibuprofen by
protocol and called a physician who recommended an x-ray of the affected hand with a provider
follow up. Spontaneous edema without injury in a 20 year old should rule out angioedema55. This
was not done.

On 4/22/23 the patient was brought to the health unit for right hand/arm swelling. The nurse
documented that the patient was previously seen for a similar problem on the opposite arm on
4/11/23. An on-call physician was called and ordered IM solumedrol 125 mg with Benadryl 25
mg followed by daily Benadryl for three days. The doctor recommended scheduling to see a
physician on 4/24/23 which was Monday. The use of steroids was reasonable, but no diagnosis
was made and a history of his condition was not taken. The physician appropriately treated the
patient for angioedema but no diagnosis was made and the problem list was not updated.



55
  Angioedema is self-limiting swelling of the skin or mucosa often due to allergies and can be accompanied by
anaphylaxis. From UpToDate An overview of angioedema.


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On 4/24/23, a different physician saw the patient for arm swelling. The only history was swollen
right forearm and hand with no known injury. The assessment was right arm extremity edema.
The plan was Lasix, a diuretic, for 10 days, ibuprofen for 3 days, and doxycycline, an antibiotic,
for 10 days none of which appeared appropriate. This was a shotgun approach and the physician
apparently wasn’t sure what was wrong. Lasix for unilateral arm edema did not appear to be
indicated. There was no evidence of infection so an antibiotic did not appear indicated. The
swelling was described in the physical examination as "nontender" so it was unclear why the
ibuprofen was indicated. Due to history of asthma and allergies, angioedema should have been
considered but it was not. Notably angioedema is a possible adverse reaction of ibuprofen.

On 5/30/23 the patient developed a rash on arms and hands and was given hydrocortisone cream
by a nurse.

On 6/8/23 a doctor saw the patient for scrotal swelling. The doctor assessed scrotal hernia and
referred the patient to a general surgeon. This referral was present on the 2nd quarter 2023 offsite
specialty tracking log with a date of appointment on 6/30/23.

On 6/30/23 the patient went to the urologist as referred on 3/27/23 for scrotal swelling but there
was no scrotal swelling identified by the urologist. On 7/10/23 a coverage physician saw the patient
in follow up of the urology consult. On examination the patient still had scrotal swelling and the
physician told the patient that a general surgeon would see him soon. That appointment was
scheduled for 7/14/23.

On 7/11/23 a nurse evaluated the patient for hand and foot swelling using the protocol for non-
specific discomfort. The patient again said that the pattern the swelling resolved in a few days.
The nurse did document swelling in the foot but failed to document any assessment of the hand.
The nurse did nothing about the patient’s symptoms and made no referral.

On 7/14/23 the patient went to the general surgeon who did not identify scrotal swelling and did
not identify a hernia but noticed a couple of cutaneous lesions and offered to take them off. A
nurse practitioner saw the patient the same day of the surgical consult and documented that the
patient reported right hand and left foot swelling that comes and goes. The nurse practitioner
confirmed current right hand non-pitting edema without ecchymosis and attributed it to an
unknown etiology. The only plan was to elevate the hands and feet when swollen, refer for an
ultrasound or the right hand and foot, and come back to the health care unit if it reoccurs. The
nurse practitioner did not know how to diagnose the patient’s problem and the patient should have
been referred for a higher level primary care provider evaluation. The ultrasound of the right hand
was done on 7/31/23 and was normal.

On 9/20/23 a code 3 was called for difficulty swallowing. The patient said he woke up and his
throat was swollen which worsened during the day. The patient's tonsils were touching the uvula.
The patient was breathing without distress. The patient reported that this had never happened
before. He said he was allergic to penicillin but was unaware of any other allergies. The nurse
called an on-call physician who sent the patient to an emergency room. This was appropriate
because difficulty swallowing in the context of an allergic type reaction needs immediate attention
by someone who can intubate the patient.



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The hospital summary did not include their examination of the throat but they documented that a
strep test was negative and a chest x-ray was negative. When the patient was waiting for discharge,
the patient sustained a seizure. He had a negative CT of his brain, was medicated and sent back to
the prison.

On 9/21/23, a nurse practitioner saw the patient after the ER visit and noted that the patient had
sore throat, edematous tonsils- strep negative with unremarkable labs and toxicology screen
negative. The nurse practitioner noted that the patient had a seizure in the emergency room but
the CT of brain was negative. The emergency physician recommended a neurology consult. The
patient felt much better and the nurse practitioner documented an assessment of "?idiopathic
angioedema", which was an accurate diagnosis and the first accurate documented diagnosis of the
patient’s problem. The nurse practitioner referred to neurology as recommended; added Zyrtec;
and referred the patient to an allergy specialist. Neither the neurology nor the allergist referral
were entered into the 3rd quarter 2023 offsite specialty log. He encouraged the patient to keep a
food and environmental log and avoid known irritants. The diagnosis of idiopathic angioedema
appeared accurate but was not added to the problem list. There was no Medical Director at this
time, but the nurse practitioner should have consulted a physician to develop a plan for what to do
if this occurred again as throat swelling in the context of angioedema is life threatening. The
Monitor has consistently recommended adding UpToDate to all clinical examination rooms. This
case illustrates the benefit of this. When the electronic record is installed, there should be a link
to UpToDate in the record that gives all practitioners real time access to this important service. In
this case because the was no facility Medical Director the nurse practitioner had no one to consult.

On 10/9/23, at 8:45 am, a LPN documented that the patient presented to the health unit for swollen
tonsils with difficulty talking and feels like his throat was swollen. An on-call physician was
contacted and said to admit the patient to 23 hour observation. The patient should have been sent
to an emergency room as intubation may have been indicated. This set of symptoms is potentially
life threatening and further questions should have been asked including past history. If angioedema
were on the problem list and this information given to the on-call physician, a different result likely
would have occurred. No medication was ordered.

On 10/9/23 at 12:15 pm a nurse documented that the patient complained of increased shortness of
breath and throat tightness. Vital signs were normal. The same on-call doctor was contacted and
gave a telephone order for 50 mg of IM Benadryl and to monitor. This appeared to be a mistake.
If the physician believed that the shortness of breath and throat tightness was related to allergic
symptoms, the patient should have been promptly sent to an emergency room. It was unclear if
the diagnosis of angioedema was known to the on-call physician. Nevertheless, any patient with
suspected angioedema involving any organ near the airway (tongue, uvula, soft palate, or larynx)
must be immediately assessed for signs of airway obstruction.56 This is because intubation may
be necessary.

Thirty five minutes later at 12:50 pm the patient told the nurse he was having increased difficulty
breathing and tried to grab the nurse. The nurse asked the patient "to try to calm down" so he could
be assessed. The patient took off running to the front of the health care unit and the nurse called

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     UpToDate - Overview of Angioedema)


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for a sergeant to help. The sergeant ran after the patient and got him to sit down. The patient
appeared to stop breathing and slumped to the floor. The patient had a pulse but periods of apnea.
The patient was bagged with oxygen and given epinephrine. 911 was called. At approximately
13:11 or 21 minutes later the EMS took over. No other medications were administered nor was a
physician involved in the care. A physician was not called.

The cause of death was asphyxia due to obstructive laryngitis, epiglottitis and tonsilitis. This
patient died from angioedema which was recognized but not appropriately treated and was a
preventable death.


Patient #12

This patient was 49 years old and transferred to Pontiac on 8/28/22. The problem list documented
a mental health disorder, hypertension, diabetes and benign prostatic hypertrophy. He was five
foot, eight inches tall and on 9/28/22 he weighed 240 pound with a BMI of 36.5 which is obese.
Obesity was not on the problem list but was likely contributory to his hypertension and diabetes.
On transfer to Pontiac, the patient was on amlodipine, antacids, gabapentin, glipizide, HCTZ,
metformin, methocarbamol, metoprolol, simvastatin, tamsulosin and tramadol. Simvastatin,
antacids, and gabapentin indicated hyperlipidemia, gastric reflux, and diabetic neuropathy, but
there was no associated diagnosis on the problem list. The tramadol was a long-term medication
but there was no associated problem indicating pain relief. It was discontinued in October at
Pontiac.

The Death Summary by the vendor documented that this patient was “very non-compliant” with
medication, especially insulin, and that he was being followed by the diabetic clinic at UIC for his
diabetes. With respect to compliance, the patient refused morning insulin 28% of the doses which
were at 3:30 am and 15% of evening doses which were at 3:30 pm. No one ever questioned why
the patient refused, yet at least for the morning dose, getting up at 3:30 am is a distinct disincentive
in taking medication. Also, about 9% of insulin doses were not documented whether they were
given or not. A 9% rate of not offering patients their medication is something OHS should evaluate
as to why it is occurring. The Monitor believes a key factor is staffing.

Over the year that the patient was housed at Pontiac, his blood sugar was continuously poorly
controlled. The patient was evaluated by a nurse practitioner on five occasions and three different
physicians on five occasions. All but one provider visit was episodic and related only to a current
complaint. There was no Medical Director for part of the time period of this review which
appeared to affect his care.

The first provider visit on 9/7/22 was a referral from an LPN because the patient complained of
insulin allergy. The only history was that the patient complained of allergic reaction at insulin
injection sites. This is not a history but merely repeated the reason the patient was to be seen. The
nurse practitioner took no other history and performed a brief examination documenting edema of
the knee. The assessment of the visit was “water on the knee” and the plan was to obtain a left
knee x-ray and to decrease the amount of food he ate. The patient had a recent A1c of 10.7 which



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is very high but this wasn’t acknowledged. None of the other patient problems were addressed.
The patient’s complaint of insulin allergy was not addressed at all.

On 10/17/22, at 3:15 am a nurse obtained a blood sugar reading of “HI” which is more than 500.
This is an extremely high blood sugar. He refused to take insulin saying he was allergic to insulin.
A series of negotiations between the patient and an on-call physician resulted in admission to the
infirmary with a mental health consult.

On admission to the infirmary on 10/18/22, the patient’s blood pressure was 170/101 with a heart
rate of 122. The patient refused all interventions that day including blood glucose checks.
The second provider visit was on 10/18/22 at about noon when the facility Medical Director
evaluated the patient for a blood sugar of 393. Ketones were not checked. The physician
documented that the patient just received 40 units of 70/30 insulin but the MAR documented that
the patient had refused insulin that morning and afternoon and moreover was on 50 units of 70/30
in the morning. The doctor documented frequent refusals of 70/30. The assessment was
hyperglycemia with frequent refusals. The plan was to recheck the blood glucose tonight and to
record all refusals of insulin. The following day, the facility Medical Director gave a phone order
for 8 units of regular insulin twice a day if the blood sugar was greater than 200.

The next morning on 10/19/22 the nurse documented that the doctor gave a new verbal order to
give regular insulin 8 units twice a day if the blood glucose was greater than 200. In carrying out
this order, the nurse transcribed the order to a prescription. The insulin MAR for October was
handwritten and the 70/30 insulin entry had the same start and stop dates of 4/25/22 which is
clearly an error. Prior MARs had a stop date of 4/25/23. On 10/19/22 a nurse documented on the
MAR that the 70/30 insulin had expired. There was no order to discontinue this medication and
no documented effort to renew the prescription. Seventy units of 70/30 NPH insulin was abruptly
stopped in a patient with out of control diabetes. This appeared to be a significant medication error
due to faulty nurse-provider communication and use of handwritten MARs and reflects a
significant patient safety risk. This type of error should be reported in the adverse event system.
The Monitor hopes that the SIU pharmacy management process analysis evaluates these types of
errors.

The patient had spent two days on the infirmary and had not been evaluated by a provider. Notably
on discharge, the patient’s insulin had been inadvertently reduced from 70 units daily of 70/30
insulin to 16 units of regular insulin but only if the blood sugar was above 200. This was such a
dramatic reduction that it was certain to cause deterioration in status.

On 10/28/22, a nurse documented the patient saying his blood sugar was high. The patient said he
doesn’t take insulin because it makes him feel like electricity is running through his body. Notably,
the mental health consultation ordered on 10/18/22 had not occurred but clearly the patient’s
mental health condition was affecting his physical status. Mental health needed to evaluate the
patient as requested. The blood sugar was recorded as “HI” and the patient accepted the 8 units of
insulin. The discontinuation of 70/30 insulin was still unrecognized. The facility Medical
Director, apparently still not onsite, gave a phone order for the inmate to sit in the holding tank
and recheck the blood glucose in an hour. Apparently, the facility Medical Director was unaware
of the patient’s medication. It may be useful for IDOC to require that when providers are called



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after hours for a blood glucose problem that nurses report what insulin they are on57. At 6 pm on
10/28/22 the blood sugar was 541. Ketones for DKA were not checked.58 The facility Medical
Director was called and ordered 10 units of regular insulin. At 6:30 pm the patient felt better but
without checking the blood glucose the patient was discharged back to his housing unit by the
nurse. There was also no follow up ordered.

The third provider face-to-face visit was a Medical Director evaluation on 11/1/22 because the
gabapentin needed to be renewed. The only history was that the patient had a history of multiple
joint pains and was “here for Neurontin renewal”. Neurontin does not have an FDA indication for
joint pain. The physician did not discuss what the patient’s current symptoms were. The
examination documented "neuro- intact". The only assessments were hyperglycemia and
Neurontin renewal. The blood glucose was 366, blood pressure was 162/110 which was
significantly elevated and the pulse was 112 which was also elevated. The blood pressure and
pulse were not acknowledged or addressed. The patient was on KOP blood pressure medication
but the provider did not assess whether the patient was taking his medication. The physician did
not increase the blood pressure medication to lower the blood pressure. The blood sugar was
addressed by a stat order of 8 units of regular insulin. The gabapentin was renewed without
providing an indication or assessing whether it was effective for its intended purpose or even to
document what it was being used for. It was unclear in review of this record why the patient was
on this medication and it appeared that the physician didn’t know either. This visit accomplished
little except to renew a medication that had no clear indication.

The fourth provider visit was by the facility Medical Director two days later on 11/3/22. The
purpose of the visit was “noncompliance” with medication. The doctor wrote that the patient was
unable to take insulin in the morning because he was asleep. The patient’s latest A1c was 11.1
which is extremely high and out of control.. The physical examination for this episode of care
included a blood pressure of 201/107 which is a hypertensive emergency. The patient had recently
received all of his blood pressure medications, but there was no questioning the patient with respect
to whether he was taking medication as ordered. The physician did not assess for symptoms or
signs of end-organ damage seen in hypertensive emergency.59 Nor were any diagnostic tests
conducted typically done in hypertensive emergencies.60 Instead, the conclusion was to assess
hypertension and hyperglycemia with type 2 diabetes. The documented plan was add clonidine 0.1
mg twice a day for three months; to stop all prior insulin orders and to start Lantus insulin at 35
units in the evening for 21 days and to follow up in 2 weeks. This was still a significant reduction
in insulin from a month earlier. The patient had been on 70 units of 70/30 insulin which was now
substituted by 35 units of Lantus which is approximately a half of the prior dose during which the
blood sugar was not controlled. Ordering Lantus in the evening was a benefit as it was more likely
to result in compliance. This episodic visit resulted in addition of medication for hypertension and

57
   It would be extremely useful when on-called physicians are called after hours that they document their
understanding of what is explained to them and their assessment and plan. This is something that is able to be done
when the electronic record is implemented.
58
   Ketoacidosis can be present with a serum glucose as low as 250 but is often between 350-500. Glucose levels at
these elevations should prompt a check for urine ketones which initially can be with a urine point-of-care dipstick.
59
   Signs of neurologic symptoms such as agitation, delirium, etc.; focal neurologic signs of stroke; flame
hemorrhages in the retina; nausea or vomiting; chest pain; signs of aortic dissection; shortness of breath; on any
drugs that can cause hyperadrenergic state.
60
   EKG, chest film, urinalysis; electrolytes; creatinine; and depending on CNS symptoms CT of brain.


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a continued significant net reduction in insulin. The provider didn’t take history of prior insulin
dosages. Notably the two week follow up ordered by the physician never occurred and the
consequences of the new orders were not reviewed but became apparent in subsequent episodic
care.

For the 23 days from 11/3/22 to 11/26/22, the blood sugar should have been checked 47 times up
until mid-day of 11/26/22. It was checked 37 times. Morning checks were done 15 times and
showed on no occasions when blood sugar was below 200. Blood sugar was above 300 on four
occasions, above 400 three times, and above 500 three times. Evening blood sugar checks were
worse. On none of the 22 checks was blood sugar below 200. Blood sugar was above 300 on
three occasions; above 400 on six occasions; and above 500 on seven occasions. The episodes
above 300 were not brought to any provider’s attention. This is significantly out of control diabetes
yet, the glucose record did not result in a provider referral. There apparently is no standard or
requirement for when a nurse is to notify a provider for out of control blood glucose.

On 11/4/22, a nurse progress note documented a blood sugar of “HI”. This episode is not recorded
on the blood sugar MAR. A nurse called a physician-on-call and was given an order for 10 units
of regular insulin and water to drink. Urine ketones were not checked which should have been
done. A recheck of the blood sugar was ordered with instructions to admit to the infirmary for
blood sugar over 350. The blood sugar didn’t come down and the patient was placed on the
infirmary. The following morning at 5 am, a RN documented receiving a report from a nurse for
a new order of 20 units of Lantus insulin. There was no prescription for this order nor was there
a progress note by a provider documenting the new order. This order was entered in a hand written
fashion on the MAR for the am dose starting on 11/4/22. The total insulin dose was now 55 units
of Lantus (20 units am and 35 units pm) which is still a reduction from the 70 units of 70/30 insulin
previously ordered. This irregular and undocumented medication ordering transmitted by
anecdotal verbal communication is dangerous and needs investigation by the process group
undertaking medication management process analysis. At 10 am on 11/5/22, the patient accepted
insulin and was discharged back to his housing unit without verifying a discharge blood glucose.
No follow up was ordered which typifies the episodic nature of care.

Subsequent blood sugars for November remained very high. On 11/26/22 at 5 pm a blood sugar
of 586 was noted and an on-call physician was called and ordered 15 units of insulin. At 6:30 pm
the blood glucose was “HI” and the on-call physician again ordered 15 units of insulin. For neither
of these episodes were ketones checked. A follow up blood sugar was unable to be checked due
to “security”. Anyone with a dangerously high blood sugar must be able to have their blood sugar
checked without custody intervening. The nurse documented that the blood sugar would be
checked in the morning. The following morning the blood sugar was documented as refused.
There was no follow up for this episode.

On 12/1/22, without seeing the patient a nurse practitioner renewed 20 units of Lantus in the
morning and 35 units of Lantus in the evening for a year. This episodic type of chronic care is
dangerous. The nurse practitioner renewed the medication without reviewing the blood glucose
log. This existing dose of insulin was insufficient. For unclear reasons the same provider who
renewed the medication on 12/1/22 wrote another prescription for the same medication at the same
dose, but this time changed the length to six months. Medication renewals should be completed



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by seeing the patient or by review of the record. This did not occur and typically does not occur
in IDOC. In this case, the patient had continuously dangerous blood glucose levels and the
medication was renewed without considering other medications, changing the times of insulin
administration, or increasing dosages. Insulin was also renewed without any attention to blood
glucose levels. This is dangerous.

On 1/4/23 a fifth provider visit was conducted by a nurse practitioner who saw the patient after a
UIC orthopedic consultation. The patient had been seen on 12/6/22 at UIC about a month earlier
which is not consistent with requirements of provision III.H.2. The orthopedic consultant
diagnosed a paroxysmal atraumatic left knee pain with effusion and recommended a course of
physical therapy with follow up as needed. The orthopedic consultant did document that the
patient reported generalized decrease in sensation in both feet secondary to diabetes. There was
no foot examination documented in the record reviewed at Pontiac. The report was not signed as
reviewed until 1/4/23 or 29 days later. The nurse practitioner seeing the patient did not document
the findings or recommendations of the orthopedic consultant. The nurse practitioner did not
document a physical examination nor were new symptoms solicited. The orders included pain
medication and physical therapy two times a week for 8 weeks. The referral to physical therapy
did not specify the directions for therapy or the length of time for therapy. When seen by the
physical therapist on 2/10/23, the therapist documented left knee effusion and wrote “This patient
will likely be seen 1x visit only” and gave recommendations to ice the knee and decrease use of
stairs. No further physical therapy was provided.

On 1/30/23 a nurse practitioner documented that the patient was not receiving medications as
ordered. The nurse practitioner checked with pharmacy who had no order for renewal of clonidine.
The nurse practitioner documented giving an order to pharmacy but a prescription was not found.
The nurse practitioner scheduled a chronic care visit which hadn’t occurred since 7/6/21, over a
year and a half ago.

On 2/1/23, there was a note that a diabetes telemedicine clinic was to be rescheduled due to
“security issue”. Chronic clinic appointments should not be cancelled except for extreme security
issues. At this clinic there was other documentation that there were insufficient officers to manage
the facility which is dangerous and makes normal operations impossible to conduct.

On 2/9/23 laboratory results returned showing an A1c of 15.3 which is an extremely high blood
sugar. The routine glucose was 434. These results were consistent with diabetic ketoacidosis but
the laboratory tests weren’t even noticed and the laboratory test was signed as reviewed on 3/1/23
about three weeks after the test was reported. When signed as reviewed nothing was done to
expedite an evaluation. This was substandard care and it appeared that there was insufficient
provider staff at this facility.

On 2/13/23 a nurse documented a blood sugar of 581. Ketones were not checked nor was the
patient evaluated for diabetic ketoacidosis. The nurse called an on-call physician who ordered 10
units of regular insulin. No follow up was ordered.

On 2/16/23 a LPN documented a blood sugar of 509. The patient didn’t have ketones checked
and was not evaluated for symptoms or signs of diabetic ketoacidosis. The LPN called an on-call



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physician who ordered 10 units of regular insulin. The blood glucose was rechecked and was 345.
No follow up was ordered.

On 2/17/23, a LPN called an on-call provider for a blood sugar of 512. The patient didn’t have
ketones checked and was not evaluated for symptoms or signs of diabetic ketoacidosis. An on-
call physician ordered 10 units of regular insulin. Follow up blood glucose was 405. No follow
up was ordered.

On 3/23/23, a nurse noted that the vendor Regional Medical Director gave a phone order that the
glipizide and metformin should be changed to directly observed therapy; that a nurse practitioner
was to evaluate the patient on 3/27/23 and that the patient was to be referred to the endocrinologist.
The endocrinology consultation was found on the offsite scheduling log.

On 3/28/23 a mental health clinic visit was cancelled for unstated reasons. It was documented as
rescheduled but the date was not given. Mental health saw the patient on 3/31/23 but the note was
not in the medical record.

On 4/3/23, a nurse practitioner evaluated the patient because he was only taking insulin once a day
and thought he needed regular insulin. For March, the patient refused am insulin seven times and
refused pm insulin eight times. On three occasions, nurses did not document whether they gave
the insulin or not. The patient was ordered and received insulin about 75% of the time. More
importantly, the most recent A1 c was extremely high at 15.3 and the patient was on inadequate
amounts of insulin. While the patient did refuse 25% of insulin doses, the dose was insufficient.
Also, it was unclear if there was a mental health contribution to his status. The nurse practitioner
said the patient was “educated in depth on insulin / need for continuity”. The nurse practitioner
noted that the patient had a pending appointment with endocrine. Care was substandard. The
patient’s diabetic medications should have been adjusted.

Mental health saw the patient on 4/12/23 but there was no note of the evaluation in the medical
record. On 4/13/23, security documented that the patient was on crisis watch and the not seen by
a nurse.

On 4/19/23 the patient was brought to the health unit because security said that the inmate felt he
was hyperglycemic. The blood sugar was 399 which was high. The nurse documented that the
patient had been refusing insulin for several days stating he was allergic. The MAR showed that
the patient accepted insulin 4/15/23 and 4/16/23. On 4/17/23 both am and pm and on 4/18/23 am
there was no documentation by nurses regarding insulin administration so the nurses statement
was inaccurate. It appeared that the patient was taking medication and the nursing staff failed to
document what occurred for the prior two days. The nurse called the new facility Medical Director
who ordered Benadryl. The patient’s insulin was not adjusted.

On 5/6/23, a lieutenant asked a nurse to see the patient because he had not received his insulin in
the morning. The nurse saw the patient. The nurse documented that the patient received 10 units
of regular and half of his regular dose of Lantus insulin.




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On 5/11/23 a nurse practitioner saw the patient for follow up of the physical therapy appointment.
The patient was to have received 8 weeks of therapy but due to miscommunication, the patient
received only one therapy consultation. The patient reported intermittent swelling and pain. There
was no current edema. The nurse practitioner didn’t order physical therapy and only follow up as
needed.

On 5/21/23, a nurse documented a blood sugar of 470 and that the patient was refusing insulin.
The new facility Medical Director was notified. He ordered a one-time dose of glipizide. Typically,
an oral medication is not given as a stat dose. This patient’s blood glucose was continuously
elevated for the past year and management of his diabetes was episodic and only addressed
emergent blood sugar levels. The patient’s last A1c was 15.3. An increase of his medication would
have been appropriate but was not done. This patient had not received a chronic care visit over
the past year in which all of his problems were addressed. This patient’s care is characteristic of
the episodic management of chronic illness which, for this patient, resulted in poorly controlled
diseases. The MAR showed that there was no documentation of offering patient medication for
the last dose that morning and the blood glucose the prior evening was 213. The physician ordered
a follow up on 5/22/23 but the patient wasn’t seen that day nor was the appointment rescheduled.

On 6/1/23, the inmate’s blood glucose was 446. The facility Medical Director was called to ask
whether insulin should be given but the Medical Director told them to hold the insulin for this
evening.

On 6/7/23 a nurse practitioner evaluated the patient for an elevated blood sugar. The nurse
practitioner raised the insulin to 40 am and 30 pm. A follow up was ordered in three weeks to
check the blood sugar response to the increased insulin.

On 6/28/23, the patient was evaluated at UIC endocrinology. The endocrinologist documented
that the patient doesn’t receive about five of 14 doses per week due to a nursing shortage. This
self-report is consistent with MAR documentation that include multiple days when insulin is not
documented as offered or given. The CBG values were in the 400-500 range. The consultant
noted no retinopathy or nephropathy checks but documented the patient checked his feet daily.
The recommendation was to decrease the glargine to 30 units BID; start Victoza 0.6 mg daily and
increase in 0.6 mg increments once weekly as tolerated until a goal dose of 3 mg; perform a
microalbumin test for the next visit; consider a SGlLT2 inhibitor next visit; do blood glucose
checks 3-4 times daily including fasting, pre-meals and bedtime; and see ophthalmology for a
retinal evaluation and podiatry presumably for a neuropathy check and foot examination. The
recommendations by the endocrinologist documented all the deficiencies in the care of this diabetic
person.

On 6/30/23, the patient was admitted to the infirmary on crisis watch.

On 7/4/23, an officer told a nurse to evaluate the patient for chest pain. A nurse saw the patient in
the cell. The patient said he didn’t currently have chest pain but wanted his blood pressure
medication. The patient’s blood pressure was156/98. His medication was given.




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The only chronic clinic visit was on 7/18/23. The patient was documented as seen for
hypertension, hyperlipidemia, diabetes, benign prostatic hypertrophy and asthma. The patient did
not have asthma and was not on medication for asthma. The only history was that the patient had
bilateral lower extremity pain. The only labs documented were A1c 13.2, cholesterol 219, HDL
47and triglycerides 332. The blood pressure was 147/98. The examination included the heart,
lung, abdomen and that the patient had normal gait. There was no history of any of the patient’s
chronic illnesses. The patient had an eye examination on 10/4/22 and the optometrist did not
complete the diabetic screening wanting first to obtain an A1c level. The optometrist
recommended an A1c and to return in a month to complete the retinal examination. This didn’t
occur and the provider failed to note it. Microalbumin had not been tested in the past year. There
was no foot exam including screening for neuropathy. The patient was on gabapentin for unstated
reason. So, there was no retinopathy, nephropathy or neuropathy screening. The patient had blood
pressure that was elevated and the A1c was most recently 13.2 which is extremely high. The
provider made no changes to the patient’s medication. The patient had a 10 year risk of
cardiovascular event but was only on a low dose of simvastatin. He should have been on a high
intensity statin. Just three weeks earlier, the patient had been to the UIC endocrine clinic. The UIC
consultant recommended decreasing glargine insulin to 30 units twice a day and start Victoza and
to increase in 0.6 mg increments to 3 mg per day. Also recommended was to increase capillary
blood glucose testing 3-4 times daily; to refer to ophthalmology, to follow up with podiatry for a
foot examination and to check the A1c in 3 months. The provider didn’t document review of this
consultation, failed to note that the glargine insulin had not been modified or that the Victoza had
not yet been obtained. The same nurse practitioner who completed the chronic care visit wrote
another progress note ordering Victoza 0.6 mg weekly to increase by 0.6 mg weekly to a goal of 3
mg. The nurse practitioner apparently reviewed the consultation sheet but did not decrease
glargine, did not order microalbumin, retinal screen podiatry evaluation, and did not increase CBG
screening. The nurse practitioner wrote a referral back to endocrinology.

The Victoza was not obtained by the vendor pharmacy and the patient never received it.

On 8/3/23 the patient complained to an LPN about tingling numbness in fingers and toes. The
LPN referred to a nurse practitioner.

The facility Medical Director wrote a note on 8/16/23 for a medical emergency that took place on
8/8/23. The late entry was due to the medical record being unavailable. The physician documented
history of noncompliance and uncontrolled diabetes, hypertension, high blood lipids and
depression and bipolar disorder. The physician stated that on arrival, cardiopulmonary
resuscitation was being undertaken on the patient. The patient was taken to a local ER where he
was pronounced dead.

There were numerous problems with this patient’s care as cited above. The preliminary
postmortem findings included: pulmonary congestion and edema, cerebral edema, mild coronary
artery atherosclerosis, diabetes without ketones or significant glucose in urine or vitreous humor,
enlarged fatty liver. The cause of death was arrhythmia and hypertensive cardiovascular disease.
The patient’s blood pressure and diabetes were uncontrolled throughout the entire span of this
record review (since 2021), yet medication was not appropriately adjusted. The only change of




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blood pressure medication over the year was the addition of a small dose of clonidine. His death
may have been prevented if his blood pressure was better controlled.


Patient #13

This patient was 66 years old. Problems included dyslipidemia since 1999, hypertension since
2012, obesity, smoker, diabetes since at least 2012, and hypothyroidism. The patient had five
modifiable major risk factors for cardiovascular disease: dyslipidemia, hypertension, obesity,
smoking, and diabetes.

On 4/29/21, at a chronic clinic visit the provider documented the patient had sharp chest pain when
he ate sauce or laid down. No further history was taken. An EKG was not done. No assessment
was made but omeprazole, a medication used for gastric reflux was prescribed.

On 10/25/21, the patient transferred to Hill CC.

Within a month of transferring to Hill, on 11/22/21, a registered nurse saw the patient using an
indigestion protocol. The pain was described as lasting 20 minutes in the sternum area. The pain
was sometimes related to food intake. The nurse gave antacids without referring the patient. The
pain description was suggestive of anginal pain but the history wasn’t in depth. Referral to a
provider should have been considered.

On 12/20/21 a registered nurse evaluated the patient again using an indigestion protocol. Pain was
described in his chest. It lasted 5-6 minutes and was relieve by rest. He did say eating chili or
pizza gave pain. The pain description was similar to angina but was not associated with coronary
heart disease. The patient was given antacids without a referral; no EKG was done. This patient
should have been referred to a provider as symptoms were consistent with angina.

On 12/30/21, an LPN saw the patient using the indigestion protocol. This pain was described as
located in the stomach or esophagus and was related to food. The protocol asks if the patient has
cardiovascular disease or hypertension. It does not include a question whether the patient has
cardiovascular risk factors but should. This patient was only given antacid and Pepcid by protocol.
This was the third consecutive complaint of “indigestion” and the patient should have been referred
to a provider and was not. The independent clinical judgement required when conducting a sick
call encounter is not within the scope of practice for LPNs.

On 3/11/22, a nurse, who did not document their title or name, saw the patient again using an
indigestion protocol. The nurse described the pain as on and off and burning in nature. The patient
said the Prilosec didn’t help but TUMs did. There was a question that asked whether the pain
continues despite treatment protocol implementation which the nurse checked as “no” but it had
continued over 6 months and four nurse visits for “indigestion”. This patient should have been
referred to a provider.

On 3/30/22, an LPN saw the patient using an indigestion protocol. The patient’s pain was getting
worse despite use of Pepcid and TUMs. His blood pressure was 153/97, which is elevated and he


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had a fast heart rate (102). The nurse referred the patient to a provider that day. The provider did
not characterize the pain as indigestion but as chest pain. The pain was described as crushing and
was worse with activity or lying down. When the patient stopped the activity the pain resolves.
When he sits up the pain improves. He had mild shortness of breath with activity. The nurse
practitioner noted no family history of heart attack. The history was strongly suggestive of angina.
The nurse practitioner’s plan was an order for an EKG and a stress test. This was a reasonable
plan except that nitroglycerin and an antianginal drug should have been considered. An EGD
should have been ordered after the stress test if the stress test was normal. The stress test should
have been done without delay. The EKG tracing was too light to see clearly but the reading
included non-specific T wave changes which can be consistent with coronary vascular disease.
Also, because the patient had proteinuria and diabetes, the blood pressure should have been
controlled better and his medication usage should have been reviewed. Based on the MAR the
patient last received his three blood pressure medications on 2/25/22 so he would have been out
of his medications at this point. The provider should have ensured that he was receiving his
medication.

The stress test wasn’t approved until 4/21/22 about three weeks later.

On 5/4/22, a provider conducted a chronic disease clinic for diabetes, hyperlipidemia, and
hypothyroidism. The weight was 253 pounds. The blood pressure was 143/74 which is not at goal
and the pulse was elevated at 110. The patient was not being seen for hypertension and the mildly
elevated blood pressure was ignored. Notably, based on MARs, the patient last received lisinopril
and HCTZ, two of his three blood pressure medications on 2/25/22 so the patient was out of these
medications. This should have been identified and the medication provided. Also ignored was the
pulse of 110 despite the patient being on Synthroid (for hypothyroidism) which has a number of
cardiovascular side effects including elevation of the pulse. The only laboratory tests documented
were related to the conditions being monitored: A1c 11; TC 224; LDL 112; TSH 4.5 Though the
patient was being evaluated for diabetes there was no foot exam and no check for neuropathy,
nephropathy, or retinopathy. Though the patient had a recent test for microalbumin which was
very high (896), this was not acknowledged and a follow up microalbumin was not ordered. A
prior urinalysis was positive for gross proteinuria. This would be consistent with chronic kidney
disease despite a normal creatinine and glomerular filtration rate. Because of this, the hypertension
goal should have been lowered to 130/80 and additional medication should have been ordered.
The blood sugar was very high (A1c 11) and 70/30 insulin with sliding scale was added. This
combination is not appropriate due to the use of regular insulin in the 70/30 mix and as a single
agent used in addition to the 70/30 insulin. A GLP-1 drug might have been considered. There
was no follow up or mention of the repeated chest pain nor mention of the stress test which had
not been done over the past month. This was a very poor chronic clinic visit. A follow up in a
month was ordered which was appropriate but the follow up clinic did not occur.

On 5/21/22, an LPN evaluated the patient using an indigestion protocol. It was described as a
chest pain that comes and goes and occurs sometimes after eating. The patient described the pain
as: “feels like someone is trying to break out my chest”. The blood pressure was 161/94 which is
not in control. Although this was the 6th episode of “indigestion” or chest pain the nurse did not
refer to a provider and only gave the patient Pepcid and antacids, which had previously been stated
as not helpful. The elevated blood pressure was not acknowledged or addressed. The nurse made



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an assessment error as this was unlikely to be indigestion; the pain should have been evaluated as
chest pain. Independent clinical judgement is outside the LPN scope of practice.

On 6/2/22, an LPN evaluated the patient for “indigestion” which was described as “not better”.
The pain was described as “epigastric, like food is stuck in throat”. The nurse referred the patient
to a provider. This was the 7th episode of evaluating for indigestion or chest pain.

A physician saw the patient on 6/6/22. The blood pressure was 160/102 and the pulse 108. The
physician presumed that the patient had chronic indigestion for which he was taking Prilosec and
antacids with relief. There was no further history and unawareness that this patient had six prior
episodes of the same complaint without resolution. The provider was unaware that previously a
somewhat better history was done characterizing the pain as consistent with angina and that a stress
test was ordered. The prior EKG showing non-specific STT wave changes was not reviewed. A
cardiovascular risk history was not taken. The assessment was 1) heartburn and 2) increased blood
pressure due to noncompliance. The assessment was made without any history, review of prior
visits, and review of the EKG. The plan was to increase Prilosec. This was a poor evaluation as it
did not evaluate prior diagnostic tests, history, or pending diagnostic tests.

The doctor wrote that the patient had run out of his blood pressure medication. Review of the
MAR showed that the lisinopril and HCTZ blood pressure medications were last given as KOP
medication on 2/25/22 and amlodipine was last given on 4/19/22. Lisinopril and amlodipine
expired on 4/21/22 and HCTZ expired on 4/22/22. None had been timely renewed. Designating
the patient as noncompliant was degrading particularly since the lapse was not identified earlier
by nurses administering medication and that the prescriptions expired without notice by the
pharmacy to the provider. The doctor did not document that the medications expired but he did
sign a verbal order for expired medications on this date. The provider should have scheduled a
follow up to assess whether the patient’s blood pressure was under control.

On 8/12/22, the same physician wrote a note saying that a stress test was ordered on 3/30/22 but
there was “no cardiac indication at this time”. This is not accurate. This patient had cardiac
equivalent chest pain on seven occasions over the past five months with multiple risk factors for
cardiovascular disease including diabetes, hypertension, hyperlipidemia, ex-smoker, obesity, and
male sex. The stress test should have been done in March of 2022 shortly after it was ordered. To
cancel the test was an egregious error.

On 9/29/22, a nurse practitioner conducted a chronic clinic for diabetes, hypothyroidism,
hyperlipidemia, and hypertension. The only history was that the patient was taking all of his
medications except his lipid medication. The pulse for this patient had been repeatedly elevated
and was 110 at this visit. The patient was on Synthroid for his hypothyroidism, which can cause
a variety of cardiovascular side effects, including tachycardia. This should have been evaluated
but was not. There was no check for retinopathy, neuropathy or nephropathy. The blood pressure
was now normal and the patient was now receiving his blood pressure medication. The prior
elevated urine protein tests were not acknowledged and because the patient had both diabetes and
hypertension this chronic kidney disease should have been monitored more closely and included
in his problem list . The patient wasn’t taking his atorvastatin and given his multiple cardiac risks,
taking this medication should have been emphasized and a LDL goal of 70 should have been set.



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On 10/4/22, an LPN saw the patient using a chest pain protocol. The pain started when he was
walking to the clinic. The blood pressure was 136/86 which is high due to his diagnosis of diabetes.
In response to the protocol question “identify cardiac risk factors”, the LPN wrote “states pain
goes away when at rest”. This patient had multiple cardiac risk factors. The LPN performed an
EKG and showed the EKG to a nurse practitioner. There were two EKGs. One showed non-
specific STT wave changes with slight T wave inversion in V6. This can be consistent with angina.
Another EKG showed T wave abnormality consistent with lateral ischemia. The nurse practitioner
sent the patient back to his housing unit without any orders. Given the risk factor history, past
history of “indigestion” or chest pain on 8 separate occasions over the past seven months, current
history consistent with angina, and given an EKG consistent with lateral ischemia, this was another
egregious error. The nurse practitioner did not pay sufficient attention to the history and EKG
results. The patient should have been referred to an emergency room to evaluate acute coronary
symptoms.

On 12/5/22, a RN evaluated the patient using a chest pain protocol. This was the 9th episode of a
health request with a cardiac equivalent for angina (six with “indigestion” and three with chest
pain). The patient describe sharp chest pain at rest for about a year. The only identified risk was
increased blood pressure but the patient also had diabetes, obesity, was an ex-smoker, had
hyperlipidemia and was a male. Clearly, risk factor identification should be a training issue and
this protocol would be improved by including all possible risk factors for the nurse to assess instead
of requiring nurses to know them. The blood pressure was 174/98 and the pulse was 104. The
MAR showed that patient received a month supply of his blood pressure medications on 10/24/22
and then not until 12/1/22 so some doses were missed in November. This was not noted. But the
nurse did document that the patient hadn’t taken his medications in four days; the patient had just
received medication on 12/1/22. An EKG was done and was read as non-specific STT wave
changes but lateral leads were suspicious for acute coronary syndrome. The nurse documented
that a physician was called and was aware of the EKG and instructed that the patient should go
back to the housing unit with a follow up the following day. A better history should have been
taken specifically where the pain was located, referred pain, nausea, shortness of breath, and
relation to exertion and rest. Given prior history and the EKG, this patient should have been
referred to an emergency room.

The next day, on 12/6/22, a nurse practitioner evaluated the patient in chronic clinic for diabetes,
hypertension, hypothyroidism and hyperlipidemia. The history was that the patient took his
Synthroid with breakfast and the other medications as recommended and that he had occasional
chest pain with an EKG showing STT wave changes. This was not a very good history for chest
pain. Laboratory tests were documented except that prior proteinuria was not acknowledged. The
blood pressure was 106/76 which was now controlled. The pulse was 108 which was still elevated
but not acknowledged as abnormal. There was no foot examination, no evaluation for neuropathy,
no documentation of the last retinopathy check and lack of acknowledgement or follow up his
nephropathy. Hypertension was not assessed. Diabetes, hyperlipidemia and hypothyroidism were
assessed as in fair control which was reasonable. The chest pain was not addressed and there was
no comment about the EKG. This was a very poor evaluation of chest pain as there was no history,
no risk factor assessment, no prior history of angina or equivalent complaints which had been
ongoing for nine months.



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On 4/23/22, a nurse evaluated the patient without use of a protocol for “sternal chest pain”. The
pain was described as grinding like something trying to come out of his chest. He said it was
ongoing for seven months or more and was seen numerous times for it. He said he quit taking
TUMs because they didn’t help, when he stands up and does nothing the pain stops. He asked to
have his housing changed because the pain was worse when he walked. The blood pressure was
145/70 and pulse 111. Though the patient had continued tachycardia, it was unacknowledged, and
neither was the elevated blood pressure noted. There was no nursing assessment or plan. This
were classic symptoms of angina yet the condition was unrecognized. This was the 10th episode
of angina-equivalent pain that was inadequately managed. This patient should have been referred
to a provider.

On 4/20/23, a nurse evaluated the patient using an indigestion protocol. Pain was described as in
the sternal area, occurred in multiple episodes and the patient added that he had difficulty with
strenuous activity and walking long distances. The patient added that Prilosec and TUMS didn’t
help the pain. This was the 11th cardiac-equivalent pain episode, but was not recognized as such
by the nurse. The nurse referred the patient to the next nurse practitioner clinic scheduled for
4/25/23.

On 4/25/23, a nurse practitioner evaluated the patient for “sternal chest pain”. The only cardiac
risk mentioned in the note was smoking. The nurse practitioner did not acknowledge or consider
his hypertension, diabetes, hyperlipidemia, or obesity as risk factors for cardiovascular disease.
The history documented shortness of breath with activity but no further history relevant to angina
was taken including location of pain, referral of pain, related nausea, relationship to exertion and
rest. The patient did say he was scared he was going to have a heart attack and asked for a different
housing location with a slow walk permit because “I don’t want to die on the walk”. The prior
EKG was not reviewed and another EKG was not done. The only assessments were shortness of
breath and chest pain. The nurse practitioner’s plan was a chest x-ray, a blood count, and a
metabolic panel. Follow up in two weeks was ordered. The nurse practitioner documented that
no permits (for slow walk apparently or change of housing apparently) were necessary. This was
another failed evaluation demonstrating that there is an absence of knowledge in multiple providers
at this facility with respect to coronary artery disease, including acute coronary syndrome.

On 4/29/23, an LPN evaluated the patient using a shortness of breath protocol. This was the 12th
angina-equivalent symptom that was evaluated over the past year. The only history was that the
patient had shortness of breath when moving. The pulse was 125 and had been elevated for months
without anyone acknowledging the abnormality. The protocol requires peak expiratory flow rates
which were all abnormally low 450/300/300 despite no history of asthma or COPD. The nurse
noted that the patient was scheduled to see a provider this week in follow up of getting a chest x-
ray. The patient then told the nurse that he panics when feeling short of breath. The nurse referred
the patient to mental health. The LPN failed to acknowledge that the pulse of 125 was abnormal.
The history taken was insufficient with respect to shortness of breath with moving. Was there
concomitant chest pain, cough, productive sputum, or fever? Though there was tachycardia and
abnormal peak expiratory flow rates the LPN did not consult a RN or provider. Independent
assessments and clinical judgement are not within the scope of practice of LPNs.




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On 5/9/23, at 10:15 pm, a nurse documented responding to a code 3 in which the patient was
unresponsive. The patient was transported to a hospital but died at 3 am the next morning.

Amongst multiple findings, the autopsy showed 100% occlusion of the right coronary and
circumflex coronary arteries; 95% occlusion of the left anterior descending coronary artery; 90%
occlusion of the oblique marginal coronary artery and 75% occlusion of the diagonal coronary
artery. There was a remote myocardial infarct in the septum. The preliminary opinion was that the
patient died from coronary artery disease. A final autopsy was not provided. This patient had
long-standing complaints of angina-equivalent symptoms. He was inappropriately evaluated. A
physician cancelled a stress test five months after it was ordered because there were no cardiac
indications yet this patient had multiple bona fide indications for cardiac stress testing. This
patient’s cardiac symptoms were ignored or misdiagnosed for over a year and a half. His death of
coronary artery disease was preventable.




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                                      Monitor’s 8th Report
                                       Lippert v. Jeffreys
                                       Mortality Reviews

Patient #1

Problem List and Advanced Directives
This was a 83 year-old man. His problem list was inaccurate. The problem list documented
chronic obstructive lung disease (COPD) and hypertension, but the patient additionally had sleep
apnea and osteoarthritis. The problem list documented he was “do not resuscitate” status though
the patient signed a power of attorney in 2018 as a civilian and the document was in the medical
record. There was no evidence that the power of attorney had been contacted about the patient by
prison personnel even when, later in his life, he had cognitive decline. There was also no effort by
IDOC to determine if the patient had capacity to make an informed medical decision. On 8/29/23
the patient signed a physician order for life sustaining treatment (POLST) that was discussed with
the patient by a prison physician that documented the patient wanted full treatment. The power of
attorney signed prior to incarceration did not participate in this decision making. During a final
hospitalization, the hospital contacted the power of attorney who asked that the patient be placed
in hospice. For years, IDOC failed to contact the power of attorney even when it may have been
indicated to do so.

Chronic Care
While the record that was provided to us contained progress notes from February, 2023 until the
patient’s death on 12/5/23, it did contain the chronic clinic notes from prior years. The patient was
evaluated in chronic disease clinic only once in each year of 2020, 2021, and 2022. The chronic
care encounters from 2020, 2021, and 2022 demonstrated substandard chronic care. His sleep
apnea and osteoarthritis were not addressed at any clinic visit. The patient had osteoarthritis yet,
despite the patient stating he was told he needed knee replacement, there was no evaluation of the
status of the osteoarthritis or consideration of knee replacement. At all visits, the patient was
documented as having chronic obstructive pulmonary disease (COPD) but was assessed as if he
had asthma.

In 2023, the patient had no chronic clinic visits and none of his chronic illnesses were addressed.
The patient had multiple hospitalizations and when new diagnoses were made (atrial fibrillation,
heart failure, obstructive uropathy with acute kidney injury, adrenal adenomas, anemia, aortic
aneurysm, and NSTEMI-21) none of the newly diagnosed conditions were monitored, evaluated
or even acknowledged.

Dental and Diet
The patient was incarcerated on 8/4/20 and was noted on intake as having only three teeth left. No
plan of care was initiated. There was no assessment of the condition of the teeth. The patient
wasn’t seen again by dental until 7/24/21 almost a year after intake. The dentist again documented
that the patient had only three teeth and wanted them pulled. The dentist noted poor periodontal
condition. The patient was scheduled for extractions which didn’t take place until 12/3/21 about

1
    This is a type of heart attack.


                                                                                                   1
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16 months after intake and over four months since the patient was initially seen at the “home”
facility. After 2021, the patient had no teeth. This delay was likely related to the COVID
pandemic. An impression for the prosthetic was not made until 4/8/22 and the patient did not
receive a dental prosthetic until 7/6/22. Almost a year and a half later, on 11/13/23, the dentist saw
the patient for “ill-fitting” dentures. Because the dentures were loose, the patient wasn’t able to
use them. The dentist scheduled the patient for an appointment to fix the dentures but the patient
expired in December of 2023 before a follow up visit was completed.

Because the patient had difficulty eating due to no teeth or ill-fitting dentures, the patient had been
on a dental soft diet since 7/24/21. Yet, there was no dietary consultation to determine if he was
getting sufficient nutrition nor was it ever determined what the patient was eating at any chronic
clinic visit. Weights were infrequently taken. The medical record cover lists his intake at NRC on
8/4/20. He was transferred to Centralia on 9/8/2020 and weighed 220 pounds at a chronic clinic
on 9/30/20. He gained 28 pounds to 248 pounds when seen in a chronic clinic encounter on 4/20/22
but then began losing weight. The last weight we could find in the record was on 11/29/23 when
he was in the hospital and weighed 200 pounds which is a 48 pound weight loss over a year and a
half earlier. There was no effort to address the cause or remedy for this weight loss. Because the
patient gained weight at a time when he had no teeth, the weight loss was likely attributable to
other causes including possible cognitive or mobility issues. In any case, the weight loss and diet
weren’t being monitored.

Physician Coverage

Documents from July 2023 show that the Medical Director position was vacant. In the Monitor’s
opinion, the root cause of the problem of vacant physician positions is the inability of the vendor
to attract, recruit and retain qualified physicians. For this patient, there were only five in-person
physician encounters by two physicians in 2023; none of them was thorough or consistent with
standards of care. Both of the physicians lack credentials required by the Consent Decree
(III.A.2). One was a physician whose care the Monitor has thoroughly reviewed and advised
IDOC that he should not be practicing as he practices in an unsafe and clinically appropriate
manner. The 2nd physician has not been monitored by either IDOC or the Monitor. This physician
is moved around to fill in and finding representative records of care he has provided is difficult.
This record demonstrates that he should also not be practicing because of unsafe and clinically
inappropriate practice. Physicians without appropriate credentials required by the Consent Decree
should not continue to practice.

There was very little physician or mid-level provider contact with this patient. The patient
complained about this to a psychiatrist on 2/16/23. The psychiatrist documented that the patient
was frustrated about lack of medical care. Though, no details were provided, the patient’s concern
was valid.

On 2/25/23, a nurse responded to an emergency noting that the patient had difficulty speaking and
left sided weakness and thought the patient was having a stroke. There was no evidence that a
physician was available for consultation and the nurse did not document speaking with a physician.




                                                                                                     2
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The patient was admitted to a local hospital and was promptly treated with de-clotting2 medication
(TPA) on suspicion of a stroke and referred to a tertiary care hospital. At that hospital the patient
had no evidence of a stroke, central nervous system mass, or bleeding. He was oriented and aware,
but a physical therapist noted that he had decreased awareness of the need for assistance and
difficulty with activities of daily living. He needed assistance with transfers and needed verbal
cues for safety and transferring from sitting to standing. He had limitations with movement and
decreased functional balance and endurance. He was short of breath with activity and developed
low oxygen while sitting which improved with activity.3 He described one fall in the past 6
months. This picture describes a frail elderly man with functional movement disability who might
have early dementia though he did not have a cognitive study in the hospital. He did not have a
stroke but was diagnosed with a transient ischemic attack (TIA) 4. The hospital documented his
sleep apnea and hypertension as problems but did no investigations of these conditions except for
routine blood pressure checks. He had mild anemia on blood tests in the hospital but this was
unrecognized at the prison.

On 2/27/23, the patient returned from the hospital and a nurse placed the patient on the infirmary
and gave him a walker. Coverage-physician-1 saw the patient two days later. This was the first of
two in-person physician visits during 2023 by coverage-physician-1. This first physician note was
written on an infirmary discharge summary form. The patient had been admitted to the infirmary
by nurses but when the physician saw the patient he immediately discharged him without any
examination. The patient had a recent TIA and had no prior physician monitoring of his COPD,
osteoarthritis, sleep apnea, abdominal hernia, and hypertension for a year. The note was 32 words
long as shown below.

         Admitting Diagnosis: “Post [cerebrovascular accident]5 [with] TPA6”
         Discharge Diagnosis: “Stable post-CVA
         Infirmary Course: [illegible word] stable, ambulating [with] a cane.
         Infirmary Discharge Orders: [continue] current meds; encourage to wear his abdominal
         binder; issue walker
         Follow Up Plan: will [follow up] [after] [appointment] [with] neurology.7

Problems with this note were as follows.
   • There was no history of any of the patient’s problems.
   • There was no physical examination concerning problems related to the hospitalization or
       to the patient’s chronic illnesses.

2
  The standard of care for a stroke is for a hospital on suspicion of a stroke to give a medication to dissolve the clot
causing a stroke and to refer to a stroke center or regional hospital better equipped to manage strokes.
3
  His oxygen saturation was 83-86% when sitting and rose to 91% when walking and 92% post-exercise. All of these
numbers demonstrate low oxygen in his system.
4
  A transient ischemic attack (TIA) is a presentation with symptoms consistent with a stroke but which resolve. A
TIA is so classified when the symptoms are related to brief blockages of blood flow to the brain. These episodes
don’t cause long-term damage and resolve but portend a future stroke which occurs in about one in three people who
have a TIA. This patient left the hospital with a diagnosis of TIA.
5
  Cerebrovascular (CVA) refers to a stroke.
6
  TPA is the de-clotting medication
7
  The words in brackets were all abbreviation but written out for clarity.



                                                                                                                      3
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    •   The physician’s understanding of the hospital diagnosis was inaccurate; the patient did not
        have a CVA he had a TIA,
    •   The hospital record was not documented as reviewed.
    •   There was no follow up post-hospitalization and review of hospital findings to provide
        informed care to the patient.
    •   Anemia identified in the hospital was not recognized. A blood count from 2/25/23 showing
        mild anemia was in the record but not acknowledged.
    •   The problem list was not documented as updated.
    •   None of the patient’s current chronic diseases (sleep apnea, hypertension, hyperlipidemia,
        osteoarthritis of the knee, abdominal hernia, and COPD), which had not been evaluated for
        a year, were evaluated nor were the patient’s current medications reviewed after the
        hospitalization.
    •   Use of an abdominal binder was referenced but the abdominal hernia management was not
        updated.8
    •   The MRI and CT scan from the hospital were not reviewed. The brain atrophy and small
        vessel disease suggested possible early senility or dementia which should have been noted
        in the event there were further episodes of altered mental status. The patient should have
        had his cognitive status determined.
    •   Without history, examination, or review of the hospital record, this physician made a
        housing decision to discharge the patient to general population without consideration of
        whether this was safe.
    •   The plan to only provide a walker and cane failed to consider the patient’s functional ability.
        No review of the hospital physical therapy note occurred which gave details on his need
        for assistance with transfers, prompting for transfers, etc., and implied future need to
        monitor and manage these disabilities.
    •   There was no plan to send the MRI and CT scan and hospital discharge summary to the
        neurologist so that effective communication about the patient’s condition could be
        accomplished.
    •   Though a referral to neurology was documented in the note, a referral was not on the offsite
        specialty care log. The physician had written a referral form but the information was
        inaccurate. The request stated that the patient had recent cerebrovascular accident but the
        patient actually had a transient ischemic attack. This referral was not timely and occurred
        over two months later.

This evaluation continued the practice of episodic care, only responding superficially to the most
immediate need. Almost none of the patient needs were addressed which is particularly important
when coverage doctors are seeing patients.

Within a week of discharge from the infirmary, on 3/8/23, a nurse scheduled the patient to see
coverage-physician-1 for his 2nd encounter with this patient. The nurse documented an
introduction to the visit stating that the patient needed to be seen as to whether he needed a
wheelchair due to his legs being weak from his TIA and said “do not cancel per HCUA”.

8
 A May, 2022 ultrasound showed loops of bowel in the hernia. This should have been confirmed with CT and if
accurate the patient should have been referred to a surgeon for repair



                                                                                                              4
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Apparently, the HCUA became aware of some type of functional difficulty and wanted the patient
examined. Coverage-physician-1 saw the patient and his note was very brief as shown below.
      S: Have a walker [and] a cane. Used the [wheelchair] [after] discharge from the
      [infirmary]. Is OK [without] a [wheelchair].
      O: ambulating well [with] the walker.
      A: Discussed that if a time arrives when he can’t go to the pill line / chow then we can
      address leg weakness then.
      P: No current need for a [wheelchair].

This note was episodic and the many of the same criticisms given above are present in this note.
However, key problems are:
   • There was no history or examination that may have elucidated the activity of daily living
       and functional problems that the patient was clearly having in general population for which
       infirmary housing or additional disability aids were indicated.
   • This patient had a prior recommendation for a knee replacement but his significant
       degenerative arthritis was not addressed nor was an appropriate accommodation made for
       his disability. Orthopedic referral was indicated but not done.
   • The patient had a fall history but this was not inquired about or evaluated.
   • Again, the patient’s chronic illnesses had not been evaluated in a year and any opportunity
       to do so should have been taken.
   • The denial of a reasonable accommodation for his disability was unsafe, clinically
       inadequate, and bordered on cruelty.

About two weeks after coverage-physician-1 discharged the patient from the infirmary, on 3/10/23,
a nurse evaluated the patient for knee pain documented as constant. The patient asked for a
different walker. The nurse did not refer the patient. On 3/16/23, coverage-physician-2 was asked
to see a patient to review ultrasound results that occurred on 5/31/22 to evaluate an abdominal
hernia. The test documented that the hernia may contain loops of bowel which could place the
patient at risk of incarceration of the hernia. CT scan was recommended for further evaluation.
When coverage-physician-2 saw the patient, the ultrasound result was not addressed. The entire
note consisted of 18 words as shown below.
        S: Patient is [with] [chief complaint] right knee pain
        O: states walking with walker
        A: Arthritis
        P: X-ray [right] knee; referral orthopedic9

Problems with this encounter were as follows.
   • The purpose of the visit (to evaluate an ultrasound result) was not accomplished.
   • Coverage-physician-2 took no history of the pain nor did he complete an examination or
       functional assessment related to the knee pain. On 3/14/23, a psychiatrist documented that
       the patient continued to “slur his words” so a better examination was called for, particularly
       in light of the recent hospitalization.


9
 This patient was not found on the Centralia 1st and 2nd quarter offsite tracking log so the referral was not
documented as in process of being completed.


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     •   This person had been inappropriately discharged from the infirmary to general population
         a couple weeks previous and whether the knee pain affected his ability to function was not
         addressed. Coverage-physician-2 failed to evaluate the patient sufficiently to determine
         whether an appropriate accommodation for his disability was accomplished.
     •   The patient described, in prior a chronic disease clinic, a recommendation for knee
         replacement which was not investigated.
     •   Coverage-physician-2 did order an x-ray but no one followed up on the results. The x-ray
         result was available the following day and showed moderate to severe joint space
         narrowing and degenerative changes. There was near obliteration of the medial
         compartment with osteophytes. MRI follow up should have been done but was not.
         Orthopedic follow up was indicated but not apparently ordered.
     •   Coverage-physician-2 also documented he would refer the patient to orthopedic surgery
         but no referral was found.
     •   Similar to the practice of coverage-physician-1, the patient’s chronic illnesses had not been
         monitored in almost a year yet no action was taken to do this.
     •   The recent hospitalization was not acknowledged nor did coverage-physician-2 inquire
         whether the patient was doing OK since discharge.

This was an unsafe and clinically inappropriate visit because the abnormal test result for which the
patient was scheduled was not addressed. The patient’s stated complaint was not adequately
addressed. Moreover, the patient’s chronic illnesses were not attended to.

The inmate was in general population and assigned an ADA10 helper. It wasn’t clear who initially
ordered the inmate helper.11 This verified that the inmate could not function safely on his own.
On 3/21/23 the inmate ADA helper brought the patient to the clinic and told the nurse that the
patient was falling frequently. The nurse documented the patient’s walker was only helpful
indoors. So, the nurse , with the ADA inmate, called coverage-physician-1 who gave a telephone
order for a wheelchair any time he is going long distances or leaves his housing to go between
buildings. This after-the-fact management still did not address the patient’s needs because the
physician still did not take any history or conduct any examination to determine why the patient
was falling. Other factors that may have affected his falls (e.g., current acute illness, cognitive
decline or additional functional disabilities) were not addressed. Coverage-physician-1 did not
schedule an appointment to follow up on the patient falls and took no other diagnostic measures
or change of housing (e.g., infirmary placement) to protect the patient. This was an episodic
manner of addressing the patient’s disability that was unsafe and clinically inappropriate practice
because without determining why the patient was falling potentially placed the patient at risk of
future harm.




10
   ADA refers to inmates who are assigned to assist elderly or severely disabled inmates. This is not intended to
supplant medical care but the Monitor believes the ADA attendant does, at times, substitute for medical supervision.
In this case, the inmate likely had severe degenerative arthritis necessitating knee replacement which was not done.
He also likely had early dementia and should have been housed with some medical supervision but was placed in
general population with an inmate ADA.
11
   There are no formal rules statewide on who is to order ADA helpers nor is there policy or procedure governing use
of these services.


                                                                                                                  6
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Later that same evening on 3/21/23 a nurse evaluated the patient again for a “possible TIA” and
severe headache. The nurse wrote that the patient was confused when trying to make a phone call
and was unable to remember the phone number he was trying to call. Though oriented to person,
place, and time he appeared otherwise confused to the nurse. This may have been early cognitive
decline attributable to the brain atrophy and small vessel disease in his brain seen on CT scan or
something else. The nurse called on-call coverage-doctor-3 who ordered that the patient be sent
to a hospital.

The patient was sent to a local hospital on 3/21/23 and a CT scan showed no mass or acute bleeding
in his brain but did show mild brain atrophy and small vessel disease consistent with aging and
early cognitive changes and dementia in the elderly. The failure to conduct standard cognitive
evaluation at the prison ultimately resulted in this hospitalization that was likely preventable. After
a CT scan was done, the local hospital immediately sent the patient to a tertiary care reference
hospital in Evansville, Indiana for neurological evaluation. The patient returned from the hospital
on 3/23/23. The record from the hospital in Evansville was not obtained and was not in the record.
The only information about this hospitalization is what the nurse at Centralia wrote when the
patient arrived back to the prison on 3/23/23 which was that the patient didn’t have a stroke or
TIA; instead had a migraine for which Depakote was prescribed. The nurse did not mention
whether neurology follow up was recommended. On arrival at the facility, the nurse called
coverage-doctor-3 again who ordered the medication and also ordered an inmate ADA attendant
and use of a wheelchair when leaving the housing unit. This plan was developed without
evaluation of the patient or review of the hospital records and there was no post-hospital evaluation
of the patient. This patient’s cognitive difficulties and functional disabilities appeared to be more
likely a result of early dementia or cognitive decline and the housing assignment did not appear
appropriate. In this instance, the assignment of the inmate ADA helper appeared to be a substitute
for medical care which is an inappropriate use of inmate workers.

In the meantime, the neurology referral ordered by coverage-physician-1 on 3/1/23 took place on
4/3/23. The neurology report was incomplete and only the first page was available in the medical
record. On page one, the neurologist wrote that the patient had functional impairments but no
cognitive impairment. The remainder of the note was missing. The referral form that went with
the patient for the visit had comments by the neurologist that said,
        83 year old [with] history of headache. He is doing better [with] Depakote. He has a
        shuffling gait. [one sentence illegible]. Alert. Oriented. Plan: continue with current dose
        of Depakote.

Someone wrote on this form “Dr. office will fax order for Sinemet when they fax paperwork back”.
Sinemet is a drug used for Parkinson’s disease and shuffling gait is a manifestation of Parkinson’s
disease. Someone also wrote that a 3 month follow up was requested to be scheduled sometime
around 5/10/23. Coverage-physician-1 signed this referral form as reviewed but another referral
back to the neurologist was not written until 5/10/23 about five weeks after return from the
hospital. This referral from 5/10/23 was not found on the 2nd quarter offsite specialty log. Because
the neurologist’s note was not present, it was unclear whether the neurologist diagnosed
Parkinson’s disease. The problem list was not updated to include migraine or Parkinson’s disease
and the medical record is uninformed as to what the neurological status of the patient was. When
the referral to this neurologist was made by coverage-physician-1, the hospital record including



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MRI and CT scan results were not sent with the patient so it was likely difficult for the neurologist
to make an accurate diagnosis.

Three days after the neurology consultation, the HCUA confirmed on-call-coverage-physician-3’s
phone order that the patient was permitted to have a walker, a low bunk, and ADA inmate attendant,
and a wheelchair. The HCUA also arranged for the patient to be housed in a unit closer to the
health unit. A provider should have completed an in person evaluation to determine the patient’s
functional capacity and determine whether he was appropriately housed. Instead, this evaluation
occurred by phone.

Coverage-physician-2 saw the patient in follow up of the neurology visit on 4/11/23. The patient
had not been evaluated by a provider after the 3/21/23 hospitalization, so coverage-physician-2
should have done that evaluation as well. Though the purpose of the 4/11/23 visit was to evaluate
the patient post-neurology referral, the only history was that the patient lost his hearing aids and
had no further headache. The visit note as written is given below.

       S: Patient states that his hearing aids were lost in transfer from Indiana
       O:[illegible word] states has no headaches since Depakote 500 BID
       A: Parkinson [disease]
       P: Continue Depakote as prescribed. Hearing testing for hearing aids

There was no other history and no examination. The assessment was Parkinson’s disease. Because
the neurologist’s report was incomplete, it wasn’t clear that this was a diagnosis of the consultant.
The only plan was to send the patient for hearing aids and to continue Depakote. Problems with
this encounter were the following.
    • If the assessment was Parkinson’s disease, the doctor should have confirmed findings of
        the neurologist, ordered the medication for the patient and ensured that the functional
        disabilities related to the Parkinson’s were addressed with appropriate housing and support.
        No evaluation took place and the patient’s needs were not met.
    • This evaluation also did not review the past hospitalization which was only 19 days earlier.
        The patient had not been evaluated post-hospitalization. The hospital record was not
        reviewed and the problem list and therapeutic plan of the patient was not updated.
    • None of the patient’s chronic diseases which had not been evaluated for about a year were
        evaluated including the newly identified problems from the 2/25/23 hospital admission.
    • The neurology full report was not documented as reviewed.
    • A follow up neurology referral form was not made. It was written on 5/10/23 about five
        weeks later but it wasn’t found on the 2nd quarter offsite tracking log.
    • The physician did not discuss the consultant’s findings and recommendations with the
        patient and did not update the therapeutic plan based on the consultation. The patient was
        therefore uninformed about his care plan.

This was another episodic encounter that did not address the needs of the patient.

The patient had no further in-person physician evaluations until 8/2/23, about four months later.
In the meantime, the following clinical events took place.



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     •   On 4/18/23, a laboratory test confirmed mild anemia (hemoglobin 13) which was not
         acknowledged.
     •   On 5/3/23, the family called about the patient having “increased confusion”. This resulted
         in a nurse evaluation who noted that the patient did get confused about who he was
         approved to call and on what day he was approved to call. A nurse found the patient
         oriented to person, place, and time, but no further clinical evaluation or history occurred
         and the patient was not referred to a provider. A mini-cognitive test should have been done
         but was not.
     •   On 5/6/23 a psychiatrist documented that the patient was more confused but the patient
         was not referred to a provider for evaluation.
     •   On 5/10/23, a nurse emergently saw the patient who had fast heart rate (120), fast
         respiratory rate (26), and low oxygen saturation (89%) and was shaking and coughing. An
         unnamed physician was called who recommended sending the patient to the hospital.
         When the patient arrived at the hospital, he was short of breath and weak and was only able
         to respond to yes or no questions. The patient spent four days In the hospital and was
         diagnosed with acute respiratory failure, pneumonia, cellulitis, acute on chronic heart
         failure, a type 2 non-ST-segment elevation myocardial infarction (NSTEMI-2), 12 and atrial
         fibrillation. He was started on a blood thinner, an antibiotic for the pneumonia, a
         medication to control his heart rhythm and a diuretic and discharged with a
         recommendation to follow up with a cardiologist.
     •   Upon return to the prison on 5/19/23, a provider didn’t see the patient and the recommended
         antibiotic wasn’t stocked so it was ordered. The following day, the three days of antibiotic
         were given to the patient as ordered but these were given for the patient to administer to
         himself. Given the recent confusion of the patient, he should have been kept on the
         infirmary to monitor. Instead, he was sent back to general population and given his
         medications to handle on his own. The blood thinner was unavailable for eight days and
         the patient received no medication during this time. These developments were all unsafe
         and placed the patient at risk of harm.
     •   On 5/21/23 a nurse documented that the patient said he wasn’t wearing his CPAP mask and
         that he was “slightly confused”. A better evaluation of his mental status wasn’t performed
         and the patient was left in general population. He should have been referred to be evaluated
         by a provider but this did not occur. This patient was housed inappropriately. He should
         have been housed on the infirmary.
     •   On 5/26/23 at 11:30 am, a nurse using a non-specific discomfort protocol evaluated the
         patient for right leg pain. The patient needed assistance to stand. He had 4+ (very large)
         pitting edema of the right leg extending from above the knee to the toes. The nurse did not
         document evaluation of the left leg. The nurse called on-call-coverage-physician-4 who
         ordered a stat D-dimer test. This is a test to evaluate whether a clot was present in the leg.
         If the doctor thought a deep vein thrombosis was present, the patient should have been sent
         to a hospital urgently for evaluation. The test result returned at 5 pm and was normal. On-
         call-coverage-physician-4 ordered the patient back to general population housing despite
         prior confusion. An in-person provider evaluation was called for. The left leg should have


12
 This is a heart attack not caused by blockage of a coronary artery but by lack of oxygen to the heart muscle which
was likely caused by his heart failure and pneumonia.


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       been evaluated for edema. If both legs were swollen, the edema was likely due to his recent
       diagnosis of heart failure and his medication likely needed readjustment.
   •   Eight days after the 5/19/23 discharge from the hospital, on 5/27/23, coverage-physician-1
       wrote a referral to cardiology as recommended on the 5/19/23 hospital discharge summary.
       Coverage-physician-1 did not examine the patient or document review of the record. It
       wasn’t clear if he was onsite. The patient’s status since hospitalization for heart attack,
       heart failure, atrial fibrillation, pneumonia and cellulitis was not being monitored. There
       was no examination post-hospitalization, no update of the therapeutic plan, and the patient
       remained uninformed about the facility’s plan of care. This placed the patient at serious
       risk of harm.
   •   On 5/29/23, a psychiatrist documented that the patient was recently hospitalized secondary
       to confusion. The patient expressed frustration about his case and had problems with his
       CPAP machine and had fluid retention. The psychiatrist wrote, "He worries about getting
       out before he passes away".

Finally, on 8/2/23 coverage-physician-1 saw the patient for the first provider visit since the 5/15/23
hospitalization, 79 days after the hospitalization. He ostensibly saw the patient based on nursing
referrals for a debilitating right knee pain, review of laboratory results and a toenail evaluation.
The following was the doctor’s entire note.

       S: Has had knee pain for year, ∅ lab work. Has long toenails.
       O: ∅ labs. Long toenails
       A: Will order toenails cut
       P: To the treatment line- soak toenails + clip same

The problems with this encounter is the following.
   • This note is episodic. In this case, the patient hadn’t been seen in months and the status of
       his medical conditions should have been updated but there was no update of any of the
       patient’s conditions.
   • This patient had a significant recent hospitalization for myocardial infarction, atrial
       fibrillation, pneumonia, cellulitis, acute on chronic heart failure which were new diagnoses
       but which had not been monitored for three months. These conditions should have been
       monitored to protect the patient from risk of harm.
   • The new diagnoses were not entered into the problem list, nor was the therapeutic plan of
       the patient updated with his new conditions.
   • None of the patient’s new medications were monitored. Though the patient had recent leg
       edema, the physician did not address whether the heart failure was appropriately controlled
       with diuretic medication. The physician did not evaluate whether the patient was receiving
       his medications. He was receiving furosemide, potassium, diltiazem, and Tylenol as keep-
       on-person medication but given this patient’s intermittent confusion and large medication
       panel (he was on 14 different medications) he should have been on directly administered
       medication. The MAR did not provide evidence that the patient had received atorvastatin
       in July.
   • This patient also had multiple chronic conditions (sleep apnea, COPD, hypertension,
       osteoarthritis, hyperlipidemia, and abdominal hernia) which had not been monitored in a
       year and a half and should have been monitored.


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   •   The patient had known osteoarthritis of the knee for which knee replacement had
       previously been recommended. His current knee pain wasn’t evaluated with history or
       physical examination. Further work up was not accomplished. Coverage-physician-2
       documented he would refer this patient to an orthopedic surgeon which never occurred.
       This patient’s complaint and need was not addressed appropriately.
   •   Though one of the documented purposes of the physician visit was to review laboratory
       results, the physician did not even discuss what laboratory result was to have been
       reviewed.

On 8/10/23 a test result showing low potassium level was present and initialed as reviewed by
coverage-physician-1. The patient was on a diuretic that can cause low potassium but there was
no evidence of follow up monitoring. The MAR shows that the patient did not receive keep-on-
person potassium in April, May, or June and received a 30 day supply on 7/2/23. Also, he may not
have been taking his medication as instructed because of his age and intermittent confusion. He
should not have been responsible for taking his own medication and should have received his
medication but did not.

On 8/15/23, the patient returned to the neurologist who previously evaluated the patient on 4/3/23.
This appointment was not listed on the 3rd quarter Centralia offsite specialty log. Though Centralia
staff had documented on the 4/3/23 referral that the patient was to be started on Sinemet, a drug
for Parkinson’s disease, at this visit the neurologist made no mention of Parkinson’s disease. Based
on the referral information provided to the neurologist that the patient had a prior stroke, the
patient’s leg weakness was attributed to the stroke. The neurologist recommended continuing the
Depakote for migraine. Prior hospital records including brain MRI and CT scans should have been
sent to the neurologist but were not and the patient appeared to not have been appropriately
evaluated. This type of miscommunication with specialists is a frequent occurrence and can cause
misdirected medical care. There was no documented review of this consultation and a provider
did not meet with the patient to discuss findings.

On 8/21/23, a nurse called on-call-coverage-physician-3 for bilateral leg edema and he
recommended sending the patient to a hospital. Since the last hospitalization for myocardial
infarction, heart failure, pneumonia and leg cellulitis, a physician had not seen the patient for the
purposes of monitoring these conditions. There was only one provider evaluation over the three
month period and the heart failure was not being monitored. For this hospitalization, the patient
had acute on chronic heart failure; the atrial fibrillation had reverted to normal rhythm. The
cardiology appointment recommended on 5/19/23 had not been completed before this
hospitalization. An echocardiogram at the hospital showed worsening heart failure. The patient
was treated for exacerbation of heart failure. An enlarged aortic aneurysm was also found on
echocardiogram. The cardiologist ordered a follow up CT scan which showed a 3.9 cm thoracic
aortic aneurysm that the radiologist recommended should be followed up in a year. Cardiology
notes in the hospital recommended follow up with cardiology upon discharge but specific
cardiology follow up was not in the discharge summary. There was no evidence of a referral to
cardiology on the 3rd quarter offsite specialty log. The aortic aneurysm should have been noted
especially the need for a follow up CT scan. Diltiazem was discontinued and new medications




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were started: metoprolol, Entresto, Jardiance, and spironolactone. He was treated with Keflex to
complete treatment of urinary tract infection.13

The patient returned to the prison at 5 pm on 8/26/23. The nurse noted new medications and wrote
that the hospital nurse had endorsed that the oxygen saturation was low and he was on 3 liters of
oxygen until 3 pm of the day of discharge and that the saturation was at least 94%. At the prison
at 7 pm, the oxygen saturation decreased to 88%, the blood pressure was 88/42 (which is very low)
and the heart rate was documented as 29 (which is extremely low). The patient was described as
“in and out of alertness”. The nurse called on-call-coverage -physician-4 who ordered that the
patient return to the hospital.

At the hospital the vital signs were normal and oxygen saturation was normal. The patient was
sent back to the prison by 10:30 pm the same day and was returned to the infirmary by a nurse.

The nurse in the infirmary called on-call-coverage-physician-4. The nurse identified that the pulse
was now irregular, indicating possible atrial fibrillation but an EKG several hours earlier in the
emergency room showed atrial bigeminy, typically a non-serious arrythmia. The on-call physician
ordered “fall precautions”, fluid restriction to 1.5 liters daily with daily weights and to call the
provider for a weight gain of more than 2-3 pounds daily or 4-5 pounds over a week. The patient
was to wear his CPAP mask.

Two days later on 8/29/23, coverage-physician-1 saw the patient because the patient was
requesting a podiatry referral and because the patient had a recent hospitalization and ER visit.
The entirety of the note was as follows.

         S: [illegible word] post ER
         O: Stable post ER
         A: Stable post ER. Discussed DNR [do not resuscitate] + He wants to be revived.
         P: 1) Pt. to sign sheet-DNR 2) Will need [follow up] [with] cardiology check[name of a
         clerk] to see if he needs collegial. Discharge from infirmary.14

Problems with this visit are the following.
   • The doctor specifically documented that the patient might need “collegial” review. This
       implies that the collegial review process is still active. IDOC should explain this
       documentation.15
   • This patient had recent hospitalization for worsening heart failure, and was re-hospitalized
       for unstable vital signs. He was recently started on multiple new medications for his heart
       failure. A better history should have been obtained and a physical examination performed.


13
   The pharmacy wrote on the non-formulary approval for Jardiance to monitor the patient and labs for adverse
effects. Dehydration is a side effect of this medication especially in the elderly. This patient was also taking a
diuretic. A significant adverse reaction is also acute kidney injury which this patient subsequently developed
without any monitoring.
14
   This is our emphasis. To discharge the patient from the infirmary without any history or examination is not
standard of care.
15
   Patients #1, #5, and #6 in these mortality reviews had references to collegial review. It appears that some form of
collegial review still exists which should be explained.


                                                                                                                   12
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     •   An updated therapeutic plan should have been documented noting the changes in his heart
         failure medication.
     •   The new identification of aortic aneurysm should have been noted and a referral for a repeat
         CT scan in a year should have been made.
     •   The problem list should have been updated.
     •   Because of the patient’s age, intermittent confusion, and serious medical conditions
         infirmary care should have been provided.
     •   The patient had not had chronic care monitoring of his original medical conditions (COPD,
         sleep apnea, osteoarthritis, hypertension, and abdominal hernia) for a year and a half and
         these should have been evaluated. He also did not have his newly diagnosed conditions of
         myocardial infarction, atrial fibrillation, and heart failure monitored since the prior
         hospitalization and the therapeutic plan for these should have been updated.
     •   The patient’s intermittent confusion and CT scan evidence of brain atrophy and small
         vessel disease should have resulted in a mini-cognitive test to assess for the potential for
         dementia.
     •   Though the doctor discussed end-of-life issues, this patient had a person named as power-
         of-attorney that was filed in the medical record and was dated 6/12/18. The person so
         named should have been contacted in the discussion of the physician orders for life
         sustaining treatment (POLST).
     •   To discharge this patient from the infirmary, given his age, history of intermittent
         confusion, movement disability due to severe osteoarthritis, fall history, and multiple
         serious cardio-pulmonary conditions was cruel. He needed some type of medically
         monitored housing. This placed the patient at risk of harm.
     •   The nurse, but not the doctor, wrote a formal infirmary discharge summary which is not
         consistent with current administrative directives.16 The nursing discharge summary
         continued on-call-coverage-physician-4’s orders for fall precautions, fluid restrictions with
         daily weights without indicating how this was to occur in general population. Coverage-
         physician-1 did not clarify those orders.

This 8/29/23 physician encounter was the last in-person encounter with a provider for this patient
until he died on 12/5/23. Significant subsequent medical issues occurred that warranted in-person
provider intervention.

On 9/5/23, a nurse saw the patient, who was now living in general population using a non-specific
discomfort protocol because the patient had edema of the legs with shortness of breath which
indicated a worsening of his heart failure. This may have been due to not receiving ordered
medication. Furosemide was recommended changed to 20 mg twice a day and was given at this
dose from 8/27/23 until 8/30/23. Then in September the furosemide wasn’t given for 4 days and
on September 5th it started again at its previous dosage of 40 mg daily instead of 20 mg twice a
day. There was no order found for this change. On 9/5/23, coverage-physician-4 ordered the
nurse, by phone, to instruct the ADA inmate helper to educate the patient related to appropriate


16
  Administrative Directive 04.03.120 G.5., requires that physicians, psychiatrists, or dentists can discharge a patient
from the infirmary and that a discharge note by the physician, psychiatrist or dentist is to be in the medical record.
The discharge note shall include a summary of the reasons for admission, the course in the infirmary, and the
discharge diagnosis and plans. This physician note did not accomplish these directions.


                                                                                                                    13
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sodium and water intake. The inmate was not trained and should not have been instructed to
provide patient care. This patient should have been placed on the infirmary but was not.

When the patient returned from the hospital 8/27/23 there were provider orders to start six new
medications recommended by the hospital but on 9/27/23 three medication orders for Entresto,
Jardiance, and Toprol expired without anyone noticing. New orders were not obtained. Orders
for Eliquis also expired in September and new orders were not obtained.

Laboratory tests returned on 9/21/23 showing a BUN of 40 which is very high and may indicate
significant dehydration and a creatinine of 2.13 which indicated acute kidney injury. Though
someone initialed these results no action was taken. The pharmacy had previously advised
monitoring for side-effects of Jardiance. Both acute kidney injury and dehydration are known
adverse effects of Jardiance but these were not acknowledged. The possibility of significant
adverse reaction to a medication was unacknowledged.

On 9/26/23 a nurse was checking the patient and noted a bruise on his shoulder which appeared to
be a few days old. No referral was made. There was no provider available. The nurse did not
question whether the patient fell.

On 10/2/23 at noon a nurse saw the patient because he felt weak, his stomach was upset, and he
had not been eating. The nurse used the non-specific discomfort protocol when a more appropriate
protocol should have been used.17 The patient’s blood pressure was 96/53. The nurse gave the
patient Pepto Bismol, which is not listed as a possible intervention on the non-specific discomfort
protocol. The nurse was practicing outside of scope and should have completed a more thorough
assessment and contacted a provider for direction. That same evening, at 8 pm, another nurse saw
the patient who complained of vomiting. He was unable to stand and was hypotensive with blood
pressure 89/55. On-call-coverage-physician-4 was called who ordered the patient to the ER. A
subsequent note by a nurse noted that the patient hadn’t eaten or drank for two days. A repeat
blood pressure was 80/58. The nurse documented a report was given to the emergency medical
responders.

The patient was hospitalized for three days. He had urinary retention relieved by catheterization.
He had anemia, severe dehydration, and renal failure (BUN 72 and creatinine 3.79). An indwelling
catheter was placed with a recommendation to see a urologist which did not occur at the prison.18
At the hospital the Apixaban, the blood thinner, was stopped for unclear reasons19. The patient
returned to the prison on 10/5/23. On the day he returned, a psychiatrist saw the patient and noted
he had significant decline since the last visit. He was disoriented to time and place. The patient
was admitted to the infirmary but was not examined by a provider.

The following day, 10/6/23 the patient was able to follow commands but was unable to support his
own weight and move himself in the bed or chair.

17
   Indigestion or Nausea/Vomiting protocols would have been more appropriate.
18
   We note that the Centralia 4th quarter offsite tracking log did not include this referral and a provider did not
evaluate the hospital record in follow up.
19
   It may have been stopped due to falls and cognitive disorder which are a risk for significant bleeding if the patient
experienced a fall.


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Two days later, on 10/8/23, at 5:30 the patient became incontinent when transferring and became
unresponsive with low blood pressure. The nurse called on-call-coverage-physician-4 who
ordered the patient transferred to the hospital. At the hospital, the patient received IV fluid and
was returned to the prison the same day without any new orders. On return to the prison, a
decubitus ulcer was noted. He was placed on the infirmary.

On 10/11/23, on-call-coverage-physician-3 gave an order for the dressing change. On-call-
coverage-physician-3 told the nurse that coverage-physician-1 would see the patient that evening
but this did not occur.

On 10/14/23 on-call-coverage-physician-4 was called about the patient’s decubitus wounds.

On 10/15/23, on-call-coverage-physician-4 conducted a telemedicine visit which was typed by a
nurse and signed by the physician. The nurse was unable to bring the patient to the telemedicine
room and the examination was conducted in a separate room by a nurse not visualized by the
physician. On-call-coverage-physician-4 said that coverage-physician-1 would evaluate the
patient and ordered a special cushion and to turn the patient every two hours. This visit was no
better than a phone call. Coverage-physician-1 did not see the patient as recommended by on-call-
coverage-physician-4.

On 10/15/23 a nurse attempted to call on-call-coverage-physician-4 but there was no answer.
About two hours later the nurse was able to reach the physician and medications for the decubitus
wound were clarified. The physician was making wound care decisions without having seen the
wounds.

The patient was still not evaluated by a provider when on 10/27/23 on-call-coverage-physician-4
apparently did a telemedicine evaluation but the note was written by a nurse. The evaluation was
extremely limited; the entire note stated,
       LCTA [lungs clear to auscultation], HR [heart rate] regular + rhythm seen by [Dr. X] via
       telemed. Orders to follow.

This was an inadequate note given the condition of the patient.

On 11/22/23 without any intervening provider visits, a nurse called on-call-coverage-physician-4
for hypoxia (oxygen saturation of 87%) who ordered the patient sent to the hospital.

In the hospital the patient appeared to have an infection, the CT scan showed profound brain
atrophy with senescent changes with an old infarct. The patient was lethargic but opened his eyes
to painful stimuli. He had spontaneous movements of his left upper extremity. He had acute
respiratory failure with sepsis and acute metabolic encephalopathy. The patient’s power of
attorney was finally reached by the hospital and the agreed patient goal was to keep the patient
comfortable and transition to hospice. The patient was sent back to the prison on 11/29/23.

A nurse admitted the patient to the infirmary on 11/29/23. Nurses called coverage-physician-1 for
orders for medications recommended by the hospital. The patient died on 12/5/23. The patient



                                                                                                15
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had not been seen in person by a provider since 8/27/23. None of the in-person physician visits
during 2023 were adequate or served the needs of the patient. This patient was basically without
physician care for the entire year during which time he had two specialty consultations and six
hospitalizations. He was not being monitored during this time for any of his medical conditions.
The two coverage physicians who provided the five in-person evaluations are not credentialed
based on Consent Decree requirements (II.A.2) and should not be providing primary care in IDOC
facilities.

This patient did not receive adequate physician care for the entire year of this record review. His
problems were not monitored or evaluated and sometimes not even acknowledged. There was no
autopsy. The death certificate lists the cause of death as hypoxic respiratory failure. Though the
patient had COPD, he had not been monitored for this disease and the death might have been
preventable if the heart failure and COPD had been managed appropriately. Importantly, the
patient’s cognitive status declined over time but was never diagnosed. If the patient had dementia,
palliative care might have been indicated earlier than when determined by a hospitalist about two
weeks before he died.


Patient #2

The patient was transferred to Centralia on 5/4/22 with a history of hepatitis C, hypertension,
hyperlipidemia and gastroesophageal reflux disease (GERD). The patient was transferred to
Centralia on Protonix, a medicine for GERD, Norvasc, Lipitor, and Colace. There was no
physician at Centralia. When he arrived at Centralia, the Protonix was not provided as a non-
formulary form needed to be filled out. Protonix or its equivalent is extremely common and there
was no reasonable excuse for not providing this medication or an equivalent. About three weeks
after arrival at Centralia, the patient complained about his “heartburn” and asked for the Protonix
that had been ordered. The nurse documented that a new order had been written. The patient had
not been informed about how to pick up medication ordered as keep on person until seeing the
nurse for this request and received the Protonix that had been ordered.

On 7/5/22, a nurse saw the patient for indigestion. The order for Protonix ran out on 6/11/2024.
There was an order for Pepcid 20 mg daily that was to start when the order for Protonix ran out
but no documentation was in the record that he received this medication. The nurse circled the line
on the form that said, “call MD or refer urgently”. This did not occur About three weeks later on
7/25/22 a nurse was to see the patient for a complaint of heartburn but the nurse wrote that the
patient was already on the wait list. The absence of a physician at this facility was resulting in not
addressing this patient’s medical needs.

Finally, on 8/5/22, three months after arrival, at Centralia, the patient saw a provider who
prescribed Prilosec. The patient was 55 years old and had not yet had colorectal cancer screening.
Because of his abdominal complaint, a blood count and colonoscopy and/or FIT testing should
have been done. For the complaint of repeated heartburn, an upper endoscopy and/or imaging
study (e.g., CT scan) would have been indicated depending on the symptoms which were not
obtained. These symptoms appeared to be present for some time as the patient had already been
prescribed medication.


                                                                                                   16
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On 8/31/22 a nurse wrote on a progress note that the patient complained that the medication was
ineffective but added that the patient was already seen for this problem and the patient was not
seen. The nurse did not evaluate the patient. Because of the patient’s repeated complaints, upper
endoscopy should have been done but there was no physician at this site and he was not evaluated.

On 11/24/22 the patient complained of back pain and was referred to a physician but was not seen.
On 12/4/22 the patient complained of back pain. A nurse saw the patient and gave acetaminophen
by protocol without referral. On 12/29/22 a nurse saw the patient again for back pain and made a
check on a box stating to refer to a physician if no improvement after 48 hours of trial of the
treatment protocol. This referral did not occur until 4/12/23, four months later. On 2/8/23 the
patient again complained of back pain. The patient’s blood pressure was 160/91. The nurse did
not retake the blood pressure or look to see if there were other elevated readings and despite the
protocol’s direction again did not refer the patient. The lack of a physician at this facility was
significantly affecting care for this patient. Repeated back with abdominal pain should have
resulted in a CT scan and possibly an upper endoscopy. These tests would have depended on
specific symptoms but the patient did not see a provider.

A coverage physician, who does not meet Consent Decree credentialing requirements, saw the
patient for back pain on 4/12/23, apparently based on the nurse referral from 12/29/23. The only
history was that the patient had back pain for two weeks which is inaccurate. The patient had back
pain for at least five months. The only examination was to document “weight stable”. In fact, the
patient had lost ten pounds the last two months. The assessment only repeated the patient’s
complaint of back and abdominal pain and the plan was an abdominal x-ray which is not an
effective test to evaluate the patient’s problems. A CT scan or MRI should have been done if an
imaging study was deemed necessary; an endoscopy may also have been indicated depending on
the history. But the history only repeated a chief complaint. This evaluation was not competently
performed. The entire note is shown below.
        S: Patient is [with] c/o [chief complaint of] back pain. States [something illegible] past
        two weeks
        O: weight stable
        A: Back and abdominal pain
        P: KUB/lumbar


Two weeks later, on 4/20/23, a nurse again saw the patient for back pain which started when the
patient had “stomach issues”. The nurse wrote that the patient had recently seen a physician who
had addressed the problem. The nurse used the non-specific discomfort protocol to give the patient
acetaminophen when another protocol would have provided more appropriate guidance. The
patient had complained of difficulty digesting food and the nurse noted a six pound weight loss
since the physician visit. Despite documenting the loss of weight, the nurse’s assessment was no
weight loss. There was no referral to a provider. The lack of a physician at this facility was a
barrier to appropriate care.

On 5/4/23 a nurse saw the patient for complaints of black/green soft stool which had been present
for about a month. The patient also complained of loss of appetite. The patient weighed 189



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pounds and had weighed 209 pounds on 2/8/23. The nurse noted the weight loss and also
documented that the patient was unable to eat but wanted to. The patient was referred to a provider
but had not been seen when three days later, on 5/7/23, the patient complained of abdominal pain
in all quadrants with green loose stools. The patient also had nausea. The weight was 182 pounds
which was a 27 pound weight loss. The nurse who saw the patient took no history of the patient’s
abdominal complaints and did not review the record. The nurse noted abdominal distention which
by protocol requires contacting a provider but no referral was made. This patient should have been
sent to a hospital.

On 5/10/23, a doctor saw the patient for inability to eat and weight loss. The patient had fever
(100.5) and was tachycardic (104). The patient said he had diarrhea of light green stool if he ate.
He had jaundice. There was no further examination. There was no assessment. An urgent consult
for colonoscopy was made and multiple labs were ordered. The patient had weight loss, almost a
year of abdominal pain, jaundice and fever. He should have been admitted to a hospital. Two days
later, a nurse saw the patient for flank pain for a month. The patient had weight loss and fever. An
on-call doctor ordered the patient sent to a hospital.

After arrival at the local hospital the patient was found to have significant CT scan findings as well
as significantly abnormal laboratory tests and was transferred to a reference hospital where he was
diagnosed with cholangiocarcinoma, a cancer of the bile duct. A stent was placed in the bile duct
and the patient was discharged with a recommendation to see a cancer specialist within 1-2 weeks
and for colonoscopy. It was unclear when this patient was referred to the specialist.20

When the patient returned to the prison, on 5/19/23, the nurse did not document receipt of a hospital
report. A hospital report was present. An on-call doctor ordered Prilosec and the patient was sent
to general population. The patient now weighed 177 pounds over a 30 pound weight loss. There
was no evidence of a physician review of the hospital report within two days. Four days after
return from the hospital a coverage doctor ordered a routine referral for colonoscopy but there was
no authorization document for this referral although an authorization number was documented on
the referral. This referral never occurred and was not present on the 1st and 2nd quarter offsite
specialty care tracking log.21 There was no provider referral to oncology but there was an
authorization document that documented a referral to oncology was made 5/22/23 and was
authorized on 5/23/23. Since there was no referral and no progress note documenting review of
the hospital record by a provider, it appeared that this referral was made by the scheduling clerk.
This referral was the only referral that was on the 2nd quarter specialty tracking log because it
occurred. At Centralia only completed referrals are tracked. On 5/23/23 a coverage physician
wrote a referral for colonoscopy but there was no associated progress note. There was an
authorization number on the referral form but no authorization document from the vendor. This
referral was not present on the 2nd quarter offsite specialty referral log likely because it was never
completed.


20
   Even though this patient went to the oncologist on 5/24/23, the tracking log did not include a referral date so the
tracking log is incomplete. The tracking log at Centralia changed over time. In the past it included when a patient
was referred but the current log only tracks completed consultations and not referrals that never are completed. This
is not a tracking log.
21
   Centralia, apparently, only tracks completed appointments which is inappropriate.


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On 5/25/23 a nurse saw the patient and documented on a “return from furlough” form. This was
apparently a consultation with the oncologist. In effect, a nurse was now providing post
consultation review with assistance from phone calls with a coverage provider. There was no
report but an after-visit summary documented “port placement needed please”. The consultant’s
report was not present and the recommendations of the consultant were not documented in progress
notes. The nurse did document receiving orders from the consultant for Zofran (an antiemetic),
Ultram and Naprosyn (pain medication) stopping oxycodone, avoiding Tylenol, and a referral for
a port for chemotherapy. There must have been some communication from the specialist but it
could not be found in the medical record. The nurse documented going over the orders with the
facility physician who was a coverage doctor. This apparently occurred over the phone. On the
same day a coverage doctor wrote a referral to oncology for palliative chemotherapy and to
surgical oncology for a port. Both documents had authorization numbers written on the referrals
but neither had an authorization document. Neither the referral to surgical oncology for the port
nor the referral back to oncology for palliative chemotherapy were on the 2nd quarter specialty
tracking log22 but the oncology appointment was on the 5/21/23 tracking log because it was the
only one that occurred. This verifies that only completed consultations are placed on this log. A
provider did not see the patient post consultation to review recommendations of the consultant
with the patient or to update a plan of care. Nor was there a provider progress note to document
review of the consultant’s report.

The patient had yet to see a provider after hospitalization when on 5/27/23 security told a nurse
that the patient was too weak to come for his medication due to vomiting. A nurse evaluated the
patient who had “generalized weakness”. There was no provider at this facility and the nurse’s
plan was to have the patient come to the health unit as needed. If the patient was too weak to come
for medications how would he come to the health unit “as needed”. This did not consider that a
patient who had terminal cancer and was housed in general population was too weak to come to
the health unit for his medication. This patient did not appear appropriately housed. The MAR
had no documentation that the patient was offered Zofran, the antiemetic or Naprosyn, the pain
medication. The Ultram was provided twice on 5/27 but there was no documentation of offering
the medication on the 25th, 26th, or 28th. The following day, 5/28/23, a nurse evaluated the patient
for jaundice. The nurse called an on-call physician who ordered the patient to a local hospital.
The patient returned from the hospital on 5/31/23 on palliative care. The patient was confused.
There was one brief nursing note on 6/1/23 stating that the mother was called to approve a
procedure to withdraw fluid from the abdomen. There were no notes documenting care of the
patient. On 6/5/23 the patient died, apparently in the hospital, although there were no facility
progress note documenting where he died.

An autopsy was not performed. Symptoms of the patient’s cholangiocarcinoma were present about
a year before it was ultimately diagnosed. Despite long-standing complaint of both abdominal
pain and back pain, there was no provider review of systems or history to attempt to identify the
source of the complaint. Earlier intervention should have been done. While earlier intervention
may not have resulted in a cure, five-year survival would have been improved. This patient likely
died earlier than he otherwise would have, had timely intervention occurred. The lack of care
provided to this patient appeared directly related to the lack of physician coverage at this facility.

22
  This was a combined log but had no information for specialty care for this time period. It does not appear that an
accurate log was sent.


                                                                                                                  19
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Patient #3

This was another patient from Centralia who was a 69 year-old man who was incarcerated in April
2022. At NRC the patient was identified with COPD and hepatitis C infection. Laboratory tests
were abnormal including low albumin (3.2), an elevated liver enzyme (AST 58), a large
quantitative hepatitis C virus, and elevated bilirubin (1.8). A fibroscan showed F4 fibrosis which
is equivalent to cirrhosis. The laboratory tests added confirmation to a diagnosis of cirrhosis. On
5/3/22, a physician at NRC documented in a progress note that the patient was to be transferred to
an emergency room for a work up for his hepatitis C; this didn’t occur. The patient had criteria for
cirrhosis and needed referrals for ultrasound to evaluate for hepatocellular carcinoma, and
endoscopy to evaluate for varices and further treatment for hepatitis C and cirrhosis but urgent
hospitalization did not appear necessary.

Nevertheless, the patient was transferred to Centralia where there was no full time physician. The
only problem on the problem list was chronic obstructive pulmonary disease (COPD); hepatitis C
and cirrhosis were not added. The hepatitis C and cirrhosis were unnoticed on the transfer likely
to not being on the problem list. The patient with likely decompensated cirrhosis was not
scheduled to be seen by a provider.

On 5/22/22, a nurse evaluated the patient using a venous insufficiency protocol likely because the
patient had 3+ edema of the legs. This was likely a result of the patient’s cirrhosis although heart
failure would have to be ruled out. There was no evidence of kidney disease. The nurse referred
to a provider and a physician assistant saw the patient on 5/25/22. The history was extremely brief
and repeated the complaint of swollen feet with an added comment that the patient had not had
swollen feet before. Except for documenting no cardiac history there was no review of systems
relevant to swollen feet and the physician assistant did not review laboratory results which clearly
indicated cirrhosis. The examination only included looking at the patient’s ears which was related
to another complaint of hearing difficulty. Ear wax was noted. The only assessment, based on
listening to the complaint was COPD and foot swelling. Medication for his ear wax was given but
the only plan for the swollen feet was to elevate the feet. This patient with cirrhosis had swelling
likely due to his cirrhosis. The patient’s abdomen should have been examined to assess for
enlarged liver, enlarged spleen, and for ascites. A diuretic and beta blocker should have been
prescribed. Referrals should have been made for hepatitis C treatment, ultrasound of the abdomen
to assess for ascites and to evaluate the liver and spleen and to evaluate for hepatocellular
carcinoma, and referral for upper endoscopy to assess for varices. None of these were done and
the patient remained lost to follow up.

On 6/15/22 a non-credentialed coverage physician saw the patient in follow up of a hearing test
but the physician documented that the patient was in clinic for follow up of treatment for his ear
wax. This physician did not address any of the patient’s other problems despite the lack of a
physician at this facility. He noted persistent ear wax and ordered follow up in five days again
after continued use of medication to dissolve the ear wax.




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On 6/16/22 an optometrist referred the patient for cataract removal; this referral was authorized on
6/24/22. Another coverage physician saw the patient on 7/8/22 for the follow for his ear wax
made on 6/15/22. Only the ear wax was addressed.

On 8/1/22 a nurse admitted the patient to the infirmary for 23 hours observation due to 3+ leg
edema. An on-call physician ordered multiple labs, an EKG, and a chest x-ray. The EKG showed
first degree heart block and was signed as reviewed by an on-call physician but was not dated
when reviewed. By 8/2/22 the x-ray had not been completed and a physician had not seen the
patient. The vendor Regional Medical Director was called who directed that the x-ray be read stat
and if this couldn’t be done that the patient be sent to an emergency room. The x-ray wasn’t done.
The patient was sent to an ER early in the day on 8/2/22. It didn’t appear that the patient was
evaluated at the hospital because an after-care summary documented that labs, an x-ray and EKG
were done with a recommendation to follow up with a hospital physician in a day which did not
occur. A nurse called the on-call doctor later on 8/2/22 who gave a telephone order for oxygen and
a diuretic for seven days and the patient was admitted to the infirmary. The order for oxygen was
incomplete and should have included the duration, mode of delivery and parameters for escalation.

At this point the patient was short of breath; the oxygen saturation was 88%23 which warranted
transfer to a hospital. There was no examination of the patient. The patient was not sent to the
hospital-based primary care physician as recommended by the hospital despite there being no
physician at this facility. The on-call physician made no diagnosis. A physician did not evaluate
the patient; nor did nursing staff document daily evaluations while the patient was on the infirmary.
Nursing notes were completed weekly or longer with the next documented evaluation on 8/7/22
when the oxygen saturation was 87%. The nurse did not call a physician. The next nursing
evaluation was on 8/14/22 with an oxygen saturation of 86%. The next nurse visit was on 8/28/22
and the oxygen saturation had risen to 93%. This patient was not appropriately housed because
the patient was on an infirmary without a physician present at the facility. During much of the
month the patient needed hospitalization or transfer to another infirmary for physician care.

The stat chest x-ray ordered 8/1/22 was signed as reviewed by a coverage physician on 8/22/22
and showed chronic interstitial edema, COPD with volume loss in the right upper lung. The non-
credentialed coverage doctor did not document seeing the patient. It was still unclear if the
patient’s edema was due to heart failure or cirrhosis and there was no evaluation of the patient.
Laboratory tests ordered on 8/1/22 showed hypothyroidism (TSH 6.98), very low albumin (2.9),
an elevated liver test (AST 49) and elevated bilirubin (2.2); the latter three tests indicating
cirrhosis. A d-dimer test was high at 1.2 (normal 0..1-0.5); this test is used to exclude pulmonary
embolism and when positive pulmonary embolism should be ruled out. These tests indicate that
the patient needed higher level diagnostic intervention, but the patient was not referred to a hospital
or for immediate diagnostic testing.

The patient continued to remain on the infirmary and was seen only by nurses intermittently and
infrequently. This was contrary to IDOC administrative directive 04.03.120 that requires a
physician to write an admission note to the infirmary and write weekly notes at a minimum. On

23
  The oxygen saturation value is dependent on the cause and personal history of the patient. This patient only had a
diagnosis of COPD without history of prior exacerbations. With this history, hospitalization would be indicated
particularly because there was no physician at this facility to evaluate or manage the patient.


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9/4/22 a nurse documented that the patient’s oxygen saturation decreased to 91% when walking.
There was still no physician examination. The patient still had edema and was without a diagnosis
for it. On 10/16/22 a nurse wrote in the plan to increase oxygen flow as needed with activity to
keep oxygen saturation above 95%. The following week another nurse wrote in the plan to
maintain oxygen saturation between 93-95%. Nurses are not legally authorized to adjust oxygen
unless it is in the order. There was no such order.

On 10/5/22 the patient had a cataract removed. On 11/6/22 at one of the weekly nursing visits, the
nurse documented that the patient had a blood pressure of 86/48 with an oxygen saturation of 93%.
The nurse’s plan was to increase water and salt intake to increase the blood pressure. If this
patient’s edema was due to his cirrhosis, this would likely make the edema worse. There was still
no physician evaluation. Nurses were managing the patient’s problems; these plans were beyond
their scope of practice. The patient’s blood pressure was at shock value and should have been
evaluated by a provider promptly.

On 11/13/22 the oxygen saturation was 89% on three liters of oxygen. The nurse made no referral
stating that his blood pressure had improved. The patient had been in the infirmary now for three
months and had yet to see a provider. Patient outcomes are compromised when nurses are expected
to manage patient care by telephone order only.

A coverage physician who is non-credentialed24 finally saw the patient on 11/16/22 for follow up
of COPD. The note was brief and did not include review of the record to identify abnormal
laboratory tests including the prior chest x-ray and EKG. The entire note stated:
       “S: COPD
       O: no change in breathing status. Patient poor vision; bilateral cataracts
       A: COPD, cataracts
       P: Patient has scheduled treatments for eyes . No change in meds.

At this visit, the physician should have initiated a prompt diagnostic evaluation of the patient to
include: 1) early referral for hepatitis C treatment, 2) a CT scan of chest (for COPD) and
ultrasound of the abdomen to screen for cirrhosis and ascites; 3) spirometry and staging of his
COPD; 4) testing for need for continuous oxygen therapy, 5) echocardiogram to eliminate heart
failure as the cause of his edema, 6) monitoring of electrolytes since he was on Lasix without
potassium, 7) upper endoscopy to evaluate for varices, 8) vaccinations for hepatitis B; 9) monitor
the CBC, platelets, sodium, creatinine, regularly; and 10) monitor regularly for signs of
encephalopathy and treat with lactulose as indicated. This physician failed to do any of these. He
should not be practicing in IDOC as he doesn't have required credentials and practices in an unsafe
and clinically inappropriate manner.

Another examination, this time an annual health assessment was by a non-credentialed physician
on 12/7/22. The provider documented that the patient had no teeth but did not refer the patient to
a dentist. The patient was not questioned about his ability to eat. The COPD was not evaluated,
prior abnormal laboratory and diagnostic tests were not reviewed. There was no history and the
only examination was that the patient had no teeth, had wax in his ears, and one illegible word

24
  The Consent Decree requires physicians to have completed training in a primary care residency which this
physician did not have.


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regarding his pupils. The COPD, cirrhosis, and hepatitis C which were paramount were not
included in this pro-forma evaluation.

On 1/5/23 the patient had his second cataract surgery. The patient was admitted after the surgery
to the infirmary. The admission note was completed by a non-credentialed coverage physician
who took no history and conducted no physical examination. The only assessment was COPD and
recent eye surgery. The plan was to continue oxygen intermittently at 2 liters but no directions
were given for when to give the oxygen. The plan of care includes no post-surgical eye care
directions, including medication. This again was unsafe and clinically inappropriate physician
practice as none of the patients serious medical conditions were appropriately evaluated or
managed.

On 1/27/23, a nurse called a physician at another facility about the patient’s leg edema. The
physician said he was “really behind” and to educate the patient to cut back on salt, and to elevate
his legs. He also asked to have one of the non-credentialed physicians who were covering the
facility see the patient in a few days. The patient wasn’t evaluated for two weeks.

When the non-credentialed coverage physician saw the patient on 2/15/23 the history was swelling
of his feet. There was no review of systems to identify why the patient may have had leg edema.
The entire note was as follows:
        “S: has feet swelling for [about] 3-4 weeks. Had swelling in the past and given diuretics.
        O: 2+ edema bilateral legs
        A: Discussed diuresis and stockings
        P: Weekly weights, compression stockings, Lasix 40 mg po for five days; Labs: UA [culture
        and sensitivity], CMP [complete metabolic panel, a blood test]

It wasn’t clear if the patient’s edema was caused by COPD or cirrhosis and further diagnostic
efforts were needed. Also, the patient should have been referred for treatment of his hepatitis C.
This was an unsafe and clinically inappropriate evaluation.

Laboratory test results were abnormal and on 2/23/23, a nurse called an on-all physician who gave
orders for potassium, a repeat urine culture and Tylenol. Three days later, the patient complained
that he had skin broken down. The nurse noted a one centimeter ulcer on the bottom of the patient’s
foot. The patient’s blood pressure was 87/49. His low blood pressure had not been evaluated by
a provider. The nurse treated the wound with triple antibiotic ointment without an order or
directions from a protocol. This is another example of a nurse acting outside their scope of practice
in the absence of physician direction.

On 3/2/23 a nurse saw the patient for shortness of breath. The oxygen saturation was low (92%)
and the nurse identified abnormal lung sounds. An on-call physician ordered the patient sent to an
ER. At a local hospital the patient had pancytopenia with an extremely low white count (2.2),
anemia (Hgb 13.3), low platelets (47,000), low albumin, and elevated liver function tests including
bilirubin. A COVID test was positive. A CT scan of the abdomen showed ascites, splenomegaly,
a lung nodule and possible cirrhosis. The patient was treated with prednisone and released two
days later with recommendations to see an oncologist due to the pancytopenia and to see a




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gastroenterologist (likely for his hepatitis C and cirrhosis) and for a follow up CT scan in six
months. These referrals were not present on the 1st quarter offsite specialty log.

The patient returned to Centralia on 3/4/23 and the nurse accepting the patient did not document
the hospital diagnoses did note the referral to oncology but not the referral to gastroenterology, or
the follow up CT scan. There was no physician or provider admission evaluation. On 3/5/23 a
nurse documented an oxygen saturation of 80% even after increasing the supplemental oxygen
rate to three liters. The patient also had a fever of 102. An on-call doctor was contacted and advised
sending the patient back to the hospital.

At the hospital, the bilirubin rose to 4.2 indicating worsening liver failure; heart failure was newly
diagnosed. The patient became disoriented. A discharge summary written on 3/17/23 documented
that both the patient and security staff told the hospitalist that the oxygen concentrator that the
patient used needed maintenance for quite some time, implying that it was not working. The
patient’s diagnoses were COPD, decompensated hepatitis C cirrhosis, abdominal ascites,
encephalopathy due to cirrhosis, chronic low white count and platelets, and COVID. The patient
had completed a course of antibiotics and prednisone. The hospital identified a power of attorney
(apparently a family member) who elected to transition the patient to palliative care due to his end-
stage disease. The patient died prior to discharge from the hospital.

This patient was never seen in chronic clinic. He was cared for by nurses in the infirmary and was
only seen by a provider four times in the eight months before his death. The four times he was
seen, the encounter was inconsequential and did not address the patient's underlying clinical
disease.

This patient did not have an autopsy. However, he appeared to have decompensated cirrhosis for
almost a year without having been referred for treatment of his hepatitis C and without a
therapeutic plan for his cirrhosis despite deterioration of his condition. The patient might have
survived longer and would have suffered less if appropriate treatment had been provided.

Patient #4

Failure to manage the patient’s dementia including appropriate housing .

This patient was housed on the infirmary at NRC. This patient appeared to be incarcerated at NRC
on 2/25/22. Intake records and medical records from February of 2022 until June of 2022 are
absent. The patient was 64 years old. It was unclear, due to lack of records, when the patient
initially began experiencing dementia. But the patient had dementia and was incontinent of urine
and stool, combative at times, and was described on 7/1/22 by a physician as having, “no capacity
to make decisions to protect his interests”. Because the patient was under custody of IDOC, they
were responsible for this patient. According to Illinois regulation25 such a person requires
assignment of a surrogate, consistent with the Surrogate Act, or for the Court to name a guardian.
This did not occur. As a result, the patient was treated as if he were capable of decisional capacity



25
     (755 ILCS 40/) Health Care Surrogate Act


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when he did not have that capacity. This was a significant failure to adhere to state regulation and
to recognize the need of the patient to have someone make medical decisions for him.

IDOC consistently documented that the patient “refused” care including: eating, taking showers,
cleaning feces off his body, and cooperating with evaluations. Though the patient at times didn’t
know where he was, thought it was 192326, hallucinated27, talked to himself or people who were
not present, he was treated as someone who had capacity to give a refusal. Examples include the
following.
    • A physical therapist did not perform an evaluation or give therapy because the patient
       “refused” service.
    • Meals, medications, and hygiene services were often documented as “refused” and refusal
       forms were completed as if the person had capacity to make a decision to refuse.
       Sometimes, the refusal was documented as the patient “refused to sign”28
    • In some cases, staff completing the refusal form knew that the patient was cognitively
       impaired and unable to make a decision yet would complete the refusal form as if the
       patient had capacity to do so. For example:
           o The patient was said to have refused evaluation of a pressure wound on 12/22/22
               and a nurse documented that the “individual in custody unable to write or sign name
               or make an X due to cognitive decline”.
           o On 8/22/22 a nurse documented the patient saying, “Get out of here. No get out of
               here… alligators” when attempting to clean the patient. He was described as having
               formed stool on the floor next to his bed and “smashed stool” on the mattress and
               ledge of the metal bed frame. The nurse documented that the patient, “will not sit
               up or consent to cuffing up to administer medications prescribed or to get into the
               room clean up feces”. The nurse notified the medical provider of the patient’s
               worsening “noncompliance with care”. The “noncompliance” did not appear
               intentional and misrepresented the status of the patient.
           o On 12/21/22, the patient was described as having feces all over him. A nurse
               assistant cleaned the right hand and arm and the left foot but the patient refused
               further cleaning. Later, the patient refused a bath to clean the feces off and the
               nurse assistant documented on the refusal form that the “ind. In cust (individual in
               custody) unable to follow simple directions at this time” and “unable to sign
               [refusal] due to ↓ cognitive ability”29

This patient may have not cooperated with care or indeed said he didn’t want care, but he had
dementia and should have been treated in a manner to protect him, ensure his dignity, ensure he
was safe, and provided assistance in a manner to accommodate his disability. IDOC needed to
identify a surrogate so that safe and appropriate care could be provided. This was not done.




26
   The histories in the prison were not thorough, this history was obtained by a hospitalist during an 8/23/22
admission.
27
   The patient was described as having auditory and visual hallucinations and pressing a door bell that was not there
on 9/21/22 by a nurse.
28
   As on 9/30/22 when staff offered medications and meals.
29
   12/22/22 refusal for medical intervention and bathing in medical record.


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IDOC does not have a medical classification30 system that guides appropriate assignment of
housing based on the patient’s disability. This patient with dementia was housed in the NRC
infirmary in isolation in a single cell with apparently a single window on the door. Based on the
2nd Court Expert’s report in 2017, NRC had a 20 bed infirmary with 12 beds assigned to medical
and eight beds assigned to mental health. At that time, the infirmary beds were nonadjustable and
fixed to the floor. For most of the time during this record review, this patient’s mattress was on the
floor next to the bedframe and he slept on the floor. Nurses do not have direct visualization of
patients on this infirmary. Although there is a call button next to the bed to alert the nurse of a
problem, this patient may have been incapable of using this device due to his dementia. The result
was that this patient was unobserved and kept in an isolated room, the equivalent of unobserved
solitary confinement. Typically, isolation is known to promote advancement of dementia31 and
there is no literature supporting isolation as treatment for dementia. Yet, this patient was held in
isolation for the entire nine months of record review without consideration that it may have
affected his status adversely. Contact with other humans, as documented in the medical record
was a few times a day when nurses provided medications or attempted to bathe or carry out ordered
care. Food was provided several times a day but those encounters are not documented. The
medical record documents two to three encounters a day. It is our opinion, supported by medical
literature32, that this type of structural isolation adversely affected this individual. IDOC has not
developed safe housing for patients with dementia and the results are evident in the care of this
patient. The Monitor has recommended, including in the Implementation Plan (items 64-70 of
Implementation Plan) that a consultant evaluate and make recommendations to determine the
needs of those with dementia, memory impairment, the aged, and other disabilities to determine
their needs and provide recommendation for how their housing and programming can be improved.
This has not been done.

Patients with dementia can have neuropsychiatric symptoms related to their disease including
agitation, aggression, delusions, hallucinations, paranoia, wandering, disinhibition, and sleep
disturbances which are observed in 60-90 percent of patients with dementia.33 This patient
appeared to have all of these symptoms. The reaction to these symptoms did not result in a medical
intervention and in the absence of a medical plan of care was responded to with custody practices
which was misplaced and unnecessarily cruel.

On 8/31/22, a nurse documented the patient saying “I’m going to break both your legs N…..! O:
[objective section of note] patient standing at door threatening officer for no apparent reason. Cell
door + chuck hole remain closed @ present. Unable to admin prescribed meds due to ↑ed agitation
w/ aggression”. This patient’s aggression, which was likely due to his dementia and beyond his
control, was addressed by isolation and solitary confinement.



30
   IDOC has no medical classification system. Medical classification is used in some corrections systems to identify
classes of individuals to ensure housing and assignments are commensurate with their medical condition.
31
   Centers for Disease Control webpage “Loneliness and Social Isolation Linked to Serious Health Conditions”.
This page states that social isolation was associated with about a 50% increased risk for dementia and social
isolation significantly increased a person’s risk of premature death from all causes.
32
   The UpToDate section on Risk Factors for Cognitive Decline and Dementia, states that “social isolation may be a
prodromal symptom of dementia, but growing evidence suggests that it may also be a risk factor for dementia”.
33
   See UpToDate section on Management of neuropsychiatric symptoms of dementia.


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On 1/19/23, a nurse documented that the patient, “occasionally come[s] to the window, yell and
bang the window, urinate in the toilet, then go back to sleep”.

The patient exhibited aggression which was overwhelmingly verbal and less frequently physically
threatening. There were a few documented reports in the record of attempted and actual hitting of
staff34. This is consistent with reports of aggression by elderly patients towards nursing home
staff which are mostly verbal but can be physical35. This aggression is real and needs to be
addressed for the safety of the staff. This patient’s aggression was a result of his dementia which
is a medical condition, and any restraint should have been addressed through medical
authorization. Instead, restraints used for this patient were applied by custody and monitored by
custody in response to a perceived security issue for which the patient was held personally
responsible. The basis for the custody restraints was what a nurse described as “staff assaulter
status”. The management of this patient’s aggression resulted in excessive use of custody
restraints. Custody use of restraints for medical reasons violates National Commission in
Correctional Health Care (NCCHC) standards and medical standards of care. When medical
restraints are used, they must be authorized by medical providers, renewed daily, monitored
frequently, used in the least restrictive manner, documented in the medical record each time they
are used, and have clinical indications. With respect to medical restraints in dementia,
UpToDate36 states,
        “physical restraints are rarely indicated in the care of patients with dementia and should be
        used only for patients who pose an imminent risk of physical harm to themselves or others,
        with frequent evaluation of continued need. Reasons for the use of physical restraints must
        be documented adequately. …….. Before resorting to restraints, we refer patients to in-
        patient geriatric psychiatry programs.”

IDOC completed a policy on medical restraints (I.05.01 Medical Restraints). The Monitor
received the draft of this policy and procedure 8/23/23 and returned extensive comments and
revisions to IDOC on 2/6/2024. IDOC elected to send out a manual of final policies and
procedures, which included I.05.01 Medical Restraints on 2/9/2024. Therefore, the IDOC policy
and procedure on medical restraints did not have any input from the Monitor. IDOC needs to
consider the extensive comments that were provided on the draft during the annual review of this
policy and procedure. Problems with use of custody restraint for medical purposes will continue.
Examples of relying on custody restraint for medical purposes in the care of this patient include
the following.

On 8/3/22 an emergency room doctor documented in his note that:


34
   The patient did apparently take a swing at a physician on 9/27/22. On 9/20/22, a nurse documented that the
patient attempted to attack staff who were monitoring him. On 10/14/22, a nurse did document that the patient hit a
nurse who was performing an evaluation. On 11/21/22, a physician wrote that he saw the patient in the presence of
a custody staff and that he slapped the doctor’s hand instead of shaking it. There is no question the patient’s verbal
aggression and actions (throwing food and trays as example) frightened staff and that there was verbal aggression
and a couple of physical assaults.
35
   Lachs MS, Rosen T, Teresi JA, Eimicke JP, Ramirez M, Silver S, Pillemer K; Verbal and Physical Aggression
Directed at Nursing Home Staff by Residents. J Gen Intern Med 2013 May: 28(5): 660-667
36
   UpToDate is a web based software that is a point of care evidence-based clinical resource used in many hospitals,
HMOs and physician practices in the United States.


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        “per guards at bedside, patient seems to be at his baseline status. They do note that he has
        episodes of intermittent agitation and today required physical restraint as well as Mace
        spray several hours ago” (our emphasis).

On 8/17/22, a nurse documented that the patient asked to have handcuffs taken off. Apparently,
the patient was shackled with cuffs behind his back for purposes of showering. The patient agreed
to being cuffed with hands in front. The nursing plan on this date documented to continue under
“staff assaulter status”. The patient was treated as a cognitively intact prisoner who assaults staff
(custody procedures) instead of as a patient with dementia who is aggressive (requiring medical
management). There are no acceptable medical procedures for addressing aggression in demented
patients, so custody practices prevailed. Medical providers conducted no evaluation to determine
the appropriateness of this form of restraint. This was inappropriate, unethical, contrary to
correctional and medical standards, and abusive.

On 8/31/22, the patient fell and the nurse went to the cell window to look at the patient. The nurse
asked a lieutenant and the infirmary officer to open the door. This was done and the lieutenant
directed the patient to sit down several times. The patient approached with clenched fists and the
officers closed the door and no evaluation of his status after the fall occurred. The patient was left
in his locked cell alone, after a fall with no clinical evaluation of injury.

On 12/22/22, a nurse documented that a tactical team came to the cell and shackled the inmate’s
hands and legs and placed the patient on a shower chair so the patient could be washed.

On 1/14/23, a porter witnessed the patient falling backward in his cell. The patient had an arm
wound but when medical staff sat the patient up, he began having a seizure and he was laid back
down. When assessed later, the patient began seizing again. A nurse called a provider who ordered
the patient to the hospital. The patient was transferred to the hospital with leg irons and waist
chains. This was present as a verbal order in the medical record. It is dangerous to shackle a
patient who is at high risk for seizure as serious harm can occur.37

On 3/16/23, the patient was found unconscious with fixed pinpoint pupils. He was not responsive.
He was transferred to the hospital in waist chains and leg irons. He was found to have massive
brain bleeds and subsequently died. This use of restraints was also approved by a verbal order of
a physician. The patient was unconscious after a head injury and to shackle him was clinically
inappropriate.

Though the patient’s dementia was considered a problem, the plan of action regarding dementia
was not clearly documented and was ineffective. The patient should have had a neurocognitive
evaluation by a neurologist who is trained to evaluate neurocognitive disorders. This was not done.
One physician’s notes typically included, as a plan, “if not better or any problem to notify nursing
staff”. This doctor had already identified that the patient was incapable of making medical

37
   In this case and the one that follows, medical staff agreed to shackling a person who may have been harmed by the
shackling. IDOC must develop procedures for appropriate restraint of medical patients. Patients who have gran mal
seizures have uncontrolled movements that are sudden and forceful. Shackling can result in harm- see Shackling in
Hospitals from the Journal of General Internal Medicine at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8971251/


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decisions due to severe dementia yet, the doctor’s typical plan was for the patient to notify nursing
staff of his problems. The patient was incapable of doing this.

Providers attempted to consult with psychiatry to develop a management strategy for this patient’s
dementia, aggressive behavior and agitation but there was no evidence in the record of this
occurring for nine months until shortly before the inmate’s death. Current policy and procedure
provides no guidance on how to care for a person with dementia. Providers did not know how to
manage this patient and attempted on two occasions to get help from psychiatry who did not
provide consultation as requested. This facility did not have the capacity to manage this patient.

In one note on 8/9/22, a physician described consulting senior psychiatry staff regarding
management of the patient. He stated,
      “I need direction from MH [mental health] Department how to manage this pt [patient]
      when he lost mental capacity to make decision to protect his own health and safety and
      safety of others because of uncontrollable violent aggressive behavior”.

The doctor documented that mental health could not evaluate the patient because the patient could
not give consent but noted that the mental health advice was not to use benzodiazepines because
of “reciprocal agitation” and not to use haloperidol as well. The doctor explained to the mental
health team that the patient was on clopidogrel and aspirin and the possibility of severe injury to
his head existed and that he needed to either chemically or physically restrain the patient because
of the risk of injury. The doctor did not have a plan for management of this demented patient’s
aggression, confusion, and agitation and saw the only solution as asking mental health for advice
on chemical restraint.

There was no note by mental health based on the physician’s request. But a day later, on 8/10/22,
the same physician documented that care of the patient was discussed with mental health. A plan
of care was not documented.

On 8/11/22 the same physician documented that a conference call with “regional” [presumably the
regional Medical Director and administrator] and the Director of Nursing [unclear if this was the
regional director of nursing or the facility director of nursing]. The doctor wrote the discussion
was about, “IDOC [with] regard to proper safe placement. This placement [illegible word] will be
addressed by IDOC”. This appears to indicate that the plan was to place the patient in another
facility or in a nursing home but the plan was not specifically documented and no such placement
ever occurred. It is not even clear if IDOC was notified of this patient.

Seven months later, a psychiatrist eventually evaluated the patient on 3/14/23, at the request of a
nurse after a fall to evaluate for the need of medication and programming. This was three days
before the patient sustained an intracranial bleed after a fall that caused his death. The psychiatrist
wrote,
        “It is appreciated that he is on a variety of medications including, but not limited to,
        Trazadone, PRN Ativan, and Donepezil. It appears that 12 of 56 available doses (last 14
        days) were provided thus far of the PRN Ativan. Nursing notes are unclear for the
        circumstances that arose to result in the use of PRN treatment. However, nursing notes are
        clear in their indication of him having numerous falls including injuries to his head,



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        repeated bouts of incontinence and persisting cognitive impairment. Per my review of
        documentation, I saw an event on 2/11/23 where he kicked out at a nurse after becoming
        verbally aggressive and attempted to hit an officer as related to being put on a medical writ.
        He was subsequently taken by ambulance after a fall. On 2/4/23 he threw his empty tray
        to the ground after refusing to provide it to security. Though there was no report of further
        incident as he later complied to allow his room to be cleaned (to prevent falling). He is
        also noted to be experiencing poor oral intake and exhibiting poor hygiene despite attempts
        to help him. Primary care documentation suggests that reversible causes of neurocognitive
        impairment were ruled out to indicate this is likely an irreversible chronic disease process.”

The psychiatrist noted no psychiatric problems and that psychiatry had no further
recommendations except to state,

        "infrequency of aggressive events as documented suggest that additional use of
        medications [the patient was on a benzodiazepine] to manage agitation are more likely to
        contribute to the worsening of his condition (cardiac risks, falls, etc.) and less likely to
        completely resolve all agitation.        Ultimately, Mr. [deleted]appears to suffer from a
        chronic, irreversible condition that is likely to only worsen with time. He would most
        benefit from a higher level of care such as a nursing home placement with especially trained
        staff to manage his condition. The limits of a correctional setting and potentially worsening
        for cognitively impaired patients suggests ongoing residence here will likely only lead to
        worsening. At this point, psychiatry will move to PRN status and allow the primary care
        team to manage [patient’s name] medical conditions and sequelae"

This was the same conclusion drawn previously in August 2022 but not acted on. Two days later,
on 3/17/23, the patient fell again and sustained an intraparenchymal brain bleed and an acute on a
chronic subdural hematoma. The dating of the initial subdural was uncertain. The patient was
discharged back to the facility on 3/28/23 on comfort care only and died two days later.

Hygiene and Toileting

This patient, as early as 7/5/22, was documented as having disinhibition and problems with
toileting. On that day a nurse documented that the patient had an accident going to the toilet with
feces on the floor next to the toilet. There were numerous examples how this typical problem with
hygiene in persons with dementia was handled in IDOC. The patient was frequently found with
feces on his person and needed bathing. A scientific paper on bathing the aggressive nursing home
patient states, “20-40% of residents [of nursing homes] with dementia exhibit aggressive or
agitated behavior such as hitting, kicking, and screaming while bathing. Moreover, many residents
remain upset for hours after the bath”38. While there are strategies for addressing this in nursing
homes (as evidenced in the above cited article), in IDOC this behavior was viewed as a refusal to
comply with a custody rule by a responsible and rational inmate. The response was to cuff, shackle,
and force the patient to bathe by use of the tactical team or the patient was left soiled because he


38
   Gonzalo P, Prakash S, Qato DM, Sloane PD, Mor V; Effect of the Bathing Without a Battle Training Intervention
on Bathing-Associated Physical and Verbal Outcomes in Nursing Home Residents with Dementia: A Randomized
Crossover Diffusion Study, J Am Geriatr Soc 2014 May; 62(5): 797-804


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refused to comply. This misapplied use of force redirects medical care to custody staff and is
inappropriate.

On 8/22/22, a nurse noted that “cell covered [with] feces. Will attempt + encourage shower [with]
security staff”. A later note documented that the patient was confused and there was feces “all over
the cell, toilet clogged with food and paper objects”.

On 10/17/22, a nurse documented, “had a large BM on the floor. Feces seen on legs. Attempt
made to clean him get a shower. He refused. Was combative with security. Refused to cooperate”.
The patient was left with feces in his room and on his person.

On 12/20/22, a nurse assistant documented, “remained in soiled pants from yesterday. Did not
respond much to verbal req[uest]” and “cell still 2 mess c/o swept and removed trash. Will attempt
H2O later & cleaning, total hygiene deferred, refused”.

Later, on 12/20/22, a nurse documented the patient saying, “leave me alone, I’m showering on
Christmas”. Then the nurse added, “ Tried multiple time with tact[ical]39 team to encourage patient
to get in shower to remove stool that has been on him and he refuses to clean himself”.

On 12/21/22 a nurse wrote that with unsteady gait the patient walked to the toilet and “dropped
extra-large packed firm hard round ball of feces + additional soft stool + diarrhea runny type stool
around top of toilet”. On 12/22/22, a nurse documented that a tactical team came to the cell and
shackled the inmate’s hands and placed leg restraints and moved the inmate to a shower chair and
the patient was washed.

On 12/29/22, a nurse documented that the patient refused a shower and the tactical team was called
four times but they were busy. The nurse said the patient would be showered when the tactical
team came.

On 12/30/22, a nurse documented that the patient had a shower with the emergency response and
tactical team assistance through the commander in chief.

On 1/3/23, a nurse documented that the inmate was brought to the shower by an officer. The
inmate had feces all over his back and hair.

On 2/1/23 at 2 am, a nurse assistant documented that the patient was “covered in his own bowel
movement at arrival on shift. No vitals taken per H.C.U. [health care unit] Sgt [sergeant] due
to security risk. No shower given per Major”.40 This patient remained covered in feces until
twelve hours later when at 2:15 pm a nurse documented that the patient “was covered in feces with
foul-odor”. The nurse documented notifying the Major to activate the tactical team for the patient
to be showered. The patient was removed and showered.

39
   Tactical teams are specialized units of custody staff used to typically resolve situations with high risk offenders
related to searches or dangerous interactions with a violent inmate. In this case the tactical team was involved in
getting the inmate to bathe which appeared to involve cuffing and shackling to enforce bathing.
40
   For a medical patient, custody must not be in control of hygiene issues, nor must custody be responsible for
directing when vitals or hygiene are to be done.


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This patient’s care for hygiene and toileting qualifies as abuse and neglect based upon criteria in
state regulation for the elderly.41

Nutrition, and Feeding

This patient had no upper teeth. On 10/14/22, a nurse documented that his teeth were in the toilet.
The nurse did not describe retrieving the dentures. On 12/26/22 at 3 pm, a nurse documented that
the patient refused his lunch tray as it was too difficult to chew with his upper false teeth. The
nurse added in the plan section of the note, “have not seen dentures + pt does not take teeth out
nor ever witnessed by this reporting nurse”. It appeared that the patient no longer had his dentures.
The patient attempted to chew a sausage link and threw it back on the Styrofoam tray. The nurse
believed this was due to having a casing that was difficult to chew. The patient took his liquid
boost supplement and the nurse documented that he had no food intake recorded except for the
boost for five days. It would not have been difficult to have the patient open his mouth to assess
whether he indeed had his dentures. Dental status is an important risk factor in community
dwelling older adults for weight loss42. A referral to the dentist was not made.

The Consent Decree requires, “analysis of nutrition and timing of meals for diabetics and other
Class members whose serious medical needs warrant doing so”43 but there was no effort to
determine the nutritional status of the patient. Though OHS has told the Monitor that consultation
by a dietician is available, no such consultation took place for this individual for the entire year of
his incarceration. This patient should have seen a dietician to evaluate his eating pattern and
nutritional status. Neither did providers order laboratory tests to evaluate the patient’s nutritional
status.

The patient’s weight was not well tracked on the infirmary flow sheets. There were only three
documented weights during this time period. The first weight was on 7/5/22 when the infirmary
flowsheet documented a weight of 171 pounds. On that same day a nurse documented that since
admission to NRC five months ago the patient lost 67 pounds. The nurse initiated an order for
boost, a liquid nutritional supplement. The order was one can with each breakfast, lunch and
dinner for 3 months.

The next weight was on 8/25/22 when the patient gained weight to 187 pounds. But mostly, the
patient “refused” weights and no further weights were documented until 2/24/23 when a weight of
155 was recorded. The refusals of weights were sometimes accompanied by statements that the
patient was unable or refuses to sign the refusal. An admission history and physical examination
during the patient’s final hospitalization on 3/17/23 documented a weight of 72.23 kilograms or
approximately 159 pounds. If the patient had lost 67 pounds at a weight of 171 pounds, then from
admission to NRC on 2/25/22 until 3/17/23, about 13 months, the patient lost 79 pounds.

 41
    720 ILCS 5/12-4.4a. This regulation addresses criminal abuse or neglect of an elderly person or persons with a
disability and includes actions that cause a resident’s life to be endangered, health to be injured, or pre-existing
physical or mental condition to deteriorate or fails to perform acts that he or she knows or reasonably should know
are necessary to maintain or preserve the life or health of a resident.
42
   Ritchie CS, Joshipura K, Siliman RA, Miller B, Douglas CW, Oral health problems and significant weight loss
among community-dwelling older adults. J Gerontol A Biol Sci Med Sci 2000 Jul; 55)7): M366-71
43
   II.6.j of the Consent Decree.


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Despite this degree of weight loss, there was no evaluation of his nutritional status. There were
orders for liquid nutritional supplement beginning in July of 2022 and on 2/27/23 there was an
order for a high protein, high calorie diet for weight loss with boost nutritional supplement - a can
with each meal. And on 3/15/23, several days before the patient died, a physician ordered high
protein diet to be pureed with shakes for each meal. Yet during the time period from July of 2022
until the patient’s death in March of 2023 the patient appeared to have been fed like any other
rational adult inmate with breakfast at 3:30 am, lunch at 9 am and dinner at 3 pm with an
expectation that the patient could feed himself. Trays were apparently placed on the floor of the
patient’s room. These trays were frequently scattered about on the floor with food strewn about.
Because this patient had significant dementia with confusion, hallucinations, delusions and
aggressive behavior, feeding by placing food tray on the floor was likely to result in what actually
happened which is the patient did not eat well.

On 12/19/22 a doctor documented that the patient had fallen while bending over presumably to
pick up his food tray. On that day a nurse placed a table inside the patient’s cell so that food trays
could be placed on the table instead of the floor to prevent the patient from reaching to the floor to
pick up his tray. The patient eventually threw the bedside table upside down. Yet the manner of
serving meals as if the patient was rational continued and food continued to be found all over the
patient’s room. Nurses continued to document that the patient ate very little of the food served.
No one considered, given the patient’s dementia, whether a different pattern of feeding, including
different timing of meals, was needed.

This patient lost approximately 67 pounds over 13 months of incarceration. Health care staff were
unable to develop an effective plan to provide nutrition to the patient especially in light of the
patient’s dementia and concomitant disabilities. No nutritional consultation was obtained. Not
providing appropriate nutrition also qualifies as neglect and abuse.

The patient was not evaluated or monitored by providers for his medical conditions.

The available record provided for this patient began in late June of 2022 about four months after
incarceration. During the nine month period of provided record, the patient had no chronic clinic
appointments. Though current policy requires chronic infirmary patients to be seen weekly, this
did not consistently occur. Physician notes were documented weekly from 6/21/22 to 8/11/22.
Then not for two weeks. Physicians saw the patient three times in September. The patient wasn’t
seen in October. The patient was seen three times in November and four times in December. From
12/28/22, when a nurse practitioner saw the patient, until 2/14/23 the patient was not seen despite
two hospitalizations and three falls. The 2/14/23 provider note was related to seeing the patient
post-hospitalization after a fall. After the 2/14/23 provider note, a provider didn’t see the patient
again until the patient fell on 2/24/23. The last time a provider saw the patient was 2/27/23. A
provider did not see the patient again despite a fall on 3/1/23 and an unwitnessed fall on 3/6/23
during which the patient sustained a black eye. The patient had another fall on 3/17/23 after which
the patient was found prone on the floor and was hospitalized with diagnosis of multiple brain
hemorrhage likely from a fall. The patient died three days after return from the hospital. In total,
the patient had twelve falls that were documented for the six months from 6/29/22 until 3/6/23.




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For four of these falls, the patient was sent to a hospital. For only three of the remaining eight falls
did a provider evaluate the patient. There was no specific documented fall prevention plan.

None of the provider notes included evaluations that monitored all of the patient’s medical
conditions. A doctor’s note from 6/29/22 documented that the patient had coronary artery disease
with prior stents, heart failure, cardiomyopathy and dementia. There was no problem list. On
11/15/22, a physician documented that the patient had coronary artery disease with multiple stents,
heart failure, atrial fibrillation not on anticoagulation, hypertension, diabetes, gout and recent
development of dementia. There was no objective evidence of gout. Another doctor evaluated the
patient on 11/21/22 and documented coronary artery disease with stents, cardiomyopathy, atrial
fibrillation, type 2 diabetes, hypertension, COPD and recent GI bleed and UTI. Despite
acknowledging these conditions, there was no meaningful monitoring with an updated assessment
of each of these medical conditions by these providers. Only episodic concerns were noted and
evaluated.

Much of the information related to the patient’s medical conditions came from hospital notes. On
1/3/23 the patient was hospitalized and diagnoses listed at the hospital included:
    1. Erosive gastritis with GI bleed
    2. Dementia
    3. Prior stroke
    4. Coronary artery disease with stents
    5. Hypertension
    6. Atrial fibrillation
    7. Anemia
    8. Hyperlipidemia
    9. GERD
    10. Diabetes
    11. Ischemic cardiomyopathy with heart failure.

Through the entire nine months of record available, there was minimal monitoring of these
conditions except when the patient went to a hospital. The dementia was noted regularly by nurses
and even providers, but there was no effective plan of care for the patient’s daily needs. The
patient’s diabetes was not monitored at any clinic visit. A hemoglobin A1c was 5.9 on 7/6/22 and
the patient was on 1000 mg of metformin twice a day, an antidiabetic agent. Providers should have
considered decreasing the dose because the A1c was low but this was not done until more than
five months later on 12/19/22 when the dose was decreased to 500 mg twice a day. There was no
repeat A1c or evaluation of status of his diabetes.

From June, 2022 to 3/16/23, the patient was sent to the hospital eight times. Of these eight
hospitalizations, there were only three full reports. An additional hospitalization had an emergency
room note. For five hospitalizations there was no provider review after return from the hospital.
For one hospitalization a provider saw the patient on return but the hospital report was not in the
record and there was no documentation of review. In a final hospitalization, there was no
documentation of the review of the hospital report.

Failure to manage medications



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This patient’s medications were typically managed without evaluation of the patient. From 7/5/22
until 3/8/23, 53 prescriptions were written. Forty-four were for medications and nine for other
orders. Some of these were for the same medication at different doses. For only seven of the 53
prescriptions was a progress note present when the provider ordered the medication with only five
of these seven being conducted when the patient was evaluated. It appeared based on the writing
on the prescription that 21 of the 53 prescriptions were written by nurses. In only 31 of 53
prescriptions could the provider be identified due to illegibility or, in a few cases, absence of a
signature. In summary, this demonstrates that providers take no responsibility for ensuring
prescriptions are appropriate.44

In February of 2023, the patient was on 14 medications. Avoiding adverse drug effects is important
in caring for the elderly and particularly in persons with dementia. A key aspect of dementia
management is to acknowledge the adverse effects that medications can contribute to cognitive
impairment. It is recommended to periodically review the patient’s drug regimen, use the minimal
dose required to obtain the necessary clinical benefit, discontinue unnecessary therapies, and
consider adverse effects as a cause of symptoms before prescribing another drug45. This did not
occur. The patient was on multiple medications which in combination can cause adverse effects
which mirrored some of the patient’s symptoms. For this reason, all of the patient’s medications
should have been reviewed (with adverse drug reaction software or ideally with a clinical
pharmacist) following which the primary care provider should have discussed medication benefits
and risks with the surrogate and discontinued unnecessary medications.

Paramount in this discussion is that a goal of care was not defined for this patient. This patient
had advanced dementia and was confused, sometimes knew who he was but was otherwise not
oriented to time or place. He could not communicate rationally any longer. It was unsafe for the
patient to be alone or to walk alone. The patient was totally dependent on others for eating dressing
and grooming. And, the patient had severe anxiety, aggression, confusion, and agitation. Perhaps
he should have been considered for hospice? If so this should have been discussed with his
surrogate. However, IDOC never identified a surrogate and failed to have any discussion about
what plan of care would offer the most benefit and least harm in his remaining life.

For two medications, there was no clear indication. From June of 2022 through March of 2023
providers prescribed albuterol but there was no evidence on the medication administration record
(MAR) that the patient ever received albuterol. The reason for a prescription for the albuterol was
unclear as the patient had no medical conditions that warranted this medication. Though this
medication was continuously prescribed and was on the medication administration record, no one
recognized for nine months that the patient hadn’t used the medication nor had it been offered to
him.




44
   IDOC has multiple providers including coverage doctors who are not typically assigned to a facility. Some of the
providers giving phone orders are unfamiliar with the patient and this can result in errors. In this patient, he was on
medications without indication, was on several medications that were potentially harmful, and on combinations of
medications that resulted in potential for adverse reactions.
45
   This is taken from UpToDate Management of the patient with dementia.


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The patient was on allopurinol, presumably for gout, but there was no clinical evidence for gout
and the patient was not being monitored for gout. Allopurinol has an FDA indication for gout but
not for asymptomatic hyperuricemia46 which this patient had. The patient had a uric acid of 9.2
on 7/6/22. This qualified as asymptomatic hyperuricemia. The patient did not have evidence of
gout, had no monitoring of the serum uric acid, and no evaluations of joints to assess whether he
had gout. It was unclear why this patient was receiving allopurinol.

The patient was on an anticoagulant drug, clopidogrel. However, given the patient’s dementia and
fall risks, use of this drug was risky as it can cause serious intracranial bleeding if the patient falls
and the patient had fallen 12 times. The risk of bleeding from falls should have been weighed
against the risk of thrombosis and myocardial infarction and the use of this medication should have
been discussed with a cardiologist and with the surrogate. The patient ultimately died of multiple
(subarachnoid and intracerebral) bleeds after falls.

Lorazepam has many adverse reactions, including amnesia, drowsiness, and sedation. It has a
potential to cause disinhibitory reactions that include sleep disturbance, hostility, rage, agitation or
aggressive behavior. It is advised to use with caution in debilitated patients. Older patients have
increased risk of death with the risk highest within the first four months of use in older adult
dementia patients. It also carries a fall risk. Extreme caution is urged when used in patient
who are at risk of falls. Benzodiazepines have been associated with falls and traumatic injury.47
This patient appeared to be on lorazepam for agitation and aggressive behavior. The risks to the
patient were exacerbation of agitation and aggressive behavior,48 and falls. This patient had 12
falls from 6/29/22 to 3/16/23 with the last fall causing his death. Use of this medication was not
carefully monitored. Lorazepam should not have been prescribed.

This patient was in a facility that did not have appropriate space, staffing, equipment, or expertise
to house this patient. There are currently no policies, procedures or programs to manage persons
who need total care and/or have dementia. The facility failed to identify a surrogate to ensure
someone could make a medical decision regarding his care. Nurses did not have medical direction
with respect to how to bathe and feed the patient and defaulted by seeking custody’s help that
resulted in use of tactical teams who used cuffing and shackling to wash the patient. Custody
probably did the best they could, but the patient should not have been managed by these practices.
The patient should have been managed medically, but there are no procedures for the care of this
type of patient. The intent to move this patient to another facility was never acted on but would
have been appropriate. Placement in a nursing home would be an acceptable option for this patient.
If IDOC intends to care for these types of patient in the prisons, appropriate space, procedures,
programming and staffing must be available to provide medically acceptable care. The Monitor
has previously recommended and continues to recommend that in order to identify the appropriate
space, procedures, programming and staffing necessary to care for this population, that IDOC
consult with a gerontologist and retain a consultant to evaluate the needs of the aged, infirm and
disabled and develop a report to include findings and recommendations. Based on those

46
   Typically, gout is diagnosed when a patient has an elevated serum uric acid level and symptoms of gout (painful
swollen joints typically the joints in the feet). This patient had apparently asymptomatic elevated uric acid which
did not warrant treatment. Notably, the condition wasn’t even monitored.
47
   These warnings are taken from UpToDate medication profile for lorazepam.
48
   Notably, this was the reasons that psychiatrists at NRC recommended not using the drug.


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consultation recommendations, IDOC must develop a plan to address those needs. The Monitor
is willing to provide recommendations for a gerontologist and consultant if the IDOC desires.


Patient #5

This 51 year-old man with history of diabetes, hypertension, and high blood lipids was housed at
the Hill facility. When he was incarcerated in 2004, he was five foot seven inches tall and weighed
267 pounds. On 6/14/22 a nurse practitioner saw the patient for a syncopal episode that occurred
5/30/22. An EKG was not obtained. At this time, the patient had 37 pound weight loss which was
unrecognized. A CBC was ordered and was 10.4 which is significant anemia. Because the patient
was 51 years old, endoscopies should have been ordered urgently but were not. Instead, when
seen in follow up on 6/28/22, the nurse practitioner assessed anemia and ordered omeprazole and
three stool guaiac tests. This was substandard care because regardless of the three stool guaiac
tests, endoscopies should have been ordered. The patient had history of fatigue and dizziness for
five months with heartburn and weight loss. While guaiac testing was indicated, upper and lower
endoscopy should have been ordered as urgent tests.

On 8/12/22 a nurse practitioner saw the patient and noted that he had negative hemoccult tests.
The nurse practitioner still did not refer for endoscopy but ordered iron studies and a metabolic
panel. Iron studies confirmed iron deficiency which indicates blood loss and a kidney function
test suggested chronic kidney disease (GFR 58 and creatinine 1.48). No further action was taken.

The patient wasn’t evaluated again until a chronic clinic on 9/19/22. The provider documented
weight loss ( 33 pound loss since the last chronic clinic visit). Though the patient had a GFR test
that indicated chronic kidney disease, this was unrecognized. There was no assessment or plan for
the weight loss or possible chronic kidney disease. The iron deficiency anemia was not addressed.
Endoscopies and a CT abdomen should have been ordered.

On 9/23/22 a nurse practitioner saw the patient in follow up of the iron studies which were not
evaluated at the recent chronic care visit. The nurse practitioner remarkably assessed iron
deficiency anemia but only reordered iron therapy with a recheck of the CBC and iron panel in
three months. This is substandard care. There was no ongoing physician oversight at this facility
for the entirety of this patient’s care.

At a subsequent chronic clinic visit on 12/7/22, a 48 pound weight loss was unrecognized. Though
the patient’s incarceration weight was 267, his weight of 219 was likely not perceived as abnormal.
The anemia was not addressed and the abnormal renal function was still unrecognized. A follow
up blood count on 12/28/22 still showed iron deficiency anemia and was signed as reviewed by a
nurse practitioner but no action was taken. This is below standard of care.

On 2/19/23 a nurse saw the patient for abdominal pain. The patient complained of abdominal pain
for a year and hadn’t had a bowel movement in two days. The weight was now 202 or a 65 pound
weight loss. The nurse noted a palpable lump in the patient’s abdomen. The nurse referred to a
provider but the patient was not seen for unstated reasons and was rescheduled on a second
occasion. This rescheduled visit never occurred.


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On 3/20/23, a code 3 emergency was called because the patient felt like he was going to pass out.
A nurse called a nurse practitioner who ordered blood tests. The following day a nurse practitioner
saw the patient and, finally, nine months after the patient developed anemia, after a year of
abdominal pain, development of an abdominal mass, and considerable weight loss, ordered an
urgent endoscopy and colonoscopy.

This review tracked referrals from 3/21/23 to 8/25/23 during the time period from when his
diagnosis was made until he received the 1st cycle of chemotherapy. There were 22 completed
offsite visits over this period of time. These 22 visits were completed in the first three quarters of
2023. The 1st, 2nd, and 3rd quarter offsite specialty care tracking logs were examined and only four
(18%) of the 22 appointments were on the logs. Referrals are not entered into the log when the
referral is requested but only when they are completed. Appointments that are never completed or
referred but not scheduled do not show up on the log. This section of log shows how disorganized
the log is at this facility.

Of these 22 referrals, there was a referral form found in the medical record for 16 of the 22 referrals.
Referrals for a total of six visits had no name for the referring provider; this gave the appearance
of the medical record scheduler scheduling patients without a referral from a provider. This
suggests that medical records is managing referrals. There were full consultant reports for only
six (27%) of 22 referrals; five (23%) referrals had no report except for a patient instruction after-
visit summary; three (14%) referrals had no report except for comments by the consultant on the
referral form; and eight (36%) referrals had no report. There was no documentation of any efforts
made to obtain the reports. Of the six reports received, none was initialed or signed as reviewed.
The tracking log does not track whether the provider evaluated the patient post visit and had an
informed discussion about the consultation with an update of the therapeutic plan. Of the 22
completed referrals, seven (22%) had no provider visit with the provider mentioning the offsite
visit. Post-visit provider encounters did not consistently provide informed care. The results of the
consultation were inconsistently discussed and providers inconsistently documented an assessment
of the patient’s ongoing problems at that visit with respect to his overall care and therapeutic plan.
At none of the visits were all of the patient’s problems documented and addressed.

This patient had multiple referrals documented as being approved in collegial review which the
Monitor has been told no longer exists. For a referral on 7/19/23, a physician documented that
collegial review approved multiple oncology appointments. For another referral, on 8/3/23, a
physician wrote that the iron infusion treatments were approved in collegial review. On 10/12/23,
the same physician documented that a CT scan was approved in collegial review. On 11/2/23, the
same physician documented that a follow up oncology appointment was approved in collegial
review. On 11/9/23, the same physician documented that an MRI of the shoulder was approved in
collegial review. On 11/30/23, the same physician documented multiple appointments were
approved in collegial review. IDOC needs to clarify why physicians still refer to collegial review
if it is not supposed to exist.

Reports were often not reviewed and essential information not obtained. After the patient had
initial colonoscopy, the report and biopsy results were not obtained. The colonoscopy showed
colon cancer and the biopsy suggested mucinous colon cancer. In the absence of a report one nurse



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practitioner documented the patient had gastric cancer for three consecutive months when the
patient actually had colon cancer. Almost two months after the diagnostic colonoscopy, the
Medical Director also documented gastric cancer.

Documentation of post-specialty visits often merely noted that the patient went for a scheduled
appointment but not important issues related to the patient’s care. On 8/10/23, two days after the
1st chemotherapy session on 8/8/23, a nurse practitioner saw the patient . Two day before, nursing
notes describe the patient complaining of dark brown vomit and blood in his stool. An earlier note
on 8/7/23 documented that the patient had decreased appetite and hadn’t eaten in four days except
for his boost supplement. Yet the nurse practitioner did not address the patient’s recent vomiting
and the decreased food intake with respect to the possible additional effects of chemotherapy.
Prognosis and “do not resuscitate” status were discussed but there was no discussion about the
effect of the chemotherapy on his well-being and the add on effect of chemotherapy to his recent
vomiting.

This patient’s specialty care was notable for failure to refer the patient when he had anemia for
about a year. The specialty referral process was disorganized and chaotic. Referrals were not
found. Referrals are not tracked. Key consultations (e.g., for initial colonoscopy) were not
reviewed and resulted in providers not knowing the actual diagnosis of the patient for months.
Chemotherapy did not begin for four months after diagnosis in part due to necessity to obtain
higher level consultation but there were some delays in scheduling. It appeared that the medical
records scheduling clerk was actually managing the patient’s care. Providers did not appear to be
directing the scheduling of appointments.

The provider notes, which were almost exclusively by nurse practitioners, did not include a
thorough assessment with a plan of care for each of the patient’s problems. The diagnosis of the
patient wasn’t known by facility staff for a couple months because no one obtained the pathology
reports. Updates from the oncologist were not documented in the progress notes of providers.

On 8/19/23, during the time when the patient was receiving chemotherapy, a nurse saw the patient
using a dizziness/vertigo protocol. The patient had fever (102.8), tachycardia (113) and low blood
pressure (94/60) and the nurse described him as “unsteady” when walking. This was at 6:55 pm.
Given that the patient was on chemotherapy, a provider should have evaluated the patient and a
white count should have been obtained and the patient examined for signs of infection. The blood
pressure was very low, given his history of hypertension, and combined with fever, he should have
gone to an emergency room for evaluation. Instead, the nurse didn’t contact a provider, and the
patient was instructed to limit activity if dizzy, avoid standing quickly, and to eat properly with
adequate fluid intake.

On 10/13/23 a nurse practitioner documented that DNR was discussed with the patient but that the
patient was apprehensive about signing because his sister was health care power of attorney and
was telling him not to sign. The patient’s pain was not controlled and the nurse practitioner
documented willingness to increase morphine but that the patient must be DNR first due to risk of
respiratory depression. The nurse practitioner should have consulted a pharmacist and the Medical
Director as the patient had been on this dose for approximately six weeks without problem and
incremental increases in dose would typically be safe. It gave the appearance that the nurse



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practitioner was steering the patient to sign a “do not resuscitate” order using additional pain
medication as a benefit. Because the patient said his sister was a health care power of attorney
there should have been some attempt to contact her as this patient had a poor prognosis. This was
not done. Health care power of attorney issues are recurrent.

On 10/17/23 the oncologist saw the patient and the plan was to continue with chemotherapy. The
oncologist documented that the patient had pain intensity of 10 and ordered multiple x-rays to
assess the cervical spine and left shoulder to assess for metastatic disease and to evaluate the pain.
The same day but after the oncologist visit, a facility nurse practitioner witnessed a physician order
for life sustaining treatment (POLST) in which the patient elected only comfort care This is the
equivalent of hospice and means that further care except to give comfort is not provided. Despite
signing a comfort-only POLST, full care continued to be provided as the patient was rescheduled
for oncology and chemotherapy. The oncologist was not made aware of this decision of the
POLST. Pain medication was increased for the patient by doubling the dose. The medication
should have been gradually increased and titrated to the pain. Doubling the dose suddenly placed
the patient at risk for overdose.

On 10/31/23, the oncologist saw the patient as verified by a report in the record. This visit was
not recorded on the 4th quarter tracking log. The oncologist documented that chemotherapy was
held due to low blood counts. The oncologist documented the disorganized facility scheduling
saying, “incidentally, CT that was ordered to have been done before cycle 9 (11/14/23) was
scheduled by the facility and done on 10/18/23. We will give them a call, request they pay closer
attention to dates and times”. At this visit and at subsequent visits until 12/19/23, the oncologist
was unaware that the patient had signed a POLST as the facility did not communicate the POLST
to the oncologist. The POLST was signed without contacting the power of attorney. End of life
care remains problematic.

On 12/5/23, the patient vomited waiting for transfer for his oncology appointment and, after
consulting with the oncologist, the patient was admitted to a local hospital but then transferred to
a regional hospital. The weight at the facility while waiting to transfer was documented as 163
pounds or almost 100 pound weight loss. At the hospital, the patient had bowel obstruction that
was not deemed to be not surgically correctible. The patient was started on hospice. The patient
had already signed a POLST for comfort-care-only which is equivalent to hospice with respect to
not desiring further care not related to pain and comfort management. The facility agreed to accept
the patient back to the prison. This was the second time that the patient was made comfort-care
only. The patient was sent back to the prison on 12/12/23.

On 12/11/23, the facility Medical Director gave a verbal order fora 50 microgram fentanyl patch
every 72 hours and “morphine injectable I.V. 1 mg [every] 4 [hours] [as needed]”.

On the following day, 12/12/23, the facility Medical Director wrote another prescription for
“morphine concentrated SL 473 ml (four hundred seventy three ml) 4 mg/ml, 4 ml [every ] 4
[hours] as needed breakthrough pain x 30 [days]”. This prescription was confusing as the precise
dose desired was unclear. Because it was morphine, it should have been questioned. . The Medical
Director wrote no accompanying progress note. The pharmacy did not document a problem with
this prescription which is shown below.



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Also, on 12/12/23, the facility Medical Director signed a verbal order documented by a nurse for
a 50 mcg fentanyl patch to be changed every 72 hours and for morphine sulphate 4 mg/ml inject 1
mg every 4 hours. This was the 2nd prescription for a fentanyl patch. The medical record should
clearly document when a medication is ordered, discontinued, or when a duplicate prescription is
to be ignored. This did not occur. There were two active prescriptions for fentanyl patch.

On 12/12/23 a nurse practitioner also wrote a prescription for morphine 100 mg/5ml: 1 ml every
four hours prn until morphine comes in. The order was unclear because the patient already had
multiple active morphine prescriptions and it was not clear which morphine prescription was being
waited for.

On 12/13/23 the facility Medical Director wrote a prescription to discontinue the injectable
morphine, (there were two active injectable morphine orders) and to start morphine 100 mg/5 ml:
1 ml orally as needed. This was the second prescription for the morphine 100mg /5ml. The
Medical Director left out the frequency of the medication and a nurse later added every 4 hours to
make the order sensible. The was no documentation in progress notes or in prescriptions as to how
these duplicate prescriptions orders were corrected.
On 12/15/23 the facility Medical Director wrote a prescription for MS Contin 60 mg extended
release twice a day.

There were no orders to discontinue these medications except the injectable morphine. The
pharmacy should have asked for clarification on all of what appear to be duplicate orders. The
narcotic orders on the MAR were handwritten. There were no pharmacy labels for the morphine
prescriptions so the handwritten MAR was the only verification of active prescriptions for this
patient. There was no documentation in the provider progress notes that described the plan with
respect to how much morphine was expected to be given. Provider notes did not include all of


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patient’s medication. The duplicate prescription orders without stop orders and absence of
clarification documented in subsequent orders or in progress notes speaks to a significant
communication problem between providers, nurses, and pharmacy. This is a patient safety risk. In
the electronic record, the pharmacy profile should be the document that is the active list of
medications. The MAR should accurately reflect the pharmacy record. No medication should be
on the MAR that has not been approved by a pharmacist. The pharmacy must be able to promptly
review prescriptions and indicate whether the medication can be administered. Nurses initiation of
medications on the MAR must be eliminated. Errors in the current medication process need to be
corrected before the electronic record goes live. The consulting pharmacists at SIU should be
involved in making these corrections. .

On 12/13/23 the patient was described as having 10/10 pain and was upset at having his oral pain
medications discontinued after he returned to the infirmary post hospitalization. On 12/15/23 the
patient described 8/10 pain; the nurse told the doctor and nurse practitioner about his uncontrolled
pain. After this point the patient was less communicative but there were no references to pain. The
patient fell on 12/17/23. The facility Medical Director was notified but there was no provider
follow up.

Although this patient was in hospice he was sent back to the oncologist on 12/19/23. If the patient
was in hospice why was an oncology visit necessary? The oncologist documented that the patient
wanted a compassionate release from prison to be with his family. He was very anemic and the
oncologist recommended a transfusion to make the patient strong enough so as to see his family.
The transfusion was ordered and completed. The oncologist documented the patient’s pain was
reasonably well controlled but said that the medication list sent with the patient did not appear up
to date.

On 1/5/24 a nurse practitioner discussed medications with the patient due to “some confusion”.
The nurse practitioner did not list the medications nor was the “confusion” explained . On this
date the medication administration record documents that the patient was on magnesium,
phosphorus, iron supplements, a variety of anti-nausea and antacid or gastric reflux medications,
fentanyl patch, lorazepam, morphine sulfate 20 mg every four hours and MS Contin. The total
dose of morphine was approximately 360 mg a day which is a high dose. It was not clear from
documentation whether this dosage was intended. Provider notes do not include a list of
medications with doses, so the multiple providers caring for the patient would not know the total
panel of pain medications.

On 1/10/24 the patient fell in the bathroom but was not examined by a provider. On 1/15/24, the
patient asked why he couldn’t call his family. There was no effort to accommodate his request to
communicate with family.

On 1/15/24, the patient fell again. The facility Medical Director didn’t respond to a call so the
nurse called the Regional Medical Director who recommended “fall prevention” and to monitor
the patient. It was unclear what fall prevention meant. Later that day, the patient told a nurse how
hard it was for his family and that he didn’t understand why he couldn’t call his family. There was
no effort to enable the patient to have a telephone call with his family. This seems unnecessarily
cruel.



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The Medical Director wrote a renewal for the fentanyl patch on 1/16/24. However, the MAR
documents that the patch was not changed as scheduled on the 16th because the backup pharmacy
was out of stock.

The facility Medical Director saw the patient that day and documents that the patient’s abdomen
was firm and tender but that the patient’s pain was controlled. It does not appear that the Medical
Director was informed that a new patch could not be obtained and the problem with pain
medication was not addressed.

On 1/19/24, a nurse practitioner wrote that the patient was struggling to swallow pills even with
water. Instead of giving IV medication, the nurse practitioner wrote in the progress note to change
MS Contin order to crush and place sublingually and to give the morphine sulphate liquid every
two hours. This should have been reviewed with a pharmacist but was administered for five days
without any pharmacy oversight and the order was handwritten on the MAR. A Food and Drug
Administration (FDA) alert warns in bold capital letters

           MS CONTIN TABLETS ARE TO BE SWALLOWED WHOLE AND ARE NOT TO BE
           BROKEN, CHEWED, DISSOLVED, OR CRUSHED. TAKING BROKEN, CHEWED,
           DISSOLVED, OR CRUSHED MS CONTIN TABLETS LEADS TO RAPID RELEASE
           AND ABSORPTION OF A POTENTITIALLY FATAL DOSE OF MORPINE.49

The patient was given nine doses of crushed MS Contin between 1/19/24 and 1/24/24. At 4:20 pm
on 1/19/24, the patient fell and was found sitting on the floor after attempting to go to the bathroom.

On 1/23/24, at 8 am, a nurse documented still giving the crushed medication and described the
patient as lethargic. On 1/22/24, the patient was described as incontinent of urine and nonverbal.
The HCUA documented that the patient was declining and notified the family and a family visit
was approved by the Warden but at this point the patient was not able to effectively communicate.
A fentanyl patch was received 1/24/24. The patient died on 1/26/24.

This patient was 45 years old on 9/17/17. The IDOC had promulgated cancer screening
recommendations in January of 2021. The Monitor’s 4th report, issued 9/16/21, documented that
the USPSTF recommended that patients should start colorectal cancer screening at age 45. Despite
the USPSTF recommendations and promulgation of a IDOC policy on colon cancer screening in
2021, the patient was not screened for colon cancer. He was identified on 6/28/22 with anemia
(Hgb 10.4) and had an unrecognized 37 pound weight loss. Yet, he didn’t have a definitive biopsy
identifying colon cancer until 3/28/23. The delay in work up of this patient makes this a
preventable death.


Patient #6



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     FDA Alert as found at https://www.accessdata.fda.gov/drugsatfda_docs/label/2010/019516s034lbl.pdf


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This patient was 52 years old when he received an annual periodic history and examination on
11/8/22 at Hill Correctional Center. He smoked two packs per day for forty years; thus, he had an
80 pack year of smoking. Lung cancer screening, based on USPSTF guidelines and IDOC
guidelines50, was indicated but not performed. At the annual periodic history, he complained of a
chronic cough which was not followed up by any history. The patient had underlying asthma. His
weight was 209 pounds and had been 221 pounds at a chronic clinic 5/26/22 only six months
earlier. There was no assessment or plan for the cough.

On 12/23/22 an LPN saw the patient using a cough protocol. The patient’s weight was 195 pounds
or a 26 pound weight loss since 5/26/22. The blood pressure was 149/88 but the LPN did not
retake it or put the patient on blood pressure checks. The weight loss was not identified. The
elevated blood pressure was ignored. LPNs should not be performing sick call evaluations.

On 1/5/23, the patient was evaluated in chronic care clinic for asthma. He complained of a chronic
dry hacking cough and using his albuterol inhaler more frequently because he didn’t have his
Alvesco inhaler. The patient also weighed 209 which was a 12 pound weight loss since his chronic
clinic in May of 2022. No further history of taken of this complaint even though cough is a
symptom of asthma. No history was taken regarding frequency of inhaler use either. PEFRs were
270 and 260 and the assessment was intermittent asthma which is inconsistent with the PEFR
values or with being on two inhalers. A history was not taken sufficient to make an assessment of
intermittent asthma. The nurse practitioner seeing the patient started Singulair, a third asthma drug
but this third drug did not appear indicated if his Alvesco was renewed. The weight loss and
chronic cough were not addressed.

On 4/13/2023 the patient was seen by a nurse using the protocol for upper respiratory infection.
The 22 pound weight loss the last 12 months was not identified as a problem by the nurse at this
encounter. On 4/17/23 a nurse evaluated the patient using a cough protocol. The patient had cough
for at least six months. The blood pressure was 155/92. For both of these nursing protocol visits,
the second page was missing. However, there did not appear to be a referral to a provider as there
was no subsequent provider note.

On 7/10/23, the Medical Director saw the patient in chronic care clinic. The history was that the
patient denied shortness of breath or dyspnea on exertion but complained of chronic cough for a
year that was non-productive. No further history was taken. The PEFRs were 250/300/350. Blood
pressure was 133/90 with pulse of 107. The patient was documented as mild persistent asthma in
fair control though the patient was on two inhalers and montelukast (Singulair). Being on three
asthma drugs is consistent with moderate asthma not mild persistent asthma. The MAR for July
shows that the patient hadn't been provided montelukast since March 16th which meant that the
patient was not using montelukast for the past three months. This was unnoticed. Notably, the
patient didn't receive montelukast again until January of 2024 even though it remained an active
prescription. This drug may have been unnecessary but was not being monitored. The PEFR tests
were inconsistent with the diagnosis. Spirometry should probably have been done given the
persistently low PEFR tests. The weight was 174.8, a 37 pound weight loss over approximately
14 months. Neither the persistent cough nor the weight loss were investigated; the weight loss

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  The Monitor’s 4th Report, on 9/16/21, noted that OHS developed a draft guidance on preventive screening that
included lung cancer screening in line with the USPSTF.


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wasn't even acknowledged. Though the patient was 53 years old he was not screened for lung
cancer. A 6-month follow up was ordered. A chest x-ray was ordered, but there was no evidence
that the chest x-ray was done. There was no follow up to check on the failed x-ray.

On 10/12/23, a nurse evaluated the patient using a cough protocol. The nurse documented that the
patient had the cough for over a year. The weight was documented as 194 which still indicated
weight loss of 36 pounds since incarceration. The patient told the nurse that he wanted cancer
testing regularly and hadn't had labs or a checkup in 10 years. He stated his memory is bad and
he forgets his glasses . He asked to be checked for forgetting things but the nurse did not evaluate
this concern. Instead, the nurse "educated" the patient on "getting older / △ in memory". No
referral was made for a year-long complaint of a cough with weight loss which would have been
evident if the nurse had reviewed the patient’s record. The nurse did not respond appropriately to
the patient’s request to be screened for cancer, or his memory loss and refer for evaluation.

On 10/16/23, the patient fell and hit his head and a nurse evaluated the patient using a non-specific
discomfort protocol. The nurse documented that the patient fell on the steps and the nurse
presumed it was due to not having his glasses. A provider did not evaluate the patient after the
fall. Falls are not normal and a better history and assessment should have been done. This was
especially true since only four days previously, the patient had complained of memory issues. The
non-specific discomfort protocol should be discontinued; its continued use is dangerous.

On 10/19/23, a nurse evaluated the patient using a cough protocol. The nurse noted that the patient
complained of 2-3 years of cough since the COVID epidemic. The blood pressure was 143/93
and the weight was 192 which was a 32 pound weight loss since incarcerated and 29 pound weight
loss since May of 2022. Though this patient had multiple episodes of complaints of cough, the
nurse did not refer to a provider and gave cough syrup based on protocol. A week later on
10/26/23, the patient requested a “full physical”. A nurse told him that this would be done around
his birthday without asking why he wanted a physical examination.

On 11/1/23 a nurse evaluated the patient using a non-specific discomfort protocol for right leg and
shoulder pain. The patient had the pain described as 6-7/10 for several weeks. The blood pressure
was 147/55, which is elevated, and the weight was recorded as 187. The nurse documented the
patient as limping, stuttering and slow to answer. He had to be asked 4 times to obtain his weight
and had a blank look on his face and described significant memory issues lately. The patient
thought he was in Chicago. Though the patient had new onset of altered mental status and
symptoms of stroke the nurse scheduled the patient for a physician follow up the following day.
But after the examination the nurse brought the patient into the nurse practitioner's clinic room
because of stuttering and dragging his leg. The nurse practitioner documented that the patient was
speaking normally, had facial symmetry, no drift and normal straight leg raising. Based on this
brief and incomplete neurologic examination the NP concluded that the examination was "normal"
and wrote to follow up PRN. The NP took no additional history.

The next day, on 11/2/23, at 12:53 pm the facility Medical Director evaluated the patient for
"stroke like symptoms". The patient was confused and had symptoms of decreased sensation in
his right leg for 2-3 weeks. The doctor noted confusion and difficulty speaking. The patient had
difficulty ambulating. The doctor sent the patient to the ER in an ambulance. Higher level



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attention was provided a year after the patient complained of chronic cough. This cough may have
been present for a longer period of time because only a year of medical record was provided. The
weight was 192 pounds so the patient had lost 29 pounds since May of 2022.

The hospital diagnosed lung cancer metastatic to his brain and locally to lymph nodes, to the
adrenal gland, and to areas around the lung. A large brain metastatic tumor was resected. The
patient was confused and had expressive aphasia before leaving the hospital. Before the patient
left the hospital, he had a signed a power of attorney.

Hospital instructions documented medications as Tylenol, dexamethasone, Voltaren, docusate,
Norco 1 every 6 hours, loratadine, montelukast, pantoprazole, and senna. A follow up with
neurosurgery was scheduled for 11/27/23 for suture removal and a post-op follow up on 12/8/23.
Dexamethasone was a new order to reduce brain swelling after the surgery.

On 11/14/23, the patient returned from the hospital. The Medical Director at the facility wrote the
infirmary admission note. The only history was post craniotomy for a tumor. This was an
inadequate history. There was no explanation of what kind of tumor the patient had, how it affected
the patient, the hospital course, the current status of the patient, or the follow up plan for the patient
except for a follow up with the surgeon and to take sutures out. The only neurologic examination
was that the patient was alert and oriented and had normal eye movements. The confusion noted
the day before at the hospital wasn't confirmed or mentioned. The current condition was
documented as "stable". The admitting diagnosis was "S/'P craniotomy", and the only plan was
regular diet, to ambulate as tolerated, and refer for suture removal and surgical FU. There was no
review of the hospital record; no indication whether the patient needed radiation therapy or
oncology follow up; no mention of prognosis and advanced directives nor of the power of attorney
signed at the hospital; and no history related to current pain status or mention of a plan for pain.
This was not an informed note.

The referral system was dysfunctional. There were eight completed offsite specialty visits after
hospitalization and one duplicate referral. The duplicate referral was documented on the referral
log as completed twice to the same consultant. Of the nine visits documented on the log the date
of referral was accurate only for one referral. For seven of the referrals, the dates of referral were
when the patient was in the hospital. Three of the referral forms used to request the referral were
sent to the wrong consultant. One referral form meant for a radiation oncologist was sent to the
medical oncologist. Another referral for the medical oncologist was sent to the radiation
oncologist. Another referral for a PET CT scan was sent to the radiation oncologist. The log was
disorganized and inaccurate and handling of referral forms was disorganized.

Only four of the eight unique appointments included a full report. Two appointments had no report
but did have brief comments on the referral form. One appointment had no report but had an after-
visit summary. One appointment had no report and no information.

Post visit evaluations by a provider with the patient were not thorough and demonstrate the
episodic nature of IDOC follow up and its dangers. The first appointment was on 11/27/23 with
the surgeon. This was reviewed by a nurse practitioner at Hill with the patient on 11/29/23 and the
biopsy report was discussed. This was an informed follow up. However, the therapeutic plan with



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future appointments were not documented or discussed with the patient. All of the patient’s
problems were not listed in the follow up encounter note.

The second visit was on 11/30/23 with the radiation oncologist. There was no report but there
were comments on the referral form which was not signed as reviewed. The radiation oncologist
recommended an ultrasound to rule out a deep vein thrombosis and a staging PET CT scan. There
was no post-visit evaluation and the recommendations for a PET CT scan and ultrasound were
unnoticed.

The third visit on 11/30/23 was with a medical oncologist. There was a report which also included
recommendations for a PET CT scan. This report was signed by the Medical Director as reviewed
on 12/27/23, about a month after the consultation. There was no post-visit evaluation by a
provider. The recommendation for a PET CT scan went unnoticed. On 12/1/23, a medical records
clerk documented that the PET CT scan was cancelled because a CT scan had already been done
on 11/31/23. This was inaccurate.

The fourth visit was on 12/4/23 with radiation oncology. This consultation included a report.
Notably, the referral form for this visit was for a combined 11/30/23 oncology visit and for a PET
CT scan which was requested to be scheduled for 12/4/23. The referral form had comments from
the radiation oncologist that were not signed as reviewed. The radiation oncologist again asked for
a PET CT scan and an ultrasound to rule out a deep vein thrombosis. There was a full report that
was not signed as reviewed but it recommended an ultrasound to rule out deep vein thrombosis
and a PET CT scan. A nurse practitioner saw the patient 12/6/23 in the morning on infirmary
rounds and documented making a referral for an urgent ultrasound to rule out DVT but a referral
form was not found in the record. At this appointment the nurse practitioner did not examine the
patient’s leg to assess whether it was swollen. This should have been done and if there was
evidence of a deep vein thrombosis the patient should have been sent to an emergency room
immediately. The nurse practitioner also documented a referral for a PET CT scan but this referral
was not found. The nurse practitioner did not list all problems in the assessment nor was there a
plan for all problems. This was an ineffective post-consultation visit that placed the patient at
significant risk because the nurse practitioner did not examine the patient’s leg or refer the patient
immediately to an emergency room.

The fifth visit was to radiation therapy on 12/6/23 but there was no report. There were comments
on the referral form again asking for an ultrasound and PET CT scan. There was no in-person
provider follow up to this visit. But on 12/7/23, the urgent ultrasound referral was discussed in
collegial review. The Monitor has been assured that collegial review has ended but this episode
makes it appear as if it is still continuing in some fashion.51

The Medical Director documented that a PET CT and ultrasound would be scheduled but details
weren’t given regarding when they would be scheduled. The recommendation for DVT was
initially made on 11/30/23. A 7-day delay in evaluating for a deep vein thrombosis in a patient
with cancer is dangerous. The Medical Director did not see the patient and no one from the facility

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   Also, on 11/16/23, a physician documented that an oncology appointment was approved in collegial review. If
collegial review has ended, the vendor should explain these repeated documented references to collegial review.



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evaluated the leg for deep vein thrombosis since the recommendation was made. This was a major
error in follow up. If the patient needed an ultrasound to rule out deep vein thrombosis, it should
have been done immediately and to go through collegial review and schedule this electively was
incompetent care.

The sixth and seventh visits were on 12/8/23. The patient had two appointments; one with the
radiation oncologist and one with the neurosurgeon. There were no reports for either appointment,
but there was an after-visit summary for the neurosurgeon and there were comments on the referral
form to the radiation oncologist. The neurosurgeon recommended an MRI in follow up. The after-
visit summary also included appointments apparently scheduled at the hospital for a PET CT scan
on 12/21/23 and an ultrasound scheduled for 1/16/23. Someone unknown scheduled urgent
appointments for two weeks later for the PET CT scan and a month and a half later for the
ultrasound. The PET CT scan should been done a week ago and the ultrasound should have been
done on 11/30/23 so a 1/16/23 appointment was dangerous. These scheduled appointments were
not on the offsite tracking log. There was no provider follow up of this visit. The level of
disorganization with tracking, scheduling and following up of offsite appointments is chaotic and
dangerous.

The second appointment on 12/8/23 (seventh visit) was with the radiation oncologist. There was
no report for this visit but there were comments on the referral form. Those comments stated that
the patient had his 3rd radiation session. There was no provider follow up of this visit.

The eighth visit was on 12/11/23 to the radiation oncologist. There was a report but there was no
referral form. The report recommended again the PET CT scan and the ultrasound. There were
three copies of this report in the record but only one was signed as reviewed on 12/12/23.

On 12/12/23, a technician performed an onsite ultrasound; this was about two weeks after it was
recommended by radiation oncology. This was an urgent test that should have been done on
11/30/23 the day of the consultation. At 2:09 pm a nurse practitioner documented that the
technician said there was a deep vein thrombosis. The nurse practitioner called the Medical
Director who gave a phone order for Eliquis 5 mg BID. This is not a standard starting dose and
was an error. The patient began vomiting at 4 pm and by 8 pm vomited bright red blood. The
nurse tried to call the facility Medical Director who did not respond and voicemails were left.
After several more attempts the nurse called the vendor Regional Medical Director who ordered
the patient sent to an ER.

At the hospital, the patient was diagnosed with deep vein thrombosis and pulmonary embolism.
The patient was sent to a higher level hospital and remained hospitalized for two weeks developing
atrial fibrillation and sepsis. When the patient was discharged the hospital recommended a
palliative care consultation for hospice. IDOC does not have a consultant who provides palliative
care consultation. A formal discharge summary was not in the medical record.

When the patient arrived back at Hill on 12/26/23, there was no summary of the hospital course or
expected plan of care. A nurse documented that the Medical Director would see the patient the
following day, which did not happen. Instead, a nurse practitioner saw the patient on infirmary
rounds on 12/27/23. The nurse practitioner did not document that the patient had just spent two



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weeks in the hospital. The hospital record was not reviewed and problems were not identified
which included: opacification of the left lung with deviation of the trachea, anemia, deep vein
thrombosis and pulmonary emboli, non-small cell lung cancer with brain metastases, hypokalemia,
atrial fibrillation, and difficulty swallowing. There was no assessment of pain. There was no
acknowledgement that the hospital recommended a palliative care consult for hospice. The nurse
practitioner documented a plan that reflected the plan before the hospitalization which was to
schedule a follow up with oncology and to await the completion of the PET scan. A palliative care
consultation should have been ordered. There was one further nurse practitioner evaluation while
he was incarcerated which similarly failed to appreciate the futility of further treatment and failed
to initiate palliative care.

The patient had a power of attorney in the record, but provider never contacted the person to
establish a plan for the patient.

On 1/4/23 the patient had seizures and was unresponsive and was sent to a hospital. The hospital
called a nurse practitioner at the facility to ask about a power of attorney. The HCUA told the
nurse practitioner to call the Warden but the Warden didn’t answer. The HCUA told the nurse
practitioner to fax the power of attorney that had been previously filled out during an earlier
hospitalization. The patient apparently died in the hospital.

This patient was over 50 with significant smoking history that warranted lung cancer screening.
He did not receive this even though he had an annual checkup on 11/8/22. He had multiple
episodes over the next year complaining of cough; only once was a chest x-ray ordered but it was
not completed. He also was gradually losing weight so that over the course of a year he lost 36
pounds. He was not sent for a diagnostic evaluation until he couldn’t walk, had central nervous
system symptoms of inability to articulate speech correctly and was confused. Widely metastatic
lung cancer was identified. This death was potentially preventable with early screening. The
failure to act on the radiation oncologist’s recommendation for ultrasound demonstrated a broken
specialty care program and resulted in harm to the patient that hastened death.

Patient #7

This patient was a parole violator initially incarcerated at Menard on 1/13/23. He had initial blood
tests done four days after intake that included an alkaline phosphatase that was very high (430 with
normal 40-125). This test is significant and requires follow up with diagnostic testing that if done
likely would have resulted in earlier diagnosis. A provider documented review of the test with a
note to repeat it. On 1/27/23 the patient was transferred to Vienna.

The vendor Regional Medical Director reviewed the laboratory test and documented on the
laboratory result that the patient should be scheduled to see an on-site provider. But there was no
regularly assigned provider at Vienna since the Medical Director position was vacant.

On 1/31/23, a coverage physician, who is not credentialed, saw the patient and documented that
the patient was to be seen for an abnormal lab result. He took no history and performed no
examination. He noted that the laboratory test had not returned. The plan was “awaiting repeat
lab”. The laboratory results should have been obtained from UIC. A history should have been


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taken related to possible reasons for an elevated alkaline phosphatase. A follow up clinic visit to
evaluate the laboratory test at a later date was not done. This was unsafe and clinically
unacceptable care and resulted in a significant delay in diagnostic follow up of this abnormal
laboratory test.

On 4/21/23 the patient was diagnosed with COVID and had consistent tachycardia for six days
when monitoring stopped. A coverage doctor was called and discharged the patient from
quarantine. The six days of tachycardia were unrecognized and not followed up.

Six months after transfer to Vienna, on 7/15/23, security sent the patient to the medical unit for
evaluation for leg swelling. A nurse evaluated the patient using an abdominal pain protocol. The
pulse was high at 115, the blood pressure was high at 159/97 and the patient had bilateral leg edema
with a distended abdomen with emaciated face and arms. The nurse called a provider who sent
the patient to an emergency room.

The local emergency room sent the patient to a higher level hospital. The reference hospital
diagnosed adenocarcinoma in the colon with metastases to the lung and liver. Ascites was present.
The cancer was far advanced and only palliative chemotherapy was planned. The patient had very
low serum sodium. The hospital recommended oncology follow up in a week. The discharge
summary noted, “Patient is currently incarcerated in Illinois which will make some of his follow
up difficult and will need to be done prior to getting out. Needs follow up with local oncologist at
discharge”.

On the last day of hospitalization on 7/20/23, the Director of Nursing became involved in
coordinating and apparently referring the patient for specialty care. At 2:30 pm on the day of
discharge from the hospital, the DON from Vienna talked to a nurse at Deaconess oncology. The
original plan for the patient was for interventional radiology follow-up on 7/24/23 to insert a
chemotherapy port and with an oncology appointment on 7/26/23. The DON added that she
"followed case closely and established pt outpatient visit to F/U and initiate treatment plan on July
26th at 11:30 am at Deaconess Oncology Center Will advise of this furlough appt." This
involvement of the Director of Nursing in directing referral for specialty care was likely due to an
absence of a physician at this facility.

On the same day, a nurse practitioner from Vienna CC talked to a nurse practitioner from the
hospital oncology service. The hospital nurse practitioner said that the patient couldn’t get a port
because the pathology report wasn’t completed. The nurse practitioner from Vienna said she would
arrange cancer follow up at SIH Cancer Center, which is in Illinois and close to Vienna CC. The
nurse practitioner made a referral to SIH on this date. There appeared to be two different oncology
plans for the patient.

Neither the Director of Nursing referral nor the nurse practitioner referral was in the July offsite
specialty tracking log. On 7/20/23 the patient returned to Vienna where there is no infirmary and
no physician. This was an unsafe placement for this patient. This patient needed a higher level of
care than could be provided at Vienna CC.




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The first provider visit after return from the hospital was on 7/21/23. The nurse practitioner took
little history; only that the patient had abdominal pain. The hospital discharge diagnoses were
metastatic colon cancer, liver metastases, lung nodules, ascites, anasarca, tachycardia, and non-
sustained ventricular tachycardia. The patient was discharged on Vantin, an antibiotic for
presumptive subacute bacterial peritonitis and furosemide 40 mg daily for ascites and anasarca.
But the provider at Vienna did not acknowledge any of the problems identified at the hospital and
the only assessment was “hospital follow up” which is a task, not an assessment. The provider did
not document what medications the patient was on and did not have a plan for any of the hospital
diagnoses except the cancer for which the nurse practitioner documented a referral to SIH cancer
center. Baseline laboratory tests should have been ordered.

A coverage physician, without credentials, evaluated the patient on 7/24/23. The note was
extremely brief. The pulse was 140 which was not acknowledged as abnormal. The only history
was "Had liver bx + colonoscopy". The objective examination portion of the note documented.
"was to get a port but it has been rescheduled". This is not an examination. There was no review
of the hospital note. The physician’s assessment was post-hospitalization with a diagnosis of
cancer with metastases. None of the other diagnoses were documented or reviewed. None of the
patient’s medications were noted. The plan was to continue observation care. There was no
documentation of a specific therapeutic plan for this patient. Follow up labs were not ordered.
The physician also should have investigated when the port would be placed and should have
ensured the patient was referred for oncology consultation. The port should have been placed
urgently. This note was devoid of any assessment or plan for any of the patient’s problems.

The Director of Nursing arranged with the furlough officers to take the patient to Deaconess
Hospital on 7/24/23 for the port placement. When the furlough officers arrived, they were told that
no appointment was scheduled. The hospital then offered to reschedule the patient but the Director
of Nursing after discussion with the nurse practitioner at Vienna wrote, “decision was made to
continue with local care at SIH Cancer Center”. The Director of Nursing contacted Deaconess and
cancelled the existing appointment with the oncologist at Deaconess. It appeared that the Director
of Nursing was directing specialty care. The coverage physician who was present at the facility
that day was not involved. Clearly, the role of coverage physicians is not to act as a Medical
Director.

There is documentation in progress notes on 7/26/23 that the patient had another appointment at
Deaconess on 8/1/23 at 8:45 am with oncology and a second appointment at 9:30 am with
interventional radiology. The documentation is not signed.

On 7/26/23, a nurse described the patient as emaciated which term was used in several other notes.
There was no indication what diet the patient was on and a dietician consultation was not obtained.

A non-credentialed coverage doctor saw the patient again on 7/31/23. The note was extremely
brief, did not address all of the patient’s problems and focused on the patient signing a do not
resuscitate form. The note read:
        “S: "OK considering the circumstances. Eating. + emesis, + nausea.
        O: has extensive metastatic cancer,
        A: Will need to sign a DNR.



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       P: DNR has been signed"

Given all that had occurred with this patient and the flurry of failed offsite appointments, this
physician should have written a more comprehensive note. The patient had requested a Joe
Coleman release earlier that day with the HCUA but the doctor did not discuss this with the patient.
The POLST form, signed by the patient and physician, documented that the patient requested to
be resuscitated and asked for full treatment. The physician’s labeling this POLST as a “DNR” is
misleading. None of the patient’s problems were addressed. Nor was any attention given to offsite
scheduling and the physician did not document an oncology plan of care.

The patient went to Deaconess on 8/1/23 and saw an oncologist. There was no documentation of
a referral from Vienna providers to oncology, only to interventional radiology for a port placement.
The oncology visit was not on the offsite specialty tracking log. At this visit, the patient was
tachycardic and had elevated white count so the oncologist sent the patient to the ER and from
there he was admitted to the hospital. He spent a week in the hospital and received the first cycle
of chemotherapy. The after-visit summary documented that a follow up appointment for
chemotherapy was scheduled for 8/23/23. The patient was discharged from the hospital on 8/8/23.

Remarkably, on 8/2/23, when the patient was still in the hospital, a nurse practitioner from Vienna
wrote a referral to the oncologist at Deaconess for chemotherapy. This was the same nurse
practitioner who referred the patient to SIH oncology. The scheduled appointments for this patient
were not clearly documented in either the offsite specialty tracking log or in progress notes of
providers. Care was episodic and specialty care scheduling was chaotic and dysfunctional.

When the patient returned to Vienna from the hospital on 8/8/23, he was placed in an observation
cell. Vienna had no physician and no infirmary and should not have been used to house this patient
as he was bedridden and dying of cancer. . It appeared that an error occurred with respect to
discharge medications from the hospital. The discharge medications included levothyroxine but
there was no evidence that could be found in the hospital record that the patient had
hypothyroidism. In fact, the patient had nearly continuous tachycardia which is an adverse effect
of levothyroxine. When the patient returned to the prison, he started to receive levothyroxine
despite no clear diagnosis of hypothyroidism. The order for the levothyroxine was made by phone
without the physician seeing the patient and without acknowledgement of tachycardia (118) which
levothyroxine can exacerbate. This order did not apparently go through the pharmacy as the MAR
was hand written and without pharmacy labels. This event should be brought to the attention of
the SIU medication process group to evaluate how the patient could be on a medication without a
diagnosis. This patient had multiple episodes of subsequent tachycardia but the association with
the levothyroxine was not examined.

The first provider note after return to Vienna from the hospital was on 8/9/23. The nurse
practitioner did not review the hospital notes nor was a plan of care initiated based upon what had
occurred at the hospital. The nurse practitioner documented that the pain was “the same” but didn’t
document an assessment of pain control. No additional pain medication was ordered. No labs
were ordered. The nurse practitioner did not question why the patient was on levothyroxine which
was a newly recommended medication by the hospital nor was the patient’s rapid pulse (108)
noted. The nurse practitioner did not even mention that the patient had been hospitalized for a



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week. The hospital discharge paperwork, including the discharge summary was initialed as
reviewed by the same nurse practitioner but the findings or recommendations from the hospital
were not documented in a progress note. There was no assessment of the patient and the only plan
was to elevate his legs for his edema. There was no documented plan for the patient’s oncology
care.

On 8/11/23, the patient went to the SIH Cancer Center. This was the only referral listed on the
Vienna offsite specialty tracking log. The oncologist noted what had occurred at Deaconess
Hospital and discussed options for the patient. The patient elected to receive further palliative
chemotherapy and this was planned. A specific appointment day was not given. The patient’s
blood pressure was 146/102 and the oncologist recommended lisinopril.

On 8/11/23 the patient was allowed to call his father in the HCUA’s office and was tearful. This
appears to have been the only contact the patient had with his family in the time between his
diagnosis and death.

By 8/16/23 the patient’s weight had decreased to 162 pounds a 23 pound weight loss. A nurse
called an on-call physician and got an order for boost, a nutritional supplement. A nutritional
consultation would have been appropriate.

On 8/20/23 the patient complained of dizziness and being short of breath. His pulse was 138,
respirations 32 and the oxygen saturation 77-84%. An on-call physician was called and ordered
the patient sent to the emergency room.

At the hospital, the patient’s status was changed to palliative care and the patient died in the
hospital on 8/24/23.

This patient had an abnormal laboratory result that was unrecognized for seven months. The
laboratory result implied that the patient likely had metastatic liver disease. It is uncertain what
effect earlier diagnosis would have had on survival. However, the patient was only 40 years old
and wanted aggressive care. This was not provided to him because of the delay in diagnosing his
cancer. The referral process at Vienna is dysfunctional and chaotic. The documentation of referral
and specialty care is extremely difficult to follow in the record and contributes to the fragmentation
of patient care. The tracking log is completely unreliable and does not track referrals or
appointments. Physicians play no part in managing patient referrals. The nurse practitioner and
Director of Nursing appeared to be managing referrals but were not coordinating their efforts. The
absence of an engaged, responsible physician was evident.

Patient #8

This 46 year old man was incarcerated at Graham on 10/12/23 and gave the screening nurse a
history of right shoulder issues, headaches, and back pain. The provider performing the health
assessment took no history. The second page of the health assessment was missing. The problem
list includes hypertension not on medication, a right shoulder “issue” which was not further
clarified, headache and neck pain.



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On 10/31/23 a nurse saw the patient for shoulder pain and used the non-specific discomfort
protocol. The patient weighed 148 pounds and was 5 foot 10 inches tall. The nursing note was
not understandable; it stated that the patient had a facial grimace and “S/R dislocated shoulder MC
[with] 1/2 ago". Other than noting there was no edema or discoloration the nurse did not check
the patient’s range of motion, strength, or alignment. The nurse did not inquire about any impact
on activities of daily living or elaborate on the relationship between the reported dislocated
shoulder and the discomfort he presented to sick call with. The nurse gave ibuprofen by protocol.

On 11/1/23 a physician assistant wrote an illegible note.

On 11/9/23 a registered nurse issued the patient 10 tablets of 400 mg ibuprofen without
documenting an examination or use of a protocol. This nurse was practicing outside of scope.

On 11/12/23 a registered nurse responded to a code 3 at 4:30 in the afternoon and evaluated the
patient using a non-specific discomfort protocol. The patient had intermittent right shoulder and
chest pain (8 out 10) the entire day. The patient said it was hard to breathe. There was no swelling,
bruising, or redness. Once again the evaluation of the patient was incomplete and more appropriate
guidance would have been provided if the nurse used the chest pain or short of breath protocols.
The nurse gave the patient a three day supply of ibuprofen and acetaminophen by protocol.

The next day a second code 3 was called and a nurse practitioner saw the patient for shortness of
breath and shoulder pain. Limited history was taken. The range of motion was normal and the
nurse practitioner documented “normal exam of the right upper extremity”. The nurse practitioner
ordered an x-ray of the shoulder. Though the patient had pain the nurse practitioner documented,
“no Tylenol or ibuprofen given because of abuse of previous blister pack”. Apparently all the pain
medication that he received the day before had been taken. This indicates that the patient is
experiencing more pain than can be relieved by over the counter pain medication. The practitioner
was cynical to attribute this to abuse. The patient’s pain needed more thorough evaluation and
higher level treatment.

On 11/15/23, the patient complained of pain that awoke him during sleep. The nurse used the chest
pain protocol and the pulse was documented as 113. The nurse did not note that this was the fourth
complaint for the same symptom in the last two weeks and that two of these were code 3s and did
not refer the patient. Later that day the patient was transferred to SWCC. He told the nurse
completing transfer screening that he had hurt his ribs but the nurse did not evaluate the complaint.

On 11/16/23, a nurse documented a code 3 for arm pain including right chest pain. The pulse was
110 and 124. An EKG was documented as sinus rhythm. There was bruising on the right chest
with an abrasion. The patient said he fell out of bed twice during the night. Despite the recent
fall, tachycardia and the repetitiveness of the complaint the patient was not referred for a medical
evaluation. The patient was referred to mental health.

The psychiatrist who saw the patient on 11/17/2023 elicited a history of the patient being in a fight
a couple weeks ago and dislocating his shoulder. Since then, he had worsening pain down his entire
right arm, and stated “On my God, my arm is on fire.” He was unable to sleep without taking
ibuprofen every four hours. He couldn’t do anything because of the injury and hadn’t been eating



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because of the pain. During the interview he was grimacing, breathing heavily and had a pulse rate
of 123. The psychiatrist documented referring the patient for a medical evaluation.

On 11/20/23 security staff brought the patient to the HCU from chow hall because he couldn't
breathe. A registered nurse evaluated the patent and documented a pulse rate of 102-127 with the
respiratory rate 22-30. The nurse failed to recognize the severity and cascading nature of this
complaint and only recommended breathing through pursed lips. No protocol was used to guide
this evaluation. At a minimum the patient should have been referred promptly to a provider due
to the abnormal vitals but this was not done. The nurse returned the patient to his housing. The
nurse’s actions were negligent and put the patient at risk.

The next day, on 11/21/23, custody staff again brought the patient to the health unit. The patient
said he couldn't breathe and his shoulder, back and arm hurt. The nurse evaluation was extremely
brief documenting, "Patient seen, assessed, noted wheezing and hyperventilating.” The nurse had
the doctor who was onsite see the patient. He advised sending the patient to an emergency room.

The patient was sent to a reference hospital in Missouri and diagnosed with widely metastatic
non-small lung cancer. The cancer was extensive with an upper lobe lung mass that extended
beyond the lung to encase two major arteries and was so large it forced the center part of the chest
to one side. The patient had brain metastases, abdominal , liver, lymph node, and bone metastases.
Radiation therapy was initiated as was chemotherapy which was recommended to be continued as
an outpatient. While hospitalized, the patient filed a medical release request form.

After nearly a month of hospitalization, the patient returned to SWCC on 12/12/23. He weighed
113 pounds, a loss of 35 pounds. His widely metastatic cancer encased several major arteries,
locally extended to the abdomen and chest, caused a pathologic fracture of a rib. The laryngeal
nerve was encased causing difficulty speaking. The hospital recommended oncology follow up,
multiple medications, including acetaminophen for fever, albuterol inhaler, alprazolam (a
benzodiazepam),      dexamethasone,      guaifenesin-dextromethorphan,    ipratropium-albuterol
nebulization, morphine extended release 75 mg twice a day, morphine immediate release 15 mg
every four hours as needed for pain, naloxogel 12.5 mg once, naloxone spray as needed for opiate
reversal, ondansetron 4 mg every 4 hours, pantoprazole daily, nicotine patch daily and nicotine
gum.

On 12/12/23, the physician infirmary admission note documented adenocarcinoma of the lung
which was inaccurate. The physician didn’t document a therapeutic plan for the patient other than
ordering morphine and even though the patient had difficulty swallowing the diet order was “as
tolerated”. The admitting physician made no referral to oncology.

It didn’t appear that the physician reviewed the hospital report because besides using the wrong
diagnosis, the order for morphine differed from that recommended by the hospital. The hospital
recommended 75 mg extended release every 12 hours and 15 mg immediate release every four
hours as needed for pain. The doctor’s infirmary admission note documented “morphine 60 ER
[extended release] BID [twice a day]” and “morphine 15 mg [every] 6 prn”. This order wasn’t
precise and translated onto a MAR handwritten by the nurse as morphine sulphate ER 60 mg every
12 hours and morphine sulphate immediate release 15 mg every 4 hours as needed for pain. This



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was a reduction in pain medication without assessment of pain or explanation of why the hospital
order wasn’t honored.

The patient’s pain medication prescription was reduced by 30 mg of morphine a day from what
was recommended by the hospital. Further there was no evidence that the 15 mg immediate release
morphine was offered every four hours. There was documentation on one MAR of offering
immediate release morphine only three times from 12/12/23 to 12/15/23 when it should have been
offered 18 times over that time period. The patient remained in pain as documented 12/13/23;
12/14/23; and 12/15/23. On 12/15/23 the patient said he hurt all over. Despite the patient saying
he “hurt all over” the nurse documented, “Pt [patient] voiced no concerns today”. The nurse took
no action regarding the patient’s pain.

On 12/14/23, the facility Medical Director saw the patient and documented he had intermittent
pain in his lower abdomen but did not pursue the status of pain control and no additional pain
medication was prescribed. The patient continued to complain of pain in nursing notes. On
12/15/23, the vendor Regional Medical Director wrote another morphine order for 60 mg morphine
extended release every 12 hours and 15 mg morphine immediate release every 12 hours but to
space the morphine doses so that the extended release alternated with the immediate release. Both
of these prescriptions were less than recommended at the hospital. There was no explanation for
either prescription and the patient remained in pain.

There were four prescriptions in the medical record dated 12/15/23, written by the Regional
Medical Director. These included 1) 60 mg extended release morphine every 12 hours for seven
days; 2) 60 mg extended release morphine every 12 hours for 30 days; 3) 15 mg immediate release
morphine every 12 hours for seven days; and 4) 15 mg immediate release morphine every 12 hour
for 30 days. Each of the two immediate release prescriptions were to stagger with the extended
release morphine. This appeared to imply that the patient was to receive seven days of 120 mg
extended release morphine every 12 hours with 30 mg of immediate release every 12 hours 6 hours
after the extended release morphine. This was to be followed by 23 days of 60 mg extended release
morphine twice a day with 15 mg of immediate release morphine every twelve hours with the
immediate release morphine doses six hours after the extended release morphine. There was no
progress note explaining this prescription so it appeared to be an order conducted by phone. This
effectively would double the dosage prescribed by the hospital for seven days and reduce the
dosage prescribed by the hospital for the next 23 days. There was no explanation in progress notes.

The medication administration records do not reflect these prescriptions. There was one entry on
the MAR for 60 mg extended release morphine twice a day and 15 mg immediate release morphine
every four hours. This prescription was dated 12/12/23 until 12/26/23. The patient was
documented as receiving the extended release morphine from 12/12/23 to the morning of 12/17/23.
The immediate release morphine was documented as offered only three times. A second entry on
the MAR dated for 12/12/23 to 12/26/23 documented 60 mg extended release morphine twice a
day and 15 mg immediate release morphine every six hours as needed. This MAR documented
receipt of the extended release on the evening of 12/17/23 to 12/19/23 after the morning dose. The
immediate release morphine was documented as offered and given twice on 12/16/23, three times
on 12/17/23; and twice on 12/18/23.




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The hospital recommended a total of 210 mg of morphine a day in divided doses including both
immediate release and extended release morphine. The MARs, prescriptions and other
documentation in the record were disorganized. The prescriptions were not consistent with the
hospital recommendations, were inaccurately represented on the MAR, and were not given to the
patient as ordered.

While the hospital recommended 210 mg of morphine a day, the patient received
12/13/23 =135 mg. documented as complaining of pain
12/14/23 = 135 mg. documented as complaining of pain on five occasions
12/15/23 = 135 mg. documented as complaining of pain twice
12/16/23 = 150 mg. documented as complaining of pain once
12/17/23 = 225 mg. documented as complaining of pain twice
12/18/23 = 120 mg documented as complaining of pain once
12/19/23 = 90 mg with one refusal. Expired.

The pain medication management for this patient had numerous errors with respect to the MARs,
prescriptions, and monitoring that need to be corrected as they were dangerous especially since
dealing with narcotic medication. This information and record should be given to the SIU
pharmacist performing a process analysis of medication management.

The hospital recommended referral to an oncologist but it wasn’t identified until 12/19/23 when
there was a referral form written to the oncologist. This referral was not found on the offsite
schedule log. The patient died on the same day.

The evaluation of the patient’s shoulder pain was not timely. Nurses’ evaluations of the patient’s
complaints were not driven by use of appropriate protocols and some nurses made clinical
decisions that were outside their scope of practice. Though he was not referred to oncology, it did
not appear to alter his prognosis.

Patient #9

This 56 year-old man was incarcerated in 2007 and was at Joliet Treatment Center. His problem
list documented hypertension, high blood lipids, anti-social personality disorder, depression with
psychotic features and schizoaffective disorder.

He also was followed in chronic care clinic for hypertension and seen on 8/11/22, 9/2/22, and
7/11/23. Notable deficiencies in these encounters were as follows.
    • In the 8/11/22 visit the patient had a 24 pound weight loss since 1/27/22 which was
       unrecognized. Neither was colorectal cancer screening offered.
    • At the 9/2/22 chronic clinic, no history was taken. The weight loss since 1/27/22 was now
       35 pounds which was also unrecognized. Preventive measures including colorectal cancer
       screening were not offered.
    • The 7/11/23 chronic clinic is discussed in detail later in this chronology.

On 5/16/23, a nurse saw the patient for chest pain and referred him to a provider. A physician saw
the patient on 5/17/23. The patient was noted to have right breast swelling and pain with deformity


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of the breast. The patient was not checked for discharge, dimpling or firmness of the swelling. An
EKG and an ultrasound of both breasts was ordered. This referral was not found in the 2nd quarter
specialty tracking log and the test was never done. The provider did not order a subsequent
appointment to review the test results and the patient was lost to follow up.

On 5/22/23 a nurse saw the patient for constant right breast pain. The nurse documented swelling.
No referral was made but the nurse gave ibuprofen to the patient by protocol.

On 5/23/23, a nurse again saw the patient for constant chest pain. The nurse contacted a physician
by phone who ordered an EKG in the morning. On 5/24/23, a physician saw the patient for the
chest pain. The patient was concerned about right nipple enlargement. The doctor assured the
patient that an ultrasound and work up were in progress. However, the scheduling clerk had not
apparently received the referral and it wasn’t scheduled. The provider did not order a follow up
appointment. It would have been reasonable to refer the patient to a surgeon because unilateral
breast swelling in a male is suspicious for cancer. The physician did order a CRP, CBC, thyroid
study and a prolactin level.

On 5/30/23 the prolactin level returned as normal but the patient had anemia (Hgb 12.3). Anemia
in a 56 year old warrants a colonoscopy. A normal prolactin level eliminates gynecomastia and
breast cancer should be ruled out. Though someone initialed the labs as reviewed, no action was
taken and there was no progress note about the laboratory results. The patient should have been
referred for colonoscopy and to a surgeon to biopsy the breast.

On 6/10/23 a nurse saw the patient for chest pain. The pain felt like “it’s closing in on my heart”.
Pain medicine had not helped. The nurse documented tenderness over a right chest mass and
“tremors” in the right arm and hand and left leg. Despite significant findings the nurse did not
refer the patient to a provider.

On 6/14/23, a nurse noted that the patient was reported to have a shuffling gait in the dorm and
had to stop on his way to chow. The nurse documented that she would follow up with a physician
for a slow walk pass.

On 6/19/23, someone wrote a health request for the patient stating that his toenails were extremely
long and it took him 10 minutes to walk to chow and it appeared that his feet were in pain. A nurse
documented on the request that a slow walk pass was given and a nurse assistant trimmed his
toenails. There was no thought as to why the patient was walking slow.

On 6/21/23, a nurse practitioner saw the patient. Vital signs were not done. The nurse practitioner
took a history of low back pain that was constant, buttock pain, bilateral leg pain, foot pain, anal
pain all for several weeks. The patient was documented as having a shuffling gait. The plan was
to order a urinalysis, stool for occult blood, a low back x-ray, Naprosyn 500 mg BID and Colace
BID. No follow up was ordered. The weight loss and breast mass were not considered as problems
and tragically ignored.

On 6/27/23, laboratory results showed anemia again. The laboratory results were signed as
reviewed but again no action was taken.



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On 7/5/23, a nurse was called to the dorm because the patient had chest pain. The patient was
having trouble moving. The patient said he had the chest pain for four months. The nurse
documented that the patient had a mass on the R nipple area and said he couldn't move due to left
leg numbness. The nurse called the Medical Director of the facility who apparently was aware of
the patient and said that the patient was currently being worked up for a right nipple mass. The
nurse wrote that there would be follow up during afternoon medication pass. It wasn't clear what
the follow up was going to be. The breast ultrasound was ordered 5/17/23, 49 days ago and there
was not yet any evidence of the ultrasound being scheduled; it wasn’t on the offsite scheduling
log. A nurse documented during medication pass that the pain had resolved.

On 7/11/23, a periodic annual history and chronic clinic evaluation were conducted. The periodic
history documented use of use of a wheelchair for long distances and for fall prevention. He was
described as having delusional behavior. A brief physical examination was documented of left leg
weakness with a limp and unsteady gait. The weight was documented as 145.8 pound and the
assessment was "noted weight loss [with] malnutrition. LLE weakness [with] shuffling gait, +
delusional ideas. Otherwise, normal adult exam". This is not a normal examination and further
diagnostic evaluation was indicated but not initiated.

On the same day, the same provider conducting the periodic history documented a chronic clinic
visit for hypertension. The patient complained of rectal pain and left anterior thigh pain and
weakness. The labs from 7/7/23 were noted. The patient had poor hygiene and appeared
"malnourished. The nurse practitioner wrote that the patient had delusional behavior speaking of
"unrealistic things”- that he is part of a secret testing group at JTC. Though the patient complained
of leg weakness, the examination did not include a neurologic examination of the lower
extremities. The only assessment was that the hypertension was in good control. The delusional
behavior was not addressed. The leg weakness was not addressed. The nurse practitioner wrote a
therapeutic diet order for a high protein, high calorie diet documenting that the patient was
underweight (145 pounds) and had malnutrition. The patient was 198 pounds in January of 2023
so he had a 54 pound weight loss over less than seven months; this is not just malnutrition. An
evaluation for the severe weight loss, anemia, and breast mass was indicated. The breast mass not
discussed at this visit and was likely associated with the weight loss. The nurse practitioner also
ordered boost for a 42 pound weight loss over two years without ordering a diagnostic work up for
the weight loss or anemia. This encounter was unsafe and clinically inappropriate.

On 7/17/23, a physician ordered a CT scan for guaiac + stool, rectal discomfort and a 42 pound
weight loss. This was apparently ordered as a routine test but should have been urgent or the
patient should have been sent to a hospital for a work up. Someone wrote on the top of the referral
form that the appointment was cancelled without explanation. This appointment was logged into
the offsite tracking log as referred on 7/17/23 but was documented as cancelled by a physician
who documented that the appointment was not needed. It was not clear when the appointment was
cancelled. It was scheduled for 9/15/23. Given guaiac + stool and a 42 pound weight loss, urgent
colonoscopy was indicated which was not done.

On 8/6/23, the patient placed a health request stating, "I am very sick and in great pain. I need a
doctor and to go to the hospital. I have not been able to get the doctor to see me since I was last



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treated. I have lost a lot of weight". The patient was right. He needed hospitalization. The nurse
wrote on the referral form, "This individual in custody needs pain management and to go to doctor
immediately". This was signed by the nurse on 8/5/23 which was a day before the health request
was dated.

On 8/7/23, a nurse practitioner saw the patient for weight loss and "medication non-compliance".
Less than a month ago, the patient was described as having delusional behavior; how could this
patient’s behavior be framed as non-compliance when he was delusional? The patient’s weight
was 132 pounds but the weight loss was not quantified. Since January 2023 the patient had lost
66 pounds. The patient was having difficulty swallowing food. The patient was talking
nonsensically saying, “the marina rina kidneys hurt” and “the corporation is changing my
medication and that’s why I don’t take them”. The nurse practitioner documented that the patient
had stopped taking the medication since July; yet this was not perceived as related to his current
mental status. The patient apparently told a nurse that he had chronic pain in the abdomen. The
patient had poor hygiene. The examination was brief and documented as normal. The breast mass
was not acknowledged or evaluated. This patient needed urgent admission to a hospital for altered
mental status, severe weight loss, a breast mass and abdominal pain. Instead, the plan was to
order boost three times a day and a high calorie diet. The nurse practitioner documented that the
patient was "awaiting appointments for WRITS". These would be the breast ultrasound ordered
83 days ago and a CT scan of the abdomen for guaiac + stool and weight loss ordered about three
weeks ago. The tests or reasons for the test were not acknowledged. This was not timely access
to secondary or tertiary care and was unsafe and inappropriate care.

On 8/13/23, a custody officer reported to a nurse that the patient was incontinent and was too weak
to stand and clean himself. The nurse went to the housing unit. The patient was sitting on a
stationary stool with his pants pulled down which were soiled with stool to his feet. The patient
said he couldn't make it to the toilet because his legs didn't work. The nurse described the patient
as cachectic with temporal wasting and visible bony prominences. The patient had a raspy
whisper-like voice. He said he had no strength to walk and complained of pain all over. He had
a "strong body odor". The officer said that he was too weak to shower and the officer knew that
he hadn't showered in "30+ days". The nurse documented that a NP had been made aware prior to
the current episode that the patient had weakness and weight loss and saw the patient on 8/7/23.
The officers assisted the nurse who gave the patient a chair bath except for his hair. The nurse
documented that because of his weight loss would advocate for a double mattress. The patient was
assisted into clean clothes and a porter assisted the patient into bed. The nurse documented a
weight loss of 55 pounds over two years, when in fact the patient had had lost 66 pounds in the
last eight months. The nurse tried to call the facility Medical Director three times but could not
reach her and then called the vendor Regional Medical Director. The vendor Regional Medical
Director ordered that the patient be placed on medical watch and the facility Medical Director
to follow up with the patient in the morning. This patient was incontinent with severe weight loss
and possible altered mental status, an undiagnosed breast mass and recent onset anemia. He should
have been immediately hospitalized. Also, this patient should, at a minimum been sent to an
infirmary. Instead, further “monitoring” was ordered.

On 8/14/23, the facility Medical Director evaluated the patient at the bedside and sent the patient
to a hospital by 911. She wrote that the patient was sent to the hospital for "failure to thrive"



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documenting a 17 pound weight loss (which was grossly inaccurate). The facility Medical Director
documented a firm irregular right breast mass which had enlarged since the last evaluation and she
documented "awaiting mammo and US at UIC". She documented that the patient had difficulty
swallowing both solids and liquids. She documented occult blood positive stools in June with a
Hgb of 10. She wrote that the patient needed a work up and was unable to do this at the DOC
facility.

The patient was confused upon admission to the hospital. Initial tests showed significant
hypercalcemia52 (14.4 on admission) which explained the patient’s confusion (which was likely
present at least as of 8/7/23). The CT of the chest showed multiple lytic bony metastases,
pulmonary metastatic disease, suggestion of thyroid and renal metastatic disease, and a right chest
wall lesion suggestive of breast neoplasm. The patient had multiple bone metastases to the cranium
and face. The patient refused a breast biopsy and wanted a second opinion. The prognosis was
poor. The patient was discharged on tramadol 50 mg Q 6 hours for pain and had received Zometa,
a monthly injection for hypercalcemia before he left the hospital. Because the patient refused
treatment he was sent back to JTC.

On 8/17/23, the patient returned to the prison at 5:20 pm. The physician was not available and the
call went to voicemail. Later that day, (time not documented) a nurse called a nurse practitioner
who ordered the tramadol. This patient had end-stage cancer with hypercalcemia, needed close
monitoring and hospice but was sent back to JTC which does not even have an infirmary. He was
placed in dorm 1 apparently in a cell. This facility was incapable of monitoring the patient.

At 1:04 pm the day after return to the facility a nurse practitioner saw the patient "cell side". The
patient said he was waiting to go to another hospital and the nurse practitioner thought he was
confused. A stat calcium should have been obtained since the patient had recent hypercalcemia.
The nurse practitioner did not acknowledge the hypercalcemia or that the patient was given Zometa
at the hospital. Given the patient’s confusion the calcium should have been obtained stat to obtain
a baseline and to ensure the patient was not hypercalcemic. The nurse practitioner noted that the
patient had metastatic disease (primary unknown) but hospitalists documented this was likely
breast cancer. The nurse practitioner documented that the patient refused further workup and told
the patient to "notify medical" if pain became an issue. The nurse practitioner documented that he
would discuss the case with the medical director and that "Pt stable at this time". The plan of care
for this patient did not include all diagnoses. Pain medication was reduced from what had been
recommended by the hospital (50 mg tramadol every 6 hours at the hospital versus 50 mg three
times a day for pain). Furthermore, this patient had serious mental illness and the medical
providers should have conferenced with the mental health team to determine how to care for him.
This was especially true because the patient had hypercalcemia which can cause confusion and
would make it difficult to differentiate his mental health condition from his medical condition.

On 8/21/23, a physician reviewed the chart and saw the patient in his cell while he was in bed. He
wrote "By history pt's mental status has been waxing and waning". The patient remembered the
doctor and said he had cancer all over. The patient wanted to be a full code until he knew more
about the disease. The doctor told the patient he would need to go to UIC to see an oncologist for

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 Hypercalcemia is often a result of cancer. In this case it was. A calcium above 14 calls for immediate treatment.
Hypercalcemia can cause confusion and altered mental status.


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a work up. Patient agreed to this. The patient said he did not need additional pain medication. No
examination was done. There was no assessment. The doctor documented she would write a
referral to UIC for a breast biopsy and for an oncology consultation. These two referrals forms
were in the medical record but there was no evidence that they had been added to the specialty
tracking log so they were not scheduled. Clearly, the specialty tracking log is being managed
ineffectively. CMP was ordered in 2 weeks. A same day calcium would have been appropriate
given the recent confusion and history of hypercalcemia. The physician did not mention that the
patient was treated with Zometa. This patient should have been transferred to a facility with an
infirmary and an urgent mental health consultation ordered to assess the mental status of the
patient.

On 8/23/23, the physician ordered mammography, but this referral was also not found in the 3rd
quarter specialty tracking log for JTC. This was the fourth referral made that was not entered onto
the log. On 8/24/23, a nurse practitioner referred the patient for bilateral breast ultrasounds. This
became the 5th referral that was not entered onto the specialty tracking log. There was no progress
note associated with this referral.

On 8/28/24 the patient was still bed-ridden in his cell with an end-stage malignancy and
intermittent confusion. Blood tests for calcium had not been done since hospitalization and pain
was difficult to monitor because of his mental status. Mental health had not yet documented seeing
the patient. On this date, a nurse saw him cell front and observed him having a hard time sitting
up. This patient should clearly have been transferred to a higher level of care ( i.e., to a facility
with an infirmary or to a higher level skilled unit). The nurse noted facial grimacing and the patient
received tramadol. This should have prompted a better plan for managing pain.

On 9/4/23 when a nurse was passing medications, she noticed that the patient was grimacing when
trying to sit up. The nurse did not make the patient come to the door for meds but said she would
come to him. The nurse noted a [something illegible] on the ischial tuberosity and recommended
that the patient lie on his side to relieve pressure. This patient should have been transferred to a
facility with an infirmary and a proper pressure-relieving bed or sent to a skilled nursing unit.
Medical watch housing should be restricted to patients who are independent with regard to feeding,
hygiene, and transfers. This patient was not.

On 9/6/23, the patient refused a writ to UIC; he said that he only wanted treatment offered at the
prison. Whatever this appointment was, it was not being tracked on the specialty tracking log, as
there was no appointment listed for this patient on this day. Also, the note on 9/6/23 at 11:30 am
demonstrated that he was confused about his care, thinking he was going back to the hospital. His
decision to refuse a specialty care appointment did not appear rational. The patient needed to be
evaluated for capacity to make a medical decision. That this patient was housed in a mental health
facility and did not have a mental health professional consulting on his mental status and refusals
is a significant problem.

On 9/12/23 a nurse documented that the patient was observed getting off the toilet and was very
weak and having a hard time getting from sitting to standing position. The patient also had facial
grimacing. At 13:45 a nurse obtained a verbal order to increase tramadol to 100 mg every 6 hours.
A palliative care evaluation had not yet been done. The nurse offered to wash the patient up as he



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had "strong body odor" but the patient refused. It did not appear that the patient was capable of
caring for his needs yet he was not transferred to a higher level of care. This patient was improperly
housed and not provided higher level care.

On 9/13/23, a doctor noted that "he is comfortable, content, peaceful at this time". This was
inconsistent with prior nursing notes. The patient re-affirmed that he did not want to go to UIC.
The doctor said she would review the POLST form with the patient the following week. The
patient was accepting of additional pain medication. The patient did not want to talk to his family
but said he was thinking of someone who could be a surrogate decision maker. The doctor did not
assess the patient's pain symptoms, nor were laboratory tests reviewed. No new labs were ordered.
Though no pain assessment was done, the physician ordered dexamethasone 4 mg daily for 20
days for his bone pain. None of the patient’s other problems were assessed in this note.

On 9/20/23, a nurse documented that she obtained "reports" of patient trying to flush his toilet and
hearing a pop in his left shoulder. The left scapula was sticking out and the patient had pain. A
physician was called and the physician ordered transfer to a hospital. The patient refused to go to
the hospital. An x-ray was not ordered. Mental health was not consulted.

On 9/27/23, a physician saw the patient and noted "he had pain all over". The POLST form was
discussed. The patient expressed concern about signing it. The patient was described as frail and
cachectic. The doctor then said,
       "We talked about POLST form & what it is for. He seems concerned [about] signing this
       form. I advised him we will talk about it again later today. Denies SOB, N, V, F, C. Pt is
       frail & cachectic. We talked about better pain management [with] a pain patch. We also
       talked [about] the pain meds should not be too sedating for him & he agreed he did not
       want to be groggy with meds. See orders. Addendum. See POLST form- Pt is DNR".

The patient did sign a POLST form requesting no excessive measures and comfort care only.
In addition, over the six weeks since diagnosis, nurses documented poorly controlled pain. There
was inadequate provider pain assessment. At this visit, the doctor started a fentanyl patch (25
mcg) and 20 mg morphine sulphate immediate-release every four hours for pain. This was an
appropriate change but the fentanyl patch never arrived from the pharmacy and was discontinued.

On 9/29/23, the physician transferred the patient to the NRC infirmary for "supportive end of life
care". The plan of care focused around providing pain medication. . Though the patient had
signed a POLST for comfort care only, the patient continued to receive medication for his high
blood pressure. It isn’t clear how IDOC defines comfort care.

With respect to pain, the hospital recommended tramadol 50 mg four times a day but this was
reduced on 8/18/24, the day after return to the prison, to 50 mg three times a day (30 mg morphine
equivalent) without an adequate pain assessment or rationale. The patient continued to have pain
but was not adequately assessed periodically for pain. The tramadol was increased on 9/12/23 to
100 mg four times a day or a morphine equivalent of 80 mg a day. On 9/29/23 when transferring
the patient to the infirmary and noting pain all over, the doctor changed medications to fentanyl
25 mcg patch to change every 72 hours and morphine sulphate 20 mg/ml. to give 0.2 ml (4 mg)
every 4 hours as needed for pain. This was a morphine equivalent of 84 mg which is essentially



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the same morphine equivalent of the tramadol (80 mg morphine equivalent). This patient was not
receiving sufficient pain medication. The provider should have sought assistance from a
pharmacist.

On 9/29/23, on the infirmary unit at NRC, the doctor documented that the patient asked for a liquid
diet and the doctor ordered it. On 9/30/23, the patient said he had no pain but then told the nurse
that he had pain when he moved. Later, on 9/30/23, the patient asked for a regular diet. The patient
started refusing tramadol for unclear reasons. The patient did not appear to be acting rationally.
Still a mental health consultation was not sought.

On 10/2/23, a nurse practitioner attempted to see the patient who was agitated and yelling that he
didn’t want enforced meds. The patient was resistant to any evaluation and appeared delusional.
The nurse practitioner requested mental health nursing to tell the patient he was not on enforced
medication. This patient may have been having a psychotic episode or may have had altered
mental status due to his condition (metastases or hypercalcemia). Neither was evaluated. A
psychiatrist should have seen the patient. It was not clear that the patient was competent to make
informed decisions. This should have been investigated because the patient was likely in pain but
was refusing medications believing they were enforced psychotropic medication. This was not
acceptable comfort care as the patient was not made comfortable.

Later the same day, on 10/2/23, the patient asked for his pain pill and when asked what hurts, he
responded "everything". The patient had refused the 3 prior doses of pain medication that day. He
did not appear to be acting rationally. The nurse documented "brown substance noticed on socks
and shoes" and the patient said it was chocolate. The patient refused help to clean himself and was
not cleaned. This patient was clearly unable to act rationally. A psychiatrist should have evaluated
the patient for competency to make a medical decision. The Medical Director should have
considered identifying a surrogate for the patient. It was clear that NRC could not manage this
patient either and he should have been transferred to a facility capable of caring humanely for him.

Over the next month there is documentation of multiple encounters with the patient who
demonstrated irrational behavior, poor hygiene, incontinence, and persistent pain. The patient also
refused care intermittently. The patient was referred to mental health but this referral was not
accomplished. This patient did not appear to have adequate access to mental health care.

On 11/8/23, a nurse documented the patient was repositioned and had facial grimacing and
moaning when turned. He was given morphine. His pain was clearly not controlled. Later, on
11/8/23, a nurse documented the patient needed assistance with meals and hydration and was
unable to use the straw. There was no documented plan of care for managing the patient inability
to eat or drink. The patient continued to remove his clothes and diapers, bed linens and pillow.

The patient's pain was not adequately addressed. A fentanyl patch ordered over a month ago was
never supplied by the pharmacy. A physician who saw the patient on 11/8/23, noted he was in pain.
The physician noted that the patient didn’t want to take his tramadol and that after discussion he
would take his morphine. The patient was on both morphine sulphate and tramadol. The patient
was only receiving about 25% of the doses ordered or about 29 mg of morphine equivalent a day.
All of the medication was “as needed” and about 75% of the expected doses were not documented



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as offered. The physician did not document review of the MAR that would have shown that the
patient wasn’t receiving the medication as ordered. The physician increased the morphine
sulphate dose to every two hours instead of every four hours and this resulted in a small increase
in the ordered dose. Between 11/8/23 to 11/11/23 the patient received 38 mg morphine equivalents
a day. This is a small dose of morphine given his condition and it is not surprising that the patient
was documented to be in pain most days. Also, because of the patient’s mental status, it would
have been better to have ordered a fentanyl patch which would have administered a consistent dose
of morphine without intervention. However, the prior fentanyl order was not delivered by the
pharmacy. The inability to obtain the fentanyl patch contributed to poor pain control for this
patient. Because nurses don’t document that they offer medication as ordered, it is unclear if the
patient doesn’t want doses, refuses doses, or isn’t offered doses.

On both 11/9/23 and 11/10/23 the nurse documented that the patient was in pain. The patient died
on 11/11/23.

This patient had a weight loss for at least a year without evaluation. When a breast mass was
identified, it wasn’t evaluated until the patient became so ill he was hospitalized three months after
identification of the breast mass. The specialty tracking log is not maintained accurately, and
specialty care appointments did not occur. The patient was housed in a facility that couldn’t care
for him and he needed higher level care. Pain medication was not managed well and the patient
remained in pain throughout his last months. Mental health should have been involved in the
management of this individual and even when he was at JTC, a mental health facility, he was not
documented as evaluated. If the patient’s weight loss was due to cancer this death was likely
preventable but there was insufficient medical record provided to make that determination.

Patient #10

This patient was 52 years old with hypertension and end-stage kidney disease on dialysis listed on
the problem list. On 7/23/21, the patient was admitted to the hospital for a hemoglobin of 5.4. The
patient had a CT scan showing polycystic kidney disease, a pleural plaque from asbestos, and renal
osteodystrophy. None of these diagnoses were in the problem list. Though the patient was
undergoing dialysis and had very low anemia he was not on erythropoietin53. The hospital
recommended erythropoietin on discharge but when the patient returned to Stateville there was no
evidence that the hospital recommendation to start erythropoietin was acted on. A frequent
problem in IDOC is that physicians do not carefully review hospital records to understand what
occurred at the hospital. The vendor’s Regional Medical Directors should correct this practice.

This patient had repeated elevated blood pressure over two years. MARs from October of 2021 to
October of 2023 show that there was no change in his blood pressure medications which were
minoxidil 10 mg daily and 50 mg of metoprolol four times a week. There were no chronic clinic
visits for the entire two years of available medical record. The blood pressure did not appear to
be monitored despite the patient having end-stage renal disease.



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  Patients on renal dialysis typically have anemia. The treatment for anemia in patients on dialysis is a drug called
erythropoietin.


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There were multiple COVID tests in the medical record but only one non-COVID laboratory test
completed on 6/16/21 showing a hemoglobin of 5.4. The only other laboratory tests were those
included in consultant and hospital reports. The patient had anemia as low as 5.4 and mostly below
10. There was no evidence that the patient was treated with iron replacement or with
erythropoietin. This is not standard of care. Dialysis notes need to be evident in the medical record,
especially since it is conducted onsite. At a minimum, laboratory tests, medications provided and
nephrology notes must be present.

On 8/23/22 a revision of the patient’s dialysis fistula was done at UIC. The surgeon recommended
follow up with vascular surgery on 9/7/22. IDOC did not provide a specialty log for the 3rd quarter,
2022 but the 1st quarter of 2023 had prior referrals on it. The specialty log did document follow
up on 9/7/22 and a UIC surgeon documented that the fistula had healed and that it could be used
in a month. The patient returned to the facility with a dressing. The nurse documented that the
dressing was to be removed the following day.

The in-person review by a provider with the patient didn’t occur for three weeks after the
consultation. On 9/8/22, a nurse evaluated the wound and noted no swelling, redness or drainage.
A dressing was placed on the wound. On 9/10/22, a nurse documented the incision site was red,
warm with copious green drainage on the dressing. The patient had fever (100.5), elevated blood
pressure (161/96) and fast pulse (110). The nurse applied a new dressing but large amounts of
pus extruded from the wound and saturated the new dressing material. A physician was notified
and ordered Bactrim for 14 days. A provider did not see the patient and the surgeons at UIC were
not notified. The pus was not cultured. A white count was not done. The MAR showed that the
patient received KOP medication on 9/10/22. There was a daily dressing change order written on
8/31/22. The order was discontinued on 10/5/22.

On 9/11/22, the wound was still draining copious amounts of pus and sutures were still visible.
The nurse did not notify a provider. The surgeon at UIC should have been contacted for further
instructions. Though a daily dressing was ordered; it was not done. The next progress note was
9/15/22, four days later. Pus was still draining from the wound. The next progress note was
9/17/22 and the wound was still draining purulent material. A provider was not notified. On
9/18/22, a nurse documented that the fistula was hard. The fistula is filled with flowing blood and
is not supposed to be hard. If it was hard it was possibly clotted and needed prompt evaluation.

The patient wasn’t seen by a provider until 9/27/22, a month after the fistula revision. The
physician documented that the patient was getting intravenous antibiotics during dialysis but
because dialysis notes were not present in the record, it wasn’t clear when intravenous antibiotics
were started. The dialysis records need to be in the IDOC medical record. The physician noted
that the wound had opened and blood and pus came out when the dressing was removed. The
physician also noted that the wound was open but healing and that sutures were still in place. The
doctor documented that antibiotics should be continued but there was no evidence on the MAR of
ordered antibiotics. If the nephrologist in the dialysis unit had ordered antibiotics, the order and
subsequent administration should be documented in the IDOC medical record and was not. No
follow up was ordered including with the vascular surgeon despite the patient having an infected
surgical wound; the physician should have promptly called the vascular surgeon. The
documentation of communication between facility providers, the nephrologist in the dialysis unit



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at Stateville, and the vascular surgeon was nonexistent and placed the patient at significant risk.
Did the sutures need removal? There was no scheduled follow up of the wound to ensure it healed.

A nurse practitioner saw the patient for a writ return visit on 9/30/22, five weeks after the procedure
that occurred on 8/25/22. The nurse practitioner didn’t document the subsequent abscess, the need
for antibiotics, but did mention a pencil eraser sized wound without signs of infection. It was
unclear if there was any plan to let the vascular surgeon know about the infection. The nurse
practitioner did not schedule follow up to ensure the wound healed. Treatment was episodic.

An urgent CT ordered on 7/20/22 for abdominal and back pain was not done until 10/5/22. The
specialty tracking log did not note that the request was urgent and to be done within 14 days.
Instead, it was done 77 days later. The CT scan showed pleural calcifications likely due to asbestos
exposure, enlarged heart, extensive calcification of abdominal aorta, innumerable bilateral renal
cysts (MRI recommended to assess a complex cyst in one kidney), a focal dilation of the pancreatic
duct (MRI recommended in follow up), The CT scan wasn’t documented as reviewed in progress
notes. Someone reviewed the CT report but did not date the review. On 11/12/22, over a month
after the CT scan, a physician ordered an MRI. The MRI was listed on the offsite tracking log but
had no referral date and no schedule date. On 1/30/22 someone wrote on the referral form that the
patient refused the test. This is not timely scheduling and inadequate tracking; the urgency of the
referral needs to be included on the log..

Finally, on 10/24/22 the nephrologist referred the patient to the vascular surgeon due to the
regrowth of the pseudoaneurysm. This was requested as an urgent consult but did not take place
for over two months. This consult was requested urgently ( less than two weeks) but occurred 65
five days later. There does not appear to be any monitoring of referrals which is why the Monitor
continues to recommend a weekly specialty care huddle that includes the facility Medical Director
and scheduling clerk.

Meanwhile on 11/5/22, a nurse documented the patient saying that the wound on his arm never
healed and it formed into a boil and then popped while getting dialyzed. He was coming to the
health unit for a dressing change. There were no dialysis notes and this history was hearsay. The
nurse noted a dressing in place that was purulent with greenish drainage. The left arm had an open
wound that was draining pus. The nurse dressed the wound and the plan was to follow up as
needed. There apparently was no order for dressing changes. Notably, this care was occurring
without intervention of a provider. It did not appear that there was a provider at this facility. A
provider should have promptly contacted the vascular surgeon.

On 12/17/22, the patient complained to a nurse that his arm wound wouldn’t heal. The urgent
referral to vascular surgery had not occurred. The nurse noted purulent drainage and referred the
patient to a provider.

A nurse practitioner saw the patient on 12/19/22 apparently as a referral from the nurse for the arm
wound. The patient didn’t know why he was being seen. The provider documented that the patient
was being seen for follow up of CT scan results and low back pain with sciatica. The CT scan was
done on 10/5/22 or 76 days ago. The nurse practitioner “educated pt on writ return process”. The
nurse practitioner didn’t apparently know that the patient was referred by a nurse because of the



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wound on his arm. The nurse practitioner didn’t evaluate the infected fistula, listened to the
patient’s lungs and documented that he was ambulating without assistance before assessing chronic
low back pain with sciatica. There was no plan. This was a failed referral. It is unclear why the
reason for the referral is not known to the person seeing the patient.

On 12/28/22, 65 days after an “urgent” referral the patient went to vascular surgery. The surgeon
said that the patient had an ulcer over the fistula graft from which pus could be expressed. The
surgeon noted that the patient “requires excision and exclusion of this portion of the graft to prevent
blowout and possible death”.54 The blood pressure at this visit was 171/89 which is poor control.
The patient was admitted from the clinic and had the surgical procedure to excise the infected graft
on 12/30/22. The after-visit summary documented a recommendation to be on Augmentin (an
antibiotic) and tramadol (pain medication). Wound care instructions were to pack the upper
extremity wound with wet gauze and place an overlying dry bandage on top twice daily. A new
catheter was inserted at this visit for purposes of dialysis. Apparently the patient had been dialyzed
using the fistula with the draining wound which could cause blood stream infection.

The patient was discharged on 12/31/21. The prison nurse called a physician for verbal orders for
medication. Follow up with the surgeon was not noted and a complete discharge summary was
not present. Though dressing changes were recommended twice a day, they were ordered only
once a day. Progress notes document the first dressing change on 1/2/23, the third day after the
patient was received back at the facility. The nurse did not document how the dressing was applied.
The patient was seen daily from 1/2 to 1/5 for dressing changes but then not again until 1/7/23.
1/6/23 was a Friday. After seeing the patient on 1/7/23 the patient wasn't seen again until 1/9/23.

On 1/9/23, an LPN saw the patient using an abdominal pain protocol. The temperature was 100.4,
with pulse 111 and BP 113/69 which was very low for his usual blood pressures which were
elevated. The patient had sharp lower abdominal pain that was constant. The patient had loss of
appetite. The nurse noted the fever and called a physician who ordered the patient sent out to a
hospital

The patient was evaluated in the emergency room for abdominal and pubic pain with diarrhea over
the last 24 hours. He was still on antibiotics from his recent surgery. The white count was only
4.6 with Hgb 8.8 and platelets of 213. A CT scan was done that showed no acute obstruction with
similar findings to his prior CT scan. He was discharged back to the prison.

The patient wasn’t seen again until 1/11/23 when he presented for a dressing change. There was
serosanguinous drainage. A new dressing was applied.

Another dressing change wasn't done until 1/15/23. This nurse was cleaning the wound with
normal saline and placing an iodoform strip which was not recommended. It is not clear if the
nurse made up this change; no order for iodoform dressing was found. The next time the patient’s
dressing was changed was not until 1/24/23 using the same iodoform dressing. The wound care
instructions from the vascular surgeon were to pack the wound with wet gauze and cover it with a

54
  The graft is an artificial connection between an artery and vein in the arm for the purposes of access for the
purpose of dialysis. Were this connection to be severed or opened, the blood from the artery would flow freely from
the connection and the patient could bleed to death.


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dry dressing. The facility physician’s order did not specify the type of dressing only that it be done
daily until healed. Nurses were outside their scope of practice when using the iodoform dressing
and should have had the facility physician clarify the wound care order.

On 1/20/23, a physician saw the patient and documented that he had been to UIC. A provider had
not evaluated the patient since 12/31/22, three weeks ago. The physician apparently did not review
the surgeon report or notice that the patient was not receiving recommended dressing changes.
She noted that there was no evidence of infection. The physician referred the patient to UIC
vascular surgery for follow up from the 12/28/22 surgery. This referral was made on 1/20/23
which was three weeks after the surgery. This referral was not on the 1st quarter 2023 specialty
tracking log and the patient wasn't seen for three more months (3/1/23) when the AVG was noted
as open and useable for dialysis. The specialty care tracking log is inadequately tracking as
required by the Consent Decree and seems to be filled out after the appointment occurs.

The patient presented for dressing change on 1/26/23 and the nurse noted an open ulcer with light
bleeding that the patient said began two days ago. The nurse referred the patient to a provider. A
nurse practitioner saw the patient and noted a small purulent discharge at the AV fistula site in the
upper forearm. The nurse practitioner discussed the case with the facility Medical Director who
advised a nurse to notify the nephrologist of the situation and for further instructions. After
discussion with the nephrologist, the patient was referred back to UIC emergency room.

The patient was evaluated on 1/26/23 in the emergency room for wound dehiscence. A 5/6 systolic
murmur was present radiating to carotids. The patient had been recommended during a 6/16/21
hospitalization to FU with cardiology for a murmur but this was never done. This was particularly
pertinent because this patient had a long-standing pustular wound that could have resulted in
systemic contamination and endocarditis. An ultrasound demonstrated that the fluid collection was
proximal to the recent surgery (the previous surgical incision with stitches were present without
erythema, edema or drainage suggesting an overlying abscess). The patient was diagnosed with a
non-healing wound. The white count was 5.4 and Hgb 9.5. A vascular surgeon saw the patient.
There was low suspicion of an infected graft, local wound care was recommended, and follow up
in vascular surgery clinic were recommended. The emergency room report wasn’t documented
as reviewed and there was no progress note documenting review. The offsite tracking log for the
1st quarter 2023 had no referral to vascular surgery.

The patient had progress note documentation of a dressing change on 1/27/23 and 1/28/23 but then
there were no progress notes documenting dressing change until 2/6/23, eight days later. There
was a small amount of purulent drainage. There was one further dressing change documented in
progress notes on 2/11/23.

 The patient returned to the vascular surgery clinic on 3/1/23. This visit was not present on the 1st
quarter 2023 offsite specialty tracking log. At this visit the sutures from the surgery were removed
and the shunt was open with a strong and continuous flow. The open wound had healed and there
was no evidence of infection. When the access was reliably used the dialysis catheter could be
removed.




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A nurse practitioner did a follow up of this vascular surgery appointment on 4/4/23 about five
weeks after the appointment. The blood pressure at this visit was 166/79 which is elevated but
was not addressed. The plan was to see the patient “as needed”. Care was episodic. This patient
had not had a chronic clinic visit in over two years. Nephrology notes were not in the record. No
one appeared to address consistently elevated blood pressure. The heart was not auscultated and
the murmur which had been present since 2021 had not yet been acknowledged or evaluated.

On 5/1/23, the nephrologist referred the patient for removal of the dialysis catheter used to
temporarily dialyze the patient while the new graft healed. This referral was on the 2nd quarter
May specialty referral tracking log as completed on 5/25/23.

On 5/19/23 the nephrologist again referred the patient for an MRI of the abdomen to evaluate the
complex mass on one of the patient’s kidneys. The patient had apparently refused the test on
1/30/23. This 5/19/23 referral was not on the 2nd quarter May 2023 offsite specialty tracking log.

On 6/25/23, a nurse noted the patient was seen inquiring about the CT scan results which were
back from 10/5/22, eight months ago. No one had ever reviewed the results with the patient. This
is not informed care. The nurse looked up the results but was unable to explain the meaning of the
test results to the patient and scheduled the patient to see a provider.

On 7/11/23, a provider saw the patient but only discussed the removal on 5/25/23 of the temporary
dialysis catheter. The provider did not discuss the CT scan result that the patient was interested in
learning about. The blood pressure was 185/96. The patient said he didn't receive minoxidil and
was concerned about his blood pressure. The provider did not review the MAR or determine
whether the patient was receiving medication as the blood pressure had been consistently elevated
since 2021. The patient was given his dose of minoxidil but his blood pressure therapy wasn't
adjusted. The patient had received a KOP packet of metoprolol on 6/27/23 so he had this
medication. The MAR documents that minoxidil was provided all days in June. This patient had
received medication but had not had it adjusted for two years despite ongoing intermittent
elevations of blood pressure. This was serious given his renal disease.

On 7/28/23 the facility Medical Director referred the patient for the MRI that was recommended
on 10/5/22. There was a referral for an MRI on the 3rd quarter offsite specialty care tracking log,
but there was no referral date and the referral was not completed. There was a comment on the
tracking log that the patient was claustrophobic and the test was rescheduled but there was no
rescheduled date.

On 8/11/23 a nurse saw the patient using a cough protocol. The patient just developed the cough
and said he had lost 5-6 pounds though the nurse did not obtain a weight. The blood pressure was
elevated at 156/70 but not acknowledged as abnormal. The patient was afebrile. The nurse gave
the patient cough medication and acetaminophen but no referral. The stated complaint of weight
loss wasn’t addressed.

On 8/16/23, a nurse saw the patient using a cough protocol. The blood pressure was 158/60 which
is elevated. The weight was 146 pounds and the patient was afebrile. This was the 2nd complaint




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of cough in a week. The nurse appeared to refer the patient to provider sick call but the patient
wasn’t seen in follow up. Neither the blood pressure nor the cough were addressed.

On 9/6/23, a nurse saw the patient using a laceration protocol. The patient did not have a laceration
but had a chronic non-healing ulcer. The BP was elevated at 140/99. The nurse did not document
referral to a provider but the patient was seen that day by a provider for his non-healing arm wound.
Vital signs were not done. The nurse practitioner noted a 1.5 open lesion with some bleeding but
no discharge. There was a dried scab on part of the wound. The assessment was an old non-
healing ulcer and the wound was cleaned and dressed with orders to continue dressings until
healed. The frequency of dressing changes was not mentioned. The nurse practitioner documented
that the patient had a pending vascular appointment. A follow up on Friday was scheduled. The
cough and elevated blood pressure were not addressed.

A nurse practitioner saw the patient in follow up on 9/8/23. The blood pressure was 178/87. There
was an ulcer on the arm with some serous drainage. A wound culture was done. The nurse
practitioner noted a vascular appointment was pending. Some of the note was illegible.

One dressing change was documented on 9/9/23 in progress notes but no further dressing changes
were documented.

On 9/13/23 the patient was documented as refusing a UIC vascular surgery appointment. The 3rd
quarter offsite specialty tracking log had a vascular appointment but there was no referral date and
no appointment date. Apparently these are filled in after the appointment occurs, which is not
appropriate. The tracking log documented that the patient refusal was because he had dialysis.
This was a scheduling error not a refusal. Scheduling needs to accommodate dialysis sessions
which should not be missed.

On 9/13/23 the patient was admitted to the infirmary as an administrative hold and remained there
for over a month without indication. There were no clinical notes regarding monitoring of the
patient.

On 10/23/23 an Emergency Reporting Form documented that the patient had a fever of 103.9 with
a blood pressure of 80/54, pulse of 123 and respiratory rate of 24. These vitals are consistent with
shock. Yet, the patient had been on the infirmary for over a month without anyone noticing. The
patient was sent to a hospital where he died.

On autopsy, the cause of death was bronchopneumonia with a right lung abscess.

There were so many operational problems at this facility (lack of physician staffing, dysfunctional
specialty care process, nursing gaps likely due to staffing, lack of appropriate wound care, etc.)
that care at this facility is unsafe. There was no chronic care provided for this patient. He had
consistently elevated blood pressure for two year without any modification of his blood pressure
medication. He was on dialysis and had significant anemia yet was not on erythropoietin which is
standard of care. He had a cardiac murmur that was never evaluated or even acknowledged as a
problem.




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The patient died of a lung abscess which is typically caused by aspiration but can be caused by
hematogenous seeding via catheter which for this patient was the most likely source. The patient
had a long-standing abscess near a dialysis fistula. That fistula infection was the likely source of
hematogenous spread but was not timely addressed and because of this his death may have been
preventable. Of note, there was no evidence of dialysis notes in the medical record.

Patient #11

This patient was 20 years old with a history of asthma and allergy to penicillin. He was
incarcerated on 2/16/23 and transferred to Lincoln on 3/13/23.

On 3/27/23, a provider referred the patient to a urologist for scrotal swelling but only part of this
note was present in the medical record. The referral was present in the offsite specialty tracking
log. The following day on 3/28/23 he developed swelling of the right hand and left foot. An LPN
contacted a physician who ordered an injection of Benadryl and observation for 45 minutes. The
patient was then allowed to return to his housing unit and directed to return if the swelling
reoccurred.

On 3/31/23, a nurse practitioner documented that the patient had episodes of swelling over the past
3-4 years and that it typically resolved over two days. The provider documented no swelling on
either the hand or foot and documented “spontaneous swelling” likely due to salt. This was not a
reasonable clinical conclusion as too much salt is not a reason for contralateral hand and feet
swelling. Decreased salt intake was recommended. A better history was indicated but not done.
The nurse practitioner did not take further history of allergies, the frequency of these episodes,
when they tended to occur, if he had ever seen a physician for these episodes, or whether he took
any medication for the problem. Consultation with a physician may have identified an allergic
basis for this swelling.

On 4/10/23, an LPN evaluated the patient for hand swelling using a fracture, dislocation, and sprain
protocol. The left hand was grossly edematous from the hand to wrist and the palm of the hand
was red. The patient said he didn't know how the swelling occurred. The nurse gave ibuprofen by
protocol and called a physician who recommended an x-ray of the affected hand with a provider
follow up. Spontaneous edema without injury in a 20 year old should rule out angioedema55. This
was not done.

On 4/22/23 the patient was brought to the health unit for right hand/arm swelling. The nurse
documented that the patient was previously seen for a similar problem on the opposite arm on
4/11/23. An on-call physician was called and ordered IM solumedrol 125 mg with Benadryl 25
mg followed by daily Benadryl for three days. The doctor recommended scheduling to see a
physician on 4/24/23 which was Monday. The use of steroids was reasonable, but no diagnosis
was made and a history of his condition was not taken. The physician appropriately treated the
patient for angioedema but no diagnosis was made and the problem list was not updated.



55
  Angioedema is self-limiting swelling of the skin or mucosa often due to allergies and can be accompanied by
anaphylaxis. From UpToDate An overview of angioedema.


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On 4/24/23, a different physician saw the patient for arm swelling. The only history was swollen
right forearm and hand with no known injury. The assessment was right arm extremity edema.
The plan was Lasix, a diuretic, for 10 days, ibuprofen for 3 days, and doxycycline, an antibiotic,
for 10 days none of which appeared appropriate. This was a shotgun approach and the physician
apparently wasn’t sure what was wrong. Lasix for unilateral arm edema did not appear to be
indicated. There was no evidence of infection so an antibiotic did not appear indicated. The
swelling was described in the physical examination as "nontender" so it was unclear why the
ibuprofen was indicated. Due to history of asthma and allergies, angioedema should have been
considered but it was not. Notably angioedema is a possible adverse reaction of ibuprofen.

On 5/30/23 the patient developed a rash on arms and hands and was given hydrocortisone cream
by a nurse.

On 6/8/23 a doctor saw the patient for scrotal swelling. The doctor assessed scrotal hernia and
referred the patient to a general surgeon. This referral was present on the 2nd quarter 2023 offsite
specialty tracking log with a date of appointment on 6/30/23.

On 6/30/23 the patient went to the urologist as referred on 3/27/23 for scrotal swelling but there
was no scrotal swelling identified by the urologist. On 7/10/23 a coverage physician saw the patient
in follow up of the urology consult. On examination the patient still had scrotal swelling and the
physician told the patient that a general surgeon would see him soon. That appointment was
scheduled for 7/14/23.

On 7/11/23 a nurse evaluated the patient for hand and foot swelling using the protocol for non-
specific discomfort. The patient again said that the pattern the swelling resolved in a few days.
The nurse did document swelling in the foot but failed to document any assessment of the hand.
The nurse did nothing about the patient’s symptoms and made no referral.

On 7/14/23 the patient went to the general surgeon who did not identify scrotal swelling and did
not identify a hernia but noticed a couple of cutaneous lesions and offered to take them off. A
nurse practitioner saw the patient the same day of the surgical consult and documented that the
patient reported right hand and left foot swelling that comes and goes. The nurse practitioner
confirmed current right hand non-pitting edema without ecchymosis and attributed it to an
unknown etiology. The only plan was to elevate the hands and feet when swollen, refer for an
ultrasound or the right hand and foot, and come back to the health care unit if it reoccurs. The
nurse practitioner did not know how to diagnose the patient’s problem and the patient should have
been referred for a higher level primary care provider evaluation. The ultrasound of the right hand
was done on 7/31/23 and was normal.

On 9/20/23 a code 3 was called for difficulty swallowing. The patient said he woke up and his
throat was swollen which worsened during the day. The patient's tonsils were touching the uvula.
The patient was breathing without distress. The patient reported that this had never happened
before. He said he was allergic to penicillin but was unaware of any other allergies. The nurse
called an on-call physician who sent the patient to an emergency room. This was appropriate
because difficulty swallowing in the context of an allergic type reaction needs immediate attention
by someone who can intubate the patient.



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The hospital summary did not include their examination of the throat but they documented that a
strep test was negative and a chest x-ray was negative. When the patient was waiting for discharge,
the patient sustained a seizure. He had a negative CT of his brain, was medicated and sent back to
the prison.

On 9/21/23, a nurse practitioner saw the patient after the ER visit and noted that the patient had
sore throat, edematous tonsils- strep negative with unremarkable labs and toxicology screen
negative. The nurse practitioner noted that the patient had a seizure in the emergency room but
the CT of brain was negative. The emergency physician recommended a neurology consult. The
patient felt much better and the nurse practitioner documented an assessment of "?idiopathic
angioedema", which was an accurate diagnosis and the first accurate documented diagnosis of the
patient’s problem. The nurse practitioner referred to neurology as recommended; added Zyrtec;
and referred the patient to an allergy specialist. Neither the neurology nor the allergist referral
were entered into the 3rd quarter 2023 offsite specialty log. He encouraged the patient to keep a
food and environmental log and avoid known irritants. The diagnosis of idiopathic angioedema
appeared accurate but was not added to the problem list. There was no Medical Director at this
time, but the nurse practitioner should have consulted a physician to develop a plan for what to do
if this occurred again as throat swelling in the context of angioedema is life threatening. The
Monitor has consistently recommended adding UpToDate to all clinical examination rooms. This
case illustrates the benefit of this. When the electronic record is installed, there should be a link
to UpToDate in the record that gives all practitioners real time access to this important service. In
this case because the was no facility Medical Director the nurse practitioner had no one to consult.

On 10/9/23, at 8:45 am, a LPN documented that the patient presented to the health unit for swollen
tonsils with difficulty talking and feels like his throat was swollen. An on-call physician was
contacted and said to admit the patient to 23 hour observation. The patient should have been sent
to an emergency room as intubation may have been indicated. This set of symptoms is potentially
life threatening and further questions should have been asked including past history. If angioedema
were on the problem list and this information given to the on-call physician, a different result likely
would have occurred. No medication was ordered.

On 10/9/23 at 12:15 pm a nurse documented that the patient complained of increased shortness of
breath and throat tightness. Vital signs were normal. The same on-call doctor was contacted and
gave a telephone order for 50 mg of IM Benadryl and to monitor. This appeared to be a mistake.
If the physician believed that the shortness of breath and throat tightness was related to allergic
symptoms, the patient should have been promptly sent to an emergency room. It was unclear if
the diagnosis of angioedema was known to the on-call physician. Nevertheless, any patient with
suspected angioedema involving any organ near the airway (tongue, uvula, soft palate, or larynx)
must be immediately assessed for signs of airway obstruction.56 This is because intubation may
be necessary.

Thirty five minutes later at 12:50 pm the patient told the nurse he was having increased difficulty
breathing and tried to grab the nurse. The nurse asked the patient "to try to calm down" so he could
be assessed. The patient took off running to the front of the health care unit and the nurse called

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     UpToDate - Overview of Angioedema)


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for a sergeant to help. The sergeant ran after the patient and got him to sit down. The patient
appeared to stop breathing and slumped to the floor. The patient had a pulse but periods of apnea.
The patient was bagged with oxygen and given epinephrine. 911 was called. At approximately
13:11 or 21 minutes later the EMS took over. No other medications were administered nor was a
physician involved in the care. A physician was not called.

The cause of death was asphyxia due to obstructive laryngitis, epiglottitis and tonsilitis. This
patient died from angioedema which was recognized but not appropriately treated and was a
preventable death.


Patient #12

This patient was 49 years old and transferred to Pontiac on 8/28/22. The problem list documented
a mental health disorder, hypertension, diabetes and benign prostatic hypertrophy. He was five
foot, eight inches tall and on 9/28/22 he weighed 240 pound with a BMI of 36.5 which is obese.
Obesity was not on the problem list but was likely contributory to his hypertension and diabetes.
On transfer to Pontiac, the patient was on amlodipine, antacids, gabapentin, glipizide, HCTZ,
metformin, methocarbamol, metoprolol, simvastatin, tamsulosin and tramadol. Simvastatin,
antacids, and gabapentin indicated hyperlipidemia, gastric reflux, and diabetic neuropathy, but
there was no associated diagnosis on the problem list. The tramadol was a long-term medication
but there was no associated problem indicating pain relief. It was discontinued in October at
Pontiac.

The Death Summary by the vendor documented that this patient was “very non-compliant” with
medication, especially insulin, and that he was being followed by the diabetic clinic at UIC for his
diabetes. With respect to compliance, the patient refused morning insulin 28% of the doses which
were at 3:30 am and 15% of evening doses which were at 3:30 pm. No one ever questioned why
the patient refused, yet at least for the morning dose, getting up at 3:30 am is a distinct disincentive
in taking medication. Also, about 9% of insulin doses were not documented whether they were
given or not. A 9% rate of not offering patients their medication is something OHS should evaluate
as to why it is occurring. The Monitor believes a key factor is staffing.

Over the year that the patient was housed at Pontiac, his blood sugar was continuously poorly
controlled. The patient was evaluated by a nurse practitioner on five occasions and three different
physicians on five occasions. All but one provider visit was episodic and related only to a current
complaint. There was no Medical Director for part of the time period of this review which
appeared to affect his care.

The first provider visit on 9/7/22 was a referral from an LPN because the patient complained of
insulin allergy. The only history was that the patient complained of allergic reaction at insulin
injection sites. This is not a history but merely repeated the reason the patient was to be seen. The
nurse practitioner took no other history and performed a brief examination documenting edema of
the knee. The assessment of the visit was “water on the knee” and the plan was to obtain a left
knee x-ray and to decrease the amount of food he ate. The patient had a recent A1c of 10.7 which



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is very high but this wasn’t acknowledged. None of the other patient problems were addressed.
The patient’s complaint of insulin allergy was not addressed at all.

On 10/17/22, at 3:15 am a nurse obtained a blood sugar reading of “HI” which is more than 500.
This is an extremely high blood sugar. He refused to take insulin saying he was allergic to insulin.
A series of negotiations between the patient and an on-call physician resulted in admission to the
infirmary with a mental health consult.

On admission to the infirmary on 10/18/22, the patient’s blood pressure was 170/101 with a heart
rate of 122. The patient refused all interventions that day including blood glucose checks.
The second provider visit was on 10/18/22 at about noon when the facility Medical Director
evaluated the patient for a blood sugar of 393. Ketones were not checked. The physician
documented that the patient just received 40 units of 70/30 insulin but the MAR documented that
the patient had refused insulin that morning and afternoon and moreover was on 50 units of 70/30
in the morning. The doctor documented frequent refusals of 70/30. The assessment was
hyperglycemia with frequent refusals. The plan was to recheck the blood glucose tonight and to
record all refusals of insulin. The following day, the facility Medical Director gave a phone order
for 8 units of regular insulin twice a day if the blood sugar was greater than 200.

The next morning on 10/19/22 the nurse documented that the doctor gave a new verbal order to
give regular insulin 8 units twice a day if the blood glucose was greater than 200. In carrying out
this order, the nurse transcribed the order to a prescription. The insulin MAR for October was
handwritten and the 70/30 insulin entry had the same start and stop dates of 4/25/22 which is
clearly an error. Prior MARs had a stop date of 4/25/23. On 10/19/22 a nurse documented on the
MAR that the 70/30 insulin had expired. There was no order to discontinue this medication and
no documented effort to renew the prescription. Seventy units of 70/30 NPH insulin was abruptly
stopped in a patient with out of control diabetes. This appeared to be a significant medication error
due to faulty nurse-provider communication and use of handwritten MARs and reflects a
significant patient safety risk. This type of error should be reported in the adverse event system.
The Monitor hopes that the SIU pharmacy management process analysis evaluates these types of
errors.

The patient had spent two days on the infirmary and had not been evaluated by a provider. Notably
on discharge, the patient’s insulin had been inadvertently reduced from 70 units daily of 70/30
insulin to 16 units of regular insulin but only if the blood sugar was above 200. This was such a
dramatic reduction that it was certain to cause deterioration in status.

On 10/28/22, a nurse documented the patient saying his blood sugar was high. The patient said he
doesn’t take insulin because it makes him feel like electricity is running through his body. Notably,
the mental health consultation ordered on 10/18/22 had not occurred but clearly the patient’s
mental health condition was affecting his physical status. Mental health needed to evaluate the
patient as requested. The blood sugar was recorded as “HI” and the patient accepted the 8 units of
insulin. The discontinuation of 70/30 insulin was still unrecognized. The facility Medical
Director, apparently still not onsite, gave a phone order for the inmate to sit in the holding tank
and recheck the blood glucose in an hour. Apparently, the facility Medical Director was unaware
of the patient’s medication. It may be useful for IDOC to require that when providers are called



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after hours for a blood glucose problem that nurses report what insulin they are on57. At 6 pm on
10/28/22 the blood sugar was 541. Ketones for DKA were not checked.58 The facility Medical
Director was called and ordered 10 units of regular insulin. At 6:30 pm the patient felt better but
without checking the blood glucose the patient was discharged back to his housing unit by the
nurse. There was also no follow up ordered.

The third provider face-to-face visit was a Medical Director evaluation on 11/1/22 because the
gabapentin needed to be renewed. The only history was that the patient had a history of multiple
joint pains and was “here for Neurontin renewal”. Neurontin does not have an FDA indication for
joint pain. The physician did not discuss what the patient’s current symptoms were. The
examination documented "neuro- intact". The only assessments were hyperglycemia and
Neurontin renewal. The blood glucose was 366, blood pressure was 162/110 which was
significantly elevated and the pulse was 112 which was also elevated. The blood pressure and
pulse were not acknowledged or addressed. The patient was on KOP blood pressure medication
but the provider did not assess whether the patient was taking his medication. The physician did
not increase the blood pressure medication to lower the blood pressure. The blood sugar was
addressed by a stat order of 8 units of regular insulin. The gabapentin was renewed without
providing an indication or assessing whether it was effective for its intended purpose or even to
document what it was being used for. It was unclear in review of this record why the patient was
on this medication and it appeared that the physician didn’t know either. This visit accomplished
little except to renew a medication that had no clear indication.

The fourth provider visit was by the facility Medical Director two days later on 11/3/22. The
purpose of the visit was “noncompliance” with medication. The doctor wrote that the patient was
unable to take insulin in the morning because he was asleep. The patient’s latest A1c was 11.1
which is extremely high and out of control.. The physical examination for this episode of care
included a blood pressure of 201/107 which is a hypertensive emergency. The patient had recently
received all of his blood pressure medications, but there was no questioning the patient with respect
to whether he was taking medication as ordered. The physician did not assess for symptoms or
signs of end-organ damage seen in hypertensive emergency.59 Nor were any diagnostic tests
conducted typically done in hypertensive emergencies.60 Instead, the conclusion was to assess
hypertension and hyperglycemia with type 2 diabetes. The documented plan was add clonidine 0.1
mg twice a day for three months; to stop all prior insulin orders and to start Lantus insulin at 35
units in the evening for 21 days and to follow up in 2 weeks. This was still a significant reduction
in insulin from a month earlier. The patient had been on 70 units of 70/30 insulin which was now
substituted by 35 units of Lantus which is approximately a half of the prior dose during which the
blood sugar was not controlled. Ordering Lantus in the evening was a benefit as it was more likely
to result in compliance. This episodic visit resulted in addition of medication for hypertension and

57
   It would be extremely useful when on-called physicians are called after hours that they document their
understanding of what is explained to them and their assessment and plan. This is something that is able to be done
when the electronic record is implemented.
58
   Ketoacidosis can be present with a serum glucose as low as 250 but is often between 350-500. Glucose levels at
these elevations should prompt a check for urine ketones which initially can be with a urine point-of-care dipstick.
59
   Signs of neurologic symptoms such as agitation, delirium, etc.; focal neurologic signs of stroke; flame
hemorrhages in the retina; nausea or vomiting; chest pain; signs of aortic dissection; shortness of breath; on any
drugs that can cause hyperadrenergic state.
60
   EKG, chest film, urinalysis; electrolytes; creatinine; and depending on CNS symptoms CT of brain.


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a continued significant net reduction in insulin. The provider didn’t take history of prior insulin
dosages. Notably the two week follow up ordered by the physician never occurred and the
consequences of the new orders were not reviewed but became apparent in subsequent episodic
care.

For the 23 days from 11/3/22 to 11/26/22, the blood sugar should have been checked 47 times up
until mid-day of 11/26/22. It was checked 37 times. Morning checks were done 15 times and
showed on no occasions when blood sugar was below 200. Blood sugar was above 300 on four
occasions, above 400 three times, and above 500 three times. Evening blood sugar checks were
worse. On none of the 22 checks was blood sugar below 200. Blood sugar was above 300 on
three occasions; above 400 on six occasions; and above 500 on seven occasions. The episodes
above 300 were not brought to any provider’s attention. This is significantly out of control diabetes
yet, the glucose record did not result in a provider referral. There apparently is no standard or
requirement for when a nurse is to notify a provider for out of control blood glucose.

On 11/4/22, a nurse progress note documented a blood sugar of “HI”. This episode is not recorded
on the blood sugar MAR. A nurse called a physician-on-call and was given an order for 10 units
of regular insulin and water to drink. Urine ketones were not checked which should have been
done. A recheck of the blood sugar was ordered with instructions to admit to the infirmary for
blood sugar over 350. The blood sugar didn’t come down and the patient was placed on the
infirmary. The following morning at 5 am, a RN documented receiving a report from a nurse for
a new order of 20 units of Lantus insulin. There was no prescription for this order nor was there
a progress note by a provider documenting the new order. This order was entered in a hand written
fashion on the MAR for the am dose starting on 11/4/22. The total insulin dose was now 55 units
of Lantus (20 units am and 35 units pm) which is still a reduction from the 70 units of 70/30 insulin
previously ordered. This irregular and undocumented medication ordering transmitted by
anecdotal verbal communication is dangerous and needs investigation by the process group
undertaking medication management process analysis. At 10 am on 11/5/22, the patient accepted
insulin and was discharged back to his housing unit without verifying a discharge blood glucose.
No follow up was ordered which typifies the episodic nature of care.

Subsequent blood sugars for November remained very high. On 11/26/22 at 5 pm a blood sugar
of 586 was noted and an on-call physician was called and ordered 15 units of insulin. At 6:30 pm
the blood glucose was “HI” and the on-call physician again ordered 15 units of insulin. For neither
of these episodes were ketones checked. A follow up blood sugar was unable to be checked due
to “security”. Anyone with a dangerously high blood sugar must be able to have their blood sugar
checked without custody intervening. The nurse documented that the blood sugar would be
checked in the morning. The following morning the blood sugar was documented as refused.
There was no follow up for this episode.

On 12/1/22, without seeing the patient a nurse practitioner renewed 20 units of Lantus in the
morning and 35 units of Lantus in the evening for a year. This episodic type of chronic care is
dangerous. The nurse practitioner renewed the medication without reviewing the blood glucose
log. This existing dose of insulin was insufficient. For unclear reasons the same provider who
renewed the medication on 12/1/22 wrote another prescription for the same medication at the same
dose, but this time changed the length to six months. Medication renewals should be completed



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by seeing the patient or by review of the record. This did not occur and typically does not occur
in IDOC. In this case, the patient had continuously dangerous blood glucose levels and the
medication was renewed without considering other medications, changing the times of insulin
administration, or increasing dosages. Insulin was also renewed without any attention to blood
glucose levels. This is dangerous.

On 1/4/23 a fifth provider visit was conducted by a nurse practitioner who saw the patient after a
UIC orthopedic consultation. The patient had been seen on 12/6/22 at UIC about a month earlier
which is not consistent with requirements of provision III.H.2. The orthopedic consultant
diagnosed a paroxysmal atraumatic left knee pain with effusion and recommended a course of
physical therapy with follow up as needed. The orthopedic consultant did document that the
patient reported generalized decrease in sensation in both feet secondary to diabetes. There was
no foot examination documented in the record reviewed at Pontiac. The report was not signed as
reviewed until 1/4/23 or 29 days later. The nurse practitioner seeing the patient did not document
the findings or recommendations of the orthopedic consultant. The nurse practitioner did not
document a physical examination nor were new symptoms solicited. The orders included pain
medication and physical therapy two times a week for 8 weeks. The referral to physical therapy
did not specify the directions for therapy or the length of time for therapy. When seen by the
physical therapist on 2/10/23, the therapist documented left knee effusion and wrote “This patient
will likely be seen 1x visit only” and gave recommendations to ice the knee and decrease use of
stairs. No further physical therapy was provided.

On 1/30/23 a nurse practitioner documented that the patient was not receiving medications as
ordered. The nurse practitioner checked with pharmacy who had no order for renewal of clonidine.
The nurse practitioner documented giving an order to pharmacy but a prescription was not found.
The nurse practitioner scheduled a chronic care visit which hadn’t occurred since 7/6/21, over a
year and a half ago.

On 2/1/23, there was a note that a diabetes telemedicine clinic was to be rescheduled due to
“security issue”. Chronic clinic appointments should not be cancelled except for extreme security
issues. At this clinic there was other documentation that there were insufficient officers to manage
the facility which is dangerous and makes normal operations impossible to conduct.

On 2/9/23 laboratory results returned showing an A1c of 15.3 which is an extremely high blood
sugar. The routine glucose was 434. These results were consistent with diabetic ketoacidosis but
the laboratory tests weren’t even noticed and the laboratory test was signed as reviewed on 3/1/23
about three weeks after the test was reported. When signed as reviewed nothing was done to
expedite an evaluation. This was substandard care and it appeared that there was insufficient
provider staff at this facility.

On 2/13/23 a nurse documented a blood sugar of 581. Ketones were not checked nor was the
patient evaluated for diabetic ketoacidosis. The nurse called an on-call physician who ordered 10
units of regular insulin. No follow up was ordered.

On 2/16/23 a LPN documented a blood sugar of 509. The patient didn’t have ketones checked
and was not evaluated for symptoms or signs of diabetic ketoacidosis. The LPN called an on-call



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physician who ordered 10 units of regular insulin. The blood glucose was rechecked and was 345.
No follow up was ordered.

On 2/17/23, a LPN called an on-call provider for a blood sugar of 512. The patient didn’t have
ketones checked and was not evaluated for symptoms or signs of diabetic ketoacidosis. An on-
call physician ordered 10 units of regular insulin. Follow up blood glucose was 405. No follow
up was ordered.

On 3/23/23, a nurse noted that the vendor Regional Medical Director gave a phone order that the
glipizide and metformin should be changed to directly observed therapy; that a nurse practitioner
was to evaluate the patient on 3/27/23 and that the patient was to be referred to the endocrinologist.
The endocrinology consultation was found on the offsite scheduling log.

On 3/28/23 a mental health clinic visit was cancelled for unstated reasons. It was documented as
rescheduled but the date was not given. Mental health saw the patient on 3/31/23 but the note was
not in the medical record.

On 4/3/23, a nurse practitioner evaluated the patient because he was only taking insulin once a day
and thought he needed regular insulin. For March, the patient refused am insulin seven times and
refused pm insulin eight times. On three occasions, nurses did not document whether they gave
the insulin or not. The patient was ordered and received insulin about 75% of the time. More
importantly, the most recent A1 c was extremely high at 15.3 and the patient was on inadequate
amounts of insulin. While the patient did refuse 25% of insulin doses, the dose was insufficient.
Also, it was unclear if there was a mental health contribution to his status. The nurse practitioner
said the patient was “educated in depth on insulin / need for continuity”. The nurse practitioner
noted that the patient had a pending appointment with endocrine. Care was substandard. The
patient’s diabetic medications should have been adjusted.

Mental health saw the patient on 4/12/23 but there was no note of the evaluation in the medical
record. On 4/13/23, security documented that the patient was on crisis watch and the not seen by
a nurse.

On 4/19/23 the patient was brought to the health unit because security said that the inmate felt he
was hyperglycemic. The blood sugar was 399 which was high. The nurse documented that the
patient had been refusing insulin for several days stating he was allergic. The MAR showed that
the patient accepted insulin 4/15/23 and 4/16/23. On 4/17/23 both am and pm and on 4/18/23 am
there was no documentation by nurses regarding insulin administration so the nurses statement
was inaccurate. It appeared that the patient was taking medication and the nursing staff failed to
document what occurred for the prior two days. The nurse called the new facility Medical Director
who ordered Benadryl. The patient’s insulin was not adjusted.

On 5/6/23, a lieutenant asked a nurse to see the patient because he had not received his insulin in
the morning. The nurse saw the patient. The nurse documented that the patient received 10 units
of regular and half of his regular dose of Lantus insulin.




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On 5/11/23 a nurse practitioner saw the patient for follow up of the physical therapy appointment.
The patient was to have received 8 weeks of therapy but due to miscommunication, the patient
received only one therapy consultation. The patient reported intermittent swelling and pain. There
was no current edema. The nurse practitioner didn’t order physical therapy and only follow up as
needed.

On 5/21/23, a nurse documented a blood sugar of 470 and that the patient was refusing insulin.
The new facility Medical Director was notified. He ordered a one-time dose of glipizide. Typically,
an oral medication is not given as a stat dose. This patient’s blood glucose was continuously
elevated for the past year and management of his diabetes was episodic and only addressed
emergent blood sugar levels. The patient’s last A1c was 15.3. An increase of his medication would
have been appropriate but was not done. This patient had not received a chronic care visit over
the past year in which all of his problems were addressed. This patient’s care is characteristic of
the episodic management of chronic illness which, for this patient, resulted in poorly controlled
diseases. The MAR showed that there was no documentation of offering patient medication for
the last dose that morning and the blood glucose the prior evening was 213. The physician ordered
a follow up on 5/22/23 but the patient wasn’t seen that day nor was the appointment rescheduled.

On 6/1/23, the inmate’s blood glucose was 446. The facility Medical Director was called to ask
whether insulin should be given but the Medical Director told them to hold the insulin for this
evening.

On 6/7/23 a nurse practitioner evaluated the patient for an elevated blood sugar. The nurse
practitioner raised the insulin to 40 am and 30 pm. A follow up was ordered in three weeks to
check the blood sugar response to the increased insulin.

On 6/28/23, the patient was evaluated at UIC endocrinology. The endocrinologist documented
that the patient doesn’t receive about five of 14 doses per week due to a nursing shortage. This
self-report is consistent with MAR documentation that include multiple days when insulin is not
documented as offered or given. The CBG values were in the 400-500 range. The consultant
noted no retinopathy or nephropathy checks but documented the patient checked his feet daily.
The recommendation was to decrease the glargine to 30 units BID; start Victoza 0.6 mg daily and
increase in 0.6 mg increments once weekly as tolerated until a goal dose of 3 mg; perform a
microalbumin test for the next visit; consider a SGlLT2 inhibitor next visit; do blood glucose
checks 3-4 times daily including fasting, pre-meals and bedtime; and see ophthalmology for a
retinal evaluation and podiatry presumably for a neuropathy check and foot examination. The
recommendations by the endocrinologist documented all the deficiencies in the care of this diabetic
person.

On 6/30/23, the patient was admitted to the infirmary on crisis watch.

On 7/4/23, an officer told a nurse to evaluate the patient for chest pain. A nurse saw the patient in
the cell. The patient said he didn’t currently have chest pain but wanted his blood pressure
medication. The patient’s blood pressure was156/98. His medication was given.




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The only chronic clinic visit was on 7/18/23. The patient was documented as seen for
hypertension, hyperlipidemia, diabetes, benign prostatic hypertrophy and asthma. The patient did
not have asthma and was not on medication for asthma. The only history was that the patient had
bilateral lower extremity pain. The only labs documented were A1c 13.2, cholesterol 219, HDL
47and triglycerides 332. The blood pressure was 147/98. The examination included the heart,
lung, abdomen and that the patient had normal gait. There was no history of any of the patient’s
chronic illnesses. The patient had an eye examination on 10/4/22 and the optometrist did not
complete the diabetic screening wanting first to obtain an A1c level. The optometrist
recommended an A1c and to return in a month to complete the retinal examination. This didn’t
occur and the provider failed to note it. Microalbumin had not been tested in the past year. There
was no foot exam including screening for neuropathy. The patient was on gabapentin for unstated
reason. So, there was no retinopathy, nephropathy or neuropathy screening. The patient had blood
pressure that was elevated and the A1c was most recently 13.2 which is extremely high. The
provider made no changes to the patient’s medication. The patient had a 10 year risk of
cardiovascular event but was only on a low dose of simvastatin. He should have been on a high
intensity statin. Just three weeks earlier, the patient had been to the UIC endocrine clinic. The UIC
consultant recommended decreasing glargine insulin to 30 units twice a day and start Victoza and
to increase in 0.6 mg increments to 3 mg per day. Also recommended was to increase capillary
blood glucose testing 3-4 times daily; to refer to ophthalmology, to follow up with podiatry for a
foot examination and to check the A1c in 3 months. The provider didn’t document review of this
consultation, failed to note that the glargine insulin had not been modified or that the Victoza had
not yet been obtained. The same nurse practitioner who completed the chronic care visit wrote
another progress note ordering Victoza 0.6 mg weekly to increase by 0.6 mg weekly to a goal of 3
mg. The nurse practitioner apparently reviewed the consultation sheet but did not decrease
glargine, did not order microalbumin, retinal screen podiatry evaluation, and did not increase CBG
screening. The nurse practitioner wrote a referral back to endocrinology.

The Victoza was not obtained by the vendor pharmacy and the patient never received it.

On 8/3/23 the patient complained to an LPN about tingling numbness in fingers and toes. The
LPN referred to a nurse practitioner.

The facility Medical Director wrote a note on 8/16/23 for a medical emergency that took place on
8/8/23. The late entry was due to the medical record being unavailable. The physician documented
history of noncompliance and uncontrolled diabetes, hypertension, high blood lipids and
depression and bipolar disorder. The physician stated that on arrival, cardiopulmonary
resuscitation was being undertaken on the patient. The patient was taken to a local ER where he
was pronounced dead.

There were numerous problems with this patient’s care as cited above. The preliminary
postmortem findings included: pulmonary congestion and edema, cerebral edema, mild coronary
artery atherosclerosis, diabetes without ketones or significant glucose in urine or vitreous humor,
enlarged fatty liver. The cause of death was arrhythmia and hypertensive cardiovascular disease.
The patient’s blood pressure and diabetes were uncontrolled throughout the entire span of this
record review (since 2021), yet medication was not appropriately adjusted. The only change of




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blood pressure medication over the year was the addition of a small dose of clonidine. His death
may have been prevented if his blood pressure was better controlled.


Patient #13

This patient was 66 years old. Problems included dyslipidemia since 1999, hypertension since
2012, obesity, smoker, diabetes since at least 2012, and hypothyroidism. The patient had five
modifiable major risk factors for cardiovascular disease: dyslipidemia, hypertension, obesity,
smoking, and diabetes.

On 4/29/21, at a chronic clinic visit the provider documented the patient had sharp chest pain when
he ate sauce or laid down. No further history was taken. An EKG was not done. No assessment
was made but omeprazole, a medication used for gastric reflux was prescribed.

On 10/25/21, the patient transferred to Hill CC.

Within a month of transferring to Hill, on 11/22/21, a registered nurse saw the patient using an
indigestion protocol. The pain was described as lasting 20 minutes in the sternum area. The pain
was sometimes related to food intake. The nurse gave antacids without referring the patient. The
pain description was suggestive of anginal pain but the history wasn’t in depth. Referral to a
provider should have been considered.

On 12/20/21 a registered nurse evaluated the patient again using an indigestion protocol. Pain was
described in his chest. It lasted 5-6 minutes and was relieve by rest. He did say eating chili or
pizza gave pain. The pain description was similar to angina but was not associated with coronary
heart disease. The patient was given antacids without a referral; no EKG was done. This patient
should have been referred to a provider as symptoms were consistent with angina.

On 12/30/21, an LPN saw the patient using the indigestion protocol. This pain was described as
located in the stomach or esophagus and was related to food. The protocol asks if the patient has
cardiovascular disease or hypertension. It does not include a question whether the patient has
cardiovascular risk factors but should. This patient was only given antacid and Pepcid by protocol.
This was the third consecutive complaint of “indigestion” and the patient should have been referred
to a provider and was not. The independent clinical judgement required when conducting a sick
call encounter is not within the scope of practice for LPNs.

On 3/11/22, a nurse, who did not document their title or name, saw the patient again using an
indigestion protocol. The nurse described the pain as on and off and burning in nature. The patient
said the Prilosec didn’t help but TUMs did. There was a question that asked whether the pain
continues despite treatment protocol implementation which the nurse checked as “no” but it had
continued over 6 months and four nurse visits for “indigestion”. This patient should have been
referred to a provider.

On 3/30/22, an LPN saw the patient using an indigestion protocol. The patient’s pain was getting
worse despite use of Pepcid and TUMs. His blood pressure was 153/97, which is elevated and he


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had a fast heart rate (102). The nurse referred the patient to a provider that day. The provider did
not characterize the pain as indigestion but as chest pain. The pain was described as crushing and
was worse with activity or lying down. When the patient stopped the activity the pain resolves.
When he sits up the pain improves. He had mild shortness of breath with activity. The nurse
practitioner noted no family history of heart attack. The history was strongly suggestive of angina.
The nurse practitioner’s plan was an order for an EKG and a stress test. This was a reasonable
plan except that nitroglycerin and an antianginal drug should have been considered. An EGD
should have been ordered after the stress test if the stress test was normal. The stress test should
have been done without delay. The EKG tracing was too light to see clearly but the reading
included non-specific T wave changes which can be consistent with coronary vascular disease.
Also, because the patient had proteinuria and diabetes, the blood pressure should have been
controlled better and his medication usage should have been reviewed. Based on the MAR the
patient last received his three blood pressure medications on 2/25/22 so he would have been out
of his medications at this point. The provider should have ensured that he was receiving his
medication.

The stress test wasn’t approved until 4/21/22 about three weeks later.

On 5/4/22, a provider conducted a chronic disease clinic for diabetes, hyperlipidemia, and
hypothyroidism. The weight was 253 pounds. The blood pressure was 143/74 which is not at goal
and the pulse was elevated at 110. The patient was not being seen for hypertension and the mildly
elevated blood pressure was ignored. Notably, based on MARs, the patient last received lisinopril
and HCTZ, two of his three blood pressure medications on 2/25/22 so the patient was out of these
medications. This should have been identified and the medication provided. Also ignored was the
pulse of 110 despite the patient being on Synthroid (for hypothyroidism) which has a number of
cardiovascular side effects including elevation of the pulse. The only laboratory tests documented
were related to the conditions being monitored: A1c 11; TC 224; LDL 112; TSH 4.5 Though the
patient was being evaluated for diabetes there was no foot exam and no check for neuropathy,
nephropathy, or retinopathy. Though the patient had a recent test for microalbumin which was
very high (896), this was not acknowledged and a follow up microalbumin was not ordered. A
prior urinalysis was positive for gross proteinuria. This would be consistent with chronic kidney
disease despite a normal creatinine and glomerular filtration rate. Because of this, the hypertension
goal should have been lowered to 130/80 and additional medication should have been ordered.
The blood sugar was very high (A1c 11) and 70/30 insulin with sliding scale was added. This
combination is not appropriate due to the use of regular insulin in the 70/30 mix and as a single
agent used in addition to the 70/30 insulin. A GLP-1 drug might have been considered. There
was no follow up or mention of the repeated chest pain nor mention of the stress test which had
not been done over the past month. This was a very poor chronic clinic visit. A follow up in a
month was ordered which was appropriate but the follow up clinic did not occur.

On 5/21/22, an LPN evaluated the patient using an indigestion protocol. It was described as a
chest pain that comes and goes and occurs sometimes after eating. The patient described the pain
as: “feels like someone is trying to break out my chest”. The blood pressure was 161/94 which is
not in control. Although this was the 6th episode of “indigestion” or chest pain the nurse did not
refer to a provider and only gave the patient Pepcid and antacids, which had previously been stated
as not helpful. The elevated blood pressure was not acknowledged or addressed. The nurse made



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an assessment error as this was unlikely to be indigestion; the pain should have been evaluated as
chest pain. Independent clinical judgement is outside the LPN scope of practice.

On 6/2/22, an LPN evaluated the patient for “indigestion” which was described as “not better”.
The pain was described as “epigastric, like food is stuck in throat”. The nurse referred the patient
to a provider. This was the 7th episode of evaluating for indigestion or chest pain.

A physician saw the patient on 6/6/22. The blood pressure was 160/102 and the pulse 108. The
physician presumed that the patient had chronic indigestion for which he was taking Prilosec and
antacids with relief. There was no further history and unawareness that this patient had six prior
episodes of the same complaint without resolution. The provider was unaware that previously a
somewhat better history was done characterizing the pain as consistent with angina and that a stress
test was ordered. The prior EKG showing non-specific STT wave changes was not reviewed. A
cardiovascular risk history was not taken. The assessment was 1) heartburn and 2) increased blood
pressure due to noncompliance. The assessment was made without any history, review of prior
visits, and review of the EKG. The plan was to increase Prilosec. This was a poor evaluation as it
did not evaluate prior diagnostic tests, history, or pending diagnostic tests.

The doctor wrote that the patient had run out of his blood pressure medication. Review of the
MAR showed that the lisinopril and HCTZ blood pressure medications were last given as KOP
medication on 2/25/22 and amlodipine was last given on 4/19/22. Lisinopril and amlodipine
expired on 4/21/22 and HCTZ expired on 4/22/22. None had been timely renewed. Designating
the patient as noncompliant was degrading particularly since the lapse was not identified earlier
by nurses administering medication and that the prescriptions expired without notice by the
pharmacy to the provider. The doctor did not document that the medications expired but he did
sign a verbal order for expired medications on this date. The provider should have scheduled a
follow up to assess whether the patient’s blood pressure was under control.

On 8/12/22, the same physician wrote a note saying that a stress test was ordered on 3/30/22 but
there was “no cardiac indication at this time”. This is not accurate. This patient had cardiac
equivalent chest pain on seven occasions over the past five months with multiple risk factors for
cardiovascular disease including diabetes, hypertension, hyperlipidemia, ex-smoker, obesity, and
male sex. The stress test should have been done in March of 2022 shortly after it was ordered. To
cancel the test was an egregious error.

On 9/29/22, a nurse practitioner conducted a chronic clinic for diabetes, hypothyroidism,
hyperlipidemia, and hypertension. The only history was that the patient was taking all of his
medications except his lipid medication. The pulse for this patient had been repeatedly elevated
and was 110 at this visit. The patient was on Synthroid for his hypothyroidism, which can cause
a variety of cardiovascular side effects, including tachycardia. This should have been evaluated
but was not. There was no check for retinopathy, neuropathy or nephropathy. The blood pressure
was now normal and the patient was now receiving his blood pressure medication. The prior
elevated urine protein tests were not acknowledged and because the patient had both diabetes and
hypertension this chronic kidney disease should have been monitored more closely and included
in his problem list . The patient wasn’t taking his atorvastatin and given his multiple cardiac risks,
taking this medication should have been emphasized and a LDL goal of 70 should have been set.



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On 10/4/22, an LPN saw the patient using a chest pain protocol. The pain started when he was
walking to the clinic. The blood pressure was 136/86 which is high due to his diagnosis of diabetes.
In response to the protocol question “identify cardiac risk factors”, the LPN wrote “states pain
goes away when at rest”. This patient had multiple cardiac risk factors. The LPN performed an
EKG and showed the EKG to a nurse practitioner. There were two EKGs. One showed non-
specific STT wave changes with slight T wave inversion in V6. This can be consistent with angina.
Another EKG showed T wave abnormality consistent with lateral ischemia. The nurse practitioner
sent the patient back to his housing unit without any orders. Given the risk factor history, past
history of “indigestion” or chest pain on 8 separate occasions over the past seven months, current
history consistent with angina, and given an EKG consistent with lateral ischemia, this was another
egregious error. The nurse practitioner did not pay sufficient attention to the history and EKG
results. The patient should have been referred to an emergency room to evaluate acute coronary
symptoms.

On 12/5/22, a RN evaluated the patient using a chest pain protocol. This was the 9th episode of a
health request with a cardiac equivalent for angina (six with “indigestion” and three with chest
pain). The patient describe sharp chest pain at rest for about a year. The only identified risk was
increased blood pressure but the patient also had diabetes, obesity, was an ex-smoker, had
hyperlipidemia and was a male. Clearly, risk factor identification should be a training issue and
this protocol would be improved by including all possible risk factors for the nurse to assess instead
of requiring nurses to know them. The blood pressure was 174/98 and the pulse was 104. The
MAR showed that patient received a month supply of his blood pressure medications on 10/24/22
and then not until 12/1/22 so some doses were missed in November. This was not noted. But the
nurse did document that the patient hadn’t taken his medications in four days; the patient had just
received medication on 12/1/22. An EKG was done and was read as non-specific STT wave
changes but lateral leads were suspicious for acute coronary syndrome. The nurse documented
that a physician was called and was aware of the EKG and instructed that the patient should go
back to the housing unit with a follow up the following day. A better history should have been
taken specifically where the pain was located, referred pain, nausea, shortness of breath, and
relation to exertion and rest. Given prior history and the EKG, this patient should have been
referred to an emergency room.

The next day, on 12/6/22, a nurse practitioner evaluated the patient in chronic clinic for diabetes,
hypertension, hypothyroidism and hyperlipidemia. The history was that the patient took his
Synthroid with breakfast and the other medications as recommended and that he had occasional
chest pain with an EKG showing STT wave changes. This was not a very good history for chest
pain. Laboratory tests were documented except that prior proteinuria was not acknowledged. The
blood pressure was 106/76 which was now controlled. The pulse was 108 which was still elevated
but not acknowledged as abnormal. There was no foot examination, no evaluation for neuropathy,
no documentation of the last retinopathy check and lack of acknowledgement or follow up his
nephropathy. Hypertension was not assessed. Diabetes, hyperlipidemia and hypothyroidism were
assessed as in fair control which was reasonable. The chest pain was not addressed and there was
no comment about the EKG. This was a very poor evaluation of chest pain as there was no history,
no risk factor assessment, no prior history of angina or equivalent complaints which had been
ongoing for nine months.



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On 4/23/22, a nurse evaluated the patient without use of a protocol for “sternal chest pain”. The
pain was described as grinding like something trying to come out of his chest. He said it was
ongoing for seven months or more and was seen numerous times for it. He said he quit taking
TUMs because they didn’t help, when he stands up and does nothing the pain stops. He asked to
have his housing changed because the pain was worse when he walked. The blood pressure was
145/70 and pulse 111. Though the patient had continued tachycardia, it was unacknowledged, and
neither was the elevated blood pressure noted. There was no nursing assessment or plan. This
were classic symptoms of angina yet the condition was unrecognized. This was the 10th episode
of angina-equivalent pain that was inadequately managed. This patient should have been referred
to a provider.

On 4/20/23, a nurse evaluated the patient using an indigestion protocol. Pain was described as in
the sternal area, occurred in multiple episodes and the patient added that he had difficulty with
strenuous activity and walking long distances. The patient added that Prilosec and TUMS didn’t
help the pain. This was the 11th cardiac-equivalent pain episode, but was not recognized as such
by the nurse. The nurse referred the patient to the next nurse practitioner clinic scheduled for
4/25/23.

On 4/25/23, a nurse practitioner evaluated the patient for “sternal chest pain”. The only cardiac
risk mentioned in the note was smoking. The nurse practitioner did not acknowledge or consider
his hypertension, diabetes, hyperlipidemia, or obesity as risk factors for cardiovascular disease.
The history documented shortness of breath with activity but no further history relevant to angina
was taken including location of pain, referral of pain, related nausea, relationship to exertion and
rest. The patient did say he was scared he was going to have a heart attack and asked for a different
housing location with a slow walk permit because “I don’t want to die on the walk”. The prior
EKG was not reviewed and another EKG was not done. The only assessments were shortness of
breath and chest pain. The nurse practitioner’s plan was a chest x-ray, a blood count, and a
metabolic panel. Follow up in two weeks was ordered. The nurse practitioner documented that
no permits (for slow walk apparently or change of housing apparently) were necessary. This was
another failed evaluation demonstrating that there is an absence of knowledge in multiple providers
at this facility with respect to coronary artery disease, including acute coronary syndrome.

On 4/29/23, an LPN evaluated the patient using a shortness of breath protocol. This was the 12th
angina-equivalent symptom that was evaluated over the past year. The only history was that the
patient had shortness of breath when moving. The pulse was 125 and had been elevated for months
without anyone acknowledging the abnormality. The protocol requires peak expiratory flow rates
which were all abnormally low 450/300/300 despite no history of asthma or COPD. The nurse
noted that the patient was scheduled to see a provider this week in follow up of getting a chest x-
ray. The patient then told the nurse that he panics when feeling short of breath. The nurse referred
the patient to mental health. The LPN failed to acknowledge that the pulse of 125 was abnormal.
The history taken was insufficient with respect to shortness of breath with moving. Was there
concomitant chest pain, cough, productive sputum, or fever? Though there was tachycardia and
abnormal peak expiratory flow rates the LPN did not consult a RN or provider. Independent
assessments and clinical judgement are not within the scope of practice of LPNs.




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On 5/9/23, at 10:15 pm, a nurse documented responding to a code 3 in which the patient was
unresponsive. The patient was transported to a hospital but died at 3 am the next morning.

Amongst multiple findings, the autopsy showed 100% occlusion of the right coronary and
circumflex coronary arteries; 95% occlusion of the left anterior descending coronary artery; 90%
occlusion of the oblique marginal coronary artery and 75% occlusion of the diagonal coronary
artery. There was a remote myocardial infarct in the septum. The preliminary opinion was that the
patient died from coronary artery disease. A final autopsy was not provided. This patient had
long-standing complaints of angina-equivalent symptoms. He was inappropriately evaluated. A
physician cancelled a stress test five months after it was ordered because there were no cardiac
indications yet this patient had multiple bona fide indications for cardiac stress testing. This
patient’s cardiac symptoms were ignored or misdiagnosed for over a year and a half. His death of
coronary artery disease was preventable.




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